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17                    SUPERIOR COURT OF THE STATE OF WASHINGTON
18                                FOR KING COUNTY
19
20   THE BOARD OF REGENTS OF THE
21   UNIVERSITY OF WASHINGTON,                      No. 22-2-15472-1
22
23                         Plaintiff,               FIRST AMENDED COMPLAINT
24
25            v.
26
27   EMPLOYERS INSURANCE COMPANY
28   OF WAUSAU, A LIBERTY MUTUAL
29   COMPANY,
30
31                         Defendant.
32
33
34            Plaintiff, The Board of Regents of the University of Washington (“University of
35
36   Washington” or “UW”), for its Complaint for breach of contract, declaratory judgment
37
38   pursuant to RCW 7.24.010, et seq., and damages for the breach of the duty of good faith and
39
40   fair dealing and under Washington’s Consumer Protection Act (“WCPA”) and the Insurance
41
42   Fair Conduct Act, RCW 48.30.015, (“IFCA”) against Defendant, Employers Insurance
43
44   Company of Wausau (“Insurer”), alleges as follows:
45
46
47



                                                                                Perkins Coie LLP
     COMPLAINT – 1                                                        1201 Third Avenue, Suite 4900
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 1                                         INTRODUCTION
 2
 3            1.    This is a civil action seeking multiple declaratory judgements, as well as
 4
 5   damages for breaches of contract, insurer bad faith, and violations of WCPA and IFCA arising
 6
 7   out of Insurer’s wrongful failure and refusal to provide coverage under a series of “all risk”
 8
 9   insurance policies issued to the University of Washington for its hundreds of millions of
10
11   dollars in unreimbursed losses, costs, and expenses due to direct physical loss of or damage
12
13   to its various medical and athletic properties located throughout Seattle, Washington, all of
14
15   which arose out of the physical presence of the novel coronavirus (“COVID-19”) at its
16
17   properties.
18
19            2.    As alleged in further detail below, and as supported by scientific studies and
20
21   reports, COVID19 caused direct physical damage to UW’s properties by physically altering
22
23   and impairing them. COVID-19 additionally caused direct physical loss to UW’s properties
24
25   because the presence of COVID-19 was a physical condition that impacted the properties,
26
27   rendering them unfit, in whole or in part, for their intended purposes and/or uninhabitable
28
29   resulting in a loss of use. This is exactly the type of situation that the Washington Supreme
30
31   Court recently confirmed qualifies as “direct physical loss of or damage to” property. See
32
33   Seattle Tunnel Partners v. Great Lakes Reinsurance (UK) PLC, No. 100168-1, --- P.3d ---,
34
35   2022 WL 4241893, at *11-*12 (Wash. Sept. 15, 2022) (“conclud[ing] that ‘direct physical
36
37   loss [or] . . . damage’ refers to the deprivation or dispossession of or injury to the insured
38
39   property,” noting that “for coverage . . . the loss of use of the insured property must be caused
40
41   by some physical condition impacting the insured property,” and favorably citing cases
42
43   holding that “a loss of use claim is appropriate where the insured property is rendered unfit
44
45   for its intended purpose or uninhabitable based on some change in the physical condition of
46
47   the property”); Hill & Stout, PLLC v. Mut. of Enumclaw Ins. Co., 515 P.3d 525, 533 (Wash.



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 1   2022) (distinguishing a loss caused solely by government orders from a case that, as here,
 2
 3   alleges loss due to the actual presence of COVID-19 because the policyholder did not allege
 4
 5   “imminent danger to the property, [ ] contamination with a problematic substance, and
 6
 7   [anything] that physically prevented use of the property or rendered it useless; . . . [or]
 8
 9   rendered [property] unsafe or uninhabitable because of a dangerous physical condition”).
10
11            3.    Washington requires that “[e]very insurer must complete its investigation of a
12
13   claim within thirty days after notification of claim, unless the investigation cannot reasonably
14
15   be completed within that time.” Wash. Admin. Code § 284-30-370. UW provided Insurer
16
17   with notice of the claims at issue in this action in or around July 2020. Yet, Insurer has failed
18
19   for more than two years to complete its statutory investigation duties and honor its coverage
20
21   obligations. The Insurer’s unreasonable delay and refusal is particularly egregious because
22
23   none of its policies contain a communicable disease exclusion, many of the policies contain
24
25   extensions of coverage for communicable disease, the UW’s operations were plainly
26
27   interrupted by the presence of publicly known cases of communicable disease at UW
28
29   properties, and universally known and publicly available orders restricted access to UW
30
31   properties, including orders directing UW customers, employees, and students to stay at home.
32
33                                             PARTIES
34
35            4.    Plaintiff is the statutorily authorized governing board of the University of
36
37   Washington, a state institution of higher education and an instrumentality of the State of
38
39   Washington.
40
41            5.    Defendant, Employers Insurance Company of Wausau, is a stock insurance
42
43   company incorporated in the state of Wisconsin, with a principal place of business in Wausau,
44
45   Wisconsin. Insurer is a subsidiary of Liberty Mutual Holding Company Inc., which is a
46
47   Massachusetts holding company.


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 1                                  JURISDICTION AND VENUE
 2
 3            6.    This Court has personal jurisdiction over Insurer because the policies that it
 4
 5   issued to UW insure UW’s properties, which are located within King County, in the State of
 6
 7   Washington, and were delivered to UW in King County, Washington. This constitutes
 8
 9   evidence that Insurer has purposefully availed itself of the benefits and protections of the State
10
11   of Washington by transacting business with UW and assuming continuing obligations to UW
12
13   in the State of Washington, as well as purposefully directing its activities at UW in King
14
15   County, Washington.      Moreover, Insurer has purposefully availed itself of the Court’s
16
17   jurisdiction and targeted Washington customers by registering with the Washington State
18
19   Office of the Insurance Commissioner for the purpose of issuing property insurance policies
20
21   in Washington. The policies at issue in this lawsuit were delivered in Washington. Finally,
22
23   the policies contain a provision whereby “[a]ny disputes arising [under the policies] will be
24
25   exclusively subject to a State or Federal jurisdiction within the United State of America.”
26
27            7.    The Court has subject-matter jurisdiction over the controversy pursuant to
28
29   RCW 2.08.0210.
30
31            8.    Venue is proper in this District pursuant to RCW 4.12.025(1) because Insurer
32
33   transacted business in King County, Washington by issuing insurance policies to UW—a King
34
35   County, Washington resident—that insured property located in King County, Washington.
36
37                                   FACTUAL BACKGROUND
38
39   A.       The Medical Centers and Athletic Programs of the University of Washington
40
41            9.    This lawsuit involves the medical centers and athletic programs and facilities
42
43   of the University of Washington. The medical centers involved include the University of
44
45   Washington Medical Center, a medical center with both a Montlake campus (“UWMC”) and
46
47   a Northwest campus (“NWH”); and Harborview Medical Center (“HMC”), a hospital owned



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 1   by King County, but operated and managed by the UW pursuant to a Hospital Services
 2
 3   Agreement between King County and the University of Washington. Both HMC and UWMC
 4
 5   are part of UW Medicine, an integrated clinical, research, and learning health system with a
 6
 7   single mission to improve the health of the public. The athletic programs involved include
 8
 9   the University of Washington’s Husky Stadium (“Husky Stadium”) and the University of
10
11   Washington’s other athletic department-related properties (“Athletics”).
12
13            10.   Between the two campuses, UWMC and NWH, are an 810-bed hospital that
14
15   provides comprehensive healthcare services to the Puget Sound community and patients from
16
17   throughout the Pacific Northwest and beyond. UWMC is located on the UW campus at 1959
18
19   N.E. Pacific Street, Seattle, WA 98195, and NWH is located in north Seattle at 1550 N. 115th
20
21   Street, Seattle, WA 98133. Prior to becoming UWMC’s second campus on January 1, 2020,
22
23   NWH was a community hospital originally formed as a nonprofit Washington corporation.
24
25   During normal operations, more than 27,000 patients receive inpatient care at this two campus
26
27   hospital each year.
28
29            11.   Harborview Medical Center (“HMC”) is a hospital and level I adult and
30
31   pediatric trauma center located in Seattle, Washington. It is owned by King County but has
32
33   been managed by the UW under a management contract between King County and the Board
34
35   of Regents since 1967. In February 2016, the UW and King County entered into a Hospital
36
37   Services Agreement that, among other things, renewed UW’s authority and responsibility to
38
39   manage the business and clinical affairs of HMC. The agreement has a ten-year term that may
40
41   be renewed for two successive ten-year terms if consented to by both parties. In 2019, HMC
42
43   admitted over 16,000 patients.
44
45            12.   Husky Stadium is located less than one mile from UWMC’s Montlake campus.
46
47   It is home to the 17-time Pac-12 Conference champion University of Washington Huskies


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 1   football team. In addition to hosting football games, it also serves as an events center
 2
 3   throughout the year. During normal operations, Husky Stadium typically hosts up to seven
 4
 5   events and 475,000 people a year.
 6
 7            13.   Athletics is comprised of the various recreational and athletic department
 8
 9   buildings and sports fields, all of which are located near UWMC’s Montlake campus and
10
11   Husky Stadium. During normal operations, these facilities host approximately 120 events and
12
13   300,000 people each year.
14
15   B.       The Insurance Policies
16
17            14.   Insurer issued five “all risk” Premier Property Protector insurance policies
18
19   (“Policies”) to the UW-controlled and managed entities above as follows:
20
21                  a. Policy No. YAC-L9L-469720-039 to UWMC (“UWMC Policy”), attached
22                     hereto as Exhibit 1;
23
24                  b. Policy No. YAC-L9L469720-029 to NWH (“NWH Policy”), attached
25                     hereto as Exhibit 2;
26
27                  c. Policy No. YAC-L9L-46970-049 identifying the Board of Regents of the
28                     University of Washington, Harborview Board of Trustees, and King
29                     County (“HMC Policy”), attached hereto as Exhibit 3;
30
31                  d. Policy No. YAC-L9L-450425-020 identifying the Board of Regents of the
32                     University of Washington Husky Stadium (“Stadium Policy”), attached
33                     hereto as Exhibit 4; and
34
35                  e. Policy No. YAC-L9L-450425-030 identifying the Board of Regents of the
36                     University of Washington Athletics (“Athletics Policy”), attached hereto
37                     as Exhibit 5.
38
39            15.   The Policies each cover “property, as described in this Policy, against all risks
40
41   of direct physical loss or damage, except as hereinafter excluded or limited, while located as
42
43   described in this Policy.” See, e.g., UWMC Policy, Policy Cover Page (emphasis added).
44
45            16.   As discussed below, the Policies are substantially similar but contain certain
46
47   limited differences.


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 1                 i.   The UWMC Policy
 2
 3            17.       The term of the UWMC Policy is July 1, 2019 through July 1, 2020 and has an
 4
 5   extended period of liability of 365 consecutive days. This means that this policy covers all
 6
 7   risks of direct physical loss or damage, including time element loss, unless specifically
 8
 9   excluded, that occur during the period of liability and covers loss that is incurred up to 365
10
11   days after the end of the period of liability.
12
13            18.       The UWMC Policy’s limit of liability is $600,000,000. The UWMC Policy
14
15   contains various sublimits, including without limitation, for civil or military authority
16
17   ($10,000,000), communicable disease decontamination costs ($2,500,000), time element loss
18
19   due to contamination by communicable disease ($1,000,000), and research and development
20
21   ($5,000,000).
22
23            19.       The UWMC Policy provides coverage for UWMC’s “Covered Locations” as
24
25   specified in a Schedule of Locations on file with the Insurer. The “Covered Locations”
26
27   include multiple locations, including, but not limited to, the inpatient campus location in
28
29   Montlake and various other locations in Seattle, Bellevue, and Edmonds (the “UWMC
30
31   Properties”).
32
33            20.       The UWMC Policy contains several different coverage provisions implicated
34
35   by this lawsuit, including but not limited to:
36
37                      a. COVERED PROPERTY. “We cover your insurable interest in the
38                         following types of property that are located at or within one-thousand
39                         (1,000) feet of a covered location, unless otherwise excluded: a. Real
40                         Property . . . b. Personal Property….” Real Property includes property
41                         such as “Building(s) and any other structures.” Personal Property includes
42                         property such as “Furniture, fixtures, . . . Materials, supplies.”
43
44                      b. PROPERTY DAMAGES COVERAGES AND LIMITATIONS -
45                         EXPEDITING EXPENSE. “We cover your reasonable and necessary
46                         costs: (1) For the temporary repair of covered property from a covered loss;
47



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 1                    and (2) To expedite the permanent repair or replacement of such damaged
 2                    property.”
 3
 4                 c. TIME ELEMENT LOSS. “We cover your actual loss sustained, as
 5                    provided in the TIME ELEMENT COVERAGES and TIME ELEMENT
 6                    COVERAGES AND LIMITATIONS, directly resulting from a loss of the
 7                    type insured by this Policy: a. To property described elsewhere in this
 8                    Policy and not otherwise excluded by this Policy, b. Used by you, or by
 9                    others with whom you have a contract, c. At a covered location or while in
10                    transit as provided by this Policy, d. During the applicable PERIOD OF
11                    LIABILITY described in this section.”
12
13                 d. TIME ELEMENT COVERAGES - EXTRA EXPENSE. “We cover
14                    your reasonable and necessary extra costs of the following incurred during
15                    the PERIOD OF LIABILITY applicable: (1) To temporarily continue as
16                    nearly normal as practicable the conduct of your business; and (2) The
17                    temporary use of property or facilities of yours or others.”
18
19                 e. TIME ELEMENT COVERAGES AND LIMITATIONS - CIVIL OR
20                    MILITARY AUTHORITY. “We cover your actual loss sustained and
21                    EXTRA EXPENSE during the period of interruption if an order of civil or
22                    military authority prohibits access to a covered location provided such
23                    order is caused by physical loss or damage of the type insured by this Policy
24                    at a covered location or within the number of statue miles specified in the
25                    LIMITS OF LIABILITY Table in the Declarations.”
26
27                 f. TIME ELEMENT COVERAGES AND LIMITATIONS -
28                    CONTINGENT TIME ELEMENT. “We cover your actual loss
29                    sustained and EXTRA EXPENSE during the PERIOD OF LIABILITY
30                    directly resulting from physical loss or damage of the type insured by this
31                    Policy at Direct Dependent Time Element Location(s) and Indirect
32                    Dependent Time Element Location(s) located within the territory of this
33                    Policy.”
34
35                 g. TIME ELEMENT COVERAGES AND LIMITATIONS - INGRESS /
36                    EGRESS. “We cover your actual loss sustained and EXTRA EXPENSE
37                    due to the necessary interruption of your business if ingress to or egress
38                    from a covered location is prevented, whether or not your premises or
39                    property is damaged, provided that such prevention is the result of physical
40                    loss or damage of the type insured to property of the type insured.”
41
42                 h. TIME ELEMENT COVERAGES AND LIMITATIONS -
43                    RESEARCH AND DEVELOPMENT. “We cover your actual loss
44                    sustained of fixed charges and ordinary payroll directly attributable to the
45                    interruption of research and development project(s) that would not have
46                    produced income during the PERIOD OF LIABILITY resulting from a
47                    covered loss.”


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 1                   i. COMMUNICABLE DISEASE DECONTAMINATION COST
 2                      ENDORSEMENT. “If your covered property at a covered location shown
 3                      on the Schedule of this endorsement is contaminated by a communicable
 4                      disease as the direct result of a covered loss, and there is in force at the time
 5                      of that covered loss a law or ordinance that requires you to decontaminate
 6                      that covered property as a result of this contamination by a communicable
 7                      disease, we will pay up to the limit as specific in the LIMITS OF
 8                      LIABILITY Table in the Declarations in any one (1) occurrence for those
 9                      decontamination costs incurred by you, but only to satisfy the minimum
10                      requirements of that applicable law or ordinance.”
11
12             ii.   The NWH Policy
13
14            21.    The term of the NWH Policy is July 1, 2019 through July 1, 2020 and has an
15
16   extended period of liability of 365 consecutive days. This means that this policy covers all
17
18   risks of direct physical loss or damage, including time element loss, unless specifically
19
20   excluded, that occur during the period of liability and covers loss that is incurred up to 365
21
22   days after the end of the period of liability.
23
24            22.    The NWH Policy’s limit of liability is $500,000,000. The NWH Policy
25
26   contains various sublimits, including without limitation, for civil or military authority
27
28   ($10,000,000), communicable disease decontamination costs ($2,500,000), time element loss
29
30   due to contamination by communicable disease ($1,000,000), and research and development
31
32   ($5,000,000).
33
34            23.    The NWH Policy provides coverage for NWS’s “Covered Locations” as
35
36   specified in a Schedule of Locations on file with the Insurer. The “Covered Locations”
37
38   include, but are not limited to, the inpatient campus location in north Seattle as well as several
39
40   leased properties throughout Seattle, Lake Forest Park, Mill Creek, and Montlake Terrace
41
42   (“NWH Properties”).
43
44            24.    The NWH Policy contains several different coverage provisions implicated by
45
46   this lawsuit, including but not limited to:
47



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 1                 a. COVERED PROPERTY. “We cover your insurable interest in the
 2                    following types of property that are located at or within one-thousand
 3                    (1,000) feet of a covered location, unless otherwise excluded: a. Real
 4                    Property . . . b. Personal Property….” Real Property includes property
 5                    such as “Building(s) and any other structures.” Personal Property includes
 6                    property such as “Furniture, fixtures, . . . Materials, supplies.”
 7
 8                 b. PROPERTY DAMAGES COVERAGES AND LIMITATIONS -
 9                    EXPEDITING EXPENSE. “We cover your reasonable and necessary
10                    costs: (1) For the temporary repair of covered property from a covered loss;
11                    and (2) To expedite the permanent repair or replacement of such damaged
12                    property.”
13
14                 c. TIME ELEMENT LOSS. “We cover your actual loss sustained, as
15                    provided in the TIME ELEMENT COVERAGES and TIME ELEMENT
16                    COVERAGES AND LIMITATIONS, directly resulting from a loss of the
17                    type insured by this Policy: a. To property described elsewhere in this
18                    Policy and not otherwise excluded by this Policy, b. Used by you, or by
19                    others with whom you have a contract, c. At a covered location or while in
20                    transit as provided by this Policy, d. During the applicable PERIOD OF
21                    LIABILITY described in this section.”
22
23                 d. TIME ELEMENT COVERAGES - EXTRA EXPENSE. “We cover
24                    your reasonable and necessary extra costs of the following incurred during
25                    the PERIOD OF LIABILITY applicable: (1) To temporarily continue as
26                    nearly normal as practicable the conduct of your business; and (2) The
27                    temporary use of property or facilities of yours or others.”
28
29                 e. TIME ELEMENT COVERAGES - LEASEHOLD INTEREST. “We
30                    cover the following: (1) If the lease agreement requires continuation of rent
31                    as a result of a covered loss, and if the covered property is wholly or
32                    partially untenantable or unusable, the actual rent payable while the
33                    covered property is untenantable or until the lease is terminated, but not
34                    exceeding the unexpired term of the lease.”
35
36                 f. TIME ELEMENT COVERAGES AND LIMITATIONS - CIVIL OR
37                    MILITARY AUTHORITY. “We cover your actual loss sustained and
38                    EXTRA EXPENSE during the period of interruption if an order of civil or
39                    military authority prohibits access to a covered location provided such
40                    order is caused by physical loss or damage of the type insured by this Policy
41                    at a covered location or within the number of statue miles specified in the
42                    LIMITS OF LIABILITY Table in the Declarations.”
43
44                 g. TIME ELEMENT COVERAGES AND LIMITATIONS -
45                    CONTINGENT TIME ELEMENT. “We cover your actual loss
46                    sustained and EXTRA EXPENSE during the PERIOD OF LIABILITY
47                    directly resulting from physical loss or damage of the type insured by this


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 1                       Policy at Direct Dependent Time Element Location(s) and Indirect
 2                       Dependent Time Element Location(s) located within the territory of this
 3                       Policy.”
 4
 5                   h. TIME ELEMENT COVERAGES AND LIMITATIONS - INGRESS /
 6                      EGRESS. “We cover your actual loss sustained and EXTRA EXPENSE
 7                      due to the necessary interruption of your business if ingress to or egress
 8                      from a covered location is prevented, whether or not your premises or
 9                      property is damaged, provided that such prevention is the result of physical
10                      loss or damage of the type insured to property of the type insured.”
11
12                   i. TIME ELEMENT COVERAGES AND LIMITATIONS -
13                      RESEARCH AND DEVELOPMENT. “We cover your actual loss
14                      sustained of fixed charges and ordinary payroll directly attributable to the
15                      interruption of research and development project(s) that would not have
16                      produced income during the PERIOD OF LIABILITY resulting from a
17                      covered loss.”
18
19                   j. COMMUNICABLE DISEASE DECONTAMINATION COST
20                      ENDORSEMENT. “If your covered property at a covered location shown
21                      on the Schedule of this endorsement is contaminated by a communicable
22                      disease as the direct result of a covered loss, and there is in force at the time
23                      of that covered loss a law or ordinance that requires you to decontaminate
24                      that covered property as a result of this contamination by a communicable
25                      disease, we will pay up to the limit as specific in the LIMITS OF
26                      LIABILITY Table in the Declarations in any one (1) occurrence for those
27                      decontamination costs incurred by you, but only to satisfy the minimum
28                      requirements of that applicable law or ordinance.”
29
30                   k. TIME ELEMENT LOSSES DUE TO CONTAMINATION BY
31                      COMMUNICABLE. “If your covered property at a covered location is
32                      contaminated by a communicable disease, and there is in force at the time
33                      of that covered loss a law or ordinance that requires you to suspend your
34                      operations on account of that contamination, we will pay the actual loss of
35                      GROSS PROFIT or GROSS EARNINGS you sustain due to the necessary
36                      suspension of your normal operations at that covered location because it is
37                      either partially or totally closed by order of authority described in b.
38                      below.”
39
40            iii.   The HMC Policy
41
42            25.    The term of the HMC Policy is July 1, 2019 through July 1, 2020 and has an
43
44   extended period of liability of 365 consecutive days. This means that this policy covers all
45
46   risks of direct physical loss or damage, including time element loss, unless specifically
47



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 1   excluded, that occur during the period of liability and covers loss that is incurred up to 365
 2
 3   days after the end of the period of liability.
 4
 5            26.    The HMC Policy’s limit of liability is $600,000,000. The HMC Policy
 6
 7   contains various sublimits, including without limitation, for civil or military authority
 8
 9   ($10,000,000), communicable disease decontamination costs ($2,500,000), time element loss
10
11   due to contamination by communicable disease ($1,000,000), and research and development
12
13   ($5,000,000).
14
15            27.    The HMC Policy provides coverage for HMC’s “Covered Locations” as
16
17   specified in a Schedule of Locations on file with the Insurer. The “Covered Locations”
18
19   include multiple locations, including, but not limited to, the main center, parking garages, and
20
21   various other locations throughout Seattle (“HMC Properties”).
22
23            28.    The HMC Policy contains several different coverage provisions implicated by
24
25   this lawsuit, including but not limited to:
26
27                   a. COVERED PROPERTY. “We cover your insurable interest in the
28                      following types of property that are located at or within one-thousand
29                      (1,000) feet of a covered location, unless otherwise excluded: a. Real
30                      Property . . . b. Personal Property….” Real Property includes property
31                      such as “Building(s) and any other structures.” Personal Property includes
32                      property such as “Furniture, fixtures, . . . Materials, supplies.”
33
34                   b. PROPERTY DAMAGES COVERAGES AND LIMITATIONS -
35                      EXPEDITING EXPENSE. “We cover your reasonable and necessary
36                      costs: (1) For the temporary repair of covered property from a covered loss;
37                      and (2) To expedite the permanent repair or replacement of such damaged
38                      property.”
39
40                   c. TIME ELEMENT LOSS. “We cover your actual loss sustained, as
41                      provided in the TIME ELEMENT COVERAGES and TIME ELEMENT
42                      COVERAGES AND LIMITATIONS, directly resulting from a loss of the
43                      type insured by this Policy: a. To property described elsewhere in this
44                      Policy and not otherwise excluded by this Policy, b. Used by you, or by
45                      others with whom you have a contract, c. At a covered location or while in
46                      transit as provided by this Policy, d. During the applicable PERIOD OF
47                      LIABILITY described in this section.”


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 1                 d. TIME ELEMENT COVERAGES - EXTRA EXPENSE. “We cover
 2                    your reasonable and necessary extra costs of the following incurred during
 3                    the PERIOD OF LIABILITY applicable: (1) To temporarily continue as
 4                    nearly normal as practicable the conduct of your business; and (2) The
 5                    temporary use of property or facilities of yours or others.”
 6
 7                 e. TIME ELEMENT COVERAGES AND LIMITATIONS - CIVIL OR
 8                    MILITARY AUTHORITY. “We cover your actual loss sustained and
 9                    EXTRA EXPENSE during the period of interruption if an order of civil or
10                    military authority prohibits access to a covered location provided such
11                    order is caused by physical loss or damage of the type insured by this Policy
12                    at a covered location or within the number of statue miles specified in the
13                    LIMITS OF LIABILITY Table in the Declarations.”
14
15                 f. TIME ELEMENT COVERAGES AND LIMITATIONS -
16                    CONTINGENT TIME ELEMENT. “We cover your actual loss
17                    sustained and EXTRA EXPENSE during the PERIOD OF LIABILITY
18                    directly resulting from physical loss or damage of the type insured by this
19                    Policy at Direct Dependent Time Element Location(s) and Indirect
20                    Dependent Time Element Location(s) located within the territory of this
21                    Policy.”
22
23                 g. TIME ELEMENT COVERAGES AND LIMITATIONS - INGRESS /
24                    EGRESS. “We cover your actual loss sustained and EXTRA EXPENSE
25                    due to the necessary interruption of your business if ingress to or egress
26                    from a covered location is prevented, whether or not your premises or
27                    property is damaged, provided that such prevention is the result of physical
28                    loss or damage of the type insured to property of the type insured.”
29
30                 h. TIME ELEMENT COVERAGES AND LIMITATIONS -
31                    RESEARCH AND DEVELOPMENT. “We cover your actual loss
32                    sustained of fixed charges and ordinary payroll directly attributable to the
33                    interruption of research and development project(s) that would not have
34                    produced income during the PERIOD OF LIABILITY resulting from a
35                    covered loss.”
36
37                 i. COMMUNICABLE DISEASE DECONTAMINATION COST
38                    ENDORSEMENT. “If your covered property at a covered location shown
39                    on the Schedule of this endorsement is contaminated by a communicable
40                    disease as the direct result of a covered loss, and there is in force at the time
41                    of that covered loss a law or ordinance that requires you to decontaminate
42                    that covered property as a result of this contamination by a communicable
43                    disease, we will pay up to the limit as specific in the LIMITS OF
44                    LIABILITY Table in the Declarations in any one (1) occurrence for those
45                    decontamination costs incurred by you, but only to satisfy the minimum
46                    requirements of that applicable law or ordinance.”
47



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 1                    j. TIME ELEMENT LOSSES DUE TO CONTAMINATION BY
 2                       COMMUNICABLE. “If your covered property at a covered location is
 3                       contaminated by a communicable disease, and there is in force at the time
 4                       of that covered loss a law or ordinance that requires you to suspend your
 5                       operations on account of that contamination, we will pay the actual loss of
 6                       GROSS PROFIT or GROSS EARNINGS you sustain due to the necessary
 7                       suspension of your normal operations at that covered location because it is
 8                       either partially or totally closed by order of authority described in b.
 9                       below.”
10
11             iv.    The Stadium Policy
12
13            29.     The term of the Stadium Policy is March 1, 2020 through March 1, 2021 and
14
15   has an extended period of liability of 365 consecutive days. This means that this policy covers
16
17   all risks of direct physical loss or damage, including time element loss, unless specifically
18
19   excluded, that occur during the period of liability and covers loss that is incurred up to 365
20
21   days after the end of the period of liability.
22
23            30.     The Stadium Policy’s limit of liability is $331,055,581. The Stadium Policy
24
25   contains various sublimits, including without limitation, for time element ($23,567,631), civil
26
27   or military authority ($1,000,000), decontamination costs ($1,000,000), and extra expense
28
29   ($10,000,000).
30
31            31.     The Stadium Policy provides coverage for the Stadium’s “Covered Locations”
32
33   as specified in a Schedule of Locations on file with the Insurer. The “Covered Locations”
34
35   include Husky Stadium (“Stadium Properties”).
36
37            32.     The Stadium Policy contains several different coverage provisions implicated
38
39   by this lawsuit, including but not limited to:
40
41                    a. COVERED PROPERTY. “We cover your insurable interest in the
42                       following types of property that are located at or within one-thousand
43                       (1,000) feet of a covered location, unless otherwise excluded: a. Real
44                       Property . . . b. Personal Property….” Real Property includes property
45                       such as “Building(s) and any other structures.” Personal Property includes
46                       property such as “Furniture, fixtures, . . . Materials, supplies.”
47



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 1                 b. PROPERTY DAMAGES COVERAGES AND LIMITATIONS -
 2                    EXPEDITING EXPENSE. “We cover your reasonable and necessary
 3                    costs: (1) For the temporary repair of covered property from a covered loss;
 4                    and (2) To expedite the permanent repair or replacement of such damaged
 5                    property.”
 6
 7                 c. TIME ELEMENT LOSS. “We cover your actual loss sustained, as
 8                    provided in the TIME ELEMENT COVERAGES and TIME ELEMENT
 9                    COVERAGES AND LIMITATIONS, directly resulting from a loss of the
10                    type insured by this Policy: a. To property described elsewhere in this
11                    Policy and not otherwise excluded by this Policy, b. Used by you, or by
12                    others with whom you have a contract, c. At a covered location or while in
13                    transit as provided by this Policy, d. During the applicable PERIOD OF
14                    LIABILITY described in this section.”
15
16                 d. TIME ELEMENT COVERAGES - EXTRA EXPENSE. “We cover
17                    your reasonable and necessary extra costs of the following incurred during
18                    the PERIOD OF LIABILITY applicable: (1) To temporarily continue as
19                    nearly normal as practicable the conduct of your business; and (2) The
20                    temporary use of property or facilities of yours or others.”
21
22                 e. TIME ELEMENT COVERAGES AND LIMITATIONS -
23                    ATTRACTION PROPERTY. “We cover your actual loss sustained and
24                    EXTRA EXPENSE resulting from loss or damage of the type insured by
25                    this Policy to property of the type insured at an attraction property within
26                    the number of statute miles specified in the LIMITS OF LIABILITY Table
27                    in the Declarations and during the period of that (1) Starts at the time of
28                    such physical loss or damage happens; (2) Ends when the attraction
29                    property is (a) Repaired or replaced; and (b) Made ready for
30                    operations . . . the term attraction property is a property that (1) Is operated
31                    by others; and (2) You depend on to attract customers to your covered
32                    location.”
33
34                 f. TIME ELEMENT COVERAGES AND LIMITATIONS - CIVIL OR
35                    MILITARY AUTHORITY. “We cover your actual loss sustained and
36                    EXTRA EXPENSE during the period of interruption if an order of civil or
37                    military authority prohibits access to a covered location provided such
38                    order is caused by physical loss or damage of the type insured by this Policy
39                    at a covered location or within the number of statue miles specified in the
40                    LIMITS OF LIABILITY Table in the Declarations.”
41
42                 g. TIME ELEMENT COVERAGES AND LIMITATIONS -
43                    CONTINGENT TIME ELEMENT. “We cover your actual loss
44                    sustained and EXTRA EXPENSE during the PERIOD OF LIABILITY
45                    directly resulting from physical loss or damage of the type insured by this
46                    Policy at Direct Dependent Time Element Location(s) and Indirect
47



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 1                         Dependent Time Element Location(s) located within the territory of this
 2                         Policy.”
 3
 4                      h. TIME ELEMENT COVERAGES AND LIMITATIONS - INGRESS /
 5                         EGRESS. “We cover your actual loss sustained and EXTRA EXPENSE
 6                         due to the necessary interruption of your business if ingress to or egress
 7                         from a covered location is prevented, whether or not your premises or
 8                         property is damaged, provided that such prevention is the result of physical
 9                         loss or damage of the type insured to property of the type insured.”
10
11                      i. TIME ELEMENT COVERAGES AND LIMITATIONS -
12                         RESEARCH AND DEVELOPMENT. “We cover your actual loss
13                         sustained of fixed charges and ordinary payroll directly attributable to the
14                         interruption of research and development project(s) that would not have
15                         produced income during the PERIOD OF LIABILITY resulting from a
16                         covered loss.”
17
18                      j. TIME ELEMENT LOSSES DUE TO CONTAMINATION BY
19                         COMMUNICABLE. “If your covered property at a covered location is
20                         contaminated by a communicable disease, and there is in force at the time
21                         of that covered loss a law or ordinance that requires you to suspend your
22                         operations on account of that contamination, we will pay the actual loss of
23                         GROSS PROFIT or GROSS EARNINGS you sustain due to the necessary
24                         suspension of your normal operations at that covered location because it is
25                         either partially or totally closed by order of authority described in b.
26                         below.”
27
28                 v.   The Athletics Policy
29
30            33.       The term of the Athletics Policy is March 1, 2020 through March 1, 2021 and
31
32   has an extended period of liability of 365 consecutive days. This means that this policy covers
33
34   all risks of direct physical loss or damage, including time element loss, unless specifically
35
36   excluded, that occur during the period of liability and covers loss that is incurred up to 365
37
38   days after the end of the period of liability.
39
40            34.       The Athletics Policy’s limit of liability is $250,000,000. The Athletics Policy
41
42   also contains various sublimits, including without limitation, for time element ($4,345,657),
43
44   civil or military authority ($10,000,000), decontamination costs ($1,000,000), and extra
45
46   expense ($25,000,000).
47



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 1            35.   The Athletics Policy provides coverage for the Athletics’ “Covered Locations”
 2
 3   as reflected on the scheduled locations which include, but are not limited to, Nordstrom Tennis
 4
 5   Facility, Conibear Shell House, Graves Annex, Tubby Graves Building, Hec Edmonson
 6
 7   Pavilion, Women’s Softball Facility, Dempsey Indoor Practice Facility, Baseball Team
 8
 9   Building, Stadium/Hec Edmonson Scoreboard Equipment Daktronics ICA Digital Scoreboard
10
11   System, and ICA Husky Ballpark (“Athletic Properties”).
12
13            36.   The Athletic Policy contains several different coverage provisions implicated
14
15   by this lawsuit, including but not limited to:
16
17                  a. COVERED PROPERTY. “We cover your insurable interest in the
18                     following types of property that are located at or within one-thousand
19                     (1,000) feet of a covered location, unless otherwise excluded: a. Real
20                     Property . . . b. Personal Property….” Real Property includes property
21                     such as “Building(s) and any other structures.” Personal Property includes
22                     property such as “Furniture, fixtures, . . . Materials, supplies.”
23
24                  b. PROPERTY DAMAGES COVERAGES AND LIMITATIONS -
25                     EXPEDITING EXPENSE. “We cover your reasonable and necessary
26                     costs: (1) For the temporary repair of covered property from a covered loss;
27                     and (2) To expedite the permanent repair or replacement of such damaged
28                     property.”
29
30                  c. TIME ELEMENT LOSS. “We cover your actual loss sustained, as
31                     provided in the TIME ELEMENT COVERAGES and TIME ELEMENT
32                     COVERAGES AND LIMITATIONS, directly resulting from a loss of the
33                     type insured by this Policy: a. To property described elsewhere in this
34                     Policy and not otherwise excluded by this Policy. b. Used by you, or by
35                     others with whom you have a contract, c. At a covered location or while in
36                     transit as provided by this Policy, d. During the applicable PERIOD OF
37                     LIABILITY described in this section.”
38
39                  d. TIME ELEMENT COVERAGES - EXTRA EXPENSE. “We cover
40                     your reasonable and necessary extra costs of the following incurred during
41                     the PERIOD OF LIABILITY applicable: (1) To temporarily continue as
42                     nearly normal as practicable the conduct of your business; and (2) The
43                     temporary use of property or facilities of yours or others.”
44
45                  e. TIME ELEMENT COVERAGES AND LIMITATIONS -
46                     ATTRACTION PROPERTY. “We cover your actual loss sustained and
47                     EXTRA EXPENSE resulting from loss or damage of the type insured by


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 1                    this Policy to property of the type insured at an attraction property within
 2                    the number of statute miles specified in the LIMITS OF LIABILITY Table
 3                    in the Declarations and during the period of that (1) Starts at the time of
 4                    such physical loss or damage happens; (2) Ends when the attraction
 5                    property is (a) Repaired or replaced; and (b) Made ready for
 6                    operations . . . the term attraction property is a property that (1) Is operated
 7                    by others; and (2) You depend on to attract customers to your covered
 8                    location.”
 9
10                 f. TIME ELEMENT COVERAGES AND LIMITATIONS - CIVIL OR
11                    MILITARY AUTHORITY. “We cover your actual loss sustained and
12                    EXTRA EXPENSE during the period of interruption if an order of civil or
13                    military authority prohibits access to a covered location provided such
14                    order is caused by physical loss or damage of the type insured by this Policy
15                    at a covered location nor within the number of statue miles specified in the
16                    LIMITS OF LIABILITY Table in the Declarations.”
17
18                 g. TIME ELEMENT COVERAGES AND LIMITATIONS -
19                    CONTINGENT TIME ELEMENT. “We cover your actual loss
20                    sustained and EXTRA EXPENSE during the PERIOD OF LIABILITY
21                    directly resulting from physical loss or damage of the type insured by this
22                    Policy at Direct Dependent Time Element Location(s) and Indirect
23                    Dependent Time Element Location(s) located within the territory of this
24                    Policy.”
25
26                 h. TIME ELEMENT COVERAGES AND LIMITATIONS - INGRESS /
27                    EGRESS. “We cover your actual loss sustained and EXTRA EXPENSE
28                    due to the necessary interruption of your business if ingress to or egress
29                    from a covered location is prevented, whether or not your premises or
30                    property is damaged, provided that such prevention is the result of physical
31                    loss or damage of the type insured to property of the type insured.”
32
33                 i. TIME ELEMENT COVERAGES AND LIMITATIONS -
34                    RESEARCH AND DEVELOPMENT. “We cover your actual loss
35                    sustained or fixed charges and ordinary payroll directly attributable to the
36                    interruption of research and development project(s) that would not have
37                    produced income during the PERIOD OF LIABILITY resulting from a
38                    covered loss.”
39
40
41
42
43
44
45
46
47



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 1   C.       The COVID-19 Pandemic
 2
 3                 i.   The Nature and Spread of COVID-19
 4
 5            37.       COVID-19 is a communicable disease caused by a novel coronavirus known
 6
 7   as SARS-CoV-2. The SARS-CoV-2 virus can cause systemic illness and death.1
 8
 9            38.       On January 30, 2020, the World Health Organization (“WHO”) declared
10
11   COVID-19 a Public Health Emergency of International Concern. On March 11, 2020, the
12
13   WHO upgraded its declaration to recognize COVID-19 as a global pandemic.
14
15            39.       The WHO reporting reflects that COVID-19 is highly transmissible and can be
16
17   passed, among other ways, through:
18
19                      a. “direct, indirect, or close contact with infected people;”
20
21                      b. exposure to respiratory droplets from a person “in close contact (within 1
22                         metre) with an infected person who has respiratory symptoms (e.g.
23                         coughing or sneezing) or who is talking or singing;”
24
25                      c. airborne or aerosol transmission where droplets remain in the air for
26                         extended periods of time and over long distances; and
27
28                      d. coming into contact with an infected surface as “viable SARS-CoV-2 virus
29                         and/or RNA . . . can be found on . . . surfaces for periods ranging from
30                         hours to days, depending on the ambient environment (including
31                         temperature and humidity) and the type of surface.”2
32
33            40.       The U.S. Centers for Disease Control and Prevention (“CDC”) has similarly
34
35   concluded that COVID-19 “is spreading very easily and sustainably between people.”3
36
37
38
39
40            1
                Tianna Hicklin, Immune cells for common cold may recognize SARS-COV-2, NAT’L INST.
41   HEALTH (Aug. 18, 2020), https://www.nih.gov/news-events/nih-research-matters/immune-cells-
42   common-cold-may-recognize-sars-cov-2 (last visited Aug. 5, 2021).
43            2
                Transmission of SARS-CoV-2: implications for infection prevention precautions, World
44   Health Org. (Jul. 9, 2020), https://www.who.int/news-room/commentaries/detail/transmission-of-
45   sars-cov-2-implications-for-infection-prevention-precautions.
46            3
                How it Spreads, Ctr. for Disease Control and Prevention (Updated Jun. 16, 2020),
47   https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/how-covid-spreads.html.


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 1            41.    At least one aerosols expert, University of Colorado chemistry professor Jose-
 2
 3   Luis Jimenez, stated in a March 2020 interview that individuals should maintain at least 25
 4
 5   feet of distance between themselves and others to prevent the aerosol spread of SARS-CoV-
 6
 7   2.4
 8
 9            42.    Due to the pervasive spread and presence of SARS-CoV-2 and COVID-19
10
11   worldwide, both are presumed to be present or imminently present everywhere.5
12
13            43.    With respect to surfaces, a March 2020 National Institutes of Health study
14
15   published in the New England Journal of Medicine reported that SARS-CoV-2 “remained
16
17   active on plastic and stainless-steel surfaces for two to three days” and “remained infectious
18
19   for up to 24 hours on cardboard and four hours on copper.”6 The same study found that SARS-
20
21   CoV-2 “was detectable in aerosols for up to three hours.” All of these materials are present
22
23   at UW’s Properties.
24
25            44.    Other studies have found that SARS-CoV-2 may be found on various surfaces
26
27   for even longer periods of time. For example, the CDC determined that SARS-CoV-2 RNA
28
29   was identifiable on surfaces within the Diamond Princess cruise ship up to 17 days after the
30
31   cabins had been vacated.7
32
33
34
35            4
                Chris Bianchi, Coronavirus: Tips to stay safe while exercising outdoors, PIONEER PRESS
36   (March 27, 2020), https://www.twincities.com/2020/03/27/coronavirus-exercising-outdoors-jogging-
37   staying-safe-tips/
38            5
                See, e.g., Christopher Ingraham, At the population level, the coronavirus is almost literally
39   everywhere, WASH. POST (Apr. 1, 2020),
40   https://www.washingtonpost.com/business/2020/04/01/population-level-coronavirus-is-almost-
41   literally-everywhere/ (last visited Aug. 5, 2021).
42            6
                Study Suggests New Coronavirus May Remain on Surfaces for Days, Nat’l Inst. of Health
43   (Mar. 24, 2020), https://www.nih.gov/news-events/nih-research-matters/study-suggests-new-
44   coronavirus-may-remain-surfaces-days.
45            7
                Leah F. Moriarty, et al., Public Health Responses to COVID-19 Outbreaks on Cruise Ships
46   — Worldwide, February-March 2020, Ctr. for Disease Control and Prevention (Mar. 27, 2020),
47   https://www.cdc.gov/mmwr/volumes/69/wr/mm6912e3.htm.


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 1            45.    Another study published on October 7, 2020 in the Virology Journal
 2
 3   determined that “SARS-CoV-2 can be recovered from non-porous surfaces for at least 28 days
 4
 5   at ambient temperature and humidity (20 °C and 50% RH).”8
 6
 7            46.    The presence of COVID-19 is not simply reflected in reported cases or
 8
 9   individuals’ positive test results, which drastically underestimate the number of cases because
10
11   only a portion of the population gets tested. The CDC estimated that the number of people in
12
13   the United States who had been infected with COVID-19 was ten times higher than the number
14
15   of reported cases in June 2020.9 And at least 40% of people infected with COVID-19 are
16
17   asymptomatic.10 Scientific studies suggest that even asymptomatic individuals can shed
18
19   and/or transmit SARS-CoV-2 particles at a level sufficient to infect others.
20
21            47.    COVID-19 is particularly dangerous because it has an incubation period (the
22
23   time between exposure and manifesting symptoms) of up to 14 days, during which time
24
25   infected people can unknowingly transmit COVID-19 and release infectious droplets and
26
27   aerosols into the air and onto surfaces.11
28
29            8
                 Riddell, S., Goldie, S., Hill, A. et al. The effect of temperature on persistence of SARS-
30   CoV-2 on common surfaces, Virol J 17, 145 (2020), https://doi.org/10.1186/s12985-020-01418-7.
31            9
                 Lena H. Sun & Joel Achenbach, CDC chief says coronavirus cases may be 10 times higher
32   than reported, WASH. POST (June 25, 2020),
33   https://www.washingtonpost.com/health/2020/06/25/coronavirus-cases-10-times-larger/ (last visited
34   Aug. 5, 2021).
35            10
                  Ellen Cranley, 40% of people infected with covid-19 are asymptomatic, a new CDC
36   estimate says, BUS. INSIDER (July 12, 2020), https://www.businessinsider.com/cdc-estimate-40-
37   percent-infected-with-covid-19-asymptomatic-2020-7 (last visited Aug 5, 2021), see also Apoorva
38   Mandavilli, Even Asymptomatic People Carry the Coronavirus in High Amounts, N.Y. TIMES (Aug.
39   6, 2020), https://www.nytimes.com/2020/08/06/health/coronavirus-asymptomatic-transmission.html
40   (last visited Aug. 11, 2021); see also Erika Edwards, Asymptomatic COVID-19 Cases May Be More
41   Common Than Suspected (May 27, 2020), https://www.nbcnews.com/health/health-
42   news/asymptomatic-covid-19-cases-maybe-more-common-suspected-n1215481 (last visited Aug.
43   11, 2021).
44            11
                  Coronavirus Disease (COVID-19) Situation Report - 73, World Health Org. (Apr. 2,
45   2020), https://www.who.int/docs/default-source/coronaviruse/situation-reports/20200402-sitrep-73-
46   covid-19; Minghui Yang et al., SARS-CoV-2 Detected on Environmental Fomites for Both
47   Asymptomatic and Symptomatic Patients with COVID-19, 203 AM. J. RESPIRATORY & CRITICAL


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 1            48.   Pre-symptomatic individuals carry high levels of “viral load” during a period
 2
 3   when they are not aware that they are infectious, and therefore pose an even greater risk to
 4
 5   transmit COVID-19.12 According to the National Academy of Sciences, “the majority of
 6
 7   transmission is attributable to people who are not exhibiting symptoms, either because they
 8
 9   are still in the pre-symptomatic stage, or the infection is asymptomatic.”13
10
11            49.   Due to the prevalence of COVID-19 infections in the United States and
12
13   globally, UW’s locations would have had consistently high risks for presence of the SARS-
14
15   CoV-2 virus in the air and/or on surfaces from infected patients and employees, some of whom
16
17   would have been asymptomatic or presymptomatic unknowing spreaders or superspreaders of
18
19   SARS-CoV-2.
20
21            50.   The SARS-CoV-2 virus is released into the air when infected persons breathe,
22
23   talk, cough, or sneeze, and such releases can infiltrate ventilation systems and land on
24
25   numerous other surfaces, including high-touch areas such as counters and door handles.
26
27   SARS-CoV-2 has and continues to deposit, and therefore elevates contagion risks on,
28
29   numerous surfaces that people touch, which have been transformed into disease-spreading
30
31   fomites.
32
33            51.   The presence of SARS-CoV-2 in the air and on surfaces has caused physical
34
35   damage to UW’s property and, in turn, caused a direct physical loss of that property by making
36
37
38   CARE MED. 3 (Dec. 16, 2020), https://www.atsjournals.org/doi/10.1164/rccm.202006-2136LE (last
39   visited Aug. 5, 2021).
40            12
                 See, e.g., Xi He et al., Temporal dynamics in viral shedding and transmissibility of
41   COVID-19, 26 NATURE MED. 672, 674 (Apr. 15, 2020), https://www.nature.com/articles/s41591-
42   020-0869-5 (last visited Aug. 5, 2021); Lirong Zou, M.Sc., et al., SARS-CoV-2 Viral Load in Upper
43   Respiratory Specimens of Infected Patients, NEW ENG. J. MED. 382, 1177-79 (Mar. 19, 2020),
44   https://www.nejm.org/doi/full/10.1056/NEJMc2001737 (last visited Aug. 5, 2021).
45            13
                 Seyed M. Moghadas et al., The implications of silent transmission for the control of
46   COVID-19 outbreaks, 117 PNAS 30, 17513-15 (July 28, 2020),
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 1   unfit for its intended uses and/or and uninhabitable. See Seattle Tunnel Partners 2022 WL
 2
 3   4241893, at *11-*12.
 4
 5            52.    According to the CDC, the COVID-19 communicable disease has spread freely
 6
 7   throughout the United States without the ability to document the source of new infections.
 8
 9   This is known as community transmission or community spread.
10
11            53.    COVID-19 is extremely contagious. Contagiousness of an infectious disease
12
13   is measured by R0, a term that defines the average number of other people who are likely to
14
15   become infected by one person with that disease. The R0 is a measure of the transmissibility
16
17   of a pathogen and is determined by estimating the susceptibility of individuals in the
18
19   population to disease, the transmissibility of the pathogen, and the likelihood and duration of
20
21   contact between individuals in a population.14 Studies have concluded that one person with
22
23   COVID-19 could infect as many as 5.7 other people (R0 ≈ 5.7), which is more than triple the
24
25   rate of seasonal influenza for example, where one person will infect only 1.3 others on average
26
27   (R0 ≈ 1.3).15
28
29            54.    SARS-CoV-2 can survive for up to 28 days at room temperature on numerous
30
31   surfaces, such as glass, steel, vinyl, plastic, and paper.16 For example, as mentioned above,
32
33
34
35
36
37            14
                 Anthony R. Ives & Claudio Bozzuto, Estimating and explaining the spread of COVID-19
38   at the county level in the USA, 4 COMMC’NS BIOLOGY 60 (Jan. 20, 2021),
39   https://www.nature.com/articles/s42003-020-01609-6 (last visited Aug. 5, 2021).
40            15
                 M. Cevik, C.C.G. Bamford & A. Ho, COVID-19 pandemic-a focused review for
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                 Shane Riddell et al., The effect of temperature on persistence of SARS-CoV-2 on common
45   surfaces, 17 VIROLOGY J. 145 (Oct. 7, 2020),
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 1   the virus was identified on surfaces in cruise ship cabins 17 days after they had been vacated
 2
 3   but prior to disinfection. 17
 4
 5            55.     UW has such surfaces in its Properties.
 6
 7            56.     According to the WHO, COVID-19 primarily spreads through small droplets
 8
 9   from the nose or mouth. People can catch COVID-19 by breathing in these droplets in the
10
11   air—especially if they are within one meter (~3 feet) of an infected person—or by touching
12
13   surfaces—such as tables, doorknobs, elevator buttons, and handrails—on which droplets have
14
15   landed and then touching their eyes, nose, or mouth.18
16
17             ii.    COVID-19 Causes Direct Physical Damage to Property
18
19            57.     The COVID-19 communicable disease causes direct physical damage to
20
21   property in multiple ways.
22
23            58.     First, the presence of the virus carrying COVID-19 physically transforms the
24
25   content of the air in any location where it is present, rendering the air unsafe for individuals
26
27   to breathe.
28
29            59.     Larger SARS-CoV-2 particles in respiratory droplets can be transmitted about
30
31   six feet when expelled by a human.
32
33            60.     Smaller SARS-CoV-2 viral particles can remain airborne “indefinitely under
34
35   most indoor conditions.”19
36
37
38            17
                 Leah F. Moriarty et al., Public Health Responses to COVID-19 Outbreaks on Cruise
39   Ships — Worldwide, February–March 2020, 69 MMWR 12, 347-52 (Mar. 27, 2020),
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 1            61.   Humans produce infectious aerosols in a wide range of particle sizes, although
 2
 3   pathogens predominate in smaller particles.20 An M.I.T. researcher determined clouds of
 4
 5   “pathogen-bearing droplets of all sizes can travel 23 to 27 feet.”21 According to the Annals
 6
 7   of Internal Medicine, “there is abundant evidence that proximity is a key determinant of
 8
 9   transmission risk.”22
10
11            62.   Consequently, the risk of disease transmission increases substantially in indoor
12
13   settings. In fact, a contact-tracing study suggests “an 18.7-fold higher risk of transmissions
14
15   indoors compared with outdoor environments.”23 UW’s Properties are prime examples of
16
17   such environments.
18
19            63.   Even worse, air circulation systems such as those in UW’s Properties may
20
21   compound the risk of SARS-CoV-2 viral transmission in indoor settings, causing a further
22
23   direct physical transformation of the air within each Property.
24
25            64.   A research letter from the CDC concluded that, in one example, a restaurant’s
26
27   air conditioning system spread the virus to people who sat at tables downstream from the
28
29   restaurant’s airflow, infecting a total of ten people from three families who had eaten at the
30
31   same restaurant.24 In another study, SARS-CoV-2 was detected in the HVAC system
32
33
34            20
                 Id.
35            21
                 Lydia Bourouiba, Turbulent Gas Clouds and Respiratory Pathogen Emissions, Potential
36   Implications for Reducing Transmission of COVID-19, 323 JAMA 18, 1837-38 (Mar. 26, 2020),
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44   2021).
45            24
                 Jianyun Lu et al., COVID-19 outbreak associated with air conditioning in restaurant,
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 1   connected to hospital rooms for patients infected with COVID-19, including in vent openings,
 2
 3   vent exhaust filters and ducts located over 183 from the rooms with COVID-19 patients.25
 4
 5   The CDC has also identified numerous tools to improve ventilation to reduce exposures to
 6
 7   SARS-CoV-2 in indoor spaces, including increasing air flow and air filtration and using high-
 8
 9   efficiency particulate air (HEPA) fan/filtration systems to enhance air cleaning.26 Even then,
10
11   these remedial measures merely reduce the presence of SAR-CoV-2 in indoor spaces; they do
12
13   not eliminate the virus entirely.
14
15            65.   Second, the SARS-CoV-2 virus causes direct physical damage to property by
16
17   transforming physical objects, materials, or surfaces into “fomites.” “Fomites” are objects
18
19   “that may be contaminated with infectious agents (such as bacteria or viruses) and serve in
20
21   their transmission.”27 In other words, when an individual knowingly or unknowingly carrying
22
23   the SARS-CoV-2 virus touches and/or breathes on physical objects, materials, or surfaces, he
24
25   or she expels viral particles that land on such objects, materials, or surfaces, causing direct
26
27   physical loss or damage.
28
29            66.   Fomite transmission is estimated to have contributed to as much as 25% of
30
31   COVID-19 deaths by enhancing the overall transmission rate of the virus.28
32
33
34            25
                 Karolina Nissen et al., Long-distance airborne dispersal of SARS-CoV-2 in COVID-19
35   wards, SCI. REPS. 10, 19589 (Nov. 11, 2020),
36   https://www.nature.com/articles/s41598-020-76442-2(last visited Aug. 5, 2021).
37            26
                 Ventilation in Buildings, CDC (updated Mar. 23, 2021),
38   https://www.cdc.gov/coronavirus/2019-
39   ncov/community/ventilation.html#:~:text=HEPA%20filters%20are%20even%20more,with%20SAR
40   S%2DCoV%2D2 (last visited Aug. 5, 2021).
41            27
                 Fomite, MERRIAM-WEBSTER, https://www.merriam-webster.com/dictionary/fomite (last
42   visited Aug. 5, 2021).
43            28
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44   mechanisms: a mathematical analysis, 148 EPIDEMIOLOGY & INFECTION e257, 1-7 (Oct. 23, 2020),
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 1            67.    Citing numerous studies on the transmission of COVID-19, the WHO
 2
 3   described fomite transmission as follows:
 4
 5                   Respiratory secretions or droplets expelled by infected
 6                   individuals can contaminate surfaces and objects, creating
 7                   fomites (contaminated surfaces). Viable SARS-CoV-2 virus
 8                   and/or RNA detected by RT-PCR can be found on those
 9                   surfaces for periods ranging from hours to days, depending
10                   on the ambient environment (including temperature and
11                   humidity) and the type of surface, in particular at high
12                   concentration in health care facilities where COVID-19 patients
13                   were being treated. Therefore, transmission may also occur
14                   indirectly through touching surfaces in the immediate
15                   environment or objects contaminated with virus from an
16                   infected person . . . .29 (emphasis added).
17
18            68.    Because COVID-19 can be spread by touching contaminated surfaces,30
19
20   fomites transform objects, materials, and/or surfaces and can render such objects, materials,
21
22   and/or surfaces at UW’s Properties unsafe for their intended purposes.
23
24            69.    Based on this evidence, SARS-CoV-2 causes direct physical loss of or damage
25
26   to property. Specifically, the presence of SARS-CoV-2 in and on property, specifically in the
27
28   air and on surfaces and objects, causes direct physical loss of or damage to property by causing
29
30   physical harm to the property and otherwise making it unsafe and incapable of being used for
31
32   its intended purpose.
33
34            70.    The presence of COVID-19 makes a tangible alteration to everyday surfaces
35
36   and objects by turning this property into a transmission vehicle for spreading COVID-19 from
37
38   one person to the next. The WHO’s description of fomite transmission expressly recognizes
39
40   that COVID-19 physically alters property, describing respiratory secretions and droplets from
41
42            29
                 See, e.g., Transmission of SARS-CoV-2: implications for infection prevention precautions,
43   WHO (Jul. 9, 2020), https://www.who.int/news-room/commentaries/detail/transmission-of-sars-cov-
44   2-implications-for-infection-prevention-precautions (last visited Aug. 5, 2021).
45            30
                 See Coronavirus disease 2019 (COVID-19) Situation Report - 73, WHO (Apr. 2, 2020),
46   https://apps.who.int/iris/bitstream/handle/10665/331686/nCoVsitrep02Apr2020-
47   eng.pdf?sequence=1&isAllowed=y (last visited Aug. 5, 2021)


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 1   infected individuals as “creating fomites (contaminated surfaces)”31 (emphasis added). Thus,
 2
 3   viral droplets and respiratory secretions alter surfaces and objects by changing them to fomites
 4
 5   capable of transmitting COVID-19.
 6
 7            71.    COVID-19 adheres to objects and surfaces, causing physical harm and
 8
 9   alteration by becoming a part of the object’s surface and making that object unsafe for its
10
11   ordinary and intended use. Once COVID-19 is in, on, or near property, it is easily spread by
12
13   the air, people, and objects, causing additional direct physical loss of or damage to property.
14
15            72.    Even if routine cleaning and disinfection may reduce the odds of fomite
16
17   transfer, the risk of such transfer cannot be entirely removed or eliminated.
18
19            73.    No amount of routine cleaning or disinfection can entirely remove aerosolized
20
21   SARS-CoV-2 suspended in the air at UW’s Properties, making those locations more
22
23   dangerous, and therefore less safe and unfit for their intended uses.
24
25            74.    Finally, the presence of SARS-CoV-2 in and on property, including in indoor
26
27   air and on surfaces, materials, and/or objects, causes direct physical loss or damage to property
28
29   because it renders the property no longer safe or fit for its normal and intended use.
30
31   Respiratory droplets, aerosols, and fomites are physical substances that alter the physical
32
33   properties of building interiors and—based on the health risks associated with COVID-19—
34
35   make such property unsafe, uninhabitable, and incapable of being used for its intended
36
37   purpose.
38
39            iii.   COVID-19 Causes Direct Physical Loss to Property
40
41            75.    The Washington Supreme Court has specified that a “direct physical loss”
42
43   includes “the loss of use of the insured property” that is “caused by some physical condition
44
45            31
                See, e.g., Transmission of SARS-CoV-2: implications for infection prevention precautions,
46   WHO (Jul. 9, 2020), https://www.who.int/news-room/commentaries/detail/transmission-of-sars-cov-
47   2-implications-for-infection-prevention-precautions (last visited Aug. 5, 2021).


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 1   impacting the insured property.” Seattle Tunnel Partners, 2022 WL 4241893, at *11. The
 2
 3   Court has elaborated that “a loss of use claim is appropriate where the insured property is
 4
 5   rendered unfit for its intended purpose or uninhabitable based on some change in the physical
 6
 7   condition of the property.” Id. at *12.
 8
 9            76.    While government orders alone may not cause a “direct physical loss,” a
10
11   “direct physical loss” exists where government orders are coupled with allegations of
12
13   “imminent danger to the property, [ ] contamination with a problematic substance, and
14
15   [anything] that physically prevented use of the property or rendered it useless; . . . [or]
16
17   rendered [property] unsafe or uninhabitable because of a dangerous physical condition.” Hill
18
19   & Stout, 515 P.3d at 533 (Wash. 2022).
20
21            77.    COVID-19 is a communicable disease and, certainly, a “problematic
22
23   substance” under any reasonable definition. Its mere presence causes the loss of use of
24
25   property in whole or in part.
26
27            78.    Indeed, the presence of COVID-19 is so severe as to render some or all of any
28
29   property it touches to be unfit for its intended purposes, useless, and/or uninhabitable.
30
31             iv.   The Physical Presence of COVID-19 Caused Direct Physical Loss of or
32                   Damage to the UWMC, NWH, HMC, Stadium, and Athletic Properties
33
34            79.    COVID-19 was first reported in Wuhan City, China in or around December
35
36   2019.32 Available evidence “suggests that the start of the outbreak resulted from a single point
37
38   introduction in the human population around the time that the virus was first reported in
39
40   humans in Wuhan, China in December 2019.”33
41
42
43
44            32
                Coronavirus Disease (COVID-19) Situation Report - 94, World Health Org. (Apr. 23,
45   2020), https://www.who.int/docs/default-source/coronaviruse/situation-reports/20200423-sitrep-94-
46   covid-19 (last visited Aug. 5, 2021).
47           33
                Id.


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 1            80.   On or about January 21, 2020, the United States confirmed what was then
 2
 3   believed to be the first known case of COVID-19 in the country, involving an individual who
 4
 5   entered the United States in Seattle, Washington and resided in Washington State.
 6
 7            81.   On January 31, 2020, Health and Human Services Secretary Alex M. Azar II
 8
 9   declared a public health emergency to combat COVID-19.34
10
11            82.   Thereafter, COVID-19 began to rapidly spread across the United States,
12
13   including in, at, and near UW’s Properties and nearby locations
14
15            83.   After the late January/early February time period, COVID-19 spread rapidly
16
17   across the country, going from 24 confirmed cases at the end of February to over 186,000
18
19   confirmed cases by the end of March.
20
21            84.   Upon information and belief, many thousands (if not millions) more cases of
22
23   COVID-19 went unconfirmed due to, among other things, (a) lack of adequate testing
24
25   infrastructure and capacity; and (b) lack of public and scientific understanding about COVID-
26
27   19, including the ability for individuals to carry and/or shed the virus while pre-symptomatic
28
29   and/or asymptomatic.
30
31            85.   In response to the rapid spread of COVID-19, states began enacting stay at
32
33   home orders.
34
35            86.   On March 11, 2020, the WHO declared COVID-19 to be a “pandemic.”
36
37            87.   On March 13, 2020, the White House issued a Proclamation on Declaring a
38
39   National Emergency Concerning the Novel Coronavirus Disease (COVID-19) Outbreak.
40
41
42
43
44            34
               Secretary Azar Declares Public Health Emergency for United States for 2019 Novel
45   Coronavirus, U.S. Dep’t of Health and Human Serv. (Jan. 31, 2020),
46   https://www.hhs.gov/about/news/2020/01/31/secretary-azar-declares-public-health-emergency-us-
47   2019-novel-coronavirus.html (last visited Aug. 5, 2021).


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 1             88.   On February 29, 2020, Washington Governor Jay Inslee issued Proclamation
 2
 3   20-05, attached hereto as Exhibit 6, declaring a State of Emergency in all counties in the State
 4
 5   of Washington arising out of the presence and risks of COVID-19. The same day, King
 6
 7   County confirmed the first COVID-19 fatality in Washington State—a patient located near
 8
 9   the Properties in Kirkland, Washington.
10
11             89.   On March 11, 2020, Governor Inslee issued Proclamation 20-07, attached
12
13   hereto as Exhibit 7, banning “[g]atherings of 250 people or more for social, spiritual and
14
15   recreational activities including, but not limited to, community, civic, public, leisure, faith-
16
17   based, or sporting events; parades; concerts; festivals; conventions; fundraisers; and similar
18
19   activities” in King County (among others) until March 31, 2020 unless extended beyond that
20
21   date. Ex. 7 at 2 (emphasis added). Proclamation 20-07 recognized that COVID-19 is “a
22
23   respiratory disease that spreads easily from person to person and may result in serious illness
24
25   or death, has been confirmed in 9 counties of Washington State resulting in 24 deaths, with
26
27   significant community spread in King, Pierce, and Snohomish counties.” Id. at 1 (emphasis
28
29   added).
30
31             90.   On March 16, 2020, Governor Inslee issued Proclamation 20-13, attached
32
33   hereto as Exhibit 8, which “prohibit[ed] any number of people from gathering in any public
34
35   venue in which people congregate for purposes of public entertainment . . . to include all
36
37   public venues in which the serving, provision, or consumption of prepared food or beverages
38
39   occurs at a table, bar, or for consumption within.” See Ex. 8. This Proclamation also
40
41   “prohibit[ed] the operation of public venues in which people congregate for entertainment,
42
43   social or recreational purposes.” Id.
44
45             91.   That same day, Governor Inslee also issued Proclamation 20-14, attached
46
47   hereto as Exhibit 9, which barred gatherings of greater than 50 people and limited gatherings


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 1   of less than 50 people only to those activities that “comply with social distancing and
 2
 3   sanitation measures established by the United States Centers for Disease Control and
 4
 5   Prevention or the Washington State Department of Health guidelines.”
 6
 7            92.   On March 19, 2020, Governor Inslee issued Proclamation 20-24, attached
 8
 9   hereto as Exhibit 10, entitled “Restrictions on Non Urgent Medical Procedures.”
10
11   Proclamation 20-24 recognized that COVID-19 “has broadly spread throughout Washington
12
13   State” and declared that: “[t]o curtail the spread of the COVID-19 pandemic in Washington
14
15   State and to protect our health care workers as they provide health care services, it is necessary
16
17   to immediately prohibit all hospitals . . . in Washington State from providing health care
18
19   services, procedures and surgeries that require personal protective equipment, which if
20
21   delayed, are not anticipated to cause harm to the patient within the next three months, except
22
23   as provided herein.” Ex. 10 at 1. Proclamation 20-24 also notes that the ban on certain
24
25   procedures—which included “most joint replacements, most cataract and lens surgeries, non-
26
27   urgent cardiac procedures, cosmetic procedures, some endoscopy, and some interventional
28
29   radiology services”—was being done “to help preserve and maintain life, health, property or
30
31   the public peace.” Id. at 2 (emphasis added). Proclamation 20-24 was initially in effect from
32
33   March 19, 2020 to May 18, 2020.
34
35            93.   On March 23, 2020, Governor Inslee issued Proclamation 20-25, attached
36
37   hereto as Exhibit 11, entitled “Stay Home–Stay Healthy,” which recognized “ at least 2,221
38
39   cases of COVID-19 in Washington State” at the time and ordered that “[a]ll people in
40
41   Washington State shall immediately cease leaving their home or place of residence except:
42
43   (1) to conduct or participate in essential activities, and/or (2) for employment in essential
44
45   business services” until April 6, 2020 or beyond. Proclamation 20-25 further banned all public
46
47   gatherings and ordered that “[e]ffective midnight on March 25, 2020, all non-essential


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 1   businesses in Washington State shall cease operations except for performing basic minimum
 2
 3   operations.” Ex. 11, at ¶ 3.
 4
 5            94.    On May 18, 2020, Governor Inslee issued Proclamation 20-24.1, attached
 6
 7   hereto as Exhibit 12, which extended Washington’s prohibition on hospitals (among other
 8
 9   facilities) “from providing non-urgent health care and dental services, procedures, and
10
11   surgeries” until “until the state of emergency, issued on February 29, 2020, pursuant to
12
13   Proclamation 20-05, is rescinded, or until this order is amended or rescinded, whichever
14
15   occurs first.” Proclamation 20-24.1 provided exceptions to the ban on non-urgent services,
16
17   procedures, and surgeries where facilities “act in good faith and with reasonable clinical
18
19   judgment to meet and follow the procedures and criteria” outlined in the Proclamation. Ex.
20
21   12 at 3. Notably, Proclamation 20-24.1 recognized that COVID-19 “remains a public disaster
22
23   affecting . . . property.” Id. at 2.
24
25            95.    Beyond Proclamation 20-24, Washington extended the above-referenced
26
27   orders several times, including extending the “Stay Home–Stay Healthy” Proclamation 20-25
28
29   through May 31, 2020, after which time Washington began a phased re-opening plan. See,
30
31   e.g., Proclamation 20-25.4, attached hereto as Exhibit 13.
32
33            96.    In March 2020, as COVID-19 spread uncontrollably throughout King County,
34
35   Washington, including at the UW Properties, UWMC, NWH, and HMC began to significantly
36
37   limit the number of patients they took in and procedures they performed as a direct result of
38
39   COVID-19 and the Executive Orders. This was done for various reasons, including, but not
40
41   limited to: (1) limiting the spread of COVID-19 by decreasing the number of people on the
42
43   Properties; (2) allowing additional cleaning in between procedures in attempts to reduce
44
45   transmission; (3) protecting, but also coping with the lack of, workforce and available personal
46
47   protective equipment; (4) ceasing elective procedures in response to the Executive Orders;


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 1   and (5) shifting certain resources to set-up COVID-19 testing sites and free-up laboratory
 2
 3   availability to process those tests. These safety and mandatory protocols rendered the
 4
 5   UWMC, NWH, and HMC Properties physically incapable of performing their intended
 6
 7   purpose, which is to treat patients.
 8
 9            97.    UWMC, NWH, and HMC have operated at a reduced capacity ever since the
10
11   national emergency was declared.
12
13            98.    By no later than mid-March 2020, COVID-19 was present at the UWMC,
14
15   NWH, and HMC Properties.
16
17            99.    Since then, thousands of more confirmed COVID-19 cases have been reported
18
19   at the UWMC, NWH, and HMC Properties.
20
21            100.   As a result of the presence of COVID-19, UW incurred direct physical loss and
22
23   damage to the UWMC, NWH, and HMC Properties and it had to, among other things, turn
24
25   away numerous patients it would have otherwise treated and stop numerous procedures that it
26
27   would have otherwise performed due to COVID-19, rendering certain portions of the
28
29   Properties physically altered, unusable for their intended purposes, and/or inhabitable. In
30
31   addition, some patients were understandably unable and unwilling to come to any hospital,
32
33   out of a fear of exposure to COVID-19. As of the date of this filing, the UWMC, NWH, and
34
35   HMC Properties have not returned to pre-pandemic capacity.
36
37            101.   In addition, prior to February 2020, UW Medicine had completed a
38
39   comprehensive strategic plan that included growth plans for prioritized service lines that
40
41   would have resulted in increased revenues. The UW was not able to implement this plan
42
43   because of COVID-19. The plan is in the early implementation phases now because of the
44
45   delay caused by the pandemic. The UW experienced lost revenue due to the delayed
46
47   implementation of this plan.


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 1            102.   Further, UW has incurred costs in preparing to safely operate in compliance
 2
 3   with applicable orders concerning COVID-19. Among other things, UW was forced to
 4
 5   repeatedly remove COVID-19 from the UWMC, NWH, and HMC Properties, undertaking
 6
 7   expensive and extensive cleaning and disinfecting procedures (among other things).
 8
 9            103.   With respect to the Stadium and Athletic Properties, on March 11, 2020, UW
10
11   began to restrict the type and number of spectators at home events. Notably, only competing
12
13   student-athletes and their families, coaches, essential workers, and recruits were permitted to
14
15   attend home events. As a result, UW offered either credit or refunds to those who had
16
17   purchased single-game tickets. At that time, UW offered credit to season ticket holders for
18
19   cancelled games.
20
21            104.   A few days later, on March 14, 2020, the PAC-12 Conference—of which the
22
23   UW is a member—cancelled the remainder of the PAC-12 sports competitions and
24
25   championships through the end of the academic year (early June). This impacted UW
26
27   revenues from such competitions.
28
29            105.   On July 9, 2020, UW announced that the much anticipated Washington versus
30
31   Michigan football game, scheduled for September 5, 2020, had been cancelled. The following
32
33   day, on July 10, 2020, UW announced its decision to hold conference-only games for football,
34
35   soccer, and volleyball. Football did not end up resuming until November 2020. Some of
36
37   these conference-only games, however, were cancelled due to COVID-19 outbreaks among
38
39   the teams. Spectators continued to not be allowed at these games.
40
41            106.   In addition to loss of ticket sales, UW also experienced loss of concessions,
42
43   TV revenue, and lower sponsorship revenue due to no spectators at the events.
44
45            107.   UW took the above actions as a direct result of COVID-19 and the Executive
46
47   Orders. UW’s Athletic Department began testing for COVID-19 at the Stadium and Athletics


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 1   Properties in June 2020; and between June 10, 2020 and January 29, 2021, it recorded 55
 2
 3   positive cases at the Stadium Properties and 37 positive cases at the Athletics Properties. The
 4
 5   Athletic Department also administered antibody tests to all returning students and a number
 6
 7   tested positive, meaning they had been infected with COVID-19 in the three months leading
 8
 9   up to June.
10
11            108.   Since then, numerous more confirmed COVID-19 cases have been reported at
12
13   the Stadium and Athletics Properties.
14
15            109.   Further, on information and belief, given the unmitigated spread of COVID-
16
17   19, the statistics of the number of people infected with COVID-19 in proportion to deaths due
18
19   to the disease, and the number of people at the Stadium and Athletics Properties in March
20
21   2020, it is statistically certain there were cases of COVID-19 at these Properties in March
22
23   2020.
24
25            110.   As a result of the presence of COVID-19, UW incurred direct physical loss of
26
27   and damage to the Husky Stadium and Athletics Properties because it had to, among other
28
29   things, cancel games that it would have otherwise hosted if it were not for COVID-19.
30
31   COVID-19 therefore rendered the Properties in whole or in part physically altered, unusable
32
33   for their intended purposes, and/or inhabitable.
34
35            111.   Further, UW has incurred costs in preparing to safely operate in compliance
36
37   with applicable Executive Orders. Among other things, UW has been forced to remove
38
39   COVID-19 from the Husky Stadium and Athletics Properties, undertaking expensive and
40
41   extensive cleaning and disinfecting procedures.
42
43
44
45
46
47



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 1   D.       Insurer’s Denial of Coverage, Failure to Investigate, and Bad Faith Refusal to
 2            Accept Coverage
 3
 4            112.   Starting in July 2020, UW provided Insurer with notices of claims under each
 5
 6   of the Policies (“Claims”).
 7
 8            113.   Starting in August 2020 and continuing through June 7, 2021, Insurer sent UW
 9
10   a series of letters that collectively denied coverage for all of UW’s Claims. Insurer took the
11
12   legal position that no coverages under the Policies could be triggered by COVID-19, because
13
14   COVID-19 was not responsible for “direct physical loss or damage.” As such, there was no
15
16   further information the Insurer would have accepted from the UW to substantiate this claim.
17
18   Insurer confirmed its denials for all such claims in subsequent correspondence, including
19
20   stating as follows in a letter to UW dated August 2, 2022:
21
22                   By letters dated August 25, 2020, March 23, 2021, March 25,
23                   2021, and May 28, 2021, Employers notified the University that
24                   there was no coverage for the Claims submitted, respectively,
25                   under Policy Numbers YAC-L9L-450425-040, YAC-L9L-
26                   450425-030 , YAC-L9L-450425-020, and YAC-L9L-469720-
27                   019. Additionally, by letters dated May 28, 2021 and June 7,
28                   2021, Employers notified the University that there was no
29                   coverage for the Claims submitted, respectively under Policy
30                   Numbers YAC-L9L-469720-029, YAC-L9L-469720-039, and
31                   YAC-L9L-469720-049.
32
33            114.   During the adjustment of the Claims, Insurer asserted that UW could be barred
34
35   from bringing this action by a purported two-year suit limitations period contained in the
36
37   Policies. Based on Insurer’s representations, UW and Insurer entered into multiple agreed-
38
39   upon written extensions of the purported limitations period.
40
41            115.   UW has brought this action within the time period contemplated by the written
42
43   extensions to which UW and Insurer agreed. UW, however, was forced to bring, and only
44
45   brought, this action after Insurer refused to grant further extensions of the purported
46
47   limitations period.



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 1            116.      On September 26, 2022, UW sent Insurer a written notice informing Insurer of
 2
 3   its violations of the IFCA and providing it with an opportunity to cure such violations. UW
 4
 5   provided a copy of such notice to the Washington Office of the Insurance Commissioner on
 6
 7   the same day.
 8
 9            117.      On October 17, 2022, Insurer’s coverage counsel, Robins Kaplan, responded
10
11   to UW’s notice letter. In the letter, Robins Kaplan denied any Insurer liability under the IFCA
12
13   and continued to maintain Insurer’s wrongful denial of coverage for the Claims.
14
15   E.       UW’s Claims for COVID-19 Related Damage and Losses Trigger the All Risks
16            Policies and Various Coverages in the Policies
17
18                 i.   COVID-19 Triggers the Policies’ Property Damage Coverages
19
20            118.      The presence of COVID-19 at UW’s Properties caused direct physical loss and
21
22   damage to covered properties at covered locations that were caused by a covered loss.
23
24            119.      COVID-19 is a covered cause of loss that caused direct physical loss or damage
25
26   to UW’s Properties by, among other things, causing material alterations to the Properties and
27
28   operations and systems used therein; forcing complete or partial closure of some of the
29
30   Properties; and rendering the Properties physically nonfunctional and inaccessible, either
31
32   partially or totally, for the conduct of UW’s ordinary business operations.
33
34             ii.      COVID-19 Triggers the Policies’ Time Element Coverages
35
36            120.      The spread of COVID-19 to UW’s Properties caused UW to suffer a necessary
37
38   interruption of business, both partial and total, of its business activities at its Properties. This
39
40   necessary interruption of business was caused by direct physical loss or damage to the
41
42   Properties. The cause was a covered loss under all of the Policies and occurred during all of
43
44   the Policies’ policy periods.
45
46
47



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 1            121.   This necessary interruption of business triggers all of the Policies’ Time
 2
 3   Element coverages, including, but not limited to, Gross Earnings, Extended Period of
 4
 5   Liability, Extra Expense, and Civil or Military Authority coverages as defined by all of the
 6
 7   Policies.
 8
 9            122.   UW’s necessary interruption of business is on-going due to the continuing
10
11   physical loss of or damage to its Properties caused by COVID-19’s presence at the Properties.
12
13            iii.   COVID-19 Triggers the Policies’ Gross Earnings and Extended Period of
14                   Liability Coverages
15
16            123.   The presence of COVID-19 has caused a necessary interruption of business,
17
18   from the start of the pandemic and remaining to this day, resulting in an actual loss of gross
19
20   earnings sustained by UW during all of the Policies’ periods of liability, thus triggering the
21
22   Policies’ Gross Earnings coverages. Furthermore, at the conclusion of the Policies’ periods
23
24   of liability, the Policies’ extended periods of liability coverages are triggered for actual gross
25
26   earnings loss resulting from the necessary business interruption for up to an additional 365
27
28   days.
29
30            124.   The duration and amount of the Policies’ Gross Earnings coverages and
31
32   extended period of liability coverages will be proven at trial.
33
34             iv.   COVID-19 Triggers the Policies’ Extra Expense Coverages
35
36            125.   The presence of COVID-19 has caused direct physical loss or damage to UW’s
37
38   Properties. This has forced UW to incur reasonable and necessary costs in excess of the costs
39
40   it would have normally incurred to conduct its businesses had no physical loss or damage to
41
42   the Properties occurred.
43
44            126.   Such extra expenses were based on operational modifications made necessary
45
46   by the constant presence of COVID-19.
47



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 1            127.      UW’s extra expenses trigger all of the Policies’ Extra Expense coverages, for
 2
 3   a duration and in an amount to be proven at trial.
 4
 5                 v.   COVID-19 Triggers the NWH Policy’s Leasehold Interest Coverage
 6
 7            128.      Various NWH Properties leased by UW became wholly or partially
 8
 9   untenantable or unusable as a result of direct physical loss or damage caused by SARS-CoV-
10
11   2 and the Executive Orders. UW has incurred Leasehold Interest loss as a result of rent it paid
12
13   as a lessee of such building premises, for which it remained obligated to pay.
14
15            129.      The foregoing and any similar expenses incurred by UW trigger the NWH
16
17   Policy’s Leasehold Interest coverage, for a duration and in an amount to be proven at trial.
18
19             vi.      COVID-19 Triggers the Stadium and Athletics Policies’ Attraction Property
20                      Coverages
21
22            130.      On information and belief, COVID-19 was present at and caused direct
23
24   physical loss or damage to properties not owned by UW, but within one mile of UW’s
25
26   Properties, that attract business to UW’s Properties.
27
28            131.      Such attraction properties include, but are not limited to, the University Village
29
30   shopping center and the Arboretum.
31
32            132.      The presence of COVID-19, the direct physical loss or damage caused by
33
34   COVID-19, and the Executive Orders issued in response to the pandemic, impacted the
35
36   “attraction properties” nearby and caused UW to incur substantial losses at its Stadium and
37
38   Athletics Properties in an amount and for a duration to be proven at trial, thus triggering the
39
40   Stadium and Athletics Policies’ Attraction Property coverages.
41
42            vii.      COVID-19-related Executive Orders Trigger the Policies’ Civil or Military
43                      Authority Coverages
44
45            133.      Starting in March 2020, state and local governments in jurisdictions where UW
46
47   does business issued orders that, among other things, closed all but “essential” businesses;


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 1   imposed occupancy restrictions; barred sporting events; urged and/or required the public to
 2
 3   avoid all non-essential travel; barred large group gatherings and events; and, even if spaces
 4
 5   remained open, required UW to incur costs to provide for safety measures such as social
 6
 7   distancing of patients and employees and extra cleaning.
 8
 9            134.   COVID-19 and/or the state and local municipal orders partially or completely
10
11   prohibited access to UW’s Properties making them either partially or completely unfit for their
12
13   intended purposes or partially or completely uninhabitable.
14
15            135.   Such orders were issued as a result of the COVID-19 pandemic and public
16
17   health crisis, which are covered losses under all of the Policies, and led UW to incur
18
19   substantial losses at its Properties, thus triggering all of the Policies’ Civil or Military
20
21   Authority coverages, for a duration and in an amount to be proven at trial.
22
23           viii.   COVID-19 Triggers the Policies’ Contingent Time Element Coverages
24
25            136.   UW’s claims under the Policies include loss resulting from a necessary
26
27   business interruption of UW’s business at the Properties caused by direct physical loss of or
28
29   damage to the properties of UW’s suppliers, contract manufacturers, and/or contract service
30
31   providers in connection with the COVID-19 pandemic. As a result of that loss or damage,
32
33   UW’s suppliers, contract manufacturers, and/or contract service providers were prevented
34
35   from being able to accept or deliver the goods or services required or provided by UW.
36
37            137.   In other words, and without limitation, because individuals or businesses that
38
39   would have otherwise supplied UW with goods or services could not do so due to the loss or
40
41   damage to their own properties caused by the COVID-19 pandemic and Executive Orders,
42
43   UW itself incurred a necessary business interruption that triggers all of the Policies’
44
45   Contingent Time Element coverages, for a duration and in an amount to be proven at trial.
46
47



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 1            ix.    COVID-19-related Executive Orders Trigger the Policies’ Ingress/Egress
 2                   Coverages
 3
 4            138.   UW has sustained an actual time element loss due to the necessary interruption
 5
 6   of its business at the Properties because either partial or complete ingress or egress to the
 7
 8   Properties was prevented or limited due to direct physical loss or damage to the Properties or
 9
10   within one mile of the Properties caused by the COVID-19 pandemic and Executive Orders.
11
12            139.   The foregoing necessary interruption of business incurred by UW triggers all
13
14   of the Policies’ Ingress/Egress coverages, for a duration and in an amount to be proven at trial.
15
16             x.    COVID-19 Triggers the Policies’ Protection and Preservation of Property
17                   Coverages
18
19            140.   UW has incurred reasonable and necessary costs, and gross earnings or gross
20
21   profit losses, for actions to temporarily protect and preserve its Properties due to impending
22
23   physical loss or damage to such Properties due to the COVID-19 pandemic.
24
25            141.   The foregoing costs and losses trigger all of the Policies’ Protection and
26
27   Preservation of Property coverages, for a duration and amount to be proven at trial.
28
29            xi.    COVID-19 Triggers the Policies’ Research and Development Coverages
30
31            142.   UW has sustained actual loss of fixed charges and ordinary payroll directly
32
33   attributable to the interruption of research and development projects directly resulting from
34
35   physical loss or damage to its Properties due to the COVID-19 pandemic.
36
37            143.   The foregoing losses trigger all of the Policies’ Research and Development
38
39   coverages, for a duration and amount to be proven at trial
40
41            xii.   COVID-19-Related Executive Orders Trigger the UWMC, NWH, and HMC
42                   Policies’ Communicable Disease Endorsements
43
44            144.   UW’s Properties were contaminated by COVID-19, a communicable disease,
45
46   as the direct result of a covered cause of loss.
47



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 1            145.   Notably, the UWMC, NWH, and HMC Policies treat communicable disease
 2
 3   “contamination” differently from “contamination” defined elsewhere in the Policies.
 4
 5   Specifically, the Policies’ Communicable Disease Decontamination Cost Endorsements and
 6
 7   Time Element Losses Due to Contamination by Communicable Disease Endorsements
 8
 9   (collectively, these endorsements are referred to herein as the “Communicable Disease
10
11   Endorsements”) define “communicable disease” as “a viral or bacterial organism that is
12
13   capable of inducing disease, illness, physical distress or death.” The Policies’ property
14
15   damage coverage and definitions sections, however, define “contaminant” as “[a]ny foreign
16
17   substance, impurity, pollutant, hazardous material, poison, toxin, pathogen or pathogenic
18
19   organism, bacteria, virus, disease causing or illness causing agent, fungus, mold or mildew.”
20
21            146.   The   UWMC,      NWH,        and   HMC   Policies’   Communicable        Disease
22
23   Decontamination Cost Endorsements do not exclude communicable disease because they only
24
25   preclude “costs associated with any other contamination loss,” meaning loss from
26
27   contaminants as that term is defined in the Policies’ property damage coverage and definitions
28
29   sections (i.e., not communicable disease).
30
31            147.   Similarly, the Policies’ property damage sections do not categorically exclude
32
33   contamination as there are two exceptions (a) if it directly results from a covered loss and/or
34
35   (b) coverage is provided elsewhere in the Policies. Any contamination here was due to, or
36
37   directly resulted from, a covered cause of loss and is covered by the Policies. As such, the
38
39   UWMC, NWH, and HMC Policies’ Communicable Disease Decontamination Endorsements
40
41   provide coverage for communicable disease contamination.
42
43            148.   At the time of the COVID-19 contamination to UW Properties, there were (and
44
45   still are) Executive Orders in force that required (and still require) UW to decontaminate its
46
47   Properties as a result of the contamination by the communicable disease COVID-19.


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 1            149.   The costs incurred by UW to decontaminate the UWMC, NWH, and HMC
 2
 3   Properties of COVID-19, and the time element losses caused thereby, trigger the UWMC,
 4
 5   NWH, and HMC Policies’ Communicable Disease Endorsements, for a duration and amount
 6
 7   to be proven at trial.
 8
 9   F.       None of the Policies’ Exclusions Bar Coverage
10
11            150.   No exclusions in the Policies bar coverage for the actual presence of COVID-
12
13   19 at the Properties; direct physical loss or direct physical damage caused by COVID-19, or
14
15   within applicable distance limitations set forth in the Policies; or for any other losses, costs,
16
17   or expenses covered by the various coverage forms set forth above.
18
19                              FIRST CAUSE OF ACTION:
20                   INSURER’S BREACH OF CONTRACT - UWMC POLICY
21
22            151.   UW realleges and incorporates by reference, as if set forth herein, each of the
23
24   allegations in the above paragraphs of this Complaint.
25
26            152.   UW and Insurer entered into a legally binding written contract when Insurer
27
28   issued the UWMC Policy.
29
30            153.   UW made a claim to Insurer under the UWMC Policy for substantial, multi-
31
32   million-dollar losses arising out of the physical presence of COVID-19 at or near its Properties
33
34   and the Executive Orders, both of which are covered losses.
35
36            154.   UW’s property damage costs, time element losses, extra expenses, and other
37
38   losses are covered under various coverages in the UWMC Policy as outlined herein and are
39
40   not excluded.
41
42            155.   UW has complied in all material respects with the conditions and requirements
43
44   of the UWMC Policy, or such conditions and requirements have been waived, or their
45
46   satisfaction otherwise excused by operation of law or by Insurer’s conduct. Such conditions
47



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 1   or requirements include without limitation paying the premium and providing timely notice
 2
 3   of its claim.
 4
 5            156.   By failing and refusing to provide coverage to UW, Insurer has breached the
 6
 7   UWMC Policy.
 8
 9            157.   As a direct and proximate result of such breach, UW has been deprived of the
10
11   benefit of its insurance coverage and has incurred damages in an amount to be proven at trial.
12
13                      SECOND CAUSE OF ACTION:
14       DECLARATORY JUDGMENT PURSUANT TO RCW 7.24 - UWMC POLICY
15
16            158.   UW realleges and incorporates by reference, as if set forth herein, each of the
17
18   allegations in the above paragraphs of this Complaint.
19
20            159.   UW is an Insured under the UWMC Policy, which is a valid and enforceable
21
22   contract sold to UW by Insurer that provides up to $600,000,000 in coverage for property loss
23
24   or damage, time element loss, and other coverages.
25
26            160.   UW gave Insurer timely notice of its claim for property loss or damage, time
27
28   element loss, and other coverages, each of which involve a covered loss that is sufficient to
29
30   trigger the UWMC Policy’s Property Damage coverages, Time Element coverages (including
31
32   Gross Earnings, Extended Period of Liability, Extra Expense, Civil or Military Authority,
33
34   Contingent Time Element, Ingress/Egress, Protection and Preservation of Property, and
35
36   Research and Development), Communicable Disease Decontamination endorsements, as well
37
38   as any other coverages or benefits potentially available under the UWMC Policy.
39
40            161.   Insurer has wrongfully denied coverage for the claim, erroneously contending
41
42   that certain UWMC Policy exclusions purportedly preclude coverage for the claim.
43
44            162.   As such, an actual and justiciable controversy exists between Insurer and UW
45
46   concerning the application of the UWMC Policy to the claim, including whether the presence
47



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 1   of COVID-19 at an insured location constitutes a covered loss; whether Executive Orders that
 2
 3   limit or prohibit access to the UWMC Properties constitute a covered loss; and whether
 4
 5   exclusions raised by Insurer apply.
 6
 7            163.   UW seeks a declaration from the Court that: (a) the presence of COVID-19 at
 8
 9   the UWMC Properties is a covered loss under the UWMC Policy; (b) the Executive Orders
10
11   prohibiting or limiting access to the UWMC Properties constitute a covered loss; (c) UW is
12
13   entitled to coverage under the UWMC Policy’s Time Element coverages (including Gross
14
15   Earnings, Extended Period of Liability, Extra Expense, Civil or Military Authority,
16
17   Contingent Time Element, Ingress/Egress, Protection and Preservation of Property, and
18
19   Research and Development); (d) UW is entitled to coverage under the UWMC Policy’s
20
21   Communicable Disease endorsements; and (e) there is no applicable UWMC Policy exclusion
22
23   or condition that precludes coverage for the claim.
24
25                             THIRD CAUSE OF ACTION:
26                   INSURER’S BREACH OF CONTRACT - NWH POLICY
27
28            164.   UW realleges and incorporates by reference, as if set forth herein, each of the
29
30   allegations in the above paragraphs of this Complaint.
31
32            165.   UW and Insurer entered into a legally binding written contract when Insurer
33
34   issued the NWH Policy.
35
36            166.   UW made a claim to Insurer under the NWH Policy for substantial, multi-
37
38   million-dollar losses arising out of the physical presence of COVID-19 at or near it Properties
39
40   and the Executive Orders, both of which are covered losses.
41
42            167.   UW’s property damage costs, time element losses, extra expenses, and other
43
44   losses are covered under various coverages in the NWH Policy as outlined herein and are not
45
46   excluded.
47



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 1            168.   UW has complied in all material respects with the conditions and requirements
 2
 3   of the NWH Policy, or such conditions and requirements have been waived, or their
 4
 5   satisfaction otherwise excused by operation of law or by Insurer’s conduct. Such conditions
 6
 7   or requirements include without limitation paying the premium and providing timely notice
 8
 9   of its claim.
10
11            169.   By failing and refusing to provide coverage to UW, Insurer has breached the
12
13   NWH Policy.
14
15            170.   As a direct and proximate result of such breach, UW has been deprived of the
16
17   benefit of its insurance coverage and has incurred damages in an amount to be proven at trial.
18
19                       FOURTH CAUSE OF ACTION:
20         DECLARATORY JUDGMENT PURSUANT TO RCW 7.24 - NWH POLICY
21
22            171.   UW realleges and incorporates by reference, as if set forth herein, each of the
23
24   allegations in the above paragraphs of this Complaint.
25
26            172.   UW is an Insured under the NWH Policy, which is a valid and enforceable
27
28   contract sold to UW by Insurer that provides up to $500,000,000 in coverage for property loss
29
30   or damage, up to $161,914,009 in coverage for time element loss, and various sublimits for
31
32   other coverages.
33
34            173.   UW gave Insurer timely notice of its claim for property loss or damage, time
35
36   element loss, and other coverages, each of which involve a covered loss that is sufficient to
37
38   trigger the NWH Policy’s Property Damage coverages, Time Element coverages (including
39
40   Gross Earnings, Extended Period of Liability, Extra Expense, Leasehold Interest, Civil or
41
42   Military Authority, Contingent Time Element, Ingress/Egress, Protection and Preservation of
43
44   Property, and Research and Development), Communicable Disease endorsements, as well as
45
46   any other coverages or benefits potentially available under the NWH Policy.
47



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 1            174.   Insurer has wrongfully denied coverage for the claim, erroneously contending
 2
 3   that certain NWH Policy exclusions purportedly preclude coverage for the claim.
 4
 5            175.   As such, an actual and justiciable controversy exists between Insurer and UW
 6
 7   concerning the application of the NWH Policy to the claim, including whether the presence
 8
 9   of COVID-19 at an insured location constitutes a covered loss; whether Executive Orders that
10
11   limit or prohibit access to the NWH Properties constitute a covered loss; and whether
12
13   exclusions raised by Insurer apply.
14
15            176.   UW seeks a declaration from the Court that: (a) the presence of COVID-19 at
16
17   the NWH Properties is a covered loss under the NWH Policy; (b) the Executive Orders
18
19   prohibiting or limiting access to the NWH Properties constitute a covered loss; (c) UW is
20
21   entitled to coverage under the NWH Policy’s Time Element coverages (including Gross
22
23   Earnings, Extended Period of Liability, Extra Expense, Leasehold Interest, Civil or Military
24
25   Authority, Contingent Time Element, Ingress/Egress, Protection and Preservation of Property,
26
27   and Research and Development); (d) UW is entitled to coverage under the NWH Policy’s
28
29   Communicable Disease endorsements; and (e) there is no applicable NWH Policy exclusion
30
31   or condition that precludes coverage for the claim.
32
33                              FIFTH CAUSE OF ACTION:
34                   INSURER’S BREACH OF CONTRACT - HMC POLICY
35
36            177.   UW realleges and incorporates by reference, as if set forth herein, each of the
37
38   allegations in the above paragraphs of this Complaint.
39
40            178.   UW and Insurer entered into a legally binding written contract when Insurer
41
42   issued the HMC Policy.
43
44
45
46
47



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 1            179.   UW made a claim to Insurer under the HMC Policy for substantial, multi-
 2
 3   million-dollar losses arising out of the physical presence of COVID-19 at or near its Properties
 4
 5   and the Executive Orders, both of which are covered losses.
 6
 7            180.   UW’s property damage costs, time element losses, extra expenses, and other
 8
 9   losses are covered under various coverages in the HMC Policy as outlined herein and are not
10
11   excluded.
12
13            181.   UW has complied in all material respects with the conditions and requirements
14
15   of the HMC Policy, or such conditions and requirements have been waived, or their
16
17   satisfaction otherwise excused by operation of law or by Insurer’s conduct. Such conditions
18
19   or requirements include without limitation paying the premium and providing timely notice
20
21   of its claim.
22
23            182.   By failing and refusing to provide coverage to UW, Insurer has breached the
24
25   HMC Policy.
26
27            183.   As a direct and proximate result of such breach, UW has been deprived of the
28
29   benefit of its insurance coverage and has incurred damages in an amount to be proven at trial.
30
31                        SIXTH CAUSE OF ACTION:
32         DECLARATORY JUDGMENT PURSUANT TO RCW 7.24 - HMC POLICY
33
34            184.   UW realleges and incorporates by reference, as if set forth herein, each of the
35
36   allegations in the above paragraphs of this Complaint.
37
38            185.   UW is an Insured under the HMC Policy, which is a valid and enforceable
39
40   contract sold to UW by Insurer that provides up to $600,000,000 in coverage for property loss
41
42   or damage, time element loss, and various other coverages.
43
44            186.   UW gave Insurer timely notice of its claim for property loss or damage, time
45
46   element loss, and other coverages, each of which involve a covered loss that is sufficient to
47



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 1   trigger the HMC Policy’s Property Damage coverages, Time Element coverages (including
 2
 3   Gross Earnings, Extended Period of Liability, Extra Expense, Civil or Military Authority,
 4
 5   Contingent Time Element, Ingress/Egress, Protection and Preservation of Property, and
 6
 7   Research and Development), Communicable Disease Decontamination endorsement, as well
 8
 9   as any other coverages or benefits potentially available under the HMC Policy.
10
11            187.   Insurer has wrongfully denied coverage for the claim, erroneously contending
12
13   that certain HMC Policy exclusions purportedly preclude coverage for the claim.
14
15            188.   As such, an actual and justiciable controversy exists between Insurer and UW
16
17   concerning the application of the HMC Policy to the claim, including whether the presence of
18
19   COVID-19 at an insured location constitutes a covered loss; whether Executive Orders that
20
21   limit or prohibit access to the HMC Properties constitute a covered loss; and whether
22
23   exclusions raised by Insurer apply.
24
25            189.   UW seeks a declaration from the Court that: (a) the presence of COVID-19 at
26
27   the HMC Properties is a covered loss under the HMC Policy; (b) the Executive Orders
28
29   prohibiting or limiting access to the HMC Properties constitute a covered loss; (c) UW is
30
31   entitled to coverage under the HMC Policy’s Time Element Coverages (including Gross
32
33   Earnings, Extended Period of Liability, Extra Expense, Civil or Military Authority,
34
35   Contingent Time Element, Ingress/Egress, Protection and Preservation of Property, and
36
37   Research and Development); and (d) UW is entitled to coverage under the NWH Policy’s
38
39   Communicable Disease endorsements; and (e) there is no applicable HMC Policy exclusion
40
41   or condition that precludes coverage for the claim.
42
43
44
45
46
47



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 1                              SEVENTH CAUSE OF ACTION:
 2                   INSURER’S BREACH OF CONTRACT - STADIUM POLICY
 3
 4            190.    UW realleges and incorporates by reference, as if set forth herein, each of the
 5
 6   allegations in the above paragraphs of this Complaint.
 7
 8            191.    UW and Insurer entered into a legally binding written contract when Insurer
 9
10   issued the Stadium Policy.
11
12            192.    UW made a claim to Insurer under the Stadium Policy for substantial, multi-
13
14   million-dollar losses arising out of the physical presence of COVID-19 at or near its Properties
15
16   and the Executive Orders, both of which are covered losses.
17
18            193.    UW’s property damage costs, time element losses, extra expenses, and other
19
20   losses are covered under various coverages in the Stadium Policy as outlined herein and are
21
22   not excluded.
23
24            194.    UW has complied in all material respects with the conditions and requirements
25
26   of the Stadium Policy, or such conditions and requirements have been waived, or their
27
28   satisfaction otherwise excused by operation of law or by Insurer’s conduct. Such conditions
29
30   or requirements include without limitation paying the premium and providing timely notice
31
32   of its claim.
33
34            195.    By failing and refusing to provide coverage to UW, Insurer has breached the
35
36   Stadium Policy.
37
38            196.    As a direct and proximate result of such breach, UW has been deprived of the
39
40   benefit of its insurance coverage and has incurred damages in an amount to be proven at trial.
41
42                     EIGHTH CAUSE OF ACTION:
43     DECLARATORY JUDGMENT PURSUANT TO RCW 7.24 - STADIUM POLICY
44
45            197.    UW realleges and incorporates by reference, as if set forth herein, each of the
46
47   allegations in the above paragraphs of this Complaint.



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 1            198.   UW is an Insured under the Stadium Policy, which is a valid and enforceable
 2
 3   contract sold to UW by Insurer that provides up to $331,055,581 in coverage for property loss
 4
 5   or damage, up to $23,567,631 in coverage for time element loss, and various sublimits for
 6
 7   other coverages.
 8
 9            199.   UW gave Insurer timely notice of its claim for property loss or damage, time
10
11   element loss, and other coverages, each of which involve a covered loss that is sufficient to
12
13   trigger the Stadium Policy’s Property Damage coverages, Time Element coverages (including
14
15   Gross Earnings, Extended Period of Liability, Extra Expense, Attraction Property, Civil or
16
17   Military Authority, Contingent Time Element, Ingress/Egress, Protection and Preservation of
18
19   Property, and Research and Development), as well as any other coverages or benefits
20
21   potentially available under the Stadium Policy.
22
23            200.   Insurer has wrongfully denied coverage for the claim, erroneously contending
24
25   that certain Stadium Policy exclusions purportedly preclude coverage for the claim.
26
27            201.   As such, an actual and justiciable controversy exists between Insurer and UW
28
29   concerning the application of the Stadium Policy to the claim, including whether the presence
30
31   of COVID-19 at an insured location constitutes a covered loss; whether Executive Orders that
32
33   limit or prohibit access to the Stadium Properties constitute a covered loss; and whether
34
35   exclusions raised by Insurer apply.
36
37            202.   UW seeks a declaration from the Court that: (a) the presence of COVID-19 at
38
39   the Stadium Properties is a covered loss under the Stadium Policy; (b) the Executive Orders
40
41   prohibiting or limiting access to the Stadium Properties constitute a covered loss; (c) UW is
42
43   entitled to coverage under the Stadium Policy’s Time Element coverages (including Gross
44
45   Earnings, Extended Period of Liability, Extra Expense, Attraction Property, Civil or Military
46
47   Authority, Contingent Time Element, Ingress/Egress, Protection and Preservation of Property,


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 1   and Research and Development); and (d) there is no applicable Stadium Policy exclusion or
 2
 3   condition that precludes coverage for the claim.
 4
 5                              NINTH CAUSE OF ACTION:
 6                 INSURER’S BREACH OF CONTRACT - ATHLETICS POLICY
 7
 8            203.   UW realleges and incorporates by reference, as if set forth herein, each of the
 9
10   allegations in the above paragraphs of this Complaint.
11
12            204.   UW and Insurer entered into a legally binding written contract when Insurer
13
14   issued the Athletics Policy.
15
16            205.   UW made a claim to Insurer under the Athletics Policy for substantial, multi-
17
18   million-dollar losses arising out of the physical presence of COVID-19 at or near its Properties
19
20   and the Executive Orders, both of which are covered losses.
21
22            206.   UW’s property damage costs, time element losses, extra expenses, and other
23
24   losses are covered under various coverages in the Athletics Policy as outlined herein and are
25
26   not excluded.
27
28            207.   UW has complied in all material respects with the conditions and requirements
29
30   of the Athletics Policy, or such conditions and requirements have been waived, or their
31
32   satisfaction otherwise excused by operation of law or by Insurer’s conduct. Such conditions
33
34   or requirements include without limitation paying the premium and providing timely notice
35
36   of its claim.
37
38            208.   By failing and refusing to provide coverage to UW, Insurer has breached the
39
40   Athletics Policy.
41
42            209.   As a direct and proximate result of such breach, UW has been deprived of the
43
44   benefit of its insurance coverage and has incurred damages in an amount to be proven at trial.
45
46
47



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 1                    TENTH CAUSE OF ACTION:
 2   DECLARATORY JUDGMENT PURSUANT TO RCW 7.24 - ATHLETICS POLICY
 3
 4            210.   UW realleges and incorporates by reference, as if set forth herein, each of the
 5
 6   allegations in the above paragraphs of this Complaint.
 7
 8            211.   UW is an Insured under the Athletics Policy, which is a valid and enforceable
 9
10   contract sold to UW by Insurer that provides up to $250,000,000 in coverage for property loss
11
12   or damage, up to $4,345,657 in coverage for time element loss, and various sublimits other
13
14   coverages.
15
16            212.   UW gave Insurer timely notice of its claim for property loss or damage, time
17
18   element loss, and other coverages, each of which involve a covered loss that is sufficient to
19
20   trigger the Athletics Policy’s Property Damage coverages, Time Element coverages
21
22   (including Gross Earnings, Extended Period of Liability, Extra Expense, Attraction Property,
23
24   Civil or Military Authority, Contingent Time Element, Ingress/Egress, Protection and
25
26   Preservation of Property, and Research and Development), as well as any other coverages or
27
28   benefits potentially available under the Athletics Policy.
29
30            213.   Insurer has wrongfully denied coverage for the claim, erroneously contending
31
32   that certain Athletics Policy exclusions purportedly preclude coverage for the claim.
33
34            214.   As such, an actual and justiciable controversy exists between Insurer and UW
35
36   concerning the application of the Athletics Policy to the claim, including whether the presence
37
38   of COVID-19 at an insured location constitutes a covered loss; whether Executive Orders that
39
40   limit or prohibit access to the Athletics Properties constitute a covered loss; and whether
41
42   exclusions raised by Insurer apply.
43
44            215.   UW seeks a declaration from the Court that: (a) the presence of COVID-19 at
45
46   the Athletics Properties is a covered loss under the Athletics Policy; (b) the Executive Orders
47



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 1   prohibiting or limiting access to the Athletic Properties constitute a covered loss; (c) UW is
 2
 3   entitled to coverage under the Athletics Policy’s Time Element coverages (including Gross
 4
 5   Earnings, Extended Period of Liability, Extra Expense, Attraction Property, Civil or Military
 6
 7   Authority, Contingent Time Element, Ingress/Egress, Protection and Preservation of Property,
 8
 9   and Research and Development); and (d) there is no applicable Athletics Policy exclusion or
10
11   condition that precludes coverage for the claim.
12
13                               ELEVENTH CAUSE OF ACTION:
14                                      BAD FAITH
15
16            216.   UW realleges and incorporates by reference, as if set forth herein, each of the
17
18   allegations in the above paragraphs of this Complaint.
19
20            217.   The Insurer is obligated under Washington law to fulfill all duties under the
21
22   policies in good faith and fair dealing with their insureds.
23
24            218.   The Insurer has failed to act in good faith to achieve a prompt, fair, and
25
26   equitable settlement of UW’s claims for damage and losses arising out of the COVID-19
27
28   pandemic.
29
30            219.   The Insurer issued policies to UW that specifically cover, among other things,
31
32   property damage and time element losses arising from a “communicable disease” like
33
34   COVID-19.
35
36            220.   Despite this, over a two-year period, Insurer: (1) conducted a bad faith paper
37
38   investigation that sought irrelevant information from UW in its questionnaires that did not
39
40   arise from the terms of the Policies; and (2) has never acknowledged that any portion of the
41
42   Claims are covered under the Policies. This conduct continued even after the Washington
43
44   Supreme Court issued rulings explicitly supporting coverage under the Policies here.
45
46
47



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 1            221.    Each of these actions violates numerous applicable regulations with respect to
 2
 3   proper claims handling, including, without limitation: WAC 284-30-330(1), (2), (3), (4), (6),
 4
 5   (7), and (13); WAC 284-30-360; and WAC 284-30-370.
 6
 7            222.    Through its course of conduct, Insurer has violated its duty of good faith and
 8
 9   placed its interests ahead of those of its insured, in what could only be an intentional effort to
10
11   delay complying with their obligations under Policies issued to cover the exact type of losses
12
13   incurred here.
14
15            223.    Insurer’s bad faith conduct has directly and proximately caused damage to
16
17   UW, including, without limitation, by losing the time value of its Claims proceeds and by
18
19   forcing UW to hire counsel to pursue Insurer and now file this action due to Insurer’s dilatory,
20
21   unreasonable conduct.
22
23            224.    Insurer is thus legally obligated to pay all damages caused by their conduct
24
25   performed in bad faith or in violation of applicable statutes and resolutions.
26
27                          TWELFTH CAUSE OF ACTION:
28             VIOLATION OF WASHINGTON CONSUMER PROTECTION ACT
29
30            225.    UW realleges and incorporates by reference, as if set forth herein, each of the
31
32   allegations in the above paragraphs of this Complaint.
33
34            226.    By virtue of being issued in Washington to a Washington-based insured and
35
36   insuring property based in Washington, the Policies are each subject to the WCPA,
37
38   RCW 19.86, et seq., and insurance claims handling regulations.
39
40            227.    For the reasons described above, Insurer has engaged in unfair and deceptive
41
42   acts and practices in its investigation and resolution of UW’s Claim, in violation of numerous
43
44   insurance regulations for proper claims handling, including but not limited to WAC 284-30-
45
46   330(1), (2), (3), (4), (6), (7), and (13); WAC 284-30-360; and WAC 284-30- 370.
47



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     COMPLAINT – 56                                                            1201 Third Avenue, Suite 4900
                                                                               Seattle, Washington 98101-3099
                                                                                  Phone: +1.206.359.8000
     158764723.1                                                                    Fax: +1.206.359.9000
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 1            228.   Insurer’s breach of the covenant of good faith and fair dealing and violations
 2
 3   of the above-referenced claims handling regulations are unfair and deceptive business
 4
 5   practices that violate the WCPA.
 6
 7            229.   UW has been damaged by Insurer’s violations of the WCPA, including,
 8
 9   without limitation, by losing the time value of its Claims proceeds and by having to hire
10
11   counsel to pursue Insurer and now file this action due to Insurer’s dilatory and unreasonable
12
13   conduct.
14
15            230.   UW is thus entitled to recovery of all of its damages, exemplary or multiplier
16
17   damages, and attorneys’ fees from Insurer as a result of their respective violations of the
18
19   WCPA.
20
21                        THIRTEENTH CAUSE OF ACTION:
22            VIOLATION OF WASHINGTON INSURANCE FAIR CONDUCT ACT
23
24            231.   UW realleges and incorporates by reference, as if set forth herein, each of the
25
26   allegations in the above paragraphs of this Complaint.
27
28            232.   Based on the above-described conduct, Insurer has violated the IFCA,
29
30   RCW 48.30.010, by, among other things:
31
32                   a. misrepresenting pertinent facts and/or insurance policy provisions, in
33                      violation of WAC 284-30-330(1) and WAC 284-30-350;
34
35                   b. failing to acknowledge and act reasonably promptly upon communications
36                      with respect to the claims, in violation of WAC 284-30-330(2) and
37                      WAC 284-30-360;
38
39                   c. failing to adopt and implement reasonable standards for the prompt
40                      investigation of claims arising under insurance policies, in violation of
41                      WAC 284-30-330(3) and WAC 284-30-360;
42
43                   d. failing to complete its investigation of each claim within thirty days after
44                      notification of the claim while providing no justification for any potential
45                      belief that its investigation cannot reasonably be completed within that
46                      time, in violation of WAC 284-30- 370;
47



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 1                   e. refusing to pay claims without conducting a reasonable investigation, in
 2                      violation of WAC 284-30-330(4);
 3
 4                   f. failing to affirm or deny coverage within a reasonable period of time in
 5                      violation of WAC 284-30-330(5);
 6
 7                   g. not attempting in good faith to effectuate prompt, fair and equitable
 8                      settlements of claims in which liability has become reasonably clear, in
 9                      violation of WAC 284-30-330(6);
10
11                   h. compelling a first party claimant to initiate litigation to recover amounts
12                      due under the Policies, in violation of WAC 284-30- 330(7); and
13
14                   i. failing to promptly provide a reasonable explanation of the basis in the
15                      Policies in relation to the facts or applicable law for denial of a claim or for
16                      the offer of a compromise settlement, in violation of WAC 284-30-
17                      330(13).
18
19            233.   UW has been damaged by Insurer’s violations of the IFCA, including without
20
21   limitation by losing the time value of its insurance claim proceeds and by having to hire
22
23   counsel to pursue Insurer and now file this action due to Insurer’s unfair and deceptive
24
25   investigation and wrongful, unreasonable denial of coverage.
26
27            234.   UW has complied with all obligations under the IFCA, including without
28
29   limitation, providing Insurer and the Washington Office of the Insurance Commissioner with
30
31   a 20-day written notice of the basis for this cause of action.
32
33            235.   Insurer has failed to resolve the basis for this action within the statutorily
34
35   required time period. Insurer is liable to UW for actual damages, plus statutory exemplary or
36
37   multiple and/or treble damages, caused by Insurer’s violations of IFCA, together with all
38
39   attorneys’ fees and other expenses.
40
41                                      PRAYER FOR RELIEF
42
43            A.     Enter a judgment in favor of UW and against Insurer, as requested herein, on
44
45   each of the Causes of Action in this Complaint;
46
47



                                                                                      Perkins Coie LLP
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                                                                                Seattle, Washington 98101-3099
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 1            B.    Award UW its actual and consequential damages sustained (and not otherwise
 2
 3   reimbursed) as a result of Insurer’s breaches of the Policies in an amount to be established
 4
 5   through proof at trial;
 6
 7            C.    Enter a declaration of the rights of the parties under the Policies with respect
 8
 9   to UW’s Claims that include, but may not be limited to, declaring that: (1) each of the coverage
10
11   provisions identified herein is triggered by UW’s Claims; (2) UW’s Claims are not subject to
12
13   any exclusion or limitation in the Policies; and (3) Insurer is thus liable to cover the damages
14
15   resulting from UW’s Claims.
16
17            D.    Enter a judgment awarding UW all damages suffered or incurred arising from
18
19   Insurer’s bad faith conduct.
20
21            E.    Enter a judgment awarding UW all damages suffered or incurred arising from
22
23   Insurer’s violations of the WCPA, including actual damages, plus statutory exemplary or
24
25   multiple and/or treble damages, together with all attorneys’ fees and other expenses.
26
27            F.    Enter judgement awarding UW all damages suffered or incurred as a result of
28
29   or arising from Insurer’s violations of the IFCA, including actual damages, plus statutory
30
31   treble damages, together with all attorneys’ fees and other expenses.
32
33            G.    Enter a judgement awarding UW its attorneys’ fees and other expenses
34
35   pursuant to applicable law. As a direct and proximate result of Insurer’s breach of its duties
36
37   under the Policies, UW has been forced to incur attorneys’ fees and other expenses in order
38
39   to obtain the benefit of its insurance contracts. UW is thus entitled to all of its attorneys’ fees
40
41   and other expenses from Insurer. See, e.g., Olympic Steamship Co., Inc. v. Centennial
42
43   Insurance Co., 811 P.2d 673, 680-81 (Wash. 1991); McGreevy v. Oregon Mutual Insurance
44
45   Co., 904 P.2d 731, 736-37 (Wash. 1995); King County v. Vinci Constr. Grands ProJets, 398
46
47   P.3d 1093, 1099-1100 (Wash. 2017).


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 1            H.     Enter a judgment awarding UW pre-judgment interest and post-judgment
 2
 3   interest under applicable law; and
 4
 5            I.     Enter a judgment awarding UW its costs of court and any other and further
 6
 7   relief to which it may justly be entitled.
 8
 9                                          JURY DEMAND
10
11            The University of Washington demands a trial by jury of twelve persons of all issues
12
13   so triable that are raised herein or which may be raised in this action.
14
15   Dated: October 20, 2022                             s/ James M. Davis
16                                                       James M. Davis, WSBA No. 32696
17                                                       JamesDavis@perkinscoie.com
18                                                       Andrew Greene, WSBA No. 35548
19                                                       AGreene@perkinscoie.com
20                                                       J. Camille Fisher, WSBA No. 41809
21                                                       CFisher@perkinscoie.com
22                                                       Perkins Coie LLP
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26                                                       Facsimile +1.206.359.9000
27
28                                                       Bradley H. Dlatt (pro hac vice to be filed)
29                                                       BDlatt@perkinscoie.com
30                                                       Perkins Coie LLP
31                                                       131 South Dearborn Street, Suite 1700
32                                                       Chicago, IL 60603-5559
33                                                       Phone: 312.324.8400
34
35                                                       Attorneys for Plaintiff The Board of Regents of
36                                                       The University of Washington
37
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47



                                                                                      Perkins Coie LLP
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                                                                                Seattle, Washington 98101-3099
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       Case 2:22-cv-01538-RAJ Document 1-2 Filed 10/28/22 Page 61 of 554




 1
 2                                 CERTIFICATE OF SERVICE
 3
 4          On October 20, 2022, I caused to be served upon the below named counsel of record
 5
 6   at the address stated below, via the method of service indicated, a true and correct copy of
 7
 8   the foregoing document.
 9
10   Daniel R. Bentson
11   Jared F. Kiess                                  _X_      Via the Clerk's eFiling Application
12   BULLIVANT HOUSER BAILEY PC                      __ _     Via hand delivery
13                                                   __ _     Via U.S. Mail, 1st Class,
     925 Fourth Avenue, Ste. 3800                             Postage Prepaid
14
15   Seattle, WA 98104                               _ __     Via Overnight Delivery
16                                                   __ _     Via Facsimile
17   Attorneys for Defendant Employers                ___     Via Email
18   Insurance Company of Wausau, a Liberty
19   Mutual Company
20
21
22                  I certify under penalty of perjury under the laws of the
23                  State of Washington that the foregoing is true and correct.
24
            EXECUTED at Seattle, Washington, on October 20, 2022.
25
26
27
28
29                                               Jennifer Rosales, Legal Practice Assistant
30
31
32
33
34
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                                                                                 Perkins Coie LLP
     CERTIFICATE OF SERVICE – 1                                             1201 Third Avenue, Suite 4900
                                                                              Seattle, WA 98101-3099
                                                                                Phone: 206.359.8000
                                                                                 Fax: 206.359.9000
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                    Exhibit 1
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                     PARKER, SMITH & FEEK
                        Vacancy Clause



    This policy contains a vacancy clause, coverage will be
    reduced or eliminated in the event the building is vacant in
    excess of 60 days.

    Please call us if you anticipate this situation.

    Thank you




Toll Free: 800-457-0220

Bellevue: 425-709-3600
Anchorage: 907-562-2225
Portland: 503-416-6870
Fax: XXX-XX-XXXX
     Case 2:22-cv-01538-RAJ Document 1-2 Filed 10/28/22 Page 64 of 554




                   PROTECTIVE SAFEGUARDS

Your Property Insurance Policy contains a PROTECTIVE SAFEGUARD
PROVISION. This provision stipulates that coverage will be automatically
suspended at the involved location if you fail to notify us or the carrier
immediately when you:

1.    Know of any suspension or impairment in the Protective Safeguards;
      or

2.    Fail to maintain a Protective Safeguard, over which you have control,
      in complete working order.

Protective Safeguards are described in your policy and/or endorsement.
They may include such things as: sprinkler systems; alarm systems; security
services; or any number of items.

It is extremely important that you contact, by telephone, Parker, Smith &
Feek if any of the Protective Safeguards described in your
policy/endorsement are impaired for ANY reason. We will transmit this
information to the insurance carrier to ensure that coverage is not
suspended.

If an impairment occurs on a weekend or after regular business hours,
please contact us immediately on the next business day. If this involves a
sprinkler impairment due to breakage, leakage, freezing conditions, or
opening sprinkler heads, notification to us will not be necessary if you can
restore full protection within 48 hours.

It is vital that this information be conveyed to your property managers,
building maintenance staff, and any other personnel that may be involved in
functions that could impair these protective safeguards. A basic set of
procedures is enclosed.

Should you have any questions relating to this, please feel free to contact
me directly.
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                 PARKER, SMITH & FEEK
           PROTECTIVE SAFEGUARDS IMPAIRMENT
                      PROCEDURES


 NOTIFICATION                 If you anticipate that any of your protective systems
                              will be taken out of service or if you significantly alter
                              your protection system maintenance program, call
                              Parker, Smith & Feek.
 CONTACT                      Direct calls to your Account Executive or Account
                              Administrator.
 INFORMATION                  Provide us with details regarding your impairment:
                               What type of system?
                               What does it protect?
                               Why is it being taken out of service?
                               How long will it be out of service?
 PRECAUTIONS                  1.   Have all materials for job on hand and ready.
 TO TAKE                      2.   Do not leave off longer than necessary.
                              3.   Shut down hazardous processes in the area.
                              4.   Notify your local fire department, etc.
                              5.   Let your security people know of impairment.
                              6.   When job is done restore protection.
                              7.   Call Parker, Smith & Feek to notify us that
                                   protective system is back in service.


 Toll Free: 800-457-0220
 Direct
 Bellevue: 425-709-3600
 Anchorage: 907-562-2225
 Portland: 503-416-6870
 Fax: XXX-XX-XXXX




G:\Commercial\Commercial Services\Protective Safeguards - DRAFT.docx
Rev. 02/01/2006
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            T 1 l^/^tk''^"*/'                                                  Liberty Mutual Group

           M     u   t   u   a   L                                            LOS Angeles. CA 900.7

               INSURANCE




Parker Smith & Feek, Inc.
2233 112th AveNE
Bellevue, WA 98004
A T T N : John Larson



Named Insured:
University of WA Medical Center

Policy Number:
YAC-L9L-469720-()39

Effective: 07/01/2019 07/01/2020


Attached please find copies of the Employers Insurance of Wausau policy for the above account.
Siould you have any questions or i f we can provide you with any assistance, please do not
hesitate to call Jennifer Hennessy @ 925.433.4502 or
iennifer.hennessv@libcrtymutual.com

Thank you and regards,


Nora Chiara
Associate Account Analyst
National Insurance Property
Liberty Mutual Insurance
Direct Dial: 213.443.0776
Mailing address: 818 W. 7th Street, Ste. 850, Los Angeles, CA 90017
Nora.Chiara(^ Libert vMutiial.com
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   THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF YOUR POLICY IN R E S P O N S E TO THE
DISCLOSURE REQUIREMENTS OF THE TERRORISM RISK INSURANCE ACT. THIS ENDORSEMENT DOES
NOT GRANT ANY C O V E R A G E OR CHANGE THE TERMS AND CONDITIONS OF ANY C O V E R A G E UNDER
                                         THE POLICY.


                                        DISCLOSURE PURSUANT TO TERRORISM RISK
                                                    INSURANCE ACT


A.   Disclosure Of Premium

     In accordance with the federal Terrorism Risk Insurance Act, we are required to provide you with a notice
     disclosing the portion of your premium, if any, attributable to coverage for terrorist acts certified under the
     Terrorism Risk Insurance Act. The portion of your premium attributable to such coverage is shown in D.
     PREMIUM in the Declarations.

B. Disclosure Of Federal Participation In Payment Of Terrorism Losses

     The United States Government, Department of the Treasury, will pay a share of terrorism losses insured under
     the federal program. The federal share equals the percentage indicated below of that portion of the amount of
     such insured losses that exceeds the applicable insurer retention. However, if aggregate insured fosses
     attributable to terrorist acts certified under the Terrorism Risk Insurance Act exceed $100 billion In a calendar
     year, the Treasury shall not make any payment for any portion of the amount of such losses that exceeds $100
     billion.

     Federal   share   of   terrorism   losses:   84%, calendar      year   2016
     Federal   share   of   terrorism   losses:   83%, calendar      year   2017
     Federal   share   of   terrorism   losses:   82%, calendar      year   2018
     Federal   share   of   terrorism   losses:   8 1 % , calendar   year   2019
     Federal   share   of   terrorism   losses:   80%, calendar      year   2020

C. Cap On Insurer Participation In Payment Of Terrorism Losses

     If aggregate insured losses attributable to terrorist acts certified under the Terrorism Risk Insurance Act exceed
     $100 billion in a calendar year and we have met our insurer deductible under the Terrorism Risk Insurance Act,
     we shall not be liable for the payment of any portion of the amount of such losses that exceeds $100 billion,
     and in such case insured losses up to that amount are subject to pro rata allocation in accordance with
     procedures established by the Secretary of the Treasury.




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                                                                                               Liberty
                                                                                               MutuaL
                                                                                                 INSURANCE

                                 PREMIER PROPERTY PROTECTOR™

                                             POLICY COVER PAGE
  POLICYNUMBER:                                     DATE OF ISSUE:
  YAC-L9L-469720-039                                7/16/2019
  COMPANY PROVIDING INSURANCE:
  Employers Insurance Company of Wausau
                              ( hereafter referred to as we, us or our)

In consideration of this Policy's Provisions, Conditions, Stipulations, LIMITS OF LIABILITY and of premium charged,
we cover property, as described in this Policy, against all risks of direct physical loss or damage, except as
hereinafter excluded or limited, while located as described in this Policy.

We insure:
  U o f W A Medical Center
                                  { hereafter referred to as you or your(s)

The term of this Policy is from 7/1/2019 to 7/1/2020 at 12:01 a.m., local time. In the event of a claim, the Policy
period is measured by local time at the location where the direct physical loss or damage occurs.

PRODUCER NAME AND OFFICE

PARKER SMITH & FEEK INC
2233 112TH AVE NE,
BELLEVUE.WA 98004

Your policy is issued by a stock insurance company subsidiary of the Liberty Mutual Holding Company Inc., a
Massachusetts mutual holding company. The named insured first named in the Declarations is a member of Liberty
Mutual Holding Company Inc.

As a member of Liberty Mutual Holding Company Inc., the named insured first named is entitled, among other
things, to vote either in person or by proxy at the annual meeting or special meetings of said company. The Annual
Meeting of Liberty Mutual Holding Company Inc. is at its offices located at 175 Berkeley Street, Boston,
Massachusetts, on the second Wednesday in April each year at ten o'clock in the morning. Members of Liberty
Mutual Holding Company Inc. may request a copy of the company's annual financial statements, which are posted
on Liberty Mutual's website at www.libertymutual.com or by writing to Liberty Mutual Holding Company Inc.,
175 Berkeley Street, Boston, Massachusetts, 02116, Attention: Corporate Secretary.

You may be eligible to participate in the distribution of surplus funds of the company through any dividends that
may be declared for this policy. A declaration or payment of dividends is not guaranteed. The amount of any
dividends that may be declared shall be to the extent, and upon the conditions fixed and determined by the Board
of Directors and in compliance with any laws that apply.

IN WITNESS WHEREOF, the company has caused this Policy to be executed and attested, and, if required by
state law, this Policy shall not be valid unless countersigned by a duly authorized representative ofthe company.




        President                                                                  Secretary



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                                      SECTION I - DECLARATIONS

A.   FIRST NAMED INSURED AND MAILING ADDRESS

     University of WA Medical Center and any subsidiary, and the interest of University of WA Medical Center in any
     partnership or joint venture in which U of WA Medical Center has management control, ownership, or is
     obligated to Insure, as now constituted or hereafter is acquired, as the respective interest of each may appear;
     all hereafter referred to as you or yours, including legal representatives.

     When any Insured described above is a party to a written contract or agreement on file that requires a legal
     entity to be identified as an additional insured under this Policy, this Policy Includes the legal entity as an
     additional insured, as its interest may appear, for physical damage to covered property which is the subject of
     the written contract or agreement on file, before any loss occurs; and does not provide any TIME ELEMENT
     Coverage to the legal entity, except as provided under LEASEHOLD INTEREST of this Policy or as specifically
     endorsed to the Policy.

     Compliance and Risk Services
     Box 354964; 4300 Roosevelt Way NE
     Seattie.WA 98105-4964

B.   POLICYPERIOD

     The term of this Policy is from July 1, 2019 to July 1, 2020 at 12:01 a.m., local time. In the event of a claim. the
     Policy period is measured by local time at the location where the direct physical loss or damage occurs.

C. INSURING AGREEMENT

     In consideration of this Policy's Provisions, Conditions, Stipulations, LIMITS OF LIABILITY and of premium
     charged, we cover property, as described in this Policy, against all risks of direct physical loss or damage,
     except as hereinafter excluded or limited, while located as described in this Policy.

D.   PREMIUM

     This Policy is issued in consideration of the following initial premium inclusive of any premium shown on
     endorsements which are part of the Policy at the time of issue.

                                                                                 $876,736
       Policy Premium (Excluding premium for "certified act(s) of
       terrorism" under the Terrorism Risk Insurance Act (TRIA), as
       amended):


       Policy Premium for "certified act(s) of terrorism" under the              Rejected
       Terrorism Risk Insurance Act (TRIA), as amended:


          •   Policy Premium for Fire Following Acts of Terrorism (in
                                                                                 $36,663
              States where required)

       State or Municipal Taxes, Surcharges and Other Miscellaneous
                                                                                 $0
       Charges: (See State or Municipal Taxes, Surcharges and Other
       Miscellaneous Charges summary shown below)


       Total Policy Premium/Other Charges for Above Policy Period:               $913,399


       Policy Premium will be billed Annual.



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       The Deposit Premium/Other Charges is:
                                                                          $913,399


E.   PREMIUM PAYABLE

     The First Named Insured pays the premium under this Policy, and any return of the paid premium accruing
     under this Policy will be paid to the account of the First Named Insured.

     Premiums will be paid in the currency designated in paragraph I. CURRENCY.




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F. COVERED LOCATION(S)

    This Policy applies at a location(s):

    1.   Listed on a SCHEDULE on file with us;

    2. Listed on the SCHEDULE attached to this Policy;

    3. Covered as a Miscellaneous Unnamed Location; or

    4. Covered under the terms and conditions of the NEWLY ACQUIRED LOCATIONS Coverage or ERRORS
       AND OMISSIONS Coverage.

G. TERRITORY


    Coverage under this Policy applies to covered property within the continental United States of America,
    Hawaii and Puerto Rico.




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H. JURISDICTION

     The validity and interpretation of this Policy shall be governed by and construed in accordance with the laws of
     the State of New York.

     Any disputes arising hereunder will be exclusively subject to a State or Federal jurisdiction within the United
     States of America.

I.   CURRENCY

     All amounts, including deductibles and LIMITS OF LIABILITY, indicated in this Policy are in U.S. Dollars unless
     otherwise indicated by the three-letter currency designator as defined in Table A.l Currency and Funds code
     list. International Standards Organization (ISO) 4217, edition effective at inception of this Policy.

J.   DEFINED WORDS

     Words in bold face type have special meanings in this Policy and are defined in the DEFINITIONS section of
     this Policy. These definitions apply to this entire Policy and to any endorsements to it. Definitions that apply to
     individual sections or paragraphs are italicized and defined in the applicable sections or paragraphs.

K.   LIMITS OF LIABILITY

     When a POLICY LIMIT OF LIABILITY is specified in the LIMITS OF LIABILITY Table in the Declarations,
     our maximum LIMIT OF LIABILITY in an occurrence, including any insured TIME ELEMENT loss, will not exceed
     the stated POLICY LIMIT OF LIABILITY.

     1.   When a PROPERTY DAMAGE and TIME ELEMENT LIMIT OF UABILITY is specified in the LIMITS OF
          LIABILITY Table in the Declarations, it will apply to all coverages provided throughout this Policy, unless a
          LIMIT OF LIABILITY or "NOP" (No Coverage Provided) is indicated.

          a.   When a LIMIT OF LIABILITY is specified in the LIMITS OF LIABILITY Table in the Declarations, such
               limit will be the maximum amount payable for such loss or damage and cannot be combined with any
               other LIMITOF LIABILITY.

          b.   If "NCP" is specifted in the LIMITS OF LIABILITY, there is no coverage provided in this Policy.

     2.   LIMITS OF LIABILITY in an occurrence apply to the total loss or damage at all locations and for all
          coverages involved, including any insured TIME ELEMENT loss, subject to the following provisions:

          a.   When a LIMIT OF LIABILITY that applies in the aggregate during any Policy year is shown, our
               maximum amount payable will not exceed such LIMIT OF LIABILITY during any Policy year.

          b.   When a LIMIT OF LIABILITY applies to a location(s), specified property, DESCRIBED LOSSES or a
               specific coverage, the smallest applicable LIMIT OF LIABILITY will be the maximum amount payable.

          c.   Should an occurrence result in liability payable under more than one Policy issued to you by us, or by
               our subsidiaries, partners, or associated insurance companies, the maximum amount payable in the
               aggregate under all such policies will be the applicable LIMIT(S) OF LIABILITY indicated in this Policy.

          d.   When a LIMIT OF LIABILITY applies to TIME ELEMENT only, our maximum amount payable will not
               exceed such LIMIT OF LIABILITY per occurrence.

     3.   LIMITS OF LIABILITY specified below or elsewhere in this Policy do not increase and are part of and not
          in addition to the POLICY LIMIT OF LIABILITY or the PROPERTY DAMAGE and TIME ELEMENT LIMIT
          OF LIABILITY.

     4.   LIMITS OF LIABILITY apply per occurrence unless othenwise specified, including time and distance
          limits.



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                                LIMITS OF UABILITY TABLE - PART ONE

                          COVERAGE                                      UMITS OF LIABILITY AND TIME AND
                                                                               DISTANCE UMITS


 POUCY UMIT OF LIABIUTY                                                                            $600,000,000
 ACCOUNTS RECEIVABLE                                                                                $10,000,000


 ATTRACTION      PROPERTY                                                 1 statute miles from a covered location
                                                                              30 consecutive days, not to exceed
                                                                                                        $500,000


 BRANDS AND LABELS                                                                                   $1,000,000


 CIVIL OR MILITARY AUTHORITY                                              1 statute miles from a covered location
                                                                              90 consecutive days, not to exceed
                                                                                                     $10,000,000
 COMPUTER SYSTEMS NON PHYSICAL DAMAGE and DATA,                                                      $2,500,000
 PROGRAMS OR SOFTWARE, combined


 CONTINGENT TIME ELEMENT

     •   Direct Dependent Contingent Time Element Location(s):                                      $10,000,000
          Not Scheduled or on file with us

     •   Indirect Dependent Contingent Time Element                                                 $10,000,000
         Location(s):
          Not Scheduled or on file with us


 CONTROL OF DAMAGED GOODS                                                                              $500,000


 COURSE OF CONSTRUCTION                                                                             $25,000,000


 CRISIS MANAGEMENT                                                           30 consecutive days, not to exceed
                                                                                                    $1,000,000


 DEBRIS REMOVAL                                                                                     $25,000,000


 DECONTAMINATION COSTS                                                                               $2,500,000


 DEFERRED PAYMENTS                                                                                   $2,500,000


 DELAY IN STARTUP                                                                                    $1,000,000




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 DEMOLITION AND INCREASED COST OF CONSTRUCTION                                                         $50,000,000


 ERRORS AND OMISSIONS                                                                                  $15,000,000


 EXPEDITING EXPENSE                                                                                    $25,000,000


 EXTENDED PERIOD OF LIABILITY                                                                 365 consecutive days


 EXTRA EXPENSE                                                                                         $10,000,000


 FINE ARTS                                                                                              $2,500,000


 FIRE DEPARTMENT SERVICE CHARGES                                                                        $5,000,000


 IMPOUNDED WATER                                                                 30 consecutive days, not to exceed
                                                                                                        $1,000,000


 INGRESS/EGRESS                                                           1 statute miles from a covered location 90
                                                                                     consecutive days, not to exceed
                                                                                                        $10,000,000


 LAND AND WATER CLEANUP, REMOVAL AND DISPOSAL in                                                        $1,000,000
 the annual aggregate

 LEASEHOLD INTEREST                                                                                    $10,000,000


 MISCELLANEOUS PERSONAL PROPERTY                                                                       $10,000,000


 Miscellaneous Unnamed Locations                                                                       $10,000,000


 Mold, Mildew or Fungus directly resulting from a Covered Loss                                         $10,000,000


 NEWLY ACQUIRED LOCATIONS                                                        90 consecutive days, not to exceed
                                                                                                       $10,000,000


 OFF PREMISES INTERRUPTION OF SERVICES - PROPERTY                                                      $15,000,000
 DAMAGE and OFF PREMISES INTERRUPTION OF SERVICES
 - T I M E ELEMENT


 Ordinary Payroll                                                                             180 consecutive days


 PROFESSIONAL FEES                                                                                        $500,000




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 RADIOACTIVE CONTAMINATION                                                                         $5,000,000


 RENTAL INSURANCE                                                                                  $1,000,000


 RESEARCH AND DEVELOPMENT                                                                          $5,000,000


 SOFT COSTS                                                                                        $1,000,000


 TAX LIABILITY                                                                                     $1,000,000


 TRANSIT                                                                                           $2,500,000


 VALUABLE PAPERS AND RECORDS                                                                      $25,000,000



                                    LIMITS OF LIABILITY TABLE - PART TWO

                             COVERAGE                                     LIMITS OF LIABIUTY AND TIME AND
                                                                                  DISTANCE LIMITS


 EARTH MOVEMENT in the annual aggregate                                                         $25,000,000

 except the following limits apply per occurrence and in the annual
 aggregate, and are part of and not in addition to the EARTH
 MOVEMENTanr\ua\ aggregate limit:

     •     Covered property situated in:

             Pacific NW Earth Movement Zone                                                     $25,000,000


 EARTH MOVEMENT SPRINKLER LEAKAGE                                                              $600,000,000


 EQUIPMENT BREAKDOWN

 PROPERTY DAMAGE                                                                               $100,000,000

 TIME ELEMENT                                                                                  $100,000,000

 except:

     The following limits are part of and not in addition to the
     EQUIPMENT BREAKDOWN limits specified above:

     •     Ammonia Contamination                                                                 $1,000,000

     •     CONTINGENT TIME ELEMENT                                                               $1,000,000



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       •   spoilage Damage                                                                             $5,000,000


 FLOOD in the annual aggregate                                                                        $50,000,000

 except the following limits apply per occurrence and in the annual
 aggregate, and are part of and not in addition to the FLOOD
 annual aggregate limit:

       •   Covered property at locations situated in:

              Flood Hazard - High                                                                      $2,500,000


 NAMED STORM                                                                                              Included


                                       ENDORSEMENT UMITS OF LIABILITY


  Endorsement Number                    Endorsement Name                        UMITS OF UABILITY

       CNP 90 06 01 17        Disclosure Pursuant to Terrorism Risk                    Rejected
                                          Insurance Act

       PY 04 04 01 17               Exclusion of Certified Acts of
                                             Terrorism

       PY03 11 01 17                  Research Animals Endt                   $5,000,000, no more than
                                                                                  $5,000 per animal



 L.    CANCELLATION TIME SPECIFICATIONS

 Cancellation for Nonpayment of Premium                                                            Ten (10) days


 Cancellation for All Reasons Other Than                                                                  30 days
 Nonpayment of Premium


M. DEDUCTIBLES

      Subject to the Deductible General Provisions stated below, we will not pay unless a covered loss, including
      any insured TIME ELEMENT loss, exceeds the deductible(s) specified below. We will then pay the amount of
      covered loss in excess of the deductible, up to the applicable LIMIT OF LIABILITY.

      Deductible General Provisions

      We will be liable only if you sustain a covered loss, including any insured TIME ELEMENT loss, in a single
      occurrence greater than the applicable deductible specified. When this Policy insures more than one (1)
      location, the deductible(s) will apply against the total loss covered by this Policy in an occurrence unless
      otherwise stated.

      1. Unless otherwise stated, if two or more deductibles apply to an occurrence, the total deductible will not
         exceed the largest applicable deductible, except as follows:



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         a.   When a separate PROPERTY DAMAGE and TIME ELEMENT deductible apply, each will be applied
              separately.

         b.   If there are multiple locations involved in an occurrence where two or more deductibles apply toa location
              in an occurrence, the largest deductible applying to each location will be applied separately to each such
              location, regardless ofthe number of locations involved in the occurrence.


         c.   Unless specified otherwise, if deductibles are specified for a location, the largest deductible
              applicable will be applied to that location regardless of the number of locations involved in the
              occurrence.

         d.   Equipment Breakdown: With regard to Equipment Breakdown coverage, if one or more deductible
              amounts are shown below, each will be applied separately.

         e.   The stated EARTH /WOVEME/VTdeductible will be applied to EARTH MOVEMENTloss. The stated
              FLOOD deductible will be applied to FLOOD loss. The stated NAMED STORM deductible will be
              applied to NAMED STORM loss. Provisions l.a. and l.b. above will also be applied to each.

    2.   When a percent deductible is specified, whether separate or combined, the deductible amount will be
         determined as follows:

         a.   PROPERTY DAMAGE: The percentage ofthe total reported values on file with us forthe covered
              property at the corresponding location(s) (including sub-locations) where the direct physical loss
              or damage occurred; plus

         b.   TIME ELEMENT: The percentage of the full TIME ELEMENT values that would have been earned
              in the 12-month period following the occurrence, had no loss occurred, by use of the facilities at
              the location where the direct physical loss or damage occurred, plus that proportion of the full TIME
              ELEMENT values at all other locations where TIME ELEMENT loss ensues that was directly
              affected by use of such facilities and that would have been earned in the 12-month period following
              the occurrence.

         c.   Equipment Breakdown: The percentage of the gross amount of loss, damage or expense (prior any
              deductible) insured under the applicable coverage. If the dollar amount of such percentage is less
              than the indicated minimum deductible, the minimum deductible will be the applicable deductible.

    3.   When a minimum deductible is shown, the minimum deductible is the sum of:

         a.   The specific location deductible for each covered location where the amount of physical loss or
              damage exceeds the specific location deductible; and

         b.   The amount of physical loss or damage for each covered location where the amount of physical loss
              or damage is less than the specific location deductible.

    4.   When an average daily value deductible is provided, this deductible will be determined as follows;

         a.   The total amount of TIME ELEMENT ioss applicable for the entire location where the direct physical
              loss or damage happens will be included.

         b.   Divide the result in Paragraph a. by the number of days the business would have been open during the
              PERIOD OF LIABILITY. The result is the average daily value.

         c.   Multiply the average daily value in Paragraph b. by the number of days specified in the DEDUCTIBLE
              TABLE below.


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        If more than one (1) location is included in the valuation of the loss, the average dally value will be the
        combined value of all affected locations.

   5.   When a per unit deductible is specified, the following shall be considered a separate unit of insurance:

        a.   Each separate building, the contents of each separate building and covered property in each yard at
             that covered location.

        b.   TIME ELEMENT loss as applicable, including all other locations where TIME ELEMENT loss ensues
             as provided by this Policy.

   6.   When a time deductible is shown, we will not be liable for any loss under that coverage that occurs during
        that specified time period immediately following the direct physical loss or damage. If a time deductible is
        shown in days, each day shall mean twenty four (24) consecutive hours.

   7.   When a deductible is shown in the Declarations for a NAMED STORM, the following applies:

        a.   All direct physical loss or damage to covered property including TIME ELEMENT loss caused by or
             resulting from a NAMED STORM will be subject to the deductible obtained by calculating all of the
             following:

             (1) The sum of all applicable percentage deductibles calculated as described in Deductibie General
                 Provisions Item 2. above, subject to any applicable minimums or maximums; and

             (2) Any other applicable deductible amounts.




                                        DEDUCTIBLE TABLE - PART ONE

                            Coverage                                        Deductible Percentage / Amounts
 Policy Deductible (except as otherwise indicated)                                                         $500,000


 OFF PREMISES INTERRUPTION OF SERVICES -                                                                   $500,000
 PROPERTY DAMAGE AND TIME ELEMENT


 TRANSIT                                                                                                   $500,000
 Fine Arts                                                                                                 $500,000




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                                        DEDUCTIBLE TABLE - PART TWO

                           Coverage                                      Deductible Percentage / Amounts


 EARTH MOVEMENT                                                                                  2% subject to
                                                                                            $500,000 minimum

    except:
    •   Covered property situated in:

           Pacific NW Earth Movement Zone                                                        2% subject to
                                                                                            $500,000 minimum


 EARTH MOVEMENT SPR\NKLER LEAKAGE                                                                    $500,000


 EQUIPMENT BREAKDOWN

 PROPERTY DAMAGE                                                                                     $500,000

 TIME ELEMENT                                                                                        $500,000

    •    Spoilage Damage                                                                             $500,000

    •    Ammonia Contamination                                                                       $500,000


 FLOOD                                                                                               $500,000

    except:
    •   Covered property at locations situated in:

           Flood Hazard - High                                                        $500,000 Real Property
                                                                                   $500,000 Personal Property
                                                                                              $100,000 Other


 NAMED STORM                                                                                         $500,000



                                 OCCURRENCE TIME SPECIFICATIONS


 EARTH MOVEMENT                                                                         continuous 168 hours


 NAMED STORM                                                                             continuous 72 hours




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N. QUALIFYING PERIOD(S)

    A qualifying period applies for the coverages shown in the Table below. Qualifying period is the period of time
    that must be exceeded for coverage to apply. Once the qualifying period has been exceeded, coverage applies
    from the initial event of loss.

                                         QUALIFYING PER/OD TABLE

                                Coverage                                           QUALIFYING PERIOD


 COMPUTER SYSTEMS NON PHYSICAL DAMAGE and DATA,                                           24 hours
 PROGRAMS OR SOFTWARE, combined

 CRISIS MANAGEMENT                                                                        24 hours

 OFF PREMISES INTERRUPTION OF SERVICES - PROPERTY                                         24 hours
 DAMAGE AND TIME ELEMENT




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                                   SECTION II - PROPERTY DAMAGE

A.   COVERED PROPERTY

     1.   We cover your insurable interest in the following types of property that are located at or within one-thousand
          (1,000) feet of a covered location, unless otherwise excluded:

          a.   Real Property, including          new    buildings,   structures    and   additions   in   the   COURSE     OF
               CONSTRUCTION.

          b.   Personal Property, including persona/property of of/7ers.

               Personal property of others are tangible things that you do not own, other than real property, that:

               (1) are sold by you and that you have agreed, prior to loss, to insure for the account of the purchaser
                   during delivery;

               (2) you have agreed in writing prior to any loss or damage to provide coverage;

               (3) are in your care, custody or control;

               (4) you have an insurable interest in, or an obligation to provide coverage;

               (5) you are legally liable for;

               (6) are improvements and betterments consisting of fixtures, alterations, installation or additions
                   comprising part of a building not owned by you and acquired or made at your expense which
                   you cannot legally move, but only to the extent of your insurable interest therein; or

               (7) are personal property (other than vehicles) of your employees and officers.

     2.   We also cover the interest of contractors and subcontractors in covered property during construction at or
          within one-thousand (1,000) feet of a covered location to the extent o f y o u r legal liability for direct physical
          loss or damage to such property. Such interest of contractors and subcontractors is limited to the property
          for which they have been hired to perform work and such interest will not extend to any TIME ELEMENT
          coverage provided under this Policy.

     PROPERTY NOT COVERED

     We do not cover the following types of property:

     1.   Aircraft, except when unfueled and manufactured by you;

     2.   Animals, standing timber including undisturbed natural wooded areas, or growing crops;

     3.   Bridges or tunnels, however pedestrian walkways connecting buildings are covered;

     4.   Caves, caverns, mines of any type, or any property contained within them;

     5.   Contraband or property in the course of illegal transportation or trade;

     6.   Currency, money, negotiable and non-negotiable instruments, notes or securities;

     7.   Dams, dikes, levees, docks, wharfs, piers or bulkheads;




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    8.   Electronic data, computer programs or software, except when they are stock in process, finished stock
         manufactured by you, raw materials, supplies, other merchandise not manufactured by you or as provided
         in this Policy;

    9.   Land and any substance in or on land except this exclusion does not apply to land improvements;

    10. Land improvements at a golf course;

    11. Overhead transmission and distribution systems located more than one-thousand (1,000) feet away from a
        covered location;

    12. Personal property of others that is in the care, custody or control of you or your affiliates for which you are
        acting as a warehouseman, bailee for hire, or carrier for hire.

    13. Precious metals or precious stones, except when used in industrial or service operations;

    14. Property in transit, except as othenA/ise provided by this Policy;

    15. Property more specifically insured, except for any excess over any LIMITS OF LIABILITY of such more
        specific insurance;

    16. Property sold by you under conditional sale, trust agreement, Installment plan or other deferred payment
        plan after delivery to your customers, except as provided by the DEFERRED PAYMENTS coverage of this
        Policy;

    17. Spacecraft, satellites, associated launch vehicles and any property contained therein;

    18. Vehicles otherwise insured for physical loss or damage;

    19. Water except this exclusion does not apply to water that is contained within any enclosed tank, piping
        system or any other processing equipment; or

    20. Watercraft, except watercraft you manufacture and are part of your inventory while being stored un-fueled
        and on dry land at a covered location.

    EXCLUSIONS

    The following exclusions apply unless otherwise stated in this Policy:

    1.   We do not cover:

         a.   Indirect or remote loss or damage;

         b.   Interruption of business, except to the extent provided by this Policy;

         c.   Loss of market or loss of use;

         d.   Loss or damage or deterioration arising from any delay;

         e.   Mysterious disappearance, loss or shortage disclosed on taking inventory, or any unexplained loss;

         f.   Loss or damage from enforcement of any law or ordinance:

              (1) Regulating the construction, repair, replacement, use or removal, including debris removal, of any
                  property; or
              (2) Requiring the demolition of any property, including the cost in removing its debris;




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              except as provided by the DECONTAMINATION COSTS and DEMOLITION AND INCREASED COST
              OF CONSTRUCTION coverages of this Policy;

         g.   Loss resulting from the voluntary parting with title or possession of property if induced by any fraudulent
              act or by false pretense; or

         h.   Loss or damage caused by or resulting from freezing, disease or drought to landscape gardening,
              including plants, trees and shrubs.

    2.   We do not cover physical loss or damage directly or indirectly caused by or resulting from any of the
         following regardless of any other cause or event, whether or not insured under this Policy, contributing to
         the loss concurrently or In any other sequence:

         a.   Terrorism, including action in hindering or defending against an actual or expected incident of
              terrorism, but this exclusion applies only when one of the following are attributed to an incident of
              terrorism:

              (1) The terrorism is carried out by means of the dispersal or application of radioactive material, or
                  through the use ofa nuclear weapon or device that involves or produces a nuclear reaction, nuclear
                  radiation or radioactive contamination; or

              (2) Radioactive material is released, and it appears that one purpose of terrorism was to release such
                  material; or

              (3) The terrorism is carried out by means of the dispersal or application of pathogenic or poisonous
                  biological or chemical materials; or

              (4) Pathogenic or poisonous biological or chemical materials are released, and it appears that one
                  purpose of the terrorism was to release such materials; or

              (5) Loss or damage to property located outside of the United States, unless there is a law in effect in
                  the jurisdiction where the loss or damage occurs that expressly prohibits this exclusion; or

              (6) The total of all damage to property, whether covered by this Policy or othenvise, exceeds
                  $25,000,000. In determining whether the $25,000,000 threshold is exceeded, we will include all
                  insured damage sustained by property of all persons and entities affected by the terrorism and
                  business interruption (TIME ELEMENT) losses sustained by owners or occupants of the damaged
                  property. For the purpose of this provision, insured damage means damage that is covered by any
                  Insurance plus damage that would be covered by any Insurance but for the application of any
                  terrorism exclusions. Multiple incidents of terrorism which occur within a 72-hour period and
                  appear to be carried out in concert or to have a related purpose or common leadership will be
                  deemed to be one (1) incident, for the purpose of determining whether the threshold is exceeded.

                  With respect to this item 2.a.(6), the immediately preceding paragraph describes the threshold used
                  to measure the magnitude of an incident of terrorism and the circumstances in which the threshold
                  will apply, for the purpose of determining whether this exclusion will apply to that incident. When
                  the exclusion applies to an incident of terrorism, there is no coverage in this Policy.

              However, this exclusion does not apply:

              (1) If terrorism results in fire, In which case we cover the direct physical loss or damage caused by
                  the fire but only if there is a statute in effect in the jurisdiction where the loss or damage occurs that
                  expressly prohibits the exclusion of fire losses resulting from terrorism. This exception is subject
                  to all applicable Policy provisions including the LIMIT OF LIABILITY on the affected property. Such
                  coverage for ensuing loss applies only to direct loss or damage by fire to covered property. This
                  coverage does not apply to insurance provided under any TIME ELEMENT coverages, or to fire
                  legal liability coverage; or



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             (2) While the United States Terrorism Risk Insurance Act (TRIA), as amended, is in effect:

                     (a) To loss or damage caused by a "Certified Act of Terrorism" provided that you elected
                         coverage for such, and only to the extent provided by the terms and conditions of the
                         applicable CERTIFIED ACTS OF TERRORISM AND DISCLOSURE PURSUANT TO
                         TERRORISM RISK INSURANCE ACT endorsement; or

                     (b) To loss or damage caused by terrorism that would have been certified as an "act of
                         terrorism", but was not certified solely because the total of all property and casualty
                         insurance losses resulting from the act failed to exceed the $5,000,000 "certified act of
                         terrorism" threshold specified under TRIA.

        b.   Nuclear reaction or nuclear radiation or radioactive contamination. However, this exclusion does not
             apply if:

             (1) The RADIOACTIVE CONTAMINATION PROPERTY DAMAGE COVERAGE AND LIMITATION
                 applies but only to the extent provided; or

             (2) Fire directly results from the nuclear reaction, nuclear radiation, or radioactive contamination, in
                 which case we cover the physical loss or damage caused by the fire but only if there is a statute in
                 effect in the jurisdiction where the loss or damage happens that expressly prohibits the exclusion
                 of fire losses resulting from nuclear reaction, radiation or contamination.

        c.   Hostile or wariike action in time of peace or war, including action in hindering, combating or defending
             against an actual, impending or expected attack by any:

             (1) Government or sovereign power (de jure or de facto);

             (2) Military, naval or air force; or

             (3) Agent or authority of any party specified In (1) or (2) above.

        d.   Discharge, explosion or use ofany nuclear device, weapon or material employing or involving nuclear
             fission, fusion or radioactive force, whether in time of peace or war and regardless of who commits the
             act.

        e.   The unlawful possession, use, release, discharge, dispersal or disposal of any chemical, biological,
             viral, radioactive or similar agents or matter, whether in time of peace or war and regardless of who
             commits the act.

        f.   Insurrection, rebellion, revolution, civil war, usurped power, or action taken by governmental authority
             in hindering, combating or defending against such an event.

        g.   Seizure or destruction under quarantine or custom regulation, or confiscation by order of any
             governmental or public authority.

        h.   Risks of contraband, or illegal transportation or trade.


        I.   Any criminal, fraudulent or dishonest act, including theft, committed alone or in collusion with others:

             (1) By you or any proprietor, partner, director, trustee, officer or employee of an Insured; or

             (2) By any proprietor, partner, director, trustee, or officer of any business or entity (other than a
                 common carrier) engaged by you to do anything in connection with property insured under this
                 Policy.




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              However, we do cover direct physical loss or damage intentionally caused by your employee or any
              Individual specified in (2) above provided that said individuals acted without your knowledge.

         j.   Lack of the following services:

              (1) Incoming electricity, fuel, water, gas, steam or refrigerant;

              (2) Outgoing sewerage; or

              (3) Incoming or outgoing voice, data or video,

              all when caused by an event away from the covered location except as provided In the ON/OFF
              PREMISES INTERRUPTION OF SERVICES coverages of this Policy. But, ifthe lack of such a service
              causes physical loss or damage of the type insured by this Policy at a covered location, then only that
              resulting damage is covered.

    3.   We do not cover the following, but, if direct physical loss or damage not excluded by this Policy results,
         then we cover that resulting damage only:

         a.   Faulty workmanship, material, construction or design.

         b.   Loss or damage to stock or material attributable to manufacturing or processing operations while such
              stock or material is being processed, manufactured, tested, or otherwise worked on.

         c.   Deterioration, depletion, rust, corrosion or erosion, wear and tear, inherent vice or latent defect.

         d.   Settling, cracking, shrinking, bulging, or expansion of:

              (1) Foundations (including any pedestal, pad, platform or other property supporting machinery)

              (2) Floors

              (3) Pavements

              (4) Walls, including retaining walls

              (5) Ceilings

              (6) Roofs

         e.   Extremes or changes in temperature (except to machinery or equipment) or changes in relative
              humidity, all whether atmospheric or not.

         f.   Cumulative effects of smog, smoke, vapor, liquid and dust.

         g.   Insect, animal or vermin damage.

         h. Loss or damage to the interior portion of buildings under construction caused by rain, sleet or snow,
            whether or not driven by wind, when the installation of the roof, walls or windows of such buildings has
            not been completed.
    4.   We do not cover the following unless directly resulting from a covered loss:

         a.   Contamination, and any cost due to contamination including the inability to use or occupy property
              or any cost of making property safe or suitable for use or occupancy, except as provided elsewhere in
              this Policy.

         b.   Shrinkage.



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         c.    Changes in color, flavor, texture or finish.

         d.   Remediation, change, correction, repair or assessment of any date or time recognition in any electronic
              data processing equipment or media.

         e.   Failure of electronic data processing equipment or media to correctly recognize, interpret, calculate,
              compare, differentiate, sequence, access or process data involving one or more dates or times.

D. PROPERTY DAMAGE COVERAGES AND UMITATIONS

    We provide the following PROPERTY DAMAGE COVERAGES AND UMITATIONS for a covered loss as
    specified in the LIMITS OF LIABILITY Table in the Declarations, subject to the terms, conditions and exclusions
    of this Policy.

    1.   ACCOUNTS RECEIVABLE

         a.   We cover the following resulting from a covered loss to accounts receivable records located while
              anywhere within the Policy territory, including while in transit:

              (1) Any shortage in the collection of accounts receivable.

              (2) The interest charges on any loan to offset such impaired collection pending repayment of such
                  uncollectible sum. Unearned interest and service charges on deferred payment accounts and
                  normal credit losses on bad debts will be deducted In determining the amount recoverable.

              (3) The reasonable and necessary cost incurred for material and time required to re-establish or
                  reconstruct accounts receivable records excluding any costs covered by any other insurance.

              (4) Any other necessary and reasonable costs incurred to reduce the loss, to the extent the losses are
                  reduced.

         b.   Accounts receivable records include records stored as electronic data. In the event of loss, you will:

              (1) Use all reasonable efforts, including legal action, if necessary, to effect collection of outstanding
                  accounts receivable.

              (2) Reduce the loss by use of any property or service owned or controlled by you or obtainable from
                  other sources.

              (3) Reconstruct, if possible, accounts receivable records so that no shortage is sustained.

         c.   The settlement of loss will be made within ninety (90) days from the date of the covered loss. All
              amounts recovered by you on outstanding accounts receivable on the date of loss will belong and be
              paid to us up to the amount of loss paid by us. All recoveries exceeding the amount paid will belong to
              you.

         d.   We do not cover shortage resulting from:

              (1) Bookkeeping, accounting or billing errors or omissions; or
              (2) Alteration, falsification, manipulation; or

              (3) Concealment, destruction or disposal, of accounts receivable records committed to conceal the
                  wrongful giving, taking, obtaining or withholding of money, securities or other property; but only to
                  the extent of such wrongful giving, taking, obtaining or withholding.

   2.    BRANDS AND LABELS




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        In the event of a covered loss to your branded or labeled merchandise, and we elect to take all or any
        part of that property, you may at our expense;

        a.   Stamp "salvage" on the property or its containers; or

        b.   Remove or obliterate the brands or labels,

        if doing so will not damage the property.

        You must re-label such property or its containers to be in compliance with any applicable law.

   3. CONTROL OF DAMAGED GOODS
        We grant control to you of physically damaged covered property consisting of finished goods manufactured
        by or for you as follows:

        a.   You will have full rights to the possession and control of damaged property in the event of physical
             damage to your covered property provided proper testing is done to show which property is
             physically damaged.

        b.   Using reasonable judgment, you will decide if the physically damaged covered property           can be
             reprocessed or sold.

        c.   Property you determine to be unfit for reprocessing or selling will not be sold or disposed of except by
             you, or with your consent.

              Any salvage proceeds received will reduce the recoverable loss.

   4.   COURSE OF CONSTRUCTION

        a.   We cover direct physical loss or damage at a covered location to buildings or structures that you begin
             to construct during the Policy period.


        b.   We also cover materials, supplies, machinery, equipment and fixtures:

             (1) At a covered location and Intended for Installation in the new construction;

             (2) After such property has been delivered to you or your contractor, and while such property is
                 located offsite at a storage location; or

             (3) After such property has been delivered to you or your contractor, and while such property is In
                 transit from a storage location to another storage location or to a covered location.

        c.   This coverage only applies to the construction of covered property you intend to own or occupy
             once constructed.

        d.   This coverage does not apply to any property owned or rented by any contractor or subcontractor.

   5.   DATA, PROGRAMS OR SOFTWARE

        a.   We cover direct physical loss or damage to your electronic data, computer programs or software,
             including direct physical loss or damage caused by the malicious introduction of a machine code or
             instruction, while anywhere within this Policy's territory, including:

             (1) The cost of the following reasonable and necessary actions taken by you provided such actions
                 are taken due to actual Insured physical loss or damage to electronic data, computer programs or
                 software:


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                  (a) Actions to temporarily protect and preserve Insured electronic data, computer programs or
                      software.

                  (b) Actions taken for the temporary repair of insured physical loss or damage to electronic data,
                      computer programs or software.

                  (c) Actions taken to expedite the permanent repair or replacement of such damaged property.

               (2) Your reasonable and necessary cost to temporarily protect or preserve covered electronic data,
                   computer programs or software against immediately impending direct physical loss or damage to
                   electronic data, computer programs or software. In the event that there is no direct physical loss
                   or damage, the costs covered under this item will be subject to the deductible that would have
                   applied had there been such direct physical loss or damage.

         b.   With respect to destruction, distortion or corruption caused by the malicious introduction of machine
              code or instruction, this PROPERTY DAMAGE COVERAGE AND LIMITATION will apply only when
              the qfua//fy/ng period specified in the Qualifying Period Table in the Declarations is exceeded.

         c.   Any amounts recoverable under this PROPERTY DAMAGE COVERAGE AND LIMITATION are
              excluded from coverage elsewhere in this Policy.

         d.   This PROPERTY DAMAGE COVERAGE AND LIMITATION excludes loss or damage to electronic
              data, computer programs or software when they are stock In process, finished stock manufactured by
              you, raw materials, supplies or other merchandise not manufactured by you.

         e.   With respect to this PROPERTY DAMAGE COVERAGE AND LIMITATION, the following additional
              exclusions apply:

              (1) Errors or omissions in processing or copying; and

              (2) Loss or damage to electronic data, computer programs or software from errors or omissions in
                  programming or machine instructions.


    6.   DEBRIS REMOVAL

         a.   We cover your reasonable and necessary costs to remove debris from a covered location that remains
              as a direct result of a covered loss.

         b. This PROPERTY DAMAGE C O V E R A G E AND LIMITATION covers the costs of removal of
            contaminated covered property or the contaminant in or on covered property only if the
            contamination, due to the actual presence of contaminant(s), results from a covered loss.

         c.   This PROPERTY DAMAGE COVERAGE AND LIMITATION does not coverthe costs of removal of:

              (1) Contaminated uninsured property; or

              (2) The contaminant in or on uninsured property,

              whether or not the contamination results from a covered loss.

    7.   DECONTAMINATION COSTS

         a.   We cover your decontamination costs directly resulting from a covered loss at a covered location
              subject to the following conditions:


              (1) These decontamination costs must be a direct result of enforcement ofthe law or ordinance that


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                  is in force at the time ofthe toss regulating decontamination; and

              (2) The amount we cover includes the increased cost to remove your contaminated covered
                  property to comply with the law or ordinance.

         b. We do not cover costs required for removing contaminated uninsured property or the contaminant
            therein or thereon, whether or not the contamination resulted from a covered loss.

    8. DEFENSE FOR PERSONAL PROPERTY OF OTHERS
         a.   We cover the cost to defend that part of any suit against you alleging direct physical loss or damage of
              the type insured by this Policy to personal property of others of the type insured by this Policy, in your
              custody, and while at a covered location. We may without prejudice undertake any investigation,
              negotiation or settlement of any such claim or suit as we deem appropriate.

         b.   We do not cover the cost to defend any suit against you when you are acting as a warehouseman,
              bailee for hire, or carrier for hire.

    9.   DEFERRED PAYMENTS

         a.   We cover direct physical loss or damage to personal property of the type insured by this Policy sold
              by you under a conditional sale or trust agreement or any installment or deferred payment plan and
              after such property has been delivered to the buyer. Coverage is limited to the unpaid balance for such
              property. In the event of loss to property sold under deferred paymenl plans, you will use all reasonable
              efforts, including legal action, if necessary, to effect collection of outstanding amounts due or to regain
              possession ofthe property.

         b.   We do not cover loss:

              (1) Pertaining to products recalled including your costs to recall, test or to advertise such
                  recall.

              (2) From theft or conversion by the buyer of the property after the buyer has taken
                  possession of such properiy.

              (3) To the extent the buyer continues payments.

              (4) Not wilhin this Policy's territory.

    10. DEMOLITION AND INCREASED COST OF CONSTRUCTION

         a.   We cover your reasonable and necessary costs that are described in Item b. below, actually incurred
              to satisfy the minimum requirements of the enforcement of any iaw or ordinance regulating the
              demolition, construction, repair, replacement or use of covered property consisting of buildings,
              structures, machinery and equipment at a covered location, provided:

              (1) Such law or ordinance is in force on the date of the covered loss;

              (2) Its enforcement is a direct result of a covered loss; and

              (3) The buildings, structures, machinery and equipment were in compliance with such law or
                  ordinance, regardless of any lack of enforcement, prior to the covered loss.

         b.   This PROPERTY DAMAGE COVERAGE AND LIMITATION, as respects the property insured in Item
              a. above, covers:

              (1) The cost incurred to demolish, repair or rebuild the physically damaged portion of such property
                  with materials and in a manner to satisfy such law or ordinance; and


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             (2) The cost incurred:

                 (a) To demolish the physically undamaged portion of such property insured; and

                 (b) To rebuild it with materials and in a manner to satisfy such law or ordinance,

                 when the demolition of the physically undamaged portion of such property is required to satisfy
                 such law or ordinance, as a result of a covered loss.

        c.   This PROPERTY DAMAGE COVERAGE AND LIMITATION excludes any costs incurred as a result of
             the enforcement ofany law or ordinance regulating pollution.

        d.   The amount we cover for this PROPERTY DAMAGE COVERAGE AND LIMITATION at each covered
             location in any one (1) occurrence will not exceed the actual cost incurred in demolishing the
             physically damaged and undamaged portions of the property covered in item a. above plus:

             (1) If rebuilt on the same site, the actual cost incurred In rebuilding there; or

             (2) If rebuilt on anoiher site, the lesser of:

                 (a) The actual cost incurred in rebuilding on the other site, excluding the cost of land; or

                 (b) The cost that would have been incurred to rebuild on the same site.

    11. ERRORS AND OMISSIONS

        a.   If direct physical loss or damage is not covered under this Policy solely because of an error or
             unintentional omission made by you:

             (1) In the description of where covered property Is physically located; or

             (2) To include any location:

                 (a) Owned, rented or leased by you on the effective date of this Policy; or

                 (b) Purchased, rented or leased by you during the term of the Policy; or

             (3) That results in termination of the coverage provided by this Policy, except for cancellation due to
                 nonpayment of premium,

             we cover the amount we would have paid, including any TIME ELEMENT loss, had the error or
             omission not been made.

        b.   This coverage does not apply to the failure to report values, or the reporting of inaccurate values of
             covered property.


        c.   This PROPERTY DAMAGE COVERAGE AND UMITATION does not apply if coverage is provided
             elsewhere in this Policy.

        d.   You must report such errors or unintentional omissions to us in writing as soon as they are discovered.

    12. EXPEDITING EXPENSE

       a.    We cover your reasonable and necessary costs:

             (1) Forthe temporary repair of covered property from a covered loss; and


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             (2) To expedite the permanent repair or replacement of such damaged property.

        b.   This PROPERTY DAMAGE COVERAGE AND LIMITATION does not cover costs recoverable
             elsewhere in this Policy, including the cosl of permanent repair or replacement of damaged property.

    13. FINE ARTS

        a.   We cover direct physical loss or damage to your fine arts while anywhere within this Policy's territory,
             including while in transit.

        b.   The following additional exclusions apply:

             We do not cover:

             (1) Loss or damage sustained from any repair, restoration, or retouching process;

             (2) Breakage of art glass windows, statuary, marble, glassware, bric-a-brac, porcelains, and similar
                 fragile articles, unless caused by fire, lightning, aircraft, theft and or attempted theft, windstorm,
                 EARTH MOVEMENT, FLOOD, explosion, vandalism, collision, derailment or overturn of
                 conveyance.

    14. FIRE DEPARTMENT SERVICE CHARGES

        We coverthe reasonable and necessary:

        a.   Fire department firefighling charges imposed as a result of responding to a fire in, on or exposing the
             covered property.

        b.   Costs incurred by you to restore and recharge fire protection systems following a covered loss.


    15. LAND AND WATER CLEANUP, REMOVAL AND DISPOSAL

        a.   For uninsured property at a covered location consisting of land, water, or any other substance in or on
             land or water at a covered location, we cover your reasonable and necessary cost for the cleanup,
             removal and disposal of the aclual presence of contaminant(s) from that property if the release,
             discharge or dispersal of such contaminant(s) is a result of a covered loss.

        b.   This PROPERTY DAMAGE COVERAGE AND LIMITATION does nol apply:

             (1) At any location insured for personal property only;

             (2) At any location, or to any property, covered under the NEWLY ACQUIRED LOCATIONS or
                 ERRORS AND OMISSIONS coverages provided by this Policy or at a Miscellaneous Unnamed
                 Location; or

             (3) If you fail to give us written notice within one hundred eighty (180) days after the loss.

    16. MISCELLANEOUS PERSONAL PROPERTY

        a.   We cover direct physical loss or damage, that occurs away from a covered location but within the
             Policy's territory, to personal property of the type covered under this Policy, which Is:

             (1) Owned by you; or

             (2) Owned by others and In your care, custody and control, but only to the extent you are obligated to
                 insure it for direct physical loss or damage under the type of coverage provided under this Policy.

        b.   This PROPERTY DAMAGE COVERAGE AND LIMITATION excludes coverage that is provided


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             elsewhere in this Policy.

    17. NEWLY ACQUIRED LOCATIONS

        a.   We cover physical loss or damage to property of the type insured from a loss of the type insured at any
             location you purchase, lease or rent afterthe inception date of this Policy.
        b.   This PROPERTY DAMAGE COVERAGE AND LIMITATION applies:

             (1) From the date of purchase, lease or rental,

             (2) Until the first of the following occurs:

                 (a) The location is bound by us;

                 (b) Agreement is reached lhat the location will not be insured under this Policy; or

                 (c) Thetime iimit specified in the LIMITS OF LIABILITY Table in the Declarations has been reached.
                     The time limit begins on the date of purchase, lease or rental.

    18. OFF PREMISES INTERRUPTION OF SERVICES - PROPERTY DAMAGE

        a.   We cover physical loss or damage to covered property at a covered location when such physical loss
             or damage results from:

             (1) The interruption of incoming services consisting of electricity, gas, fuel, steam, water, refrigeration,
                 voice, data, video; or

             (2) The interruption of outgoing sewerage service,

             by reason of a loss of the type insured by this Policy at the facilities of the supplier of such service
             located within this Policy's territory, that immediately prevents in whole or in part the delivery of such
             usable service.

        b.   This PROPERTY DAMAGE COVERAGE AND LIMITATION will apply only when the interruption
             exceeds the qualifying period specified in the Qualifying Period Table in the Declarations.

        c.   For purposes of this PROPERTY DAMAGE COVERAGE AND LIMITATION, the period of service
             interruption is the period starting with the time when an interruption of specified services occurs; and
             ending when the service could be wholly restored.

        d.   Additional General Provisions:

             (1) You will immediately notify the suppliers of services of any interruption of any such services.

             (2) We will nol be liable ifthe interruption of such services is caused directly or indirectly by your failure
                 to comply with the terms and conditions of any contracts you have for the supply of such specified
                 services.


        e.   We do not cover loss or damage caused by or resulting from the use of services provided by or through
             a satellite.

        f.   Exclusion C.3.e. does not apply to this PROPERTY DAMAGE COVERAGE AND LIMITATION.



    19. PROFESSIONAL FEES



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       a.   We cover your reasonable costs for your employees or auditors, architects, accountants and
            engineers whom you hire to prepare and verify the details of a claim from a covered loss.

       b.   Professional fees covered under this PROPERTY DAMAGE COVERAGE AND LIMITATION, however,
            do not include:

            (1) Any fees or expenses of attorneys;

            (2) Any fees or expenses of public adjusters, loss appraisers or any of their subsidiaries or associated
                entities;

            (3) Fees based on a contingency; or

            (4) Fees of loss consultants who provide consultation on coverage or negotiate claims.

       c.   This PROPERTY DAMAGE COVERAGE AND UMITATION is subject to the deductible that applies to
            the loss.

   20. PROTECTION AND PRESERVATION OF PROPERTY

       a.   We cover your reasonable and necessary costs to temporarily protect or preserve covered property
            provided such actions are necessary due to actual, or to prevent immediately impending threat of,
            physical loss or damage of the type covered by this Policy to such covered property.

       b.   This PROPERTY DAMAGE COVERAGE AND LIMITATION is subject to the deductible provisions that
            would have applied had the physical loss or damage happened.

   21. RADIOACTIVE CONTAMINATION

       a.   We cover radioactive contamination to property of the type insured by this Policy from a covered
            loss.

            Radioactive contamination is:

            (1) Sudden and accidental radioactive contamination; or

            (2) Resultant radiation damage to covered property,

            provided that such radioactive contamination arises out of radioactive material at a covered location
            and is used as part o f y o u r business activities.

       b.   We do not cover radioactive contamination if:

            (1) The covered location contains:

                (a) A nuclear reactor capable of sustaining nuclear fission in a self-supporting chain reaction; or

                (b) Any new or used nuclear fuel intended for or used in such a nuclear reactor.

            (2) The contamination arises from radioactive material located away from a covered location.

   22. TAX LIABILITY

       We cover your increase in tax liability from a covered loss at a covered location if the tax treatment of:

       a.   The profit portion of a loss payment involving finished stock manufactured by you; and/or

       b.   The profit portion of a TIME ELEMENT loss payment;


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        is greater lhan the tax treatment of profits that would have been incurred had no loss happened.

    23. TEMPORARY REMOVAL OF PROPERTY
        a.   When covered property is removed from a covered location for the purpose of being repaired or
             serviced or in order to avoid threatened physical loss or damage of the type Insured by this Policy, we
             cover such property:

             (1) While at the premises to which such covered property has been moved; and

             {2) For direct physical loss or damage of the type insured by this Policy at the covered location from
                 which such covered property was removed.

        b.   This PROPERTY DAMAGE COVERAGE AND LIMITATION does not apply:

             (1) To covered property removed for normal storage, processing or preparation for sale or delivery;
                 or

             (2) If coverage is provided elsewhere in this Policy or by any other insurance policy.

    24. TRANSIT

        a.   We cover personal property not excluded elsewhere in this Policy while It is In transit within the
             Policy's territory;

             (1) Owned by you.

             (2) Shipped to customers under Free on Board (F.O.B) shipments, Free-Along-Side (F.A.S) shipments
                 and Returned shipments. Your contingent interest is admitted.

             (3) Of others in your actual or constructive custody to the extent of your Interest or legal liability.

             (4) Of others sold by y o u and you agreed prior to the loss to insure the personal property during
                 course of delivery including:

                 (a) When shipped by your contract service provider or by your contract manufacturer to you or to
                     your customer; or

                 (b) When shipped by your customer to you or to your contract service provider or to your contract
                     manufacturer.

        b.   This PROPERTY DAMAGE COVERAGE AND LIMITATION starts from the time the property leaves
             the original point of shipment for transit, and continues while in the due course of transit until delivered,
             subject to the following conditions:


             (1) Coverage on export shipments not insured under ocean cargo policies ends when the property is
                 loaded on board overseas vessels or aircraft. Coverage on Import shipments not insured under
                 ocean cargo policies begins after discharge from overseas vessels or aircraft.

             (2) If this Policy expires during the due course of transit, coverage is extended until the shipment is
                 delivered to its final destination.

       c.    We also cover:

             (1) General average and salvage charges on shipments covered while waterborne; and

             (2) Direct physical loss or damage caused by or resulting from:


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                (a) Unintentional acceptance of fraudulent bills of lading, shipping or messenger receipts.

                (b) Improper parties having gained possession of property through fraud or deceiL

       d.   Additional General Provisions:

            (1) This PROPERTY DAMAGE COVERAGE AND LIMITATION will not inure directly or Indirectly to
                the benefit of any carrier or bailee.

            (2) You have permission, without prejudicing this insurance, to accept:

                (a) Ordinary bills of lading used by carriers;

                (b) Released bills of lading;

                (c) Undervalued bills of lading; and

                (d) Shipping or messenger receipts.

            (3) You may waive subrogation against railroads under side track agreements.

            (4) Except as otherwise stated, you will not enter into any special agreement with carriers releasing
                them from their common law or statutory liability.

       e.   As respects this PROPERTY DAMAGE COVERAGE AND UMITATION:

            (1) The following additional exclusions appiy:

                This Policy excludes:

                (a) Samples in the custody of salespeople or selling agents.

                (b) Property insured under import or export ocean marine insurance.

                (c) Waterborne shipments, unless:

                    (i)   By inland water; or

                    (ii) By roll-on/roll-off ferries; or

                    (iii) By coastal shipments.

                (d) Airborne shipments unless by regulariy scheduled passenger airiines or air freight carriers.


               (e) Property of others, including your legal liability for it, hauled on vehicles owned, leased or
                   operated by you when acting as a common or contract carrier.

                (f) Any transporting vehicle

               (g) Property shipped between continents except by land or air within the Policy territory.

      f.    We will value property covered under this PROPERTY DAMAGE COVERAGE AND LIMITATION as
            follows:




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            (1) Property shipped to or for your account will be valued at actual invoice to you. Included in the
                value are accrued costs and charges legally due. Charges may include your commission as selling
                agent.

            (2) Property sold by you and shipped to or for the purchaser's account will be valued at your selling
                invoice amount. Prepaid or advanced freight costs are included.

            (3) Property not under invoice will be valued:

                 (a) For your property, according to the valuation provisions of this Policy applying at the place
                     from which the property is being transported; or

                 (b) For other property, at the actual cash value at the destination point on the date of loss, less
                     any charges saved which would have become due and payable upon arrival at destination.

    25. VALUABLE PAPERS AND RECORDS

        a. We cover physical loss or damage to your valuable papers and records from a covered loss at a
           covered location. We cover the value blank, plus the cost of copying from backup or from originals of
           a previous generation, and your reasonable and necessary costs to research, replace or restore the
           information lost or damaged thereon, except for electronic data and software. For electronic data
           and software, we cover the value of the blank media, and the cost of reproducing the electronic data
           and software from duplicates or originals of the previous generation of the data.

        b. This coverage does not apply to loss or damage to property that cannot be repaired or restored with
           like kind or quality.




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                                        SECTION III - TIME ELEMENT

TIME ELEMENT loss as provided In the TIME ELEMENT COVERAGES and TIME ELEMENT COVERAGES AND
LIMITATIONS:

A.   Is subject to and part of the applicable LIMIT OF LIABILITY that applies to your direct physical loss or damage
     but in no event for more than any LIMIT OF LIABILITY that is stated as applying to the specific TIME ELEMENT
     COVERAGE and/or TIME ELEMENT COVERAGES AND LIMITATIONS; and

B. Will not increase the POLICY LIMIT OF LIABILITY and is subject to the Policy provisions, including applicable
   exclusions and deductibles,

all as shown in this section and elsewhere in this Policy.

A.   LOSS INSURED

     1.   We cover your actual loss sustained, as provided in the TIME ELEMENT COVERAGES and TIME
          ELEMENT COVERAGES AND LIMITATIONS, directly resulting from a loss of the type insured by this
          Policy:

          a.    To property described elsewhere in this Policy and not othenA/ise excluded by this Policy,

          b.    Used by you, or by others wilh whom you have a contract,

          c.    At a covered location or while in transit as provided by this Policy,

          d.    During the applicable PERIOD OF LIABILITY described in this section.

     2.   We cover TIME ELEMENT loss only to the extent it cannot be reduced through:

          a.    The use of any property or service owned or controlled by you;

          b.    The use of any property or service obtainable from other sources;

          c.    Working extra time or overtime; or

          d.    The use of inventory,

          ail whether at a covered location or at any other location. When measuring the actual loss sustained, the
          combined operating results of all of your associated, affiliated or subsidiary companies will be considered
          In determining the TIME ELEMENT loss.

     3.   We cover your reasonable and necessary expenses to reduce the loss otherwise payable under this
          section of this Policy. The amount of those recoverable expenses will not exceed the amount by which the
          insured loss has been reduced.

     4.   In determining the insured TIME ELEMENT loss, we will consider the experience of the business before
          and after and the probable experience during the PERIOD OF LIABILITY. We will consider any increase or
          decrease in demand for your goods or services during the PERIOD OF LIABILITY, even if such increase
          or decrease is from the same evenl that caused the covered loss.

B. TIME ELEMENT COVERAGES

     1.   GROSS EARNINGS

          a.    GROSS EARNINGS loss is the actual loss sustained by you due to the necessary interruption of
                your business during the PERIOD OF LIABILITY of the following:


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              Gross Earnings less all charges and expenses that do not necessarily continue during the interruption
              of production or suspension of business operations or services, plus all other earnings derived from the
              operation of the business.

              Ordinary payroll, including taxes and charges dependent on the payment of wages, for a period of
              time not to exceed the number of consecutive days as specified in the LIMITS OF LIABILITY in the
              Deciarations table immediately following the interruption of production or suspension of business
              operations or services, and only lo the extent such payroll continues foiiowing the loss and would have
              been earned had no such interruption happened.

              However, if you reduce the daily loss payable under ordinary payroll, either by:

                        (1) providing gainful employment for, or

                        (2) paying less lhan the normal salary rate to,

              all or part of its employees, then the number of consecutive days of ordinary payroll may be extended.
              However, this provision will not increase our total liability beyond the amount we would have been
              liable for ordinary payroll costs without this provision.

              Ordinary payroll does not cover any portion of salaries or wages Included in Gross Earnings.

        b.    GROSS EARNINGS will be calculated as follows:

              (1) For manufacturing operations: the net sales value of production less the cost of all raw stock,
                  materials and supplies used in such production; or

              (2) For mercantile or non-manufacturing operations: the total net sales less the cost of merchandise
                  sold, materials and supplies consumed in the operations or services rendered by you.

              Any amount payable at selling price will be considered to have been sold to your regular customers
              and will be credited against net sales.


        c.   In determining the amount we cover as the actual loss sustained, we will consider the continuation of
             only those charges and expenses that would have been earned had there been no interruplion of
             production or suspension of business operations or services.

        d.   If you would have operated at a deficit had no interruplion of production or suspension of business
             operations or services occurred, the following applies:

             (1) For Gross Earnings, the extent to which charges and expenses would have been earned will be
                 determined by subtracting the operating deficits from the charges and expenses that necessarily
                 continue.

             (2) For ordinary payroll, the extent payroll would have been earned will be determined by
                 subtracting the excess, if any, of the operating deficit over the fixed charges that need to continue
                 from such payroll.

        e.   We cover TIME ELEMENT loss only to the extent that you are:

             (1) Wholly or partially prevented from producing goods or continuing business operations or services;

             (2) Unable to make up lost production within a reasonable period of time, not limited to the period
                 during which production is interrupted;

             (3) Unable to continue your operations or services during the PERIOD OF LIABILITY; and


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               (4) Able to demonstrate a loss of sales for the operations, services or production prevented.

    2.   EXTRA EXPENSE

         a.   We cover your reasonable and necessary extra costs of the following incurred during the PERIOD
              OF LIABILITY applicable:

               (1) To temporarily continue as neariy normal as practicable the conduct of your business; and

               (2) The temporary use of property or facilities of yours or others.

         b.    We will reduce any recoverable loss under this coverage for any value remaining of any property
               used to temporarily continue your business.

         c.    EXTRA EXPENSE does not Include:

               (1) Any loss of Income.

               (2) Costs that would have been incurred in conducting the business during the same period had no
                   physical ioss or damage happened.

               (3) Costs of permanent repair or replacement of property that has been damaged or destroyed.

               (4) Any expense recoverable elsewhere in this Policy.

    3.   LEASEHOLD INTEREST

         a.   We cover the following:

               (1) If the lease agreement requires continuation of rent as a result of a covered loss, and if the
                   covered property is wholly or partially untenantable or unusable, the aclual rent payable while the
                   covered property is untenantable or until the lease Is terminated, but not exceeding the unexpired
                   term ofthe lease.

              (2) If the covered property is partially untenantable, we cover the proportion of the lease payment for
                  that portion ofthe untenantable covered property.

         b.   If the lease is cancelled by the lessor pursuant to the lease agreement or by the operation of law, we
              cover the additional cost to rent similar space for the unexpired term of the lease for the damaged
              property. That loss will be computed al present value, compounded annually at the prime rate plus 2%,
              as published in the Wall Street Journal on the date the lease terminated. The additional cost will
              consider the excess rent paid for the same or similar replacement property over actual rent of the
              original lease, plus cash bonuses or advance rent paid (including maintenance or operating charges)
              for each month during the unexpired term of the lease.

         c.   As respects LEASEHOLD INTEREST, the following applies:

              (1) We do not cover loss directly resulting from physical loss or damage to personal property.

              (2) TIME ELEMENT EXCLUSIONS D.I., D.2. and D.3. do not apply and the following applies
                  instead:

                  We do not cover any Increase in loss resulting from the suspension, lapse or cancellation of any
                  license, or from you exercising an option to cancel the lease; or from any act or omission by you
                  that constitutes a default under the lease.

   4.    RENTAL INSURANCE


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         a.    We cover your actual loss sustained of rental income during the PERIOD OF LIABILITY for:

               (1) The fair rental value of any portion of rental property occupied by you;

               (2) The income reasonably expected from rentals of unoccupied or unrented portions of such
                   property; and

               (3) The rental income from the rented portions of such property according to written leases, contracts
                   or agreements in force at the time of loss,

               all not to include non-continuing charges and expenses.

         b.    RENTAL INSURANCE Exclusions: As respects RENTAL INSURANCE, TIME ELEMENT
               EXCLUSIONS D.I. does not apply and the following applies Instead:

               We do not cover any loss of rental income during any period in which the covered location would not
               have been tenantable for any reason other than a covered loss.

C. PERIOD OF UABILITY

    1.   The PERIOD OF LIABILITY applying to CONTINGENT TIME ELEMENT, GROSS EARNINGS, EXTRA
         EXPENSE and RENTAL INSURANCE is as follows:

         a.    For building and equipment, the period:

               (1) Starting from the time of physical loss or damage of the type insured; and

               (2) Ending when with due diligence and dispatch the building and equipment could be:

                   (a) Repaired or replaced; and

                   (b) Made ready for operations,

                   under the same or equivalent physical and operating conditions that existed prior to the damage.

               (3) Not to be limiled by the expiration of this Policy.

         b.    For building(s) and equipment covered under COURSE OF CONSTRUCTION:

               (1) The equivalent of the above period of time will be applied to the level of business that would have
                   been reasonably achieved after construction and startup would have been completed had no
                   physical damage happened; and

               (2) Due consideration will be given to the actual experience of the business after completion of the
                   construction and startup.

    2.   The PERIOD OF LIABILITY for GROSS EARNINGS and EXTRA EXPENSE also includes the following:

         a.    For stock-in-process and mercantile stock, including finished goods not manufactured by you, the time
               required with the exercise of due diligence and dispatch:

               (1) To restore stock in process to the same state of manufacture In which it stood at the inception of
                   the interruption of production or suspension of business operations or services; and

              (2) To replace physically damaged mercantile stock.

         b.    For raw materials and supplies, the period of time:


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               (1) Of actual interruption of production or suspension of operations or services resulting from the
                   inability to get suitable raw materials and supplies to replace similar ones damaged; but

               (2) Limited to that period for which the damaged raw materials and supplies would have supplied
                   operating needs.

         c.    Impounded Water:

               (1) Used for any manufacturing purpose, including as a raw material or for power;

               (2) Stored behind dams or in reservoirs; and

               (3) On any covered location,

               that is released as the result of physical damage of the type insured to such dam, reservoir or
               connected equipment, our liability for the actual Interruption of production or suspension of operations
               or services due to inadequate water supply will not extend beyond the number of consecutive days,
               not to exceed the LIMIT OF LIABILITY specified in the Declarations after the damaged dam, reservoir
               or connected equipment has been repaired or replaced.

         d.    For physically damaged exposed films, records, manuscripts and drawings, the time required to copy
               from backups or from originals of a previous generation. This time does not include research,
               engineering or any other time necessary to restore or recreate lost information.

         e.    For physically damaged or destroyed property covered under DATA, PROGRAMS OR SOFTWARE,
               the time to recreate or restore including the time for researching or engineering lost information.

    3.   The PERIOD OF LIABILITY applying to GROSS PROFIT \s as follows:

         a.    The period starting from the time of physical loss or damage of the type insured and ending not later
               than the period of time specified in the LIMITS OF LIABILITY Table in the Declarations during which
               period the results of the business shall be directly affected by such damage, not to be limited by the
               expiration of this Policy.

         b.    For property under construction, the period starting on the date that production, business operation or
               service would have commenced if physical damage of the type insured had not happened and ending
               not later than the period of time specified in the LIMITS OF LIABILITY Table in the Declarations, during
               which period the results of the business shall be directly affected by such damage, not to be limited by
               the expiration of this Policy.

         The Rate of Gross Profit and Standard Sales will be based on the experience of the business after
         construction is completed and the probable experience during the PERIOD OF LIABILITY.


    4.   The PERIOD OF LIABILITY does not include any additional time due to your inability to resume
         operations for any reason, including:

         a.    Making changes to equipment;

         b.    Making changes to the buildings or structures except as provided in the DEMOLITION AND
               INCREASED COST OF CONSTRUCTION clause in the PROPERTY DAMAGE section; and

         c.    Re-staffing or retraining employees.

         If two or more PERIODS OF LIABILITY apply, such periods will not be cumulative.

D. TIME ELEMENT EXCLUSIONS


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     In addition to the exclusions elsewhere in this Policy, the following exclusions apply to TIME ELEMENT loss:

    1.   Any loss during any idle period, including but not limited to when production, operation, service or delivery
         or receipt of goods would cease, or would not have taken place or would have been prevented due to:

         a.    Physical loss or damage not insured by this Policy on or off of the covered location.

         b.    Planned or rescheduled shutdown.

         c.    Strikes or other work stoppage.

         d.    Any reason other than physical loss or damage insured under this Policy.

    2.   Any increase In loss due to:

         a.    Suspension, cancellation or lapse of any lease, contract, license or orders.

         b.    Damages for breach of contract or for late or noncompletion of orders.

         c.    Fines or penalties.

         d.    Any other consequential or remote loss.

    3.   Any loss resulting from physical loss or damage to finished goods manufactured by you, or the time
         required for their reproduction.

E. TIME ELEMENT COVERAGES AND LIMITATIONS

    TIME ELEMENT COVERAGES are extended to include the following, subject to all Policy terms, conditions
    and exclusions, and the time, distance and/or dollar amounts specified in the LIMITS OF LIABILITY Table in
    the Declarations:

    1. ATTRACTION          PROPERTY

         a.    We cover your actual loss sustained and EXTRA EXPENSE resulting from loss or damage of the type
               insured by this Policy lo property of the type insured at an attraction property within the number of
               statute miles specified in the LIMITS OF LIABILITY Table in the Declarations and during the period of
               time that:

               (1) Starts at the time such physical loss or damage happens;

               (2) Ends when the attraction property is:

                   (a) Repaired or replaced; and

                   (b) Made ready for operations.

         b.    As used in this TIME ELEMENT COVERAGE AND LIMITATION, the term attraction property is a
               property that:

               (1) Is operated by others; and

               (2) You depend on to attract customers to your covered location.

    2.   CIVIL OR MILITARY AUTHORITY

         a.    We cover your actual loss sustained and EXTRA EXPENSE during the period of interruption if an order
               of civil or military authority prohibits access to a covered location provided such order Is caused by



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               physical loss or damage of the type insured by this Policy at a covered location or within the number
               of statute miles specified in the LIMITS OF LIABILITY Table in the Declarations.

         b.    This TIME ELEMENT COVERAGE AND LIMITATION does not apply to LEASEHOLD INTEREST.

         c.    The period of interruption for this TIME ELEMENT COVERAGE AND LIMITATION will be the period of
               time:

               (1) Starting at the time of such direct physical loss or damage; and

               (2) Continuing until the order is lifted, or the time limit specified in the LIMITS OF LIABILITY Table in
                   the Declarations expires, whichever happens first.

               This period of time is part of and not in addition to any PERIOD OF LIABILITY applying to any coverage
               provided in the TIME ELEMENT section.

    3.   COMPUTER SYSTEMS NON PHYSICAL DAMAGE

         a.    We cover your actual loss sustained and EXTRA E X P E N S E during the PERIOD OF LIABILITY directly
               resulting from the failure of your electronic data processing equipment or media to operate, provided
               that such failure is the direct result of a malicious act directed at you.

         b.    This TIME ELEMENT COVERAGE AND LIMITATION will apply only when the period of interruption is
               in excess ofthe qualifying period specified in the Qualifying Period Table in the Declarations.

         c.    As used above, the period of interruption:

               (1) Is the period starting when your electronic data processing equipment or media falls to operate
                   and ending when with due diligence and dispatch, your electronic data processing equipment
                   or media could be restored to the same or equivalent operating condition that existed prior to the
                   failure.

               (2) Does not include the additional time to make changes to your electronic data processing
                   equipment or media.

    4.   CONTINGENT TIME ELEMENT

         a.    We cover your actual loss sustained and EXTRA EXPENSE during the PERIOD OF LIABILITY directly
               resulting from physical loss or damage of the type insured by this Policy at Direct Dependent Time Element
               Location(s) and Indirect Dependent Time Element Location(s) located within the territory of this Policy.

         b.    You agree to take every reasonable and necessary action to mitigate the loss payable hereunder.




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         c.    As used in this Policy, Direct Dependent Time Element Location(s) are:

               (1) Any location(s) of a direct: customer, supplier, contract manufacturer or contract service provider to
                   you; or

               (2) Any location(s) of any company under a royalty, licensing fee or commission agreement with you.

               Direct Dependent Time Element Location(s) does not include location(s) that are covered location(s)
               under this Policy or the location(s) of any company directly or indirectly supplying to, or receiving from
               you, electricity, fuel, gas, water, steam, refrigeration, sewage, voice, data or video.

         d.    As used in this Policy, Indirect Dependent Time Element Location(s) are:

               (1) Any location(s) of any company that is a direct: customer, supplier, contract manufacturer or contract
                   service provider to your Direct Dependent Time Element Location(s).

               Indirect Dependent Time Element Location(s) does not include location(s) that are covered location(s)
               under this Policy or the location(s) of any company directly or indirectly supplying to, or receiving from,
               the Direct Dependent Time Element Location(s) or the Indirect Dependent Time Element
               Location(s), electricity, fuel, gas, water, steam, refrigeration, sewage, voice, data or video.

         e.    As respects CONTINGENT TIME ELEMENT:

               (1) Exclusion D.3 In the TIME ELEMENT EXCLUSIONS does not apply.

    5.   CRISIS MANAGEMENT

         a.    We cover your actual loss sustained and EXTRA EXPENSE during the PERIOD OF LIABILITY if an
               order of civil or military authority prohibits access to a covered location, but only if such order is a direct
               result of a violent crime, suicide, attempted suicide or armed robbery at such covered location.

         b.    As respects this TIME ELEMENT COVERAGE AND LIMITATION, coverage applies:

               (1) Only when the PERIOD OF LIABILITY is in excess of the qualifying period specified in the
                   Qualifying Period Table in the Declarations; and

               (2) For up to the number of consecutive days specified in the LIMITS OF LIABILITY Table in the
                   Declarations, not lo exceed the specified LIMIT OF LIABILITY.

               The PERIOD OF LIABILITY is the period of time when the time the civil or military authority prohibits
               access and continuing until the order is lifted, or the time limit specified in the LIMITS OF LIABILITY
               Table in the Declarations expires, whichever happens first.

    6.   DELAY IN STARTUP

         We cover your actual loss sustained and EXTRA EXPENSE during the PERIOD OF LIABILITY due to the
         reasonable and necessary delay in startup of business operations resulting directly from physical loss or
         damage to covered property as provided under COURSE OF CONSTRUCTION.

    7.   EXTENDED PERIOD OF LIABILITY

         a.    We coverthe GROSS EARNINGS loss sustained due to the reduction in sales resulting from:

               (1) The interruption of business;

               (2) Commencing with the date on which our liability for loss resulting from interruption of business
                   would terminate if this TIME ELEMENT COVERAGE AND LIMITATION had not been included in
                   this Policy; and


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               (3) Continuing for such additional length of time as would be required with the exercise of due diligence
                   and dispatch to restore your business to the condition that would have existed had no loss
                   occurred, but no longer than the number of consecutive days specified in the LIMITS OF LIABILITY
                   Table in the Declarations.

         b.    Coverage under this TIME ELEMENT COVERAGE AND LIMITATION for the reduction in sales due to
               contract cancellation will include only those sales that would have been earned under the contract
               during the EXTENDED PERIOD OF LIABILITY described in Item 7.a. above.

         c.    As respects this TIME ELEMENT COVERAGE AND UMITATION, Item D.2. in the TIME ELEMENT
               EXCLUSIONS in this section does not apply and the following applies instead:

                   This Policy does not insure against any increase in ioss due to damages for breach of contract or
                   for late or non-completion of orders, or fines or penalties.

    8.   INGRESS/EGRESS

         a.    We cover your actual loss sustained and EXTRA EXPENSE due to the necessary interruption of your
               business if ingress to or egress from a covered location Is prevented, whether or not your premises
               or property is damaged, provided that such prevention is a direct result of physical loss or damage of
               the type insured to property of the lype insured.

         b.    The period of interruption for this TIME ELEMENT COVERAGE AND LIMITATION will be the period of
               time starting at the time of such direct physical loss or damage, and continuing until ingress or egress
               is no longer prevented, or for the time limit specified in the LIMITS OF LIABILITY Table in the
               Declarations, whichever is less.

    9.   OFF PREMISES INTERRUPTION OF SERVICES - TIME ELEMENT

         a.    We cover your actual loss sustained and EXTRA EXPENSE during the period of service interruption
               at a covered location when the loss is caused by:

               (1) The interruption of Incoming services consisting of electricity, gas, fuel, steam, water, refrigeration,
                   voice, data, video; or

               (2) The internjption of outgoing sewerage service,

               from physical loss or damage of the type Insured, at the facilities of the supplier of such service located
               within this Policy's territory that immediately prevents in whole or in part the delivery of such usable
               services.

         b.    This TIME ELEMENT COVERAGE AND UMITATION will apply only when the period of service
               interruption as described below is in excess of the qualifying period specified in the Qualifying Period
               Table in the Declarations.

         c.    The period of service interruption is:

               (1) The period starting with the time when an interruption of specified services occurs; and ending
                   when with due diligence and dispatch the service could be wholly restored and the location
                   receiving the service could have resumed normal operations following the restoration of service
                   under the same or equivalent physical and operating conditions that existed prior to the interruption
                   of such services;

               (2) Is limited to only those hours during which you could have used service(s) if it had been available;

               (3) Does not extend to include the interruption of operations caused by any reason other than
                   interruption of the specified service(s).
         d.    Additional General Provisions:


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              (1) You will immediately notify the suppliers of services of any interruption of any such services.

              (2) We will not be liable if the interruption of such services is caused directly or indirectly by your failure
                  to comply with the terms and conditions of any contracts you have for the supply of such specified
                  services.

        e.    We do not cover loss or damage caused by or resulting from the use of services provided by or through
              a satellite.

    10. ON PREMISES INTERRUPTION OF SERVICES - TIME ELEMENT

        a.    We cover your actual loss sustained and EXTRA EXPENSE during the PERIOD OF LIABILITY directly
              resulting from direct physical loss or damage of the type insured to the following property located at or
              within one-thousand (1,000) feet of a covered location:

              (1) Electrical equipment and equipment used for the transmission of voice, data or video.

              (2) Electrical, fuel, gas, water, steam, refrigeration, sewerage, voice, data or video transmission
                  systems.

    11. PROTECTION AND PRESERVATION OF PROPERTY TIME ELEMENT

        a.    We cover your actual loss sustained for a period of time not to exceed forty eight (48) hours prior to
              and forty eight (48) hours after you first took reasonable action for the temporary protection and
              preservation of property insured by this Policy provided such action Is necessary to prevent immediately
              impending physical loss or damage of the type insured to such covered property.

        b.    This TIME ELEMENT COVERAGE AND LIMITATION is subject to the deductible provisions that would
              have applied had the direct physical loss or damage occurred.

    12. RELATED LOCATIONS

        If you report values at related locations used by you (e.g. branch stores, retail outlets and other facilities),
        but such related locations are not listed on the latest Schedule of Covered Locations submitted to,
        accepted by and on file wilh us, and if a TIME ELEMENT loss results at such related locations due to
        covered loss, we cover such resulting TIME ELEMENT loss in accordance with the terms and conditions
        of this Policy.

    13. RESEARCH AND DEVELOPMENT

        a.    We cover your actual loss sustained of fixed charges and ordinary payroll directly attributable to the
              interruption of research and development project(s) that would not have produced income during the
              PERIOD OF LIABILITY resulting from a covered loss.

        b.    We cover these fixed charges only to the extent they continue afler the covered loss and only during
              the PERIOD OF UABILITY.

        c.    To the extent you are able to resume operations, we cover only that portion of the fixed charges related
              to that part of the research and development operation that has not yet been restored.

    14. SOFT COSTS

        a.    We cover your actual loss sustained of Soft Costs during the period of delay directly resulting from a
              delay of completion of covered property under construction as provided under COURSE OF
              CONSTRUCTION as provided in the PROPERTY DAMAGE COVERAGES AND LIMITATIONS.




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            Soft Costs are costs over and above those that are normal at a covered location undergoing renovation
            or in the course of construction, limited to the following:

            (1) Construction loan fees - your additional cost to rearrange loans necessary for the completion of
                construction, repairs or reconstruction including: the cost to arrange refinancing, accounting work
                necessary to restructure financing, legal work necessary to prepare new documents, charges by
                the lenders forthe extension or renewal of loans necessary.

            (2) Commitment fees, leasing and marketing expenses - the cost of returning any commitment fees
                received from prospective tenant(s) or purchaser(s), the cost of re-leasing and marketing due to
                loss of tenant(s) or purchaser(s).

            (3) Additional fees for architects, engineers, consultants, attorneys and accountants needed for the
                completion of construction repairs or reconstruction.

            (4) Property taxes, building permits, additional interest on loans, realty taxes and insurance premiums.

            Period of delay Is the period of time between:

            (1) The date on which the construction, alteration, extension or renovation would have been complete
                in the absence of a covered loss to property under construction as provided under COURSE OF
                CONSTRUCTION as provided in the PROPERTY DAMAGE COVERAGES AND LIMITATIONS;
                and

            (2) The dale on which construction, alteration, extension or renovation is actually complete.




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                                 SECTION IV - DESCRIBED LOSSES

We only cover the following DESCRIBED LOSSES as specified in the LIMITS OF LIABILITY Table in the
Declarations, subject to the terms, conditions and exclusions of this Policy.

A. EARTH MOVEMENT

    1. We cover physical loss or damage to covered property, including TIME ELEMENT COVERAGES, TIME
       ELEMENT COVERAGES AND LIMITATIONS and PROPERTY DAMAGE COVERAGES                            AND
       LIMITATIONS as provided by this Policy, from a covered loss resulting from EARTH MOVEMENT.

    2 . Y o u may elect when the time specified in the OCCURRENCE TIME SPECIFICATIONS begins.

    3.   EARTH MOVEMENT is:

         Earthquake, landslide, subsidence or sinking, rising or shifting ofthe earth, avalanche, whether natural or
         man-made, or volcanic eruption; regardless of any other cause or event contributing concurrently or in any
         other sequence of loss.

         However, physical loss or damage from fire, explosion, sprinkler leakage or FLOOD caused by EARTH
         MOVEMENT WW  i not be considered to be loss by EARTH MOVEMENT wWhm the terms and conditions of
         this Policy.

B. EARTH MOVEMENT SPRINKLER LEAKAGE

    1. We cover physical loss or damage to covered property, including TIME ELEMENT COVERAGES,                TIME
       ELEMENT COVERAGES AND LIMITATIONS and PROPERTY DAMAGE COVERAGES AND
       LIMITATIONS as provided by this Policy, resulting from sprinkler leakage caused by EARTH
       MOVEMENT

C. EQUIPMENT       BREAKDOWN

    1.   We cover physical loss or damage to covered property, including TIME ELEMENT COVERAGES, TIME
         ELEMENT COVERAGES AND LIMITATIONS and PROPERTY DAMAGE COVERAGES                               AND
         LIMITATIONS, as provided by this Policy if such loss or damage Is caused by an accident to covered
         equipment.

         The coverage provided in this DESCRIBED LOSS is limited to loss or damage caused by an accident to
         covered equipment. We will not pay for physical loss or damage from any other cause under this
         DESCRIBED LOSS.

         The foiiowing coverages apply solely to Equipment Breakdown:

         a.    Spoilage Damage

              We cover physical loss or damage caused by change in temperature or humidity or by the interruption
              of power, heat, air-conditioning, or refrigeration as the result of an accident to covered equipment.

         b.   Ammonia Contamination

              We cover physical ioss or damage to covered property contaminated by ammonia, including any
              salvage expense as a direct result of an accident to covered equipment. No coverage for Ammonia
              Contamination   is available under DECONTAMINATION COSTS with respects to an accident to
              cov'ered equipment.




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    2.   Conditions

         a.    Suspension

               If coverage for Equipment Breakdown is provided by this Policy, and we discover a dangerous condition
               relating to an object, we may immediately suspend the insurance provided by this coverage for that
               covered equipment by m\\\en notice mailed or delivered to you either at your address or atthe location
               of any object. Suspended insurance may be reinstated by us, but only by an endorsement issued as
               part of this Policy. You will be credited forthe unearned portion ofthe premium paid forthe suspended
               insurance, pro rata, for the period of suspension.

    3.   Valuation

         If covered equipment requires replacement due to an accident, we cover your additional cost to replace
         with equipment that is better for the environment, safer or more efficient than the equipment being replaced.

         a.    However, we do not cover more than 150% of what the cost would have been to repair or replace
               covered equipment W\Vr\ like kind and quality.

         b.    This does not apply to any property subject to valuation based on actual cash value, nor does this
               provision increase any other applicable LIMIT OF LIABILITY.

         c.    The PERIOD OF LIABILITY will not be increased by any of the above.

    4.   Definitions

         a. Accident Physical loss or damage to covered equipment that necessitates its repair or replacement
            due to:

               (1) Failureof pressure or vacuum equipment;

               (2) Mechanical breakdown including rupture or bursting caused by centrifugal force;

               (3) Artificially generated electrical current, including electrical arcing that damages electrical devices,
                   appliances or wires; or

               (4) Explosion of:

                   (a) Steam boiler

                   (b) Electric steam generator

                   (c) Steam piping

                   (d) Steam turbine

                   (e) Moving or rotating machinery when such explosion is caused by centrifugal force,

               unless such loss or damage is otherwise excluded within this Policy.

               Accident 6oes not include:

               (5) Fire, including water or other means used to extinguish the fire;

               (6) Malfunction, misalignment, miscalibration, tripping off line, or any condition which can be
                   corrected by resetting, tightening, adjusting or cleaning or by the performance of maintenance;




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               (7) Combustion explosion;

               (8) Discharge of molten material from equipment including the heat from such discharged materials;

               (9) Lightning;

             (10)   Depletion, deterioration, rust, corrosion, erosion, settling, or wear or tear or any other gradually
                    developing condition;

             (11)   Defects, erasures, error limitations or viruses in computer equipment and programs including the
                    Inability to recognize and process any date or time or provide instructions to covered equipment;

             (12)   Leakage at any valve, fitting, shaft seal, gland packing, joint or connection;

             (13)   Damage to any structure or foundation supporting the covered equipment or any of its parts;

             (14)   Any loss or damage caused by or resulting from any type of electrical insulation breakdown test;

             (15)   Any loss or damage caused by or resulting from any type of hydrostatic, pneumatic or gas
                    pressure test;

             (16)   The functioning of any safety or protective device; or

             (17)   The cracking of any part on an internal combustion turbine exposed to the products of
                    combustion.

        b.     Covered equipment:

               (1) Equipment that generates, transmits, controls or utilizes energy; including electronic
                   communications and data processing equipment; and

               (2) Equipment which, during normal usage, operates under vacuum or pressure, other than weight of
                   contents.

               Covered equipment does not mean or include:

               (3) Electronic data;

               (4) Part of pressure or vacuum equipment that is not under internal pressure of its contents or internal
                   vacuum;

               (5) Insulating or refractory material;

               (6) Nonmetallic pressure or vacuum equipment, unless it is constructed and used in accordance with
                   the American Society of Mechanical Engineers (A.S.M.E.) code or other appropriate and approved
                   code;

               (7) Catalyst;

               (8) Buried vessels or piping; waste, drainage or sewer piping; piping, valves or fittings forming part of
                   a sprinkler or fire suppression system; water piping that is not part of a closed loop used to conduct
                   heat or cooling from a boiler or a refrigeration or air conditioning system;

               (9) Structure, foundation, cabinet or compartment supporting or containing the covered equipment or
                   part of the covered equipment including penstock, draft tube or weli casing;

             (10)   Vehicle or any covered equipment ihai is mounted on or used solely with a vehicle;



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             (11)   Dragline, excavation or construction equipment including any covered equipment that is mounted
                    on or used solely with any one or more dragllne(s), excavation or construction equipment;

             (12)   Fell, wire, screen, die, extrusion plate, swing hammer, grinding disc, cutting blade, nonelectrical
                    cable, chain, belt, rope, clutch plate, brake pad, nonmetal part or tool subject to periodic
                    replacement;

             (13)   Cyclotron used for other than medical purposes, satellite or spacecraft Including any covered
                    equipment mounted on or used solely with any satellite or spacecraft;

             (14)   Equipment manufactured by you for sale.

        c.     Production machinery is any machine or apparatus lhat processes, forms, cuts, shapes, grinds, or
               conveys raw materials, materials in process or finished products Including any covered equipment that
               is mounted on or used solely with any one or more production machines or apparatus.

D. FLOOD

   1.   We cover physical loss or damage to covered property, including TIME ELEMENT COVERAGES, TIME
        ELEMENT COVERAGES AND LIMITATIONS and PROPERTY DAMAGE COVERAGES AND
        LIMITATIONS as provided by this Policy, from a covered loss resulting from FLOOD.

   2.   FLOOD is:

        a.    Surface waters; rising waters; storm surge, wave wash; waves; tsunami; tide or tidal water; the release
              of water, the rising, overflowing or breaking of boundaries of natural or man-made bodies of water; or
              the spray therefrom; all whether driven by wind or not;

        b.     Sewer back-up resulting from any of the foregoing; or

        c.     Mudslide or mudflow caused by or resulting from surface water, runoff or accumulation of water on or
               under the ground;

             regardless of any other cause or event, whether natural or man-made, contributing concurrently or in
             any other sequence of loss.

        Covered loss from FLOOD associated with a storm or weather disturbance whether or not identified by
        name by any meteorological authority is considered to be FLOOD within the terms of this Policy. However,
        physical loss or damage from fire, explosion or sprinkler leakage caused by FLOOD will not be considered
        to be loss by FLOOD within the terms and conditions of this Policy.

E. NAMED STORM

   1.   We cover physical loss or damage to covered property. Including TIME ELEMENT COVERAGES, TIME
        ELEMENT COVERAGES AND LIMITATIONS and PROPERTY DAMAGE COVERAGES AND
        LIMITATIONS as provided by this Policy, from a covered loss resulting from a NAMED STORM. However,
        physical loss or damage caused by fire, explosion, sprinkler leakage or FLOOD will not be considered loss
        by NAMED STOR/W within the terms and conditions of this Policy.

   2 . Y o u may elect when the time specified in the OCCURRENCE TIME SPECIFICATIONS begins.

   NAMED STORM is any storm or weather disturbance that is named by the U. S. National Oceanic and
   Atmospheric Administration (NOAA) or the U. S. National Weather Service or the National Hurricane Center or
   any authorized meteorological authority in the country where the storm or weather disturbance happened.




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                          SECTION V - GENEFIAL POLICY CONDITIONS

A. ASSIGNMENT

    Your assignment of this Policy will not be valid except with our written consent.

B. CANCELLATION

    1.   You may cancel this Policy by mailing or delivering to us advance written notice of cancellation.

    2.   We may cancel this Policy by mailing or delivering to you written notice of cancellation at least:

         a.    ten (10) days before the effeclive date of cancellation if we cancel for nonpayment of premium; or

         b.    thirty (30) days or the number of days specified in the CANCELLATION TIME SPECIFICATIONS,
               whichever is greater, before the effective date of cancellation if we cancel for any other reason.

    3.   We will mail or deliver our written notice of cancellation to your last mailing address known to us.

    4.   Our written notice of cancellation will state the effective date of cancellation and the Policy period will end
         on that date.

    5.   If this Policy is cancelled, we will send you any premium refund due. If we cancel, the refund will be pro
         rata. If you cancel, the refund may be less than pro rata. The cancellation will be effective even if we have
         not made or offered a refund.

    6.   If notice is mailed, proof of mailing will be sufficient proof of notice.

C. CONCEALMENT, MISREPRESENTATION OR FRAUD

    This entire Policy is void, if with the actual intent to deceive

    1.   You;

    2.   Your representatives; or

    3.   Any insured;

    commit fraud or conceal or misrepresent a fact or circumstance concerning:

         a.    This Policy;

         b.    The covered property;

         c.    Your interest in the covered property; or

         d.    A claim under this Policy.




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D. CONFORMITY TO STATUTES

   Any provisions required by law to be included in policies issued by us shail be deemed to have been included
   in this Policy.

   Ifthe provisions of this Policy conflict with the laws of any jurisdictions in which this Policy applies, and if certain
   provisions are required by law to be stated in this Policy, this Policy shall be read so as to eliminate such conflict
   or deemed to include such provisions for covered locations within such jurisdictions.

E. INSPECTION

   1.   During the period of this Policy, we will be permitted, but not obligated, to inspect the covered property.
        Our right to inspect, the performance of or failure to inspect, and any report arising out of an inspection will
        not constitute an undertaking or imply that the property is safe, healthful, or in compliance with laws,
        regulations, codes or standards.

   2.   This condition does not apply to any inspections, surveys, reports or recommendations we may make
        relative to certification, under state or municipal statutes, ordinances or regulations, of boilers, pressure
        vessels or elevators.

        We will have no liability to you or others because of any inspection or failure to inspect, or on account of
        anyone's use or reliance upon any report or other information generated during the course of, or as a result
        of any inspection.

F. LENDERS LOSS PAYEE AND MORTGAGEE INTERESTS AND OBLIGATIONS

   1.   When specified in the Policy or in Certificates of Insurance on file with us, we cover loss to specified
        property insured under this Policy to each specified Lender Loss Payee (hereinafter referred to as Lender)
        as its interest may appear, and to each specified Mortgagee as its interest may appear.

   2.   The Interest of the Lender or Mortgagee (as the case may be) in property insured under this Policy will not
        be invalidated by:

        a.    Any act or neglect ofthe debtor, mortgagor, or owner (as the case may be) ofthe property.

        b.    Foreclosure, notice of sale, or similar proceedings with respect to the property, but only to the extent of
              a deficiency as provided by state law.

        c.    Change in the title or ownership of the property.

        d.    Change to a more hazardous occupancy.

        The Lender or Mortgagee will notify us of any known change in ownership, occupancy, or hazard and,
        within ten (10) days of our written request, may pay the increased premium associated with such known
        change. If the Lender or Mortgagee fails to pay the increased premium, all coverage under this Policy will
        cease.

   3.   If this Policy is cancelled at your request or by the request of your agent, the coverage for the interest of
        the Lender or Mortgagee will terminate ten (10) days after we send to the Lender or Mortgagee written
        notice of cancellation, unless:

        a.    Sooner terminated by authorization, consent, approval, acceptance, or ratification of your action by the
              Lender or Mortgagee, or its agent.

        b.    This Policy is replaced by you, with a Policy providing coverage for the interest of the Lender or
              Mortgagee, in which event coverage under this Policy with respect to such interest will terminate as of
              the effective date of the replacement Policy, notwithstanding any olher provision of this Policy.



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    4.   We may cancel this Policy and/or the interest of the Lender or Mortgagee under this Policy, by giving the
         Lender or Mortgagee wrilten notice thirty (30) days or the number of days specified in the CANCELLATION
         TIME SPECIFICATIONS, whichever is greater, prior to the effective dale of cancellation. If cancellation is
         for any reason other than non-payment. If the debtor, mortgagor, or owner has failed to pay any premium
         due under this Policy, we may cancel this Policy for such non-payment, but will give the Lender or
         Mortgagee written notice ten (10) days prior to the effective date of canceilation. ifthe Lender or Mortgagee
         falls to pay the premium due by the specified cancellation date, all coverage under this Policy will cease.

    5.   If we pay the Lender or Mortgagee for any loss, and deny payment to the debtor, mortgagor or owner, we
         will, to the extent of the payment made to the Lender or Mortgagee be subrogated to the rights of the Lender
         or Mortgagee under all securities held as collateral to the debt or mortgage. No subrogation will impair the
         right of the Lender or Mortgagee to sue or recover the full amount of its claim. At our option, we may pay
         to the Lender or Mortgagee the whole principal due on the debt or mortgage plus any accrued interest. In
         this event, all rights and securities will be assigned and transferred from the Lender or Mortgagee to us,
         and the remaining debt or mortgage will be paid to us.

    6.   If you fail lo render proof of loss, the Lender or Mortgagee, upon notice of your failure to do so, will render
         proof of loss within sixty (60) days of notice and will be subject to the provisions of this Policy relating to
         APPRAISAL, COMPANY OPTION, and SUIT AGAINST THE COMPANY.

    7.   In the event of a claim, upon request by us, the Lender or Mortgagee will cooperate in any claim
         investigation.

    8.   In no event will the amount payable to a Lender or Mortgagee exceed the amount which would othenwise
         have been payable to you.

G. UBERALIZATION

    If during the period that insurance is in force under this Policy, any filed rules or regulations affecting the same
    are revised by statute in any State or jurisdiction within the United Slates of America so as to broaden the
    insurance without additional premium charge, such exiended or broadened insurance will inure to your benefit
    within such jurisdiction, effective the date of the change specified in such statute.

H. NO REDUCTION BY LOSS

    Except for those coverages written with an annual aggregate LIMIT OF LIABILITY, we cover a covered loss
    without reducing any other applicable LIMIT OF LIABILITY. The reinstatement of any exhausted annual
    aggregate is not permitted unless authorized by us in writing.

I. NONRENEWAL

    1.   If we decide not to renew this Policy, we will mai! or deliver a written notice of nonrenewal to you at least
         sixty (60) days before the expiration date of this Policy. Notice will be sent to your last mailing address
         known to us. We will state the reason for nonrenewal.

    2.   Proof of mailing will be sufficient evidence of notice.

J . OTHER INSURANCE

    1.   We will not be liable if, at the time of loss or damage, there is any other insurance that would apply in the
         absence of this Policy; except that this Policy will apply only as excess or DIFFERENCE IN CONDITIONS
         /DIFFERENCE IN LIMITS and in no event as contributing insurance, and then only after all other insurance
         has been exhausted, notwithstanding paragraph 5. below.

    2.   We wiil not be liable if, at the time of loss or damage, there is any insurance with the National Flood
         Insurance Program (NFIP), except that this Policy shall apply only as excess and in no event as contributing
         insurance, and then only after all NFIP insurance has been exhausted.



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    3. We will not be liable if, at the time of loss or damage, there is any insurance for the construction of new
       buildings and additions under a specific poiicy for the construction of such new buildings and additions,
       except that this Policy shall apply only as excess and in no event as contributing insurance, and then only
       after all specific insurance has been exhausted.

    4.   We will not be liable if, at the time of loss or damage, there is any insurance for stock under a specific policy
         for such stock, except that this Policy shall apply only as excess and in no event as contributing Insurance,
         and then only after all specific insurance has been exhausted.

    5.   If this Policy is deemed by law to contribute to a loss with other insurance, we will pay only our proportionate
         share of the loss, up to the applicable LIMIT OF LIABILITY. Our share wiil be the proportion that the
         applicable LIMIT OF LIABILITY of this Policy bears to the total applicable LIMITS OF LIABILITY available
         from all insurance.

    6.   You are permitted to have other insurance over any LIMITS OF LIABILITY specified in this Policy.

    7.   The existence of such insurance will not reduce any LIMIT OF LIABILITY in this Policy.

    8.   To the extent this Policy replaces another Policy, coverage under this Policy shall not become effective until
         such other Policy has terminated.

    9.   You are permitted to have other insurance for all, or any part, of any deductible in this Policy. The existence
         of such other insurance will not prejudice recovery under this Policy. If the limits of liability of such other
         insurance are greater than this Policy's applicable deductible, this Policy's insurance will apply only as
         excess and only after such other insurance has been exhausted.

K. PAIR. SET OR PARTS

    In the event of a covered loss to an article that is part of a pair or set. our payment for that loss will be:

    1.   The cost to repair or replace any part lo restore the pair or set to its value before the loss; or


    2.   The difference between the value of the pair or set before and after the loss.

    tn no event will the loss of part of a pair or set be regarded as a total loss of the pair or set.

L. POLICY MODIFICATION

    This Policy contains ail ofthe agreements between you and us concerning this insurance. You and we may
    request changes to this Policy. Only endorsements issued by us and made a part of this Policy can change
    this Policy.

    Notice to any agent or knowledge possessed by any agent or by any other person will not create a waiver or
    change any part of this Policy or prevent us from asserting any rights under the Policy.

M. TITLES

    The titles of the paragraphs of this Policy and of any endorsements attached to it are only for reference. They
    do not affect the terms to which they relate.

N. TRANSFER OF RIGHTS AND DUTIES

     Your rights and duties under this Policy may not be transferred without us giving written consenL

O. VACANCY




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    1.   If any of your real property is vacant atthe Inception of this Policy, or becomes vacant, and remains vacant
         for more than sixty (60) consecutive days, during the Policy period, you must:

         a.    Notify us in writing of the vacancy prior to ioss or damage; and

         b.    Maintain in complete working order the protective safeguards present prior to the vacancy. Protective
               safeguards include:

               (1)   Automatic sprinkler systems;
               (2)   Fire alarm systems;
               (3)   Guard or watchman services;
               (4)   Burglary systems; and
               (5)   Monitoring systems.

    2.   If the above requirements are not met, then in addition to the other terms, conditions, limitations and
         exclusions in this Policy, we will:
         a.    Not pay for any loss or damage caused by or resulting from any of the following:
               (1)   Breakage of building glass;
               (2)   Mold, mildew or fungus;
               (3)   Sprinkler leakage, unless the system has been protected against freezing;
               (4)   Theft or attempted theft;
               (5)   Vandalism;
               (6)   Malicious mischief; or
               (7)   Water damage.

         b.    Not pay under DEMOLITION AND INCREASED COST OF CONSTRUCTION;

         c.    Value the loss or damage for the vacant real property (including any loss or damage to personal
               property) at the time of loss at the lesser of:
               (1) The actual cash value;
               (2) The actual cost to repair; or
               (3) The selling price, less all saved expenses, if it was being offered or listed for sale at the time of
                   loss.

    3.   Real property is considered vacant when it does not contain sufficient property and personnel to conduct
         your customary business operations.


    4.   Real property is not considered vacant during its ongoing construction or renovation.



P. VALUATION

    1.   Adjustment of the physical loss or damage amount underthis Policy will be computed as ofthe date of loss
         or damage at the place of the loss or damage. Unless stated otherwise in a PROPERTY DAMAGE
         COVERAGE AND LIMITATION, adjustment of physical loss or damage to covered property will be subject
         to the following:

         a.    On stock in process, the value of raw materials and labor expended plus the proper proportion of
               overhead charges.

         b.    On finished goods manufactured by you, the regular cash selling price, less all discounts and charges
               to which the finished goods would have been subject had no physical loss or damage happened.

         c.    On raw materials, supplies or merchandise not manufactured by you:


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             (1) If repaired or replaced, your actual expenditure in repairing or replacing the damaged or destroyed
                 property; or

             (2) If not repaired or replaced, the actual cash value.

       d. On exposed films, records, manuscripts and drawings that are not valuable papers and records, the
          value blank plus the cost of copying information from back-up or from originals ofa previous generation.
          These costs will not include research, engineering or any costs of restoring or recreating lost
          information.

       e. On property that is:

             (1) Damaged by fire lhal directly resulls from terrorism or nuclear reaction; and

             (2) Is located in a jurisdiction that has a statute that expressly prohibits the exclusion of fire losses
                 resulting from terrorism or nuclear reaction,

             the actual cash value of the fire damage. Any remaining fire damage not attributable to terrorism or
             nuclear reaction shall be adjusted according to the terms and conditions of the Valuation clause(s) in
             this section of the Policy.

       f.    On computer equipment of others which you are required to insure for direct physical loss or damage
             while being installed, maintained or repaired, the cost to replace with new if so specified In the contract
             between you and your customer.

       g. On Data, Programs and Software, the actual cosl incurred to repair, replace or restore data, programs
          or software including the costs to recreate and research.

       h. On Fine Arts, the loss amount will not exceed the lesser of the following:

             (1) The cost to repair or restore such property to the physical condition that existed on the date of
                 loss;

             (2) The cost to replace; or

             (3) The stated value on file with us.

       i.    On all olher property, the lesser of the following:

             (1) The cost to repair.

             (2) The cost to rebuild or replace on the same site with new materials of like size, kind and quality.

             (3) The cost in rebuilding, repairing or replacing on the same or another site, but not to exceed the size
                 and operating capacity that existed on the date of loss.

             (4) The selling price of real property or machinery and equipment, other than stock, offered for sale
                 on the date of loss.

             (5) The cost to replace unrepairable electrical or mechanical equipment, including computer
                 equipment, with equipment that is the most functionally equivalent to that damaged or destroyed,
                 even if such equipment has technological advantages and/or represents an Improvement in
                 function and/or forms part of a program of system enhancement.

             (6) The increased cost of demolition, if any, directly resulting from insured loss, if such property is
                 scheduled for demolition.




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            (7) The unamortized value of improvements and betterments, if such property is not repaired or
                replaced at your expense.

            (8) The actual cash value if such property is:

                 (a) Useless to you; or
                 (b) Not repaired, replaced or rebuilt on the same or another site within two (2) years from the date
                     of loss, unless such time is extended by us.

    2. You may elect not to repair or replace the covered property lost, damaged or destroyed. Loss settlement
       may be elected on the lesser of repair or replacement cost basis if the proceeds of such loss settlement
       are expended on other capital expenditures related to your operations within two (2) years from the date
       of loss. As a condition of collecting underthis provision, such expenditure must be unplanned as of the date
       of loss and be made at a covered location under this Policy. This provision does not extend to
       DEMOLITION AND INCREASED COST OF CONSTRUCTION or to property scheduled for demolition at
       the lime of loss.

    3. We will not pay more than your financial interest in the covered property.




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                                SECTION VI - LOSS CONDITIONS

A. ABANDONMENT OF PROPERTY

   You may not abandon property to us.

B. APPRAISAL

   1. If you and we fail to agree on the amount of a loss, either party may demand that the disputed amount be
      submitted for appraisal. A demand for appraisal will be made in writing within sixty (60) days after our
      receipt of proof of loss. Each party will then choose a competent and disinterested appraiser. Each party
      will notify the other of the identity of its appraiser within thirty (30) days of the written demand for appraisal.

   2. The two (2) appraisers will choose a competent and disinterested umpire. If the appraisers are unable lo
      agree on an umpire within fifteen (15) days, you or we may petition a judge of a court of record in the state
      where the covered loss occurred, to select an umpire.

   3. The appraisers will then determine the amount of the loss or damage. If the appraisers submit a written
      report of an agreement to you and us, the amount they agree on will be the amount of our payment for the
      loss or damage. If the appraisers fail to agree within a reasonable time, they will submit their differences to
      the umpire. Written agreement signed by any two (2) of these three (3) will determine the amount of loss or
      damage.

   4. Each appraiser will be paid by the party that selects him or her. Other expenses of the appraisal and
      compensation of the umpire will be paid equally by you and us.

C. COLLECTION FROM OTHERS

   We will reduce any payment to you for a covered loss to the extent you have collected for that loss from
   others.

D. COMPANY OPTION

   1. In the event of covered loss, we may, at our option, either;

       a. Pay the value of covered property lost, damaged or destroyed as set forth in VALUATION above;

       b. Pay the cost of repairing or replacing the covered property lost, damaged or destroyed;

       c. Take all or any part of the covered property at any agreed valuation; or

       d. Repair, rebuild or replace the covered property with other property of like kind and quality.

   2. We will give notice of our intentions within thirty (30) days after receiving the sworn statement of loss
      or as required by law.

E. DUTIES AFTER A LOSS

   In case of loss you will:

   1. Give us immediate written notice of the loss;

   2. Give notice of such loss lo the proper authorities If the loss may be due to a violation of the law;

   3. As soon as possible, give us a description of the property involved and how, when and where the loss
      happened;
   4. Take all reasonable steps to protect the covered property from further damage;


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    5.   Promptly separate the damaged property from the undamaged property, and keep it in the best possible
         order for examination;

    6.   Furnish a complete inventory ofthe lost, damaged and destroyed property, showing in detail the quantity,
         and amount of ioss claimed under the valuation provision of the Policy;

    7.   Keep an accurate record of all repair costs;

    8.   Keep all bills, receipts and related documents that establish the amount of loss;

    9.   As often as may reasonably be required:

         a.    Permit us to inspect the damaged property and take samples for inspection, testing and analysis.

         b.    Produce for inspection and copying, all of your books of accounl, business records, bills and invoices.

         c.    Permit us to question, under oath, you and any of your agents, employees, or representatives involved
               in the purchase of this insurance or the preparation of your claim, including any public adjusters and
               any of their agents, employees or represeniatives, and verify your answers with a signed
               acknowledgment.

    10. Submit to us, within ninety (90) days from the date of loss, unless we extend the time in writing, a signed,
        sworn Proof of Loss that states to the best of your knowledge and belief:

         The time and cause of the loss;

         a.    Your interest and the interest of all others In the property involved;

         b.    Any other policies of insurance that may provide coverage for the loss;

         c.    Any changes in title or occupancy of the property during the Policy period; and

         d.    The amount of your claimed ioss.

         You shall also submit with the Proof of Loss:

               (1) A complete inventory of the lost, damaged and destroyed property, showing in detail the quantity,
                   and amount of loss claimed as specified in the valuation provision of the Policy;

               (2) An accurate record(s) of all repair costs and all bills, receipts and related documents that establish
                   the amount of the loss;

               (3) Specifications for any damaged building; and

               (4) Detailed estimates and invoices for the repair of any damage.

    11. Cooperate with us in the investigation and adjustment of the loss.

F. LOSS ADJUSTMENT / PAYABLE

    Loss will be adjusted with the First Named Insured. We may, at our option, adjust the loss to property of others
    directly with the owner of the property. Such loss will be payable to the First Named Insured or as may be
    directed by the First Named Insured.




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    Additional insured interests will also be included in loss payment as their interests may appear when named as
    additional named insured, lender, mortgagee and/or loss payee either on a Certificate of Insurance or other
    evidence of insurance on file with us. When named on a Certificate of Insurance or other evidence of insurance,
    such additional interests are aulomatically added to this Poiicy as their interests may appear as of the effective
    date shown on the Certificate of Insurance or other evidence of insurance. The Certificate of Insurance or other
    evidence of insurance will not amend, extend or alter the terms, conditions, provisions and limits of this Policy.


G. PAYMENT OF LOSS

    We will pay the insured loss within thirty (30) days after we receive and accept the signed, sworn Proof of Loss,
    if:

    1.   You have complied with all the terms of this Policy;

    2.   We have reached agreement with you on the amount of the loss, or

    3.   Within thirty (30) days of when an appraisal award is made as provided for in LOSS CONDITIONS B.
         APPRAISAL.

H. SUBROGATION

    1.   If we make payment for a loss, you will assign to us all your rights of recovery against any party for that
         loss. We will not acquire any rights of recovery you have waived prior to the loss. You agree to cooperate
         and not to waive, prejudice, settle or compromise any ciaim against any party after the loss.

    2.   You will be paid any recovery, in the proportion that your deductible and any provable uninsured loss bears
         to the total loss less your proportion of fees and expenses.

I. SUIT AGAINST THE COMPANY

    No suit or other legal proceeding shall be brought against us unless there has been full compliance with all the
    Policy terms and conditions. Any suit against us must be brought within two (2) years next after the inception
    of the loss.




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                                       SECTION Vll - DEFINITIONS

1.   Actual cash value: The amount it would cost lo repair or replace covered property, on the date of loss, with
     material of like kind and quality, with proper deduction for physical depreciation and obsolescence, but in no
     event more than the fair market value.

2.   Annual aggregate: The maximum amount of loss or damage payable in any one (1) Policy year regardless of
     the number of occurrences within the same Policy year.

3.   Contaminant: Any foreign substance, impurity, pollutant, hazardous material, poison, toxin, pathogen or
     pathogenic organism, bacteria, virus, disease causing or illness causing agent, fungus, mold or mildew.

4.   Contamination: Any condition of property that results from a contaminant.

5.   Covered loss: A loss to covered property caused by direct physical loss or damage insured by this Policy.

6.   Covered property: Property insured by this Policy.

7.   Electronic Data: Information (including computer programs) stored as or on, created or used on, or transmitted
     to or from computer software, including systems and applications software, drives, electronic data processing
     equipment or any storage medium.

8.   Electronic data processing equipment: Any computer, computer system or component, hardware, network,
     microprocessor, microchip, integrated circuit or similar devices or components in computer or non-computer
     equipment, operating systems, data, programs or other software stored on electronic, electro-mechanical,
     electro-magnetic data processing or production equipment, whether your property or not.

9.   Fine Arts: Property of rarity, historical value, antiquity or artistic merit, including paintings; etchings; pictures
     (including their negatives); tapestries; statuary; marbles; bronzes; antique jewelry; antique furniture; antique
     silver; rare books; porcelains; rare or art glassware; art glass windows; valuable rugs; bric-a-brac and porcelains

10. Land improvements: Landscape gardening, car parks, parking lots, pavement, roadways, sidewalks,
    walkways, railways or transformer enclosures; but does not include fill beneath such property, including
    buildings, structures or additions.

11. Location(s):

     a.   As specified in Appendix A - Schedule of Covered Location(s);

     b.   Listed on a SCHEDULE on file with us; or

     c.   If not so specified in Appendix A - Schedule of Covered Location(s) or listed on a SCHEDULE on file with
          us, a building, yard, dock, wharf, pier or bulkhead (or any group of the foregoing) bounded on all sides by
          public streets, clear land space or open waterways, each not less than fifty (50) feet wide. Any bridge or
          tunnel crossing such street, space or waterway will render such separation inoperative for the purpose of
          this definition.

12. Miscellaneous Unnamed Location: A location owned, leased or rented by you, but not listed in a Schedule
    of locations on file with us or attached to this Policy.

     Miscellaneous Unnamed Location does not include:

     a.   Newly Acquired Locations; or

     b.   A location for which coverage is found elsewhere in this Policy including ERRORS AND OMISSIONS.

13. Occurrence: All loss or damage attributable directly or indirectly to one (1) cause or series of similar


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    causes. Ail such loss or damage will be added together and the total ioss or damage will be treated
    as one (1) occurrence.

    Unless otherwise amended by an endorsement attached to this Policy:

    a.   All loss or damage resulting from a continuous FLOOD event, irrespective of the amount of time or area
         over which such loss or damage occurs, will be considered a single occurrence.

    b.   All loss or damage from EARTH MOVEMENT or NAMED STORM within the time specified in the
         O C C U R R E N C E TIME SPECIFICATIONS will be considered a single occurrence.

14. Ordinary payroll: Payroll expenses for all of your employees except officers, executives, department
    managers, employees under contract, and other important professional employees. Payroll expenses include
    the payroll, employee benefits (if directly related to payroll), FICA payments. Union dues and Workers'
    Compensation premiums you pay.

15. Personal Property: Your tangible things, other than real property owned by you and used in your
    business, including:

    a.   Furniture, fixtures, machinery, electronic data processing equipment and stock;

    b.   Materials, supplies, machinery, equipment and fixtures, including those that are personal property of others,
         which are Intended by you for use in construction of new additions and buildings at an existing covered
         location, that you begin to construct during the Policy period and intend to own or occupy once constructed,
         while located on the construction site awaiting use In construction.

    c.   Property, other than real property, you lease for use in your business that you have a responsibility to
         insure;

    d.   Your Interest in improvements and betterments you have made in buildings you do not own;

    e.   Your valuable papers and records.


16. Real Property: Building(s) and any other structure, including:

    a.   New buildings and additions under construction, in which you have an insurable interest;

    b.   Completed additions, extensions or permanent fixtures;

    c.   Machinery and equipment used to service the buildings;

    d.   Yard Fixtures.


17. Terrorism: Activities against persons, organizations or property of any nature:

    a.   That involve the following or preparation for the following:

         (1) Use or threat of force or violence; or

         (2) Commission or threat of a dangerous act; or

         (3) Commission or threat of an act that interferes with or disrupts an electronic, communication,
         information, or mechanical system; and

    b.   When one or both of the following applies;



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        (1) The effect is to intimidate or coerce a government or the civilian population or any segment thereof, or
            to disrupt any segment of the economy; or

        (2) It appears that the intent is to intimidate or coerce a government, or to further political, ideological,
            religious, social or economic objectives or to express (or express opposition to) a philosophy or
            ideology.

18. Valuable papers and records: Written or printed documents or records including books, maps, negatives,
    drawings, abstracts, deeds, mortgages and manuscripts.

19. We, us and our(s): The company issuing this Poiicy, as shown on the Declarations.

20. You and your(s): The First Named Insured shown on the Declarations.




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                       APPENDIX A - SCHEDULE OF COVERED LOCATIONS

Per schedule on file with us




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                  APPENDIX B - NEW MADRID EARTH MOVEMENT ZONES

    STATE       ZONE                  COUNTIES / PARISHES / INDEPENDENT CITIES

 ARKANSAS         1    Clay, Craighead, Crittenden, Cross, Green, Independence, Jackson, Lawrence,
                       Lee, Mississippi, Monroe, Phillips, Poinsett, Randolph, St. Francis, White,
                       Woodruff

 ARKANSAS         2    Arkansas, Fulton, Izard, Lonoke, Prairie, Sharp,

 ILUNOIS          1    Alexander, Franklin, Gallatin, Hamilton, Hardin, Jackson, Jefferson, Johnson,
                       Massac, Perry, Pope, Pulaski, Randolph, Saline, Union, Washington, Williamson

 ILUNOIS          2    Bond, Clay, Clinton, Crawford, Edwards, Effingham, Fayette, Jasper, Lawrence.
                       Madison, Marion, Monroe, Richland, Saint Clair, Wabash, Wayne, White

 INDIANA          2    Gibson, Knox, Pike, Posey, Spencer, Vanderburgh, Warrick

 KENTUCKY         1    Ballard, Calloway, Cariisle, Crittenden, Fulton, Graves, Hickman, Livingston,
                       Lyon, Marshall, McCracken,

 KENTUCKY         2    Caldwell, Christian, Daviess, Henderson, Hopkins, McLean, Muhlenberg, Todd,
                       Trigg, Union, Webster

 MISSISSIPPI      1    DeSoto, Marshall, Tate, Tunica

 MISSISSIPPI      2    Alcorn, Benton, Coahoma, Lafayette, Panola, Quitman, Tippah
 MISSOURI         1    Bollinger, Butler, Cape Girardeau, Carter, Dunklin, Madison, Mississippi, New
                       Madrid, Pemlscott, Perry, Ripley, Scott, Stoddard, Wayne

 MISSOURI         2    Independent City of St. Louis, Iron, Jefferson, Oregon, Reynolds, Shannon, St.
                       Francois, St. Louis, Ste. Genevieve, Washington

 TENNESSEE        1    Benton, Carroll, Chester, Crockett, Dyer, Fayette, Gibson, Hardeman, Haywood,
                       Henderson, Henry, Lake, Lauderdale, Madison, Obion, Shelby, Tipton, Weakley

 TENNESSEE        2    Decatur, Hardin, Houston, Humphreys, McNairy, Montgomery, Perry, Stewart,




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                 APPENDIX C - PACIFIC NORTHWEST EARTH MOVEMENT ZONE

   REGION / STATE                                 COUNTIES / COORDINATES

 CANADA: BRITISH     South of 50' N latitude and west of 120° W longitude
 COLUMBIA and
 VANCOUVER
 ISLAND

 OREGON              Benton, Clackamas, Clatsop, Columbia, Coos, Curry, Douglas, Hood River, Jackson,
                     Josephine, Klamath, Lane, Lincoln, Linn, Marion, Multnomah, Polk, Tillamook,
                     Washington, Yamhill

 WASHINGTON          Chelan, Clallam, Clark, Cowlitz, Grays Harbor, Island, Jefferson, King, Kitsap, Kittitas,
                     Lewis, Mason, Pacific, Pierce, San Juan, Skagit, Skamania, Snohomish, Thurston,
                     Wahkiakum, Whatcom




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   APPENDIX D-AMAZED STORM TIERS FOR USA INCLUDING ITS COMMONWEALTHS
                            AND TERRITORIES

 SOUTHERN TIER ONE: NORTH CAROLINA TO TEXAS

           STATE                       COUNTIES / PARISHES / INDEPENDENT CITIES

 Alabama             Baldwin, Mobile
 Florida             Entire State

 Georgia             Brantly, Bryan, Camden. Chatham. Charlton, Effingham, Glynn, Liberty, Long,
                     Mcintosh, Pierce, Wayne

 Louisiana           Acadia, Ascension, Assumption, Calcasieu, Cameron, East Baton Rouge, East
                     Feliciana, Iberia, Iberville, Jefferson, Jefferson Davis, Lafayette, Lafourche,
                     Livingston, Orieans, Plaquemines, Pointe Coupee, St. Bernard, St. Charies, St.
                     James, St. John the Baptist, St. Martin, St. Mary, St. Tammany, Tangipahoa,
                     Terrebonne, Vermilion, Washington, West Baton Rouge

 Mississippi         George, Hancock, Harrison, Jackson, Peari River, Stone
 North Carolina      Beaufort, Bertie, Bladen, Brunswick, Camden, Carteret, Chowan, Columbus,
                     Craven, Currituck, Dare, Duplin, Gates, Hertford, Hyde, Jones, Lenoir, Martin, New
                     Hanover, Onslow, Pamlico, Pasquotank, Pender, Perquimans, Pitt, Tyrrell,
                     Washington, Wayne
 South Carolina      Beaufort, Berkeley, Charleston, Colleton, Dorchester, Georgetown, Horry, Jasper,
                     Williamsburg
 Texas               Aransas, Bee, Brazoria, Brooks, Calhoun, Cameron, Chambers, Fort Bend,
                     Galveston, Goliad, Hardin, Harris, Hidalgo, Jackson, Jasper, Jefferson, Jim Wells,
                     Kenedy, Kleberg, Liberty, Matagorda, Nueces, Orange, Refugio, San Patricio,
                     Victoria, Wharton, Willacy




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                                       APPENDIX D (continued)

                          NAMED STORM TIERS FOR USA INCLUDING
                          ITS COMMONWEALTHS AND TERRITORIES

 NORTHERN TIER ONE: VIRGINIA TO MAINE

            STATE                    COUNTIES / PARISHES / INDEPENDENT CITIES

 Connecticut          Fairfield, Middlesex, New Haven, New London

 Delaware             Sussex

 Maine                Cumberiand, Hancock, Knox, Lincoln, Penobscot, Sagadahoc, Waldo,
                      Washington, York
 Maryland             Calvert, Charies, Dorchester, St. Mary's, Somerset, Wicomico, Worcester
 Massachusetts        Barnstable, Bristol, Dukes, Essex, Middlesex, Nantucket, Norfolk, Plymouth,
                      Suffolk
 New Hampshire        Rockingham

 New Jersey           Attantic, Bergen, Cape May, Cumberiand, Essex, Hudson, Middlesex, Monmouth,
                      Ocean, Union

 New York             Bronx, Kings, Nassau, New York, Queens, Richmond, Suffolk

 Rhode Island         Bristol, Newport, Washington

 Virginia             Accomack, Gloucester, Isle of Wight, James City, Lancaster, Mathews, Middlesex,
                      Northampton, Northumberiand. Surry, York
                      Independent Cities: Chesapeake, Hampton. Newport News, Norfolk, Poquoson,
                      Portsmouth, Suffolk, Virginia Beach, Williamsburg

SOUTHERN TIER TWO: NORTH CAROLINA TO TEXAS

            STATE                    COUNTIES / PARISHES / INDEPENDENT CITIES

 Alabama              Clarke, Coffee, Conecuh, Covington, Dale, Escambia, Geneva, Houston. Monroe,
                      Washington
 Louisiana            Allen, Avoyelles, Beauregard, Evangeline, St. Helena, St. Landry, West Feliciana

 Mississippi          Forrest, Greene, Jones, Lamar, Marion, Perry, Pike, Walthall, Wayne

 North Carolina       Cumberiand, Edgecombe, Greene, Johnston, Robeson, Sampson, Wilson

 South Carolina       Bamberg, Calhoun, Clarendon, Dillon, Florence, Hampton, Marion, Orangeburg

 Texas                Austin, Brazos, Colorado, De Witt, Duval, Fayette, Gonzales, Grimes, Jim Hogg,
                      Karnes, Lavaca, Live Oak, McMullen, Montgomery, Newton, Polk, San Jacinto,
                      Starr, Tyler, Walker, Waller, Washington




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                                        APPENDIX D (continued)

                           NAMED STOR/W TIERS FOR USA INCLUDING
                           ITS COMMONWEALTHS AND TERRITORIES

               Other States, Commonwealths and Territories of The United States of America
                                            TIER
 AMERICAN SAMOA                               2    Entire Territory
 GUAM                                         1    Entire Territory
 HAWAII                                       1    Entire State
 NORTHERN MARIANA^^^^                         1    Entire Commonwealth
 PUERTO RICO                                  1    Entire Commonwealth
 U.S. VIRGIN ISLANDS                          1    Entire Territory
 All other US Territories and Possessions     1    Entire Territory




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                          APPENDIX E - FLOOD HAZARD LOCATIONS



High Hazard Locationfsl
NCP

Moderate Hazard Location(sl
NCP




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                                   FORMS AND ENDORSEMENTS


                     Form(s) and Endorsement(s) made a part of this Policy at lime of issue:

            Form or Endorsement Number                             Form or Endorsement Name

                 CNP 90 06 01 17                       Disclosure Pursuant to Terrorism Risk Insurance Act

                  PY 04 04 01 17                              Exclusion of Certified Acts of Terrorism

                  PY 03 24 04 17                                 Emergency Evacuation Expense
                  PZ00 01 08 16                           Communicable Disease Decontamination Cost
                                                                        Endorsement
                  PY04 10 01 17                                   Removal of Vacancy Condition

                  PY03 11 01 17                                  Research Animals Endorsement

                  PY 04 07 01 17                                Schedule of Lenders or Mortgagees




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                            STATE AMENDATORY ENDORSEMENTS

                 Endorsement Number                                  Endorsement Name


                   PY01 37 01 17                                     Washington Changes

                   PY 02 49 01 17                   Washington Changes - Cancellation and Nonrenewal




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Policy Number YAC-L9L-469720-039

Issued by         Employers Insurance Company of Wausau

                 THIS ENDORSEMENT CHANGES THE POLICY. P L E A S E READ IT C A R E F U L L Y .

                                 EXCLUSION OF CERTIFIED ACTS OF TERRORISM

This endorsement modifies insurance provided under the following:

    PREMIER PROPERTY PROTECTOR™


A. The following definition is added with respect to the provisions of this endorsement:

    "Certified act of terrorism" means an act that is certified by the Secretary of the Treasury, In accordance with
    the provisions of the federal Terrorism Risk Insurance Act, to be an act of terrorism pursuant to such Act. The
    criteria contained in the Terrorism Risk Insurance Act for a "certified act of terrorism" include the following:

    1.   The act resulted in insured losses in excess of $5 million in the aggregate, attributable to all types of
         insurance subject to the Terrorism Risk Insurance Act; and

    2.   The act Is a violent act or an act thai is dangerous to human life, property or infrastructure and is
         committed by an individual or individuals as part of an effort to coerce the civilian population of the United
         States or to influence the policy or affect the conduct of the United States Government by coercion.

B. The following exclusion is added:

    CERTIFIED ACT OF TERRORISM EXCLUSION

    We will not pay for loss or damage directly or indirectly caused by or resulting from a "certified acl of
    terrorism". Such loss or damage is excluded regardless of any other cause or event, whether or not insured
    under this Policy, contributing concurrently or in any other sequence.

C. Exception Covering Certain Fire Losses

    The following exception to the exclusion in Paragraph B. applies only in the following states: California,
    Georgia, Hawaii, Illinois, Iowa, Maine, Missouri, New Jersey, New York, North Carolina, Oregon, Rhode
    Island, U.S. Virgin Islands, Washington, West Virginia, and Wisconsin.

    If a "certified act of terrorism" results in fire, we will pay for the loss or damage caused by that fire. Such
    coverage for fire applies only to direct loss or damage by fire to covered property. Therefore, for example,
    the coverage does not apply to insurance provided under TIME ELEMENT.

    If aggregate insured losses altributable to terrorist acts certified under the Terrorism Risk Insurance Act
    exceed $100 billion in a calendar year and we have met our insurer deductible under the Terrorism Risk
    Insurance Act, we shall not be liable for the payment of any portion of the amount of such losses that exceeds
    $100 billion, and in such case insured losses up to that amount are subject to pro rata allocation in
    accordance with procedures established by the Secretary of the Treasury.

D. Application Of Exclusions

   The terms and limitations of SECTION II.C. EXCLUSIONS, 2.a. do not serve to create coverage for any loss
   which would othenA/ise be excluded under this endorsement or the Policy, such as losses excluded under
   SECTION II.C. EXCLUSIONS, 2. b., c , d., o r e .




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PolicyNumber      YAC-L9L-469720-039

Issued by         Employers Insurance Company of Wausau

                 THIS ENDORSEMENT CHANGES THE POLICY. P L E A S E READ IT C A R E F U L L Y .

                                    EMERGENCY EVACUATION E X P E N S E

This endorsement modifies insurance provided underthe following:

    PREMIER PROPERTY PROTECTOR™


The following is added to SECTION III - TIME ELEMENT, E. TIME ELEMENT COVERAGES AND LIMITATIONS:

    EMERGENCY EVACUATION EXPENSE

We cover the reasonable and necessary costs you incur for the emergency evacuation of patients, tenants or lawful
occupants from, and subsequent return to a covered location, when a civil authority orders the emergency
evacuation as a direct result of immediately impending physical loss or damage of the type insured by this Policy.

This coverage is subject to the deductible provisions that would have applied had the physical loss or damage
occurred.




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Policy Number YAC-L9L-469720-039

Issued by         Employers Insurance Company of Wausau

                 THIS ENDORSEMENT CHANGES THE POLICY. P L E A S E READ IT C A R E F U L L Y .

                    COMMUNICABLE DISEASE DECONTAMINATION COST ENDORSEMENT

The following PROPERTY DAMAGE COVERAGE AND LIMITATION is added to SECTION II, D. of this Policy:

COMMUNICABLE D/SEAS5 DECONTAMINATION COSTS


a.   If your covered property at a covered location shown on the Schedule of this endorsement is
     contaminated by a communicable disease as the direct result of a covered loss, and there is in force
     at the time of that covered ioss a law or ordinance that requires you to decontaminate that covered
     property as a result of this contamination by a communicable disease, we will pay up to the limit as
     specified in the LIMITS OF LIABILITY Table in the Declarations in any one (1) occurrence for those
     decontamination costs incurred by you, but only to satisfy the minimum requirements of that applicable
     law or ordinance.

b.   We will not pay under this endorsement, however, for:

     (1) Any cost of removing contaminated property, or the cost to clean up the contamination for property not
         owned by you whether or not the contamination results from a covered loss; or

     (2) Any costs associated with any other contamination loss.

c.   For purposes of this extension the italicized lerm communicable disease means a viral or bacterial
     organism that is capable of inducing disease, illness, physical distress or death.


                                                     Schedule

Covered Location

Per Schedule on File




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Policy Number    YAC-L9L-469720-039

Issued by        Employers Insurance Company of Wausau

                THIS ENDORSEMENT CHANGES THE POLICY. P L E A S E READ IT CAREFULLY.

                                    REMOVAL OF VACANCY CONDITION

This endorsement modifies insurance provided under the following:

    PREMIER PROPERTY PROTECTOR™


The VACANCY condition of SECTION V - GENERAL POLICY CONDITIONS does not apply to the location(s)
shown in the Schedule of this endorsement.

                                                   Schedule

                                                   Location(s)
 Per Schedule on File

All other terms and conditions remain unchanged.




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Policy Number      YAC-L9L-469720-039

Issued by          Employers Insurance Company of Wausau

                 THIS ENDORSEMENT CHANGES THE POLICY. P L E A S E READ IT C A R E F U L L Y .

                                         RESEARCH ANIMALS ENDORSEMENT

This endorsement modifies insurance provided under the following:

    PREMIER PROPERTY PROTECTOR™


A. We provide the following PROPERTY DAMAGE COVERAGE AND LIMITATION for a covered loss as
   specified in the LIMIT OF LIABILITY and DEDUCTIBLE Table in the Schedule of this endorsement, subject to
   the terms, conditions and exclusions of this Policy:

    RESEARCH ANIMALS

    1.   We cover the cost to replace your laboratory animals used in medical research either destroyed or
         deemed unsuitable for use while at a covered location from a covered loss.

    2.   We do not cover loss to laboratory animals resulting from the following unless directly resulting from direct
         physical ioss or damage:

         a.    Death or destruction from natural causes, unknown causes, medical procedures including surgery,
               inoculation, parturition or abortion.

         b.    Errors or omission in processing and/or failure on your part to provide nourishment, medicine or
               sanitary conditions.

         c.    Contamination of animals, food or medicine.

         d.    The intentional destruction of animals.

         e.    Escape.

         f.    Sickness, disease, infection, infestation or illness.

   3.    We do not cover the cost to restore the research project to its condition prior to the loss.

Ail other terms and conditions remain unchanged.

                                                          Schedule

                          COVERAGE                                       UMIT OF LIABILITY         DEDUCTIBLE AMOUNT

                     RESEARCH ANIMALS                                  $5,000,000, no more than         $500,000
                                                                           $5,000 per animal




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Policy Number     YAC-L9L-469720-039

Issued by         Employers Insurance Company of Wausau

                 THIS ENDORSEMENT CHANGES THE POLICY. P L E A S E READ IT CAREFULLY.

                                   S C H E D U L E OF LENDERS OR MORTGAGEES

                                                                                                       Interests
                                                                                                        ("L" for
                                                    Description of    Name and Address of Lender
                   Location                                                                             Lender)
                                                      Property              or Mortgagee
                                                                                                        ("M" for
                                                                                                      Mortgagee)
Per schedule or certificates of insurance on file      RP, PP          Per Schedule on File with us      L/M
with us




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Policy Number YAC-L9L-469720-039

Issued by        Employers Insurance Company of Wausau

                THIS ENDORSEMENT CHANGES THE P O U C Y . P L E A S E READ IT C A R E F U L L Y .

                                               WASHINGTON CHANGES

This endorsement applies only to covered property located in Washington and modifies insurance provided
under the following:

    PREMIER PROPERTY PROTECTOR™
    EXCLUSION OF CERTIFIED ACTS OF TERRORISM


A. Paragraph H. JURISDICTION of SECTION I - DECLARATIONS is replaced by the following:

    H. JURISDICTION

        Any disputes arising hereunder will be exclusively subject to a State or Federal jurisdiction within the United
        States of America.

B. The first paragraph of item 2. of SECTION II - PROPERTY DAMAGE, C. EXCLUSIONS is replaced with the
   following:

   We do nol cover any of the excluded events listed below. Loss or damage will be considered to have been
   caused by an excluded event if the occurrence of that event directly and solely results in physical loss or
   damage, or initiates a sequence of events which results in physical loss or damage, regardless of the nature of
   any intermediate or final event in that sequence.

C. Paragraph i. of SECTION II - PROPERTY DAMAGE, C.2. EXCLUSIONS is replaced by the following:

   i.   Any criminal, fraudulent or dishonest act, including theft, committed alone or in collusion with others:

        (1) By you or any proprietor, partner, director, trustee, officer or employee of an Insured; or

        (2) By any proprietor, partner, director, trustee, or officer of any business or entity (other than a common
            carrier) engaged by you to do anything in connection with property insured under this Policy.

        However, we do cover direct physical loss or damage intentionally caused by your employee or any
        individual specified in (2) above provided that said individuals acted without your knowledge.

        This exclusion will not apply to deny an insured's otherwise covered property ioss ifthe property loss is
        caused by an act of domestic abuse by another insured under this Policy, the insured claiming property
        loss files a police report and cooperates with any law enforcement investigation relating to the act of
        domestic abuse, and the insured claiming property loss did not cooperate In or contribute to the creation of
        the property loss. Payment by the insurer to an insured may be limited to the person's Insurable interest in
        the property less payments made to a mortgagee or other party with a legal secured interest in the property.
        An insurer making payment to an insured under RCW 48.18.120 (1) has all rights of subrogation to recover
        against the perpetrator of the act that caused the loss.




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D. Paragraph 3. of SECTION I V - DESCRIBED LOSSES, A. EARTH MOVEMENT is replaced by the following:

     3.   EARTH MOVEMENT is:

          Earthquake, landslide, subsidence or sinking, rising or shifting of the earth, avalanche, whether natural or
          man-made, or volcanic eruption that directly and solely results in physical loss or damage, or initiates a
          sequence of events which results in physical loss or damage, regardless ofthe nature of any intermediate
          or final event in that sequence.

          However, physical loss or damage from fire, explosion, sprinkler leakage or FLOOD caused by EARTH
          MOVEMENT m\\ not be considered to be loss by EARTH MOVEMENT\N\Vr\\r\ the terms and conditions of
          this Policy.

E.   Paragraph 2. of SECTION IV - DESCRIBED LOSSES, D. FLOOD is replaced by the following:

     2.   FLOOD is:

          a.    Surface waters; rising waters; storm surge, wave wash; waves; tsunami; tide or tidal water; the release
                of water, the rising, overflowing or breaking of boundaries of natural or man-made bodies of water; or
                the spray therefrom; all whether driven by wind or not;

          b.    Sewer back-up resulting from any of the foregoing; or

          c.    Mudslide or mudflow caused by or resulting from surface water, runoff or accumulation of water on or
                under the ground;
                that directly and solely results in physical loss or damage, or Initiates a sequence of events which
                results in physical loss or damage, regardless of the nature of any intermediate or final event in that
                sequence.

          Covered loss from FLOOD associated with a storm or weather disturbance whether or not identified by
          name by any meteorological authority is considered to be FLOOD within the terms of this Policy. However,
          physical loss or damage from fire, explosion or sprinkler leakage caused by FLOOD will not be considered
          to be loss by FLOOD within the terms and conditions of this Policy.

F.   Paragraph C. CONCEALMENT, MISREPRESENTATION OR FRAUD of SECTION V - GENERAL POLICY
     CONDITIONS is replaced by the following:

     C. CONCEALMENT, MISREPRESENTATION OR FRAUD

          This entire Policy is void if you intentionally conceal or misrepresent any material fact or circumstance
          relating to it.

          However, this will not apply to deny an Insured's othenwise covered property loss if the property loss is
          caused by an act of domestic abuse by another insured under this Policy, the insured claiming property
          loss files a police report and cooperates with any law enforcement investigation relating to the act of
          domestic abuse, and the insured claiming property loss did not cooperate in or contribute to the creation of
          the property loss. Payment by the insurer to an Insured may be limited to the person's insurable interest in
          the property less payments made to a mortgagee or other party with a legal secured interest In the property.
          An insurer making payment to an insured under RCW 48.18.120 (1) has all rights of subrogation to recover
          against the perpetrator of the act that caused the loss.




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G. Paragraph E. INSPECTION of SECTION V - GENERAL POLICY CONDITIONS Is replaced by the following:

     E.   INSPECTION

          1.    During the period of this Policy, we will be permitted, but not obligated, to inspect the covered property.
                Our right to inspect, the performance of or failure to inspect snd any report arising out of an inspection
                will not constitute an undertaking or imply that the property is safe, healthful, or in compliance with laws,
                regulations, codes or standards. We will have no liability to you or others because of any inspection
                or failure to inspect, or on account of anyone's use or reliance upon any report or other information
                generated during the course of, or as a result of any inspection.

          2.    This condition does not apply to any inspections, surveys, reports or recommendations we may make
                relative to certification, under state or municipal statutes, ordinances or regulations, of boilers, pressure
                vessels or elevators.

H. Paragraph F. LENDERS LOSS PAYEE AND MORTGAGEE INTERESTS AND OBLIGATIONS of SECTION V
   - GENERAL POLICY CONDITIONS is deleted and replaced by endorsement PY 03 21 Washington Lender's
   Loss Payable Endorsement as required by the Washington Insurance Commissioner.

I.   Paragraph 5. of SECTION V - GENERAL POLICY CONDITIONS, OTHER INSURANCE is replaced by the
     following:

     5.   You may have other Insurance subject to the same plan, terms, conditions and provisions as the insurance
          under this Policy. If you do, we will pay our share of the covered loss or damage. Our share is the
          proportion that the applicable LIMIT OF LIABILITY under this Policy bears to the limits of liability of all
          insurance covering on the same basis.

J.   Paragraph 2. of SECTION V - GENERAL POLICY CONDITIONS, VALUATION is replaced by the following:

     2.   You may elect not to repair or replace the covered property lost, damaged or destroyed. Loss settlement
          may be elected on the lesser of repair or replacement cost basis if the proceeds of such loss settlement
          are expended on other capital expenditures related to your operations within two (2) years from the date
          of loss. As a condition of collecting underthis provision, such expenditure must be unplanned as ofthe date
          of loss and be made at a covered location under this Policy. This provision does not extend to
          DEMOLITION AND INCREASED COST OF CONSTRUCTION or to property scheduled for demolition at
          the time of loss.

          Replacement cost means the cost to replace covered property:
          a.    With new materials of like kind and quality and used for the same purpose; and

          b.    At the location where the loss happened.

          But replacement cost excludes any increased cost of repair or reconstruction by reason of any law or
          ordinance regulating construction, repair or use.

K.   Paragraph 2. of SECTION VI - LOSS CONDITIONS, H. SUBROGATION is replaced by the following:

     2.   We will be entitled to a recovery only after you have been fully compensated for damages.

L.   Paragraph 1. of SECTION Vll - DEFINITIONS is replaced by the following:

     1.   Actual cash value: The amount it would cost to repair or replace covered property, on the date of loss,
          with material of like kind and quality, but in no event more than the fair market value.




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M. Paragraph B. of endorsement PY 04 04 EXCLUSION OF CERTIFIED ACTS OF TERRORISM is replaced by
   the following:

    B. The following exclusion is added:

        CERTIFIED ACT OF TERRORISM EXCLUSION

        We will not pay for loss or damage caused by or resulling from a "certified act of terrorism". Loss or damage
        will be considered to have been caused by or resulting from a "certified act of terrorism" if the occurrence
        of that "certified act of terrorism" directly and solely results in physical ioss or damage, or initiates a
        sequence of events which results in physical loss or damage, regardless of the nature of any intermediate
        or final event in that sequence.


All other terms and conditions remain unchanged.




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PolicyNumber         YAC-L9L-469720-039

Issued by            Employers Insurance Company of Wausau

THIS ENDORSEMENT CHANGES THE POLICY. P L E A S E READ IT C A R E F U L L Y .

                          WASHINGTON CHANGES - CANCELLATION AND NONRENEWAL

This endorsement modifies insurance provided under the following:

     PREMIER PROPERTY PROTECTOR™

A.   Paragraph B. CANCELLATION of SECTION V - GENERAL POLICY CONDITIONS is replaced by the
     following:

     B.   CANCELLATION

          1.    You may cancel this Policy by notifying us or your insurance agent or broker in one of the following
                ways:

                a.   Written notice by mail, fax or e-mail;

                b.   Surrender of the Policy or binder; or

                c.   Verbal notice.

               Upon receipt of such notice, we will cancel this Policy or any binder issued as evidence of coverage,
               effective on the later of the following:

                a.   The date on which notice is received or the Policy or binder is surrendered; or

                b.   The date of cancellation requested by you.

          2.    We may cancel this Policy by mailing or delivering to you and your insurance agent or broker written
                notice of cancellation, including the actual reason for the cancellation, to the last mailing address
                known to us, at least:

                a.   Ten (10) days before the effective date of cancellation if we cancel for nonpayment of premium;
                     or

                b.   Forty-five (45) days or the number of days specified in the CANCELLATION TIME
                     SPECIFICATIONS, whichever is greater, before the effective date of cancellation if we cancel for
                     any other reason;
                except as provided in Paragraph 3. below.

          3.    We may cancel the Policy, by mailing or delivering to you and your insurance agent or broker written
                notice of cancellation at least five (5) days before the effective date of cancellation for any real
                property where two or more of the following conditions exist

                a.   Without reasonable explanation, the real property is unoccupied for more than sixty (60)
                     consecutive days, or at least 65% of the rental units are unoccupied for more than one hundred
                     twenty (120) consecutive days, unless the real property is maintained for seasonal occupancy or
                     Is under construction or repair;

                b.   Without reasonable explanation, progress toward completion of permanent repairs to the real
                     property has not occurred within sixty (60) days after receipt of funds following satisfactory
                     adjustment or adjudication of loss resulting from a fire;



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               c.   Because of its physical condition, the real property is in danger of collapse;

               d.   Because of its physical condition, a vacation or demolition order has been Issued for the real
                    property, or it has been declared unsafe in accordance with applicable law;

               e.   Fixed and salvageable items have been removed from the real property, indicating an intent to
                    vacate the real property;

               f.   Without reasonable explanation, heat, water, sewer and electricity are not furnished for the real
                    property for sixty (60) consecutive days; or

               g.   The real property is not maintained in substanttal compliance with fire, safety and building
                    codes.

         4.    We will also mail or deliver to any mortgagee, pledgee or other person shown in this Policy to have an
               interest in any loss which may be covered under this Policy, at their last mailing address known to us,
               written notice of cancellation, prior to the effective date of cancellation. If cancellation is for reasons
               other than those contained in Paragraph A.3. above, this notice will be the same as that mailed or
               delivered to you. If cancellation is for a reason contained in Paragraph A.3. above, we will mall or
               deliver this notice at least twenty (20) days prior to the effective date of cancellation.

         5.    Notice of cancellation will state the effective date of cancellation. The Policy period will end on that
               date.

         6.    If this Policy is cancelled, we will send you any premium refund due. If we cancel, the refund will be
               pro rata, if you cancel, the refund will be at least 90% of the pro rata refund. The cancellation will be
               effective even if we have not made or offered a refund.

         7.    If notice is mailed, proof of mailing will be sufficient proof of notice.

B. The NONRENEWAL provision of SECTION V - GENERAL POUCY CONDITIONS is replaced by the
   following:

    NONRENEWAL

    We may decide not to renew this Policy by mailing or delivering written notice of nonrenewal, stating the
    reasons for nonrenewal, to you and your insurance agent or broker at their last mailing addresses known to
    us. If noiice is mailed, proof of mailing will be sufficient evidence of notice. We will also mail to any
    mortgagee, pledgee or other person shown in this Policy to have an interest in any loss which may be
    covered underthis Policy, at their last mailing address known to us, written notice of nonrenewal. We will mail
    or deliver these notices at least sixty (60) days before the:

    1.   Expiration ofthe Policy; or
    2.   Anniversary date of this Policy if this Policy has been written for a term of more than one (1) year.

    If notice of nonrenewal is not received by you as outlined above, you and your insurance agent or broker will
    receive written notice of our intent to renew this Policy. This notice will be sent at least twenty (20) days prior
    to the Policy expiration or anniversary date. Included in this notice will be changes, if any, in rates, terms, or
    conditions made to the expiring Policy. We will mail or deliver the notice to you and your insurance agent or
    broker, at their last mailing address known to us.

   This notice will not be sent if we have received written notice, prior to the expiration date of this Policy, of
   your intent to obtain replacement coverage elsewhere or that you have already done so.




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Endorsement number 1 for policy number YAC-L9L-469720-039

Named Insured Board of Regents of the University of Washington. The University of Washington Medical
Center and your affiliated or subsidiary entities owned, controlled or coming under your active management
and your interest in partnerships or joint ventures as now exist or may hereafter be constituted or acquired
during the policy term.

This endorsement is effective 07/01/2019 and will terminate with the policy. It is issued by the company designated
in the Declarations. All other provisions of the policy remain unchanged.

            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                             Change Endorsement

DESCRIPTION OF CHANGE                                                                                  PREMIUM


POLICY COVER PAGE, Form PY 00 00 01 17 is amended as follows:

The named insured on the Policy Cover Page is changed to:
Board of Regents of the University of Washington, The University of Washington
Medical Center and your affiliated or subsidiary entities owned, controlled or coming
under your active management and your interest in partnerships or joint ventures as now
exist or may hereafter be constituted or acquired during the policy term.

Formerly: University of WA Medical Center


SECTION I - DECLARATIONS, Form PY 00 01 02 17 is amended as follows:

The First Named Insured on the Declarations is changed to:
Board of Regents of the University of Washington, The University of Washington
Medical Center and your aftlliated or subsidiary entities owned, controlled or coming
under your active management and your interest in partnerships or joint ventures as now
exist or may hereafter be constituted or acquired during the policy term.

Formerly: University of WA Medical Center


SECTION I - DECLARATIONS, LIMITS OF LIABILITY TABLE - PART ONE,
Form PY 00 01 02 17 is amended as follows:

Endorsement Number PZ 00 41 04 18, TIME ELEMENT LOSSES DUE TO
CONTAMINATION BY COMMUNICABLE DISEASE is added.

Limit of Liability: 30 Days. Not to Exceed $1,000,000 limit


                                                      IC9999
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                                Change Endorsement (continued)
The consecutive days for NEWLY ACQUIRED LOCATIONS is amended to 30 days.

Formerly: 90 days

The Limit of Liability for COMPUTER SYSTEMS NON PHYSICAL DAMAGE and
DATA, PROGRAMS OR SOFTWARE, combined is decreased by $ 1,500,000 to a new
amount of $1,000,000.


No change in premium.




PREMIUM (EXCLUDING TERRORISM RISK INSURANCE ACT (TRIA) PREMIUM):
TERRORISM RISK INSURANCE ACT (TRIA) PREMIUM:
OTHER CHARGES:


TOTAL AMOUNT PAYABLE FOR ENDORSEMENT:

                                            IC9999
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Policy Number YAC-L9L-469720-039

Issued by          Employers Insurance Company of Wausau

                 THIS ENDORSEMENT CHANGES THE POLICY. P L E A S E READ IT C A R E F U L L Y .

             TIME ELEMENT L O S S E S DUE TO CONTAMINATION BY COMMUNICABLE DISEASE

This endorsement modifies insurance provided under the following:

     PREMIER PROPERTY PROTECTOR


1.   The following TIME ELEMENT COVERAGE AND LIMITATION is added to E. TIME                              ELEMENT
     COVERAGES AND LIMITATIONS in SECTION 111- TIME ELEMENT of this policy:

     TIME ELEMENT LOSSES DUE TO CONTAMINATION BY COMMUNICABLE DISEASE

     a.   If your covered property at a covered location is contaminated by a communicable disease as the
          direct result of a covered loss, and there is in force at the time of that covered loss a law or ordinance
          that requires you to suspend your operations on account of that contamination, we will pay the actual
          loss of GROSS PROFIT or GROSS EARNINGS you sustain due to the necessary suspension of your
          normal operations at that covered location because it is either partially or totally closed by order of
          authority described in b. below.

     b.   The sole determinant of disease contamination of a magnitude great enough to either partially or totally
          close your normal operations will be either the:

          (1) National Center for Disease Control; or

          (2) The governmental authority having jurisdiction over your operations that relate to health and
              hygiene standards necessary to protect the general public.

     c.   The most we will pay for this TIME ELEMENT COVERAGE AND LIMITATION in any one (1)
          occurrence is the LIMIT OF LIABILITY specified in the LIMITS OF LIABILITY TABLE.

     d.   For the purposes of this endorsement the italicized term communicable disease means a viral or
          bacterial organism that is capable of inducing disease, illness, physical distress or death.




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Endorsement nunibc'r 2 for policy number YAC-L9L-469720-039

Named Insured Board of Regents ofthc University of Washington

Tills endorsement is effective 02/29/2020 and will terminate vvith the policy. It is issued by the company designated
in the Declarations. All other provisions oflhe policy remain unchanged.

             THIS ENDORSFMENT CHANCES THE POLICY. PLEASE READ IT CAREFULLY.


                                              Change Endorsement

DESCRIPTION OF CHANGE                                                                                    PREMIUM


Premiuin is adjusted as a result of changes on the schedule of locations on t1Ie with us.                   53 953


APPENDIX A - SCHEDULE OF COVERED LOCATIONS is amended as follows:

Location(s) 2.1, 2901 27th Ave S. Seattle. WA 98144 is DELETED from the Statement
of Values on t1le wilh us and REMOVED from this policy in its entirety, including ali
references and groupings lhat may have included this/lhese location(s) in Form PY 00
01. SECTION I - DECLARA TIONS- or any olher endorsemenls attached lo this policy,
such lhal there is NO COVERAGE for this/lhese location(s) effective with this
endorsement.




PREMIUM (EXCLUDING TERRORISM RISK INSURANCE ACT (TRIA) PREMIUM):                                            $3,253 CR
TERRORISM RISK INSURANCE ACT (TRIA) PREMIUM:
OTHER CHARGES:


TOTAL AMOUNT PAYABLE FOR ENDORSEMENT:                                                                      $3,253 CR


                                                       IC9999
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                     Exhibit 2
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                     PARKER, SMITH & FEEK
                        Vacancy Clause



    This policy contains a vacancy clause, coverage will be
    reduced or eliminated in the event the building is vacant in
    excess of 60 days.

    Please call us if you anticipate this situation.

    Thank you




Toll Free: 800-457-0220

Bellevue: 425-709-3600
Anchorage: 907-562-2225
Portland: 503-416-6870
Fax: XXX-XX-XXXX
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                   PROTECTIVE SAFEGUARDS

Your Property Insurance Policy contains a PROTECTIVE SAFEGUARD
PROVISION. This provision stipulates that coverage will be automatically
suspended at the involved location if you fail to notify us or the carrier
immediately when you:

1.    Know of any suspension or impairment in the Protective Safeguards;
      or

2.    Fail to maintain a Protective Safeguard, over which you have control,
      in complete working order.

Protective Safeguards are described in your policy and/or endorsement.
They may include such things as: sprinkler systems; alarm systems; security
services; or any number of items.

It is extremely important that you contact, by telephone, Parker, Smith &
Feek if any of the Protective Safeguards described in your
policy/endorsement are impaired for ANY reason. We will transmit this
information to the insurance carrier to ensure that coverage is not
suspended.

If an impairment occurs on a weekend or after regular business hours,
please contact us immediately on the next business day. If this involves a
sprinkler impairment due to breakage, leakage, freezing conditions, or
opening sprinkler heads, notification to us will not be necessary if you can
restore full protection within 48 hours.

It is vital that this information be conveyed to your property managers,
building maintenance staff, and any other personnel that may be involved in
functions that could impair these protective safeguards. A basic set of
procedures is enclosed.

Should you have any questions relating to this, please feel free to contact
me directly.
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                 PARKER, SMITH & FEEK
           PROTECTIVE SAFEGUARDS IMPAIRMENT
                      PROCEDURES


 NOTIFICATION                 If you anticipate that any of your protective systems
                              will be taken out of service or if you significantly alter
                              your protection system maintenance program, call
                              Parker, Smith & Feek.
 CONTACT                      Direct calls to your Account Executive or Account
                              Administrator.
 INFORMATION                  Provide us with details regarding your impairment:
                               What type of system?
                               What does it protect?
                               Why is it being taken out of service?
                               How long will it be out of service?
 PRECAUTIONS                  1.   Have all materials for job on hand and ready.
 TO TAKE                      2.   Do not leave off longer than necessary.
                              3.   Shut down hazardous processes in the area.
                              4.   Notify your local fire department, etc.
                              5.   Let your security people know of impairment.
                              6.   When job is done restore protection.
                              7.   Call Parker, Smith & Feek to notify us that
                                   protective system is back in service.


 Toll Free: 800-457-0220
 Direct
 Bellevue: 425-709-3600
 Anchorage: 907-562-2225
 Portland: 503-416-6870
 Fax: XXX-XX-XXXX




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  THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF YOUR POLICY IN RESPONSE TO THE
DISCLOSURE REQUIREMENTS OF THE TERRORISM RISK INSURANCE ACT. THIS ENDORSEMENT DOES
NOT GRANT ANY C O V E R A G E OR CHANGE THE TERMS AND CONDITIONS OF ANY C O V E R A G E UNDER
                                         THE POLICY.


                                        DISCLOSURE PURSUANT TO TERRORISM RISK
                                                    INSURANCE ACT


A. Disclosure Of Premium

     In accordance with the federal Terrorism Risk Insurance Act, we are required to provide you with a notice
     disclosing the portion of your premium, if any, attributable to coverage for terrorist acts certified under the
     Terrorism Risk Insurance Act. The portion of your premium attributable to such coverage is shown in D.
     PREMIUM in the Declarations.

B.   Disclosure Of Federal Participation In Payment Of Terrorism Losses

     The United States Government, Department of the Treasury, will pay a share of terrorism losses insured under
     the federal program. The federal share equals the percentage indicated below of that portion of the amount of
     such insured losses that exceeds the applicable insurer retention. However, if aggregate insured losses
     attributable to terrorist acts certified under the Terrorism Risk Insurance Act exceed $100 billion in a calendar
     year, the Treasury shall not make any payment for any portion ofthe amount of such losses that exceeds $100
     billion.

     Federal   share   of   terrorism   losses:   84%, calendar      year   2016
     Federal   share   of   terrorism   losses:   83%, calendar      year   2017
     Federal   share   of   terronsm    losses:   82%, calendar      year   2018
     Federal   share   of   terrorism   losses:   8 1 % , calendar   year   2019
     Federal   share   of   terrorism   losses:   80%, calendar      year   2020

C. Cap On Insurer Participation In Payment Of Terrorism Losses

     If aggregate insured losses altributable to terrorist acts certified under the Terrorism Risk Insurance Act exceed
     $100 billion in a calendar year and we have met our insurer deductible under the Terrorism Risk Insurance Act,
     we shall not be liable for the payment of any portion of the amount of such losses that exceeds $100 billion,
     and in such case insured losses up to that amount are subject to pro rata allocation in accordance with
     procedures established by the Secretary of the Treasury.




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                                                                                                   Liberty
                                                                                                   Mutual
                                                                                                   INSURANCE

                                 PREMIER PROPERTY PROTECTORTM
                                               POLICY COVER PAGE
  POLICY NUMBER:                                    DATEOF ISSUE:
  YAC-L9L-469720-029                                7/16/2019
  COMPANY PROVIDING INSURANCE:
  Employers Insurance Company of Wausau
                              ( hereafter referred to as we, us or our )

In consideration of this Policy's Provisions, Conditions, Stipulations, LIMITS OF LIABILITY and of premium charged,
we cover property, as described in this Policy, against all risks of direct physical loss or damage, except as
hereinafter excluded or limited, while located as described in this Policy.

We Insure:
 Northwest Hospital
                                   ( hereafter referred to as you or y o u r ( s ) )

The term of this Policy is from 7/1/2019 to 7/1/2020 at 12:01 a.m., local time. In the event of a claim, the Policy
period is measured by local time at the location where the direct physical loss or damage occurs.

PRODUCER NAME AND OFFICE

PARKER SMITH & FEEK INC
2233 112TH AVENE,
BELLEVUE, WA 98004

Your policy is issued by a stock insurance company subsidiary of the Liberty Mutual Holding Company Inc., a
Massachusetts mutual holding company. The named insured first named in the Declarations is a member of Liberty
Mutual Holding Company Inc.

As a member of Liberty Mutual Holding Company Inc., the named insured first named is entitled, among other
things, to vote either in person or by proxy at the annual meeting or special meetings of said company. The Annual
Meeting of Liberty Mutual Holding Company Inc. is at its offices located at 175 Berkeley Street, Boston,
Massachusetts, on the second Wednesday in April each year at ten o'clock in the morning. Members of Liberty
Mutual Holding Company Inc. may request a copy of the company's annual financiai statements, which are posted
on Liberty Mutual's website at www.libertymutual.com or by writing to Liberty Mutual Holding Company Inc.,
175 Berkeley Street, Boston, Massachusetts, 02116, Attention; Corporate Secretary.

You may be eligible to participate In the distribution of surplus funds of the company through any dividends that
may be declared for this policy. A declaration or payment of dividends is not guaranteed. The amount of any
dividends that may be declared shall be to the extent, and upon the conditions fixed and determined by the Board
of Directors and in compliance with any laws that apply.

IN WITNESS WHEREOF, the company has caused this Policy to be executed and attested, and, if required by
state law, this Policy shall not be valid unless countersigned by a duly authorized representative of the company.




        President
                                                                                       Secretary


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                                    SECTION I - DECLARATIONS

A. FIRST NAMED INSURED AND MAILING ADDRESS

   Northwest Hospital and any subsidiary, and the interest of Northwest Hospital in any partnership or joint venture
   in which Northwest Hospital has management control, ownership, or is obligated to insure, as now constituted
   or hereafter Is acquired, as the respective interest of each may appear; all hereafter referred to as you or yours,
   including legal representatives.

   When any Insured described above is a party to a written contract or agreement on file that requires a legal
   entity to be identified as an additional insured under this Policy, this Policy includes the legal entity as an
   additional insured, as its interest may appear, for physical damage to covered property which is the subject of
   the written contract or agreement on file, before any loss occurs; and does not provide any TIME ELEMENT
   Coverage to the legal entity, except as provided under LEASEHOLD INTEREST of this Policy or as specifically
   endorsed to the Policy.

   Compliance and Risk Services
   Box 354964; 4300 Roosevelt Way NE
   Seattle, WA 98105-4964

B. POLICYPERIOD

   The term of this Policy is from July 1, 2019 to July 1, 2020 at 12:01 a.m., local time. In the event of a claim, the
   Policy period is measured by local time at the location where the direct physical loss or damage occurs.

C. INSURING AGREEMENT

   In consideration of this Policy's Provisions, Conditions, Stipulations, LIMITS OF LIABILITY and of premium
   charged, we cover property, as described in this Policy, against all risks of direct physical loss or damage,
   except as hereinafter excluded or limited, while located as described in this Policy.

D. PREMIUM

   This Policy is issued in consideration of the following initial premium inclusive of any premium shown on
   endorsements which are part of the Policy at the time of Issue.

                                                                               $354,360
     Policy Premium (Excluding premium for "certified act(s) of
     terrorism" under the Terrorism Risk Insurance Act (TRIA), as
     amended):

     Policy Premium for "certified act(s) of terrorism" under the              Rejected
     Terrorism Risk Insurance Act (TRIA), as amended:


        •   Policy Premium for Fire Following Acts of Terrorism (In
                                                                               $19,640
            States where required)

     State or Municipal Taxes, Surcharges and Other Miscellaneous
                                                                               $0
     Charges: (See Stale or Municipal Taxes, Surcharges and Other
     Miscellaneous Charges summary shown below)

     Tota! Policy Premium/Other Charges for Above Policy Period:               $374,000

     Policy Premium will be billed annual.


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      The Deposit Premium/Other Charges is:
                                                                         $374,000


E. PREMIUM PAYABLE

    The First Named Insured pays the premium under this Policy, and any return ofthe paid premium accruing
    under this Policy will be paid to the account of the First Named I nsured.

    Premiums wil! be paid in the currency designated in paragraph I. CURRENCY.




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F. COVERED LOCAT!ON(S)

    This Policy applies at a location(s):

    1. Listed on a SCHEDULE on file with us;

    2. Listed on the SCHEDULE attached to this Policy;

    3. Covered as a Miscellaneous Unnamed Location; or

    4. Covered under the terms and conditions ofthe NEWLY ACQUIRED LOCATIONS Coverage or ERRORS
       AND OMISSIONS Coverage.

G. TERRITORY


    Coverage under this Policy applies to covered property within the continental United States of America,
    Hawaii and Puerto Rico.




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H. JURISDICTION

     The validity and interpretation of this Policy shall be governed by and construed in accordance with the laws of
     the State of New York.

     Any disputes arising hereunder will be exclusively subject to a State or Federal jurisdiction within the United
     States of America.

I.   CURRENCY

     All amounts, including deductibles and LIMITS OF LIABILITY, indicated in this Policy are In U.S. Dollars unless
     otherwise indicated by the three-letter currency designator as defined in Table A.l Currency and Funds code
     list, International Standards Organization (ISO) 4217, edition effective at inception of this Policy.

J.   DEFINED WORDS

     Words in bold face type have special meanings in this Policy and are defined in the DEFINITIONS section of
     this Policy. These definitions apply to this entire Policy and to any endorsements to it. Definitions that apply to
     individual sections or paragraphs are italicized and defined in the applicable sections or paragraphs.

K. LIMITS OF LIABILITY

     When a POLICY LIMIT OF LIABILITY is specified in the LIMITS OF LIABILITY Table in the Declarations,
     our maximum LIMIT OF LIABILITY in an occurrence, including any insured TIME ELEMENT loss, will not exceed
     the stated POLICY LIMIT OF LIABILITY.

     1.   When a PROPERTY DAMAGE and TIME ELEMENT LIMIT OF LIABILITY is specified in the LIMITS OF
          LIABILITY Table in the Declarations, it will apply to all coverages provided throughout this Policy, unless a
          LIMIT OF LIABILITY or "NCP" (No Coverage Provided) is indicated.

          a.    When a LIMIT OF LIABILITY is specified in the LIMITS OF LIABILITY Table in the Declarations, such
                limit will be the maximum amount payable for such loss or damage and cannot be combined with any
                other LIMITOF LIABILITY.

          b.    If "NCP" is specified in the LIMITS OF LIABILITY, there is no coverage provided in this Policy.

     2.   LIMITS OF LIABILITY in an occurrence apply to the total loss or damage at all locations and for all
          coverages involved, including any insured TIME ELEMENT loss, subject to the following provisions:

          a.    When a LIMIT OF LIABILITY that applies in the aggregate during any Policy year is shown, our
                maximum amount payable will not exceed such LIMIT OF LIABILITY dunng any Policy year.

          b.    When a LIMIT OF LIABILITY applies to a location(s), specified property, DESCRIBED LOSSES or a
                specific coverage, the smallest applicable LIMIT OF LIABILITY will be the maximum amount payable.

          0.    Should an occurrence result in liability payable under more than one Policy issued to you by us, or by
                our subsidiaries, partners, or associated insurance companies, the maximum amount payable in the
                aggregate under all such policies will be the applicable LIMIT(S) OF LIABILITY indicated in this Policy.

          d.    When a LIMIT OF LIABILITY applies to TIME ELEMENT only, our maximum amount payable will not
                exceed such LIMIT OF LIABILITY per occurrence.

     3.   LIMITS OF LIABILITY specified below or elsewhere in this Policy do not increase and are part of and not
          in addition to the POLICY LIMIT OF LIABILITY or the PROPERTY DAMAGE and TIME ELEMENT LIMIT
          OF LIABILITY.

     4.   LIMITS OF LIABILITY apply per occurrence unless otherwise specified, including time and distance
          limits.




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                               LIMITS OF LIABILITY TABLE - PART ONE

                         COVERAGE                                      LIMITS OF LIABILITY AND TIME AND
                                                                               DISTANCE LIMITS


 POLICY LIMIT OF LIABILITY                                                                        $500,000,000
 TIME ELEMENT                                                                                     $161,914,009


 ACCOUNTS RECEIVABLE                                                                               $10,000,000


 ATTRACTION    PROPERTY                                                  1 statute miles from a covered location
                                                                             30 consecutive days, not to exceed
                                                                                                       $500,000


 BRANDS AND LABELS                                                                                  $1,000,000


 CIVIL OR MILITARY AUTHORITY                                             1 statute miles from a covered location
                                                                             90 consecutive days, not to exceed
                                                                                                    $10,000,000
 COMPUTER SYSTEMS NON PHYSICAL DAMAGE and DATA,                                                     $1,000,000
 PROGRAMS OR SOFTWARE, combined


 CONTINGENT TIME ELEMENT

    •   Direct Dependent Contingent Time Element Location(s):                                      $10,000,000
         Not Scheduled or on file with us

    •   Indirect Dependent Contingent Time Element                                                 $10,000,000
        Location(s):
         Not Scheduled or on file with us


 CONTROL OF DAMAGED GOODS                                                                             $500,000


 COURSE OF CONSTRUCTION                                                                            $25,000,000


 CRISIS MANAGEMENT                                                          30 consecutive days, not to exceed
                                                                                                   $1,000,000


 DEBRIS REMOVAL                                                                                    $25,000,000


 DECONTAMINATION COSTS                                                                              $2,500,000


 DEFERRED PAYMENTS                                                                                  $2,500,000




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 DELAY IN STARTUP                                                                                       $1,000,000


 DEMOLITION AND INCREASED COST OF CONSTRUCTION                                                         $50,000,000


 ERRORS AND OMISSIONS                                                                                  $15,000,000


 EXPEDITING EXPENSE                                                                                    $25,000,000


 EXTENDED PERIOD OF LIABILITY                                                                 365 consecutive days


 EXTRA EXPENSE                                                                                         $10,000,000


 FINE ARTS                                                                                              $2,500,000


 FIRE DEPARTMENT SERVICE CHARGES                                                                        $5,000,000


 IMPOUNDED WATER                                                                 30 consecutive days, not to exceed
                                                                                                        $1,000,000


 INGRESS/EGRESS                                                           1 statute miles from a covered location 90
                                                                                     consecutive days, not to exceed
                                                                                                        $10,000,000


 LAND AND WATER CLEANUP, REMOVAL AND DISPOSAL in                                                        $1,000,000
 the annual aggregate

 LEASEHOLD INTEREST                                                                                    $10,000,000


 MISCELLANEOUS PERSONAL PROPERTY                                                                       $10,000,000


 Miscellaneous Unnamed Locations                                                                       $10,000,000


 Mold, Mildew or Fungus directly resulting from a Covered Loss                                         $10,000,000

 NEWLY ACQUIRED LOCATIONS                                                        90 consecutive days, not to exceed
                                                                                                       $10,000,000


 OFF PREMISES INTERRUPTION OF SERVICES - PROPERTY                                                      $15,000,000
 DAMAGE and OFF PREMISES INTERRUPTION OF SERVICES
 - T I M E ELEMENT


 Ordinary Payroll                                                                             180 consecutive days




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 PROFESSIONAL FEES                                                                                   $500,000


 RADIOACTIVE CONTAMINATION                                                                         $5,000,000


 RENTAL INSURANCE                                                                                  $1,000,000


 RESEARCH AND DEVELOPMENT                                                                          $5,000,000


 SOFT COSTS                                                                                        $1,000,000


 TAX LIABILITY                                                                                        $25,000


 TRANSIT                                                                                           $2,500,000


 VALUABLE PAPERS AND RECORDS                                                                      $25,000,000



                                    LIMITS OF LIABILITY TABLE - PART TWO

                            COVERAGE                                     LIMITS OF LIABILITY AND TIME AND
                                                                                 DISTANCE LIMITS .


 EARTH MOVEMENT\n the annual aggregate                                                          $10,000,000

 except the following limits apply per occurrence and In the annual
 aggregate, and are part of and not in addition to the EARTH
 MOVEMENTanr\ua\ aggregate limit:

     •     Covered property situated in:

             Pacific NW Earth Movement Zone                                                     $10,000,000


 E/\RrH/WOVEyWEA/rSPRINKLER LEAKAGE                                                                Included


 EQUIPMENT BREAKDOWN

 PROPERTY DAMAGE                                                                               $100,000,000

 TIME ELEMENT                                                                                  $100,000,000

 except:

     The following limits are part of and not in addition to the
     EQUIPMENT BREAKDOWN limits specified above:

     •     Ammonia Contamination                                                                 $1,000,000


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       •   CONTINGENT TIME ELEMENT                                                                    $1,000,000

       •   Spoilage Damage                                                                            $5,000,000


 FLOOD in the annual aggregate                                                                     $100,000,000

 except the foiiowing limits apply per occurrence and in the annual
 aggregate, and are part of and not in addition to the FLOOD
 annual aggregate limit:

       •   Covered property at locations situated in:

              Flood Hazard - High                                                                     $2,500,000


 NAMED STORM                                                                                             Included


                                       ENDORSEMENT LIMITS OF LIABILITY


  Endorsement Number                    Endorsement Name                        LIMITS OF LIABILITY

       CNP 90 06 01 17        Disclosure Pursuant to Terrorism Risk                    Rejected
                                          Insurance Act

        PY 04 04 01 17              Exclusion of Certified Acts of
                                             Terrorism

        PY03 11 01 17                 Research Animals Endt                   $5,000,000, no more than
                                                                                  $5,000 per animal



 L.    CANCELLATION TIME SPECIFICATIONS

 Cancellation for Nonpayment of Premium                                                            Ten (10) days


 Cancellation for All Reasons Other Than                                                                 30 days
 Nonpayment of Premium


M. DEDUCTIBLES

      Subject to the Deductible General Provisions stated below, we will not pay unless a covered loss, including
      any insured TIME ELEMENT loss, exceeds the deductible(s) specified below. We will then pay the amount of
      covered loss in excess of the deductible, up to the applicable LIMIT OF LIABILITY.

      Deductible General Provisions

      We will be liable only if you sustain a covered loss, including any insured TIME ELEMENT loss, in a single
      occurrence greater than the applicable deductible specified. When this Policy insures more than one (1)
      location, the deductible(s) will apply against the total loss covered by this Policy in an occurrence unless
      otherwise stated.



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    1.   Unless otherwise stated, if two or more deductibles apply to an occurrence, the total deductible will not
         exceed the largest applicable deductible, except as follows:

         a.    When a separate PROPERTY DAMAGE and TIME ELEMENT deductible apply, each will be applied
               separately.

         b.    If there are multiple locations involved in an occurrence where two or more deductibles apply toa location
               in an occurrence, the largest deductible applying to each location will be applied separately to each such
               location, regardless of the number of locations involved in the occurrence.


         c.    Unless specified otherwise, if deductibles are specified for a location, the largest deductible
               applicable will be applied to that location regardless of the number of locations involved in the
               occurrence.

         d.    Equipment Breakdown: With regard to Equipment Breakdown coverage, if one or more deductible
               amounts are shown below, each will be applied separately.

         e.    The stated EARTH MOVEMENT<:!ie6ucm\e will be applied to EARTH MOVEMENT]oss. The stated
               FLOOD deductible will be applied to FLOOD loss. The stated NAMED STORM deductible will be
               applied to NAMED STORM \oss. Provisions l.a. and 1.b. above will also be applied to each.

    2.   When a percent deductible is specified, whether separate or combined, the deductibie amount will be
         determined as follows:

         a.    PROPERTY DAMAGE: The percentage of the total reported values on file with us for the covered
               property at the corresponding location(s) (including sub-locations) where the direct physical loss
               or damage occurred; plus

         b.    TIME ELEMENT; The percentage of the full TIME ELEMENT values that would have been earned
               in the 12-mDnth period following the occurrence, had no loss occurred, by use of the facilities at
               the location where the direct physical loss or damage occurred, plus that proportion ofthe full TIME
               ELEMENT values at all other locations where TIME ELEMENT loss ensues that was directly
               affected by use of such facilities and that would have been earned in the 12-month period following
               the occurrence.

         c.    Equipment Breakdown; The percentage of the gross amount of loss, damage or expense (prior any
               deductible) insured under the applicable coverage. If the dollar amount of such percentage is less
               than the indicated minimum deductible, the minimum deductible will be the applicable deductible.

    3.   When a minimum deductible is shown, the minimum deductible is the sum of:

         a.    The specific location deductible for each covered location where the amount of physical loss or
               damage exceeds the specific location deductible; and

         b.    The amount of physical loss or damage for each covered location where the amount of physical loss
               or damage is less than the specific location deductible.

   4.    When an average daily value deductible is provided, this deductible will be determined as follows;

         a.    The total amount of TIME ELEMENT loss applicable for the entire location where the direct physical
               loss or damage happens will be included.

         b.    Divide the result in Paragraph a. by the number of days the business would have been open during the
               PERIOD OF LIABILITY. The result is the average daily value.


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         0.    Multiply the average daily value in Paragraph b. by the number of days specified in the DEDUCTIBLE
               TABLE below.

         If more than one (1) location Is included in the valuation of the loss, the average daily value will be the
         combined value of all affected locations.

    5.   When a per unit deductible is specified, the following shall be considered a separate unit of insurance:

         a.    Each separate building, the contents of each separate building and covered property in each yard at
               that covered location.

         b.    TIME ELEMENT loss as applicable, including all other locations where TIME ELEMENT loss ensues
               as provided by this Policy.

    6.   When a time deductible is shown, we will not be liable for any loss under that coverage that occurs during
         that specified time period immediately following the direct physical loss or damage. If a time deductible is
         shown in days, each day shall mean twenty four (24) consecutive hours.

   7.    When a deductible is shown in the Declarations for a NAMED STORM, the following applies:

         a.    All direct physical loss or damage to covered property including TIME ELEMENT loss caused by or
               resulting from a NAMED STORM will be subject to the deductible obtained by calculating all of the
               following:

               (1) The sum of ail applicable percentage deductibles calculated as described in Deductible General
                   Provisions Item 2. above, subject to any applicable minimums or maximums; and

               (2) Any other applicable deductible amounts.



                                          DEDUCTIBLE TABLE - PART ONE

                               Coverage                                      Deductible Percentage / Amounts
 Policy Deductible (except as otherwise indicated)                                                          $100,000


 OFF PREMISES INTERRUPTION OF SERVICES -                                                                    $100,000
 PROPERTY DAMAGE AND TIME ELEMENT


 TRANSIT                                                                                                    $100,000
 Fine Arts                                                                                                  $100,000




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                                          DEDUCTIBLE TABLE - PART TWO

                             Coverage                                      Deductible Percentage/Amounts


 EARTH MOVEMENT                                                                                   2% subject to
                                                                                             $500,000 minimum

     except:
     •   Covered property situated in:

               Pacific NW Earth Movement Zone                                                     2% subject to
                                                                                             $500,000 minimum


 EARTH MOVEMENT SPR\[^KLER LEAKAGE                                                                    $100,000


 EQUIPMENT BREAKDOWN

 PROPERTY DAMAGE                                                                                      $100,000

 TIME ELEMENT                                                                                         $100,000

     •   Spoilage Damage                                                                              $100,000

     •   Ammonia Contamination                                                                        $100,000


 FLOOD                                                                                                $100,000

     except:

     •   Covered property at locations situated in:
                                                                                        $500,000 Real Property
            Flood Hazard - High                                                      $500,000 Personal Property
                                                                                                $100,000 Other


 NAMED STORM                                                                                          $100,000



                                   OCCURRENCE TIME SPECIFICATIONS

 EARTH MOVEMENT                                                                          continuous 168 hours


 NAMED STORM                                                                              continuous 72 hours




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N. QUALIFYING PERIOD(S)

   A qualifying period applies for the coverages shown In the Table below. Qualifying period is the period of time
   that must be exceeded for coverage to apply. Once the qualifying period has been exceeded, coverage applies
   from the initial event of loss.

                                         QUALIFYING PERIOD TABLE

                               Coverage                                           QUALIFYING PERIOD


 COMPUTER SYSTEMS NON PHYSICAL DAMAGE and DATA,                                          24 hours
 PROGRAMS OR SOFTWARE, combined

 CRISIS MANAGEMENT                                                                       24 hours

 OFF PREMISES INTERRUPTION OF SERVICES - PROPERTY                                        24 hours
 DAMAGE AND TIME ELEMENT




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                                   SECTION II - PROPERTY DAMAGE

A. COVERED PROPERTY

    1.   We cover your insurable interest in the following types of property that are located at or within one-thousand
         (1,000) feet of a covered location, unless otherwise excluded:

         a.    Real Property, including          new    buildings,   structures    and   additions   In   the   COURSE     OF
               CONSTRUCTION.

         b.    Personal Property, including personal property of others.

               Personal property of others are tangible things that you do not own, otherthan real property, that:

               (1) are sold by you and that y o u have agreed, prior to loss, to insure for the account of the purchaser
                   during delivery;

               (2) you have agreed in writing prior to any loss or damage to provide coverage;

               (3) are in your care, custody or control;

               (4) you have an insurable interest In, or an obligation to provide coverage;

               (5) you are legally liable for;

               (6) are improvements and betterments consisting of fixtures, alterations, installation or additions
                   comprising part of a building not owned by you and acquired or made at your expense which
                   you cannot legally move, but only to the extent of your insurable interest therein; or

               (7) are personal property (other than vehicles) of your employees and officers.

    2.   We also cover the interest of contractors and subcontractors in covered property during construction at or
         within one-thousand (1.000) feet of a covered location to the extentof your legal liability for direct physical
         loss or damage to such property. Such interest of contractors and subcontractors is limited to the property
         for which they have been hired to perform work and such interest will not extend to any TIME ELEMENT
         coverage provided under this Policy.

B. PROPERTY NOT COVERED

    We do not cover the following types of property:

    1.   Aircraft, except when unfueled and manufactured by you;

    2.   Animals, standing timber including undisturbed natural wooded areas, or growing crops;

    3.   Bridges or tunnels, however pedestrian walkways connecting buildings are covered;

    4.   Caves, caverns, mines of any type, or any property contained within them;

    5.   Contraband or property in the course of illegal transportation or trade;

    6.   Currency, money, negotiable and non-negotiable Instruments, notes or securities;

    7.   Dams, dikes, levees, docks, wharfs, piers or bulkheads;




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     8.   Electronic data, computer programs or software, except when they are stock in process, finished stock
          manufactured by you, raw materials, supplies, other merchandise not manufactured by you or as provided
          in this Policy;

     9.   Land and any substance in or on land except this exclusion does not apply to land improvements;

     10. Land improvements at a golf course;

     11. Overhead transmission and distribution systems located more than one-thousand (1,000) feet away from a
         covered location;

     12. Personal property of others that is in the care, custody or control of you or your affiliates for which you are
         acting as a warehouseman, bailee for hire, or carrier for hire.

     13. Precious metals or precious stones, except when used in industrial or service operations;

     14. Property in transit, except as otherwise provided by this Policy;

     15. Property more specifically insured, except for any excess over any LIMITS OF LIABILITY of such more
         specific insurance;

     16. Property sold by you under conditional sale, trust agreement, installment plan or other deferred payment
         plan after delivery to your customers, except as provided by the DEFERRED PAYMENTS coverage of this
         Policy;

     17. Spacecraft, satellites, associated launch vehicles and any property contained therein;

     18. Vehicles otherwise insured for physical loss or damage;

     19. Water except this exclusion does not apply to water that is contained within any enclosed tank, piping
         system or any other processing equipment; or

     20. Watercraft, except watercraft you manufacture and are part of your inventory while being stored un-fueled
         and on dry land at a covered location.

C.   EXCLUSIONS

     The following exclusions apply unless otherwise stated In this Policy;

     1.   We do not cover:

          a.    Indirect or remote loss or damage;

          b.    Interruption of business, except to the extent provided by this Policy;

          c.    Loss of market or loss of use;

          d.    Loss or damage or deterioration arising from any delay;

          e.    Mysterious disappearance, loss or shortage disclosed on taking inventory, or any unexplained loss;

          f.    Loss or damage from enforcement of any law or ordinance:

                (1) Regulating the construction, repair, replacement, use or removal, including debris removal, of any
                    property; or
                (2) Requiring the demolition of any property, including the cost in removing its debris;




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               except as provided by the DECONTAMINATION COSTS and DEMOLITION AND INCREASED COST
               OF CONSTRUCTION coverages of this Policy;

         g.    Loss resulting from the voluntary parting with title or possession of property if induced by any fraudulent
               act or by false pretense; or

         h.    Loss or damage caused by or resulting from freezing, disease or drought to landscape gardening,
               including plants, trees and shrubs.

    2.   We do not cover physical loss or damage directly or indirectly caused by or resulting from any of the
         following regardless of any other cause or event, whether or not insured under this Policy, contributing to
         the loss concurrently or in any other sequence:

         a.    Terrorism, including action in hindering or defending against an actual or expected incident of
               terrorism, but this exclusion applies only when one of the following are attributed to an incident of
               terrorism:

               (1) The terrorism is carried out by means of the dispersal or application of radioactive material, or
                   through the use ofa nuclear weapon or device that involves or produces a nuclear reaction, nuclear
                   radiation or radioactive contamination; or

               (2) Radioactive material is released, and it appears that one purpose of terrorism was to release such
                   material; or

               (3) The terrorism is carried out by means of the dispersal or application of pathogenic or poisonous
                   biological or chemical materials; or

               (4) Pathogenic or poisonous biological or chemical materials are released, and it appears that one
                   purpose ofthe terrorism was to release such materials; or

               (5) Loss or damage to property located outside of the United States, unless there is a law in effect in
                   the jurisdiction where the loss or damage occurs that expressly prohibits this exclusion; or

               (6) The total of all damage to property, whether covered by this Policy or othen^/ise, exceeds
                   $25,000,000. In determining whether the $25,000,000 threshold is exceeded, we will include all
                   insured damage sustained by property of all persons and entities affected by the terrorism and
                   business interruption (TIME ELEMENT) losses sustained by owners or occupants of the damaged
                   property. For the purpose of this provision, insured damage means damage that is covered by any
                   insurance plus damage that would be covered by any insurance but for the application of any
                   terrorism exclusions. Multiple incidents of terrorism which occur within a 72-hour period and
                   appear to be carried out in concert or to have a related purpose or common leadership will be
                   deemed to be one (1) incident, for the purpose of determining whether the threshold is exceeded.

                   With respect to this item 2.a.(6), the immediately preceding paragraph describes the threshold used
                   to measure the magnitude of an incident of terrorism and the circumstances in which the threshold
                   will apply, for the purpose of determining whether this exclusion will apply to that incident. When
                   the exclusion applies to an incident of terrorism, there is no coverage In this Policy.

               However, this exclusion does not apply:

              (1) If terrorism results in fire, in which case we cover the direct physical loss or damage caused by
                  the fire bul only if there is a statute in effect in the jurisdiction where the loss or damage occurs that
                  expressly prohibits the exclusion of fire losses resulting from terrorism. This exception is subject
                  to all applicable Policy provisions including the LIMIT OF LIABILITY on the affected property. Such
                  coverage for ensuing loss applies only to direct loss or damage by fire to covered property. This
                  coverage does not apply to insurance provided under any TIME ELEMENT coverages, or to fire
                  legal liability coverage; or



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              (2) While the United States Terrorism Risk Insurance Act (TRIA), as amended, is in effect:

                       (a) To loss or damage caused by a "Certified Act of Terrorism" provided that you elected
                           coverage for such, and only to the extent provided by the terms and conditions of the
                           applicable CERTIFIED ACTS OF TERRORISM AND DISCLOSURE PURSUANT TO
                           TERRORISM RISK INSURANCE ACT endorsement; or

                       (b) To loss or damage caused by terrorism that would have been certified as an "act of
                           terrorism", but was not certified solely because the total of all property and casualty
                           insurance losses resulting from the act failed to exceed the $5,000,000 "certified act of
                           terrorism" threshold specified under TRIA.

        b.    Nuclear reaction or nuclear radiation or radioactive contamination. However, this exclusion does not
              apply if:

              (1) The RADIOACTIVE CONTAMINATION PROPERTY DAMAGE COVERAGE AND LIMITATION
                  applies but only to the extent provided; or

              (2) Fire directly results from the nuclear reaction, nuclear radiation, or radioactive contamination, in
                  which case we cover the physical loss or damage caused by the fire but only if there is a statute in
                  effect in the jurisdiction where the loss or damage happens that expressly prohibits the exclusion
                  of fire losses resulting from nuclear reaction, radiation or contamination.

        c.    Hostile or wariike action in time of peace or war, including action in hindering, combating or defending
              against an actual, Impending or expected attack by any:

              (1) Government or sovereign power (dejure or de facto);

              (2) Military, naval or air force; or

              (3) Agent or authority of any party specified in (1) or (2) above.

        d.    Discharge, explosion or use of any nuclear device, weapon or material employing or involving nuclear
              fission, fusion or radioactive force, whether in time of peace or war and regardless of who commits the
              act.

        e.    The unlawful possession, use, release, discharge, dispersal or disposal of any chemical, biological,
              viral, radioactive or similar agents or matter, whether in time of peace or war and regardless of who
              commits the act.

        f.    Insurrection, rebellion, revolution, civil war, usurped power, or action taken by governmental authority
              in hindering, combating or defending against such an event.

        g.    Seizure or destruction under quarantine or custom regulation, or confiscation by order of any
              governmental or public authority.

        h.    Risks of contraband, or illegal transportation or trade.


        i.    Any criminal, fraudulent or dishonest act. including theft, committed alone or In collusion with others:

              (1) By you or any proprietor, partner, director, trustee, officer or employee of an Insured; or

              (2) By any proprietor, partner, director, trustee, or officer of any business or entity (other than a
                  common carrier) engaged by you to do anything in connection with property insured under this
                  Policy.




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               However, we do cover direct physical loss or damage intentionally caused by your employee or any
               individual specified in (2) above provided that said individuals acted without your knowledge.

         j.    Lack of the following services:

               (1) Incoming electricity, fuel, waler, gas, steam or refrigerant;

               (2) Outgoing sewerage; or

               (3) Incoming or outgoing voice, data or video,

               all when caused by an event away from the covered location except as provided in the ON/OFF
               PREMISES INTERRUPTION OF SERVICES coverages of this Policy. But, ifthe lack of such a service
               causes physical loss or damage of the type insured by this Policy at a covered location, then only that
               resulting damage is covered.

    3.   We do not cover the following, but, if direct physical loss or damage not excluded by this Policy results,
         then we cover that resulting damage only:

         a.    Faulty workmanship, material, construction or design.

         b.    Loss or damage to stock or material attributable to manufacturing or processing operations while such
               stock or material is being processed, manufactured, tested, or otherwise worked on.

         c.    Deterioration, depletion, rust, corrosion or erosion, wear and tear, inherent vice or latent defect.

         d.    Settling, cracking, shrinking, bulging, or expansion of:

               (1) Foundations (including any pedestal, pad, platform or other property supporting machinery)

               (2) Floors

               (3) Pavements

               (4) Walls, including retaining walls

               (5) Ceilings

               (6) Roofs

         e.    Extremes or changes in temperature (except to machinery or equipment) or changes in relative
               humidity, all whether atmospheric or not.

         f.    Cumulative effects of smog, smoke, vapor, liquid and dust.

         g.    Insect, animal or vermin damage.

         h. Loss or damage to the interior portion of buildings under construction caused by rain, sleet or snow,
            whether or not driven by wind, when the installation of the roof, walls or windows of such buildings has
            not been completed.
    4.   We do not cover the following unless directly resulting from a covered loss;

         a.    Contamination, and any cost due to contamination including the inability to use or occupy property
               or any cost of making property safe or suitable for use or occupancy, except as provided elsewhere in
               this Policy.

         b.    Shrinkage.



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         c.    Changes in color, flavor, texture or finish.

         d.    Remediation, change, correction, repair or assessment of any date or time recognition in any electronic
               data processing equipment or media.

         e.    Failure of electronic data processing equipment or media to correctly recognize, interpret, calculate,
               compare, differentiate, sequence, access or process data Involving one or more dates or times.

D. PROPERTY DAMAGE COVERAGES AND LIMITATIONS

    We provide the following PROPERTY DAMAGE COVERAGES AND LIMITATIONS for a covered loss as
    specified in the LIMITS OF LIABILITY Table In the Declarations, subjectto the terms, conditions and exclusions
    of this Policy.

    1.   ACCOUNTS RECEIVABLE

         a.    We cover the following resulting from a covered loss to accounts receivable records located while
               anywhere within the Policy territory, including while in transit:

               (1) Any shortage in the collection of accounts receivable.

               (2) The interest charges on any loan to offset such impaired collection pending repayment of such
                   uncollectible sum. Unearned interest and service charges on deferred payment accounts and
                   normal credit losses on bad debts will be deducted in determining the amount recoverable.

               (3) The reasonable and necessary cost incurred for material and time required to re-establish or
                   reconstruct accounts receivable records excluding any costs covered by any other insurance.

               (4) Any other necessary and reasonable costs incurred to reduce the loss, to the extent the losses are
                   reduced.

         b.    Accounts receivable records include records stored as electronic data. In the event of loss, you will:

               (1) Use all reasonable efforts, including legal action, if necessary, to effect collection of outstanding
                   accounts receivable.

               (2) Reduce the loss by use of any property or service owned or controlled by you or obtainable from
                   other sources.

               (3) Reconstruct, if possible, accounts receivable records so that no shortage is sustained.

         c.    The settlement of loss will be made within ninety (90) days from the date of the covered loss. All
               amounts recovered by you on outstanding accounts receivable on the date of loss will belong and be
               paid to us up to the amount of loss paid by us. All recoveries exceeding the amount paid will belong to
               you.

         d.    We do not cover shortage resulting from:

               (1} Bookkeeping, accounting or billing errors or omissions; or
               (2) Alteration, falsification, manipulation; or

               (3) Concealment, destruction or disposal, of accounts receivable records committed to conceal the
                   wrongful giving, taking, obtaining or withholding of money, securities or other property; but only to
                   the extent of such wrongful giving, taking, obtaining or withholding.

   2.    BRANDS AND LABELS




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         In the event of a covered loss to your branded or labeled merchandise, and we elect to take all or any
         part of that property, you may at our expense:

         a.    Stamp "salvage" on the property or its containers; or

         b.    Remove or obliterate the brands or labels,

         if doing so will not damage the property.

         You must re-label such property or its containers to be In compliance with any applicable law.

    3. CONTROL OF DAMAGED GOODS
         We grant control to you of physically damaged covered property consisting of finished goods manufactured
         by or for you as follows:

         a.    You will have full rights to the possession and control of damaged property in the event of physical
               damage to your covered property provided proper testing is done to show which property is
               physically damaged.

         b.    Using reasonable judgment, you will decide if the physically damaged covered property           can be
               reprocessed or sold.

         0.    Property you determine to be unfit for reprocessing or selling will not be sold or disposed of except by
               you, or with your consent.

               Any salvage proceeds received will reduce the recoverable loss.

    4.   COURSE OF CONSTRUCTION

         a.    We cover direct physical loss or damage at a covered location to buildings or structures that you begin
               to construct during the Policy period.


         b. We also cover materials, supplies, machinery, equipmeni and fixtures:

               (1) Al a covered location and intended for installation in the new construction;

               (2) After such property has been delivered to you or your contractor, and while such property is
                   located offsite at a storage location; or

               (3) After such property has been delivered to you or your contractor, and while such property is in
                   transit from a storage location to another storage location or to a covered location.

         c.    This coverage only applies lo the construction of covered property you intend to own or occupy
               once constructed.

         d.    This coverage does nol apply to any property owned or rented by any contraclor or subcontractor.

    5.   DATA, PROGRAMS OR SOFTWARE

         a.    We cover direct physical loss or damage to your electronic data, computer programs or software,
               including direct physical loss or damage caused by the malicious introduction of a machine code or
               instruction, while anywhere within this Policy's territory, including:

               (1) The cost of the following reasonable and necessary actions taken by you provided such actions
                   are taken due to aclual insured physical loss or damage to electronic data, computer programs or
                   software:


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                   (a) Actions to temporarily protect and preserve insured electronic data, computer programs or
                       software.

                   (b) Actions taken for the temporary repair of insured physical loss or damage to electronic data,
                       compuier programs or software.

                   (c) Actions taken to expedite the permanent repair or replacement of such damaged property.

               (2) Your reasonable and necessary cosl to temporarily protect or preserve covered electronic data,
                   computer programs or software against immediately impending direct physical loss or damage to
                   electronic data, computer programs or software. In the event that there is no direct physical loss
                   or damage, the costs covered under this item will be subject to the deductible that would have
                   applied had there been such direct physical loss or damage.

         b.    With respect to destruction, distortion or corruption caused by the malicious introduction of machine
               code or instruction, this PROPERTY DAMAGE COVERAGE AND LIMITATION will apply only when
               the qualifying period specified in the Qualifying Period Table in the Declarations is exceeded.

         c.    Any amounts recoverable under this PROPERTY DAMAGE COVERAGE AND LIMITATION are
               excluded from coverage elsewhere in this Policy.

         d.    This PROPERTY DAMAGE C O V E R A G E AND LIMITATION excludes loss or damage to electronic
               data, computer programs or software when they are stock in process, finished stock manufactured by
               you, raw materials, supplies or other merchandise not manufactured by you.

         e.    With respect to this PROPERTY DAMAGE COVERAGE AND LIMITATION, the following additional
               exclusions apply:

               (1) Errors or omissions in processing or copying; and

               (2) Loss or damage to electronic data, computer programs or software from errors or omissions in
                   programming or machine instructions.


    6.   DEBRIS REMOVAL

         a.    We cover your reasonable and necessary costs to remove debris from a covered location that remains
               as a direct result of a covered loss.

         b.    This PROPERTY DAMAGE COVERAGE AND LIMITATION covers the costs of removal of
               contaminated covered property or the contaminant in or on covered property only if the
               contamination, due to the actual presence of contaminant(s), results from a covered loss.

         c.    This PROPERTY DAMAGE COVERAGE AND LIMITATION does not cover the costs of removal of:

               (1) Contaminated uninsured property; or

               (2) The contaminant in or on uninsured property,

               whether or not the contamination results from a covered loss.

    7.   DECONTAMINATION COSTS

         a.    We cover your decontamination costs directly resulting from a covered loss at a covered location
               subject to the following conditions;


               (1) These decontamination costs must be a direct result of enforcement ofthe law or ordinance that


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                   is in force at the time of the loss regulating decontamination; and

               (2) The amount we cover includes the Increased cost to remove your contaminated covered
                   property to comply with the law or ordinance.

         b.    We do not cover costs required for removing contaminated uninsured property or the contaminant
               therein or thereon, whether or not the contamination resulted from a covered loss.

    8.   DEFENSE FOR PERSONAL PROPERTY OF OTHERS

         a.    We cover the cost to defend that part of any suit against you alleging direct physical loss or damage of
               the type insured by this Policy to personal property of others of the type insured by this Policy, in your
               custody, and while at a covered location. We may without prejudice undertake any investigation,
               negotiation or settlement of any such claim or suil as we deem appropriate.

         b.    We do not cover the cost to defend any suit against you when you are acting as a warehouseman,
               bailee for hire, or carrier for hire.

    9.   DEFERRED PAYMENTS

         a.    We cover direct physical loss or damage lo personal property of the type insured by this Policy sold
               by you under a conditional saie or trust agreement or any installment or deferred payment plan and
               after such property has been delivered to the buyer. Coverage is limited to the unpaid balance for such
               property. In the event of loss lo property sold under deferred payment plans, you will use all reasonable
               efforts, including legal action, if necessary, lo effect collection of outstanding amounts due or to regain
               possession of the property.

         b.    We do not cover loss:

               (1) Pertaining to products recalled including your costs to recall, test or to advertise such
                   recall.

               (2) From theft or conversion by the buyer of the property after the buyer has taken
                   possession of such property.

               (3) To the extent the buyer continues payments.

               (4) Not within this Policy's territory.

    10. DEMOLITION AND INCREASED COST OF CONSTRUCTION

         a.    We cover your reasonable and necessary costs that are described in Item b. below, actually incurred
               to satisfy the minimum requirements of the enforcement of any law or ordinance regulating the
               demolition, construction, repair, replacement or use of covered property consisting of buildings,
               structures, machinery and equipment at a covered location, provided:

               (1) Such law or ordinance is in force on the date of the covered loss;

               (2) Its enforcement is a direct resull of a covered loss; and

               (3) The buildings, structures, machinery and equipment were in compliance with such law or
                   ordinance, regardless of any lack of enforcement, prior to the covered loss.

         b.    This PROPERTY DAMAGE COVERAGE AND LIMITATION, as respects the property insured in Item
               a. above, covers:

               (1) The cost incurred to demolish, repair or rebuild the physically damaged portion of such property
                   with materials and in a manner to satisfy such law or ordinance; and


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              (2) The cost incurred:

                  (a) To demolish the physically undamaged portion of such property insured; and

                  (b) To rebuild it with materials and in a manner to satisfy such law or ordinance,

                  when the demolition of the physically undamaged portion of such property is required to satisfy
                  such law or ordinance, as a result of a covered loss.

        c.    This PROPERTY DAMAGE COVERAGE AND LIMITATION excludes any costs incurred as a result of
              the enforcement of any law or ordinance regulating pollution.

        d.    The amount we cover for this PROPERTY DAMAGE COVERAGE AND LIMITATION at each covered
              location in any one (1) occurrence will not exceed the actual cost incurred in demolishing the
              physically damaged and undamaged portions ofthe property covered in item a. above plus:

              (1) If rebuilt on the same site, the aclual cost incurred in rebuilding there; or

              (2) If rebuilt on another site, the lesser of:

                  (a) The actual cost incurred in rebuilding on the other site, excluding the cost of land; or

                  (b) The cost that would have been incurred to rebuild on the same site.

    11. ERRORS AND OMISSIONS

        a.    If direct physical loss or damage is not covered under this Policy solely because of an error or
              unintentional omission made by you:

              (1) In the description of where covered property is physically located; or

              (2) To include any location;

                  (a) Owned, rented or leased by you on the effeclive date of this Policy; or

                  (b) Purchased, rented or leased by you during the term ofthe Policy; or

              (3) That resulls in termination of the coverage provided by this Policy, except for cancellation due lo
                  nonpayment of premium,

              we cover the amount we would have paid, including any TIME ELEMENT loss, had the error or
              omission not been made.

        b.    This coverage does not apply to the failure to report values, or the reporting of inaccurate values of
              covered property.


        c.    This PROPERTY DAMAGE COVERAGE AND LIMITATION does not apply if coverage is provided
              elsewhere in this Policy.

        d.    You must report such errors or unintentional omissions to us in writing as soon as they are discovered.

    12. EXPEDITING EXPENSE

       a.     We cover your reasonable and necessary cosls:

              (1) For the temporary repair of covered property from a covered loss; and


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              (2) To expedite the permanent repair or replacement of such damaged property.

        b.    This PROPERTY DAMAGE COVERAGE AND LIMITATION does not cover costs recoverable
              elsewhere in this Policy, including the cost of permanent repair or replacement of damaged property.

    13. FINE ARTS

        a.    We cover direct physical loss or damage to your fine arts while anywhere within this Policy's territory,
              including while in transit.

        b.    The following additional exclusions apply:

              We do not cover;

              (1) Loss or damage sustained from any repair, restoration, or retouching process;

              (2) Breakage of art glass windows, statuary, marble, glassware, bric-a-brac, porcelains, and similar
                  fragile articles, unless caused by fire, lightning, aircraft, theft and or attempted theft, windstorm,
                  EARTH MOVEMENT, FLOOD, explosion, vandalism, collision, derailment or overturn of
                  conveyance.

    14. FIRE DEPARTMENT SERVICE CHARGES

        We cover the reasonable and necessary:

        a.    Fire department firefighting charges imposed as a result of responding to a fire in, on or exposing the
              covered property.

        b.    Costs incurred by you to restore and recharge fire protection systems following a covered loss.


    15. LAND AND WATER CLEANUP, REMOVAL AND DISPOSAL

        a.    For uninsured property at a covered location consisting of land, water, or any other substance in or on
              land or water at a covered location, we cover your reasonable and necessary cost for the cleanup,
              removal and disposal of the actual presence of contaminant(s) from that property If the release,
              discharge or dispersal of such contamlnant(s) is a result of a covered loss.

        b.    This PROPERTY DAMAGE COVERAGE AND LIMITATION does not apply:

              (1) At any location insured for personal property only;

              (2) At any location, or to any property, covered under the NEWLY ACQUIRED LOCATIONS or
                  ERRORS AND OMISSIONS coverages provided by this Policy or at a Miscellaneous Unnamed
                  Location; or

              (3) If you fail to give us written notice within one hundred eighty (180) days after the loss.

    16. MISCELLANEOUS PERSONAL PROPERTY

       a.     We cover direct physical loss or damage, that occurs away from a covered location but within the
              Policy's territory, to personal property of the type covered under this Policy, which is:

              (1) Owned by you; or

              (2) Owned by others and in your care, custody and control, but only to the extent you are obligated to
                  insure it for direct physical loss or damage under the type of coverage provided under this Policy.

       b.     This PROPERTY DAMAGE COVERAGE AND LIMITATION excludes coverage that is provided


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              elsewhere in this Policy.

    17. NEWLY ACQUIRED LOCATIONS

        a. We cover physical loss or damage to property of the type insured from a loss of the type insured at any
           location you purchase, lease or rent after the inception date of this Policy.
        b. This PROPERTY DAMAGE COVERAGE AND LIMITATION applies;

              (1) From the date of purchase, lease or rental,

              (2) Until the first of the following occurs;

                  (a) The location is bound by us;

                  (b) Agreement is reached that the location will not be insured underthis Policy; or

                  (c) The time limit specified in the LIMITS OF LIABI LITY Table in the Declarations has been reached.
                      The time limit begins on the date of purchase, lease or rental.

    18. OFF PREMISES INTERRUPTION OF SERVICES - PROPERTY DAMAGE

        a.    We cover physical loss or damage to covered property at a covered location when such physical loss
              or damage results from:

              (1) The interruplion of incoming services consisting of electricity, gas, fuel, steam, water, refrigeration,
                  voice, data, video; or

              (2) The interruption of outgoing sewerage service,

              by reason of a loss of the type insured by this Policy at the facilities of the supplier of such service
              located within this Policy's territory, that immediately prevents in whole or in part the delivery of such
              usable service.

        b.    This PROPERTY DAMAGE COVERAGE AND LIMITATION will apply only when the interruplion
              exceeds the qualifying period specified in the Qualifying Period Table in the Declarations.

        c.    For purposes of this PROPERTY DAMAGE COVERAGE AND LIMITATION, the period of service
              interruption is the period starting with the time when an interruption of specified services occurs; and
              ending when the service could be wholly restored.

        d.    Additional General Provisions:

              (1) You will immediately notify the suppliers of services of any interruption of any such services.

              (2) We will not be liable if the interruption of such services is caused directly or indirectly by your failure
                  to comply with the terms and conditions of any contracts you have for the supply of such specified
                  services.


        e.    We do not cover loss or damage caused by or resulting from the use of services provided by or through
              a satellite.

       f.     Exclusion C.3.e. does not apply to this PROPERTY DAMAGE COVERAGE AND LIMITATION.



    19. PROFESSIONAL FEES



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        a.    We cover your reasonable costs for your employees or auditors, architects, accountants and
              engineers whom you hire to prepare and verify the details of a claim from a covered loss.

        b.    Professional fees covered under this PROPERTY DAMAGE COVERAGE AND LIMITATION, however,
              do not Include:

              (1) Any fees or expenses of attorneys;

              (2) Any fees or expenses of public adjusters, loss appraisers or any of their subsidiaries or associated
                  entities;

              (3) Fees based on a contingency; or

              (4) Fees of loss consultants who provide consultation on coverage or negotiate claims.

        0.    This PROPERTY DAMAGE COVERAGE AND LIMITATION is subject to the deductible that applies to
              the loss.

    20. PROTECTION AND PRESERVATION OF PROPERTY
        a.    We cover your reasonable and necessary costs to temporarily protect or preserve covered property
              provided such actions are necessary due to actual, or to prevent immediately impending threat of,
              physical loss or damage of the type covered by this Policy to such covered property.

        b.    This PROPERTY DAMAGE COVERAGE AND LIMITATION is subject to the deductible provisions that
              would have applied had the physical loss or damage happened.

    21. RADIOACTIVE CONTAMINATION

        a.    We cover radioactive contamination to property of the type Insured by this Policy from a covered
              loss.

              Radioactive contamination is:

              (1) Sudden and accidental radioactive contamination; or

              (2) Resultant radiation damage to covered property,

              provided that such radioactive contamination arises out of radioactive material at a covered location
              and is used as part of your business activities.

        b.    We do not cover radioactive contamination if;

              (1) The covered location contains:

                  (a) A nuclear reactor capable of sustaining nuclear fission in a self-supporting chain reaction; or

                  (b) Any new or used nuclear fuel intended for or used in such a nuclear reactor.

              (2) The contamination arises from radioactive material located away from a covered location.

   22. TAX LIABILITY

       We cover your increase in tax liability from a covered loss at a covered location if the tax treatment of:

       a.     The profit portion of a loss payment involving finished stock manufactured by you; and/or

        b.    The profit portion of a TIME ELEMENT loss payment;


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        is greater than the tax treatment of profits that would have been incurred had no loss happened.

    23. TEMPORARY REMOVAL OF PROPERTY

        a.    When covered property Is removed from a covered location for the purpose of being repaired or
              serviced or in order to avoid threatened physical loss or damage of the type insured by this Policy, we
              cover such property:

              (1) While at the premises to which such covered property has been moved; and

              (2) For direct physical loss or damage of the type insured by this Policy at the covered location from
                  which such covered property was removed.

        b.    This PROPERTY DAMAGE COVERAGE AND LIMITATION does not apply:

              (1) To covered property removed for normal storage, processing or preparation for sale or delivery;
                  or

              (2) If coverage is provided elsewhere in this Policy or by any other insurance policy.

    24. TRANSIT

        a.    We cover personal property not excluded elsewhere in this Policy while it is in transit within the
              Policy's territory:

              (1) Owned by you.

              (2) Shipped to customers under Free on Board (F.O.B) shipments, Free-Along-Side (F.A.S) shipments
                  and Returned shipments. Your contingent interest is admitted.

              (3) Of others in your actual or constructive custody to the extent of your interest or legal liability.

              (4) Of others sold by you and you agreed prior to the loss lo insure the personal property during
                  course of delivery including:

                  (a) When shipped by your contract service provider or by your contract manufacturer to you or to
                      your customer; or

                  (b) When shipped by your customer to you or to your contract service provider or to your contract
                      manufacturer.

        b.    This PROPERTY DAMAGE COVERAGE AND LIMITATION starts from the time the property leaves
              the original point of shipment for transit, and continues while in the due course of transit unlil delivered,
              subject to the following conditions:


              (1) Coverage on export shipments nol insured under ocean cargo policies ends when the property is
                  loaded on board overseas vessels or aircraft. Coverage on import shipments not insured under
                  ocean cargo policies begins after discharge from overseas vessels or aircraft.

              (2) If this Policy expires during the due course of Iransit, coverage is extended until the shipment is
                  delivered to its final destination.

        c.    We also cover:

              (1) General average and salvage charges on shipmenls covered while waterborne; and

              (2) Direct physical loss or damage caused by or resulting from:


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                  (a) Unintentional acceptance of fraudulent bills of lading, shipping or messenger receipts.

                  (b) Improper parties having gained possession of property through fraud or deceiL

        d.    Additional General Provisions;

              (1) This PROPERTY DAMAGE COVERAGE AND LIMITATION will not inure directly or indireclly to
                  the benefit of any carrier or bailee.

              (2) You have permission, without prejudicing this insurance, to accept:

                  (a) Ordinary bills of lading used by carriers;

                  (b) Released bills of lading;

                  (c) Undervalued bills of lading; and

                  (d) Shipping or messenger receipts.

              (3) You may waive subrogation against railroads under side track agreements.

              (4) Except as otherwise stated, you will not enter into any special agreement with carriers releasing
                  them from their common law or statutory liabilily.

        e.    As respects this PROPERTY DAMAGE COVERAGE AND LIMITATION:

              (1) The following additional exclusions apply;

                  This Policy excludes;

                  (a) Samples in the custody of salespeople or selling agents.

                  (b) Property Insured under import or export ocean marine insurance.

                  (c) Waterborne shipments, unless:

                      (i)   By inland water; or

                      (ii) By roll-on/roll-off ferries; or

                      (iii) By coastal shipments.

                  (d) Airborne shipments unless by regulariy scheduled passenger airiines or air freight carriers.


                  (e) Property of others, including your legal liability for it, hauled on vehicles owned, leased or
                      operated by you when acting as a common or contract carrier.

                  (f) Any transporting vehicle

                  (g) Property shipped between continents except by land or air within the Policy territory.

       f.     We will value property covered under this PROPERTY DAMAGE COVERAGE AND LIMITATION as
              follows:




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            (1) Property shipped to or for your account will be valued at actual invoice to you. Included in the
                value are accrued costs and charges legally due. Charges may Include your commission as selling
                agent.

            (2) Property sold by you and shipped to or for the purchaser's account will be valued at your selling
                invoice amount Prepaid or advanced freight costs are included.

            (3) Property not under invoice will be valued:

                 (a) For your property, according to the valuation provisions of this Policy applying al the place
                     from which the property is being transported; or

                 (b) For other property, at the actual cash value at the destination point on the date of loss, less
                     any charges saved which would have become due and payable upon arrival at destination.

    25. VALUABLE PAPERS AND RECORDS

        a. We cover physical loss or damage to your valuable papers and records from a covered loss at a
           covered location. We cover the value blank, plus the cost of copying from backup or from originals of
           a previous generation, and your reasonable and necessary costs to research, replace or restore the
           information lost or damaged thereon, except for electronic data and software. For electronic data
           and software, we cover the value of the blank media, and the cost of reproducing the electronic data
           and software from duplicates or originals of the previous generation of the data.

        b. This coverage does not apply to loss or damage lo property that cannot be repaired or restored with
           like kind or quality.




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                                        SECTION III - TIME ELEMENT

TIME ELEMENT loss as provided in the TIME ELEMENT COVERAGES and TIME ELEMENT COVERAGES AND
LIMITATIONS:

A.   Is subject to and part of the applicable LIMIT OF LIABILITY that applies to your direct physical loss or damage
     but in no event for more than any LIMIT OF LIABILITY that Is stated as applying to the specific TIME ELEMENT
     COVERAGE and/or TIME ELEMENT COVERAGES AND LIMITATIONS; and

B. Will not increase the POLICY LIMIT OF LIABILITY and is subject to the Policy provisions, including applicable
   exclusions and deductibles,

all as shown in this section and elsewhere in this Policy.

A. LOSS INSURED

     1.   We cover your actual loss sustained, as provided in the TIME ELEMENT COVERAGES and TIME
          ELEMENT COVERAGES AND LIMITATIONS, directly resulting from a loss ofthe type insured by this
          Policy;

          a.    To property described elsewhere In this Policy and not otherwise excluded by this Policy,

          b.    Used by you, or by others with whom you have a contract,

          c.    At a covered location or while in transit as provided by this Policy,

          d.    During the applicable PERIOD OF LIABILITY described in this section.

     2.   We cover TIME ELEMENT loss only to the extent it cannot be reduced through;

          a.    The use of any property or service owned or controlled by you;

          b.    The use of any property or service obtainable from other sources;

          c.    Working extra time or overtime; or

          d.    The use of inventory,

          all whether at a covered location or at any other location. When measuring the actual loss sustained, the
          combined operating results of all of your associated, affiliated or subsidiary companies will be considered
          in determining the TIME ELEMENT loss.

     3.   We cover your reasonable and necessary expenses to reduce the loss otherwise payable under this
          section of this Policy. The amount of those recoverable expenses will not exceed the amount by which the
          insured loss has been reduced.

     4.   In determining the insured TIME ELEMENT loss, we will consider the experience of the business before
          and after and the probable experience during the PERIOD OF LIABILITY. We will consider any increase or
          decrease in demand for your goods or services during the PERIOD OF LIABILITY, even if such increase
          or decrease is from the same evenl that caused the covered loss.

B. TIME ELEMENT           COVERAGES

     1.   GROSS EARNINGS

          a.    GROSS EARNINGS loss is the actual loss sustained by you due to the necessary interruption of
                your business during the PERIOD OF LIABILITY of the following:


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              Gross Earnings less all charges and expenses that do not necessarily continue during the interruption
              of production or suspension of business operations or services, plus all other earnings derived from the
              operation of the business.

              Ordinary payroll, including taxes and charges dependent on the payment of wages, for a period of
              time not to exceed the number of consecutive days as specified in the LIMITS OF LIABILITY in the
              Declarations table immediately following the interruplion of production or suspension of business
              operations or services, and only to the extent such payroll continues following the loss and would have
              been earned had no such interruption happened.

              However, if you reduce the daily loss payable under ordinary payroll, either by:

                        (1) providing gainful empioymenl for, or

                        (2) paying less than the normal salary rate to,

              all or part of its employees, then the number of consecutive days of ordinary payroll may be extended.
              However, this provision will not increase our total liability beyond the amount we would have been
              liable for ordinary payroll cosls without this provision.

              Ordinary payroll does not cover any portion of salaries or wages included in Gross Earnings.

        b. GROSS EARNINGS will be calculated as follows:

              (1) For manufacturing operations: the net sales value of production less the cost of all raw stock,
                  materials and supplies used in such production; or

              (2) For mercantile or non-manufacturing operations: the total net sales less the cost of merchandise
                  sold, materials and supplies consumed in the operations or services rendered by you.

              Any amounl payable al selling price will be considered to have been sold to your regular customers
              and will be credited against net sales.


        c.    In determining the amount we cover as the actual loss sustained, we will consider the continuation of
              only those charges and expenses that would have been earned had there been no interruption of
              production or suspension of business operations or services.

        d. If you would have operated at a deficit had no interruption of production or suspension of business
           operations or services occurred, the following applies;

              (1) For Gross Earnings, the extent to which charges and expenses would have been earned will be
                  determined by subtracting the operating deficits from the charges and expenses that necessarily
                  continue.

              (2) For ordinary payroll, the extent payroll would have been earned will be determined by
                  subtracting the excess, ifany, ofthe operating deficit over the fixed charges that need to continue
                  from such payroll.

        e. We cover TIME ELEMENT loss only to the extent that you are:

              (1) Wholly or partially prevented from producing goods or continuing business operations or services;

              (2) Unable to make up lost production within a reasonable period of time, not limiled to the period
                  during which production is interrupted;

              (3) Unable to continue your operations or services during the PERIOD OF LIABILITY; and

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               (4) Able to demonstrate a loss of sales for the operations, services or production prevented.

    2.   EXTRA EXPENSE

         a.    We cover your reasonable and necessary extra costs of the following incurred during the PERIOD
               OF LIABILITY applicable:

               (1) To temporarily continue as neariy normal as practicable the conduct of your business; and

               (2) The temporary use of property or facilities of yours or others.

         b.    We will reduce any recoverable loss under this coverage for any value remaining of any property
               used to temporarily continue your business.

         c.    EXTRA EXPENSE does not include:

               (1) Any loss of income.

               (2) Cosls that would have been incurred in conducting the business during the same period had no
                   physical loss or damage happened.

               (3) Costs of permanent repair or replacement of property that has been damaged or destroyed.

               (4) Any expense recoverable elsewhere in this Policy.

    3.   LEASEHOLD INTEREST

         a.    We cover the following:

               (1) If the lease agreement requires continuation of rent as a resull of a covered loss, and if the
                   covered property is wholly or partially untenantable or unusable, the actual rent payable while the
                   covered property is untenantable or until the lease is terminated, but not exceeding the unexpired
                   term of the lease.

               (2) If the covered property is partially untenantable, we cover the proportion of the lease payment for
                   that portion of the untenantable covered property.

         b.    If the lease is cancelled by the lessor pursuant to the lease agreement or by the operalion of law, we
               cover the additional cost to rent similar space for the unexpired term of the lease for the damaged
               property. That loss will be computed at present value, compounded annually at the prime rate plus 2%,
               as published in the Wall Street Journal on the date the lease terminated. The additional cost will
               consider the excess rent paid for the same or similar replacement property over actual rent of the
               original lease, plus cash bonuses or advance rent paid (including maintenance or operating charges)
               for each month during the unexpired term ofthe lease.

         c.    As respects LEASEHOLD INTEREST, the following applies:

               (1) We do not cover loss directly resulting from physical loss or damage to personal property.

               (2) TIME ELEMENT EXCLUSIONS D.I., D.2. and D.3. do not apply and the following applies
                   instead;

                  We do not cover any increase in loss resulting from the suspension, lapse or canceilation of any
                  license, or from you exercising an option to cancel the lease; or from any act or omission by you
                  that constitutes a default under the lease.

    4.   RENTAL INSURANCE


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         a.    We cover your actual loss sustained of rental income during the PERIOD OF LIABILITY for:

               (1) The fair rental value of any portion of rental property occupied by you;

               (2) The income reasonably expected from rentals of unoccupied or unrented portions of such
                   property; and

               (3) The rental income from the rented portions of such property according lo written leases, contracts
                   or agreements in force at the time of loss.

               all not to include non-continuing charges and expenses.

         b.    RENTAL INSURANCE Exclusions: As respects RENTAL INSURANCE. TIME ELEMENT
               EXCLUSIONS D.1. does not apply and the following applies instead:

               We do not cover any loss of rental income during any period in which the covered location would not
               have been tenantable for any reason other than a covered loss.

C. PERIOD OF LIABILITY

    1.   The PERIOD OF LIABILITY applying to CONTINGENT TIME ELEMENT, GROSS EARNINGS, EXTRA
         EXPENSE and RENTAL INSURANCE is as follows:

         a.    For building and equipment, the period:

               (1) Starting from the time of physical loss or damage of the type insured; and

               (2) Ending when with due diligence and dispatch the building and equipment could be:

                   (a) Repaired or replaced; and

                   (b) Made ready for operations,

                   under the same or equivalent physical and operating conditions that existed prior to the damage.

               (3) Not to be limited by the expiration of this Policy.

         b.    For building(s) and equipmeni covered under COURSE OF CONSTRUCTION:

               (1) The equivalent ofthe above period of time will be applied to the level of business that would have
                   been reasonably achieved after construction and startup would have been completed had no
                   physical damage happened; and

               (2) Due consideration will be given to the actual experience of the business after completion of the
                   construction and startup.

    2.   The PERIOD OF LIABILITY for GROSS EARNINGS and EXTRA EXPENSE also Includes the following:

         a.    For stock-in-process and mercantile stock, including finished goods nol manufactured by you, the time
               required with the exercise of due diligence and dispatch;

               (1) To restore stock in process to the same state of manufacture in which it stood at the inception of
                   the interruplion of production or suspension of business operations or services; and

               (2) To replace physically damaged mercantile stock.

         b.    For raw materials and supplies, the period of time:


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               (1) Of actual interruption of production or suspension of operations or services resulting from the
                   inability to get suitable raw materials and supplies to replace similar ones damaged; but

               (2) Limited to that period for which the damaged raw materials and supplies would have supplied
                   operating needs.

         c.    Impounded Water;

               (1) Used for any manufacturing purpose, including as a raw material or for power;

               (2) Stored behind dams or in reservoirs; and

               (3) On any covered location,

               that is released as the result of physical damage of the type insured to such dam, reservoir or
               connected equipment, our liability for the actual interruption of production or suspension of operations
               or services due to inadequate water supply will not extend beyond the number of consecutive days,
               not to exceed the LIMIT OF LIABILITY specified in the Declarations after the damaged dam, reservoir
               or connected equipment has been repaired or replaced.

         d.    For physically damaged exposed films, records, manuscripts and drawings, the time required to copy
               from backups or from originals of a previous generation. This time does not include research,
               engineering or any other time necessary to restore or recreate lost information.

         e.    For physically damaged or destroyed property covered under DATA, PROGRAMS OR SOFTWARE,
               the time to recreate or restore including the time for researching or engineering lost information.

    3.   The PERIOD OF LIABILITY applying to GROSS PROFIT Is as follows:

         a.    The period slarting from the time of physical loss or damage of the type insured and ending not later
               than the period of time specified In the LIMITS OF LIABILITY Table in the Declarations during which
               period the results of the business shall be directly affected by such damage, nol to be limiled by the
               expiration of this Policy.

         b.    For property under construclion, the period starting on the date that production, business operation or
               service would have commenced if physical damage of the type insured had not happened and ending
               not later than the period of time specified in the LIMITS OF LIABILITY Table in the Declarations, during
               which period the results ofthe business shall be directly affected by such damage, not to be limited by
               the expiration of this Policy.

         The Rate of Gross Profit and Standard Sales will be based on the experience of the business after
         construction is completed and the probable experience during the PERIOD OF LIABILITY.


    4.   The PERIOD OF LIABILITY does not include any additional time due to your inability to resume
         operations for any reason, including:

         a.    Making changes to equipment;

         b.    Making changes to the buildings or structures except as provided in the DEMOLITION AND
               INCREASED COST OF CONSTRUCTION clause in the PROPERTY DAMAGE section; and

         c.    Re-staffing or retraining employees.

         If two or more PERIODS OF LIABILITY apply, such periods will not be cumulative.

   TIME ELEMENT EXCLUSIONS


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     In addition to the exclusions elsewhere in this Policy, the following exclusions apply to TIME ELEMENT loss:

    1.   Any loss during any idle period, including but not limited to when production, operation, service or delivery
         or receipt of goods would cease, or would not have taken place or would have been prevented due to:

         a.    Physical loss or damage not insured by this Policy on or off of the covered location.

         b.    Planned or rescheduled shutdown.

         c.    Strikes or other work stoppage.

         d.    Any reason other than physical loss or damage insured under this Policy.

    2.   Any increase In loss due to:

         a.    Suspension, cancellation or lapse of any lease, contract, license or orders.

         b.    Damages for breach of contract or for late or noncompletion of orders.

         0,    Fines or penalties.

         d.    Any other consequential or remote loss.

    3.   Any loss resulting from physical loss or damage to finished goods manufaciured by you, or the lime
         required for their reproduction.

E. TIME ELEMENT COVERAGES AND LIMITATIONS

    TIME ELEMENT COVERAGES are extended to include the following, subject to all Policy terms, conditions
    and exclusions, and the time, distance and/or dollar amounts specified in the LIMITS OF LIABILITY Table in
    the Declarations:

    1. ATTRACTION          PROPERTY

         a.    We cover your actual loss sustained and EXTRA EXPENSE resulting from loss or damage of the type
               insured by this Policy to property of the type insured at an attraction property within the number of
               statute miles specified in the LIMITS OF LIABILITY Table in the Deciarations and during the period of
               time that:

               (1) Starts at the time such physical loss or damage happens;

               (2) Ends when the attraction property is:

                   (a) Repaired or replaced; and

                   (b) Made ready for operations.

         b.    As used in this TIME ELEMENT COVERAGE AND LIMITATION, the term attraction property is a
               property that;

               (1) Is operated by others; and

               (2) You depend on to attract customers to your covered location.

   2.    CIVIL OR MILITARY AUTHORITY

         a.    We cover your actual loss sustained and EXTRA EXPENSE during the period of interruption if an order
               of civil or military authority prohibits access to a covered location provided such order is caused by



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              physical loss or damage of the lype insured by this Policy at a covered location or within the number
              of statute miles specified in the LIMITS OF LIABILITY Table in the Declarations.

        b.    This TIME ELEMENT COVERAGE AND LIMITATION does not apply to LEASEHOLD INTEREST.

        c.    The period of interruption for this TIME ELEMENT COVERAGE AND LIMITATION will be the period of
              time:

              (1) Starting at the time of such direct physical loss or damage; and

              (2) Continuing until the order is lifted, or the time limit specified in the LIMITS OF LIABILITY Table in
                  the Declarations expires, whichever happens first.

              This period of time is part of and not in addition lo any PERIOD OF LIABILITY applying to any coverage
              provided in the TIME ELEMENT section.

   3.   COMPUTER SYSTEMS NON PHYSICAL DAMAGE

        a.    We cover your actual loss sustained and EXTRA E X P E N S E during the PERIOD OF LIABILITY directly
              resulting from the failure of your electronic data processing equipment or media lo operate, provided
              that such failure is the direct result of a malicious act directed at you.

        b.    This TIME ELEMENT COVERAGE AND LIMITATION will apply only when the period of interruption is
              in excess ofthe qualifying period specified in the Qualifying Period Table in the Declarations.

        c.    As used above, the period of interruption:

              (1) Is the period slarting when your electronic data processing equipment or media fails to operate
                  and ending when with due diligence and dispatch, your electronic data processing equipment
                  or media could be restored to the same or equivalent operating condilion that existed prior to the
                  failure.

              (2) Does not Include the additional time lo make changes to your electronic data processing
                  equipment or media.

   4.   CONTINGENT TIME ELEMENT

        a.    We cover your actual loss sustained and EXTRA EXPENSE during the PERIOD OF LIABILITY directly
              resulling from physical loss or damage of the type insured by this Policy at Direct Dependent Time Element
              Location(s) and Indirect Dependent Time Element Location(s) located within the territory of this Policy.

        b.    You agree to take every reasonable and necessary action to mitigate the loss payable hereunder.




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         c.    As used in this Policy, Direct Dependent Time Element Location(s) are:

               (1) Any location(s) of a direct: customer, supplier, contract manufacturer or contract service provider lo
                   you; or

               (2) Any location(s) of any company under a royally, licensing fee or commission agreement with you.

               Direct Dependent Time Element Location(s) does not include location(s) that are covered location(s)
               under this Policy or the location(s) of any company directly or indirectly supplying to, or receiving from
               you, electricity, fuel, gas, water, steam, refrigeration, sewage, voice, data or video.

         d.    As used in this Policy, Indirect Dependent Time Element Location(s) are:

               (1) Any location(s) of any company that is a direct: customer, supplier, contract manufacturer or contract
                   service provider to your Direct Dependent Time Element Location(s).

               Indirect Dependent Time Element Location(s) does not include location(s) that are covered location(s)
               under this Policy or the location(s) of any company directly or indirectly supplying to, or receiving from,
               the Direct Dependent Time Element Location(s) or the Indirect Dependent Time Element
               Location(s), electricity, fuel, gas, water, steam, refrigeration, sewage, voice, data or video.

         e.    As respects CONTINGENT TIME ELEMENT:

               (1) Exclusion D.3 in the TIME ELEMENT EXCLUSIONS does not apply.

    5.   CRISIS MANAGEMENT

         a.    We cover your actual loss sustained and EXTRA EXPENSE during the PERIOD OF LIABILITY if an
               order of civil or military authority prohibits access to a covered location, but only if such order is a direct
               result of a violent crime, suicide, attempted suicide or armed robbery at such covered location.

         b.    As respects this TIME ELEMENT COVERAGE AND LIMITATION, coverage applies:

               (1) Only when the PERIOD OF LIABILITY is in excess of the qualifying period specified in the
                   Qualifying Period Table in the Declarations; and

               (2) For up to the number of consecutive days specified in the LIMITS OF LIABILITY Table in the
                   Declarations, not to exceed the specified LIMIT OF LIABILITY.

               The PERIOD OF LIABILITY is the period of time when the time the civil or military authority prohibits
               access and continuing until the order is lifted, or the time limit specified in the LIMITS OF LIABILITY
               Table in the Declarations expires, whichever happens first.

    6.   DELAY IN STARTUP

         We cover your actual loss sustained and EXTRA EXPENSE during the PERIOD OF LIABILITY due to the
         reasonable and necessary delay in startup of business operations resulting directly from physical loss or
         damage to covered property as provided under COURSE OF CONSTRUCTION.

    7.   EXTENDED PERIOD OF LIABILITY

         a.    We cover the GROSS EARNINGS loss sustained due to the reduction in sales resulting from:

               (1) The interruption of business;

               (2) Commencing with the date on which our liability for loss resulting from interruption of business
                   would terminate if this TIME ELEMENT COVERAGE AND LIMITATION had not been included in
                   this Policy; and


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               (3) Continuing for such additional length of time as would be required with the exercise of due diligence
                   and dispatch to restore your business to the condition that would have existed had no loss
                   occurred, but no longer than the number of consecutive days specified in the LIMITS OF LIABILITY
                   Table in the Declarations.

         b.    Coverage under this TIME ELEMENT COVERAGE AND LIMITATION for the reduction in sales due to
               contract cancellation will include only those sales that would have been earned under the contract
               during the EXTENDED PERIOD OF LIABILITY described in Item 7.a. above.

         c.    As respects this TIME ELEMENT COVERAGE AND LIMITATION, Item D.2. in the TIME ELEMENT
               EXCLUSIONS in this section does not apply and the following applies instead:

                   This Policy does not insure against any increase in loss due to damages for breach of contract or
                   for late or non-completion of orders, or fines or penalties.

    8.   INGRESS/EGRESS

         a.    We cover your actual loss sustained and EXTRA EXPENSE due to the necessary interruption of your
               business if ingress to or egress from a covered location is prevented, whether or not your premises
               or property is damaged, provided that such prevention is a direct result of physical loss or damage of
               the type insured to property of the type insured.

         b.    The period of interruption for this TIME ELEMENT COVERAGE AND LIMITATION will be the period of
               time starting at the time of such direct physical loss or damage, and continuing until ingress or egress
               Is no longer prevented, or for the time limit specified in the LIMITS OF LIABILITY Table in the
               Declarations, whichever is less.

    9.   OFF PREMISES INTERRUPTION OF SERVICES - TIME ELEMENT

         a.    We cover your actual loss sustained and EXTRA EXPENSE during the period of service interruption
               at a covered location when the loss is caused by:

               (1) The inlerruplion of incoming services consisting of electricity, gas, fuel, steam, water, refrigeration,
                   voice, data, video; or

               (2) The interruption of outgoing sewerage service,

               from physical loss or damage of the type insured, at the facilities of the supplier of such service located
               within this Policy's territory that immediately prevents in whole or in part the delivery of such usable
               services.

         b.    This TIME ELEMENT COVERAGE AND LIMITATION will apply only when the period of service
               interruption as described below is in excess of the qualifying period specified in the Qualifying Period
               Table in the Declarations.

         c.    The period of service interruption is:

               (1) The period starting with the time when an interruption of specified services occurs; and ending
                   when with due diligence and dispatch the service could be wholly restored and the location
                   receiving the service could have resumed normal operations following the restoration of service
                   under the same or equivalent physical and operating conditions that existed prior to the interruption
                   of such services;

               (2) Is limited to only those hours during which you could have used service(s) if it had been available;

               (3) Does not extend to Include the interruption of operations caused by any reason other lhan
                   Interruption of the specified service(s).
         d.    Additional General Provisions:


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              (1) You will immediately notify the suppliers of services of any interruption ofany such services.

              (2) We will not be liable ifthe interruption of such services is caused directly or indirectly by your failure
                  to comply with the terms and conditions of any contracts you have for the supply of such specified
                  services.

        e.    We do not cover loss or damage caused by or resulting from the use of services provided by or through
              a satellite.

    10. ON PREMISES INTERRUPTION OF SERVICES-TIME ELEMENT

        a.    We cover your actual loss sustained and EXTRA E X P E N S E during the PERIOD OF LIABILITY directly
              resulting from direct physical loss or damage of the type insured to the following property located at or
              within one-thousand (1,000) feet of a covered location:

              (1) Electrical equipment and equipment used forthe transmission of voice, data or video.

              (2) Electrical, fuel, gas, water, steam, refrigeration, sewerage, voice, data or video transmission
                  systems.

    11. PROTECTION AND PRESERVATION OF PROPERTY TIME ELEMENT

        a.    We cover your actual loss sustained for a period of time not to exceed forty eight (48) hours prior to
              and forty eight (48) hours after you first took reasonable action for the temporary protection and
              preservation of property insured by this Policy provided such action is necessary to prevent Immediately
              impending physical loss or damage of the type insured to such covered property.

        b.    This TIME ELEMENT COVERAGE AND LIMITATION is subjecl lo the deductible provisions that would
              have applied had the direct physical loss or damage occurred.

    12. RELATED LOCATIONS

        If you report values at related locations used by you (e.g. branch stores, retail outlets and other facilities),
        but such relaled locations are not listed on the latest Schedule of Covered Locations submitted to,
        accepted by and on file with us. and if a TIME ELEMENT loss results at such related locations due to
        covered loss, we cover such resulting TIME ELEMENT loss in accordance with the terms and conditions
        of this Policy.

    13. RESEARCH AND DEVELOPMENT

        a.    We cover your actual loss sustained of fixed charges and ordinary payroll directly attributable to the
              interruption of research and development project(s) that would not have produced income during the
              PERIOD OF LIABILITY resulting from a covered loss.

        b.    We cover these fixed charges only to the extent they continue after the covered loss and only during
              the PERIOD OF LIABILITY.

        c.    To the extent you are able to resume operations, we cover only that portion of the fixed charges related
              to that part of the research and development operation that has not yet been restored.

    14. SOFT COSTS

        a.   We cover your actual loss sustained of Soft Costs during the period of delay directly resulting from a
             delay of completion of covered property under conslruction as provided under COURSE OF
             CONSTRUCTION as provided in the PROPERTY DAMAGE COVERAGES AND LIMITATIONS.




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            Soft Costs are costs over and above those that are normal at a covered location undergoing renovation
            or in the course of construction, limited to the following;

            (1) Construction loan fees - your additional cost to rearrange loans necessary for the completion of
                construction, repairs or reconstruction including: the cost lo arrange refinancing, accounting work
                necessary to restructure financing, legal work necessary to prepare new documents, charges by
                the lenders for the extension or renewal of loans necessary.

            (2) Commitment fees, leasing and marketing expenses - the cost of returning any commitment fees
                received from prospective tenant(s) or purchaser(s), the cost of re-leasing and marketing due to
                loss of tenant(s) or purchaser(s).

            (3) Additional fees for architects, engineers, consultants, attorneys and accountants needed for the
                completion of construction repairs or reconstruction.

            (4) Property taxes, building permits, additional interest on loans, realty taxes and insurance premiums.

            Period of delay is the period of time between:

            (1) The date on which the construction, alteration, extension or renovation would have been complete
                in the absence of a covered loss to property under construction as provided under COURSE OF
                CONSTRUCTION as provided in the PROPERTY DAMAGE COVERAGES AND LIMITATIONS;
                and

            (2) The date on which construction, alteration, extension or renovation is actually complete.




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                                SECTION I V - DESCRIBED LOSSES

We only cover the following DESCRIBED LOSSES as specified in the LIMITS OF LIABILITY Table in the
Declarations, subject to the terms, conditions and exclusions of this Policy.

A. EARTH MOVEMENT

   1.   We cover physical loss or damage to covered property, including TIME ELEMENT COVERAGES. TIME
        ELEMENT COVERAGES AND LIMITATIONS and PROPERTY DAMAGE COVERAGES                            AND
        LIMITATIONS as provided by this Policy, from a covered loss resulting from EARTH MOVEMENT.

   2 . Y o u may elect when the time specified in the OCCURRENCE TIME SPECIFICATIONS begins.

   3.   EARTH MOVEMENT Is:

        Earthquake, landslide, subsidence or sinking, rising or shifting of the earth, avalanche, whether natural or
        man-made, or volcanic eruption; regardless of any other cause or event contributing concurrently or in any
        other sequence of loss.

        However, physical loss or damage from fire, explosion, sprinkler leakage or FLOOD caused by EARTH
        MOVEMENTvjlll not be considered to be loss by EARTH MOVEMENT v^Whln the terms and conditions of
        this Policy.

B. EARTH MOVEMENT S P R i m i B R LEAKAGE

   1. We cover physical loss or damage to covered property, including TIME ELEMENT COVERAGES,                 TIME
      ELEMENT COVERAGES AND LIMITATIONS and PROPERTY DAMAGE COVERAGES AND
      LIMITATIONS as provided by this Policy, resulting from sprinkler leakage caused by EARTH
      MOVEMENT

C. EQUIPMENT       BREAKDOWN

   1.   We cover physical loss or damage to covered property, including TIME ELEMENT COVERAGES, TIME
        ELEMENT COVERAGES AND LIMITATIONS and PROPERTY DAMAGE COVERAGES                               AND
        LIMITATIONS, as provided by this Policy if such loss or damage is caused by an accident to covered
        equipment.

        The coverage provided in this DESCRIBED LOSS is limited to loss or damage caused by an accidentia
        covered equipment. We will not pay for physical loss or damage from any other cause under this
        DESCRIBED LOSS.

        The following coverages apply solely to Equipment Breakdown:

        a.    Spoilage Damage

              We cover physical loss or damage caused by change in temperature or humidity or by the interruption
              of power, heat, air-conditioning, or refrigeration as the result of an accident to covered equipment.

        b. Ammonia Contamination

              We cover physical loss or damage to covered property contaminated by ammonia, including any
              salvage expense as a direct result of an accident to covered equipment. No coverage for Ammonia
              Contamination  is available under DECONTAMINATION COSTS with respects to an accident to
              covered equipment.




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   2.   Conditions

        a.    Suspension

              If coverage for Equipment Breakdown is provided by this Policy, and we discover a dangerous condition
              relating to an object, we may Immediately suspend the Insurance provided by this coverage for that
              covered equipment by m'liXeu notice mailed or delivered to you either at your address or at the location
              of any object Suspended insurance may be reinstated by us, bul only by an endorsement issued as
              part of this Policy. You will be credited for the unearned portion of the premium paid for the suspended
              Insurance, pro rala, for the period of suspension.

   3.   Valuation

        If covered equipment requires replacement due to an accident, we cover your additional cost to replace
        with equipment that is better for the environment, safer or more efficient lhan the equipment being replaced.

        a.    However, we do not cover more than 150% of what the cost would have been to repair or replace
              covered equipment w\tb like kind and quality.

        b.    This does not apply to any property subject to valuation based on actual casti value, nor does this
              provision increase any other applicable LIMIT OF LIABILITY.

        c.    The PERIOD OF LIABILITY will not be Increased by any of the above.

   4.   Definitions

        a.    Accident: Physical loss or damage to covered equipment lhal necessitates Its repair or replacement
              due to:

              (1) Failure of pressure or vacuum equipmeni;

              (2) Mechanical breakdown including rupture or bursting caused by centrifugal force;

              (3) Artificially generated electrical current, including electrical arcing that damages electrical devices,
                  appliances or wires; or

              (4) Explosion of:

                  (a) Steam boiler

                  (b) Electric steam generator

                  (c) Steam piping

                  (d) Steam turbine

                  (e) Moving or rotating machinery when such explosion is caused by centrifugal force,

              unless such loss or damage is otherwise excluded within this Policy.

              Accident does not include;

              (5) Fire, including water or other means used to extinguish the fire;

              (6) Malfunction, misalignment, miscalibration, tripping off line, or any condition which can be
                  corrected by resetting, tightening, adjusting or cleaning or by the performance of maintenance;




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              (7) Combustion explosion;

              (8) Discharge of molten material from equipment including the heat from such discharged materials;

              (9) Lightning;

            (10)   Depletion, deterioration, rust, corrosion, erosion, settling, or wear or tear or any other gradually
                   developing condition;

            (11)   Defects, erasures, error limitations or viruses in computer equipment and programs including the
                   inability to recognize and process any date or time or provide instructions to covered equipment;

            (12)   Leakage at any valve, fitting, shaft seal, gland packing, joint or connection;

            (13)   Damage to any structure or foundation supporting the covered equipment or any of its parts;

            (14)   Any loss or damage caused by or resulting from any type of electrical insulation breakdown lest;

            (15)   Any loss or damage caused by or resulting from any type of hydrostatic, pneumatic or gas
                   pressure test;

            (16)   The functioning of any safety or protective device; or

            (17)   The cracking of any part on an internal combustion turbine exposed lo the products of
                   combustion.

       b.     Covered equipment:

              (1) Equipment that generates, transmits, controls or utilizes energy; including electronic
                  communications and data processing equipment; and

              (2) Equipment which, during normal usage, operates under vacuum or pressure, other than weight of
                  contents.

              Covered equipment does not mean or include:

              (3) Electronic data;

              (4) Part of pressure or vacuum equipment that is not under internal pressure of its contents or internal
                  vacuum;

              (5) Insulating or refractory material;

              (6) Nonmetallic pressure or vacuum equipment, unless it is constructed and used in accordance with
                  the American Society of Mechanical Engineers (A.S.M.E.) code or other appropriate and approved
                  code;

              (7) Catalyst;

              (8) Buried vessels or piping; waste, drainage or sewer piping; piping, valves or fittings forming part of
                  a sprinkler or fire suppression system; water piping that is not part of a closed loop used to conduct
                  heat or cooling from a boiler or a refrigeration or air conditioning system;

              (9) Structure, foundation, cabinet or compartment supporting or containing the covered equipment or
                  part of the covered equipment including penstock, draft tube or well casing;

            (10)   Vehicle or any covered equipment that is mounted on or used solely with a vehicle;



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              (11)   Dragline, excavation or construction equipment including any covered equipment that Is mounted
                     on or used solely with any one or more dragline(s), excavation or conslruction equipment;

              (12)   Felt, wire, screen, die, extrusion plate, swing hammer, grinding disc, cutting blade, nonelectrical
                     cable, chain, belt, rope, clutch plate, brake pad, nonmetal part or tool subject to periodic
                     replacement;

              (13)   Cyclotron used for other than medical purposes, satellite or spacecraft Including any covered
                     equipment mounted on or used solely with any satellite or spacecraft;

              (14)   Equipment manufactured by you for sale.

         c.     Production machinery is any machine or apparatus that processes, forms, cuts, shapes, grinds, or
                conveys raw materials, materials in process or finished products including any covered equipment that
                is mounted on or used solely with any one or more production machines or apparatus.

D. FLOOD

    1.   We cover physical loss or damage to covered property, including TIME ELEMENT COVERAGES, TIME
         ELEMENT COVERAGES AND LIMITATIONS and PROPERTY DAMAGE COVERAGES AND
         LIMITATIONS as provided by this Policy, from a covered loss resulting from FLOOD.

    2. FLOOD is:

         a.     Surface waters; rising waters; storm surge, wave wash; waves; tsunami; tide or tidal water; the release
                of water, the rising, overflowing or breaking of boundaries of natural or man-made bodies of water; or
                the spray therefrom; all whether driven by wind or not;

         b.     Sewer back-up resulting from any of the foregoing; or

         c.     Mudslide or mudflow caused by or resulting from surface water, runoff or accumulation of water on or
                under the ground;

              regardless of any other cause or event, whether natural or man-made, contributing concurrently or in
              any other sequence of loss.

         Covered loss from FLOOD associated wilh a storm or weather disturbance whether or not identified by
         name by any meteorological authority is considered to be FLOOD within the terms of this Policy. However,
         physical loss or damage from fire, explosion or sprinkler leakage caused by FLOOD will not be considered
         to be loss by FLOOD wilhin the terms and conditions of this Policy.

E. NAMED STORM

    1,   We cover physical loss or damage to covered property. Including TIME ELEMENT COVERAGES, TIME
         ELEMENT COVERAGES AND LIMITATIONS and PROPERTY DAMAGE COVERAGES AND
         LIMITATIONS as provided by this Policy, from a covered loss resulling from a NAMED STORM. However,
         physical loss or damage caused by fire, explosion, sprinkler leakage or FLOOD will not be considered loss
         by NAMED STORM within the terms and conditions of this Policy.

    2 . Y o u may elect when the time specified in the OCCURRENCE TIME SPECIFICATIONS begins.

    NAMED STORM is any storm or weather disturbance that is named by the U. S. National Oceanic and
    Atmospheric Administration (NOAA) or the U. S. National Weather Service or the National Hurncane Center or
    any authorized meteorological authority in the country where the storm or weather disturbance happened.




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                          SECTION V - GENERAL POLICY CONDITIONS

A. ASSIGNMENT

    Your assignment of this Policy will not be valid except with our written consent.

B. CANCELLATION

    1.   You may cancel this Policy by mailing or delivering to us advance written notice of cancellation.

    2.   We may cancel this Policy by mailing or delivering to you written notice of cancellation at least:

         a.    ten (10) days before the effective date of cancellation if we cancel for nonpayment of premium; or

         b.    thirty (30) days or the number of days specified In the CANCELLATION TIME SPECIFICATIONS,
               whichever is greater, before the effective date of cancellation if we cancel for any other reason.

    3.   We will mail or deliver our written notice of cancellation to your last mailing address known to us.

    4.   Our written notice of cancellation will state the effeclive date of cancellation and the Policy period will end
         on that date.

    5.   If this Policy is cancelled, we will send you any premium refund due. If we cancel, the refund will be pro
         rata. If you cancel, the refund may be less than pro rata. The cancellation will be effective even if we have
         nol made or offered a refund.

    6.   If notice is mailed, proof of mailing will be sufficient proof of notice.

C. CONCEALMENT, MISREPRESENTATION OR FRAUD

    This entire Policy is void, if with the aclual intent to deceive

    1. You;

    2.   Your representatives; or

    3.   Any insured;

    commit fraud or conceal or misrepresent a fact or circumstance concerning:

         a.    This Policy;

         b.    The covered property;

         c.    Your interest in the covered property; or

         d.    A claim under this Policy.




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D. CONFORMITY TO STATUTES

    Any provisions required by law to be included in policies issued by us shall be deemed to have been included
    in this Policy.

    Iflhe provisions of this Policy conflict with the laws of any jurisdictions In which this Policy applies, and if certain
    provisions are required by law to be staled in this Policy, this Policy shall be read so as to eliminate such conflict
    or deemed to include such provisions for covered locations within such jurisdictions.

E. INSPECTION

    1.   During the period of this Policy, we will be permitted, but not obligated, to inspect the covered property.
         Our right to inspect, the performance of or failure to inspect, and any report arising out of an inspection will
         not constitute an undertaking or imply that the property is safe, healthful, or In compliance with laws,
         regulations, codes or standards.

    2.   This condition does not apply to any inspections, surveys, reports or recommendations we may make
         relative to certification, under state or municipal statutes, ordinances or regulations, of boilers, pressure
         vessels or elevators.

         We will have no liability to you or olhers because of any inspection or failure to inspecl, or on account of
         anyone's use or reliance upon any report or other information generated during the course of, or as a result
         of any inspection.

F. LENDERS LOSS PAYEE AND MORTGAGEE INTERESTS AND OBLIGATIONS

    1.   When specified in the Policy or in Certificates of Insurance on file with us, we cover loss to specified
         property insured under this Policy to each specified Lender Loss Payee (hereinafter referred to as Lender)
         as its interest may appear, and to each specified Mortgagee as its interest may appear.

    2.   The interest of the Lender or Mortgagee (as the case may be) in property insured under this Policy will not
         be invalidated by:

         a.    Any act or neglect of the debtor, mortgagor, or owner (as the case may be) of the property.

         b.    Foreclosure, notice of sale, or similar proceedings with respect to the property, but only to the extent of
               a deficiency as provided by state law.

         c.    Change in the title or ownership of the property.

         d.    Change to a more hazardous occupancy.

         The Lender or Mortgagee will notify us of any known change In ownership, occupancy, or hazard and,
         within ten (10) days of our written request, may pay the increased premium associated with such known
         change. If the Lender or Mortgagee fails to pay the increased premium, all coverage under this Policy will
         cease.

    3.   If this Policy is cancelled at your request or by the request of your agent, the coverage for the interest of
         the Lender or Mortgagee will terminate ten (10) days after we send to the Lender or Mortgagee written
         notice of cancellation, unless:

         a.    Sooner terminated by authorization, consent, approval, acceptance, or ratification of your action by the
               Lender or Mortgagee, or its agent

         b.    This Policy is replaced by you, with a Policy providing coverage for the Interest of the Lender or
               Mortgagee, in which event coverage under this Policy with respect to such interest will terminate as of
               the effective date of the replacement Policy, notwithstanding any other provision of this Policy.



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    4.   We may cancel this Policy and/or the interest of the Lender or Mortgagee under this Policy, by giving the
         Lender or Mortgagee written notice thirty (30) days or the number of days specified in the CANCELLATION
         TIME SPECIFICATIONS, whichever is greater, prior to the effective date of cancellation, if cancellation is
         for any reason other than non-payment. If the debtor, mortgagor, or owner has failed to pay any premium
         due under this Policy, we may cancel this Policy for such non-payment, but will give the Lender or
         Mortgagee written notice ten (10) days prior to the effective date of cancellation. Ifthe Lender or Mortgagee
         fails to pay the premium due by the specified cancellation date, all coverage under this Policy will cease.

    5.   If we pay the Lender or Mortgagee for any loss, and deny payment to the debtor, mortgagor or owner, we
         will, to the extent of the payment made to the Lender or Mortgagee be subrogated to the rights of the Lender
         or Mortgagee under all securities held as collateral to the debt or mortgage. No subrogation will impair the
         right of the Lender or Mortgagee to sue or recover the full amount of its claim. At our option, we may pay
         to the Lender or Mortgagee the whole principal due on the debt or mortgage plus any accrued interest. In
         this event, all righls and securities will be assigned and transferred from the Lender or Mortgagee to us,
         and the remaining debt or mortgage will be paid to us.

    6.   If you fail to render proof of loss, the Lender or Mortgagee, upon notice of your failure to do so, will render
         proof of loss within sixty (60) days of notice and will be subject to the provisions of this Policy relating to
         APPRAISAL, COMPANY OPTION, and SUIT AGAINST THE COMPANY.

    7.   In the event of a claim, upon request by us, the Lender or Mortgagee will cooperate in any claim
         investigation.

    8.   In no event will the amount payable to a Lender or Mortgagee exceed the amount which would otherwise
         have been payable to you.

G. LIBERALIZATION

    If during the period that insurance is in force under this Policy, any filed rules or regulations affecting the same
    are revised by statute in any State or jurisdiction within the United States of America so as to broaden the
    insurance without additional premium charge, such extended or broadened insurance will inure to your benefit
    within such jurisdiction, effective the date ofthe change specified in such statute,

H. NO REDUCTION BY LOSS

    Except for those coverages written with an annual aggregate LIMIT OF LIABILITY, we cover a covered loss
    without reducing any other applicable LIMIT OF LIABILITY. The reinstatement of any exhausted annual
    aggregate is not permitted unless authorized by us in writing.

I. NONRENEWAL

    1.   If we decide not to renew thts Policy, we will mail or deliver a written notice of nonrenewal to you at least
         sixty (60) days before the expiration date of this Policy. Notice will be sent to your last mailing address
         known to us. We will state the reason for nonrenewal.

    2.   Proof of mailing will be sufficient evidence of notice.

J. OTHER INSURANCE

    1.   We will not be liable if, at the time of loss or damage, there is any other insurance that would apply in the
         absence of this Policy; except that this Policy will apply only as excess or DIFFERENCE IN CONDITIONS
         / DIFFERENCE IN LIMITS and in no evenl as contributing insurance, and then only after all other insurance
         has been exhausted, notwithstanding paragraph 5. below.

    2.   We will not be liable if, at the time of loss or damage, there is any insurance with the National Flood
         Insurance Program (NFIP), except that this Policy shall apply only as excess and In no event as contributing
         insurance, and then only after all NFIP insurance has been exhausted.



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    3.   We will not be liable if, at the time of loss or damage, there is any insurance for the construction of new
         buildings and additions under a specific policy for the construction of such new buildings and additions,
         except that this Policy shali apply only as excess and in no event as contributing insurance, and then only
         after all specific insurance has been exhausted.

    4.   We will not be liable if. at the time of loss or damage, there is any insurance for stock under a specific policy
         for such stock, except that this Policy shall apply only as excess and in no event as contributing Insurance,
         and then only after all specific insurance has been exhausted.

    5.   If this Policy is deemed by law to contribute lo a loss wilh other insurance, we will pay only our proportionate
         share of the loss, up to the applicable LIMIT OF LIABILITY. Our share will be the proportion that the
         applicable LIMIT OF LIABILITY of this Policy bears lo the total applicable LIMITS OF LIABILITY available
         from all insurance.

    6.   You are permitted to have olher insurance over any LIMITS OF LIABILITY specified in this Policy.

    7.   The existence of such insurance will not reduce any LIMIT OF LIABILITY in this Policy.

    8.   To the extent this Policy replaces another Policy, coverage under this Policy shall not become effective until
         such other Policy has terminated.

    9.   You are permitted to have other insurance for all, or any part, of any deductible in this Policy. The existence
         of such other insurance will not prejudice recovery under this Policy. If the limits of liability of such other
         insurance are greater lhan this Policy's applicable deductible, this Policy's insurance will apply only as
         excess and only after such other insurance has been exhausted.

K. PAIR, SET OR PARTS

    In the event of a covered loss to an article that is part of a pair or set, our payment for that loss will be;

    1.   The cost lo repair or replace any part lo restore the pair or set to its value before the loss; or


    2.   The difference between the value of the pair or set before and after the loss.

    In no evenl will the loss of part of a pair or sel be regarded as a lotal loss of the pair or set.

L. POLICY MODIFICATION

    This Policy contains all of the agreements between you and us concerning this insurance. You and we may
    request changes to this Policy. Only endorsements issued by us and made a part of this Policy can change
    this Policy.

    Notice to any agent or knowledge possessed by any agent or by any other person will not create a waiver or
    change any part of this Policy or prevent us from asserting any righls under the Policy.

M. TITLES

    The titles of the paragraphs of this Policy and of any endorsements attached to it are only for reference. They
    do nol affect the terms to which they relate.

N. TRANSFER OF RIGHTS AND DUTIES

     Your rights and duties under this Policy may not be transferred without us giving written consenL

O.VACANCY




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   1.   If any of your real property is vacant at the inception of this Policy, or becomes vacant, and remains vacant
        for more than sixty (60) consecutive days, during the Policy period, y o u must:

        a.    Notify us in writing of the vacancy prior to loss or damage; and

        b.    Maintain in complete working order the protective safeguards present prior to the vacancy. Protective
              safeguards include:

              (1)   Automatic sprinkler systems;
              (2)   Fire alarm systems;
              (3)   Guard or watchman services;
              (4)   Burglary systems; and
              (5)   Monitoring systems.

   2.   If the above requirements are not met, then in addition to the other terms, conditions, limitations and
        exclusions in this Policy, we will:
        a.    Not pay for any loss or damage caused by or resulting from any of the following;
              (1)   Breakage of building glass;
              (2)   Mold, mildew or fungus;
              (3)   Sprinkler leakage, unless the system has been protected against freezing;
              (4)   Theft or attempted theft;
              (5)   Vandalism;
              (6)   Malicious mischief; or
              (7)   Water damage.

        b.    Not pay under DEMOLITION AND INCREASED COST OF CONSTRUCTION;

        c.    Value the loss or damage for the vacant real property (including any loss or damage to personal
              property) at the time of loss at the lesser of:
              (1) The actual cash value;
              (2) The actual cost to repair; or
              (3) The selling price, less all saved expenses. If it was being offered or listed for sale at the time of
                  loss.

   3.   Real property is considered vacant when it does not contain sufficient property and personnel to conduct
        your customary business operations.


   4.   Real property Is nol considered vacant during its ongoing construction or renovation.



P. VALUATION

   1.   Adjustment of the physical loss or damage amount under this Policy will be computed as of the dale of loss
        or damage at the place of the loss or damage. Unless stated otherwise in a PROPERTY DAMAGE
        COVERAGE AND LIMITATION, adjustment of physical loss or damage to covered property will be subject
        to the following:

        a.    On stock in process, the value of raw materials and labor expended plus the proper proportion of
              overhead charges.

        b.    On finished goods manufactured by you, the regular cash selling price, less all discounts and charges
              to which the finished goods would have been subject had no physical loss or damage happened.

        c.    On raw materials, supplies or merchandise not manufaciured by you:


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              (1) If repaired or replaced, your actual expenditure in repairing or replacing the damaged or destroyed
                  property; or

              (2) If not repaired or replaced, the actual cash value.

        d. On exposed films, records, manuscripts and drawings that are not valuable papers and records, the
           value blank plus the cost of copying information from back-up or from originals of a previous generation.
           These costs will not Include research, engineering or any costs of restoring or recreating lost
           information.

        e. On property that is:

              (1) Damaged by fire that directly resulls from terrorism or nuclear reaction; and

              (2) Is located in a jurisdiction that has a statute that expressly prohibits the exclusion of fire losses
                  resulting from terrorism or nuclear reaction,

              the actual cash value of the fire damage. Any remaining fire damage not attributable to terrorism or
              nuclear reaction shall be adjusted according to the terms and conditions of the Valuation clause(s) in
              this section of the Policy.

        f.    On computer equipment of others which you are required to insure for direcl physical loss or damage
              while being installed, maintained or repaired, the cost to replace with new if so specified in the contract
              between you and your customer.

        g. On Data, Programs and Software, the actual cost incurred to repair, replace or restore data, programs
           or software including the costs to recreate and research.

        h. On Fine Arts, the loss amount will not exceed the lesser of the following;

              (1) The cost to repair or restore such property to the physical condition that existed on the date of
                  loss;

              (2) The cost to replace; or

              (3) The stated value on file with us.

        i.    On all other property, the lesser of the following:

              (1) The cost to repair.

              (2) The cost to rebuild or replace on the same site with new materials of like size, kind and quality.

              (3) The cost in rebuilding, repairing or replacing on the same or another site, but not to exceed the size
                  and operating capacity that existed on the date of loss.

              (4) The selling price of real property or machinery and equipment, other than slock, offered for sale
                  on the date of loss.

              (5) The cost to replace unrepairable electrical or mechanical equipment, including computer
                  equipmeni, with equipment that is the most functionally equivalent to that damaged or destroyed,
                  even if such equipment has technological advantages and/or represents an improvement in
                  function and/or forms part of a program of system enhancement.

              (6) The increased cosl of demolition, if any, directly resulting from Insured loss. If such property Is
                  scheduled for demolition.




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            (7) The unamortized value of improvements and betterments, if such property is not repaired or
                replaced at your expense.

            (8) The actual cash value if such property is:

                 (a) Useless to you; or
                 (b) Not repaired, replaced or rebuilt on the same or another site within two (2) years from the date
                     of loss, unless such lime is extended by us.

    2. You may elect not to repair or replace the covered property lost, damaged or destroyed. Loss settlement
       may be elected on the lesser of repair or replacement cost basis if the proceeds of such loss settlement
       are expended on other capital expenditures related to your operations within two (2) years from the date
       of loss. As a condition of collecting underthis provision, such expenditure must be unplanned as ofthe date
       of loss and be made at a covered location under this Policy. This provision does not extend to
       DEMOLITION AND INCREASED COST OF CONSTRUCTION or to property scheduled for demolition at
       the time of loss.

    3. We will not pay more than your financial interest in the covered property.




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                                   SECTION VI - LOSS CONDITIONS

A. ABANDONMENT OF PROPERTY

    You may not abandon property to us.

B. APPRAISAL

    1.   If you and we fail to agree on the amount of a loss, either party may demand that the disputed amount be
         submitted for appraisal. A demand for appraisal will be made in writing within sixty (60) days after our
         receipt of proof of loss. Each party will then choose a competent and disinterested appraiser. Each party
         will notify the other of the identity of ils appraiser within thirty (30) days of the written demand for appraisal.

    2.   The two (2) appraisers will choose a competent and disinterested umpire. If the appraisers are unable to
         agree on an umpire within fifteen (15) days, you or we may petition a judge of a court of record in the state
         where the covered loss occurred, to select an umpire.

    3.   The appraisers will then determine the amount of the loss or damage. If the appraisers submit a written
         report of an agreement to you and us, the amount they agree on will be the amount of our payment for the
         loss or damage. If the appraisers fail to agree within a reasonable time, they will submit their differences to
         the umpire. Written agreement signed by any two (2) of these three (3) will determine the amount of loss or
         damage.

    4.   Each appraiser will be paid by the party that selects him or her. Other expenses of the appraisal and
         compensation ofthe umpire will be paid equally by you and us.

C. COLLECTION FROM OTHERS

    We will reduce any payment lo you for a covered loss to the extent you have collected for that loss from
    others.

D. COMPANY OPTION

    1.   In the event of covered loss, we may, at our option, either:

         a.    Pay the value of covered property lost, damaged or destroyed as set forth in VALUATION above;

         b.    Pay the cost of repairing or replacing the covered property lost, damaged or destroyed;

         c.    Take all or any part of the covered property at any agreed valuation; or

         d.    Repair, rebuild or replace the covered property with other property of like kind and quality.

    2.   We will give notice of our intentions within thirty (30) days after receiving the sworn statement of loss
         or as required by law.

E. DUTIES AFTER A LOSS

    In case of loss you will:

    1.   Give us immediate written notice ofthe loss;

    2.   Give notice of such loss to the proper authorities if the loss may be due to a violation of the law;

    3.   As soon as possible, give us a description of the property involved and how, when and where the loss
         happened;
   4.    Take all reasonable steps to protect the covered property from further damage;


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    5.   Promptly separate the damaged property from the undamaged property, and keep it in the best possible
         order for examination;

    6.   Furnish a complete inventory ofthe lost, damaged and destroyed property, showing in detail the quantity,
         and amount of loss claimed under the valuation provision of the Policy;

    7.   Keep an accurate record of all repair costs;

    8.   Keep all bills, receipts and relaled documents that establish the amount of loss;

    9.   As often as may reasonably be required:

         a.    Permit us to inspect the damaged property and take samples for inspection, testing and analysis.

         b.    Produce for Inspection and copying, all of your books of account, business records, bills and invoices.

         c.    Permit us to question, under oath, you and any of your agents, employees, or representatives involved
               in the purchase of this insurance or the preparation of your claim, including any public adjusters and
               any of their agents, employees or represeniatives, and verify your answers with a signed
               acknowledgment.

    10. Submit to us, wilhin ninety (90) days from the date of loss, unless we extend the time in writing, a signed,
        sworn Proof of Loss that states to the best of your knowledge and belief:

         The time and cause of the loss;

         a.    Your interest and the interest of all olhers in the property involved;

         b.    Any other policies of insurance that may provide coverage forthe loss;

         c.    Any changes in title or occupancy of the property during the Policy period; and

         d.    The amount of your claimed loss.

         You shall also submit with the Proof of Loss:

               (1) A complete inventory of the lost, damaged and destroyed property, showing in detail the quantity,
                   and amount of loss claimed as specified in the valuation provision of the Policy;

               (2) An accurate record(s) of all repair costs and all bills, receipts and related documents that establish
                   the amount of the loss;

               (3) Specifications for any damaged building; and

               (4) Detailed estimates and invoices for the repair of any damage.

    11. Cooperate with us in the investigation and adjustment of the loss.

F. LOSS ADJUSTMENT / PAYABLE

    Loss will be adjusted with the First Named Insured. We may, at our option, adjust the loss to property of others
    directly with the owner of the property. Such loss will be payable to the First Named Insured or as may be
    directed by the First Named Insured.




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    Additional insured interests will also be included in loss payment as their interests may appear when named as
    additional named insured, lender, mortgagee and/or loss payee either on a Certificate of Insurance or other
    evidence of insurance on file with us. When named on a Certificate of Insurance or other evidence of insurance,
    such additional interests are automatically added to this Policy as their interests may appear as of the effective
    date shown on the Certificate of Insurance or other evidence of insurance. The Certificate of Insurance or other
    evidence of insurance will not amend, extend or alter the terms, conditions, provisions and limits of this Policy.


G. PAYMENTOF LOSS

    We will pay the insured loss within thirty (30) days after we receive and accept the signed, sworn Proof of Loss,
    if:

    1.   You have complied with all the terms of this Policy;

    2.   We have reached agreement wilh you on the amount of the loss, or

    3.   Within thirty (30) days of when an appraisal award is made as provided for in LOSS CONDITIONS B.
         APPRAISAL.

H. SUBROGATION

    1.   If we make payment for a loss, you will assign to us all your rights of recovery against any party for that
         loss. We will not acquire any rights of recovery you have waived prior to the loss. You agree to cooperate
         and not to waive, prejudice, settle or compromise any claim against any party after the loss.

    2.   You will be paid any recovery, in the proportion lhat your deductible and any provable uninsured loss bears
         to the total loss less your proportion of fees and expenses.

I. SUIT AGAINST THE COMPANY

    No suit or other legal proceeding shall be brought against us unless there has been full compliance with all the
    Policy terms and conditions. Any suit against us must be brought within two (2) years nexl after the inception
    of the loss.




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                                       SECTION Vll - DEFINITIONS

1.   Actual cash value: The amount it would cost to repair or replace covered property, on the date of loss, with
     material of like kind and quality, with proper deduction for physical depreciation and obsolescence, but in no
     event more than the fair markel value.

2.   Annual aggregate; The maximum amount of loss or damage payable in any one (1) Policy year regardless of
     the number of occurrences within the same Policy year.

3.   Contaminant: Any foreign substance, Impurity, pollutant, hazardous material, poison, toxin, pathogen or
     pathogenic organism, bacteria, virus, disease causing or illness causing agent, fungus, mold or mildew.

4.   Contamination: Any condition of property that results from a contaminant.

5.   Covered loss: A loss to covered property caused by direct physical loss or damage Insured by this Policy.

6.   Covered property: Property insured by this Policy.

7.   Electronic Data; Information (including computer programs) stored as or on, created or used on, or transmitted
     to or from computer software, including systems and applications software, drives, electronic data processing
     equipment or any storage medium.

8.   Electronic data processing equipment: Any computer, computer system or component, hardware, network,
     microprocessor, microchip, integrated circuit or similar devices or components in computer or non-computer
     equipment, operating systems, data, programs or other software stored on electronic, electro-mechanical,
     electro-magnetic data processing or production equipment, whether your property or not.

9.   Fine Arts: Property of rarity, historical value, antiquity or artistic merit, including paintings; etchings; pictures
     (including their negatives); tapestries; statuary; marbles; bronzes; antique jewelry; antique furniture; antique
     silver; rare books; porcelains; rare or art glassware; art glass windows; valuable rugs; bric-a-brac and porcelains

10. Land improvements: Landscape gardening, car parks, parking lots, pavement, roadways, sidewalks,
    walkways, railways or transformer enclosures; but does not include fill beneath such property, including
    buildings, structures or additions.

11. Location(s):

     a.   As specified in Appendix A - Schedule of Covered Locatlon(s);

     b.   Listed on a SCHEDULE on file with us; or

     c.   If not so specified in Appendix A - Schedule of Covered Location(s) or listed on a SCHEDULE on file wilh
          us, a building, yard, dock, wharf, pier or bulkhead (or any group of the foregoing) bounded on all sides by
          public streets, clear land space or open waterways, each not less than fifty (50) feet wide. Any bridge or
          tunnel crossing such street, space or waterway will render such separation inoperative for the purpose of
          this definition.

12. Miscellaneous Unnamed Location: A location owned, leased or rented by you, but not listed in a Schedule
    of locations on file with us or attached to this Policy.

     Miscellaneous Unnamed Location does not include:

     a.   Newly Acquired Locations; or

     b. A location for which coverage Is found elsewhere in this Policy including ERRORS AND OMISSIONS.

13. Occurrence: All loss or damage attributable directly or indirectly to one (1) cause or series of similar


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    causes. All such loss or damage will be added together and the lotal loss or damage will be treated
    as one (1) occurrence.

    Unless otherwise amended by an endorsement attached to this Policy;

    a.   All loss or damage resulting from a continuous FLOOD event, irrespective of the amount of time or area
         over which such loss or damage occurs, will be considered a single occurrence.

    b. All loss or damage from EARTH MOVEMENT or NAMED STORM within the time specified In the
       O C C U R R E N C E TIME SPECIFICATIONS will be considered a single occurrence.

14. Ordinary payroll: Payroll expenses for all of your employees except officers, executives, department
    managers, employees under contract, and other important professional employees. Payroll expenses Include
    the payroll, employee benefits (if directly related to payroll), FICA payments, Union dues and Workers'
    Compensation premiums you pay.

15. Personal Property: Your tangible things, other than real property owned by you and used in your
    business, including:

    a.   Furniture, fixtures, machinery, electronic data processing equipment and stock;

    b.   Materials, supplies, machinery, equipment and fixtures, including those that are personal property of others,
         which are intended by you for use in construction of new additions and buildings at an existing covered
         location, that you begin to construct during the Policy period and intend to own or occupy once constructed,
         while located on the construction site awaiting use in construction.

    c.   Property, other than real property, you lease for use in your business that you have a responsibility to
         insure;

    d.   Your interest in improvements and betterments you have made in buildings you do not own;

    e.   Your valuable papers and records.


16. Real Property: Building(s) and any other structure, including:

    a.   New buildings and additions under construction, in which you have an insurable interest;

    b.   Completed additions, extensions or permanent fixtures;

    c.   Machinery and equipment used to service the buildings;

    d.   Yard Fixtures.


17. Terrorism: Activities against persons, organizations or property of any nature:

    a.   That Involve the following or preparation for the following;

         (1) Use or threat offeree or violence; or

         (2) Commission or threat of a dangerous act; or

         (3) Commission or threat of an act that interferes with or disrupts an electronic, communication,
         information, or mechanical system; and

    b.   When one or both of the following applies:



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        (1) The effect is to intimidate or coerce a government orthe civilian population or any segment thereof, or
            to disrupt any segment of the economy; or

        (2) It appears that the intent is to intimidate or coerce a government, or to further political, ideological,
            religious, social or economic objectives or to express (or express opposition to) a philosophy or
            ideology.

18. Valuable papers and records: Written or printed documents or records including books, maps, negatives,
    drawings, abstracts, deeds, mortgages and manuscripts.

19. We, us and our(s): The company issuing this Policy, as shown on the Declarations.

20. You and your(s): The First Named Insured shown on the Declarations.




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                       APPENDIX A - SCHEDULE OF COVERED LOCATIONS


Per schedule on file with us




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                  APPENDIX B - NEW MADRID EARTH MOVEMENT ZONES

     STATE       ZONE                  COUNTIES / PARISHES / INDEPENDENT CITIES

 ARKANSAS          1    Clay, Craighead, Crittenden, Cross, Green, Independence, Jackson, Lawrence,
                        Lee, Mississippi, Monroe, Phillips, Poinsett, Randolph, St. Francis, White,
                        Woodruff

 ARKANSAS          2    Arkansas, Fulton, Izard, Lonoke, Prairie, Sharp,

 ILLINOIS          1    Alexander, Franklin, Gallatin, Hamilton, Hardin, Jackson, Jefferson, Johnson,
                        Massac, Perry, Pope, Pulaski, Randolph, Saline, Union, Washington, Williamson

 ILLINOIS          2    Bond, Clay, Clinton, Crawford, Edwards, Effingham, Fayette, Jasper. Lawrence,
                        Madison, Marion, Monroe, Richland, Saint Clair, Wabash, Wayne, White

 INDIANA           2    Gibson, Knox, Pike. Posey, Spencer, Vanderburgh, Warrick

 KENTUCKY          1    Ballard, Calloway, Cariisle. Crittenden, Fulton, Graves, Hickman, Livingston,
                        Lyon, Marshall, McCracken,

 KENTUCKY          2    Caldwell, Christian. Daviess, Henderson, Hopkins, McLean, Muhlenberg, Todd,
                        Trigg, Union, Webster

 MISSISSIPPI       1    DeSoto, Marshall, Tate, Tunica

 MISSISSIPPI       2    Alcorn, Benton, Coahoma, Lafayette, Panola, Quitman, Tippah
 MISSOURI          1    Bollinger, Butler, Cape Girardeau, Carter, Dunklin, Madison, Mississippi, New
                        Madrid, Pemlscott, Perry, Ripley, Scott, Stoddard, Wayne

 MISSOURI          2    Independent City of St. Louis, Iron, Jefferson, Oregon, Reynolds, Shannon, St.
                        Francois, SL Louis, Ste. Genevieve, Washington

 TENNESSEE         1    Benton, Carroll, Chester, Crockett, Dyer, Fayette, Gibson, Hardeman, Haywood,
                        Henderson, Henry, Lake, Lauderdale, Madison, Obion, Shelby, Tipton, Weakley

 TENNESSEE         2    Decatur, Hardin, Houston, Humphreys, McNairy, Monlgomery. Perry, Stewart.




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               APPENDIX C - PACIFIC NORTHWEST EARTH MOVEMENTZOHE

  REGION / STATE                                 COUNTIES / COORDINATES

 CANADA: BRITISH South of 50° N latitude and west of 120" W longitude
 COLUMBIA and
 VANCOUVER
 ISLAND
 OREGON             Benton, Clackamas. Clatsop, Columbia, Coos, Curry, Douglas, Hood River, Jackson,
                    Josephine, Klamath, Lane, Lincoln, Linn, Marion, Multnomah, Polk, Tillamook,
                    Washington, Yamhill

 WASHINGTON         Chelan. Clallam, Clark, Cowlitz, Grays Harbor, Island, Jefferson, King, Kitsap, Kittitas,
                    Lewis, Mason, Pacific, Pierce, San Juan, Skagit, Skamania, Snohomish, Thurston,
                    Wahkiakum, Whatcom




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  APPENDIX D-A/AMED STO/?/W TIERS FOR USA INCLUDING ITS COMMONWEALTHS
                             AND TERRITORIES

 SOUTHERN TIER ONE; NORTH CAROLINA TO TEXAS

         STATE                        COUNTIES / PARISHES / INDEPENDENT CITIES

 Alabama            Baldwin, Mobile
 Florida            Entire State
 Georgia            Brantly, Bryan, Camden. Chatham, Chariton, Effingham, Glynn, Liberty, Long.
                    Mcintosh, Pierce, Wayne
 Louisiana          Acadia, Ascension, Assumption, Calcasieu, Cameron, East Baton Rouge, East
                    Feliciana, Iberia, Iberville, Jefferson, Jefferson Davis, Lafayette, Lafourche,
                    Livingston, Orieans, Plaquemines, Pointe Coupee, St Bernard, St Charles, St.
                    James, St. John the Baptist, St Martin, St. Mary, St Tammany, Tangipahoa.
                    Terrebonne, Vermilion, Washington, West Baton Rouge

 Mississippi        George. Hancock, Harrison. Jackson, Peari River, Stone
 North Carolina     Beaufort. Bertie, Bladen, Brunswick, Camden, Carteret, Chowan, Columbus,
                    Craven, Currituck, Dare, Duplin, Gates, Hertford, Hyde, Jones, Lenoir, Martin, New
                    Hanover, Onslow, Pamlico, Pasquotank, Pender, Perquimans, Pitt, Tyrrell,
                    Washington, Wayne
 South Carolina     Beaufort, Berkeley, Charleston, Colleton, Dorchester, Georgetown, Horry, Jasper,
                    Williamsburg
 Texas              Aransas, Bee, Brazoria, Brooks, Calhoun, Cameron, Chambers, Fort Bend,
                    Galveston, Goliad, Hardin, Harris, Hidalgo, Jackson, Jasper, Jefferson, Jim Wells,
                    Kenedy, Kleberg, Liberty, Matagorda, Nueces, Orange, Refugio, San Patricio,
                    Victoria, Wharton, Willacy




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                                       APPENDIX D (continued)

                          NAMED STORM J \ E R S FOR USA INCLUDING
                          ITS COMMONWEALTHS AND TERRITORIES

 NORTHERN TIER ONE: VIRGINIA TO MAINE

            STATE                    COUNTIES / PARISHES / INDEPENDENT CITIES

 Connecticut          Fairfield, Middlesex, New Haven, New London

 Delaware             Sussex

 Maine                Cumberiand, Hancock, Knox, Lincoln, Penobscot, Sagadahoc, Waldo,
                      Washington, York
 Maryland             Calvert, Charies, Dorchester, St Mary's, Somerset, Wicomico, Worcester
 Massachusetts        Barnstable, Bristol. Dukes. Essex. Middlesex, Nantucket, Norfolk, Plymouth,
                      Suffolk
 New Hampshire        Rockingham
 New Jersey           Atlantic, Bergen, Cape May, Cumberland, Essex, Hudson, Middlesex, Monmouth,
                      Ocean, Union

 New York             Bronx, Kings, Nassau, New York, Queens, Richmond, Suffolk
 Rhode Island         Bristol, Newport, Washington

 Virginia             Accomack, Gloucester, Isle of Wight James City, Lancaster, Mathews, Middlesex,
                      Northampton, Northumberiand, Surry, York
                      Independent Cities: Chesapeake, Hampton, Newport News, Norfolk, Poquoson,
                      Portsmouth, Suffolk, Virginia Beach, Williamsburg

SOUTHERN TIER TWO; NORTH CAROLINA TO TEXAS

            STATE                    COUNTIES / PARISHES / INDEPENDENT CITIES

 Alabama              Clarke, Coffee, Conecuh, Covington, Dale, Escambia, Geneva, Houston, Monroe,
                      Washington
 Louisiana            Allen, Avoyelles, Beauregard, Evangeline, St. Helena, St. Landry, West Feliciana

 Mississippi          Forrest, Greene, Jones, Lamar, Marion, Perry, Pike, Walthall, Wayne

 North Carolina       Cumberiand, Edgecombe, Greene, Johnston, Robeson, Sampson, Wilson
 South Carolina       Bamberg, Calhoun, Clarendon, Dillon. Florence, Hampton, Marion, Orangeburg

 Texas                Austin, Brazos, Colorado, DeWitt, Duval, Fayette, Gonzales, Grimes, Jim Hogg,
                      Karnes, Lavaca, Live Oak, McMullen, Montgomery, Newton, Polk, San Jacinto,
                      Starr, Tyler, Walker, Waller, Washington




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                                        APPENDIX D (continued)

                           NAMED STORM TIERS FOR USA INCLUDING
                           ITS COMMONWEALTHS AND TERRITORIES

               Other States, Commonwealths and Territories of The United States of America
                                             TIER
 AMERICAN SAMOA                                2     Entire Territory
 GUAM                                           1    Entire Territory
 HAWAII                                         1    Entire State
 NORTHERN MARIANA ISLANDS                       1    Entire Commonwealth
 PUERTO RICO                                    1    Entire Commonwealth
 U.S. VIRGIN ISLANDS                            1    Entire Territory
 All other US Territories and Possessions       1    Entire Territory




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                          APPENDIX E - FLOOD HAZARD LOCATIONS



High Hazard Locationfs)
NCP

Moderate Hazard Location(s)
NCP




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                                   FORMS AND ENDORSEMENTS


                     Form(s) and Endorsement(s) made a part of this Policy at time of issue;

            Form or Endorsement Number                             Form or Endorsement Name


                 CNP 90 06 01 17                       Disclosure Pursuant to Terrorism Risk Insurance Act

                  PY04 04 01 17                               Exclusion of Certified Acls of Terrorism

                  PY 03 24 04 17                                 Emergency Evacuation Expense
                  PZOO 01 08 16                           Communicable Disease Decontamination Cost
                                                                        Endorsement

                  PY04 10 01 17                                   Removal of Vacancy Condition

                  PY03 11 01 17                                  Research Animals Endorsement

                  PY 04 07 01 17                                Schedule of Lenders or Mortgagees




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                            STATE AMENDATORY ENDORSEMENTS

                 Endorsement Number                                     Endorsement Name

                   PY01 37 01 17                                        Washington Changes

                   PY 02 49 01 17                     Washington Changes - Cancellation and Nonrenewal




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PolicyNumber      YAC-L9L-469720-029

Issued by         Employers Insurance Company of Wausau

                 THIS ENDORSEMENT CHANGES THE POLICY. P L E A S E READ IT CAREFULLY.

                                EXCLUSION OF CERTIFIED ACTS OF TERRORISM

This endorsement modifies insurance provided under the following:

    PREMIER PROPERTY PROTECTOR™


A. The following definition is added with respect to the provisions of this endorsement

    "Certified act of terrorism" means an act that is certified by the Secretary of the Treasury, in accordance with
    the provisions of the federal Terrorism Risk Insurance Act, to be an act of terrorism pursuant to such Act. The
    criteria contained in the Terrorism Risk Insurance Act for a "certified act of terrorism" include the following;

    1.   The act resulted in insured losses in excess of $5 million in the aggregate, attributable to all types of
         insurance subject lo the Terrorism Risk Insurance Act; and

    2.   The act is a violent act or an act that is dangerous to human life, property or infrastructure and Is
         committed by an individual or Individuals as part of an effort to coerce the civilian population of the United
         States or to influence the policy or affect the conduct of the United States Government by coercion.

B. The following exclusion is added:

    CERTIFIED ACT OF TERRORISM EXCLUSION

    We will not pay for loss or damage directly or indirectly caused by or resulling from a "certified act of
    terrorism". Such loss or damage is excluded regardless of any other cause or event whether or not insured
    under this Policy, contributing concurrently or in any other sequence.

C. Exception Covering Certain Fire Losses

    The following exception to the exclusion in Paragraph B. applies only in the following states: California,
    Georgia, Hawaii, Illinois, Iowa, Maine, Missouri, New Jersey, New York, North Carolina, Oregon. Rhode
    Island, U.S. Virgin Islands, Washington, West Virginia, and Wisconsin.

    If a "certified act of terrorism" results in fire, we will pay for the loss or damage caused by that fire. Such
    coverage for fire applies only to direct loss or damage by fire to covered property. Therefore, for example,
    the coverage does not apply to Insurance provided under TIME ELEMENT.

    If aggregate insured losses attributable to terrorist acts certified under the Terrorism Risk Insurance Act
    exceed $100 billion in a calendar year and we have met our insurer deductible under the Terrorism Risk
    Insurance Act, we shall not be liable for the payment of any portion of the amount of such losses that exceeds
    $100 billion, and in such case insured losses up to that amount are subject to pro rata allocation in
    accordance with procedures established by the Secretary of the Treasury.

D. Application Of Exclusions

   The terms and limitations of SECTION II.C. EXCLUSIONS, 2.a. do not serve to create coverage for any loss
   which would otherwise be excluded under this endorsement or the Policy, such as losses excluded under
   SECTION II.C. EXCLUSIONS, 2. b.. c , d., or e.




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PolicyNumber      YAC-L9L-469720-029

Issued by         Employers Insurance Company of Wausau

                 THIS ENDORSEMENT CHANGES THE POLICY. P L E A S E READ IT C A R E F U L L Y .

                                    EMERGENCY EVACUATION E X P E N S E

This endorsement modifies insurance provided under the following;

    PREMIER PROPERTY PROTECTOR™


The following is added to SECTION Ml - TIME ELEMENT, E. TIME ELEMENT COVERAGES AND LIMITATIONS:

    EMERGENCY EVACUATION EXPENSE

We cover the reasonable and necessary costs you incur for the emergency evacuation of patients, tenants or lawful
occupants from, and subsequent return to a covered location, when a civil authority orders the emergency
evacuation as a direct result of immediately impending physical loss or damage ofthe type insured by this Policy.

This coverage is subject to the deductible provisions that would have applied had the physical loss or damage
occurred.




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Policy Number YAC-L9L-469720-029

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                 THIS ENDORSEMENT CHANGES THE POLICY. P L E A S E READ IT C A R E F U L L Y .

                    COMMUNICABLE DISEASE DECONTAMINATION COST ENDORSEMENT

The following PROPERTY DAMAGE COVERAGE AND LIMITATION is added to SECTION 11, D. of this Policy;

COMMUNICABLE DISEASE DECONTAMINATION COSTS


a.   If your covered property at a covered location shown on the Schedule of this endorsement is
     contaminated by a communicable disease as the direct result of a covered loss, and there is in force
     at the time of that covered loss a law or ordinance that requires you to decontaminate that covered
     property as a result of this contamination by a communicable disease, we will pay up to the limit as
     specified in the LIMITS OF LIABILITY Table in the Declarations in any one (1) occurrence for those
     decontamination costs incurred by you, but only to satisfy the minimum requirements of that applicable
     law or ordinance.

b.   We will not pay under this endorsement, however, for:

     (1) Any cost of removing contaminated property, or the cost to clean up the contamination for property not
         owned by you whether or not the contamination results from a covered loss; or

     (2) Any costs associated with any other contamination loss.

c.   For purposes of this extension the italicized term communicable disease means a viral or bacterial
     organism that is capable of inducing disease, illness, physical distress or death.


                                                    Schedule

Covered Location

Per Schedule on File




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Policy Number    YAC-L9L-469720-029

Issued by        Employers Insurance Company of Wausau

                THIS ENDORSEMENT CHANGES THE POLICY. P L E A S E READ IT C A R E F U L L Y .

                                    REMOVAL OF VACANCY CONDITION

This endorsement modifies insurance provided under the following:

    PREMIER PROPERTY PROTECTOR™


The VACANCY condition of SECTION V - GENERAL POLICY CONDITIONS does nol apply to the location(s)
shown in the Schedule of this endorsement

                                                   Schedule

                                                   Location(s)
 Per Schedule on File

All other terms and conditions remain unchanged.




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Policy Number      YAC-L9L-469720-029

Issued by          Employers Insurance Company of Wausau

                 THIS ENDORSEMENT CHANGES THE POLICY. P L E A S E READ IT C A R E F U L L Y .

                                        R E S E A R C H ANIMALS ENDORSEMENT

This endorsement modifies insurance provided under the following:

    PREMIER PROPERTY PROTECTOR™


A. We provide the following PROPERTY DAMAGE COVERAGE AND LIMITATION for a covered loss as
   specified in the LIMIT OF LIABILITY and DEDUCTIBLE Table in the Schedule of this endorsement, subject lo
   the terms, conditions and exclusions of this Policy:

    RESEARCH ANIMALS

    1.   We cover the cost to replace your laboratory animals used In medical research either destroyed or
         deemed unsuitable for use while at a covered location from a covered loss.

    2.   We do not cover loss to laboratory animals resulting from the following unless directly resulting from direct
         physical loss or damage:

         a.    Death or destruction from natural causes, unknown causes, medical procedures Including surgery,
               inoculation, parturition or abortion.

         b.    Errors or omission in processing and/or failure on your part to provide nourishment, medicine or
               sanitary conditions.

         c.    Contamination of animals, food or medicine.

         d.    The intentional destruction of animals.

         e.    Escape.

         f.    Sickness, disease, infection, infestation or illness.

    3.   We do not cover the cosl to restore the research project to its condition prior to the loss.

All other terms and conditions remain unchanged.

                                                          Schedule

                          COVERAGE                                       LIMITOF LIABILITY         DEDUCTIBLE AMOUNT

                     RESEARCH ANIMALS                                  $5,000,000, no more than         $100,000
                                                                           $5,000 per animal




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Policy Number     YAC-L9L-469720-029

Issued by        Employers Insurance Company of Wausau

                THIS ENDORSEMENT CHANGES THE POLICY. P L E A S E READ IT CAREFULLY.

                                   S C H E D U L E OF LENDERS OR MORTGAGEES

                                                                                                        Interests
                                                                                                         ("L" for
                                                    Description of     Name and Address of Lender
                   Location                                                                              Lender)
                                                      Property               or Mortgagee
                                                                                                         ("M" for
                                                                                                       Mortgagee)
Per schedule or certificates of insurance on file      RP, PP           Per Schedule on file with us      UM
with us




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Policy Number YAC-L9L-469720-029

Issued by         Employers Insurance Company of Wausau

                 THIS ENDORSEMENT CHANGES THE POLICY. P L E A S E READ IT C A R E F U L L Y .

                                                WASHINGTON CHANGES

This endorsement applies only lo covered property located in Washington and modifies insurance provided
under the following:

     PREMIER PROPERTY PROTECTOR™
     EXCLUSION OF CERTIFIED ACTS OF TERRORISM


A.   Paragraph H. JURISDICTION of SECTION I - DECLARATIONS is replaced by the following:

     H. JURISDICTION

          Any disputes arising hereunder will be exclusively subject to a State or Federal jurisdiction within the United
          States of America.

B. The first paragraph of item 2. of SECTION 11 - PROPERTY DAMAGE. C. EXCLUSIONS is replaced with the
   following:

     We do not cover any of the excluded events listed below. Loss or damage will be considered to have been
     caused by an excluded event if the occurrence of that event directly and solely results in physical loss or
     damage, or initiates a sequence of events which results in physical loss or damage, regardless of the nature of
     any intermediate or final event in that sequence.

C. Paragraph I. of SECTION 11 - PROPERTY DAMAGE, C.2. EXCLUSIONS is replaced by the following:

     I.   Any criminal, fraudulent or dishonest acl, including theft, committed alone or in collusion wilh others:

          (1) By you or any proprietor, partner, director, trustee, officer or employee of an Insured; or

          (2) By any proprietor, partner, director, trustee, or officer of any business or entity (other than a common
              carrier) engaged by you to do anything in connection with property insured under this Policy.

          However, we do cover direct physical loss or damage intentionally caused by your employee or any
          individual specified in (2) above provided that said individuals acted without your knowledge.

          This exclusion will not apply to deny an insured's otherwise covered property loss if the property loss is
          caused by an act of domestic abuse by another insured under this Policy, the insured claiming property
          loss files a police report and cooperates with any law enforcement investigation relating to the act of
          domestic abuse, and the insured claiming property loss did not cooperate in or contribute to the creation of
          the property loss. Payment by the insurer to an insured may be limited lo the person's insurable interest in
          the property less payments made to a mortgagee or other party with a legal secured Interest in the property.
          An insurer making payment to an insured under RCW 48.18.120 (1) has all rights of subrogation to recover
          against the perpetrator of the act that caused the loss.




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D. Paragraph 3. of SECTION IV - DESCRIBED LOSSES, A. EARTH MOVEMENT is replaced by the following:

     3.   EARTH MOVEMENT is:

          Earthquake, landslide, subsidence or sinking, rising or shifting of the earth, avalanche, whether natural or
          man-made, or volcanic eruption that directly and solely results in physical loss or damage, or initiates a
          sequence of events which results in physical loss or damage, regardless of the nature of any intermediate
          or final event in that sequence.

          However, physical loss or damage from fire, explosion, sprinkler leakage or FLOOD caused by EARTH
          MOVEMENT \Nill not be considered to be loss by EARTH MOVEMENT\N\thln the terms and conditions of
          this Policy.

E.   Paragraph 2. of SECTION IV ~ DESCRIBED LOSSES. D. FLOOD is replaced by the following:

     2.   FLOOD is:

          a.    Surface waters; rising waters; storm surge, wave wash; waves; tsunami; tide or tidal water; the release
                of water, the rising, overflowing or breaking of boundaries of natural or man-made bodies of water; or
                the spray therefrom; all whether driven by wind or not;

          b.    Sewer back-up resulting from any of the foregoing; or

          0.    Mudslide or mudflow caused by or resulting from surface water, runoff or accumulation of water on or
                under the ground;
                that directly and solely results in physical loss or damage, or initiates a sequence of evenls which
                results in physical loss or damage, regardless of the nature of any intermediate or final event in that
                sequence.

          Covered loss from FLOOD associated with a storm or weather disturbance whether or not identified by
          name by any meteorological authority is considered to be FLOOD within the terms of this Policy. However,
          physical loss or damage from fire, explosion or sprinkler leakage caused by FLOOD will not be considered
          lo be loss by FLOOD within the terms and conditions of this Policy.

F.   Paragraph C. CONCEALMENT, MISREPRESENTATION OR FRAUD of SECTION V - GENERAL POLICY
     CONDITIONS is replaced by the following:

     C. CONCEALMENT, MISREPRESENTATION OR FRAUD

          This entire Policy is void if you intentionally conceal or misrepresent any material fact or circumstance
          relating to il.

          However, this will not apply to deny an insured's otherwise covered property loss if the property loss is
          caused by an act of domestic abuse by another insured under this Policy, the insured claiming property
          loss files a police report and cooperates with any law enforcement investigation relating to the acl of
          domestic abuse, and the insured claiming property loss did not cooperate in or contribute to the creation of
          the property loss. Payment by the insurer to an insured may be limiled to the person's insurable interest in
          the property less payments made to a mortgagee or other party with a legal secured interest in the property.
          An insurer making payment to an insured under RCW 48.18.120 (1) has all rights of subrogation to recover
          against the perpetrator of the act lhat caused the loss.




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G. Paragraph E. INSPECTION of SECTION V - GENERAL POLICY CONDITIONS is replaced by the following:

     E.   INSPECTION

          1.    During the period of this Policy, we will be permitted, but not obligated, to inspect the covered property.
                Our right to inspect, the performance of or failure to inspect, and any report arising out of an inspection
                will not constitute an undertaking or imply that the property is safe, healthful, or in compliance with laws,
                regulations, codes or standards. We will have no liability to you or others because of any inspection
                or failure to inspect, or on account of anyone's use or reliance upon any report or other information
                generated during the course of, or as a result of any inspection.

          2.    This condition does not apply to any inspections, surveys, reports or recommendations we may make
                relative to certification, under state or municipal statutes, ordinances or regulations, of boilers, pressure
                vessels or elevators.

H. Paragraph F. LENDERS LOSS PAYEE AND MORTGAGEE INTERESTS AND OBLIGATIONS of SECTION V
   - GENERAL POLICY CONDITIONS is deleted and replaced by endorsement PY 03 21 Washington Lender's
   Loss Payable Endorsement as required by the Washington Insurance Commissioner.

I.   Paragraph 5. of SECTION V - GENERAL POLICY CONDITIONS, OTHER INSURANCE is replaced by the
     following:

     5.   You may have other insurance subject to the same plan, terms, conditions and provisions as the insurance
          under this Policy. If you do, we will pay our share of the covered loss or damage. Our share is the
          proportion that the applicable LIMIT OF LIABILITY under this Policy bears to the limits of liability of all
          Insurance covering on the same basis.

J.   Paragraph 2. of SECTION V - GENERAL POLICY CONDITIONS, VALUATION is replaced by the following:

     2.   You may elect not to repair or replace the covered property lost, damaged or destroyed. Loss settlement
          may be elected on the lesser of repair or replacement cost basis if the proceeds of such loss settlement
          are expended on other capital expenditures related to your operations within two (2) years from the date
          of loss. As a condition of collecting under this provision, such expenditure must be unplanned as of the date
          of loss and be made at a covered location under this Policy. This provision does not extend lo
          DEMOLITION AND INCREASED COST OF CONSTRUCTION or to property scheduled for demolition at
          the time of loss.

          Replacement cost means the cost to replace covered property;
          a.    With new materials of like kind and quality and used for the same purpose; and

          b.    Al the location where the loss happened.

          Bul replacement cost excludes any Increased cost of repair or reconstruction by reason of any law or
          ordinance regulating construction, repair or use.

K.   Paragraph 2. of SECTION VI - LOSS CONDITIONS, H. SUBROGATION is replaced by the following:

     2.   We will be entitled to a recovery only after you have been fully compensated for damages.

L.   Paragraph 1. of SECTION Vll - DEFINITIONS is replaced by the following:

     1.   Actual cash value: The amount it would cost to repair or replace covered property, on the date of loss,
          with material of like kind and quality, but in no event more than the fair market value.




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M. Paragraph B. of endorsement PY 04 04 EXCLUSION OF CERTIFIED ACTS OF TERRORISM is replaced by
   the following:

    B. The following exclusion is added:

       CERTIFIED ACT OF TERRORISM EXCLUSION

       We will not pay for loss or damage caused by or resulting from a "certified act of terrorism". Loss or damage
       will be considered to have been caused by or resulting from a "certified act of terrorism" If the occurrence
       of that "certified act of terrorism" directly and solely results in physical loss or damage, or initiates a
       sequence of events which results in physical loss or damage, regardless of the nature of any intermediate
       or final event in that sequence.


All other terms and conditions remain unchanged.




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Policy Number YAC-L9L-469720-029

Issued by            Employers Insurance Company of Wausau

THIS ENDORSEMENT CHANGES THE POLICY. P L E A S E READ IT C A R E F U L L Y .

                          WASHINGTON CHANGES - CANCELLATION AND NONRENEWAL

This endorsement modifies insurance provided underthe following:

     PREMIER PROPERTY PROTECTOR™

A.   Paragraph B. CANCELLATION of SECTION V - GENERAL POLICY CONDITIONS is replaced by the
     following:

     B.   CANCELLATION

          1.    You may cancel this Policy by notifying us or your insurance agent or broker in one of the following
                ways:

                a.   Written notice by mail, fax or e-mail;

                b.   Surrender of the Policy or binder; or

                c.   Verbal notice.

               Upon receipt of such notice, we will cancel this Policy or any binder issued as evidence of coverage,
               effective on the later of the following:

                a.   The date on which notice is received or the Policy or binder is surrendered; or

                b.   The date of cancellation requested by you.

          2.    We may cancel this Policy by mailing or delivering to you and your insurance agent or broker written
                notice of cancellation, including the aclual reason for the cancellation, to the last mailing address
                known to us, at least:

                a.   Ten (10) days before the effective date of cancellation if we cancel for nonpayment of premium;
                     or

                b.   Forty-five (45) days or the number of days specified In the CANCELLATION TIME
                     SPECIFICATIONS, whichever is greater, before the effective date of cancellation if we cancel for
                     any other reason;
                except as provided in Paragraph 3. below.

          3.    We may cancel the Policy, by mailing or delivering to you and your insurance agent or broker written
                notice of cancellation at leasl five (5) days before the effective date of cancellation for any real
                property where two or more of the following conditions exist

                a.   Without reasonable explanation, the real property is unoccupied for more than sixty (60)
                     consecutive days, or at least 65% of the rental units are unoccupied for more than one hundred
                     twenty (120) consecutive days, unless the real property is maintained for seasonal occupancy or
                     is under construction or repair;

                b.   Without reasonable explanation, progress toward completion of permanent repairs to the real
                     property has not occurred within sixty (60) days after receipt of funds following satisfactory
                     adjustment or adjudication of loss resulting from a fire;



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               c.   Because of its physical condition, the real property is in danger of collapse;

               d.   Because of its physical condition, a vacation or demolition order has been Issued for the real
                    property, or it has been declared unsafe in accordance with applicable law;

               e.   Fixed and salvageable ilems have been removed from the real property, indicating an intent to
                    vacate the real property;

               f.   Without reasonable explanation, heat, water, sewer and electricity are not furnished for the real
                    property for sixty (60) consecutive days; or

               g.   The real property is not maintained in substantial compliance with fire, safety and building
                    codes.

         4.    We will also mail or deliver to any mortgagee, pledgee or other person shown in this Policy to have an
               inlerest in any loss which may be covered under this Policy, at their last mailing address known to us,
               written noiice of cancellation, prior to the effective date of cancellation. If cancellation is for reasons
               other lhan those contained in Paragraph A.3. above, this notice will be the same as that mailed or
               delivered to you. If cancellation is for a reason contained in Paragraph A.3. above, we will mail or
               deliver this notice at least twenty (20) days prior to the effective date of cancellation.

         5.    Notice of cancellation will state the effective date of cancellation. The Policy period will end on that
               date.

         6.    If this Policy is cancelled, we will send you any premium refund due. If we cancel, the refund will be
               pro rata. If you cancel, the refund will be at least 90% of the pro rata refund. The cancellation will be
               effective even if we have not made or offered a refund.

         7.    If notice is mailed, proof of mailing will be sufficient proof of notice.

B. The NONRENEWAL provision of SECTION V - GENERAL POLICY CONDITIONS is replaced by the
   following:

    NONRENEWAL

    We may decide not to renew this Policy by mailing or delivering written notice of nonrenewal, stating the
    reasons for nonrenewal, to you and your insurance agent or broker at their last mailing addresses known to
    us. If notice is mailed, proof of mailing will be sufficient evidence of notice. We will also mail to any
    mortgagee, pledgee or other person shown in this Policy lo have an interest in any loss which may be
    covered under this Policy, al their last mailing address known to us, written notice of nonrenewal. We will mail
    or deliver these notices at least sixty (60) days before the:

    1.   Expiration ofthe Policy; or
    2.   Anniversary date of this Policy If this Policy has been written for a term of more than one (1) year.

    If notice of nonrenewal is not received by you as outlined above, you and your insurance agent or broker will
    receive written notice of our intent to renew this Policy. This notice will be sent al least twenty (20) days prior
    to the Policy expiration or anniversary date. Included in this notice will be changes, if any, in rates, terms, or
    conditions made to the expiring Policy. We will mail or deliver the notice to you and your insurance agent or
    broker, at their last mailing address known to us.

    This notice will not be sent if we have received written notice, prior to the expiration date of this Policy, of
    your intent to obtain replacement coverage elsewhere or that you have already done so.




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Endorsement number 1 for policy number YAC-L9L-469720-029

Nained Insured Northwest Hospital

This endorsement is effective 07/01 /2019 and will terminate with the policy. It is issued by the conipany designated
in the Declarations. All other provisions ofthe policy remain unchanged.

             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                              Change Endorsement

DESCRIPTION OF CHANGE                                                                                     PREMIUM


Pretnium is adjusted as a result of changes on the schedule of locations on file with us.                    gjj^^


SECTION I - DECLARATIONS, LIMITS OF LIABILITY TABLE - PART ONE,
Forni PY 00 01 02 17 is amended as follows:

The Personal Property on the Statement of Values/ Schedule of Locations on Ille with us
at the following Location 6.1, 9709 3fd Ave NE, Seattle, WA 98115, has been decreased
by $31.589.108 to a new atnount of $ 14.000.000.




PREMIUM (EXCLUDING TERRORISM RISK INSURANCE ACT (TRIA) PREMIUM):                                          $19,586 CR
TERRORISM RISK INSURANCE ACT (TRIA) PREMIUM:
OTHER CHARGES:


TOTAL AMOUNT PAYABLE FOR ENDORSEMENT:                                                                     $19,586 CR


                                                       1C9999
Issued: 1/23/2020                                       10-11                                              Paue 1 of 1
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Endorsement number 2 for policy number YAC-L9L-469720-029

Named Insured University of Washington - UW Medical Center/Northwest and any subsidiary, and UW
Medicine/Northwest's interest in any partnership or joint venture in which UW Medicine/Northwest has
management control or ownership as now constituted or hereafter is acquired, as the respective interest of
each may appear; all hereafter referred to as the "Insured", including legal representatives

This endorsement is effective 01/01/2020 and will terminate with the policy, it is issued by the company designated
in the Declarations. All other provisions of the policy remain unchanged.

             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                             Change Endorsement

DESCRIPTION OF CHANGE                                                                                   PREMIUM


POLICY COVER PAGE, Form PY 00 00 01 17 is amended as follows:

The named insured on the Policy Cover Page is changed to: University of Washington -
UW Medical Center/Northwest and any subsidiary, and UW Medicine/Northwest's interest
in any partnership or joint venture in which UW Medicine/Northwest has management
control or ownership as now constituted or hereafter is acquired, as the respective interest of
each may appear; all hereafter referred to as the "Insured", including legal representatives

Formerly: Northwest Hospital


SECTION I - DECLARATIONS, Form PY 00 01 02 17 is amended as follows:

The First Named Insured on the Declarations is changed to: University of Washington -
UW Medical Center/Northwest and any subsidiary, and UW Medicine/Northwest's interest
in any partnership or joint venture in which UW Medicine/Northwest has management
control or ownership as now constituted or hereafter is acquired, as the respective interest of
each may appear; all hereafter referred to as the "Insured", including legal representatives


Formerly: Northwest Hospital


No change in premium.

PREMIUM (EXCLUDING TERRORISM RISK INSURANCE ACT(TRIA) PREMIUM):
TERRORISM RISK INSURANCE ACT(TRIA) PREMIUM:
OTHER CHARGES:


TOTAL AMOUNT PAYABLE FOR ENDORSEMENT:

                                                      IC9999
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Endorsement number 3 for policy number YAC-L9L-469720-029

Named Insured University of Washington - UW Medical Center/Northwest and any subsidiary, and UW
Medicine/Northwest*s interest in any partnership or joint venture in which UW Medicine/Northwest has
management control or ownership as now constituted or hereafter is acquired, as the respective interest of
each may appear: all hereafter referred to as the "Insured", including legal representatives

This endorsement is etTective 07/01/2019 and will terminate with the policy. It is issued by the company designated
in the Declarations. All other provisions of the policy remain unchanged.

             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                              Change Endorsement

DESCRIPTION OF CI lANGE                                                                                  PREMIUM


SECTION I - DECLARATIONS. LIMITS OF LIABILITY TABLE - PART ONE, Form
PY 00 01 02 17 is amended as follows:

Contingent Time Element is amended to:

• $20,000,000 Direct Dependent Contingent Time Element Location(s) Not Scheduled or
on file with us.
    $5,000,000 Indirect Dependent Contingent Time Element Location(s) Not Scheduled or
on file with us.

Endorsement Number PZ 00 41 04 18, TIME ELEMENT LOSSES DUE TO
CONTAMINATION BY COMMUNICABLE DISEASE is added.


Limit of Liability: 30 Days, Not to Exceed $1,000,000 limit.


No change in premium.




PREMIUM (EXCLUDING TERRORISM RISK INSURANCE ACT(TRIA) PREMIUM):
TERRORISM RISK INSURANCE ACT(TRIA) PREMIUM:
OTHER CHARGES:


TOTAL AMOUNT PAYABLE FOR ENDORSEMENT:

                                                       IC9999
Issued: 3/13/2020                                       10-11                                             Page I of I
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Policy Number YAC-L9L-469720-029

Issued by         Employers Insurance Company of Wausau

                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

              TIME ELEMENT LOSSES DUE TO CONTAMINATION BY COMMUNICABLE DISEASE

This endorsement modifies insurance provided under the following:

     PREMIER PROPERTY PROTECTOR


1.   The following TIME ELEMENT COVERAGE AND LIMITATION is added to E. TIME ELEMENT COVERAGES
     AND LIMITATIONS in SECTION III- TIME ELEMENT of this policy:

     TIME ELEMENT LOSSES DUE TO CONTAMINATION BY COMMUNICABLE DISEASE

     a.   If your covered property at a covered location is contaminated by a communicable disease as the direct
          result of a covered loss, and there is in force at the time of that covered loss a law or ordinance that
          requires you to suspend your operations on account of that contamination, we will pay the actual loss of
          GROSS PROFIT or GROSS EARNINGS you sustain due to the necessary suspension of your normal
          operations at that covered location because it is either partially or totally closed by order of authority
          described in b. below.

     b.   The sole determinant of disease contamination of a magnitude great enough to either partially or totally
          close your normal operations will be either the:

          (1) National Center for Disease Control; or

          (2) The governmental authority having jurisdiction over y o u r operations that relate to health and hygiene
              standards necessary to protect the general public.

     c.   The most we will pay for this TIME ELEMENT COVERAGE AND LIMITATION in anyone (1) occurrence
          is the LIMIT OF LIABILITY specified in the LIMITS OF LIABILlPi' TABLE.

     d.   For the purposes of this endorsement the italicized term communicable disease means a viral or bacterial
          organism that is capable of inducing disease, illness, physical distress or death.




PZOO 41 04 18                               ©2018 Uberty Mutual Insurance                                  Page 1 of 1
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                     Exhibit 3
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           T llni(P'l^f~V'                                                      Liberty Mutual Group
           J^JH_^V^JL                                                     818 West Street. Suite 850
           J V l U t l l 3 . 1                                                    Angeles, CA 90017

              NSURANCE




Parker Smith & Feek, Inc.
2233 112lh Ave NE
Bellevue, WA 98004
ATTN: John Larson



Named Insured:
Harborview Medical Center
Policy Number:
YAC-L9L~469720-049

Effective: 07/01/2019 07/01/2020


Attached please find copies of the Employers Insurance of Wausau policy for the above account.
Should you have any questions or if we can provide you with any assistance, please do not
hesitate to call Jennifer Hennessy @ 925.433.4502 or jennifer.hennessy @libertymutual.com


Thank you and regards,

Nora Chiara
Associate Account Analyst
National Insurance Property
Liberty Mutual Insurance
Direct Dial: 213.443.0776
Mailing address: 818 W. 7th Street, Ste. 850, Los Angeles, CA 90017
Nora.Chiara@LibertvMutual.com
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   THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF YOUR POLICY IN RESPONSE TO THE
DISCLOSURE REQUIREMENTS OF THE TERRORISM RISK INSURANCE ACT. THIS ENDORSEMENT DOES
NOT GRANT ANY C O V E R A G E OR CHANGE THE TERMS AND CONDITIONS OF ANY C O V E R A G E UNDER
                                         THE POLICY.


                                        DISCLOSURE PURSUANT TO TERRORISM RISK
                                                    INSURANCE ACT


A.   Disclosure Of Premium

     In accordance with the federal Terrorism Risk Insurance Act, we are required to provide you with a notice
     disclosing the portion of your premium, if any, attributable to coverage for terronst acts certified under the
     Terronsm Risk Insurance Act. The portion of your premium attnbutable to such coverage Is shown in D.
     PREMIUM in the Declarations.

B. Disclosure Of Federal Participation In Payment Of Terronsm Losses

     The United States Government, Department of the Treasury, will pay a share of terrorism losses insured under
     the federal program. The federal share equals the percentage indicated below of that portion of the amount of
     such insured losses that exceeds the applicable insurer retention. However, if aggregate Insured losses
     attnbutable to terrorist acts certified under the Terrorism Risk Insurance Act exceed $100 billion In a calendar
     year, the Treasury shall not make any payment for any portion of the amount of such losses that exceeds $100
     billion.

     Federal   share   of   terrorism   losses:   84%, calendar      year   2016
     Federal   share   of   terrorism   losses:   83%, calendar      year   2017
     Federal   share   of   terrorism   losses:   82%, calendar      year   2018
     Federal   share   of   terrorism   losses;   8 1 % , calendar   year   2019
     Federal   share   of   terronsm    losses:   80%, calendar      year   2020

C. Cap On Insurer Participation In Payment Of Terrorism Losses

     If aggregate insured losses attributable to terronst acts certified under the Terronsm Risk Insurance Act exceed
     $100 billion in a calendar year and we have met our insurer deductible underthe Terrorism Risk Insurance Act,
     we shall not be liable for the payment of any portion of the amount of such losses that exceeds $100 billion,
     and In such case insured losses up to that amount are subject to pro rata allocation In accordance with
     procedures established by the Secretary of the Treasury.




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                                                                                                Liberty
                                                                                                Mutual.
                                                                                                 INSURANCE

                                 PREMIER PROPERTY PROTECTOR TM

                                              POLICY COVER PAGE
   POLICYNUMBER;                                     DATE OF ISSUE:
   YAC-L9L-469720-049                                7/16/2019
   COMPANY PROVIDING INSURANCE:
   Employers Insurance Company of Wausau
                               ( hereafter referred to as we, us or our)

In consideration ofthis Policy's Provisions, Conditions, Stipulations, LIMITS OF LIABILITY and of premium charged,
we cover property, as described in this Policy, against all nsks of direct physical loss or damage, except as
hereinafter excluded or limited, while located as described in this Policy.

We insure:
 Harborview Medical Center
                                   ( hereafter referred to as y o u oryour(s)

The term of this Policy is from 7/1/2019 to 7/1/2020 at 12:01 a.m., local time. In the event of a claim, the Policy
period is measured by local time at the location where the direct physical loss or damage occurs.

PRODUCER NAME AND OFFICE

PARKER SMITH & FEEK INC
2233 112TH AVENE,
BELLEVUE, WA 98004

Your policy Is issued by a stock insurance company subsidiary of the Liberty Mutual Holding Company Inc., a
Massachusetts mutual holding company. The named insured first named in the Declarations is a member of Liberty
Mutual Holding Company Inc.

As a member of Liberty Mutual Holding Company Inc., the named insured first named is entitled, among other
things, to vote either in person or by proxy at the annual meeting or special meetings of said company. The Annual
Meeting of Liberty Mutual Holding Company Inc. Is at its offices located at 175 Berkeley Street, Boston.
Massachusetts, on the second Wednesday in April each year at ten o'clock in the morning. Members of Liberty
Mutual Holding Company Inc. may request a copy of the company's annual financial statements, which are posted
on Liberty Mutual's website at www.llbertymutual.com or by wnting to Liberty Mutual Holding Company Inc.,
175 Berkeley Street, Boston, Massachusetts, 02116, Attention: Corporate Secretary.

You may be eligible to participate in the distnbution of surplus funds of the company through any dividends that
may be declared for this policy. A declaration or payment of dividends is not guaranteed. The amount of any
dividends that may be declared shall be to the extent, and upon the conditions fixed and determined by the Board
of Directors and in compliance with any laws that apply.

IN WITNESS WHEREOF, the company has caused this Policy to be executed and attested, and, if required by
state law, this Policy shall not be valid unless countersigned by a duly authorized representative ofthe company.



  .cLy-
        President                                                                   Secretary



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                                      SECTION I - DECLARATIONS

A    FIRST NAMED INSURED AND MAIUNG ADDRESS

     Harborview Medical Center and any subsidiary, and the interest of Harborview Medical Center in any
     partnership or joint venture in which Harborview Medical Center has management control, ownership, or is
     obligated to insure, as now constituted or hereafter is acquired, as the respective interest of each may appear;
     all hereafter referred to as you or yours, including legal representatives.

     When any Insured described above is a party to a written contract or agreement on file that requires a legal
     entity to be Identified as an addilionai Insured under this Policy, this Policy includes the legal entity as an
     additional insured, as its interest may appear, for physical damage to covered property which is the subject of
     the wntten contract or agreement on file, before any loss occurs; and does not provide any TIME ELEMENT
     Coverage to the legal entity, except as provided under LEASEHOLD INTEREST of this Policy or as specifically
     endorsed to the Policy.

     Compliance and Risk Services
     Box 354964; 4300 Roosevelt Way NE
     Seattle, WA 98105-4964

B.   POLICYPERIOD

     The term ofthis Policy is from July 1, 2019 to July 1, 2020 at 12:01 a.m., local time. In the event of a claim, the
     Policy period is measured by local time at the location where the direct physical loss or damage occurs.

C. INSURING AGREEMENT

     In consideration of this Policy's Provisions, Conditions, Stipulations, LIMITS OF LIABILITY and of premium
     charged, we cover property, as described In this Policy, against all risks of direct physical loss or damage,
     except as hereinafter excluded or limited, while located as described in this Policy.

D.   PREMIUM

     This Policy Is issued in consideration of the following initial premium inclusive of any premium shown on
     endorsements which are part of the Policy at the time of issue.

                                                                                 $795,895
       Policy Premium (Excluding premium for "certified act(s) of
       terrorism" under the Terrorism Risk Insurance Act (TRIA), as
       amended):


       Policy Premium for "certified act(s) of terrorism" under the              Rejected
       Terrorism Risk Insurance Act (TRIA), as amended:


          •   Policy Premium for Fire Following Acts of Terrorism (in
                                                                                 $33,993
              States where required)

       State or Municipal Taxes, Surcharges and Other Miscellaneous
                                                                                 $0
       Charges: (See State or Municipal Taxes, Surcharges and Other
       Miscellaneous Charges summary shown below)


       Total Policy Premium/Other Charges for Above Policy Period:               $829,888


       Policy Premium will be billed annual.



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      The Deposit Premium/Other Charges is:
                                                                         $829,888


E. PREMIUM PAYABLE

    The First Named Insured pays the premium under this Policy, and any return of the paid premium accruing
    under this Policy will be paid to the account of the First Named Insured.

    Premiums will be paid in the currency designated in paragraph I. CURRENCY.




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F.   COVERED LOCATION(S)

     This Policy applies at a location(s):

     1.   Listed on a SCHEDULE on file with us;

     2.   Listed on the SCHEDULE attached to this Policy;

     3.   Covered as a Miscellaneous Unnamed Location; or

     4.   Covered under the terms and conditions ofthe NEWLY ACQUIRED LOCATIONS Coverage or ERRORS
          AND OMISSIONS Coverage.

G. TERRITORY


     Coverage under this Policy applies to covered property within the continental United States of America,
     Hawaii and Puerto Rico.




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H. JURISDICTION

     The validity and interpretation of this Policy shall be governed by and construed in accordance with the laws of
     the Slate of New York.

     Any disputes arising hereunder will be exclusively subject to a State or Federal jurisdicllon wilhin the Uniled
     States of America.

I.   CURRENCY

     All amounts, including deductibles and LIMITS OF LIABILITY, indicated in this Policy are in U.S. Dollars unless
     otherwise indicated by the three-letter currency designator as defined in Table A.l Currency and Funds code
     list, International Standards Organization (ISO) 4217, edition effective at inception of this Policy.

J.   DEFINED WORDS

     Words in bold face type have special meanings in this Policy and are defined in the DEFINITIONS section of
     this Policy. These definitions apply to this entire Policy and to any endorsements to it. Definitions that apply to
     Individual sections or paragraphs are italicized and defined In the applicable sections or paragraphs.

K.   LIMITS OF LIABILITY

     When a POLICY LIMIT OF LIABILITY is specified in the LIMITS OF LIABILITY Table in the Declarations,
     our maximum LIMIT OF LIABILITY in an occurrence, including any Insured TIME ELEMENT loss, will not exceed
     the slated POLICY LIMIT OF LIABILITY.

     1.   When a PROPERTY DAMAGE and TIME ELEMENT LIMIT OF LIABILITY Is specified in the LIMITS OF
          LIABILITY Table in the Declarations, it will apply to all coverages provided throughout this Policy, unless a
          LIMIT OF LIABILITY or "NOP" (No Coverage Provided) Is indicated.

          a.    When a LIMIT OF LIABILITY Is specified in the LIMITS OF LIABILITY Table in the Declarations, such
                limit will be the maximum amount payable for such loss or damage and cannot be combined with any
                other LIMITOF LIABILITY.

          b.    If "NOP" is specified in the LIMITS OF LIABILITY, there is no coverage provided in this Policy.

     2.   LIMITS OF LIABILITY in an occurrence apply to the total loss or damage at all locations and for all
          coverages involved, including any insured TIME ELEMENT loss,' subjectto the following provisions:

          a.    When a LIMIT OF LIABILITY that applies in the aggregate during any Policy year is shown, our
                maximum amounl payable will not exceed such LIMIT OF LIABILITY during any Policy year.

          b.    When a LIMIT OF LIABILITY applies to a location(s), specified property DESCRIBED LOSSES or a
                specific coverage, the smallest applicable LIMIT OF LIABILITY will be the maximum amount payable.

          c.    Should an occurrence result in liability payable under more than one Policy issued to you by us, or by
                our subsidlanes, partners, or associated insurance companies, the maximum amount payable in the
                aggregate under all such policies will be the applicable LIMIT(S) OF LIABILITY Indicated in this Policy.

          d.    When a LIMIT OF LIABILITY applies to TIME ELEMENT only, our maximum amount payable will not
                exceed such LIMIT OF LIABILITY per occurrence.

     3.   LIMITS OF LIABILITY specified below or elsewhere in this Policy do not increase and are part of and not
          in addition to the POLICY LIMIT OF LIABIUTY or the PROPERTY DAMAGE and TIME ELEMENT LIMIT
          OF LIABILITY.

     4.   LIMITS OF LIABILITY apply per occurrence unless otherwise specified, including time and distance
          limits.




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                                 LIMITS OF LIABILITY TABLE - PART ONE

                           COVERAGE                                       LIMITS OF LIABILITY AND TIME AND
                                                                                  DISTANCE LIMITS


 POUCY LIMIT OF LIABILITY                                                                            $600,000,000
 ACCOUNTS RECEIVABLE                                                                                  $10,000,000


 ATTRACTION      PROPERTY                                                   1 statute miles from a covered location
                                                                                30 consecutive days, not to exceed
                                                                                                          $500,000


 BRANDS AND LABELS                                                                                     $1,000,000


 CIVIL OR MILITARY AUTHORITY                                                1 statute miles from a covered location
                                                                                90 consecutive days, not to exceed
                                                                                                       $10,000,000
 COMPUTER SYSTEMS NON PHYSICAL DAMAGE and DATA,                                                        $1,000,000
 PROGRAMS OR SOFTWARE, combined


 CONTINGENT TIME ELEMENT

     •    Direct Dependent Contingent Time Element Location(s):                                       $10,000,000
           Not Scheduled or on file with us

     •    Indirect Dependent Contingent Time Element                                                  $10,000,000
          Location(s):
           Not Scheduled or on file with us


 CONTROL OF DAMAGED GOODS                                                                                $500,000


 COURSE OF CONSTRUCTION                                                                               $25,000,000


 CRISIS MANAGEMENT                                                             30 consecutive days, not to exceed
                                                                                                      $1,000,000


 DEBRIS REMOVAL                                                                                       $25,000,000


 DECONTAMINATION COSTS                                                                                 $2,500,000


 DEFERRED PAYMENTS                                                                                     $2,500,000


 DELAY IN STARTUP                                                                                      $1,000,000




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 DEMOLITION AND INCREASED COST OF CONSTRUCTION                                                         $50,000,000


 ERRORS AND OMISSIONS                                                                                  $15,000,000


 EXPEDITING EXPENSE                                                                                    $25,000,000


 EXTENDED PERIOD OF LIABILITY                                                                 365 consecutive days


 EXTRA EXPENSE                                                                                         $10,000,000


 FINE ARTS                                                                                              $2,500,000

 FIRE DEPARTMENT SERVICE CHARGES                                                                        $5,000,000


 IMPOUNDED WATER                                                                 30 consecutive days, not to exceed
                                                                                                        $1,000,000


 INGRESS/EGRESS                                                           1 statute miles from a covered location 90
                                                                                     consecutive days, not to exceed
                                                                                                        $10,000,000


 LAND AND WATER CLEANUP, REMOVAL AND DISPOSAL in                                                        $1,000,000
 the annual aggregate

 LEASEHOLD INTEREST                                                                                    $10,000,000


 MISCELLANEOUS PERSONAL PROPERTY                                                                       $10,000,000


 Miscellaneous Unnamed Locations                                                                       $10,000,000


 Mold, Mildew or Fungus directly resulting from a Covered Loss                                         $10,000,000


 NEWLY ACQUIRED LOCATIONS                                                        90 consecutive days, not to exceed
                                                                                                       $10,000,000


 OFF PREMISES INTERRUPTION OF SERVICES - PROPERTY                                                      $15,000,000
 DAMAGE and OFF PREMISES INTERRUPTION OF SERVICES
 - T I M E ELEMENT


 Ordinary Payroll                                                                             180 consecutive days


 PROFESSIONAL FEES                                                                                        $500,000



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 RADIOACTIVE CONTAMINATION                                                                        $5,000,000


 RENTAL INSURANCE                                                                                 $1,000,000


 RESEARCH AND DEVELOPMENT                                                                         $5,000,000


 SOFTCOSTS                                                                                        $1,000,000


 TAX LIABILITY                                                                                    $1,000,000


 TRANSIT                                                                                          $2,500,000


 VALUABLE PAPERS AND RECORDS                                                                     $25,000,000



                                    LIMITS OF LIABILITY TABLE - PART TWO

                             COVERAGE                                    UMITS OF LIABILITY AND TIME AND
                                                                                DISTANCE LIMITS


 EARTH MOVEMENT \r\ the annual aggregate                                                       $25,000,000

 except the following limits apply per occurrence and in the annual
 aggregate, and are part of and not In addition to the EARTH
 MOVEMENT dinr\ua\ aggregate limit:

     •     Covered property situated in:

             Pacific NW Earth Movement Zone                                                    $25,000,000


 EARTH MOVEMENT S P R \ m L E R LEAKAGE                                                       $600,000,000


 EQUIPMENT BREAKDOWN

 PROPERTY DAMAGE                                                                              $100,000,000

 TIME ELEMENT                                                                                 $100,000,000

 except:

     The following limits are part of and not in addition to the
     EQUIPMENT BREAKDOWN limits specified above:

     •     Ammonia Contamination                                                                $1,000,000

     •     CONTINGENT TIME ELEMENT                                                              $1,000,000



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       •      Spoilage Damage                                                                           $5,000,000


 FLOOD In the annual aggregate                                                                         $50,000,000

 except the following limits apply per occurrence and in the annual
 aggregate, and are part of and not in addition lo the FLOOD
 annual aggregate limit:

       •      Covered property at locations situated in:

                 Flood Hazard - High                                                                    $2,500,000


 NAMED STORM                                                                                               Included


                                          ENDORSEMENT LIMITS OF UABILITY


  Endorsemenl Number                       Endorsement Name                        UMITS OF LIABILITY

       CNP 90 06 01 17          Disclosure Pursuant lo Terrorism Risk                    Rejected
                                            Insurance Act

           PY 04 04 01 17              Exclusion of Certifted Acts of
                                                Terronsm

           PY03 11 01 17                                                             $5,000,000, no more than
                                         Research Animals Endt
                                                                                     $5,000 per animal



 L.    CANCELLATION TIME SPECIFICATIONS

 Cancellation for Nonpayment of Premium                                                               Ten (10) days


 Cancellation for All Reasons Other Than                                                                    30 days
 Nonpayment of Premium


M. DEDUCTIBLES

      Subject to the Deductible General Provisions staled below, we will not pay unless a covered loss. Including
      any insured TIME ELEMENT loss, exceeds the deducllble(s) specified below. We will then pay the amount of
      covered loss in excess ofthe deductible, up to the applicable LIMIT OF LIABILITY.

      Deductible General Provisions

      We will be liable only if you sustain a covered loss, including any Insured TIME ELEMENT loss, In a single
      occurrence greater than the applicable deductible specified. When this Policy insures more than one (1)
      location, the deductible(s) will apply against the total loss covered by this Policy in an occurrence unless
      otherwise stated.

      1.    Unless otherwise stated, if two or more deductibles apply to an occurrence, the lotal deductible will not
            exceed the largest applicable deductible, except as follows:




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         a.   When a separate PROPERTY DAMAGE and TIME ELEMENT deduclible apply, each will be applied
              separately.

         b.   If there are multiple locations involved in an occurrence where two or more deductibles apply to a location
              in an occurrence, the largest deductible applying lo each location will be applied separalely to each such
              location, regardless of the number of locations involved in the occurrence.


         c.   Unless specified otherwise, if deductibles are specified for a location, the largest deductible
              applicable will be applied to lhal location regardless of the number of locations Involved in the
              occurrence.

         d.   Equipment Breakdown: With regard to Equipment Breakdown coverage, if one or more deductible
              amounts are shown below, each will be applied separately.

         e.   The stated EARTH MOVEMENTde6uct\b\e will be applied to EARTH MOVEMENTloss. The stated
              FLOOD deductible will be applied to FLOOD loss. The stated NAMED STORM deductible will be
              applied to NAMED STORM loss. Provisions 1.a. and l . b . above will also be applied to each.

    2.   When a percent deductible is specified, whether separate or combined, the deduclible amount will be
         determined as follows:

         a.   PROPERTY DAMAGE: The perceniage of the tolal reported values on file with us for the covered
              property at the corresponding location(s) (Including sub-locations) where the direct physical loss
              or damage occurred; plus

         b.   TIME ELEMENT: The percentage of the full TIME ELEMENT values that would have been earned
              in the 12-month penod following the occurrence, had no loss occurred, by use of the facilities at
              the location where the direct physical loss or damage occurred, plus that proportion of the full TIME
              ELEMENT values at all other locations where TIME ELEMENT loss ensues that was directly
              affected by use of such facilities and that would have been earned in the 12-month penod following
              the occurrence.

         0.   Equipment Breakdown: The percentage of the gross amount of loss, damage or expense (prior any
              deductible) insured under the applicable coverage. If the dollar amount of such percentage is less
              than the Indicated minimum deductible, the minimum deductible will be the applicable deductible.

    3.   When a minimum deductible is shown, the minimum deductible is the sum of:

         a.   The specific location deduclible for each covered location where the amount of physical loss or
              damage exceeds the specific location deductible; and

         b.   The amount of physical loss or damage for each covered location where the amount of physical loss
              or damage is less than the specific location deductible.

    4.   When an average daily value deductible is provided, this deductible will be determined as follows:

         a.   The total amounl of TIME ELEMENT loss applicable for the entire location where the direct physical
              loss or damage happens will be Included.

         b.   Divide the result in Paragraph a. by the number of days the business would have been open during the
              PERIOD OF LIABILITY. The result is the average dally value.

         c.   Multiply the average daily value in Paragraph b. by the number of days specified in the DEDUCTIBLE
              TABLE below.


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        If more than one (1) location is Included in the valuation of the loss, the average daily value will be the
        combined value of all affected locations.

   5. When a per unit deductible is specified, the following shall be considered a separate unit of Insurance:

        a.    Each separate building, the contents of each separate building and covered property in each yard at
              lhat covered location.

        b. TIME ELEMENT loss as applicable, including all other locations where TIME ELEMENT loss ensues
           as provided by this Policy.

   6. When a time deductible Is shown, we will not be liable for any loss under that coverage lhat occurs during
      lhat specified time period immediately following the direct physical loss or damage. If a time deduclible is
      shown in days, each day shall mean twenty four (24) consecutive hours.

   7. When a deductible Is shown in the Declarations for a NAMED STORM, the following applies:

       a. All direct physical loss or damage to covered property including TIME ELEMENT loss caused by or
          resuiling from a NAMED STORM will be subject to the deductible oblained by calculating all of the
          following:

              (1) The sum of all applicable percentage deduclibles calculated as described In Deductible General
                  Provisions Item 2. above, subject to any applicable minimums or maximums; and

              (2) Any other applicable deductible amounts.



                                         DEDUCTIBLE TABLE - PART ONE

                              Coverape                                      Deductible Percentage / Amounts
 Policy Deductible (except as otherwise Indicated)                                                        $500,000


 OFF PREMISES INTERRUPTION OF SERVICES -                                                                  $500,000
 PROPERTY DAMAGE AND TIME ELEMENT


 TRANSIT                                                                                                  $500,000
 Fine Arts                                                                                                $500,000




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                                         DEDUCTIBLE TABLE - PART TWO

                           Coverage                                       Deductible Percentage / Amounts


 EARTH MOVEMENT                                                                                   2% subject to
                                                                                             $500,000 minimum

    except:
    •   Covered property situated in:

           Pacific NW Earth Movement Zone                                                         2% subject to
                                                                                             $500,000 minimum


 EARTH MOVEMENT SPRINKLER LEAKAGE                                                                     $500,000


 EQUIPMENT BREAKDOWN

 PROPERTY DAMAGE                                                                                      $500,000

 TIME ELEMENT                                                                                         $500,000

    •    Spoilage Damage                                                                              $500,000

    •    Ammonia Contamination                                                                        $500,000


 FLOOD                                                                                                $500,000
                                                                                           applying per location

    except:
    •   Covered property at locations situated in:

           Flood Hazard - High                                                         $500,000 Real Property
                                                                                    $500,000 Personal Property
                                                                                               $100,000 Other


 NAMED STORM                                                                                          $500,000



                                 OCCURRENCE TIME SPECIFICATIONS


 EARTH MOVEMENT                                                                          continuous 168 hours


 NAMED STORM                                                                              continuous 72 hours




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N. QUAUFYING PERIOD(S)

    A qualifying period applies for the coverages shown In the Table below. Qualifying period Is the period of time
    lhal must be exceeded for coverage to apply. Once the qualifying period has been exceeded, coverage applies
    from the initial event of loss.

                                          QUALIFYING PERIOD TABLE

                                Coverage                                           QUALIFYING PERIOD


 COMPUTER SYSTEMS NON PHYSICAL DAMAGE and DATA,                                           24 hours
 PROGRAMS OR SOFTWARE, combined

 CRISIS MANAGEMENT                                                                        24 hours

 OFF PREMISES INTERRUPTION OF SERVICES - PROPERTY                                         24 hours
 DAMAGE AND TIME ELEMENT




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                                  SECTION II - PROPERTY DAMAGE

A   COVERED PROPERTY

    1.   We cover your insurable interest in the following types of property that are located at or within one-thousand
         (1,000) feet of a covered location, unless otherwise excluded:

         a.   Real Property, including          new    buildings,   structures   and   additions   in   the   COURSE     OF
              CONSTRUCTION.

         b.   Personal Property, inciuding persona/property of o/rters.

              Personal property of others are tangible things that you do not own, other than real property, that:

              (1) are sold by you and that you have agreed, prior to loss, to insure for the account of the purchaser
                  during delivery;

              (2) you have agreed in writing prior to any loss or damage to provide coverage;

              (3) are in your care, custody or control;

              (4) you have an Insurable interest in, or an obligation to provide coverage;

              (5) you are legally liable for;

              (6) are improvements and betterments consisting of fixtures, alterations, installation or additions
                  compnsing part of a building not owned by you and acquired or made at your expense which
                  you cannot legally move, but only to the extent of your insurable interest therein; or

              (7) are personal property (olher lhan vehicles) of your employees and officers.

    2.   We also cover the interest of contractors and subcontractors in covered property during construction al or
         within one-thousand (1,000) feet of a covered location to the extent of your legal liability for direct physical
         loss or damage lo such property. Such interest of contractors and subcontractors is limited to the property
         for which they have been hired to perform work and such interest will not extend to any TIME ELEMENT
         coverage provided under this Policy.

B. PROPERTY NOT COVERED

    We do not cover the following types of property:

    1.   Aircraft, except when unfueled and manufactured by you;

    2.   Animals, standing timber including undisturbed natural wooded areas, or growing crops;

    3.   Bndges or tunnels, however pedestrian walkways connecting buildings are covered;

    4.   Caves, caverns, mines of any lype, or any property contained within them;

    5.   Contraband or property in the course of illegal transportation or trade;

    6.   Currency, money, negotiable and non-negotiable instruments, notes or securities;

    7.   Dams, dikes, levees, docks, wharfs, piers or bulkheads;




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   8.   Electronic data, computer programs or software, except when they are stock in process, finished slock
        manufaclured by you, raw matenals, supplies, other merchandise not manufactured by you or as provided
        In this Policy;

   9.   Land and any substance in or on land except this exclusion does not apply to land improvements;

   10. Land improvements at a golf course;

   11. Overhead transmission and distnbution systems located more than one-thousand (1,000) feet away from a
       covered location;

   12. Personal property of others that Is in the care, custody or control of you or your affiliates for which you are
       acting as a warehouseman, bailee for hire, or carrier for hire.

   13. Precious metals or precious stones, except when used in industrial or service operations;

   14. Property in transit, except as otherwise provided by this Policy;

   15. Property more specifically insured, except for any excess over any LIMITS OF LIABILITY of such more
       specific insurance;

   16. Property sold by you under conditional sale, trust agreement, installment plan or other deferred payment
       plan after delivery to your customers, except as provided by the DEFERRED PAYMENTS coverage of this
       Policy;

   17. Spacecraft, satellites, associated launch vehicles and any property contained therein;

   18. Vehicles otherwise insured for physical loss ordamage;

   19. Water except this exclusion does nol apply to waler that is conlained within any enclosed tank, piping
       system or any other processing equipment; or

   20. Watercraft, except watercraft you manufacture and are part of your inventory while being stored un-fueled
       and on dry land at a covered location.

   EXCLUSIONS

   The following exclusions apply unless otherwise stated in this Policy:

   1.   We do not cover:

        a.    Indirect or remote loss or damage;

        b.    Interruption of business, except to the extent provided by this Policy;

        c.    Loss of market or loss of use;

        d.    Loss or damage or detenoration arising from any delay;

        e.    Mysterious disappearance, loss or shortage disclosed on taking Inventory, or any unexplained loss;

        f.    Loss or damage from enforcement of any law or ordinance:

              (1) Regulating the construclion, repair, replacemenl, use or removal, including debns removal, ofany
                  property; or
              (2) Requiring the demolition of any property, Including the cost in removing its debris;




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            except as provided by the DECONTAMINATION COSTS and DEMOLITION AND INCREASED COST
            OF CONSTRUCTION coverages ofthis Policy;

        g. Loss resuiling from the volunlary parting with title or possession of property if induced by any fraudulent
           act or by false pretense; or

        h. Loss or damage caused by or resulting from freezing, disease or drought to landscape gardening,
           including plants, trees and shrubs.

        We do not cover physical loss or damage directly or indirectly caused by or resulting from any of the
        following regardless of any other cause or event, whether or not insured under this Policy, contnbuting to
        the loss concurrently or in any other sequence:

        a. Terrorism, including action in hindenng or defending against an actual or expected incident of
           terrorism, but this exclusion applies only when one of the following are attributed to an incident of
           terrorism:

            (1) The terrorism is carried out by means of the dispersal or application of radioactive material, or
                through the use of a nuclear weapon or device lhat involves or produces a nuclear reaction, nuclear
                radiation or radioactive contamination; or

            (2) Radioactive material Is released, and it appears that one purpose of terrorism was to release such
                material; or

            (3) The terrorism is earned out by means of the dispersal or application of pathogenic or poisonous
                biological or chemical materials; or

            (4) Pathogenic or poisonous biological or chemical materials are released, and It appears that one
                purpose of the terrorism was to release such materials; or

            (5) Loss or damage to property located outside of the United States, unless there is a law in effect In
                the jurisdiction where the loss or damage occurs that expressly prohibits this exclusion; or

            (6) The total of all damage to property, whether covered by this Policy or otherwise, exceeds
                $25,000,000. In determining whether the $25,000,000 threshold is exceeded, we will include all
                insured damage sustained by property of all persons and entities affected by the terrorism and
                business interruption (TIME ELEMENT) losses sustained by owners or occupants ofthe damaged
                property. For the purpose of this provision, insured damage means damage that is covered by any
                insurance plus damage that would be covered by any insurance but for the application of any
                terrorism exclusions. Multiple incidenls of terrorism which occur within a 72-hour period and
                appear to be carried out in concert or to have a related purpose or common leadership will be
                deemed to be one (1) incident, for the purpose of determining whether the threshold is exceeded.

                 With respect lo this item 2.a.(6), the immediately preceding paragraph describes the threshold used
                 to measure the magnitude of an incident of terrorism and the circumstances in which the threshold
                 will apply, for the purpose of determining whether this exclusion will apply to that incident When
                 the exclusion applies to an incident of terrorism, there is no coverage in this Policy.

            However, this exclusion does not apply:

            (1) If terrorism results in fire, in which case we cover the direct physical loss or damage caused by
                the fire but only if there is a statute in effect in the jurisdiction where the (oss or damage occurs that
                expressly prohibits the exclusion of fire losses resulting from terrorism. This exception is subject
                to all applicable Policy provisions including the LIMIT OF LIABILITY on the affected property. Such
                coverage for ensuing loss applies only to direct loss or damage by fire to covered property. This
                coverage does not apply to insurance provided under any TIME ELEMENT coverages, or to fire
                legal liability coverage; or



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              (2) While the Uniled States Terrorism Risk Insurance Acl (TRIA), as amended. Is In effect:

                       (a) To loss or damage caused by a "Certified Acl of Terrorism" provided that you elected
                           coverage for such, and only to the extent provided by the terms and conditions of the
                           applicable CERTIFIED ACTS OF TERRORISM AND DISCLOSURE PURSUANT TO
                           TERRORISM RISK INSURANCE ACT endorsemenl; or

                       (b) To loss or damage caused by terrorism that would have been certified as an "act of
                           terrorism", but was not certified solely because the total of all property and casualty
                           insurance losses resulting from the act failed to exceed the $5,000,000 "certifted act of
                           terrorism" threshold specified under TRIA.

        b.    Nuclear reaction or nuclear radiation or radioactive contamination. However, this exclusion does not
              apply If:

              (1) The RADIOACTIVE CONTAMINATION PROPERTY DAMAGE COVERAGE AND LIMITATION
                  applies but only to the extent provided; or

              (2) Fire directly results from the nuclear reaction, nuclear radiation, or radioactive contamination, in
                  which case we cover the physical loss or damage caused by the fire but only if there is a statute in
                  effect In the jurisdiction where the loss or damage happens that expressly prohibits the exclusion
                  of fire losses resulting from nuclear reaction, radiation or contamination.

        c.    Hostile or warlike action In lime of peace or war, including action in hindering, combating or defending
              against an actual, impending or expected attack by any:

              (1) Government or sovereign power (de jure or de facto);

              (2) Milllary, naval or air force; or

              (3) Agent or authority of any party specified in (1) or (2) above.

        d.    Discharge, explosion or use of any nuclear device, weapon or material employing or involving nuclear
              fission, fusion or radioactive force, whelher in time of peace or war and regardless of who commits the
              acl.

        e.    The unlav^rful possession, use, release, discharge, dispersal or disposal of any chemical, biological,
              viral, radioactive or similar agents or matter, whether in lime of peace or war and regardless of who
              commits the act.

        f.    Insurrection, rebellion, revolution, civil war, usurped power, or action taken by governmental authority
              In hindenng, combating or defending against such an event.

        g.    Seizure or destruction under quarantine or custom regulation, or confiscation by order of any
              governmental or public authority.

        h.    Risks of contraband, or illegal transportation or trade.


        i.    Any cnminal, fraudulent or dishonest acl, Including theft, committed alone or In collusion with others:

              (1) By you or any proprietor, partner, director, trustee, officer or employee of an Insured; or

              (2) By any proprietor, partner, director, trustee, or officer of any business or entity (other than a
                  common carrier) engaged by you to do anything In connection with property insured under this
                  Policy.




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             However, we do cover direct physical loss or damage intentionally caused by your employee or any
             Individual specified in (2) above provided that said individuals acted wilhout your knowledge.

        j.   Lack of the following services:

             (1) Incoming eleclricity, fuel, water, gas, steam or refngerant;

             (2) Outgoing sewerage; or

             (3) Incoming or outgoing voice, data or video,

             all when caused by an event away from the covered location except as provided in the ON/OFF
             PREMISES INTERRUPTION OF SERVICES coverages ofthis Policy. But, if the lack of such a service
             causes physical loss or damage of the type insured by this Policy at a covered location, then only that
             resulting damage is covered.

   3.   We do nol cover the following, but, if direct physical loss or damage not excluded by this Policy results,
        then we cover that resulting damage only:

        a.   Faulty workmanship, material, construction or design.

        b.   Loss or damage lo stock or material attnbutable lo manufacturing or processing operations while such
             stock or matenal is being processed, manufactured, tested, or otherwise worked on.

        0.   Deterioration, depletion, rust, corrosion or erosion, wear and tear, inherent vice or latent defect.

        d.   Settling, cracking, shrinking, bulging, or expansion of:

             (1) Foundations (including any pedestal, pad, platform or other property supporting machinery)

             (2) Floors

             (3) Pavements

             (4) Walls, Including retaining walls

             (5) Ceilings

             (6) Roofs

        e.   Extremes or changes in temperature (except to machinery or equipment) or changes in relative
             humidity, all whether atmospheric or not.

        f.   Cumulative effects of smog, smoke, vapor. liquid and dust

        g.   Insect, animal or vermin damage.

        h. Loss or damage to the interior portion of buildings under construction caused by rain, sleet or snow,
           whelher or nol driven by wind, when the installation of the roof, walls or windows of such buildings has
           not been completed.
   4.   We do not cover the following unless directly resulting from a covered loss:

        a.   Contamination, and any cost due to contamination including the Inability lo use or occupy property
             or any cost of making property safe or suitable for use or occupancy, except as provided elsewhere in
             this Policy.

        b.   Shrinkage.



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         c.    Changes in color, flavor, texture or finish.

         d.    Remediation, change, correction, repair or assessment of any date or time recognition in any electronic
               data processing equipment or media.

         e.    Failure of electronic data processing equipment or media to correctly recognize. Interpret, calculate,
               compare, differentiate, sequence, access or process dala involving one or more dates or times.

D. PROPERTY DAMAGE COVERAGES AND LIMITATIONS

    We provide the following PROPERTY DAMAGE COVERAGES AND LIMITATIONS for a covered loss as
    specified in the LIMITS OF LIABILITY Table In the Declarations, subjecl to the terms, conditions and exclusions
    ofthis Policy.

    1.   ACCOUNTS RECEIVABLE

         a.    We cover the following resulting from a covered loss to accounts receivable records located while
               anywhere within the Policy territory. Including while In transit

               (1) Any shortage in the collection of accounts receivable.

               (2) The interest charges on any loan to offset such Impaired collection pending repayment of such
                   uncollectible sum. Unearned interest and service charges on deferred payment accounts and
                   normal credit losses on bad debts will be deducted in determining the amount recoverable.

               (3) The reasonable and necessary cost incurred for material and time required to re-establish or
                   reconstruct accounts receivable records excluding any costs covered by any other insurance.

               (4) Any other necessary and reasonable costs incurred to reduce lhe loss, to the extent the losses are
                   reduced.

         b.    Accounts receivable records include records stored as electronic data. In the event of loss, you will:

               (1) Use all reasonable efforts, including legal action, If necessary, to effect collection of outstanding
                   accounts receivable.

               (2) Reduce the loss by use of any property or service owned or controlled by you or obtainable from
                   other sources.

               (3) Reconstruct, if possible, accounts receivable records so that no shortage is sustained.

         c.    The settlement of loss will be made within ninety (90) days from lhe date of the covered loss. AH
               amounts recovered by you on outstanding accounts receivable on the date of loss will belong and be
               paid to us up to the amount of loss paid by us. All recoveries exceeding the amount paid will belong to
               you.

         d.    We do not cover shortage resulting from:

               (1) Bookkeeping, accounting or billing errors or omissions; or
               (2) Alteration, falsification, manipulation; or

               (3) Concealment, destruction or disposal, of accounts receivable records committed to conceal the
                   wrongful giving, taking, obtaining or withholding of money, securities or other property; but only to
                   the extent of such wrongful giving, taking, obtaining or withholding.

   2.    BRANDS AND LABELS




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         In the event of a covered loss to your branded or labeled merchandise, and we elect to take all or any
         part of that property, you may at our expense:

         a.   Stamp "salvage" on the property or its containers; or

         b.   Remove or obliterate the brands or labels,

         if doing so will not damage the property.

         You must re-label such property or its containers to be in compliance with any applicable law.

    3.   CONTROL OF DAMAGED GOODS

         We grant control lo you of physically damaged covered property consisting of finished goods manufaclured
         by or for you as follows:

         a.   You will have full rights to the possession and control of damaged property in the event of physical
              damage to your covered property provided proper testing is done to show which property Is
              physically damaged.

         b.   Using reasonable judgment, you will decide if the physically damaged covered property           can be
              reprocessed or sold.

         c.   Property you determine to be unfit for reprocessing or selling will not be sold or disposed of except by
              you, or wilh your consent

              Any salvage proceeds received will reduce the recoverable loss.

    4.   COURSE OF CONSTRUCTION

         a.   We cover direct physical loss or damage at a covered location to buildings or structures that you begin
              to construct during the Policy period.


         b.   We also cover materials, supplies, machinery, equipment and fixtures:

              (1) At a covered location and intended for installation In the new construction;

              (2) After such property has been delivered to you or your contractor, and while such property is
                  located offsite al a storage location; or

              (3) After such property has been delivered lo you or your contractor, and while such property is in
                  transit from a storage location to another storage location or to a covered location.

         0.   This coverage only applies to the construction of covered property you Intend to own or occupy
              once constructed.

         d.   This coverage does not apply to any property owned or rented by any contractor or subcontractor.

    5.   DATA, PROGRAMS OR SOFTWARE

         a.   We cover direct physical loss or damage lo your electronic data, computer programs or software.
              Including direct physical loss or damage caused by the malicious introduction of a machine code or
              instruction, while anywhere within this Policy's territory, including:

              (1) The cost of the following reasonable and necessary actions taken by you provided such actions
                  are taken due to actual insured physical loss or damage to electronic data, computer programs or
                  software:


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                   (a) Actions to temporarily protect and preserve insured electronic data, computer programs or
                       software.

                   (b) Actions taken for the temporary repair of insured physical loss or damage lo electronic data,
                       computer programs or software.

                   (c) Actions taken to expedite the permanent repair or replacement of such damaged property.

               (2) Your reasonable and necessary cosl to temporarily protect or preserve covered electronic data,
                   computer programs or software against immediately impending direct physical loss or damage to
                   electronic data, computer programs or software. In the event lhat there is no direct physical loss
                   or damage, the costs covered under this item will be subject to the deductible that would have
                   applied had there been such direct physical loss or damage.

         b.    With respecl to destruction, distortion or corruption caused by the malicious introduction of machine
               code or Instruction, this PROPERTY DAMAGE COVERAGE AND LIMITATION will apply only when
               the qualifying period specified in the Qualifying Period Table in the Declarations is exceeded.

         c.    Any amounts recoverable under this PROPERTY DAMAGE COVERAGE AND LIMITATION are
               excluded from coverage elsewhere in this Policy.

         d.    This PROPERTY DAMAGE COVERAGE AND LIMITATION excludes loss or damage to electronic
               data, computer programs or software when they are stock in process, finished stock manufactured by
               you, raw materials, supplies or other merchandise not manufactured by you.

         e.    With respect to this PROPERTY DAMAGE COVERAGE AND LIMITATION, the following additional
               exclusions apply:

               (1) Errors or omissions in processing or copying; and

               (2) Loss or damage to electronic data, computer programs or software from errors or omissions in
                   programming or machine instructions.


    6.   DEBRIS REMOVAL

         a.    We cover your reasonable and necessary costs to remove debris from a covered location that remains
               as a direct result of a covered loss.

         b.    This PROPERTY DAMAGE COVERAGE AND LIMITATION covers the costs of removal of
               contaminated covered property or the contaminant in or on covered property only if the
               contamination, due to the actual presence of contaminant(s), results from a covered loss.

         c.    This PROPERTY DAMAGE COVERAGE AND LIMITATION does nol cover the cosls of removal of:

               (1) Contaminated uninsured property; or

               (2) The contaminant in or on uninsured property,

               whether or not the contamination results from a covered loss.

    7.   DECONTAMINATION COSTS

         a.    We cover your decontamination costs directly resulting from a covered loss at a covered location
               subject to the following conditions:


               (1) These decontamination costs musl be a direct result of enforcement ofthe law or ordinance that


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                  is In force at the time of the loss regulating decontamination; and

              (2) The amounl we cover includes the Increased cost to remove your contaminated covered
                  property to comply with the law or ordinance.

         b.   We do nol cover costs required for removing contaminated uninsured property or the contaminant
              therein or thereon, whether or not the contamination resulted from a covered loss.

    8.   DEFENSE FOR PERSONAL PROPERTY OF OTHERS

         a.   We cover the cosl to defend that part of any suit against you alleging direct physical loss or damage of
              the lype Insured by this Policy to personal property of others of the type insured by this Policy, In your
              custody, and while at a covered location. We may without prejudice undertake any Investigation,
              negotiation or settlement of any such claim or suit as we deem appropriate.

         b.   We do not cover the cost to defend any suit against you when you are acting as a warehouseman,
              bailee for hire, or carrier for hire.

    9.   DEFERRED PAYMENTS

         a.   We cover direct physical loss or damage lo personal property of the lype insured by this Policy sold
              by you under a conditional sale or trust agreement or any installment or deferred payment plan and
              after such property has been delivered to the buyer. Coverage is limited to the unpaid balance for such
              property. In the event of loss to property sold under deferred payment plans, you will use all reasonable
              efforts, including legal action, if necessary, to effect collection of outstanding amounts due or to regain
              possession of the property.

         b.   We do not cover loss:

              (1) Pertaining to products recalled including your costs to recall, test or to advertise such
                  recall.

              (2) From theft or conversion by the buyer of the property after the buyer has taken
                  possession of such property.

              (3) To the extent the buyer continues paymenls.

              (4) Not within this Policy's territory.

    10. DEMOLITION AND INCREASED COST OF CONSTRUCTION

         a.   We cover your reasonable and necessary costs that are described in Item b. below, actually incurred
              to satisfy the minimum requirements of the enforcement of any law or ordinance regulating the
              demolition, construction, repair, replacemenl or use of covered property consisting of buildings,
              structures, machinery and equipment al a covered location, provided:

              (1) Such law or ordinance is in force on the dale of the covered loss;

              (2) Its enforcement Is a direct result of a covered loss; and

              (3) The buildings, structures, machinery and equipment were in compliance with such law or
                  ordinance, regardless of any lack of enforcement, prior to the covered loss.

         b.   This PROPERTY DAMAGE COVERAGE AND LIMITATION, as respects the property insured in Item
              a. above, covers:

              (1) The cost incurred to demolish, repair or rebuild the physically damaged portion of such property
                  with materials and in a manner to satisfy such law or ordinance; and


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              (2) The cost Incurred:

                  (a) To demolish the physically undamaged portion of such property insured; and

                  (b) To rebuild It wilh materials and in a manner to satisfy such law or ordinance,

                  when the demolition of the physically undamaged portion of such property is required to satisfy
                  such law or ordinance, as a result of a covered loss.

        c.    This PROPERTY DAMAGE COVERAGE AND LIMITATION excludes any cosls incurred as a result of
              the enforcement of any law or ordinance regulating pollution.

        d.    The amount we cover for this PROPERTY DAMAGE COVERAGE AND LIMITATION at each covered
              location in any one (1) occurrence will not exceed the actual cost Incurred in demolishing the
              physically damaged and undamaged portions of the property covered In Item a. above plus:

              (1) If rebuilt on the same site, the actual cosl incurred in rebuilding there; or

              (2) If rebuilt on another site, the lesser of:

                  (a) The actual cost Incurred in rebuilding on the other site, excluding the cost of land; or

                  (b) The cost that would have been Incurred to rebuild on the same site.

    11. ERRORS AND OMISSIONS

        a.    If direct physical loss or damage is not covered under this Policy solely because of an error or
              unintentional omission made by you:

              (1) In the description of where covered property is physically located; or

              (2) To include any location:

                  (a) Owned, rented or leased by you on the effective date of this Policy; or

                  (b) Purchased, rented or leased by you during the term of the Policy; or

              (3) That results in termination of the coverage provided by this Policy, except for cancellation due to
                  nonpayment of premium,

              we cover the amount we would have paid, including any TIME ELEMENT loss, had the error or
              omission not been made.

        b.    This coverage does not apply to the failure to report values, or the reporting of inaccurate values of
              covered property.


        c.    This PROPERTY DAMAGE COVERAGE AND LIMITATION does not apply if coverage Is provided
              elsewhere in this Policy.

        d.    You must report such errors or unintentional omissions to us in writing as soon as they are discovered.

    12. EXPEDITING EXPENSE

        a.    We cover your reasonable and necessary costs:

              (1) Forthe temporary repair of covered property from a covered loss; and


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             (2) To expedite the permanent repair or replacement of such damaged property.

        b.   This PROPERTY DAMAGE COVERAGE AND LIMITATION does not cover costs recoverable
             elsewhere in this Policy, including the cosl of permanent repair or replacemenl of damaged property.

    13. FINE ARTS

        a.   We cover direct physical loss or damage to your fine arts while anywhere within this Policy's territory,
             including while in transit

        b.   The following additional exclusions apply:

             We do nol cover:

             (1) Loss or damage sustained from any repair, restoration, or retouching process;

             (2) Breakage of art glass windows, statuary, marble, glassware, bric-a-brac, porcelains, and similar
                 fragile articles, unless caused by fire, lightning, aircraft, theft and or attempted theft, windstorm,
                 EARTH MOVEMENT, FLOOD, explosion, vandalism, collision, derailment or overturn of
                 conveyance.

    14. FIRE DEPARTMENT SERVICE CHARGES

        We cover the reasonable and necessary:

        a.   Fire department firefighting charges imposed as a result of responding lo a fire in, on or exposing the
             covered property.

        b.   Cosls Incurred by you to restore and recharge fire protection systems foliowing a covered loss.


    15. LAND AND WATER CLEANUP, REMOVAL AND DISPOSAL

        a.   For uninsured property at a covered location consisting of land, water, or any other substance In or on
             land or water at a covered location, we cover your reasonable and necessary cost for the cleanup,
             removal and disposal of the actual presence of contaminant(s) from that property if the release,
             discharge or dispersal of such contaminant(s) is a result of a covered loss.

        b.   This PROPERTY DAMAGE COVERAGE AND LIMITATION does nol apply;

             (1) At any location insured for personal property only;

             (2) At any location, or to any property, covered under the NEWLY ACQUIRED LOCATIONS or
                 ERRORS AND OMISSIONS coverages provided by this Policy or at a Miscellaneous Unnamed
                 Location; or

             (3) If you fall to give us written notice within one hundred eighty (180) days after the loss.

    16. MISCELLANEOUS PERSONAL PROPERTY

        a.   We cover direct physical loss or damage, that occurs away from a covered location but within the
             Policy's territory, lo personal property of the type covered underthis Policy, which is:

             (1) Owned by you; or

             (2) Owned by others and In your care, custody and control, but only lo the extent you are obligated to
                 Insure it for direct physical loss or damage under the type of coverage provided under this Policy.

        b.   This PROPERTY DAMAGE COVERAGE AND UMITATION excludes coverage that is provided


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             elsewhere in this Policy.

   17. NEWLY ACQUIRED LOCATIONS

       a.    We cover physical loss or damage to property of the type Insured from a loss of the type insured at any
             location you purchase, lease or rent afler the inception date of this Policy.
       b.    This PROPERTY DAMAGE COVERAGE AND UMITATION applies:

             (1) From the dale of purchase, lease or rental.

             (2) Until the first of the following occurs:

                 (a) The location is bound by us;

                 (b) Agreement Is reached that the location will not be insured under this Policy; or

                 (c) The time limit specified in the LIMITS OF LIABILITY Table in the Declarations has been reached.
                     The time limit begins on the date of purchase, lease or rental.

   18. OFF PREMISES INTERRUPTION OF SERVICES - PROPERTY DAMAGE

      a.     We cover physical loss or damage to covered property at a covered location when such physical loss
             or damage results from:

             (1) The interruption of incoming services consisting of electricity, gas, fuel, steam, water, refrigeration,
                 voice, data, video; or

             (2) The interruption of outgoing sewerage service,

             by reason of a loss of the type insured by this Policy at the facilities of the supplier of such service
             located within this Policy's territory, that immediately prevents in whole or in part the delivery of such
             usable service.

      b.     This PROPERTY DAMAGE COVERAGE AND LIMITATION will apply only when the interruption
             exceeds the qualifying period specified In the Qualifying Period Table in the Declarations.

      c.     For purposes of this PROPERTY DAMAGE COVERAGE AND LIMITATION, the period of service
             interruption is the period starting with the time when an interruption of specified services occurs; and
             ending when the service could be wholly restored.

      d.     Additional General Provisions:

             (1) You will immediately notify the suppliers of services of any inlerruplion of any such services.

             (2) We will nol be liable if the interruption of such services is caused directly or indirectly by your failure
                 to comply with the terms and conditions of any contracts you have for the supply of such specified
                 services.


      e.     We do not cover loss or damage caused by or resulting from the use of services provided by or through
             a satellite.

      f.     Exclusion C.3.e. does not apply to this PROPERTY DAMAGE COVERAGE AND LIMITATION.



   19. PROFESSIONAL FEES



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        a.   We cover your reasonable costs for your employees or auditors, architects, accountants and
             engineers whom you hire to prepare and verify the details of a claim from a covered loss.

        b.   Professional fees covered under this PROPERTY DAMAGE COVERAGE AND LIMITATION, however,
             do not Include:

             {1) Any fees or expenses of attorneys;

             (2) Any fees or expenses of public adjusters, loss appraisers or any of their subsidiaries or associated
                 entities;

             (3) Fees based on a contingency; or

             (4) Fees of loss consultants who provide consultation on coverage or negotiate claims.

        0.   This PROPERTY DAMAGE COVERAGE AND LIMITATION is subject to the deductible lhal applies lo
             the loss.

    20. PROTECTION AND PRESERVATION OF PROPERTY
        a.   We cover your reasonable and necessary costs to temporarily protect or preserve covered property
             provided such actions are necessary due to actual, or lo prevent Immediately impending threat of,
             physical loss or damage of the type covered by this Policy lo such covered property.

        b.   This PROPERTY DAMAGE COVERAGE AND LIMITATION Is subject lo the deductible provisions lhal
             would have applied had the physical loss or damage happened.

    21. RADIOACTIVE CONTAMINATION

        a.   We cover radioactive contamination to property of the type insured by this Policy from a covered
             loss.

             Radioactive contamination Is:

             (1) Sudden and accidental radioactive contamination; or

             (2) Resultant radiation damage to covered property,

             provided that such radioactive contamination arises out of radioactive malerial al a covered location
             and Is used as part of your business activities.

        b.   We do not cover radioactive contamination if:

             (1) The covered location contains:

                 (a) A nuclear reactor capable of sustaining nuclear fission in a self-supporting chain reaction; or

                 (b) Any new or used nuclear fuel Inlended for or used in such a nuclear reactor.

             (2) The contamination arises from radioactive material located away from a covered location.

   22. TAX LIABILITY

       We cover your increase in tax liability from a covered loss al a covered location if the tax treatment of:

       a.    The profit portion of a loss payment involving finished stock manufactured by you; and/or

       b.    The profit portion of a TIME ELEMENT loss payment;


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        is greater lhan the lax treatment of profits that would have been incurred had no loss happened.

    23. TEMPORARY REMOVAL OF PROPERTY

        a.    When covered property is removed from a covered location for the purpose of being repaired or
              serviced or in order to avoid threatened physical loss or damage of the type Insured by this Policy, we
              cover such property:

              (1) While at the premises to which such covered property has been moved; and

              (2) For direct physical loss or damage of the type insured by this Policy at the covered location from
                  which such covered property was removed.

        b.    This PROPERTY DAMAGE COVERAGE AND LIMITATION does not apply:

              (1) To covered property removed for normal storage, processing or preparation for sale or delivery;
                  or

              (2) If coverage is provided elsewhere in this Policy or by any other insurance policy.

    24. TRANSIT

        a.    We cover personal property not excluded elsewhere in this Policy while it is in transit within the
              Policy's territory:

              (1) Owned by you.

              (2) Shipped lo customers under Free on Board (F.O.B) shipments, Free-Along-Side (F.A.S) shipments
                  and Returned shipments. Your contingent interest is admitted.

              (3) Of others in your actual or constructive custody to the extent of your interest or legal liability,

              (4) Of others sold by you and you agreed pnor to the loss to Insure the personal property during
                  course of delivery including:

                  (a) When shipped by your contract service provider or by your contract manufacturer to you or to
                      your customer; or

                  (b) When shipped by your customer to you or to your contracl service provider or to your contract
                      manufacturer.

        b.    This PROPERTY DAMAGE COVERAGE AND LIMITATION starts from the time the property leaves
              the original point of shipment for transit, and continues while In the due course of transit until delivered,
              subject to the following conditions:


              (1) Coverage on export shipments not insured under ocean cargo policies ends when the property is
                  loaded on board overseas vessels or aircraft. Coverage on import shipments not insured under
                  ocean cargo policies begins after discharge from overseas vessels or aircraft.

              (2) If this Policy expires during the due course of transil, coverage is extended unlil the shipment is
                  delivered to ils final destination.

        c.    We also cover:

              (1) General average and salvage charges on shipments covered while waterborne; and

              (2) Direct physical loss or damage caused by or resulting from:


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                 (a) Unintentional acceptance of fraudulent bills of lading, shipping or messenger receipts.

                 (b) Improper parties having gained possession of property through fraud or deceit.

        d.   Additional General Provisions:

             (1) This PROPERTY DAMAGE COVERAGE AND LIMITATION will not inure directly or indirectly lo
                 the benefit of any carrier or bailee.

             (2) You have permission, wilhout prejudicing this Insurance, to accept:

                 (a) Ordinary bills of lading used by carriers;

                 (b) Released bills of lading;

                 (c) Undervalued bills of lading; and

                 (d) Shipping or messenger receipts.

             (3) You may waive subrogation against railroads under side track agreements.

             (4) Except as othenvise stated, you will not enter into any special agreement with carriers releasing
                 them from their common law or statutory liability.

        e.   As respecls this PROPERTY DAMAGE COVERAGE AND LIMITATION:

             (1) The following additional exclusions apply:

                 This Policy excludes:

                 (a) Samples in the custody of salespeople or selling agents.

                 (b) Property insured under Import or export ocean marine insurance.

                 (c) Waterborne shipmenls, unless:

                     (i)   By inland water; or

                     (ii) By roll-on/roll-off ferries; or

                     (iii) By coastal shipments.

                 (d) Airborne shipments unless by regulariy scheduled passenger airiines or air freight carriers.


                 (e) Property of others, including your legal liability for it. hauled on vehicles owned, leased or
                     operated by you when acting as a common or contract carrier.

                 (f) Any transporting vehicle

                 (g) Property shipped between continents except by land or air wilhin the Policy territory.

       f.    We will value property covered under this PROPERTY DAMAGE COVERAGE AND LIMITATION as
             follows:




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              (1) Property shipped lo or for your account will be valued at actual invoice to you. Included in the
                  value are accrued costs and charges legally due. Charges may include your commission as selling
                  agent.

              (2) Property sold by you and shipped to or for the purchaser's account will be valued at your selling
                  invoice amount. Prepaid or advanced freight cosls are included.

              (3) Property not under Invoice will be valued:

                  (a) For your property, according to the valuation provisions of this Policy applying at the place
                      from which the property is being transported; or

                  (b) For other property, at the actual cash value at the destination point on the date of loss, less
                      any charges saved which would have become due and payable upon arrival at destination.

    25. VALUABLE PAPERS AND RECORDS

        a.    We cover physical loss or damage to your valuable papers and records from a covered loss at a
              covered location. We cover the value blank, plus the cost of copying from backup or from originals of
              a previous generation, and your reasonable and necessary costs lo research, replace or restore the
              Information lost or damaged thereon, except for electronic data and software. For electronic data
              and software, we cover the value of the blank media, and the cost of reproducing the electronic data
              and software from duplicates or originals of the previous generation of the data.

        b.    This coverage does not apply to loss or damage to property that cannot be repaired or restored with
              like kind or quality.




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                                      SECTION III - TIME ELEMENT
TIME ELEMENT loss as provided in the TIME ELEMENT COVERAGES and TIME ELEMENT COVERAGES AND
UMITATIONS:

A. Is subject to and part of the applicable LIMIT OF LIABILITY thai applies to your direct physical loss or damage
   but In no event for more than any LIMIT OF LIABILITY that is stated as applying to the specific TIME ELEMENT
   COVERAGE and/or TIME ELEMENT COVERAGES AND LIMITATIONS; and

B. Will not increase the POLICY LIMIT OF LIABILITY and is subjecl to the Policy provisions, including applicable
   exclusions and deductibles,

all as shown in this section and elsewhere in this Policy.

A. LOSS INSURED

    1.   We cover your actual loss sustained, as provided in the TIME ELEMENT COVERAGES and TIME
         ELEMENT COVERAGES AND LIMITATIONS, directly resulting from a loss ofthe type insured by this
         Policy:

         a.   To property described elsewhere In this Policy and not otherwise excluded by this Policy,

         b.   Used by you, or by others with whom you have a contract,

         0.   At a covered location or while in transit as provided by this Policy,

         d.   During the applicable PERIOD OF LIABILITY described in this section.

    2.   We cover TIME ELEMENT loss only to the extent it cannot be reduced through:

         a.   The use of any property or service owned or controlled by you;

         b.   The use of any property or service obtainable from other sources;

         c.   Working extra time or overtime; or

         d.   The use of inventory,

         all whether at a covered location or at any other location. When measuring the actual loss sustained, the
         combined operating results of all of your associated, affiliated or subsidiary companies will be considered
         in determining the TIME ELEMENT loss.

    3.   We cover your reasonable and necessary expenses to reduce the loss otherwise payable under this
         section of this Policy. The amount of those recoverable expenses will not exceed the amount by which the
         insured loss has been reduced.

   4.    In determining the insured TIME ELEMENT loss, we will consider the experience ofthe business before
         and afler and the probable experience during the PERIOD OF LIABILITY. We will consider any increase or
         decrease in demand for your goods or services during the PERIOD OF LIABILITY, even if such increase
         or decrease is from the same event that caused the covered loss.

B. TIME ELEMENT COVERAGES

    1.   GROSS EARNINGS

         a.   GROSS EARNINGS loss is the actual loss sustained by you due lo the necessary Interruption of
              your business during the PERIOD OF LIABIUTY ofthe following:


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              Gross Earnings less all charges and expenses lhal do not necessarily continue during the interruption
              of production or suspension of business operalions or services, plus all other earnings derived from the
              operation of the business.

              Ordinary payroll, including taxes and charges dependent on the payment of wages, for a period of
              lime not lo exceed lhe number of consecutive days as specified In the LIMITS OF LIABILITY in the
              Declarations table Immediately following the interruption of production or suspension of business
              operations or services, and only lo the extent such payroll continues following the loss and would have
              been earned had no such interruption happened.

              However, if you reduce the daily loss payable under ordinary payroll, either by:

                        (1) providing gainful employment for, or

                        (2) paying less than the normal salary rale lo,

              all or part of its employees, then the number of consecutive days of ordinary payroll may be extended.
              However, this provision will not increase our total liability beyond the amount we would have been
              liable for ordinary payroll cosls without this provision.

              Ordinary payroll does not cover any portion of salaries or wages included in Gross Earnings.

        b.    GROSS EARNINGS will be calculated as follows:

              (1) For manufacturing operations: lhe net sales value of production less the cost of all raw stock,
                  materials and supplies used in such production; or

              (2) For mercantile or non-manufacturing operations: the total nel sales less the cost of merchandise
                  sold, materials and supplies consumed in the operations or services rendered by you.

               Any amount payable at selling price will be considered to have been sold to your regular customers
               and will be credited against net sales.


        c.    In determining the amount we cover as the actual loss sustained, we will consider the continuation of
              only those charges and expenses that would have been earned had there been no interruption of
              production or suspension of business operalions or services.

        d.    If you would have operated at a deficit had no interruption of production or suspension of business
              operations or services occurred, the following applies:

              (1) For Gross Earnings, the extent to which charges and expenses would have been earned will be
                  determined by subtracting the operating deficits from the charges and expenses that necessarily
                  continue.

              (2) For ordinary payroll, the extent payroll would have been earned will be determined by
                  subtracting the excess, if any, of the operating deficit over the fixed charges that need to continue
                  from such payroll.

        e.    We cover TIME ELEMENT loss only to the extent that you are:

              (1) Wholly or partially prevented from producing goods or continuing business operations or services;

              (2) Unable to make up lost production within a reasonable period of time, not limited lo the period
                  during which production Is Interrupted;

              (3) Unable to continue your operations or services during the PERIOD OF LIABILITY; and


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              (4) Able to demonstrate a loss of sales for the operations, services or production prevented.

    2.   EXTRA EXPENSE

         a.   We cover your reasonable and necessary extra cosls of the following incurred during the PERIOD
              OF LIABILITY applicable:

              (1) To temporarily continue as nearly normal as practicable the conduct of your business; and

              (2) The temporary use of property or facilities of yours or others.

         b.   We will reduce any recoverable loss under this coverage for any value remaining of any property
              used to temporarily continue your business.

         c.   EXTRA EXPENSE does nol include:

              (1) Any loss of Income.

              (2) Costs that would have been incurred in conducting the business during the same period had no
                  physical loss or damage happened.

              (3) Costs of permaneni repair or replacement of property that has been damaged or destroyed.

              (4) Any expense recoverable elsewhere in this Policy.

    3.   LEASEHOLD INTEREST

         a.   We cover the following:

              (1) If the lease agreemeni requires continuation of rent as a result of a covered loss, and If the
                  covered property is wholly or partially untenantable or unusable, the actual rent payable while the
                  covered property is untenantable or until the lease is terminated, but not exceeding the unexpired
                  term of the lease.

              (2) If the covered property is partially untenantable, we cover the proportion of the lease payment for
                  that portion of the untenantable covered property.

         b.   If the lease is cancelled by the lessor pursuant lo the lease agreemeni or by the operation of law, we
              cover the additional cost to rent similar space for the unexpired term of the lease for the damaged
              property. That loss will be computed at present value, compounded annually at the prime rate plus 2%,
              as published in the Wall Streel Journal on the date the lease terminated. The additional cost will
              consider the excess rent paid for the same or similar replacement property over actual rent of the
              original lease, plus cash bonuses or advance rent paid (including maintenance or operating charges)
              for each month during the unexpired lerm of the lease.

         c.   As respecls LEASEHOLD INTEREST, the following applies:

              (1) We do not cover loss directly resulting from physical loss or damage lo personal property.

              (2) TIME ELEMENT EXCLUSIONS D.l., D.2. and D.3. do not apply and the following applies
                  instead:

                  We do not cover any increase In loss resulting from the suspension, lapse or cancellation of any
                  license, or from you exercising an option lo cancel the lease; or from any act or omission by you
                  that constitutes a default under the lease.

   4.    RENTAL INSURANCE


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         a.    We cover your aclual loss sustained of rental income during the PERIOD OF LIABILITY for:

               (1) The fair rental value of any portion of rental property occupied by you;

               (2) The income reasonably expected from rentals of unoccupied or unrented portions of such
                   property; and

               (3) The rental income from the rented portions of such property according lo written leases, contracts
                   or agreements in force at the time of loss,

               all not lo include non-continuing charges and expenses.

         b.    RENTAL INSURANCE Exclusions: As respects RENTAL INSURANCE, TIME ELEMENT
               EXCLUSIONS D.l. does not apply and the following applies instead:

               We do nol cover any loss of rental income during any period in which the covered location would not
               have been tenantable for any reason other than a covered loss.

C. PERIOD OF LIABILITY

    1.   The PERIOD OF LIABILITY applying to CONTINGENT TIME ELEMENT, GROSS EARNINGS, EXTRA
         EXPENSE and RENTAL INSURANCE is as follows:

         a.    For building and equipment, the period:

               (1) Starting from the time of physical loss or damage of the lype insured; and

               (2) Ending when with due diligence and dispatch the building and equipment could be:

                   (a) Repaired or replaced; and

                   (b) Made ready for operations,

                   under the same or equivalent physical and operating conditions that existed prior to the damage.

               (3) Not to be limited by the expiration of this Policy.

         b.    For bullding(s) and equipment covered under COURSE OF CONSTRUCTION:

               (1) The equivalent of the above period of time will be applied lo the level of business lhal would have
                   been reasonably achieved after construction and startup would have been completed had no
                   physical damage happened; and

               (2) Due consideration will be given to the actual experience of the business after completion of the
                   construction and startup.

    2.   The PERIOD OF LIABILITY for GROSS EARNINGS and EXTRA EXPENSE also includes the following:

         a.    For stock-in-process and mercantile stock, including finished goods not manufactured by you, the time
               required with the exercise of due diligence and dispatch:

               (1) To restore stock in process to the same stale of manufacture in which it stood at the inception of
                   the interruption of production or suspension of business operations or services; and

               (2) To replace physically damaged mercantile stock.

         b.    For raw materials and supplies, the period of time:


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              (1) Of actual interruption of production or suspension of operations or services resulting from the
                  inability to get suitable raw materials and supplies to replace similar ones damaged; bul

              (2) Limited to that period for which the damaged raw materials and supplies would have supplied
                  operating needs.

         c.   Impounded Water:

              (1) Used for any manufacturing purpose, including as a raw material or for power;

              (2) Stored behind dams or in reservoirs; and

              (3) On any covered location,

              that is released as the result of physical damage of the type insured to such dam, reservoir or
              connected equipment, our liability for the aclual interruption of production or suspension of operations
              or services due to inadequate water supply will not extend beyond the number of consecutive days,
              not to exceed the LIMIT OF LIABILITY specified In the Declarations after the damaged dam, reservoir
              or connected equipment has been repaired or replaced.

         d.   For physically damaged exposed films, records, manuscripts and drawings, the lime required to copy
              from backups or from originals of a previous generation. This time does not include research,
              engineering or any other time necessary to restore or recreate lost information.

         e.   For physically damaged or destroyed property covered under DATA, PROGRAMS OR SOFTWARE,
              the time to recreate or restore including the time for researching or engineering lost information.

    3.   The PERIOD OF LIABILITY applying to GROSS PROFIT\s as follows:

         a.   The period starting from the time of physical loss or damage of the lype insured and ending not later
              than the period of time specified in the LIMITS OF LIABILITY Table in the Declarations during which
              period the resulls of the business shall be directly affected by such damage, not to be limiled by the
              expiration of this Policy.

         b.   For property under construction, the period starting on the date thai production, business operation or
              service would have commenced If physical damage of the type insured had nol happened and ending
              not later than the period of time specified in the LIMITS OF LIABILITY Table in the Declarations, during
              which period the results of the business shall be directly affected by such damage, not to be limited by
              the expiration of this Policy.

         The Rafe of Gross Profit and Standard Sales will be based on the experience of the business after
         construction is completed and the probable experience during the PERIOD OF LIABILITY.


    4.   The PERIOD OF LIABILITY does not include any additional time due to your Inability to resume
         operations for any reason, Including:

         a.   Making changes to equipment;

         b.   Making changes to the buildings or structures except as provided in the DEMOLITION AND
              INCREASED COST OF CONSTRUCTION clause in the PROPERTY DAMAGE section; and

         c.   Re-staffing or retraining employees.

         If two or more PERIODS OF LIABILITY apply, such periods will not be cumulative.

D. TIME ELEMENT EXCLUSIONS



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     In addition to the exclusions elsewhere In this Policy, the following exclusions apply lo TIME ELEMENT loss:

    1.   Any loss during any idle period, including but not limited to when production, operation, service or delivery
         or receipt of goods would cease, or would not have taken place or would have been prevented due lo:

         a.    Physical loss or damage not insured by this Policy on or off of the covered location.

         b.    Planned or rescheduled shutdown.

         c.    Strikes or other work stoppage.

         d.    Any reason other than physical loss or damage insured under this Policy.

    2.   Any increase in loss due lo:

         a.    Suspension, cancellation or lapse of any lease, contract, license or orders.

         b.    Damages for breach of contract or for late or noncomplelion of orders.

         c.    Fines or penalties.

         d.    Any other consequential or remote loss.

    3.   Any loss resuiling from physical loss or damage to finished goods manufactured by you, or the time
         required for their reproduction.

E. TIME ELEMENT COVERAGES AND UMITATIONS

    TIME ELEMENT COVERAGES are extended lo include the following, subject to all Policy terms, conditions
    and exclusions, and the lime, distance and/or dollar amounts specified In lhe LIMITS OF LIABILITY Table in
    the Declarations:

    1.   ATTRACTION        PROPERTY

         a.    We cover your actual loss suslained and EXTRA EXPENSE resulting from loss or damage of the lype
               Insured by this Policy to property of the type Insured at an attraction property within the number of
               statute miles specified In the LIMITS OF LIABILITY Table In the Declarations and during the period of
               time that:

               (1) Starts at the time such physical loss or damage happens;

               (2) Ends when the attraction property is:

                   (a) Repaired or replaced; and

                   (b) Made ready for operations.

         b.    As used in this TIME ELEMENT COVERAGE AND LIMITATION, the term attraction property is a
               property that:

               (1) Is operated by others; and

               (2) You depend on to attract customers to your covered location.

    2.   CIVIL OR MILITARY AUTHORITY

         a.    We cover your actual loss suslained and EXTRA EXPENSE during the period of interruption if an order
               of civil or military aulhority prohibits access to a covered location provided such order is caused by



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              physical loss or damage of the type insured by this Policy al a covered location or within the number
              of statute miles specified in the LIMITS OF LIABILITY Table in the Declarations.

         b.   This TIME ELEMENT COVERAGE AND LIMITATION does not apply to LEASEHOLD INTEREST.

         c.   The period of interruption for this TIME ELEMENT COVERAGE AND LIMITATION will be the period of
              time:

              (1) Starting at the time of such direct physical loss or damage; and

              (2) Conlinuing until the order is lifted, or the lime limit specified in the LIMITS OF LIABILITY Table in
                  the Declarations expires, whichever happens first

              This period of time Is part of and not in addition to any PERIOD OF LIABILITY applying to any coverage
              provided in the TIME ELEMENT section.

    3.   COMPUTER SYSTEMS NON PHYSICAL DAMAGE

         a.   We cover your actual loss sustained and EXTRA E X P E N S E during the PERIOD OF LIABILITY directly
              resulting from the failure of your electronic data processing equipment or media to operate, provided
              that such failure Is the direct result of a malicious act directed at you.

         b.   This TIME ELEMENT COVERAGE AND LIMITATION will apply only when the period of interruption is
              in excess of lhe qualifying period specified in the Qualifying Period Table in the Declarations.

         c.   As used above, the period of interruption:

              (1) Is the period starting when your electronic data processing equipment or media falls to operate
                  and ending when wilh due diligence and dispatch, your electronic data processing equipment
                  or media could be restored to the same or equivalent operating condilion that existed prior to the
                  failure.

              (2) Does not include the additional lime to make changes to your electronic data processing
                  equipment or media.

    4.   CONTINGENT TIME ELEMENT

         a.   We cover your actual loss sustained and EXTRA EXPENSE during the PERIOD OF LIABILITY directly
              resulting from physical loss or damage of the type insured by this Policy at Direct Dependent Time Element
              Location(s) and Indirect Dependent Time Element Location(s) located within the territory of this Policy.

         b.   You agree to take every reasonable and necessary action to mitigate the loss payable hereunder.




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         c.    As used in this Policy, Direct Dependent Time Element Location(s) are:

               (1) Any location(s) of a direct: customer, supplier, contracl manufacturer or contract service provider to
                   you; or

               (2) Any location(s) of any company under a royalty, licensing fee or commission agreement with you.

               Direct Dependent Time Element Location(s) does not include location(s) that are covered location(s)
               under this Policy or the location(s) of any company direclly or Indirectly supplying to, or receiving from
               you. electricity, fuel, gas, water, steam, refrigeration, sewage, voice, data or video.

         d.    As used in this Policy, Indirect Dependent Time Element Locationfs) are:

               (1) Any location(s) of any company that is a direct customer, supplier, contract manufacturer or contract
                   service provider to your Direct Dependent Time Element Location(s).

               Indirect Dependent Time Element Location(s) does not Include location(s) that are covered location(s)
               under this Policy or the location(s) of any company directly or Indirectly supplying to, or receiving from,
               the Direct Dependent Time Element Location(s) or the Indirect Dependent Time Element
               Location(s), electricity, fuel, gas, water, steam, refrigeration, sewage, voice, data or video.

         e.    As respects CONTINGENT TIME ELEMENT:

               (1) Exclusion D.3 In the TIME ELEMENT EXCLUSIONS does not apply

    5.   CRISIS MANAGEMENT

         a.    We cover your aclual loss sustained and EXTRA EXPENSE during the PERIOD OF LIABILITY if an
               order of civil or military authority prohibits access to a covered location, but only if such order is a direct
               result of a violent crime, suicide, attempted suicide or armed robbery at such covered location.

         b.    As respects this TIME ELEMENT COVERAGE AND LIMITATION, coverage applies:

               (1) Only when the PERIOD OF LIABILITY Is In excess of the qualifying period specified in the
                   Qualifying Period Table in the Declarations; and

               (2) For up to the number of consecutive days specified in the LIMITS OF LIABILITY Table in the
                   Declarations, not to exceed the specified LIMIT OF LIABILITY.

               The PERIOD OF LIABILITY Is the period of time when the time the civil or military authority prohibits
               access and continuing until the order is lifted, or the lime limit specified in lhe LIMITS OF LIABILITY
               Table in the Declarations expires, whichever happens first

    6.   DELAY IN STARTUP

         We cover your actual loss sustained and EXTRA EXPENSE during the PERIOD OF LIABILITY due to the
         reasonable and necessary delay in startup of business operations resulting directly from physical loss or
         damage to covered property as provided under COURSE OF CONSTRUCTION.

    7.   EXTENDED PERIOD OF LIABILITY

         a.    We cover the GROSS EARNINGS loss sustained due to the reduction in sales resulting from:

               (1) The interruption of business;

               (2) Commencing with the dale on which our liability for loss resulting from Interruption of business
                   would terminate if this TIME ELEMENT COVERAGE AND LIMITATION had not been included In
                   this Policy; and


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             (3) Conlinuing for such additional length of lime as would be required wilh the exercise of due diligence
                 and dispatch to restore your business lo the condition that would have existed had no loss
                 occurred, but no longer than the number of consecutive days specified in the LIMITS OF LIABILITY
                 Table in the Declarations.

        b.   Coverage under this TIME ELEMENT COVERAGE AND LIMITATION for the reduction in sales due lo
             contract cancellation will include only those sales that would have been earned under the contract
             during the EXTENDED PERIOD OF LIABILITY described in llem 7.a. above.

        c.   As respects this TIME ELEMENT COVERAGE AND LIMITATION, Item D.2. In the TIME ELEMENT
             EXCUJSIONS in this section does not apply and the following applies instead:

                 This Policy does not insure against any increase in loss due to damages for breach of contract or
                 for late or non-completion of orders, or fines or penalties.

   8.   INGRESS / EGRESS

        a.   We cover your actual loss sustained and EXTRA EXPENSE due to the necessary Interruption of your
             business if ingress to or egress from a covered location is prevented, whether or not your premises
             or property is damaged, provided thai such prevention Is a direct result of physical loss or damage of
             the type insured to property of the type Insured.

        b.   The period of inten-uption for this TIME ELEMENT COVERAGE AND LIMITATION will be the period of
             time starting at the time of such direct physical loss or damage, and continuing until ingress or egress
             is no longer prevented, or for the time limil specified in the LIMITS OF LIABILITY Table in the
             Declarations, whichever Is less.

   9.   OFF PREMISES INTERRUPTION OF SERVICES - TIME ELEMENT

        a.   We cover your actual loss suslained and EXTRA EXPENSE during the period of service interruption
             at a covered location when the loss is caused by:

             (1) The interruption of incoming services consisting of electricity, gas, fuel, steam, waler, refrigeration,
                 voice, data, video; or

             (2) The interruption of outgoing sewerage service,

             from physical loss or damage of the type insured, at the facilities of the supplier of such service located
             within this Policy's territory that immediately prevents in whole or in part the delivery of such usable
             services.

        b.   This TIME ELEMENT COVERAGE AND LIMITATION will apply only when the period of sen/Ice
             interruption as described below is in excess of the qualifying period specified in the Qualifying Period
             Table in the Declarations.

        c.   The period of service interruption is:

             (1) The period starting with the time when an interruption of specified services occurs; and ending
                 when with due diligence and dispatch the service could be wholly restored and the location
                 receiving the service could have resumed normal operations following the restoration of service
                 under the same or equivalent physical and operating conditions that existed prior to the Interruption
                 of such services;

             (2) Is limited to only those hours during which you could have used service(s) if it had been available;

             (3) Does not extend to include the interruption of operations caused by any reason olher than
                 interruption of the specified service(s).
        d.   Additional General Provisions:


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              (1) You will immediately notify the suppliers of services of any interruption of any such services.

              (2) We will not be liable if the interruption of such services is caused directly or indirectly by your failure
                  to comply with the terms and conditions of any contracts you have for the supply of such specified
                  services.

        e.    We do not cover loss or damage caused by or resulting from the use of services provided by or through
              a satellite.

    10. ON PREMISES INTERRUPTION OF SERVICES - TIME ELEMENT

        a.    We cover your actual loss sustained and EXTRA E X P E N S E during the PERIOD OF LIABILITY directly
              resulting from direct physical loss or damage of the type insured to the following property located at or
              within one-thousand (1,000) feet of a covered location:

              (1) Electrical equipment and equipment used for the transmission of voice, data or video.

              (2) Electrical, fuel, gas, water, steam, refrigeration, sewerage, voice, data or video transmission
                  systems.

    11. PROTECTION AND PRESERVATION OF PROPERTY TIME ELEMENT

        a.    We cover your actual loss sustained for a period of lime not to exceed forty eight (48) hours prior to
              and forty eight (48) hours after you first took reasonable action for the temporary protection and
              preservation of property insured by this Policy provided such action is necessary lo prevent immediately
              Impending physical loss or damage of the type Insured to such covered property.

        b.    This TIME ELEMENT COVERAGE AND LIMITATION is subject to the deductible provisions that would
              have applied had the direct physical loss or damage occurred.

    12. RELATED LOCATIONS

        If you report values at related locations used by you (e.g. branch stores, retail outlets and other facilities),
        but such related locations are not listed on the latest Schedule of Covered Locations submitted to,
        accepted by and on file with us, and If a TIME ELEMENT loss results at such related locations due to
        covered loss, we cover such resulting TIME ELEMENT loss in accordance with the terms and conditions
        ofthis Policy.

    13. RESEARCH AND DEVELOPMENT

        a.    We cover your actual loss sustained of fixed charges and ordinary payroll directly attributable to the
              interruption of research and development project(s) that would not have produced income during the
              PERIOD OF LIABILITY resulting from a covered loss.

        b.    We cover these fixed charges only lo the extent they continue after the covered loss and only during
              the PERIOD OF LIABILITY.

        c.    To the extent you are able to resume operations, we cover only that portion of the fixed charges related
              to that part ofthe research and development operation that has not yet been restored.

    14. SOFT COSTS

        a.    We cover your actual loss sustained of Soft Costs during the penod of delay directly resulting from a
              delay of completion of covered property under construction as provided under COURSE OF
              CONSTRUCTION as provided in the PROPERTY DAMAGE COVERAGES AND LIMITATIONS.




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       b.   Soft Costs are costs over and above those thai are normal at a covered location undergoing renovation
            or in the course of construction, limited to the foilowing:

            (1) Construction loan fees - your additional cost to rearrange loans necessary for the completion of
                construction, repairs or reconstruction including: the cost lo arrange refinancing, accounting work
                necessary to restructure financing, legal work necessary to prepare new documents, charges by
                the lenders for the extension or renewal of loans necessary.

            (2) Commitment fees, leasing and marketing expenses - the cost of returning any commitment fees
                received from prospective tenant(s) or purchaser(s), the cost of re-leasing and marketing due to
                loss of tenanl(s) or purchaser{s).

            (3) Additional fees for architects, engineers, consultants, attorneys and accountants needed for the
                completion of construction repairs or reconstruction.

            (4) Property taxes, building permits, additional interest on loans, realty taxes and insurance premiums.

       c.   Period of delay is the period of time between:

            (1) The dale on which the construclion, alteration, extension or renovation would have been complete
                in the absence of a covered loss to property under construction as provided under COURSE OF
                CONSTRUCTION as provided in the PROPERTY DAMAGE COVERAGES AND LIMITATIONS;
                and

            (2) The date on which construction, alteration, extension or renovation is actually complete.




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                                 SECTION I V - DESCRIBED LOSSES

We only cover the following DESCRIBED LOSSES as specified in the LIMITS OF LIABILITY Table in the
Declarations, subjectto the lerms. conditions and exclusions ofthis Policy.

A. EARTH MOVEMENT

    1.   We cover physical loss or damage to covered property, Including TIME ELEMENT COVERAGES, TIME
         ELEMENT COVERAGES AND LIMITATIONS and PROPERTY DAMAGE COVERAGES AND
         LIMITATIONS as provided by this Policy, from a covered loss resulting from EARTH MOVEMENT.

    2 . Y o u may elect when the lime specified in the OCCURRENCE TIME SPECIFICATIONS begins.

    3.   EARTH MOVEMENT is:

         Earthquake, landslide, subsidence or sinking, rising or shifting ofthe earth, avalanche, whether natural or
         man-made, or volcanic eruption; regardless of any other cause or event contributing concurrently or in any
         other sequence of loss.

         However, physical loss or damage from fire, explosion, sprinkler leakage or FLOOD caused by EARTH
         MOVEMENT\N'\\\ not be considered to be loss by EARTH MOVEMENT\N\ih\n the lerms and condilions of
         this Policy.

B. EARTH A/fOVEM£/Vr SPRINKLER LEAKAGE

    1.   We cover physical loss or damage to covered property, including TIME ELEMENT COVERAGES,               TIME
         ELEMENT COVERAGES AND LIMITATIONS and PROPERTY DAMAGE COVERAGES AND
         LIMITATIONS as provided by this Policy, resulting from sprinkler leakage caused by EARTH
         MOVEMENT.

0. EQUIPMENT        BREAKDOWN

    1.   We cover physical loss or damage to covered property, Including TIME ELEMENT COVERAGES, TIME
         ELEMENT COVERAGES AND LIMITATIONS and PROPERTY DAMAGE COVERAGES                               AND
         LIMITATIONS, as provided by this Policy if such loss or damage Is caused by an accident to covered
         equipment.

         The coverage provided In this DESCRIBED LOSS Is limited to loss or damage caused by an accident lo
         covered equipment. We will not pay for physical loss or damage from any other cause under this
         DESCRIBED LOSS.

         The following coverages apply solely to Equipment Breakdown:

         a.    Spoilage Damage

               We cover physical loss or damage caused by change In temperature or humidity or by the Interruption
               of power, heat, air-conditioning, or refrigeration as the result of an accident to covered equipment.

         b. Ammonia Contamination

               We cover physical loss or damage to covered property contaminated by ammonia. Including any
               salvage expense as a direct result of an accident to covered equipment. No coverage for Ammonia
               Contamination  is available under DECONTAMINATION COSTS with respects to an accident to
               covered equipment.




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   2.   Conditions

        a.   Suspension

             If coverage for Equipment Breakdown is provided by this Policy, and we discover a dangerous condition
             relating to an object, we may immediately suspend the insurance provided by this coverage for that
             covered equipment by mitten notice mailed or delivered to you either at your address or atthe location
             of any object. Suspended Insurance may be reinstated by us, but only by an endorsement issued as
             part ofthis Policy. You will be credited for the unearned portion of the premium paid forthe suspended
             insurance, pro rata, for the period of suspension.

   3.   Valuation

        If covered equipment requires replacemenl due to an accident, we cover your additional cost to replace
        with equipment that is better for the environment, safer or more efficient than the equipment being replaced.

        a.   However, we do not cover more than 150% of what the cost would have been to repair or replace
             covered equipment with like kind and quality.

        b.   This does not apply to any property subject to valuation based on actual cash value, nor does this
             provision increase any other applicable LIMIT OF LIABILITY.

        c.   The PERIOD OF LIABILITY will not be Increased by any of the above.

   4.   Definitions

        a.   Accident: Physical loss or damage to covered equipment that necessitates its repair or replacemenl
             due to:

             (1) Failure of pressure or vacuum equipment;

             (2) Mechanical breakdown including rupture or bursting caused by centrifugal force;

             (3) Artificially generated electrical current, including eleclrical arcing that damages electrical devices,
                 appliances or wires; or

             (4) Explosion of:

                 (a) Sleam boiler

                 (b) Eleclric steam generator

                 (c) Steam piping

                 (d) Steam turbine

                 (e) Moving or rotating machinery when such explosion is caused by centrifugal force,

             unless such loss or damage is othen/vise excluded within this Policy.

             Accident 6oes not include:

             (5) Fire, Including waler or other means used lo extinguish the fire;

             (6) Malfunction, misalignment, miscallbration, tripping off line, or any condition which can be
                 corrected by resetting, tightening, adjusting or cleaning or by the performance of maintenance;




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               (7) Combustion explosion;

               (8) Discharge of molten material from equipment Including the heat from such discharged materials;

               (9) Lightning;

             (10)   Depletion, deterioralion, rust, corrosion, erosion, settling, or wear or tear or any other gradually
                    developing condition;

             (11)   Defects, erasures, error limitalions or viruses In computer equipment and programs including the
                    inability to recognize and process any date or time or provide instructions to covered equipment;

             (12)   Leakage at any valve, fitting, shaft seal, gland packing, joint or connection;

             (13)   Damage to any structure or foundation supporting the covered equipment or any of its parts;

             (14)   Any loss or damage caused by or resulting from any type of electrical insulation breakdown test;

             (15)   Any loss or damage caused by or resuiling from any type of hydrostatic, pneumatic or gas
                    pressure test;

             (16)   The functioning of any safely or protective device; or

             (17)   The cracking of any part on an Internal combustion turbine exposed lo the products of
                    combustion.

        b.     Covered equipment:

               (1) Equipment that generates, transmits, controls or utilizes energy; Including electronic
                   communications and data processing equipment; and

               (2) Equipment which, during normal usage, operates under vacuum or pressure, other than weight of
                   contents,

               Covered equipment does not mean or include:

               (3) Electronic data;

               (4) Part of pressure or vacuum equipment that is nol under internal pressure of Ils contents or internal
                   vacuum;

               (5) Insulating or refractory material;

               (6) Nonmetallic pressure or vacuum equipment, unless it is constructed and used in accordance with
                   the American Society of Mechanical Engineers (A.S.M.E.) code or other appropriate and approved
                   code;

               (7) Catalyst;

               (8) Buried vessels or piping; waste, drainage or sewer piping; piping, valves or fittings forming part of
                   a sprinkler or fire suppression system; water piping thai is not part of a closed loop used to conduct
                   heat or cooling from a boiler or a refrigeration or air conditioning system;

               (9) Structure, foundation, cabinet or compartment supporting or containing the covered equipment or
                   part of the covered equipment including penstock, draft tube or well casing;

             (10)   Vehicle or any covered equipment that Is mounted on or used solely with a vehicle;



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              (11)   Dragline, excavation or construction equipment Including any covered equipment that Is mounted
                     on or used solely with any one or more dragline(s), excavation or construction equipment;

              (12)   Felt, wire, screen, die. extrusion plate, swing hammer, grinding disc, cutting blade, nonelectrical
                     cable, chain, belt, rope, clutch plate, brake pad, nonmetal part or tool subject to periodic
                     replacement;

              (13)   Cyclotron used for other than medical purposes, satellite or spacecraft including any covered
                     equipment mounted on or used solely with any satellite or spacecraft;

              (14)   Equipment manufactured by you for sale.

         c.     Production machinery is any machine or apparatus that processes, forms, cuts, shapes, grinds, or
                conveys raw materials, materials in process or finished products including any coi^erecf eqfu/pmenMhat
                is mounted on or used solely with any one or more production machines or apparatus.

D. FLOOD

    1.   We cover physical loss or damage to covered property, including TIME ELEMENT COVERAGES, TIME
         ELEMENT COVERAGES AND LIMITATIONS and PROPERTY DAMAGE COVERAGES                          AND
         LIMITATIONS as provided by this Policy, from a covered loss resulting from FLOOD.

    2.   FLOOD is:

         a.    Surface waters; rising waters; storm surge, wave wash; waves; tsunami; tide or tidal waler; the release
               of water, the rising, overflowing or breaking of boundaries of natural or man-made bodies of water; or
               the spray therefrom; all whether driven by wind or not;

         b.     Sewer back-up resulting from any of the foregoing; or

         c.     Mudslide or mudflow caused by or resulting from surface water, runoff or accumulation of water on or
                under the ground;

              regardless of any other cause or event, whether natural or man-made, contributing concurrently or In
              any other sequence of loss.

         Covered loss from FLOOD associated with a storm or weather disturbance whether or not Identified by
         name by any meteorological aulhority is considered to be FLOOD within the terms of this Policy. However,
         physical loss or damage from fire, explosion or sprinkler leakage caused by FLOOD will not be considered
         to be loss by FLOOD within the terms and conditions of this Policy.

E. NAMED STORM

    1.   We cover physical loss or damage lo covered property, including TIME ELEMENT COVERAGES, TIME
         ELEMENT COVERAGES AND LIMITATIONS and PROPERTY DAMAGE COVERAGES AND
         LIMITATIONS as provided by this Policy, from a covered loss resulting from a NAMED STORM. Hovvever,
         physical loss or damage caused by fire, explosion, sprinkler leakage or FLOOD will not be considered loss
         by NAMED STORM within the terms and conditions of this Policy.

    2 . Y o u may elect when the lime specified in the OCCURRENCE TIME SPECIFICATIONS begins.

   NAMED STORM is any storm or weather disturbance that is named by the U. S. National Oceanic and
   Atmospheric Administration (NOAA) or the U. S. National Weather Service orthe National Hurricane Center or
   any authorized meteorological authority in the country where the storm or weather disturbance happened.




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                         SECTION V - GENERAL POLICY CONDITIONS

A. ASSIGNMENT

    Your assignment of this Policy will nol be valid except with our written consent.

B. CANCELLATION

    1.   You may cancel this Policy by mailing or delivering to us advance written notice of cancellation.

    2.   We may cancel this Policy by mailing or delivering to you writlen nolice of canceilalion at least:

         a.    ten (10) days before the effective date of cancellation if we cancel for nonpayment of premium; or

         b.    thirty (30) days or the number of days specified in the CANCELLATION TIME SPECIFICATIONS,
               whichever is greater, before the effective date of cancellation if we cancel for any other reason.

    3.   We will mail or deliver our written notice of cancellation to your lasl mailing address known to us.

    4.   Our written notice of canceiiation will slale the effective date of cancellation and the Policy period will end
         on that date.

    5.   If this Policy Is cancelled, we will send you any premium refund due. If we cancel, the refund will be pro
         rata. If you cancel, the refund may be less than pro rata. The cancellation will be effective even if we have
         not made or offered a refund.

    6.   If notice Is mailed, proof of mailing will be sufficient proof of notice.

C. CONCEALMENT, MISREPRESENTATION OR FRAUD

    This entire Policy is void, if with the actual Inient to deceive

    1. You;

    2.   Your representatives; or

    3. Any insured;

    commit fraud or conceal or misrepresent a fact or circumstance concerning:

         a.   This Policy;

         b.   The covered property;

         c.   Your Interest In the covered property; or

         d.   A claim under this Policy.




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D. CONFORMITY TO STATUTES

    Any provisions required by law to be Included In policies issued by us shall be deemed to have been Included
    In this Policy.

    If the provisions of this Policy conflict with the laws of any jurisdictions in which this Policy applies, and if certain
    provisions are required by lawto be stated in this Policy, this Policy shall be read so as to eliminate such conflict
    or deemed to Include such provisions for covered locations within such jurisdictions.

E. INSPECTION

    1.   During the period of this Policy, we will be permitted, bul not obligated, to Inspect the covered property.
         Our right to inspect, the performance of or failure to inspect, and any report arising out of an inspection will
         not constitute an undertaking or imply that the property is safe, healthful, or in compliance with laws,
         regulations, codes or standards.

    2.   This condition does not apply to any Inspections, surveys, reports or recommendations we may make
         relative to certification, under state or municipal statutes, ordinances or regulations, of boilers, pressure
         vessels or elevators.

         We will have no liability to you or others because of any inspection or failure to Inspect, or on account of
         anyone's use or reliance upon any report or olher information generated during the course of, or as a result
         of any inspection.

F. LENDERS LOSS PAYEE AND MORTGAGEE INTERESTS AND OBLIGATIONS

    1.   When specified in the Policy or in Certificates of Insurance on file with us, we cover loss to specified
         property insured under this Policy to each specified Lender Loss Payee (hereinafter referred to as Lender)
         as its Interest may appear, and to each specified Mortgagee as its interest may appear.

    2.   The interest of the Lender or Mortgagee (as the case may be) In property Insured under this Policy will nol
         be invalidated by:

         a.   Any act or neglect of the debtor, mortgagor, or owner (as the case may be) of the property.

         b.   Foreclosure, notice of sale, or similar proceedings with respect to the property, but only to the extent of
              a deficiency as provided by state law.

         c.   Change in the title or ownership ofthe property.

         d.   Change to a more hazardous occupancy.

         The Lender or Mortgagee will notify us of any known change in ownership, occupancy, or hazard and,
         within ten (10) days of our written request, may pay the Increased premium associated with such known
         change. If the Lender or Mortgagee fails to pay the increased premium, all coverage under this Policy will
         cease.

    3.   If this Policy Is cancelled at your request or by the request of your agent, the coverage for the Interest of
         the Lender or Mortgagee will terminate ten (10) days after we send to the Lender or Mortgagee written
         notice of cancellation, unless:

         a.   Sooner terminated by authorization, consent, approval, acceptance, or ratification of your action by the
              Lender or Mortgagee, or its agent.

         b.   This Policy is replaced by you, with a Policy providing coverage for the Interest of the Lender or
              Mortgagee, In which event coverage under this Policy with respect to such interest will terminate as of
              the effective date of the replacement Policy, notwithstanding any other provision of this Policy.



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   4.   We may cancel this Policy and/or the interest of the Lender or Mortgagee under this Policy, by giving the
        Lender or Mortgagee written notice thirty (30) days or the number of days specified in the CANCELLATION
        TIME SPECIFICATIONS, whichever is greater, prior to the effective dale of cancellation, if canceilalion is
        for any reason olher than non-payment If the debtor, mortgagor, or owner has failed to pay any premium
        due under this Policy, we may cancel this Policy for such non-payment, but will give the Lender or
        Mortgagee written notice ten (10) days prior to the effeclive date of cancellation. If the Lender or Mortgagee
        falls to pay the premium due by the specified cancellation date, all coverage under this Policy wll! cease.

   5.   If we pay the Lender or Mortgagee for any loss, and deny payment to the debtor, mortgagor or owner, we
        will, lo the extent ofthe payment made to the Lender or Mortgagee be subrogated to the rights ofthe Lender
        or Mortgagee under all securities held as collateral to the debt or mortgage. No subrogation will impair the
        right of the Lender or Mortgagee to sue or recover the full amount of its claim. At our option, we may pay
        to the Lender or Mortgagee the whole principal due on the debt or mortgage plus any accrued interest In
        this event, all rights and securities will be assigned and transferred from the Lender or Mortgagee to us,
        and the remaining debt or mortgage will be paid to us.

   6.   If you fail to render proof of loss, the Lender or Mortgagee, upon notice of your failure to do so, will render
        proof of loss within sixty (60) days of notice and will be subject to the provisions of this Policy relating to
        APPRAISAL, COMPANY OPTION, and SUIT AGAINST THE COMPANY.

   7.   In the event of a claim, upon request by us, the Lender or Mortgagee will cooperate in any claim
        Investigation.

   8.   In no event will the amount payable to a Lender or Mortgagee exceed the amount which would otherwise
        have been payable to you.

G. UBERALIZATION

   If during the period that insurance is in force under this Policy, any filed rules or regulations affecting the same
   are revised by statute in any Slate or jurisdiction within the United States of America so as to broaden the
   insurance without addilionai premium charge, such extended or broadened insurance will Inure to your benefit
   within such jurisdiction, effective the date of the change specified In such statute.

H. NO REDUCTION BY LOSS

   Except for those coverages written with an annual aggregate LIMIT OF LIABILITY, we cover a covered loss
   without reducing any other applicable LIMIT OF LIABILITY. The reinstatement of any exhausted annual
   aggregate is nol permitted unless authorized by us In writing.

I. NONRENEWAL

   1.   If we decide not to renew this Policy, we will mail or deliver a written notice of nonrenewal lo you at least
        sixty (60) days before the expiraiion date of this Policy. Notice will be sent to your lasl mailing address
        known to us. We will state the reason for nonrenewal.

   2.   Proof of mailing will be sufficient evidence of notice.

J. OTHER INSURANCE

   1.   We will not be liable if, al the time of loss or damage, there is any olher insurance that would apply In the
        absence ofthis Policy; except that this Policy will apply only as excess or DIFFERENCE IN CONDITIONS
        / DIFFERENCE IN LIMITS and in no event as contributing insurance, and then only after all other insurance
        has been exhausted, notwithstanding paragraph 5. below.

   2.   We will nol be liable if, at the time of loss or damage, there Is any insurance with the National Flood
        Insurance Program (NFIP), except that this Policy shall apply only as excess and in no event as contributing
        insurance, and then only afler all NFIP insurance has been exhausted.



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    3.   We will not be liable if, at the time of loss or damage, there Is any Insurance for the construction of new
         buildings and additions under a specific policy for the construction of such new buildings and additions,
         except that this Policy shall apply only as excess and in no event as contributing insurance, and then only
         after all specific insurance has been exhausted.

    4.   We will not be liable If, at the time of loss or damage, there is any insurance for stock under a specific policy
         for such slock, except that this Policy shall apply only as excess and in no event as contributing Insurance,
         and then only after all specific insurance has been exhausted.

    5.   If this Policy Is deemed by law to contribute to a loss with other Insurance, we will pay only our proportionate
         share of the loss, up to the applicable LIMIT OF LIABILITY. Our share will be the proportion that the
         applicable UMIT OF LIABILITY of this Policy bears to the total applicable LIMITS OF LIABILITY available
         from all insurance.

    6.   You are permitted to have other insurance over any LIMITS OF LIABILITY specified in this Policy.

    7.   The existence of such Insurance will not reduce any LIMIT OF LIABILITY in this Policy.

    8.   To the extent this Policy replaces another Policy, coverage under this Policy shall not become effeclive until
         such other Policy has terminated.

    9.   You are permitted to have other insurance for all, orany part, of any deductible in this Policy. The existence
         of such other insurance will not prejudice recovery under this Policy. If the limits of liability of such other
         Insurance are greater than this Policy's applicable deductible, this Policy's insurance will apply only as
         excess and only after such other insurance has been exhausted.

K. PAIR, SET OR PARTS

    In the event of a covered loss to an article that is part of a pair or set, our payment for that loss will be:

    1.   The cost to repair or replace any part lo restore the pair or set to its value before the loss; or


    2.   The difference between the value of the pair or set before and after the loss.

    In no event will the loss of part of a pair or set be regarded as a total loss of the pair or set

L. POLICY MODIFICATION

    This Policy contains all ofthe agreements between you and us concerning this Insurance. You and we may
    request changes to this Policy. Only endorsements issued by us and made a part of this Policy can change
    this Policy.

    Notice to any agent or knowledge possessed by any agent or by any other person will not create a waiver or
    change any part of this Policy or prevent us from asserting any rights under the Policy.

M. TITLES

   The titles of the paragraphs of this Policy and of any endorsements altached to it are only for reference. They
   do nol affect the terms to which they relate.

N. TRANSFER OF RIGHTS AND DUTIES

     Your rights and duties under this Policy may not be Iransferred without us giving written consent.

O. VACANCY




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    1.   If any of your real property is vacant at the inception of Ihis Policy, or becomes vacant, and remains vacant
         for more than sixty (60) consecutive days, during the Policy period, you must:

         a.    Notify us In writing of the vacancy prior to loss or damage; and

         b.    Maintain in complete working order the protective safeguards present prior to the vacancy. Protective
               safeguards include:

               (1)   Automatic sprinkler systems;
               (2)   Fire alarm systems;
               (3)   Guard or watchman services;
               (4)   Burglary systems; and
               (5)   Monitoring systems.

    2.   If the above requirements are not met, then in addition to the otherterms, condilions. limitations and
         exclusions in this Policy, we will:
         a.    Not pay for any loss or damage caused by or resulting from any of the following;
               (1)   Breakage of building glass;
               (2)   Mold, mildew or fungus;
               (3)   Sprinkler leakage, uniess the system has been protected against freezing;
               (4)   Theft or attempted theft;
               (5)   Vandalism;
               (6)   Malicious mischief; or
               (7)   Water damage.

         b.    Not pay under DEMOLITION AND INCREASED COST OF CONSTRUCTION;

         c.    Value the loss or damage for the vacant real property (including any loss or damage to personal
               property) at the time of loss at the lesser of:
               (1) The actual cash value;
               (2) The actual cost to repair; or
               (3) The selling price, less all saved expenses, if it was being offered or listed for sale at the time of
                   loss.

    3.   Real property is considered vacant when it does not contain sufficient property and personnel to conduct
         your customary business operations.


    4.   Real property is not considered vacant during ils ongoing construction or renovation.



P. VALUATION

    1.   Adjustment of the physical loss or damage amount under this Policy will be computed as of the date of loss
         or damage at the place of the loss or damage. Unless stated otherwise in a PROPERTY DAMAGE
         COVERAGE AND LIMITATION, adjustment of physical loss or damage to covered property will be subject
         to the following:

         a.    On stock in process, the value of raw materials and labor expended plus the proper proportion of
               overhead charges.

         b.    On finished goods manufaclured by you, the regular cash selling price, less all discounts and charges
               to which the finished goods would have been subject had no physical loss or damage happened.

         0.    On raw materials, supplies or merchandise nol manufactured by you:


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             (1) If repaired or replaced, your aclual expenditure in repairing or replacing the damaged or destroyed
                 property; or

             (2) If not repaired or replaced, the actual cash value.

        d.   On exposed films, records, manuscripts and drawings that are nol valuable papers and records, the
             value blank plus the cost of copying Informaiion from back-up or from originals of a previous generation.
             These costs will not Include research, engineering or any costs of restoring or recreating lost
             informaiion.

        e.   On property that Is:

             (1) Damaged by fire lhat directly results from terrorism or nuclear reaction; and

             (2) Is located In a jurisdiction that has a statute that expressly prohibits the exclusion of fire losses
                 resulting from terrorism or nuclear reaction,

             the actual cash value of the fire damage. Any remaining fire damage not attributable to terrorism or
             nuclear reaction shall be adjusted according lo the terms and conditions of the Valuation clause(s) in
             this section ofthe Policy.

        f.   On computer equipment of others which you are required to insure for direct physical loss or damage
             while being Installed, maintained or repaired, the cosl to replace with new If so specified in the contract
             between you and your customer.

        g.   On Dala, Programs and Software, the actual cost incurred to repair, replace or restore data, programs
             or sofiware including the costs to recreate and research.

        h.   On Fine Arts, the loss amount will nol exceed the lesser of the following:

             (1) The cost to repairer restore such property to the physical condition lhal existed on the date of
                 loss;

             (2) The cost to replace; or

             (3) The stated value on file with us.

        i.   On all other property, the lesser ofthe following:

             (1) The cost lo repair.

             (2) The cost to rebuild or replace on the same site with new materials of like size, kind and quality.

             (3) The cosl in rebuilding, repairing or replacing on the same or another site, bul not to exceed the size
                 and operating capacity that existed on the date of loss.

             (4) The selling price of real property or machinery and equipment, other than stock, offered for sale
                 on the date of loss.

             (5) The cost to replace unrepairable electrical or mechanical equipment, including computer
                 equipment, with equipment that Is the most functionally equivalent to that damaged or destroyed,
                 even if such equipment has technological advantages and/or represents an improvement In
                 function and/or forms part of a program of system enhancement

             (6) The increased cost of demolition, if any, directly resulting from insured loss, if such property is
                 scheduled for demolition.




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             (7) The unamortized value of improvements and betterments, if such property is nol repaired or
                 replaced at your expense.

             (8) The actual cash value If such property is:

                 (a) Useless to you; or
                 (b) Not repaired, replaced or rebuilt on the same or another site within two (2) years from the dale
                     of loss, unless such time is extended by us.

    2.   You may elect not lo repair or replace the covered property lost, damaged or destroyed. Loss settlement
         may be elected on the lesser of repair or replacement cost basis If the proceeds of such loss settlement
         are expended on other capital expenditures related to your operations within two (2) years from the date
         of loss. As a condition of collecting underthis provision, such expenditure must be unplanned as ofthe date
         of loss and be made at a covered location under this Policy. This provision does not extend to
         DEMOLITION AND INCREASED COST OF CONSTRUCTION or to property scheduled for demolilion at
         the time of loss.

    3.   We will nol pay more than your financial interest In the covered property.




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                                  SECTION VI - LOSS CONDITIONS

A. ABANDONMENT OF PROPERTY

    You may not abandon property to us.

B. APPRAISAL

    1.   If you and we fail to agree on the amount of a loss, either party may demand that the disputed amount be
         submitted for appraisal. A demand for appraisal will be made in writing within sixty (60) days after our
         receipt of proof of loss. Each party will then choose a competent and disinterested appraiser. Each party
         will notify the other of the identity of its appraiser within thirty (30) days of the writlen demand for appraisal.

    2.   The two (2) appraisers will choose a competent and disinterested umpire. If the appraisers are unable to
         agree on an umpire within fifteen (15) days, you or we may petition a judge of a court of record in the state
         where the covered loss occurred, to select an umpire.

    3.   The appraisers will then determine the amount of the loss or damage. If the appraisers submit a written
         report of an agreement to you and us, the amount Ihey agree on will be the amounl of our payment for the
         loss or damage. If the appraisers fail to agree within a reasonable time, Ihey will submit their differences to
         the umpire. Written agreement signed by any two (2) of these three (3) will determine the amount of loss or
         damage.

    4.   Each appraiser will be paid by the party that selects him or her. Other expenses of lhe appraisal and
         compensalion of the umpire will be paid equally by you and us.

C. COLLECTION FROM OTHERS

    We will reduce any payment to you for a covered loss to the extent you have collected for that loss from
    others.

D. COMPANY OPTION

    1.   In the event of covered loss, we may, at our option, either:

         a.   Pay the value of covered property lost, damaged or destroyed as set forth In VALUATION above;

         b.   Pay the cost of repairing or replacing the covered property lost, damaged or destroyed;

         c.   Take all or any pari of the covered property at any agreed valuation; or

         d.   Repair, rebuild or replace the covered property with other property of like kind and quality.

    2.   We will give notice of our intentions within thirty (30) days after receiving the sworn statement of loss
         or as required by law.

E. DUTIES AFTER A LOSS

    In case of loss you will:

    1.   Give us immediate written notice of the loss;

    2.   Give notice of such loss to the proper authorities If the loss may be due to a violation of the law;

    3.   As soon as possible, give us a description of the property involved and how, when and where the loss
         happened;
   4.    Take all reasonable steps to protect the covered property from further damage;


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    5.   Promptly separate the damaged property from the undamaged property, and keep It in the best possible
         order for examination;

    6.   Furnish a complete inventory of the losl, damaged and destroyed property, showing In detail the quantity,
         and amount of loss claimed under the valuation provision of the Policy;

    7.   Keep an accurate record of all repair costs;

    8.   Keep all bills, receipts and related documents that establish the amount of loss;

    9.   As often as may reasonably be required;

         a.    Permit us to inspect the damaged property and take samples for inspection, testing and analysis.

         b.    Produce for inspeclion and copying, all of your books of account, business records, bills and Invoices.

         c.    Permit us to question, under oath, you and any of your agents, employees, or representatives Involved
               In the purchase of this Insurance or the preparation of your claim, including any public adjusters and
               any of their agents, employees or representatives, and verify your answers with a signed
               acknowledgment.

    10. Submil to us, wilhin ninety (90) days from the date of loss, unless we extend the time In writing, a signed,
        sworn Proof of Loss that states to the best of your knowledge and belief

         The time and cause of the loss;

         a.    Your interest and the interest of all others in the property Involved;

         b.    Any other policies of Insurance that may provide coverage for the loss;

         c.    Any changes In title or occupancy ofthe property during the Policy period; and

         d.    The amount of your claimed loss.

         You shall also submit wilh the Proof of Loss:

               (1) A complete Inventory ofthe losl, damaged and destroyed property, showing In detail lhe quantity,
                   and amount of loss claimed as specified In the valuation provision of the Policy;

               (2) An accurate record(s) of all repair costs and all bills, receipts and related documents that establish
                   the amount of the loss;

               (3) Specifications for any damaged building; and

               (4) Detailed estimates and invoices for the repair of any damage.

    11. Cooperate with us in the investigation and adjustment of the loss.

F. LOSS ADJUSTMENT / PAYABLE

    Loss will be adjusted with the First Named Insured. We may. at our option, adjust the loss to property of others
    directly with the owner of the property. Such loss will be payable to the First Named Insured or as may be
    directed by the First Named Insured.




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    Additional insured Interests will also be included in loss payment as their Interests may appear when named as
    additional named Insured, lender, mortgagee and/or loss payee either on a Certificate of Insurance or other
    evidence of Insurance on file wilh us. When named on a Certificate of Insurance or other evidence of Insurance,
    such additional interests are automatically added to this Policy as their interests may appear as of the effective
    date shown on the Certificate of Insurance or other evidence of insurance. The Certificate of Insurance or other
    evidence of Insurance will not amend, extend or alter the terms, conditions, provisions and limits of this Policy.


G. PAYMENT OF LOSS

    We will pay the insured loss wilhin thirty (30) days after we receive and accept the signed, sworn Proof of Loss,
    if:

    1.   You have complied with all the terms ofthis Policy;

    2.   We have reached agreement with you on the amount of the loss, or

    3.   Within thirty (30) days of when an appraisal award is made as provided for in LOSS CONDITIONS B.
         APPRAISAL.

H. SUBROGATION

    1.   If we make payment for a loss, you will assign to us all your rights of recovery against any party for that
         loss. We will not acquire any rights of recovery you have waived prior to the loss. You agree to cooperate
         and nol to waive, prejudice, settle or compromise any claim against any party after the loss.

    2.   You will be paid any recovery. In the proportion that your deduclible and any provable uninsured loss bears
         to the total loss less your proportion of fees and expenses.

I. SUIT AGAINST THE COMPANY

    No suit or other legal proceeding shall be brought againsi us unless there has been full compliance with all the
    Policy terms and conditions. Any suit against us must be brought within two (2) years next after the inception
    of the loss.




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                                      SECTION VII - DEFINITIONS

1.   Actual cash value: The amounl it would cost lo repair or replace covered property, on the date of loss, with
     material of like kind and quality, with proper deduction for physical depreciation and obsolescence, but in no
     event more than the fair market value.

2.   Annual aggregate: The maximum amount of loss or damage payable in any one (1) Policy year regardless of
     the number of occurrences within the same Policy year.

3.   Contaminant: Any foreign substance. Impurity, pollutant, hazardous material, poison, toxin, pathogen or
     pathogenic organism, bacteria, virus, disease causing or illness causing agent, fungus, mold or mildew.

4.   Contamination: Any condition of property that results from a contaminant

5.   Covered loss: A loss to covered property caused by direct physical loss or damage insured by this Policy.

6.   Covered property; Property insured by this Policy.

7.   Electronic Data: Information (including computer programs) stored as or on, created or used on, or transmitted
     to or from computer software, including systems and applications software, drives, electronic data processing
     equipment or any storage medium.

8.   Electronic data processing equipment: Any computer, computer system or component, hardware, network,
     microprocessor, microchip, integrated circuit or similar devices or components In computer or non-computer
     equipment, operating systems, data, programs or other software stored on electronic, electro-mechanical,
     electro-magnetic data processing or production equipment, whether your property or not.

9.   Fine Arts: Property of rarity, historical value, antiquity or artistic merit. Including paintings; etchings; pictures
     (Including their negatives); tapestries; statuary; marbles; bronzes; antique jewelry; antique furniture; antique
     silver; rare books; porcelains; rare or art glassware; art glass windows; valuable rugs; bric-a-brac and porcelains

10. Land improvements: Landscape gardening, car parks, parking lots, pavement, roadways, sidewalks,
    walkways, railways or transformer enclosures; but does not include fill beneath such property, Including
    buildings, structures or additions.

11. Location(s):

     a.   As specified in Appendix A - Schedule of Covered Location(s);

     b.   Listed on a SCHEDULE on file with us; or

     c.   If not so specified in Appendix A - Schedule of Covered Location(s) or listed on a SCHEDULE on file with
          us, a building, yard, dock, wharf, pier or bulkhead (or any group of the foregoing) bounded on all sides by
          public streets, clear land space or open waterways, each nol less than fifty (50) feet wide. Any bridge or
          tunnel crossing such street, space or waterway will render such separation inoperative for the purpose of
          this definition.

12. Miscellaneous Unnamed Location: A location owned, leased or rented by you, bul not listed In a Schedule
    of locations on file with us or attached to this Policy.

     Miscellaneous Unnamed Location does not include:

     a.   Newly Acquired Locations; or

     b.   A location for which coverage is found elsewhere in this Policy including ERRORS AND OMISSIONS.

13. Occurrence: All loss or damage attributable directly or indirectly to one (1) cause or series of similar


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    causes. All such loss or damage will be added together and the total loss or damage will be treated
    as one (1) occurrence.

    Unless otherwise amended by an endorsement attached to this Policy:

    a.   All loss or damage resulting from a continuous FLOOD event, irrespective of the amount of time or area
         over which such loss or damage occurs, will be considered a single occurrence.

    b.   All loss or damage from EARTH MOVEMENT or NAMED STORM within the time specified in the
         O C C U R R E N C E TIME SPECIFICATIONS will be considered a single occurrence.

14. Ordinary payroll; Payroll expenses for all of your employees except officers, executives, department
    managers, employees under contract, and other Important professional employees. Payroll expenses include
    the payroll, employee benefits (if direclly related to payroll). FICA payments. Union dues and Workers'
    Compensation premiums you pay.

15. Personal Property; Your tangible things, other than real property owned by you and used in your
    business, including:

    a.   Furniture, fixtures, machinery, electronic data processing equipment and stock;

    b.   Materials, supplies, machinery, equipment and fixtures, including those thai are personal property of others,
         which are intended by you for use in construction of new additions and buildings at an existing covered
         location, that you begin to construct during the Policy period and intend to own or occupy once constructed,
         while located on the construction site awaiting use in construclion.

    c.   Property, other than real property, you lease for use in your business thai you have a responsibility to
         insure;

    d.   Your interest in improvements and betterments you have made In buildings you do not own;

    e.   Your valuable papers and records.


16. Real Property: Building(s) and any olher structure, including:

    a.   New buildings and additions under construction, in which you have an insurable interest;

    b.   Completed additions, extensions or permanent fixtures;

    c.   Machinery and equipment used to service the buildings;

    d.   Yard Fixtures.


17. Terrorism: Activities against persons, organizations or property of any nature:

    a.   That involve the following or preparation for the following;

         (1) Use or threat of force or violence; or

         (2) Commission or threat of a dangerous acl; or

         (3) Commission or threat of an acl that interferes with or disrupts an electronic, communication,
         information, or mechanical system; and

    b.   When one or both of the following applies:



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        (1) The effect is to intimidate or coerce a government or the civilian population or any segment thereof, or
            to disrupt any segment of the economy; or

        (2) It appears that the intent Is to intimidate or coerce a government, or to further political, ideological,
            religious, social or economic objectives or to express (or express opposition to) a philosophy or
            ideology.

18. Valuable papers and records: Written or printed documents or records Including books, maps, negatives,
    drawings, abstracts, deeds, mortgages and manuscripts.

19. We, us and our(s): The company Issuing this Policy, as shown on the Declarations.

20. You and your(s): The First Named Insured shown on the Declarations.




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                      APPENDIX A - SCHEDULE OF COVERED LOCATIONS

Per schedule on file with us




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                  APPENDIX B - NEW MADRID EARTH MOVEMENT ZONES


     STATE       ZONE                  COUNTIES / PARISHES / INDEPENDENT CITIES

 ARKANSAS         1     Clay. Craighead, Crittenden, Cross, Green, Independence, Jackson, Lawrence,
                        Lee, Mississippi, Monroe, Phillips, Poinsett, Randolph, St Francis, White,
                        Woodruff

 ARKANSAS         2     Arkansas, Fulton, Izard. Lonoke, Prairie. Sharp.

 ILLINOIS         1     Alexander. Franklin, Gallatin, Hamilton, Hardin, Jackson. Jefferson, Johnson,
                        Massac, Perry, Pope, Pulaski, Randolph, Saline, Union, Washington, Williamson

 ILUNOIS          2     Bond, Clay, Clinton, Crawford, Edwards, Effingham, Fayette, Jasper. Lawrence,
                        Madison, Marion, Monroe, Richland, Saint Clair, Wabash, Wayne, White

 INDIANA          2     Gibson, Knox, Pike, Posey, Spencer, Vanderburgh, Warrick

 KENTUCKY         1     Ballard, Calloway, Cariisle, Crittenden, Fulton. Graves, Hickman, Livingston,
                        Lyon, Marshall, McCracken,

 KENTUCKY         2     Caldwell, Christian, Daviess, Henderson, Hopkins, McLean, Muhlenberg. Todd,
                        Trigg, Union, Webster

 MISSISSIPPI      1     DeSoto, Marshall. Tate, Tunica

 MISSISSIPPI      2     Alcorn, Benton, Coahoma, Lafayette, Panola, Quitman, Tippah
 MISSOURI         1     Bollinger, Butler, Cape Girardeau. Carter, Dunklin, Madison, Mississippi. New
                        Madrid, Pemlscott, Perry, Ripley, Scott, Stoddard, Wayne

 MISSOURI         2     Independent Cityof St. Louis, Iron, Jefferson. Oregon, Reynolds, Shannon, St.
                        Francois, St. Louis. Ste. Genevieve, Washington

 TENNESSEE        1     Benton, Carroll, Chester, Crockett, Dyer, Fayette, Gibson, Hardeman, Haywood,
                        Henderson, Henry, Lake, Lauderdale, Madison, Obion, Shelby, Tipton. Weakley

 TENNESSEE        2     Decatur. Hardin, Houston, Humphreys, McNairy. Montgomery, Perry, Stewart,




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                 APPENDIX C - PACIFIC NORTHWEST EARTH MOVEMENTZONE

   REGION / STATE                                 COUNTIES / COORDINATES

 CANADA: BRITISH South of 50*^ N latitude and west of 120=* W longitude
 COLUMBIA and
 VANCOUVER
 ISLAND
 OREGON              Benton, Clackamas, Clatsop, Columbia. Coos. Curry, Douglas, Hood River, Jackson,
                     Josephine, Klamath, Lane, Lincoln, Linn, Marion, Multnomah, Polk, Tillamook,
                     Washinglon, Yamhill

 WASHINGTON          Chelan, Clallam, Clark, Cowlitz, Grays Harbor, Island. Jefferson, King, Kllsap, Kittitas,
                     Lewis, Mason, Pacific, Pierce, San Juan, Skagit, Skamania. Snohomish, Thurston,
                     Wahkiakum, Whatcom




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   APPENDIX D - NAMED STORMT\ERS FOR USA INCLUDING ITS COMMONWEALTHS
                            AND TERRITORIES

 SOUTHERN TIER ONE: NORTH CAROUNA TO TEXAS

           STATE                      COUNTIES / PARISHES / INDEPENDENT CITIES

 Alabama            Baldwin, Mobile
 Florida            Entire State

 Georgia            Brantly, Bryan, Camden, Chatham, Charlton, Effingham, Glynn, Liberty, Long,
                    Mcintosh. Pierce, Wayne

 Louisiana          Acadia, Ascension, Assumption, Calcasieu, Cameron, East Baton Rouge, East
                    Feliciana, Iberia, Iberville, Jefferson, Jefferson Davis, Lafayette, Lafourche,
                    Livingston, Orleans, Plaquemines, Poinle Coupee, S t Bernard, St. Charies, St.
                    James, St. John the Baptist, St. Martin, St. Mary, St. Tammany, Tangipahoa,
                    Terrebonne, Vermilion, Washington, West Baton Rouge

 Mississippi        George, Hancock, Harrison, Jackson, Pearl River, Stone
 North Carolina     Beaufort, Bertie, Bladen, Brunswick, Camden, Carteret, Chowan, Columbus,
                    Craven, Currituck, Dare, Duplin, Gates, Hertford, Hyde, Jones, Lenoir, Martin, New
                    Hanover, Onslow, Pamlico, Pasquotank. Pender, Perquimans, Pitt. Tyrrell,
                    Washington, Wayne
 South Carolina     Beaufort, Berkeley. Charieston, Colleton, Dorchester, Georgetown. Horry, Jasper,
                    Williamsburg
 Texas              Aransas, Bee, Brazoria, Brooks, Calhoun, Cameron, Chambers, Fort Bend.
                    Galveston, Goliad, Hardin, Harris, Hidalgo, Jackson, Jasper, Jefferson, Jim Wells,
                    Kenedy, Kleberg, Liberty, Matagorda, Nueces. Orange, Refugio, San Patricio,
                    Victoria, Wharton, Willacy




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                                     APPENDIX D (continued)

                        NAMED STORM J \ E R S FOR USA INCLUDING
                        ITS COMMONWEALTHS AND TERRITORIES

 NORTHERN TIER ONE: VIRGINIA TO MAINE

            STATE                  COUNTIES / PARISHES / INDEPENDENT CITIES

 Connecticut        Fairfield, Middlesex, New Haven, New London

 Delaware           Sussex

 Maine              Cumberland, Hancock, Knox. Lincoln, Penobscot, Sagadahoc, Waldo,
                    Washington, York
 Maryland           Calvert, Charles, Dorchester, St. Mary's, Somerset, Wicomico, Worcester
 Massachusetts      Barnstable, Bristol, Dukes, Essex, Middlesex, Nantucket, Norfolk, Plymouth.
                    Suffolk
 New Hampshire      Rockingham
 New Jersey         Allantic. Bergen, Cape May. Cumberland. Essex, Hudson, Middlesex, Monmouth.
                    Ocean, Union

 New York           Bronx, Kings. Nassau, New York, Queens. Richmond, Suffolk
 Rhode Island       Bristol, Newport. Washington


 Virginia           Accomack, Gloucester, Isle of Wight, James City, Lancaster, Mathews, Middlesex,
                    Northampton, Northumberland, Surry, York
                    Independent Cities; Chesapeake, Hampton, Newport News, Norfolk, Poquoson,
                    Portsmouth, Suffolk, Virginia Beach. Williamsburg

SOUTHERN TIER TWO: NORTH CAROUNA TO TEXAS

            STATE                  COUNTIES / PARISHES / INDEPENDENT CITIES

 Alabama            Clarke, Coffee. Conecuh, Covington, Dale, Escambia, Geneva, Houston, Monroe.
                    Washington
 Louisiana          Allen, Avoyelles, Beauregard, Evangeline, St Helena, St. Landry, West Feliciana

 Mississippi        Forrest, Greene, Jones, Lamar, Marion, Perry, Pike, Walthall, Wayne

 North Carolina     Cumberland, Edgecombe, Greene, Johnston, Robeson, Sampson, Wilson
 South Carolina     Bamberg, Calhoun, Clarendon, Dillon, Florence, Hampton, Marion, Orangeburg

 Texas              Austin, Brazos, Colorado, De Witt. Duval. Fayette, Gonzales, Grimes, Jim Hogg,
                    Karnes, Lavaca, Live Oak, McMullen. Montgomery, Newton, Polk, San Jacinto,
                    Starr, Tyler, Walker, Waller, Washington




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                                        APPENDIX D (continued)

                           NAMED STORM TIERS FOR USA INCLUDING
                           ITS COMMONWEALTHS AND TERRITORIES

               Other States, Commonwealths and Territories of The United States of America
                                            TIER
 AMERICAN SAMOA                               2    Entire Territory
 GUAM                                         1    Entire Territory
 HAWAII                                       1    Entire Stale
 NORTHERN MARIANA ISLANDS                     1    Entire Commonwealth
 PUERTO RICO                                  1    Entire Commonwealth
 U.S. VIRGIN ISLANDS                          1    Entire Territory
 All other US Territories and Possessions     1    Entire Territory




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                          APPENDIX E - FLOOD HAZARD LOCATIONS



High Hazard Location{sl
2.1 Parking Garage Seattle, Washington 98104
2.2 Parking Garage Seattle, Washinglon 98104


Moderate Hazard Location(s)
NOP




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                                   FORMS AND ENDORSEMENTS


                     Form(s) and Endorsement(s) made a part of this Policy at time of issue:

            Form or Endorsement Number                              Fonn or Endorsement Name

                 CNP 90 06 01 17                        Disclosure Pursuant to Terrorism Risk Insurance Act

                  PY 04 04 01 17                               Exclusion of Certified Acts of Terrorism

                  PY03 24 04 17                                   Emergency Evacuation Expense
                  PZ00 01 08 16                           Communicable Disease Decontamination Cost
                                                                        Endorsemenl
                  PY04 10 01 17                                    Removal of Vacancy Condition

                  PY03 11 01 17                                   Research Animals Endorsement

                  PY04 07 01 17                                 Schedule of Lenders or Mortgagees




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                          STATE AMENDATORY ENDORSEMENTS


               Endorsement Number                                     Endorsement Name

                 PY 01 37 01 17                                       Washington Changes

                 PY 02 49 01 17                     Washington Changes - Cancellation and Nonrenewal




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Policy Number YAC-L9L-469720-049

Issued by         Employers Insurance Company of Wausau

                 THIS ENDORSEMENT CHANGES THE POLICY. P L E A S E READ IT C A R E F U L L Y .

                                 EXCLUSION OF CERTIFIED ACTS OF TERRORISM

This endorsement modifies Insurance provided under the following:

    PREMIER PROPERTY PROTECTOR™


A. The following definition is added with respect to the provisions ofthis endorsement:

    "Certified act of terrorism" means an acl lhal is certified by the Secretary of the Treasury, in accordance with
    the provisions of the federal Terrorism Risk Insurance Act lo be an acl of terrorism pursuant to such Act. The
    criteria contained In the Terrorism Risk Insurance Act for a "certified act of terrorism" include the following:

    1.   The act resulted in insured losses in excess of $5 million In the aggregate, attributable to all types of
         Insurance subject to the Terrorism Risk Insurance Act; and

    2.   The act Is a violent act or an act that Is dangerous to human life, property or Infrastructure and is
         committed by an individual or individuals as part of an effort to coerce the civilian population of the United
         States or to influence the policy or affect the conduct of the United Stales Government by coercion.

B. The following exclusion Is added:

    CERTIFIED ACT OF TERRORISM EXCLUSION

    We will not pay for loss or damage directly or indirectly caused by or resulting from a "certified acl of
    terrorism". Such loss or damage is excluded regardless of any other cause or event, whether or not insured
    under this Policy, contributing concurrently or In any other sequence.

C. Exception Covering Certain Fire Losses

    The following exception to the exclusion in Paragraph B. applies only in the following slates: California,
    Georgia, Hawaii, Illinois, Iowa, Maine, Missouri, New Jersey, New York, North Carolina, Oregon, Rhode
    Island, U.S. Virgin Islands, Washington, West Virginia, and Wisconsin.

    If a "certified act of terrorism" results In fire, we will pay for the loss or damage caused by that fire. Such
    coverage for fire applies only to direct loss or damage by fire to covered property. Therefore, for example,
    the coverage does not apply to insurance provided under TIME ELEMENT.

    If aggregate Insured losses attributable to terrorist acts certified under the Terrorism Risk Insurance Act
    exceed $100 billion in a calendar year and we have met our Insurer deduclible under the Terrorism Risk
    Insurance Act, we shall not be liable for the paymeni of any portion of the amount of such losses that exceeds
    $100 billion, and in such case insured losses up to that amounl are subjecl to pro rata allocation in
    accordance with procedures established by the Secretary of the Treasury.

D. Application Of Exclusions

   The terms and limitations of SECTION II.C. EXCLUSIONS, 2.a. do not serve to create coverage for any loss
   which would otherwise be excluded under this endorsement or the Policy, such as losses excluded under
   SECTION ILC. EXCLUSIONS. 2. b., c . d.. or e.




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Policy Number YAC-L9L-469720-049

Issued by         Employers Insurance Company of Wausau

                 THIS ENDORSEMENT CHANGES THE POLICY. P L E A S E READ IT C A R E F U L L Y .

                                    EMERGENCY EVACUATION E X P E N S E

This endorsement modifies insurance provided under the following:

    PREMIER PROPERTY PROTECTOR™


The following is added to SECTION III - T I M E ELEMENT. E. TIME ELEMENT COVERAGES AND UMITATIONS:

    EMERGENCY EVACUATION EXPENSE

We cover the reasonable and necessary costs you incur for the emergency evacuation of patients, tenants or lawful
occupants from, and subsequent return lo a covered location, when a civil authority orders the emergency
evacuation as a direct result of immediately impending physical loss or damage of the type insured by this Policy.

This coverage is subject to the deductible provisions that would have applied had the physical loss or damage
occurred.




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Policy Number YAC-L9L-469720-049

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                 THIS ENDORSEMENT CHANGES THE POLICY. P L E A S E READ IT C A R E F U L L Y .

                    COMMUNICABLE DISEASE DECONTAMINATION COST ENDORSEMENT

The following PROPERTY DAMAGE COVERAGE AND LIMITATION is added to SECTION II. D. ofthis Policy:

COMMUNICABLE D/SEASE DECONTAMINATION COSTS


a.   If your covered property at a covered location shown on the Schedule of this endorsement is
     contaminated by a communicable disease as the direct result of a covered loss, and there is In force
     at the time of that covered loss a law or ordinance that requires you to decontaminate that covered
     property as a result of this contamination by a communicable disease, we will pay up to the limil as
     specified in the LIMITS OF LIABILITY Table in the Declarations in any one (1) occurrence for those
     decontamination costs Incurred by you, bul only to satisfy the minimum requirements of that applicable
     law or ordinance.

b. We will not pay under this endorsement, however, for:

     (1) Any cost of removing contaminated properly, or the cost to clean up the contamination for property not
         owned by you whether or not the contamination results from a covered loss; or

     (2) Any costs associated with any other contamination loss.

c.   For purposes of this extension the Italicized term communicable disease means a viral or bacterial
     organism that Is capable of inducing disease, Illness, physical distress or death.


                                                     Schedule

Covered Location

Per Schedule on File




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Policy Number     YAC-L9L-469720-049

Issued by         Employers Insurance Company of Wausau

                 THIS ENDORSEMENT CHANGES THE POLICY. P L E A S E READ IT CAREFULLY.

                                    REMOVAL OF VACANCY CONDITION

This endorsement modifies insurance provided under the following:

    PREMIER PROPERTY PROTECTOR™


The VACANCY condition of SECTION V - GENERAL POLICY CONDITIONS does not apply to the location(s)
shown in the Schedule of this endorsement.

                                                   Schedule

                                                   Location(s)
 Per Schedule on File

All other terms and conditions remain unchanged.




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Policy Number      YAC-L9L-469720-049

Issued by          Employers Insurance Company of Wausau

                 THIS ENDORSEMENT CHANGES THE POLICY. P L E A S E READ IT CAREFULLY.

                                         R E S E A R C H ANIMALS ENDORSEMENT

This endorsement modifies Insurance provided under the following:

    PREMIER PROPERTY PROTECTOR™


A. We provide the following PROPERTY DAMAGE COVERAGE AND LIMITATION for a covered loss as
   specified in the LIMIT OF LIABILITY and DEDUCTIBLE Table in lhe Scheduie of this endorsement, subject to
   the terms, conditions and exclusions ofthis Policy:

    RESEARCH ANIMALS

    1.   We cover the cost to replace your laboratory animals used in medical research either destroyed or
         deemed unsuitable for use while at a covered location from a covered loss.

    2.   We do not cover loss to laboratory animals resulting from the following unless directly resulting from direct
         physical loss or damage:

         a.    Death or destruction from natural causes, unknown causes, medical procedures including surgery,
               inoculation, parturition or abortion.

         b.    Errors or omission In processing and/or failure on your part to provide nourishment, medicine or
               sanitary conditions.

         c.    Contamination of animals, food or medicine.

         d.    The Inlenllonal destruction of animals.

         e.    Escape.

         f.    Sickness, disease, infection, infestation or illness.

    3. We do not cover the cost to restore the research project to its condition prior to the loss.

All other terms and condilions remain unchanged.

                                                          Schedule

                          COVERAGE                                       UMIT OF LIABILITY        DEDUCTIBLE AMOUNT

                     RESEARCH ANIMALS                                  $5,000,000, no more than         $500,000
                                                                           $5,000 per animal




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Policy Number     YAC-L9L-469720-049

Issued by         Employers Insurance Company of Wausau

                 THIS ENDORSEMENT CHANGES THE POLICY. P L E A S E READ IT CAREFULLY.

                                   SCHEDULE OF LENDERS OR MORTGAGEES

                                                                                                       Interests
                                                                                                        ("L" for
                                                    Description of    Name and Address of Lender
                   Location                                                                             Lender)
                                                      Property              or Mortgagee
                                                                                                        ("M" for
                                                                                                      Mortgagee)
Per schedule or certificates of insurance on file      RP, PP          Per schedule on file with us      L/M
with us




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Policy Number YAC-L9L-469720-049

Issued by         Employers Insurance Company of Wausau

                 THIS ENDORSEMENT CHANGES THE POLICY. P L E A S E READ IT C A R E F U L L Y .

                                                WASHINGTON CHANGES

This endorsement applies only lo covered property located in Washington and modifies insurance provided
under the following:

    PREMIER PROPERTY PROTECTOR™
    EXCLUSION OF CERTIFIED ACTS OF TERRORISM


A. Paragraph H. JURISDICTION of SECTION 1 - DECLARATIONS is replaced by the following:

    H. JURISDICTION

         Any disputes arising hereunder will be exclusively subject to a State or Federal jurisdiction within the United
         States of America.

B. The first paragraph of item 2. of SECTION II - PROPERTY DAMAGE, C. EXCLUSIONS is replaced with the
   following:

    We do not cover any of the excluded events listed below. Loss or damage will be considered to have been
    caused by an excluded event If the occurrence of that event direclly and solely results In physical loss or
    damage, or initiates a sequence of events which results in physical loss or damage, regardless ofthe nature of
    any intermediate or final event in that sequence.

C. Paragraph i. of SECTION II - PROPERTY DAMAGE, C.2. EXCLUSIONS Is replaced by the following:

    i.   Any criminal, fraudulent or dishonest act, including theft, committed alone or in collusion with others:

         (1) By you or any proprietor, partner, director, trustee, officer or employee of an Insured; or

         (2) By any proprietor, partner, director, trustee, or officer of any business or entity (other than a common
             carrier) engaged by you to do anything in connection wilh property insured under this Policy.

         However, we do cover direct physical loss or damage intentionally caused by your employee or any
         Individual specified in (2) above provided lhat said Individuals acted without your knowledge.

         This exclusion will not apply to deny an Insured's otherwise covered property loss if the property loss Is
         caused by an act of domestic abuse by another insured under this Policy, the insured claiming property
         loss files a police report and cooperates with any law enforcement Investigation relating to the act of
         domestic abuse, and the insured claiming property loss did not cooperate in or contribute to the creation of
         the property loss. Payment by the insurer to an Insured may be limited lo the person's insurable interest in
         the property less payments made to a mortgagee or other party with a legal secured inleresl in the property.
         An insurer making payment to an Insured under RCW 48.18.120 (1) has all rights of subrogation to recover
         against the perpetrator of the act that caused the loss.




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D. Paragraph 3. of SECTION IV - DESCRIBED LOSSES, A. EARTH MOVEMENT Is replaced by the following:

     3.   EARTH MOVEMENT is:

          Earthquake, landslide, subsidence or sinking, rising or shifting of the earth, avalanche, whether nalural or
          man-made, or volcanic eruption that directly and solely results in physical loss or damage, or initiates a
          sequence of events which results in physical loss or damage, regardless of the nature of any intermediate
          or final event in that sequence.

          However, physical loss or damage from fire, explosion, sprinkler leakage or FLOOD caused by EARTH
          MOVEMENT        not be considered to be loss by EARTH MOVEMENTvi\th\r\ the terms and conditions of
          this Policy.

E. Paragraph 2. of SECTION IV - DESCRIBED LOSSES, D. FLOOD is replaced by the following;

     2.   FLOOD is;

          a.   Surface waters; rising waters; storm surge, wave wash; waves; tsunami; tide or tidal water; the release
               of water, the rising, overflowing or breaking of boundaries of natural or man-made bodies of waler; or
               the spray therefrom; all whether driven by wind or not;

          b.   Sewer back-up resulting from any of the foregoing; or

          c.   Mudslide or mudflow caused by or resulting from surface water, runoff or accumulation of water on or
               under the ground;
               that directly and solely results in physical loss or damage, or Initiates a sequence of evenls which
               results in physical loss or damage, regardless of the nalure of any Intermediate or final event in that
               sequence.

          Covered loss from FLOOD associated wilh a storm or weather disturbance whether or not Identified by
          name by any meteorological authority is considered to be FLOOD within the lerms ofthis Policy. However,
          physical loss or damage from fire, explosion or sprinkler leakage caused by FLOOD will not be considered
          to be loss by FLOOD wilhin the terms and condilions of this Policy.

F.   Paragraph C. CONCEALMENT, MISREPRESENTATION OR FRAUD of SECTION V - GENERAL POLICY
     CONDITIONS is replaced by the following:

     C. CONCEALMENT, MISREPRESENTATION OR FRAUD

          This entire Policy is void If you Intentionally conceal or misrepresent any material fact or circumstance
          relating to it

          However, this will not apply to deny an Insured's otherwise covered property loss if the property loss is
          caused by an act of domestic abuse by another insured under this Policy, the insured claiming property
          loss files a police report and cooperates with any law enforcement investigation relating to lhe acl of
          domeslic abuse, and the Insured claiming property loss did not cooperate in or contribute to the creation of
          the property loss. Payment by the Insurer to an Insured may be limited to the person's Insurable interest in
          the property less payments made lo a mortgagee or other party with a legal secured interest in the property.
          An insurer making paymeni to an insured under RCW 48.18.120 (1) has all rights of subrogation to recover
          against the perpetrator of the act lhat caused the loss.




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G. Paragraph E. INSPECTION of SECTION V - GENERAL POUCY CONDITIONS is replaced by the following:

     E.   INSPECTION

          1.    During the period ofthis Policy, we will be permitted, but not obligated, to Inspect the covered property.
                Our right to inspect, the performance of or failure to inspect, and any report arising out of an inspection
                will not constitute an undertaking or imply that the property Is safe, healthful, or in compliance with laws,
                regulations, codes or standards. We will have no liability to you or others because of any Inspection
                or failure to Inspect, or on account of anyone's use or reliance upon any report or other Information
                generated during the course of, or as a result ofany inspection.

          2.    This condition does not apply to any inspections, surveys, reports or recommendations we may make
                relative to certification, under state or municipal statutes, ordinances or regulations, of boilers, pressure
                vessels or elevators.

H. Paragraph F. LENDERS LOSS PAYEE AND MORTGAGEE INTERESTS AND OBUGATIONS of SECTION V
   - GENERAL POLICY CONDITIONS is deleted and replaced by endorsement PY 03 21 Washington Lender's
   Loss Payable Endorsement as required by the Washington Insurance Commissioner.

I.   Paragraph 5. of SECTION V - GENERAL POLICY CONDITIONS, OTHER INSURANCE is replaced by the
     following:

     5.   You may have other insurance subject lo the same plan, terms, conditions and provisions as the Insurance
          under this Policy. If you do, we will pay our share of the covered loss or damage. Our share is the
          proportion that the applicable LIMIT OF LIABILITY under this Policy bears to the limits of liability of all
          insurance covering on the same basis.

J.   Paragraph 2. of SECTION V - GENERAL POLICY CONDITIONS, VALUATION is replaced by the following:

     2.   You may elect not to repair or replace the covered property lost, damaged or destroyed. Loss settlement
          may be elected on the lesser of repair or replacement cost basis if the proceeds of such loss settlement
          are expended on other capital expenditures related to your operations within two (2) years from the date
          of loss. As a condition of collecting underthis provision, such expenditure must be unplanned as ofthe date
          of loss and be made at a covered location under this Policy. This provision does not extend to
          DEMOLITION AND INCREASED COST OF CONSTRUCTION or to property scheduled for demolition at
          the time of loss.

          Replacement cost means the cost to replace covered property:
          a.    With new materials of like kind and quality and used for the same purpose; and

          b.    At the location where the loss happened.

          But replacement cost excludes any increased cost of repair or reconstruction by reason of any law or
          ordinance regulating construction, repair or use.

K.   Paragraph 2. of SECTION VI - LOSS CONDITIONS, H. SUBROGATION is replaced by the following:

     2.   We will be entilled to a recovery only afler you have been fully compensated for damages.

L.   Paragraph 1. of SECTION VII - DEFINITIONS Is replaced by the following:

     1.   Actual cash value: The amount It would cost to repair or replace covered property, on the dale of loss,
          with material of like kind and quality, but in no event more than the fair market value.




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M. Paragraph B. of endorsement PY 04 04 EXCLUSION OF CERTIFIED ACTS OF TERRORISM is replaced by
   the following:

    B. The following exclusion is added:

       CERTIFIED ACT OF TERRORISM EXCLUSION

       We will not pay for loss or damage caused by or resulting from a "certified act of terrorism". Loss or damage
       will be considered to have been caused by or resuiling from a "certified act of terrorism" If the occurrence
       of thai "certified act of terrorism" direclly and solely results In physical loss or damage, or Initiates a
       sequence of events which results in physical loss or damage, regardless ofthe nature of any Intermediate
       or final event in that sequence.


All other terms and conditions remain unchanged.




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Policy Number YAC-L9L-469720-049

Issued by            Employers insurance Company of Wausau

THIS ENDORSEMENT CHANGES THE POLICY. P L E A S E READ IT C A R E F U L L Y .

                          WASHINGTON CHANGES - CANCELLATION AND NONRENEWAL

This endorsement modifies insurance provided under the following;

     PREMIER PROPERTY PROTECTOR™

A.   Paragraph B. CANCELLATION of SECTION V - GENERAL POLICY CONDITIONS is replaced by the
     following:

     B.   CANCELLATION

          1.    You may cancel this Policy by notifying us or your insurance agent or broker in one of the following
                ways:

                a.   Written notice by mail, fax or e-mail;

                b.   Surrender of the Policy or binder; or

                c.   Verbal notice.

               Upon receipt of such notice, we will cancel this Policy or any binder issued as evidence of coverage,
               effective on the later of the following:

                a.   The date on which notice is received orthe Policy or binder is surrendered; or

                b.   The date of cancellation requested by you.

          2.    We may cancel this Policy by mailing or delivering to you and your insurance agent or broker wrillen
                notice of cancellation, Including the actual reason for the cancellation, to the last mailing address
                known to us, at least:

                a.   Ten (10) days before the effective date of cancellation if we cancel for nonpayment of premium;
                     or

                b.   Forty-five (45) days or the number of days specified In the CANCELLATION TIME
                     SPECIFICATIONS, whichever is greater, before the effective date of cancellation If we cancel for
                     any other reason;
                except as provided in Paragraph 3. below.

          3.    We may cancel the Policy, by mailing or delivering lo you and your insurance agenl or broker written
                notice of cancellation at least five (5) days before the effeclive date of cancellation for any real
                property where two or more of the following conditions exist

                a.   Without reasonable explanation, the real property is unoccupied for more than sixty (60)
                     consecutive days, or at least 65% of the rental units are unoccupied for more than one hundred
                     twenty (120) consecutive days, unless the real property is maintained for seasonal occupancy or
                     Is under construction or repair;

                b.   Without reasonable explanation, progress toward completion of permanent repairs to the real
                     property has not occurred within sixty (60) days after receipt of funds following satisfactory
                     adjustment or adjudication of loss resulting from a fire;



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              c.   Because of Its physical condition, the real property is in danger of collapse;

              d.   Because of Ils physical condilion, a vacation or demolition order has been issued for the real
                   property, or It has been declared unsafe in accordance with applicable law;

              e.   Fixed and salvageable Items have been removed from the real property, indicating an intent to
                   vacate the real property;

              f.   Without reasonable explanation, heat, water, sewer and electricity are not furnished for the real
                   property for sixty (60) consecutive days; or

              g.   The real property is not maintained in substantial compliance wilh fire, safety and building
                   codes.

         4.   We will also mail or deliver to any mortgagee, pledgee or other person shown in this Policy to have an
              interest in any loss which may be covered under this Policy, at their last mailing address known lo us,
              written notice of cancellation, prior to the effective date of cancellation. If cancellation is for reasons
              other than those contained in Paragraph A.3. above, this notice will be the same as that mailed or
              delivered to you. If cancellation is for a reason conlained In Paragraph A.3. above, we will mall or
              deliver this notice at least twenty (20) days prior to the effective date of cancellation.

         5.   Nolice of cancellation will state the effective date of cancellation. The Policy period will end on that
              date.

         6.   If this Policy is cancelled, we will send you any premium refund due. If we cancel, the refund will be
              pro rata. If you cancel, the refund will be at least 90% of the pro rata refund. The canceilalion will be
              effective even if we have not made or offered a refund.

         7.   If notice is mailed, proof of mailing will be sufficient proof of notice.

B. The NONRENEWAL provision of SECTION V - GENERAL POLICY CONDITIONS is replaced by the
   following:

    NONRENEWAL

    We may decide not to renew this Policy by mailing or delivering written notice of nonrenewal, stating the
    reasons for nonrenewal, lo you and your insurance agent or broker at their last mailing addresses known to
    us. If notice is mailed, proof of mailing will be sufficient evidence of nolice. We will also mall lo any
    mortgagee, pledgee or other person shown In this Policy to have an interest In any loss which may be
    covered under this Policy, al their last mailing address known to us, written nolice of nonrenewal. We will mail
    or deliver these notices at least sixty (60) days before the:

    1.   Expiration ofthe Policy; or
    2.   Anniversary date of this Policy if this Policy has been written for a term of more than one (1) year.

   If notice of nonrenewal Is not received by you as outlined above, you and your Insurance agent or broker will
   receive written notice of our Intent to renew this Policy. This notice will be sent at least twenty (20) days prior
   to the Policy expiraiion or anniversary date. Included in this notice will be changes, If any, in rates, terms, or
   conditions made to the expiring Policy. We will mail or deliver the notice to you and your Insurance agenl or
   broker, at their last mailing address known to us.

   This nolice will not be sent if we have received written notice, prior to lhe expiration date of this Policy, of
   your Intent to obtain replacement coverage elsewhere or lhal you have already done so.




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Endorsement number 1 for policy number YAC-L9L-469720-049

Named Insured Board of Regents of the University of Washington. Ilarborvievv Board ofTrustees, King
County and your affiliated or subsidiary entities owned, controlled or coming under your active management
and your interest in partnerships or joint ventures as now exist or may hereafter be constituted or acquired
during the policy term.

This endorsement is effective 07/01/2019 and will terminate with the policy. It is issued by the company designated
in the Declarations. All other provisions of the policy remain unchanged.

            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                             Change Endorsement

DESCRIPTION OF CHANGE                                                                                 PREMIUM


POLICY COVER PAGE, Form PY 00 00 01 17 is amended as follows:

The named insured on the Policy Cover Page is changed to: Board of Regents of the
University of Washington, Harborview Board ofTrustees, King County and your
affiliated or subsidiary entities owned, controlled or coming under your active
management and your interest in partnerships or joint ventures as now exist or may
hereafter be constituted or acquired during the policy term.

Formerly: Harborview Medical Center


SECTION I - DECLARATIONS, Form PY 00 01 02 17 is amended as follows:

The First Named Insured on the Declarations is changed to: Board of Regents of the
University of Washington, Flarborview Board ofTrustees, King County and your
affiliated or subsidiary entities owned, controlled or coming under your active
management and your interest in partnerships or joint ventures as now exist or may
hereafter be constituted or acquired during the policy term.

Formerly: Flarborview Medical Center


SECTION I - DECLARATIONS, LIMITS OF LIABILITY TABLE - PART ONE,
Form PY 00 01 02 17 is amended as follows:

Contingent Time Element is amended to:

    $5,000,000 Indirect Dependent Contingent Time Element Location(s): Not
    Scheduled or on file with us.


                                                      IC9999
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                                   Change Endorsement (continued)
The Limit of Liability for NEWLY ACQUIRED LOCATIONS is increased by
$ 15,000,000 to a new amount of $25,000,000.

Endorsement Number PZ 00 41 04 1 8, TIME ELEMENT LOSSES DUE TO
C O N T A M I N A T I O N BY C O M M U N I C A B L E DISEASE is added.

Limit of Liability: 30 Days, Not to Exceed $1,000,000 limit.


SECTION I - DECLARATIONS, LIMITS OF L I A B I L I T Y T A B L E - PART TWO,
Form PYOOOl 02 17 is amended as follows:

The Limit o f Liability for Earth Movement Sprinkler Leakage for Covered Property
situated in per the schedule on fde with us is amended to included in lieu of
$600,000,000.


No change in premium.




PREMIUM (EXCLUDING TERRORISM RISK INSURANCE ACT (TRIA) PREMIUM):
TERRORISM RISK INSURANCE ACT (TRIA) PREMIUM:
OTHER CHARGES:


TOTAL AMOUNT PAYABLE FOR ENDORSEMENT:

                                                   IC9999
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Policy Number YAC-L9L469720-049

Issued by         Employers Insurance Company of Wausau

                THIS ENDORSEMENT CHANGES THE POLICY. P L E A S E READ IT CAREFULLY.

              TIME ELEMENT L O S S E S DUE TO CONTAMINATION BY COMMUNICABLE DISEASE

This endorsement modifies insurance provided under the following:

     PREMIER PROPERTY PROTECTOR


1.   The following TIME ELEMENT COVERAGE AND LIMITATION is added to E. TIME ELEMENT COVERAGES
     AND LIMITATIONS in SECTION III- TIME ELEMENT of this policy:

     TIME ELEMENT LOSSES DUE TO CONTAMINATION BY COMMUNICABLE DISEASE

     a.   If your covered property at a covered location is contaminated by a communicable disease as the direct
          result of a covered loss, and there is in force at the time of that covered loss a law or ordinance that
          requires you to suspend your operations on account of that contamination, we will pay the actual loss of
          GROSS PROFIT or GROSS EARNINGS you sustain due to the necessary suspension of your normal
          operations at that covered location because it is either partially or totally closed by order of authority
          described in b. below.

     b.   The sole determinant of disease contamination of a magnitude great enough to either partially or totally
          close your normal operations will be either the:

          (1) National Center for Disease Control; or

          (2) The governmental authority having jurisdiction over y o u r operations that relate to health and hygiene
              standards necessary to protect the general public.

     c.   The most we will pay for this TIME ELEMENT COVERAGE AND LIMITATION in any one (1) occurrence
          is the LIMIT OF LIABILITY specified in the LIMITS OF LIABILITY TABLE.

     d.   For the purposes of this endorsement the italicized term communicable disease means a viral or bacterial
          organism that is capable of inducing disease, illness, physical distress or death.




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                     Exhibit 4
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  THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF YOUR POLICY IN RESPONSE TO THE
DISCLOSURE REQUIREMENTS OF THE TERRORISM RISK INSURANCE ACT. THIS ENDORSEMENT DOES
NOT GRANT ANY C O V E R A G E OR CHANGE THE TERMS AND CONDITIONS OF ANY C O V E R A G E UNDER
                                         THE POLICY.


                                  DISCLOSURE PURSUANT TO TERRORISM RISK
                                              INSURANCE ACT


A. Disclosure Of Premium

     In accordance with the federal Terrorism Risk Insurance Act, we are required to provide you with a notice
     disclosing the portion of your premium, if any, attributable to coverage for terrorist acts certified under the
     Terrorism Risk Insurance Act. The portion of your premium atthbutable to such coverage is shown in D.
     PREMIUM in the Declarations.

B. Disclosure Of Federal Participation In Payment Of Terrorism Losses

     The United States Government, Department of the Treasury, will pay a share of terrorism losses insured under
     the federal program. Beginning in calendar year 2020, the federal share equals 80% of that portion of the
     amount of such insured losses that exceeds the applicable insurer retention. However, if aggregate insured
     losses attributable to terrorist acts certified under the Terrorism Risk Insurance Act exceed $100 billion in a
     calendar year, the Treasury shall not make any payment for any portion of the amount of such losses that
     exceeds $100 billion.

C. Cap On Insurer Participation In Payment Of Terrorism Losses

     If aggregate insured losses attributable to terrorist acts certified underthe Terrorism Risk Insurance Act exceed
     $100 billion in a calendar year and we have met our insurer deductible underthe Terrorism Risk Insurance Act,
     we shall not be liable for the payment of any portion of the amount of such losses that exceeds $100 billion,
     and in such case insured losses up to that amount are subject to pro rata allocation in accordance with
     procedures established by the Secretary of the Treasury.




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 IMPORTANT NOTICE REGARDING THE EXPIRATION OF THE TERRORISM RISK INSUFW^NCE ACT AND
                  THE REDUCTION IN C O V E R A G E FOR TERRORISM L O S S E S


                                   P L E A S E READ THIS NOTICE C A R E F U L L Y


This is to notify you of a change in coverage for terrorism losses under your Premier Property Protector insurance
policy when the Terrorism Risk Insurance Act ("TRIA") expires, which is scheduled to occur on December 31, 2020.

TRIA, as amended, is a temporary program that spreads losses from government "certified" acts of terrorism
between insurers and the federal government. In summary, TRIA requires insurers to make coverage for "certified
acts of terrohsm" available, and to pay losses from '"certified acts of terronsm" up to a deductible amount. If an
individual insurer's losses exceed this amount, the government will reimburse the insurer a certain percentage (81%
in 2019 and 80% in 2020) of losses paid in excess of the deductible.

Policyholders have the option to accept or reject this coverage.

TRIA will expire on December 31, 2020, unless Congress and the President act to extend it. Otherwise, after 2020,
the federal government will no longer "certify" acts of terrorism or reimburse losses caused by "certified acts of
terrorism."

If you purchase coverage for "certified acts of terrorism," and TRIA expires on or after December 31, 2020, your
insurance coverage will be reduced. After the date TRIA expires, where permitted by state law*, your policy will
exclude coverage for losses from acts of terrohsm.

If you elect not to purchase coverage for "certified acts of terrohsm," and TRIA expires on or after December 31,
2020, losses caused by terrorist acts will continue to be excluded from your policy, where and as permitted by state
law*.

The terrorism exclusion in your policy is not a complete exclusion. While the exclusion applies to terrorism events
directly or indirectly involving nuclear or radioactive agents or materials, or pathogenic or poisonous biological or
chemical agents or materials, it does not apply to so-called "conventional" acts of terronsm until the total event wide
insured property damage (including business income) is in excess of $25,000,000. Please refer to Section II -
PROPERTY DAMAGE, C. EXCLUSIONS, 2.a.to review the exclusion and subsection (6) to understand the
coverage available.

* Exclusion 2.a. does not apply to locations in New York.




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                                                                                                    CNI 90 11 07 18



                            REPORTING A COMMERCIAL CLAIM 24 HOURS A DAY


Liberty Mutual Insurance claims professionals across the United States are ready to resolve your claim
quickly and fairly, so you and your team can focus on your business. Our claims teams are specialized,
experienced and dedicated to a high standard of service.

We're Just a Call Away — One Phone Number to Report All Commercial Insurance Claims

Reporting a new claim has never been easier, A Liberty Mutual customer service representative is available to you
24/7 at 800-362-0000 for reporting new property, auto, liability and workers' compensation claims. With contact
centers strategically located throughout the country for continuity and accessibility, we're there when we're needed!

Additional Resource for Workers' Compensation Customers

In many states, employers are required by law to use state-specific workers compensation claims forms and posting
notices. This type of information can be found in the Policyholders Toolkit section of our website along with other
helpful resources such as:

    •   Direct links to state workers compensation websites where you can find state-specific claim forms
    •   Assistance finding local medical providers
    •   First Fill pharmacy forms — part of our managed care pharmacy program committed to helping injured
        workers recover and return to work

Our Policyholder Toolkit can be accessed at www.libertvmutualgroup.com/toolkit.

For all claims inquiries please call us at 800-362-0000.




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                           LIBERTY MUTUAL GROUP CALIFORNIA PRIVACY NOTICE
                              Commercial Lines (excluding Workers' Compensation)
                                          (Effective January 1, 2020)


Liberty Mutual Group and its affiliates, subsidiaries, and partners (collectively "Liberty Mutual" or "we", "us" and
"our") provide insurance to companies and other insurers. This Privacy Notice explains how we gather, use, and
share your data. This Privacy Notice applies to you if you are a Liberty Mutual commercial line insured or are
a commercial line claimant residing in California It does not apply to covered employees or claimants under
Workers' Compensation policies. If this notice does not apply to you, go to libertymutual.com/privacy to review the
applicable Liberty Mutual privacy notice.

What Data Does Liberty Mutual Gather?

We may collect the following categories of data:

     •   Identifiers, including a real name, alias, postal address, unique personal identifier, online identifier, Internet
         Protocol address, email address, account name, Social Security Number, driver's license number, or other
         similar identifiers;
     •   Personal information described in California Civil Code § 1798.80(e), such as your name, signature.
         Social Security Number, physical characteristics or description, address, telephone number, driver's license
         or state identification card number, insurance policy number, education, employment, employment history,
         bank account number, financial information, medical information, or health insurance information;
     •   Protected classification characteristics, including age, race, color, national origin, citizenship, religion or
         creed, marital status, medical condition, physical or mental disability, sex (including gender, gender identity,
         gender expression, pregnancy or childbirth and related medical conditions), sexual orientation, or veteran
         or military status;
     •   Commercial information, including records of personal property, products or services purchased,
         obtained, or considered, or other purchasing or consuming histories and tendencies;
     •   Internet or other similar network activity, including browsing history, search history, information on a
         consumer's interaction with a website, application, or advertisement:
     •   Professional or employment related information, including current or past job history or performance
         evaluations;
     •   Inferences drawn from other personal information, such as a profile reflecting a person's preferences,
         characteristics, psychological trends, predispositions, behavior, attitudes, intelligence, abilities, and
         aptitudes;
     •   Risk data, including data about your driving and/or accident history; this may include data from consumer
         reporting agencies, such as your motor vehicle records and loss history information, health data, or criminal
         convictions; and
     •   Claims data, including data about your previous and current claims, which may include data regarding your
         health, criminal convictions, third party reports, or other personal data.

For information about the types of personal data we have collected about California consumers in the past twelve
(12) months, please go to libertymutual.com/privacy and click on the link for the California Supplemental Privacy
Policy.

How We Get the Personal Data:


 We gather your personal data directly from             We also gather your personal data from other people. For
 you. For example, you provide us with data             example:
 when you:
 •   ask about, buy insurance or file a claim           • your insurance agent or broker
 •   pay your policy                                    •   your employer, association or business (if you are
                                                            insured through them)
 •   visit our websites, call us, or visit our office   •   our affiliates or other insurance companies about your
                                                            transactions with them

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                                                     •     consumer reporting agencies, Motor Vehicle
                                                           Departments, and inspection services, to gather your
                                                           credit history, driving record, claims history, or value and
                                                           condition of your property
                                                     •     other public directories and sources
                                                     •     third parties, including other insurers, brokers and
                                                           insurance support organizations who you have
                                                           communicated with about your policy or claim, anti-fraud
                                                           databases, sanctions lists, court judgments and other
                                                           databases, government agencies, open electoral register
                                                           or in the event of a claim, third parties including other
                                                           parties to the claim witnesses, expert loss adjustors and
                                                           claim handlers

                                                     •     other third parties who take out a policy with us and are
                                                           required to provide your data such as when you are
                                                           named as a beneficiary or where a family member has
                                                           taken out a policy which requires your personal data

For information about how we have collected personal data in the past twelve (12) months, please go to
libertymutual.com/privacy and click on the link forthe California Supplemental Privacy Policy,

How Does Libertv Mutual Use My Data?

Liberty Mutual uses your data to provide you with our products and services, and as otherwise provided in this
Privacy Notice, Your data may be used to:

 Business Purpose                                             Data Cateaories
 Market, sell and provide insurance. This includes            • Identifiers
 for example:                                                 • Personal Information
      •  calculating your premium;                            • Protected Classification Characteristics
      •  determining your eligibility for a quote;            • Commercial Information
      •  confirming your identity and service your            • Internet or other similar network activity
         policy;                                              • Professional or employment related information
                                                              • Inferences drawn from other personal information
                                                              • Risk data
                                                              • Claims data
 Manage your claim. This includes, for example:               • Identifiers
    •  managing your claim, if any;                           • Personal Information
    •  conducting claims investigations;                      • Protected Classification Characteristics
    •  conducting medical examinations;                       • Commercial Information
    •  conducting inspections, appraisals;                    • Internet or other similar network activity
    •  providing roadside assistance;                         • Professional or employment related information
    •  providing rental car replacement, or repairs;          • Inferences drawn from other personal information
                                                              • Risk data
                                                              • Claims data
 Day to Day Business and Insurance Operations.                • Identifiers
 This includes, for example:                                  • Personal Information
     •    creating, maintaining, customizing and              • Protected Classification Characteristics
          securing accounts;                                  • Commercial Information
     •    supporting day-to-day business and                  • Internet or other similar network activity
          insurance related functions;                        • Professional or employment related information
     •    doing internal research for technology              • Inferences drawn from other personal information
          development;                                        • Risk data
     •    marketing and creating products and                 • Claims data
          services;
     •    conducting audits related to a current contact
         with a consumer and other transactions;

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         as described at or before the point of
         gathenng personal data or with your
         authorization;
 Security and Fraud Detection. This includes for              Identifiers
 example:                                                     Personal Information
      •  detecting security issues;                           Protected Classification Characteristics
      •  protecting against fraud or illegal activity, and    Commercial Information
         to comply with regulatory and law                    Internet or other similar network activity
         enforcement authorities;                             Professional or employment related information
      •  managing risk and securing our systems,              Inferences drawn from other personal information
         assets, infrastructure and premises; roadside        Risk data
         assistance, rental car replacement, or repairs       Claims data
      •  help to ensure the safety and security of
         Liberty staff, assets and resources, which
         may include physical and virtual access
         controls and access rights management;
      •  supervisory controls and other monitoring and
         reviews, as permitted by law; and emergency
         and business continuity management;
 Regulatory and Legal Requirements. This includes             Identifiers
 for example:                                                 Personal Information
      •  controls and access rights management;               Protected Classification Characteristics
      •  to evaluate or conduct a merger, divestiture,        Commercial Information
         restructuring, reorganization, dissolution, or       Internet or other similar network activity
         other sale or transfer of some or all of             Professional or employment related information
         Liberty's assets, whether as a going concern         Inferences drawn from other personal information
         or as part of bankruptcy, liquidation, or similar    Risk data
         proceeding, in which personal data held by           Claims data
         Liberty is among the assets transferred;
      •  exercising and defending our legal rights and
         positions;
      •  to meet Liberty contract obligations;
      •  to respond to law enforcement requests and
         as required by applicable law, court order, or
         governmental regulations;
      •  as otherwise permitted by law.

 Improve Your Customer Experience and Our                     Identifiers
 Products. This includes for example:                         Personal Information
    •   improve your customer experience, our                 Commercial Information
        products and service;                                 Internet or other similar network activity
    •   to provide, support, personalize and develop          Professional or employment related information
        our website, products and services;                   Inferences drawn from other personal information
    •   create and offer new products and services;           Risk data
                                                              Claims data
 Analytics to Identify, understand and manage our             Identifiers
 risks and products. This includes for example:               Personal Information
     •   conducting analytics to better identify,             Protected Classification Characteristics
         understand and manage risk and our                   Commercial Information
         products;                                            Internet or other similar network activity
                                                              Professional or employment related information
                                                              Inferences drawn from other personal information
                                                              Risk data
                                                              Claims data
 Customer service and technical support. This                 Identifiers
 includes for example:                                        Personal Information
      •  answer questions and provide notifications;          Commercial Information
      •  provide customer and technical support;              Internet or other similar network activity
                                                              Professional or employment related information

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                                                           •   Inferences drawn from other personal information
                                                           •   Risk data
                                                           •   Claims data

How Does Libertv Mutual Share Mv Data?

Liberty Mutual does not sell your personal data as defined by the California Consumer Privacy Act.

Liberty Mutual shares personal data of California consumers with the following categories of third parties:

    •   Liberty Mutual affiliates;
    •   Service Providers;
    •   Public entities and institutions (e.g, regulatory, quasi-regulatory, tax or other authorities, law enforcement
        agencies, courts, arbitrational bodies, and fraud prevention agencies);
    •   Professional advisors including lawfirms, accountants, auditors, and tax advisors;
    •   Insurers, re-insurers, policy holders, and claimants; and
    •   As permitted by law.

Liberty Mutual shares the following categories of personal data regarding California consumers to service providers
for business purposes:

        Identifiers                                                          Personal Data;
        Protected Classification Characteristics;                            Commercial Information;
        Internet or other similar network activity;                          Claims Data;
        Inferences drawn from other personal information;                    Risk Data;
        Professional, employment, and education information;

For information about how we have shared personal infonnation in the past twelve (12) months, please go to
libertymutual.com/privacy and click on the link for the California Supplemental Privacy Policy.

What Privacv Rights Do I Have?

The California Consumer Privacy Act provides California residents with specific rights regarding personal
information. These rights are subject to certain exceptions. Our response may be limited as permitted under law.

Access or Deletion

You may have the right to request that Liberty Mutual disclose certain information to you about our collection and
use of your personal data in the twelve (12) months preceding such request, including a copy of the personal data
we have collected. You also may have the right to request that Liberty Mutual delete personal data that Liberty
Mutual collected from you, subject to certain exceptions.

Specifically, you have the right to request that we disclose the following to you, in each case for the twelve (12)
month period preceding your request:

        the categories of personal data we have collected about you;
        the categories of sources from which the personal data was/is collected;
        our business or commercial purpose for collecting personal data;
        the categories of third parties with whom we share personal data;
        the specific pieces of data we have collected about you;
        the categories of personal data about you. if any, that we have disclosed for monetary or other valuable
        consideration, including the categories of third parties to which we have disclosed the data, by category or
        categones of personal data for each third party to which we disclosed the personal data; and
        the categories of personal data about you that we disclosed for a business purpose.




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You can make a request by either:

    Calling:   800-344-0197

    Online:       libertymutualgroup.com/privacy-policy/data-request

    Mail:      Attn: Privacy Office
               Liberty Mutual Insurance Company
               175 Berkeley St., 6th Floor
               Boston, MA 02116

You may also make a verifiable consumer request on behalf of your minor child.

You or your authorized agent may only make a verifiable consumer request for access or data deletion twice within
a twelve (12) month period. The verifiable consumer request must provide sufficient information that allows Liberty
Mutual to reasonably verify that you are the person about whom Liberty Mutual collected personal data or an
authorized representative of such person; and describe your request with sufficient detail that allows Liberty Mutual
to properly understand, evaluate, and respond to it. For more information about how Liberty Mutual will verify your
identity and how an authorized agent may make a request on your behalf, go to libertymutual.com/privacy and click
on the California Supplemental Privacy Policy.

Response Timing

Liberty Mutual will respond to a verifiable consumer request within forty-five (45) days of its receipt. If more time is
needed. Liberty Mutual will inform you of the reason and extension period in writing.

Any disclosures that will be provided will only cover the twelve (12) month period preceding our receipt of the
verifiable consumer request. If Liberty Mutual is unable to fulfill your request, you will be provided with the reason
that the request cannot be completed. For more information about how we will respond to requests, go to
libertymutual.com/privacy and click on the California Supplemental Privacy Policy.

Rights to opt in and out of data selling

California consumers have the right to direct businesses not to sell your personal data (opt-out nghts), and personal
data of minors under 16 years of age will not be sold, as is their right, without theirs or their parents' opt-in consent.
Liberty Mutual does not sell the personal data of consumers. For more information, go to libertymutual.com/privacy
and click on the California Supplemental Privacy Policy.

No account needed

You do not need to create an account with Liberty Mutual to exercise your rights. Liberty Mutual will only use
personal data provided in a request to review and comply with the request.

No discrimination

You have the right not to be discriminated against for exercising any of your CCPA rights. Unless permitted by the
CCPA, exercising your rights will not cause Liberty Mutual to:

    •   Deny you goods or services;
    •   Charge you different prices or rates for goods or services, including through granting discounts or other
        benefits, or imposing penalties;
    •   Provide you a different level or quality of goods or services; or
    •   Suggest that you may receive a different pnce or rate for goods or services, or a different level or quality of
        goods or services.




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Will Libertv Mutual Update This Privacv Notice?

We reserve the right to makes changes to this notice at any time and for any reason. The updated version of this
policy will be effective once it is accessible. You are responsible for reviewing this policy to stay informed of any
changes or updates.

Who Do I Contact Regarding Privacv?

If you have any questions or comments about this Notice or the Supplemental CCPA Notice, your rights, or are
requesting the Notice in an alternative format, please do not hesitate to contact Liberty Mutual at:

Phone:                  800-344-0197

Email:                   privacv(a)libertvmutual.com

Postal Address:         Attn: Privacy Office
                        Liberty Mutual Insurance Company
                        175 Berkeley St, 6th Floor
                        Boston, MA 02116




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                                                                                               Liberty
                                                                                               MutuaL
                                                                                                  INSURANCE

                                   PREMIER PROPERTY PROTECTOR

                                                POLICY COVER PAGE
  POLICY NUMBER:                                        DATE OF ISSUE:
  YAC-L9L-450425-020                                    2/26/2020
  COMPANY PROVIDING INSURANCE:
  Employers Insurance Company of Wausau
                              ( hereafter referred to as we, us or o u r )

In consideration of this Policy's Provisions, Conditions, Stipulations, LIMITS OF LIABILITY and of premium charged,
we cover property, as described in this Policy, against all risks of direct physical loss or damage, except as
hereinafter excluded or limited, while located as described in this Policy.

We insure:
  Board of Regents of the University of Washington Husky Stadium
                                 (hereafter referred to as you or y o u r ( s ) )

The temi of this Policy is from 3/1/2020 to 3/1/2021 at 12:01 a.m., local time. In the event of a claim, the Policy
period is measured by local time at the location where the direct physical loss or damage occurs.

PRODUCER NAME AND OFFICE

PARKER SMITH & FEEK INC
2233 112TH AVE NE,
BELLEVUE, WA 98004

Your policy is issued by a stock insurance company subsidiary of the Liberty Mutual Holding Company Inc, a
Massachusetts mutual holding company. The named insured first named in the Declarations is a member of Liberty
Mutual Holding Company Inc.

As a member of Liberty Mutual Holding Company Inc., the named insured first named is entitled, among other
things, to vote either in person or by proxy at the annual meeting or special meetings of said company. The Annual
Meeting of Liberty Mutual Holding Company Inc. is at its offices located at 175 Berkeley Street, Boston,
Massachusetts, on the second Wednesday in Apnl each year at ten o'clock in the morning. Members of Liberty
Mutual Holding Company Inc, may request a copy of the company's annual financial statements, which are posted
on Liberty Mutual's website at www libertymutuaLcom or by writing to Liberty Mutual Holding Company Inc.,
175 Berkeley Street, Boston, Massachusetts, 02116, Attention: Corporate Secretary.

You may be eligible to participate in the distnbution of surplus funds of the company through any dividends that
may be declared for this policy, A declaration or payment of dividends is not guaranteed. The amount of any
dividends that may be declared shall be to the extent, and upon the conditions fixed and determined by the Board
of Directors and in compliance with any laws that apply.

IN WITNESS WHEREOF, the company has caused this Policy to be executed and attested, and, if required by
state law, this Policy shall not be valid unless countersigned by a duly authorized representative of the company.




        President                                   Secretary




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                                     SECTION I - DECLARATIONS

A. FIRST NAMED INSURED AND MAILING ADDRESS

     Board of Regents of the University of Washington Husky Stadium and any subsidiary, and the interest of Board
     of Regents of the University of Washington Husky Stadium in any partnership or joint venture in which Board
     of Regents of the University of Washington Husky Stadium has management control, ownership, or is obligated
     to insure, as now constituted or hereafter is acquired, as the respective interest of each may appear; all
     hereafter referred to as you or yours, including legal representatives.

     When any Insured described above is a party to a written contract or agreement on file that requires a legal
     entity to be identified as an additional insured under this Policy, this Policy includes the legal entity as an
     additional insured, as its interest may appear, for physical damage to covered property which is the subject of
     the written contract or agreement on file, before any loss occurs; and does not provide any TIME ELEMENT
     Coverage to the legal entity, except as provided under LEASEHOLD INTEREST of this Policy or as specifically
     endorsed to the Policy.

     Compliance and Risk Services
     Box 354964;4300 Roosevelt Way NE
     Seattle, WA 98105

B. POLICY PERIOD

     The term ofthis Policy is from March 1, 2020 to March 1, 2021 at 12:01 a.m., local time. In the event of a claim,
     the Policy period is measured by local time at the location where the direct physical loss or damage occurs.

C. INSURING AGREEMENT

     In consideration of this Policy's Provisions, Conditions, Stipulations, LIMITS OF LIABILITY and of premium
     charged, we cover property, as described in this Policy, against all risks of direct physical loss or damage,
     except as hereinafter excluded or limited, while located as described in this Policy,

D.   PREMIUM

     This Policy is issued in consideration of the following Initial premium inclusive of any premium shown on
     endorsements which are part of the Policy at the time of issue.

                                                                               $222,626
       Policy Premium (Excluding premium for "certified act(s) of
       terrorism" under the Terrorism Risk Insurance Act (TRIA), as
       amended):


       Policy Premium for "certified act(s) of terrorism" under the            Rejected
       Terrorism Risk Insurance Act (TRIA), as amended:


          •   Policy Premium for Fire Following Acts of Terrorism (in
                                                                               $14,185
              States where required)

       State or Municipal Taxes, Surcharges and Other Miscellaneous
                                                                               $0
       Charges: (See State or Municipal Taxes, Surcharges and Other
       Miscellaneous Charges summary shown below)


       Total Policy Premium/Other Charges for Above Policy Period:             $236,811




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       Policy Premium will be billed annual.

       The Deposit Premium/Other Charges is:                                $236,811


E.   PREMIUM PAYABLE

     The First Named Insured pays the premium under this Policy, and any return of the paid premium accruing
     under this Policy will be paid to the account of the First Named Insured.

     Premiums will be paid in the currency designated in paragraph I. CURRENCY.




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F.   COVERED LOCATION(S)

     This Policy applies at a location(s):

     1.   Listed on a SCHEDULE on file with us;

     2.   Listed on the SCHEDULE attached to this Policy;

     3.   Covered as a Miscellaneous Unnamed Location; or

     4.   Covered under the terms and conditions of the NEWLY ACQUIRED LOCATIONS Coverage or ERRORS
          AND OMISSIONS Coverage,

G. TERRITORY


     Coverage under this Policy applies to covered property within the continental United States of America,
     Hawaii and Puerto Rico.




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H.   JURISDICTION

     The validity and interpretation of this Policy shall be governed by and construed in accordance with the laws of
     the State of New York.

     Any disputes arising hereunder will be exclusively subject to a State or Federal jurisdiction within the United
     States of America.

I.   CURRENCY

     All amounts, including deductibles and LIMITS OF LIABILITY, indicated in this Policy are in U.S. Dollars unless
     otherwise indicated by the three-letter currency designator as defined in Table A.1 Currency and Funds code
     list. International Standards Organization (ISO) 4217, edition effective at inception of this Policy.

J.   DEFINED WORDS

     Words in bold face type have special meanings in this Policy and are defined in the DEFINITIONS section of
     this Policy. These definitions apply to this entire Policy and to any endorsements to it. Definitions that apply to
     individual sections or paragraphs are italicized and defined in the applicable sections or paragraphs,

K.   LIMITS OF LIABILITY

     When a POLICY LIMIT OF LIABILITY is specified in the LIMITS OF LIABILITY Table in the Declarations,
     our maximum LIMIT OF LIABILITY in an occurrence, including any insured TIME ELEMENT loss, will not exceed
     the stated POLICY LIMIT OF LIABILITY,

     1.   When a PROPERTY DAMAGE and TIME ELEMENT LIMIT OF LIABILITY is specified in the LIMITS OF
          LIABILITY Table in the Declarations, it wil! apply to all coverages provided throughout this Policy, unless a
          LIMIT OF LIABILITY or "NOP" (No Coverage Provided) is indicated.

          a.   When a LIMIT OF LIABILITY is specified in the LIMITS OF LIABILITY Table in the Declarations, such
               limit will be the maximum amount payable for such loss or damage and cannot be combined with any
               other LIMIT OF LIABILITY,

          b.   If "NOP" is specified in the LIMITS OF LIABILITY, there is no coverage provided in this Policy.

     2.   LIMITS OF LIABILITY in an occurrence apply to the total loss or damage at all locations and for all
          coverages involved, including any insured TIME ELEMENT loss, subject to the following provisions:

          a.   When a LIMIT OF LIABILITY that applies in the aggregate during any Policy year is shown, our
               maximum amount payable will not exceed such LIMIT OF LIABILITY during any Policy year.

          b.   When a LIMIT OF LIABILITY applies to a location(s). specified property, DESCRIBED LOSSES or a
               specific coverage, the smallest applicable LIMIT OF LIABILITY will be the maximum amount payable.

          c.   Should an occurrence result in liability payable under more than one Policy issued to you by us, or by
               our subsidiaries, partners, or associated insurance companies, the maximum amount payable in the
               aggregate under all such policies will be the applicable LIMIT(S) OF LIABILITY indicated in this Policy.

          d.   When a LIMIT OF LIABILITY applies to TIME ELEMENT only, our maximum amount payable will not
               exceed such LIMIT OF LIABILITY per occurrence.

     3.   LIMITS OF LIABILITY specified below or elsewhere in this Policy do not increase and are part of and not
          in addition to the POLICY LIMIT OF LIABILITY or the PROPERTY DAMAGE and TIME ELEMENT LIMIT
          OF LIABILITY.

     4.   LIMITS OF LIABILITY apply per occurrence unless otherwise specified, including time and distance
          limits.




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                                 LIMITS OF LIABILITY TABLE - PART ONE

                          COVERAGE                                      LIMITS OF LIABILITY AND TIME AND
                                                                                DISTANCE LIMITS


 POLICY LIMIT OF LIABILITY                                                                         $331,055,581
 TIME ELEMENT                                                                                       $23,567,631


 ACCOUNTS RECEIVABLE                                                                                $25,000,000


 ATTRACTION      PROPERTY                                                 1 statute miles from a covered location
                                                                              30 consecutive days, not to exceed
                                                                                                      $1,000,000


 BRANDS AND LABELS                                                                                   $1,000,000


 CIVIL OR MILITARY AUTHORITY                                              1 statute miles from a covered location
                                                                              30 consecutive days, not to exceed
                                                                                                      $1,000,000
 COMPUTER SYSTEMS NON PHYSICAL DAMAGE and DATA,                                                        $500,000
 PROGRAMS OR SOFTWARE, combined


 CONTINGENT TIME ELEMENT

     •   Direct Dependent Contingent Time Element Location(s):                                      $10,000,000
          Not Scheduled or on file with us

     •   Indirect Dependent Contingent Time Element                                                     $25,000
         Location(s)
          Not Scheduled or on file with us


 CONTROL OF DAMAGED GOODS                                                                            $1,000,000


 COURSE OF CONSTRUCTION                                                                             $10,000,000


 CRISIS MANAGEMENT                                                           30 consecutive days, not to exceed
                                                                                                    $1,000,000


 DEBRIS REMOVAL                                                                                     $25,000,000


 DECONTAMINATION COSTS                                                                               $1,000,000


 DEFERRED PAYMENTS                                                                                     $500,000




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 DELAY IN STARTUP                                                                                            $500,000


 DEMOLITION AND INCREASED COST OF CONSTRUCTION                                                            $25,000,000
 DAMAGED, per Section II D . l l . b . 1 .

 UNDAMAGED, per Section II D.11.b.2,
                                                                                                             Included
 ERRORS AND OMISSIONS                                                                                     $10,000,000


 EXPEDITING EXPENSE                                                                                       $25,000,000


 EXTENDED PERIOD OF LIABILITY                                                                    365 consecutive days


 EXTRA EXPENSE                                                                                            $10,000,000


 FINEARTS                                                                                                    $500,000


 FIRE DEPARTMENT SERVICE CHARGES                                                                           $2,500,000


 IMPOUNDED WATER                                                                    30 consecutive days, not to exceed
                                                                                                           $1,000,000


 INGRESS/EGRESS                                                              1 statute miles from a covered location 30
                                                                                        consecutive days, not to exceed
                                                                                                           $10,000,000


 LAND AND WATER CLEANUP, REMOVAL AND DISPOSAL in                                                             $500,000
 the annual aggregate

 LEASEHOLD INTEREST                                                                                       $10,000,000


 MISCELL^NEOUS PERSONAL PROPERTY                                                                           $1,000,000


 Miscellaneous Unnamed Locations                                                                          $10,000,000


 Mold, Mildew or Fungus directly resulting from a Covered Loss                                               $500,000


 NEWLY ACQUIRED LOCATIONS                                                           60 consecutive days, not to exceed
                                                                                                          $25,000,000


 OFF PREMISES INTERRUPTION OF SERVICES - PROPERTY                                                            $500,000
 DAMAGE and OFF PREMISES INTERRUPTION OF SERVICES
 - T I M E ELEMENT




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 Ordinary Payroll                                                                       365 consecutive days


 PRESERVATION OF PROPERTY                                                                        $5,000,000


 PROFESSIONAL FEES                                                                               $1,000,000


 RADIOACTIVE CONTAMINATION                                                                         $250,000


 RENTAL INSURANCE                                                                                $1,000,000


 RESEARCH AND DEVELOPMENT                                                                          $100,000


 SOFT COSTS                                                                                        $500,000


 TAX LIABILITY                                                                                     $500,000


 TRANSIT                                                                                         $2,500,000


 VALUABLE PAPERS AND RECORDS                                                                    $25,000,000



                                  LIMITS OF LIABILITY TABLE - PART TWO

                           COVERAGE                                    LIMITS OF LIABILITY AND TIME AND
                                                                               DISTANCE LIMITS


 EARTH MOVEMENT\r\ the annual aggregate                                                       $25,000,000

 except the following limits apply per occurrence and in the annual
 aggregate, and are part of and not in addition to the EARTH
 MOVEMENTannua\ aggregate limit:

     •   Covered property situated in:

            Pacific NW Earth Movement Zone                                                    $25,000,000


 EARTH MOVEMENT S P R i m i E R LEAKAGE                                                       $25,000,000


 EQUIPMENT BREAKDOWN

 PROPERTY DAMAGE and TIME ELEMENT except:                                                        Included




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      The following limits are part of and not in addition to the
      EQUIPMENT BREAKDOWN limits specified above:

      •   Ammonia Contamination                                                                 $5,000,000

      •   CONTINGENT TIME ELEMENT                                                               $5,000,000

      •   Spoilage Damage                                                                       $5,000,000


 FLOOD in the annual aggregate                                                                $100,000,000

 except the following limits apply per occurrence and in the annual
 aggregate, and are part of and not in addition to the FLOOD
 annual aggregate limit:

      •   Covered property at locations situated in:

             Flood Hazard - Moderate                                                           $25,000,000

             Flood Hazard - High                                                                $1,000,000


 NAMED STORM                                                                                       Included


                                      ENDORSEMENT LIMITS OF LIABILITY

  Endorsement Number                   Endorsement Name                       UMITSOF LIABILITY


      CNP 90 06 01 20         Disclosure Pursuant to Terrorism Risk                Rejected
                                          Insurance Act

      CNP 90 10 01 19            Important Notice Regarding The
                                 Expiration of the Terrorism Risk
                               Insurance Act and the Reduction in
                                  Coverage for Terrorism Losses

      PY 04 04 01 17               Exclusion of Certified Acts of
                                            Terrorism



 L.   CANCELLATION TIME SPECIFICATIONS

 Cancellation for Nonpayment of Premium                                                       Ten (10) days


 Cancellation for All Reasons Other Than                                                           30 days
 Nonpayment of Premium




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M. DEDUCTIBLES

    Subject to the Deductible General Provisions stated below, we will not pay unless a covered loss, including
    any insured TIME ELEMENT loss, exceeds the deductible{s) specified below. We will then pay the amount of
    covered loss in excess of the deductible, up to the applicable LIMIT OF LIABILITY.

    Deductible General Provisions

    We will be liable only if you sustain a covered loss, including any insured TIME ELEMENT loss, in a single
    occurrence greater than the applicable deductible specified. When this Policy insures more than one (1)
    location, the deductible(s) will apply against the total loss covered by this Policy in an occurrence unless
    OthenA/ise stated.

    1.   Unless otherwise stated, if two or more deductibles apply to an occurrence, the total deductible will not
         exceed the largest applicable deductible, except as follows:

         a.    When a separate PROPERTY DAMAGE and TIME ELEMENT deductible apply, each will be applied
               separately.

         b.    tf there are multiple locations involved in an occurrence where two or more deductibles apply to a location
               in an occurrence, the largest deductible applying to each location will be applied separately to each such
               location, regardless of the number of locations involved in the occurrence.


         c.    Unless specified otherwise, if deductibles are specified for a location, the largest deductible
               applicable will be applied to that location regardless of the number of locations involved in the
               occurrence.

         d.    Equipment Breakdown: With regard to Equipment Breakdown coverage, if one or more deductible
               amounts are shown below, each will be applied separately.

         e.    The stated EARTH MOVEMENT 6e6ucme will be applied to EARTH MOVEMENT loss. The stated
               FLOOD deductible will be applied to FLOOD loss. The stated NAMED STORM deductible will be
               applied to NAMED STORM loss. Provisions 1 .a. and 1 .b. above will also be applied to each,

    2.   When a percent deductible is specified, whether separate or combined, the deductible amount will be
         determined as follows:

         a.    PROPERTY DAMAGE: The percentage of the total reported values on file with us for the covered
               property at the corresponding location(s) (including sub-locations) where the direct physical loss
               or damage occurred; plus

         b.    TIME ELEMENT: The percentage of the full TIME ELEMENT values that would have been earned
               in the 12-month period following the occurrence, had no loss occurred, by use of the facilities at
               the location where the direct physical loss or damage occurred, plus that proportion of the full TIME
               ELEMENT values at all other locations where TIME ELEMENT loss ensues that was directly
               affected by use of such facilities and that would have been earned in the 12-month period following
               the occurrence.

         c.    Equipment Breakdown: The percentage of the gross amount of loss, damage or expense (prior any
               deductible) insured under the applicable coverage. If the dollar amount of such percentage is less
               than the indicated minimum deductible, the minimum deductible will be the applicable deductible.

   3.    When a minimum deductible is shown, the minimum deductible is the sum of:



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        a.   The specific location deductible for each covered location where the amount of physical loss or
             damage exceeds the specific location deductible; and

        b.   The amount of physical loss or damage for each covered location where the amount of physical loss
             or damage is less than the specific location deductible.

   4.   When an average daily value deductible is provided, this deductible will be determined as follows:

        a.   The total amount of TIME ELEMENT loss applicable for the entire location where the direct physical
             loss or damage happens will be included.

        b.   Divide the result in Paragraph a. by the number of days the business would have been open during the
             PERIOD OF LIABILITY. The result is the average daily value.

        c.   Multiply the average daily value in Paragraph b. by the number of days specified in the DEDUCTIBLE
             TABLE below.

        If more than one (1) location is included in the valuation of the loss, the average daily value will be the
        combined value of all affected locations.

   5.   When a per unit deductible is specified, the following shall be considered a separate unit of insurance:

        a.   Each separate building, the contents of each separate building and covered property in each yard at
             that covered location.

        b.   TIME ELEMENT loss as applicable, including all other locations where TIME ELEMENT loss ensues
             as provided by this Policy.

   6.   When a time deductible is shown, we will not be liable for any loss under that coverage that occurs during
        that specified time period immediately following the direct physical loss or damage. If a time deductible is
        shown in days, each day shall mean twenty four (24) consecutive hours.

   7.   When a deductible is shown in the Declarations for a NAMED STORM, the following applies:

        a.   All direct physical loss or damage to covered property including TIME ELEMENT loss caused by or
             resulting from a NAMED STORM will be subject to the deductible obtained by calculating all of the
             following:

             (1) The sum of all applicable percentage deductibles calculated as described in Deductible General
                 Provisions Item 2. above, subject to any applicable minimums or maximums; and

             (2) Any other applicable deductible amounts.




                                        DEDUCTIBLE TABLE - PART ONE

                            Coveraqe                                        Deductible Percentage / Amounts
 Policy Deductible (except as otherwise indicated)                                                         $250,000


 OFF PREMISES INTERRUPTION OF SERVICES -                                                                   $250,000
 PROPERTY DAMAGE AND TIME ELEMENT


 TRANSIT                                                                                                   $250,000


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 Fine Arts                                                                                            $250,000


                                         DEDUCTIBLE TABLE - PART TWO

                            Coverage                                      Deductible Percentage / Amounts


 EARTH MOVEMENT                                                                                   2% subject to
                                                                                             $250,000 minimum

    except:
     •   Covered property situated in:

              Pacific NW Earth Movement Zone                                                      2% subject to
                                                                                             $250,000 minimum


 EARTH MOVE/WEA/T SPRINKLER LEAKAGE                                                                   $250,000


 EQUIPMENT BREAKDOWN

 PROPERTY DAMAGE and TIME ELEMENT                                                                     $250,000

    •    Spoilage Damage                                                                              $250,000

    •    Ammonia Contamination                                                                        $250,000


 FLOOD                                                                                                $250,000

    except:

    •    Covered property at locations situated in:
                                                                                                      $250,000
             Flood Hazard - Moderate
                                                                                                      $500,000
             Flood Hazard - High

 NAMED STORM                                                                                          $250,000



                                   OCCURRENCE TIME SPECIFICATIONS


 EARTH MOVEMENT                                                                          continuous 168 hours


 NAMED STORM                                                                              continuous 72 hours




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N. QUALIFYING PERIOD(S)

    A qualifying period applies for the coverages shown in the Table below. Qualifying period is the period of time
    that must be exceeded for coverage to apply. Once the qualifying period has been exceeded, coverage applies
    from the initial event of loss.

                                         QUALIFYING PERIOD TABLE

                                Coverage                                           QUALIFYING     PERIOD


 COMPUTER SYSTEMS NON PHYSICAL DAMAGE and DATA,                                           24 hours
 PROGRAMS OR SOFTWARE, combined

 CRISIS MANAGEMENT                                                                        24 hours

 OFF PREMISES INTERRUPTION OF SERVICES - PROPERTY                                         24 hours
 DAMAGE AND TIME ELEMENT




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                                  SECTION II - PROPERTY DAMAGE

A. COVERED PROPERTY

    1.   We cover your insurable interest in the following types of property that are located at or within one-thousand
         (1,000) feet of a covered location, unless otherwise excluded:

         a.   Real Property, including           new   buildings,   structures    and   additions   in   the   COURSE     OF
              CONSTRUCTION.

         b.   Personal Property, including personal property of others.

              Personal properiy of others are tangible things that you do not own, other than real property, that:

              (1) are sold by you and that you have agreed, prior to loss, to insure for the account of the purchaser
                  during delivery;

              (2) you have agreed in writing prior to any loss or damage to provide coverage;

              (3) are in your care, custody or control;

              (4) you have an insurable interest in, or an obligation to provide coverage;

              (5) you are legally liable for;

              (6) are improvements and bettennents consisting of fixtures, alterations, installation or additions
                  comprising part of a building not owned by you and acquired or made at your expense which
                  you cannot legally move, but only to the extent of your insurable interest therein; or

              (7) are personal property (other than vehicles) of your employees and officers.

    2.   We also cover the interest of contractors and subcontractors in covered property during construction at or
         within one-thousand (1,000) feet of a covered location to the extent of your legal liability for direct physical
         loss or damage to such property. Such interest of contractors and subcontractors is limited to the property
         for which they have been hired to periderm work and such interest will not extend to any TIME ELEMENT
         coverage provided under this Policy.

B. PROPERTY NOT COVERED

   We do not cover the following types of property:

    1.   Aircraft, except when unfueled and manufactured by you;

   2.    Animals, standing timber including undisturbed natural wooded areas, or growing crops;

   3.    Bridges or tunnels, however pedestrian walkways connecting buildings are covered;

   4.    Caves, caverns, mines of any type, or any property contained within them;

   5.    Contraband or property in the course of illegal transportation or trade;

   6.    Currency, money, negotiable and non-negotiable instruments, notes or securities;

   7.    Dams, dikes, levees, docks, wharfs, piers or bulkheads;




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     8.   Electronic data, computer programs or software, except when they are stock in process, finished stock
          manufactured by you, raw materials, supplies, other merchandise not manufactured by you or as provided
          in this Policy;

     9.   Land and any substance in or on land except this exclusion does not apply to land improvements;

     10. Land improvements at a golf course;

     11. Overhead transmission and distribution systems located more than one-thousand (1,000) feet away from a
         covered location;

     12. Personal property of others that is in the care, custody or control of you or your affiliates for which you are
         acting as a warehouseman, bailee for hire, or carrier for hire,

     13. Precious metals or precious stones, except when used in industrial or service operations;

     14. Property in transit, except as otherwise provided by this Policy;

     15. Property more specifically insured, except for any excess over any LIMITS OF LIABILITY of such more
         specific insurance;

     16. Property sold by you under conditional sale, trust agreement, installment plan or other deferred payment
         plan after delivery to your customers, except as provided by the DEFERRED PAYMENTS coverage of this
         Policy;

     17. Spacecraft, satellites, associated launch vehicles and any property contained therein;

     18. Vehicles otherwise insured for physical loss or damage;

     19. Water except this exclusion does not apply to water that is contained within any enclosed tank, piping
         system or any other processing equipment; or

     20. Watercraft, except watercraft you manufacture and are part of your inventory while being stored un-fueled
         and on dry land at a covered location.

C.   EXCLUSIONS

     The following exclusions apply unless otherwise stated in this Policy:

     1.   We do not cover:

          a.    Indirect or remote loss or damage;

          b.    Interruption of business, except to the extent provided by this Policy;

          c.    Loss of market or loss of use;

          d.    Loss or damage or deterioration arising from any delay;

          e.    Mysterious disappearance, loss or shortage disclosed on taking inventory, or any unexplained loss;

          f.    Loss or damage from enforcement of any law or ordinance:

                (1) Regulating the construction, repair, replacement, use or removal, including debris removal, of any
                    property; or
                (2) Requiring the demolition of any property, including the cost in removing its debris;




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             except as provided by the DECONTAMINATION COSTS and DEMOLITION AND INCREASED COST
             OF CONSTRUCTION coverages of this Policy;

        g.   Loss resulting from the voluntary parting with title or possession of property if induced by any fraudulent
             act or by false pretense; or

        h.   Loss or damage caused by or resulting from freezing, disease or drought lo landscape gardening,
             including plants, trees and shrubs.

        We do not cover physical loss or damage directly or indirectly caused by or resulting from any of the
        following regardless of any other cause or event, whether or not insured under this Policy, contributing to
        the loss concurrently or in any other sequence:

        a.   Terrorism, including action in hindering or defending against an actual or expected incident of
             terrorism, but this exclusion applies only when one of the following are attributed to an incident of
             terronsm:

             (1) The terrorism is carried out by means of the dispersal or application of radioactive material, or
                 through the use of a nuclear weapon or device that involves or produces a nuclear reaction, nuclear
                 radiation or radioactive contamination; or

             (2) Radioactive material is released, and it appears that one purpose of terrorism was to release such
                 material; or

             (3) The terrorism is carried out by means of the dispersal or application of pathogenic or poisonous
                 biological or chemical materials; or

             (4) Pathogenic or poisonous biological or chemical materials are released, and it appears that one
                 purpose of the terrorism was to release such materials; or

             (5) Loss or damage to property located outside of the United States, unless there is a law in effect in
                 the jurisdiction where the loss or damage occurs that expressly prohibits this exclusion; or

             (6) The total of all damage to property, whether covered by this Policy or otherwise, exceeds
                 $25,000,000. In determining whether the $25,000,000 threshold is exceeded, we will include all
                 insured damage sustained by property of all persons and entities affected by the terrorism and
                 business interruption (TIME ELEMENT) losses sustained by owners or occupants of the damaged
                 property. For the purpose of this provision, insured damage means damage that is covered by any
                 insurance plus damage that would be covered by any insurance but for the application of any
                 terrorism exclusions. Multiple incidents of terrorism which occur within a 72-hour period and
                 appear to be carried out in concert or to have a related purpose or common leadership will be
                 deemed to be one (1) incident, for the purpose of determining whether the threshold is exceeded.

                 With respect to this item 2.a.(6), the immediately preceding paragraph describes the threshold used
                 to measure the magnitude of an incident of terrorism and the circumstances in which the threshold
                 will apply, for the purpose of determining whether this exclusion will apply to that incident. When
                 the exclusion applies to an incident of terrorism, there is no coverage in this Policy,

             However, this exclusion does not apply:

             (1) If terrorism results in fire, in which case we cover the direct physical loss or damage caused by
                 the fire but only if there is a statute in effect in the jurisdiction where the loss or damage occurs that
                 expressly prohibits the exclusion of fire losses resulting from terrorism. This exception is subject
                 to all applicable Policy provisions including the LIMIT OF LIABILITY on the affected property. Such
                 coverage for ensuing loss applies only to direct loss or damage by fire to covered property. This
                 coverage does not apply to insurance provided under any TIME ELEMENT coverages, or to fire
                 legal liability coverage; or



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              (2) While the United States Terrorism Risk Insurance Act (TRIA), as amended, is in effect:

                      (a) To loss or damage caused by a "Certified Act of Terrorism" provided that you elected
                          coverage for such, and only to the extent provided by the terms and conditions of the
                          applicable CERTIFIED ACTS OF TERRORISM AND DISCLOSURE PURSUANT TO
                          TERRORISM RISK INSURANCE ACT endorsement; or

                      (b) To loss or damage caused by terrorism that would have been certified as an "act of
                          terrorism", but was not certified solely because the total of all property and casualty
                          insurance losses resulting from the act failed to exceed the $5,000,000 "certified act of
                          terrorism" threshold specified under TRIA.

        b.    Nuclear reaction or nuclear radiation or radioactive contamination. However, this exclusion does not
              apply if:

              (1) The RADIOACTIVE CONTAMINATION PROPERTY DAMAGE COVERAGE AND LIMITATION
                  applies but only to the extent provided; or

              (2) Fire directly results from the nuclear reaction, nuclear radiation, or radioactive contamination, in
                  which case we cover the physical loss or damage caused by the fire but only if there is a statute in
                  effect in the jurisdiction where the loss or damage happens that expressly prohibits the exclusion
                  of fire losses resulting from nuclear reaction, radiation or contamination.

        c.    Hostile or warlike action in time of peace or war, including action in hindering, combating or defending
              against an actual, impending or expected attack by any:

              (1) Government or sovereign power (de jure or de facto);

              (2) Military, naval or air force; or

              (3) Agent or authority of any party specified in (1) or (2) above.

        d.    Discharge, explosion or use of any nuclear device, weapon or material employing or involving nuclear
              fission, fusion or radioactive force, whether in time of peace or war and regardless of who commits the
              act.

        e.    The unlawrful possession, use, release, discharge, dispersal or disposal of any chemical, biological,
              viral, radioactive or similar agents or matter, whether in time of peace or war and regardless of who
              commits the act

        f.    Insurrection, rebellion, revolution, civil war, usurped power, or action taken by governmental authority
              in hindering, combating or defending against such an event.

        g.    Seizure or destruction under quarantine or custom regulation, or confiscation by order of any
              governmental or public authonty.

        h.    Risks of contraband, or illegal transportation or trade.


        i.    Any criminal, fraudulent or dishonest act, including theft, committed alone or in collusion with others:

              (1) By you or any proprietor, partner, director, trustee, officer or employee of an Insured; or

              (2) By any proprietor, partner, director, trustee, or officer of any business or entity (other than a
                  common earner) engaged by you to do anything in connection with property insured under this
                  Policy.




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              However, we do cover direct physical loss or damage intentionally caused by your employee or any
              individual specified in (2) above provided that said individuals acted without your knowledge,

        j.    Lack of the following services:

              (1) Incoming electricity, fuel, water, gas, steam or refngerant;

              (2) Outgoing sewerage; or

              (3) Incoming or outgoing voice, data or video,

              all when caused by an event away from the covered location except as provided in the ON/OFF
              PREMISES INTERRUPTION OF SERVICES coverages of this Policy, But, if the lack of such a service
              causes physical loss or damage of the type insured by this Policy at a covered location, then only that
              resulting damage is covered.

        We do not cover the following, but, if direct physical loss or damage not excluded by this Policy results,
        then we cover that resulting damage only:

        a.    Faulty workmanship, material, construction or design.

        b.    Loss or damage to stock or material attributable to manufacturing or processing operations while such
              stock or material is being processed, manufactured, tested, or otherwise worked on.

        c.    Deterioration, depletion, rust, corrosion or erosion, wear and tear, inherent vice or latent defect.

        d.    Settling, cracking, shrinking, bulging, or expansion of:

              (1) Foundations (including any pedestal, pad, platform or other property supporting machinery)

              (2) Floors

              (3) Pavements

              (4) Walls, including retaining walls

              (5) Ceilings

              (6) Roofs

        e.    Extremes or changes in temperature (except to machinery or equipment) or changes in relative
              humidity, all whether atmospheric or not.

        f.    Cumulative effects of smog, smoke, vapor, liquid and dust.

        g.    Insect, animal or vermin damage.

        h.Loss or damage to the interior portion of buildings under construction caused by rain, sleet or snow,
          whether or not driven by wind, when the installation of the roof, walls or windows of such buildings has
          not been completed.
       We do not cover the following unless directly resulting from a covered loss:

        a.    Contamination, and any cost due to contamination including the inability to use or occupy property
              or any cost of making property safe or suitable for use or occupancy, except as provided elsewhere in
              this Policy.

        b.    Shrinkage.




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         c.   Changes in color, flavor, texture or finish.

         d.   Remediation, change, correction, repairer assessment of any date or time recognition in any electronic
              data processing equipment or media.

         e.   Failure of electronic data processing equipment or media to correctly recognize, interpret, calculate,
              compare, differentiate, sequence, access or process data involving one or more dates or times.

D. PROPERTY DAMAGE COVERAGES AND LIMITATIONS

    We provide the following PROPERTY DAMAGE COVERAGES AND LIMITATIONS for a covered loss as
    specified in the LIMITS OF LIABILITY Table in the Declarations, subject to the terms, conditions and exclusions
    of this Policy.

    1.   ACCOUNTS RECEIVABLE

         a.   We cover the following resulting from a covered loss to accounts receivable records located while
              anywhere within the Policy territory, including while in transit:

              (1) Any shortage in the collection of accounts receivable,

              (2) The interest charges on any loan to offset such impaired collection pending repayment of such
                  uncollectible sum. Unearned interest and service charges on deferred payment accounts and
                  normal credit losses on bad debts will be deducted in determining the amount recoverable.

              (3) The reasonable and necessary cost incurred for material and time required to re-establish or
                  reconstruct accounts receivable records excluding any costs covered by any other insurance.

              (4) Any other necessary and reasonable costs incurred to reduce the loss, to the extent the losses are
                  reduced,

         b.   Accounts receivable records include records stored as electronic data. In the event of loss, you will:

              (1) Use all reasonable efforts, including legal action, if necessary, to effect collection of outstanding
                  accounts receivable,

              (2) Reduce the loss by use of any property or service owned or controlled by you or obtainable from
                  other sources.

              (3) Reconstruct, if possible, accounts receivable records so that no shortage is sustained.

         c.   The settlement of loss will be made within ninety (90) days from the date of the covered loss. All
              amounts recovered by you on outstanding accounts receivable on the date of loss will belong and be
              paid to us up to the amount of loss paid by us. All recoveries exceeding the amount paid will belong to
              you

         d.   We do not cover shortage resulting from:

              (1) Bookkeeping, accounting or billing errors or omissions; or
              (2) Alteration, falsification, manipulation; or

              (3) Concealment, destruction or disposal, of accounts receivable records committed to conceal the
                  wrongful giving, taking, obtaining or withholding of money, securities or other property; but only to
                  the extent of such wrongful giving, taking, obtaining or withholding,

   2.    BRANDS AND LABELS




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       In the event of a covered loss to your branded or labeled merchandise, and we elect to take all or any
       part of that property, you may at our expense:

       a.   Stamp "salvage" on the property or its containers; or

       b.   Remove or obliterate the brands or labels,

       if doing so will not damage the property.

       You must re-label such property or its containers to be in compliance with any applicable law.

       CONTROL OF DAMAGED GOODS

       We grant control to you of physically damaged covered property consisting of finished goods manufactured
       by or for you as follows:

       a.   You will have full rights to the possession and control of damaged property in the event of physical
            damage to your covered property provided proper testing is done to show which property is
            physically damaged.

       b.   Using reasonable judgment, you will decide if the physically damaged covered property           can be
            reprocessed or sold.

       c.   Property you determine to be unfit for reprocessing or selling will not be sold or disposed of except by
            you, or with your consent.

            Any salvage proceeds received will reduce the recoverable loss.

       COURSE OF CONSTRUCTION

       a.   We cover direct physical loss or damage at a covered location to buildings or structures that you begin
            to construct during the Policy period,


       b.   We also cover materials, supplies, machinery, equipment and fixtures:

            (1) At a covered location and intended for installation in the new construction;

            (2) After such property has been delivered to you or your contractor, and while such property is
                located offsite at a storage location; or

            (3) After such property has been delivered to you or your contractor, and while such property is in
                transit from a storage location to another storage location or to a covered location.

      c.    This coverage only applies to the construction of covered property you intend to own or occupy
            once constructed.

      d.    This coverage does not apply to any property owned or rented by any contractor or subcontractor.

      DATA, PROGRAMS OR SOFTWARE

      a.    We cover direct physical loss or damage to your electronic data, computer programs or software,
            including direct physical loss or damage caused by the malicious introduction of a machine code or
            instruction, while anywhere within this Policy's territory, including:

            (1) The cost of the following reasonable and necessary actions taken by you provided such actions
                are taken due to actual insured physical loss or damage to electronic data, computer programs or
                software:


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                 (a) Actions to temporarily protect and preserve insured electronic data, computer programs or
                     software.

                 (b) Actions taken for the temporary repair of insured physical loss or damage to electronic data,
                     computer programs or software,

                 (c) Actions taken to expedite the permanent repair or replacement of such damaged property,

             (2) Your reasonable and necessary cost to temporarily protect or preserve covered electronic data,
                 computer programs or software against immediately impending direct physical loss or damage to
                 electronic data, computer programs or software. In the event that there is no direct physical loss
                 or damage, the costs covered under this item will be subject to the deductible that would have
                 applied had there been such direct physical loss or damage.

        b.   With respect to destruction, distortion or corruption caused by the malicious introduction of machine
             code or instruction, this PROPERTY DAMAGE COVERAGE AND LIMITATION will apply only when
             the qualifying period specified in the Qualifying Period Table in the Declarations is exceeded,

        c.   Any amounts recoverable under this PROPERTY DAMAGE COVERAGE AND LIMITATION are
             excluded from coverage elsewhere in this Policy.

        d.   This PROPERTY DAMAGE COVEF?AGE AND LIMITATION excludes loss or damage to electronic
             data, computer programs or software when they are stock in process, finished stock manufactured by
             you, raw materials, supplies or other merchandise not manufactured by you,

        e.   With respect to this PROPERTY DAMAGE COVERAGE AND LIMITATION, the following additional
             exclusions apply:

             (1) Errors or omissions in processing or copying; and

             (2) Loss or damage to electronic data, computer programs or software from errors or omissions in
                 programming or machine instructions.


   6.   DEBRIS REMOVAL

        a.   We cover your reasonable and necessary costs to remove debris from a covered location that remains
             as a direct result of a covered loss.

        b.   This PROPERTY DAMAGE C O V E R A G E AND LIMITATION covers the costs of removal of
             contaminated covered property or the contaminant in or on covered property only if the
             contamination, due to the actual presence of contaminant(s), results from a covered loss.

        c.   This PROPERTY DAMAGE COVERAGE AND LIMITATION does not cover the costs of removal of:

             (1) Contaminated uninsured property; or

             (2) The contaminant in or on uninsured property,

             whether or not the contamination results from a covered loss.

   7.   DECONTAMINATION COSTS

        a.   We cover your decontamination costs directly resulting from a covered loss at a covered location
             subject to the following conditions:


             (1) These decontamination costs must be a direct result of enforcement of the law or ordinance that


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                  is in force at the time of the loss regulating decontamination; and

             (2) The amount we cover inciudes the increased cost to remove your contaminated covered
                 property to comply with the law or ordinance.

        b. We do not cover costs required for removing contaminated uninsured property or the contaminant
           therein or thereon, whether or not the contamination resulted from a covered loss.

   8.   DEFENSE FOR PERSONAL PROPERTY OF OTHERS

        a.   We cover the cost to defend that part of any suit against you alleging direct physical loss or damage of
             the type insured by this Policy to personal property of others ofthe type insured by this Policy, in your
             custody, and while at a covered location. We may without prejudice undertake any investigation,
             negotiation or settlement of any such claim or suit as we deem appropriate.

        b.   We do not cover the cost to defend any suit against you when you are acting as a warehouseman,
             bailee for hire, or earner for hire.

   9.   DEFERRED PAYMENTS

        a.   We cover direct physical loss or damage to personal property of the type insured by this Policy sold
             by you under a conditional sale or trust agreement or any installment or deferred payment plan and
             after such property has been delivered to the buyer. Coverage is limited to the unpaid balance for such
             property. In the event of loss to property sold under deferred payment plans, you will use all reasonable
             efforts, including legal action, if necessary, to effect collection of outstanding amounts due or to regain
             possession of the property.

        b.   We do not cover loss:

             (1) Pertaining to products recalled including your costs to recall, test or to advertise such
                 recall.

             (2) From theft or conversion by the buyer of the property after the buyer has taken
                 possession of such property.

             (3) To the extent the buyer continues payments.

             (4) Not within this Policy's territory.

   10. DEMOLITION AND INCREASED COST OF CONSTRUCTION

        a.   We cover your reasonable and necessary costs that are described in Item b. below, actually incurred
             to satisfy the minimum requirements of the enforcement of any law or ordinance regulating the
             demolition, construction, repair, replacement or use of covered property consisting of buildings,
             structures, machinery and equipment at a covered location, provided:

             (1) Such law or ordinance is in force on the date of the covered loss;

             (2) Its enforcement is a direct result of a covered loss; and

             (3) The buildings, structures, machinery and equipment were in compliance with such law or
                 ordinance, regardless of any lack of enforcement, prior to the covered loss.

        b.   This PROPERTY DAMAGE COVERAGE AND LIMITATION, as respects the property insured in Item
             a. above, covers:

             (1) The cost incurred to demolish, repair or rebuild the physically damaged portion of such property
                 with materials and in a manner to satisfy such law or ordinance; and


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             (2) The cost incurred:

                 (a) To demolish the physically undamaged portion of such property insured; and

                 (b) To rebuild it with materials and in a manner to satisfy such law or ordinance,

                 when the demolition of the physically undamaged portion of such property is required to satisfy
                 such law or ordinance, as a result of a covered loss.

        c.   This PROPERTY DAMAGE COVEF^GE AND LIMITATION excludes any costs incurred as a result of
             the enforcement of any law or ordinance regulating pollution.

        d.   The amount we cover for this PROPERTY DAMAGE COVERAGE AND LIMITATION at each covered
             location in any one (1) occurrence wil! not exceed the actual cost incurred in demolishing the
             physically damaged and undamaged portions of the property covered in item a. above plus:

             (1) If rebuilt on the same site, the actual cost incurred in rebuilding there; or

             (2) If rebuilt on another site, the lesser of:

                 (a) The actual cost incurred in rebuilding on the other site, excluding the cost of land; or

                 (b) The cost that would have been incurred to rebuild on the same site.

    11. ERRORS AND OMISSIONS

        a.   If direct physical loss or damage is not covered under this Policy solely because of an error or
             unintentional omission made by you:

             (1) In the description of where covered property is physically located; or

             (2) To include any location:

                 (a) Owned, rented or leased by you on the effective date of this Policy; or

                 (b) Purchased, rented or leased by you during the term ofthe Policy; or

             (3) That results in termination of the coverage provided by this Policy, except for cancellation due to
                 nonpayment of premium,

             we cover the amount we would have paid, including any TIME ELEMENT loss, had the error or
             omission not been made.

        b.   This coverage does not apply to the failure to report values, or the reporting of inaccurate values of
             covered property


       c.    This PROPERTY DAMAGE COVERAGE AND LIMITATION does not apply if coverage is provided
             elsewhere in this Policy.

       d.    You must report such errors or unintentional omissions to us in writing as soon as they are discovered.

    12. EXPEDITING EXPENSE

       a.    We cover your reasonable and necessary costs:

             (1) For the temporary repair of covered property from a covered loss; and


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             (2) To expedite the permanent repair or replacement of such damaged property.

        b.   This PROPERTY DAMAGE COVERAGE AND LIMITATION does not cover costs recoverable
             elsewhere in this Policy, including the cost of permanent repair or replacement of damaged property.

    13. FINEARTS

        a.   We cover direct physical loss or damage to your fine arts while anywhere within this Policy's territory,
             including while in transit.

        b.   The following additional exclusions apply:

             We do not cover;

             (1) Loss or damage sustained from any repair, restoration, or retouching process;

             (2) Breakage of art glass windows, statuary, marble, glassware, bric-a-brac, porcelains, and similar
                 fragile articles, unless caused by fire, lightning, aircraft, theft and or attempted theft, windstorm,
                 EARTH MOVEMENT, FLOOD, explosion, vandalism, collision, derailment or overturn of
                 conveyance.

    14. FIRE DEPARTMENT SERVICE CHARGES

        We cover the reasonable and necessary:

        a.   Fire department firefighting charges imposed as a result of responding to a fire in, on or exposing the
             covered property.

        b.   Costs incurred by you to restore and recharge fire protection systems following a covered loss.


    15. LAND AND WATER CLEANUP, REMOVAL AND DISPOSAL

        a.   For uninsured property at a covered location consisting of land, water, or any other substance in or on
             land or water at a covered location, we cover your reasonable and necessary cost for the cleanup,
             removal and disposal of the actual presence of contaminant(s) from that property if the release,
             discharge or dispersal of such contaminant(s) is a result of a covered loss.

        b.   This PROPERTY DAMAGE COVERAGE AND LIMITATION does not apply:

             (1) At any location insured for personal property only;

             (2) At any location, or to any property, covered under the NEWLY ACQUIRED LOCATIONS or
                 ERRORS AND OMISSIONS coverages provided by this Policy or at a Miscellaneous Unnamed
                 Location; or

             (3) If you fail to give us written notice within one hundred eighty (180) days after the loss.

    16. MISCELLANEOUS PERSONAL PROPERTY

       a.    We cover direct physical loss or damage, that occurs away from a covered location but within the
             Policy's territory, to personal property of the type covered under this Policy, which is:

             (1) Owned by you; or

             (2) Owned by others and in y o u r care, custody and control, but only to the extent you are obligated to
                 insure it for direct physical loss or damage under the type of coverage provided under this Policy,

        b.   This PROPERTY DAMAGE COVERAGE AND LIMITATION excludes coverage that is provided


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              elsewhere in this Policy.

    17. NEWLY ACQUIRED LOCATIONS

        a.    We cover physical loss or damage to property of the type insured from a loss of the type insured at any
              location you purchase, lease or rent after the inception date of this Policy.
        b.    This PROPERTY DAMAGE COVERAGE AND LIMITATION applies:

              (1) From the date of purchase, lease or rental,

              (2) Until the first of the following occurs:

                  (a) The location is bound by us;

                  (b) Agreement is reached that the location will not be insured under this Poticy; or

                  (c) The time limit specified in the LIMITS OF LIABILITY Table in the Dedarations has been reached.
                      The time limit begins on the date of purchase, lease or rental.

    18. OFF PREMISES INTERRUPTION OF SERVICES - PROPERTY DAMAGE

        a.    We cover physical loss or damage to covered property at a covered location when such physical loss
              or damage results from:

              (1) The interruption of incoming services consisting of electricity, gas, fuel, steam, water, refrigeration,
                  voice, data, video; or

              (2) The interruption of outgoing sewerage service,

              by reason of a loss of the type insured by this Policy at the facilities of the supplier of such service
              located within this Policy's territory, that immediately prevents in whole or in part the delivery of such
              usable service.

        b.    This PROPERTY DAMAGE COVERAGE AND LIMITATION will apply only when the interruption
              exceeds the qualifying period specified in the Qualifying Period Table in the Declarations.

        c.    For purposes of this PROPERTY DAMAGE COVERAGE AND LIMITATION, the period of service
              interruption is the period starting with the time when an interruption of specified services occurs; and
              ending when the service could be wholly restored.

        d.    Additional General Provisions:

              (1) You will immediately notify the suppliers of services of any interruption of any such services.

              (2) We will not be liable if the interruption of such services is caused directly or indirectly by your failure
                  to comply with the terms and conditions of any contracts you have for the supply of such specified
                  services.


        e.    We do not cover loss or damage caused by or resulting from the use of services provided by or through
              a satellite.

        f.    Exclusion C.3.e. does not apply to this PROPERTY DAMAGE COVERAGE AND LIMITATION.



    19. PROFESSIONAL FEES



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        a.   We cover your reasonable costs for your employees or auditors, architects, accountants and
             engineers whom you hire to prepare and verify the details of a claim from a covered loss.

        b.   Professional fees covered under this PROPERTY DAMAGE COVERAGE AND LIMITATION, however,
             do not include:

             (1) Any fees or expenses of attorneys;

             (2) Any fees or expenses of public adjusters, loss appraisers or any of their subsidiaries or associated
                 entities;

             (3) Fees based on a contingency; or

             (4) Fees of loss consultants who provide consultation on coverage or negotiate claims.

        c.   This PROPERTY DAMAGE COVEF^GE AND LIMITATION is subject to the deductible that applies to
             the loss.

    20. PROTECTION AND PRESERVATION OF PROPERTY
        a.   We cover your reasonable and necessary costs to temporarily protect or preserve covered property
             provided such actions are necessary due to actual, or to prevent immediately impending threat of,
             physical loss or damage of the type covered by this Policy to such covered property.

        b.   This PROPERTY DAMAGE COVERAGE AND LIMITATION is subject to the deductible provisions that
             would have applied had the physical loss or damage happened.

    21. RADIOACTIVE CONTAMINATION

        a.   We cover radioactive contamination to property of the type insured by this Policy from a covered
             loss.

             Radioactive contamination is:

             (1) Sudden and accidental radioactive contamination; or

             (2) Resultant radiation damage to covered property,

             provided that such radioactive contamination arises out of radioactive materia! al a covered location
             and is used as part of your business activities.

        b.   We do not cover radioactive contamination if:

             (1) The covered location contains:

                 (a) A nuclear reactor capable of sustaining nuclear fission in a self-supporting chain reaction; or

                 (b) Any new or used nuclear fuel intended for or used in such a nuclear reactor,

             (2) The contamination arises from radioactive material located away from a covered location,

   22. TAX LIABILITY

       We cover your increase in tax liability from a covered loss at a covered location if the tax treatment of:

       a.    The profit portion of a loss payment involving finished stock manufactured by you; and/or

       b.    The profit portion of a TIME ELEMENT loss payment;


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      is greater than the tax treatment of profits that would have been incurred had no loss happened.

   23. TEMPORARY REMOVAL OF PROPERTY
      a.   When covered property is removed from a covered location for the purpose of being repaired or
           serviced or in order to avoid threatened physical loss or damage of the type insured by this Policy, we
           cover such property:

           (1) While at the premises to which such covered property has been moved; and

           (2) For direct physical loss or damage of the type insured by this Policy at the covered location from
               which such covered property was removed.

      b.   This PROPERTY DAMAGE COVERAGE AND LIMITATION does not apply:

           (1) To covered property removed for normal storage, processing or preparation for sale or delivery;
               or

           (2) If coverage is provided elsewhere in this Policy or by any other insurance policy.

   24. TRANSIT

      a.   We cover personal property not excluded elsewhere in this Policy while it is in transit within the
           Policy's territory:

           (1) Owned by you.

           (2) Shipped to customers under Free on Board (F O B) shipments, Free-Along-Side (F.A.S) shipments
               and Returned shipments. Your contingent interest is admitted.

           (3) Of others in your actual or constructive custody to the extent of your interest or legal liability.

           (4) Of others sold by you and you agreed prior to the loss to insure the personal property during
               course of delivery including:

               (a) When shipped by your contract service provider or by your contract manufacturer to you or to
                   your customer; or

               (b) When shipped by your customer to you or to your contract service provider or to your contract
                   manufacturer.

      b.   This PROPERTY DAMAGE COVERAGE AND LIMITATION starts from the time the property leaves
           the original point of shipment for transit, and continues while in the due course of transit until delivered,
           subject to the following conditions:


           (1) Coverage on export shipments not insured under ocean cargo policies ends when the property is
               loaded on board overseas vessels or aircraft. Coverage on import shipments not insured under
               ocean cargo policies begins after discharge from overseas vessels or aircraft.

           (2) If this PoHcy expires during the due course of transit, coverage is extended until the shipment is
               delivered to its final destination.

      c.   We also cover:

           (1) General average and salvage charges on shipments covered while waterborne; and

           (2) Direct physical loss or damage caused by or resulting from:


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                 (a) Unintentional acceptance of fraudulent bills of lading, shipping or messenger receipts.

                 (b) Improper parties having gained possession of property through fraud or deceit.

        d.   Additional General Provisions:

             (1) This PROPERTY DAMAGE COVERAGE AND LIMITATION will not inure directly or indirectly to
                 the benefit of any carrier or bailee.

             (2) You have permission, without prejudicing this insurance, to accept:

                 (a) Ordinary bills of lading used by carriers;

                 (b) Released bills of lading;

                 (c) Undervalued bills of lading; and

                 (d) Shipping or messenger receipts.

             (3) You may waive subrogation against railroads under side track agreements.

             (4) Except as otherwise stated, you will not enter into any special agreement with carriers releasing
                 them from their common law or statutory liability.

        e.   As respects this PROPERTY DAMAGE COVERAGE AND LIMITATION:

             (1) The following additional exclusions apply:

                 This Policy excludes:

                 (a) Samples in the custody of salespeople or selling agents.

                 (b) Property insured under import or export ocean marine insurance.

                 (c) Waterborne shipments, unless:

                     (1) By inland water; or

                     (ii) By roll-on/roll-off ferries; or

                     (iii) By coastal shipments.

                 (d) Airborne shipments unless by reguiarty scheduled passenger airtines or air freight carriers.


                 (e) Property of others, including your legal liability for it, hauled on vehicles owned, leased or
                     operated by you when acting as a common or contract carrier.

                 (f) Any transporting vehicle

                 (g) Property shipped between continents except by land or air within the Policy territory,

       f.    We will value property covered under this PROPERTY DAMAGE COVERAGE AND LIMITATION as
             follows:




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             (1) Property shipped to or for your account will be valued at actual invoice to you. Included in the
                 value are accrued costs and charges legally due. Charges may include your commission as selling
                 agent.

             (2) Property sold by you and shipped to or for the purchaser's account will be valued at your selling
                 invoice amount. Prepaid or advanced freight costs are included.

             (3) Property not under invoice wilt be valued:

                 (a) For your property, according to the valuation provisions of this Policy applying at the place
                     from which the property is being transported; or

                 (b) For other property, at the actual cash value at the destination point on the date of loss, less
                     any charges saved which would have become due and payable upon arrival at destination.

    25. VALUABLE PAPERS AND R E C O R D S

        a.   We cover physical loss or damage to your valuable papers and records from a covered loss at a
             covered location. We cover the value blank, plus the cost of copying from backup or from originals of
             a previous generation, and your reasonable and necessary costs to research, replace or restore the
             information lost or damaged thereon, except for electronic data and software. For electronic data
             and software, we cover the value of the blank media, and the cost of reproducing the electronic data
             and software from duplicates or originals of the previous generation of the data.

        b.   This coverage does not apply to loss or damage to property that cannot be repaired or restored with
             like kind or quality.




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                                        SECTION III - TIME ELEMENT

TIME ELEMENT loss as provided in the TIME ELEMENT COVERAGES and TIME ELEMENT COVERAGES AND
LIMITATIONS:

A.   Is subject to and part of the applicable LIMIT OF LIABILITY that applies to your direct physical loss or damage
     but in no event for more than any LIMIT OF LIABILITY that is stated as applying to the specific TIME ELEMENT
     COVERAGE and/or TIME ELEMENT COVERAGES AND LIMITATIONS; and

B. Will not increase the POLICY LIMIT OF LIABILITY and is subject to the Policy provisions, including applicable
   exclusions and deductibles,

all as shown in this section and elsewhere in this Policy.

A.   LOSS INSURED

     1.   We cover your actual loss sustained, as provided in the TIME ELEMENT COVEF?AGES and TIME
          ELEMENT COVEF?AGES AND LIMITATIONS, directly resulting from a loss of the type insured by this
          Policy:

          a.    To property described elsewhere in this Policy and not otherwise excluded by this Policy,

          b.    Used by you, or by others with whom you have a contract,

          c.    At a covered location or while in transit as provided by this Policy,

          d.    During the applicable PERIOD OF LIABILITY described in this section.

     2.   We cover TIME ELEMENT loss only to the extent it cannot be reduced through:

          a.    The use of any property or service owned or controlled by you;

          b.    The use of any property or service obtainable from other sources;

          c.    Working extra time or overtime; or

          d.    The use of inventory,

          all whether at a covered location or at any other location. When measuring the actual loss sustained, the
          combined operating results of all of your associated, affiliated or subsidiary companies will be considered
          in determining the TIME ELEMENT loss.

     3.   We cover your reasonable and necessary expenses to reduce the loss otherwise payable under this
          section of this Policy. The amount of those recoverable expenses will not exceed the amount by which the
          insured loss has been reduced.

     4.   In determining the insured TIME ELEMENT loss, we will consider the experience of the business before
          and after and the probable experience during the PERIOD OF LIABILITY We will consider any increase or
          decrease in demand for your goods or services during the PERIOD OF LIABILITY, even if such increase
          or decrease is from the same event that caused the covered loss,

B. TIME ELEMENT           COVERAGES

     1.   GROSS EARNINGS

          a.    GROSS EARNINGS loss is the actual loss sustained by you due to the necessary interruption of
                your business during the PERIOD OF LIABILITY of the following:


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             Gross Earnings less all charges and expenses that do not necessarily continue during the interruption
             of production or suspension of business operations or services, plus all other earnings derived from the
             operation of the business.

             Ordinary payroll, including taxes and charges dependent on the payment of wages, for a period of
             time not to exceed the number of consecutive days as specified in the LIMITS OF LIABILITY in the
             Declarations table immediately following the interruption of production or suspension of business
             operations or services, and only to the extent such payroll continues following the loss and would have
             been earned had no such interruption happened.

             However, if you reduce the daily loss payable under ordinary payroll, either by:

                       (1) providing gainful employment for, or

                       (2) paying less than the normal salary rate to,

             all or part of its employees, then the number of consecutive days of ordinary payroll may be extended.
             However, this provision will not increase our total liability beyond the amount we would have been
             liable for ordinary payroll costs without this provision.

             Ordinary payroll does not cover any portion of salaries or wages included in Gross Earnings.

        b.   GROSS EARNINGS will be calculated as follows:

             (1) For manufacturing operations: the net sales value of production less the cost of all raw stock,
                 materials and supplies used in such production; or

             (2) For mercantile or non-manufacturing operations: the total net sales less the cost of merchandise
                 sold, materials and supplies consumed in the operations or services rendered by you.

             Any amount payable at selling price will be considered to have been sold to your regular customers
             and will be credited against net sales,


        c.   In determining the amount we cover as the actual loss sustained, we will consider the continuation of
             only those charges and expenses that would have been earned had there been no interruption of
             production or suspension of business operations or services.

        d.   If you would have operated at a deficit had no interruption of production or suspension of business
             operations or services occurred, the following applies:

             (1) For Gross Earnings, the extent to which charges and expenses would have been earned will be
                 determined by subtracting the operating deficits from the charges and expenses that necessarily
                 continue.

             (2) For ordinary payroll, the extent payroll would have been earned will be determined by
                 subtracting the excess, if any, of the operating deficit over the fixed charges that need to continue
                 from such payroll.

        e.   We cover TIME ELEMENT loss only to the extent that you are:

             (1) Wholly or partially prevented from producing goods or continuing business operations or services;

             (2) Unable to make up lost production within a reasonable period of time, not limited to the period
                 during which production is interrupted;

             (3) Unable to continue your operations or services during the PERIOD OF LIABILITY; and


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              (4) Able to demonstrate a loss of sales for the operations, services or production prevented.

    2.   EXTRA EXPENSE

         a.   We cover your reasonable and necessary extra costs of the following incurred during the PERIOD
              OF LIABILITY applicable:

              (1) To temporarily continue as nearly normal as practicable the conduct of your business; and

              (2) The temporary use of property or facilities of yours or others.

         b.   We will reduce any recoverable loss under this coverage for any value remaining of any property
              used to temporarily continue your business.

         c.   EXTRA EXPENSE does not include:

              (1) Any loss of income.

              (2) Costs that would have been incurred in conducting the business during the same period had no
                  physical loss or damage happened.

              (3) Costs of permanent repair or replacement of property that has been damaged or destroyed.

              (4) Any expense recoverable elsewhere in this Policy.

    3.   LEASEHOLD INTEREST

         a.   We cover the following:

              (1) If the lease agreement requires continuation of rent as a result of a covered loss, and if the
                  covered property is wholly or partially untenantable or unusable, the actual rent payable while the
                  covered property is untenantable or until the lease is terminated, but not exceeding the unexpired
                  term of the lease.

              (2) If the covered property is partially untenantable, we cover the proportion of the lease payment for
                  that portion of the untenantable covered property.

         b.   If the lease is cancelled by the lessor pursuant to the lease agreement or by the operation of law, we
              cover the additional cost to rent similar space for the unexpired term of the lease for the damaged
              property. That loss will be computed at present value, compounded annually at the prime rate plus 2%,
              as published in the Wall Street Journal on the date the lease terminated. The additional cost will
              consider the excess rent paid for the same or similar replacement property over actual rent of the
              original lease, plus cash bonuses or advance rent paid (including maintenance or operating charges)
              for each month during the unexpired term of the lease.

         c.   As respects LEASEHOLD INTEREST, the following applies:

              (1) We do not cover loss directly resulting from physical loss or damage to personal property.

              (2) TIME ELEMENT EXCLUSIONS D.I., D.2. and D.3. do not apply and the following applies
                  instead:

                  We do not cover any increase in loss resulting from the suspension, lapse or cancellation of any
                  license, or from you exercising an option to cancel the lease: or from any act or omission by you
                  that constitutes a default under the lease.

   4.    RENTAL INSURANCE


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         a.   We cover your actual loss sustained of rental income during the PERIOD OF LIABILITY for:

              (1) The fair rental value of any portion of rental property occupied by you;

              (2) The income reasonably expected from rentals of unoccupied or unrented portions of such
                  property; and

              (3) The rental income from the rented portions of such property according to written leases, contracts
                  or agreements in force at the time of loss,

              all not to include non-continuing charges and expenses.

         b.   RENTAL INSURANCE Exclusions: As respects RENTAL INSURANCE, TIME ELEMENT
              EXCLUSIONS D.1. does not apply and the following applies instead:

              We do not cover any loss of rental income during any period in which the covered location would not
              have been tenantable for any reason other than a covered loss.

C. PERIOD OF LIABILITY

    1.   The PERIOD OF LIABILITY applying to CONTINGENT TIME ELEMENT, GROSS EARNINGS, EXTRA
         EXPENSE and RENTAL INSURANCE is as follows:

         a.   For building and equipment, the period:

              (1) Starting from the time of physical loss or damage of the type insured; and

              (2) Ending when with due diligence and dispatch the building and equipment could be:

                  (a) Repaired or replaced; and

                  (b) Made ready for operations,

                  under the same or equivalent physical and operating conditions that existed prior to the damage.

              (3) Not to be limited by the expiration of this Policy.

         b.   For building(s) and equipment covered under COURSE OF CONSTRUCTION:

              (1) The equivalent of the above period of time will be applied to the level of business that would have
                  been reasonably achieved after construction and startup would have been completed had no
                  physical damage happened; and

              (2) Due consideration will be given to the actual experience of the business after completion of the
                  construction and startup.

    2.   The PERIOD OF LIABILITY for GROSS EARNINGS and EXTRA EXPENSE also includes the following:

         a.   For stock-in-process and mercantile stock, including finished goods not manufactured by you, the time
              required with the exercise of due diligence and dispatch:

              (1) To restore stock in process to the same state of manufacture in which it stood at the inception of
                  the interruption of production or suspension of business operations or services; and

              (2) To replace physically damaged mercantile stock.

         b.   For raw materials and supplies, the period of time:


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              (1) Of actual interruption of production or suspension of operations or services resulting from the
                  inability to get suitable raw materials and supplies to replace similar ones damaged; but

              (2) Limited to that period for which the damaged raw materials and supplies would have supplied
                  operating needs.

         c.   Impounded Water:

              (1) Used for any manufacturing purpose, including as a raw material or for power;

              (2) Stored behind dams or in reservoirs; and

              (3) On any covered location,

               that is released as the result of physical damage of the type insured to such dam, reservoir or
               connected equipment, our liability for the actual interruption of production or suspension of operations
               or services due to inadequate water supply will not extend beyond the number of consecutive days,
               not to exceed the LIMIT OF LIABILITY specified in the Declarations after the damaged dam, reservoir
               or connected equipment has been repaired or replaced,

         d.   For physically damaged exposed films, records, manuscripts and drawings, the time required to copy
              from backups or from originals of a previous generation. This time does not include research,
              engineering or any other time necessary to restore or recreate lost information.

         e.   For physically damaged or destroyed property covered under DATA, PROGRAMS OR SOFTWARE,
              the time to recreate or restore including the time for researching or engineenng lost information.

    3.   The PERIOD OF LIABILITY applying to GROSS PROFIT is as follows:

         a.   The period starting from the time of physical loss or damage of the type insured and ending not later
              than the period of time specified in the LIMITS OF LIABILITY Table in the Declarations during which
              period the results of the business shall be directly affected by such damage, not to be limited by the
              expiration of this Policy.

         b.   For property under construction, the period starting on the date that production, business operation or
              service would have commenced if physical damage of the type insured had not happened and ending
              not later than the period of time specified in the LIMITS OF LIABILITY Table in the Declarations, during
              which period the results of the business shall be directly affected by such damage, not to be limited by
              the expiration of this Policy.

         The Rafe of Gross Profit and Standard Sales will be based on the experience of the business after
         construction is completed and the probable experience during the PERIOD OF LIABILITY.


   4.    The PERIOD OF LIABILITY does not include any additional time due to your inability to resume
         operations for any reason, including:

         a.   Making changes to equipment;

         b.   Making changes to the buildings or structures except as provided in the DEMOLITION AND
              INCREASED COST OF CONSTRUCTION clause in the PROPERTY DAMAGE section; and

         c.   Re-staffing or retraining employees.

         If two or more PERIODS OF LIABILITY apply, such periods will not be cumulative.

D. TIME ELEMENT EXCLUSIONS



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     In addition to the exclusions elsewhere in this Policy, the following exclusions apply to TIME ELEMENT loss:

    1.   Any loss during any idle period, including but not limited to when production, operation, service or delivery
         or receipt of goods would cease, or would not have taken place or would have been prevented due to:

         a.   Physical loss or damage not insured by this Policy on or off of the covered location.

         b.   Planned or rescheduled shutdown.

         c.   Strikes or other work stoppage.

         d.   Any reason other than physical loss or damage insured under this Policy.

    2.   Any increase in loss due to:

         a.   Suspension, cancellation or lapse of any lease, contract, license or orders.

         b.   Damages for breach of contract or for late or noncompletion of orders.

         c.   Fines or penalties.

         d.   Any other consequential or remote loss.

    3.   Any loss resulting from physical loss or damage to finished goods manufactured by you, or the time
         required for their reproduction.

E. TIME ELEMENT COVERAGES AND LIMITATIONS

    TIME ELEMENT COVEF?AGES are extended to include the following, subject to all Policy terms, conditions
    and exclusions, and the time, distance and/or dollar amounts specified in the LIMITS OF LIABILITY Table in
    the Declarations:

    1.   ATTRACTION       PROPERTY

         a.   We cover your actual loss sustained and EXTRA EXPENSE resulting from loss or damage of the type
              insured by this Policy to property of the type insured at an attraction property within the number of
              statute miles specified in the LIMITS OF LIABILITY Table in the Declarations and during the period of
              time that:

              (1) Starts at the time such physical loss or damage happens;

              (2) Ends when the attraction property is:

                  (a) Repaired or replaced; and

                  (b) Made ready for operations

         b.   As used in this TIME ELEMENT COVERAGE AND LIMITATION, the term attraction property is a
              property that:

              (1) Is operated by others; and

              (2) You depend on to attract customers to your covered location.

   2.    CIVIL OR MILITARY AUTHORITY

         a.   We cover your actual loss sustained and EXTRA EXPENSE during the period of interruption if an order
              of civil or military authority prohibits access to a covered location provided such order is caused by



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              physical loss or damage of the type insured by this Policy at a covered location or within the number
              of statute miles specified in the LIMITS OF LIABILITY Table in the Declarations.

         b.   This TIME ELEMENT COVERAGE AND LIMITATION does not apply to LEASEHOLD INTEREST.

         c.   The period of interruption for this TIME ELEMENT COVERAGE AND LIMITATION will be the penod of
              time:

              (1) Starting at the time of such direct physical loss or damage; and

              (2) Continuing until the order is lifted, or the time limit specified in the LIMITS OF LIABILITY Table in
                  the Declarations expires, whichever happens first.

              This period of time is part of and not in addition to any PERIOD OF LIABILITY applying to any coverage
              provided in the TIME ELEMENT section.

    3.   COMPUTER SYSTEMS NON PHYSICAL DAMAGE

         a.   We cover your actual loss sustained and EXTRA E X P E N S E during the PERIOD OF LIABILITY directly
              resulting from the failure of your electronic data processing equipment or media to operate, provided
              that such failure is the direct result of a malicious act directed at you.

         b.   This TIME ELEMENT COVERAGE AND LIMITATION will apply only when the period of intermption is
              in excess of the qualifying period specified in the Qualifying Period Table in the Declarations.

         c.   As used above, the period of interruption:

              (1) Is the period starting when your electronic data processing equipment or media fails to operate
                  and ending when with due diligence and dispatch, your electronic data processing equipment
                  or media could be restored to the same or equivalent operating condition that existed prior to the
                  failure.

              (2) Does not include the additional time to make changes to your electronic data processing
                  equipment or media.

   4.    CONTINGENT TIME ELEMENT

         a.   We cover your actual loss sustained and EXTRA EXPENSE during the PERIOD OF LIABILITY directly
              resulting from physical loss or damage ofthe type insured by this Policy at Direct Dependent Time Element
              Location(s) and Indirect Dependent Time Element Location(s) located within the territory of this Policy.

         b.   You agree to take every reasonable and necessary action to mitigate the loss payable hereunder.




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         c.   As used in this Policy, Direct Dependent Time Element Location(s) are:

              (1) Any location(s) of a direct: customer, supplier, contract manufacturer or contract service provider to
                  you; or

              (2) Any location(s) of any company under a royalty, licensing fee or commission agreement with you.

              Direct Dependent Time Element Location(s) does not include location(s) that are covered location(s)
              under this Policy or the location(s) of any company directly or indirectly supplying to, or receiving from
              you, electricity, fuel, gas, water, steam, refrigeration, sewage, voice, data or video.

         d.   As used in this Policy, Indirect Dependent Time Element Location(s) are:

              (1) Any location(s) of any company that is a direct: customer, supplier, contract manufacturer or contract
                  service provider to your Direct Dependent Time Element Location(s)

              Indirect Dependent Time Element Location(s) does not include location(s) that are covered location(s)
              under this Policy or the location(s) of any company directly or indirectly supplying to, or receiving from,
              the Direct Dependent Time Element Location(s) or the Indirect Dependent Time Element
              Location(s), electricity, fuel, gas, water, steam, refrigeration, sewage, voice, data or video.

         e.   As respects CONTINGENT TIME ELEMENT:

              (1) Exclusion D.3 in the TIME ELEMENT EXCLUSIONS does not apply.

    5.   CRISIS MANAGEMENT

         a.   We cover your actual loss sustained and EXTRA EXPENSE during the PERIOD OF LIABILITY if an
              order of civil or military authority prohibits access to a covered location, but only if such order is a direct
              result of a violent crime, suicide, attempted suicide or armed robbery at such covered location.

         b.   As respects this TIME ELEMENT COVERAGE AND LIMITATION, coverage applies:

              (1) Only when the PERIOD OF LIABILITY is in excess of the qualifying period specified in the
                  Qualifying Period Jab\e in the Declarations; and

              (2) For up to the number of consecutive days specified in the LIMITS OF LIABILITY Table in the
                  Declarations, not to exceed the specified LIMIT OF LIABILITY.

              The PERIOD OF LIABILITY is the period of time when the time the civil or military authonty prohibits
              access and continuing until the order is lifted, or the time limit specified in the LIMITS OF LIABILITY
              Table in the Declarations expires, whichever happens first.

    6.   DELAY IN STARTUP

         We cover your actual loss sustained and EXTRA EXPENSE dunng the PERIOD OF LIABILITY due to the
         reasonable and necessary delay in startup of business operations resulting directly from physical loss or
         damage to covered property as provided under COURSE OF CONSTRUCTION.

    7.   EXTENDED PERIOD OF LIABILITY

         a.   We cover the GROSS EARNINGS loss sustained due to the reduction in sales resulting from:

              (1) The interruption of business;

              (2) Commencing with the date on which our liability for loss resulting from interruption of business
                  would terminate if this TIME ELEMENT COVERAGE AND LIMITATION had not been included in
                  this Policy; and


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              (3) Continuing for such additional length of time as would be required with the exercise of due diligence
                  and dispatch to restore your business to the condition that would have existed had no loss
                  occurred, but no longer than the number of consecutive days specified in the LIMITS OF LIABILITY
                  Table in the Declarations

        b.    Coverage under this TIME ELEMENT COVERAGE AND LIMITATION for the reduction in sales due to
              contract cancellation will include only those sales that would have been earned under the contract
              during the EXTENDED PERIOD OF LIABILITY described in Item 7.a. above.

        c.    As respects this TIME ELEMENT COVERAGE AND LIMITATION, Item D.2. in the TIME ELEMENT
              EXCLUSIONS in this section does not apply and the following applies instead:

                  This Policy does not insure against any increase in loss due to damages for breach of contract or
                  for late or non-completion of orders, or fines or penalties.

   8.   INGRESS/EGRESS

        a.    We cover your actual loss sustained and EXTF^ EXPENSE due to the necessary interruption of your
              business if ingress to or egress from a covered location is prevented, whether or not your premises
              or property is damaged, provided that such prevention is a direct result of physical loss or damage of
              the type insured to property of the type insured.

        b.    The period of interruption for this TIME ELEMENT COVERAGE AND LIMITATION will be the period of
              time starting at the time of such direct physical loss or damage, and continuing until ingress or egress
              is no longer prevented, or for the time limit specified in the LIMITS OF LIABILITY Table in the
              Declarations, whichever is less.

   9.   OFF PREMISES INTERRUPTION OF SERVICES - TIME ELEMENT

        a.    We cover your actual loss sustained and EXTRA EXPENSE during the period of service interruption
              at a covered location when the loss is caused by:

              (1) The interruption of incoming services consisting of electricity, gas, fuel, steam, water, refrigeration,
                  voice, data, video; or

              (2) The interruption of outgoing sewerage service,

              from physical loss or damage of the type insured, at the facilities of the supplier of such service located
              within this Policy's territory that immediately prevents in whole or in part the delivery of such usable
              services,

        b.    This TIME ELEMENT COVERAGE AND LIMITATION will apply only when the period of service
              interruption as described below is in excess of the qualifying period specified in the Qualifying Period
              Table in the Declarations.

        c.    The period of service interruption is:

              (1) The period starting with the time when an interruption of specified services occurs; and ending
                  when with due diligence and dispatch the service could be wholly restored and the location
                  receiving the service could have resumed normal operations following the restoration of service
                  under the same or equivalent physical and operating conditions that existed prior to the interruption
                  of such services;

              (2) Is limited to only those hours during which you could have used service(s) if it had been available;

              (3) Does not extend to include the interruption of operations caused by any reason other than
                  interruption of the specified service(s).
        d.    Additional General Provisions:


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             (1) You will immediately notify the suppliers of services of any interruption of any such services.

             (2) We will not be liable if the interruption of such services is caused directly or indirectly by your failure
                 to comply with the terms and conditions of any contracts you have for the supply of such specified
                 services.

        e.   We do not cover loss or damage caused by or resulting from the use of services provided by or through
             a satellite.

    10. ON PREMISES INTERRUPTION OF SERVICES - TIME ELEMENT

        a.   We cover your actual loss sustained and EXTRA E X P E N S E during the PERIOD OF LIABILITY directly
             resulting from direct physical loss or damage of the type insured to the following property located at or
             within one-thousand (1,000) feet of a covered location:

             (1) Electrical equipment and equipment used for the transmission of voice, data or video.

             (2) Electrical, fuel, gas, water, steam, refrigeration, sewerage, voice, data or video transmission
                 systems.

    11. PROTECTION AND PRESERVATION OF PROPERTY TIME ELEMENT

        a.   We cover your actual loss sustained for a period of time not to exceed forty eight (48) hours prior to
             and forty eight (48) hours after you first took reasonable action for the temporary protection and
             preservation of property insured by this Policy provided such action is necessary to prevent immediately
             impending physical loss or damage of the type insured to such covered property.

        b.   This TIME ELEMENT COVERAGE AND LIMITATION is subject to the deductible provisions that would
             have applied had the direct physical loss or damage occurred.

    12. RELATED LOCATIONS

        If you report values at related locations used by you (e.g. branch stores, retail outlets and other facilities),
        but such related locations are not listed on the latest Schedule of Covered Locations submitted to,
        accepted by and on file with us, and if a TIME ELEMENT loss results at such related locations due to
        covered loss, we cover such resulting TIME ELEMENT loss in accordance with the terms and conditions
        of this Policy.

    13. RESEARCH AND DEVELOPMENT

        a.   We cover your actual loss sustained of fixed charges and ordinary payroll directly attributable to the
             interruption of research and development project(s) that would not have produced income during the
             PERIOD OF LIABILITY resulting from a covered loss.

        b.   We cover these fixed charges only to the extent they continue after the covered loss and only during
             the PERIOD OF LIABILITY.

        c.   To the extent you are able to resume operations, we cover only that portion of the fixed charges related
             to that part of the research and development operation that has not yet been restored.

    14. SOFT COSTS

        a.   We cover your actual loss sustained of Soft Costs during the period of delay directiy resulting from a
             delay of completion of covered property under construction as provided under COURSE OF
             CONSTRUCTION as provided in the PROPERTY DAMAGE COVEF^GES AND LIMITATIONS.




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        b.   Soft Costs are costs over and above those that are normal at a covered location undergoing renovation
             or in the course of construction, limited to the following:

             (1) Construction loan fees - your additional cost to rearrange loans necessary for the completion of
                 construction, repairs or reconstruction including: the cost to arrange refinancing, accounting work
                 necessary to restructure financing, legal work necessary to prepare new documents, charges by
                 the lenders for the extension or renewal of loans necessary.

             (2) Commitment fees, leasing and marketing expenses - the cost of returning any commitment fees
                 received from prospective tenant(s) or purchaser(s), the cost of re-leasing and marketing due to
                 loss of tenant(s) or purchaser(s).

             (3) Additional fees for architects, engineers, consultants, attorneys and accountants needed for the
                 completion of construction repairs or reconstruction.

             (4) Property taxes, building permits, additional interest on loans, realty taxes and insurance premiums.

        0.   Period of delay is the period of time between:

             (1) The date on which the construction, alteration, extension or renovation would have been complete
                 in the absence of a covered loss to property under construction as provided under COURSE OF
                 CONSTRUCTION as provided in the PROPERTY DAMAGE COVERAGES AND LIMITATIONS;
                 and

             (2) The date on which construction, alteration, extension or renovation is actually complete.




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                                SECTION I V - DESCRIBED LOSSES

We only cover the following DESCRIBED LOSSES as specified in the LIMITS OF LIABILITY Table in the
Declarations, subject to the terms, conditions and exclusions of this Policy.

A. EARTH      MOVEMENT

    1.   We cover physical loss or damage to covered property, including TIME ELEMENT COVERAGES, TIME
         ELEMENT COVERAGES           AND LIMITATIONS       and PROPERTY         DAMAGE COVERAGES    AND
         LIMITATIONS as provided by this Policy, from a covered loss resulting from EARTH MOVEMENT.

    2.   Y o u may elect when the time specified in the OCCURRENCE TIME SPECIFICATIONS begins

    3.   EARTH MOVEMENT is:

         Earthquake, landslide, subsidence or sinking, rising or shifting of the earth, avalanche, whether natural or
         man-made, or volcanic eruption; regardless of any other cause or event contributing concurrently or in any
         other sequence of loss.

         However, physical loss or damage from fire, explosion, sprinkler leakage or FLOOD caused by EARTH
         MOVEMENTVJWI not be considered to be loss by EARTH MOVEMENTvj\\h\n the terms and conditions of
         this Policy.

B. EARTH MOUEME/VTSPRINKLER             LEAKAGE

    1.   We cover physical loss or damage to covered property, including TIME ELEMENT COVERAGES,               TIME
         ELEMENT COVERAGES AND LIMITATIONS and PROPERTY DAMAGE COVERAGES AND
         LIMITATIONS as provided by this Policy, resulting from sprinkler leakage caused by EARTH
         MOVEMENT

C. EOUIPMENT       BREAKDOWN

    1.   We cover physical loss or damage to covered property, including TIME ELEMENT COVERAGES, TIME
         ELEMENT COVERAGES           AND LIMITATIONS       and PROPERTY      DAMAGE COVERAGES          AND
         LIMITATIONS, as provided by this Policy if such loss or damage is caused by an accident to covered
         equipment.

         The coverage provided in this DESCRIBED LOSS is limited to loss or damage caused by an accident to
         covered equipment. We will not pay for physical loss or damage from any other cause under this
         DESCRIBED LOSS.

         The following coverages apply solely to Equipment Breakdown:

         a.   Spoilage Damage

              We cover physical loss or damage caused by change in temperature or humidity or by the interruption
              of power, heat, air-conditioning, or refrigeration as the result of an accident \o covered equipment.

         b.   Ammonia Contamination

              We cover physical loss or damage to covered property contaminated by ammonia, including any
              salvage expense as a direct result of an accident to covered equipment. No coverage for Ammonia
              Contamination  is available under DECONTAMINATION          COSTS with respects to an accident to
              covered equipmenL




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       Conditions

       a.   Suspension

            If coverage for Equipment Breakdown is provided by this Policy, and we discover a dangerous condition
            relating to an object, we may immediately suspend the insurance provided by this coverage for that
            covered equipment by written notice mailed or delivered to you either at your addresser at the location
            of any object. Suspended insurance may be reinstated by us, but only by an endorsement issued as
            part of this Policy. You will be credited for the unearned portion of the premium paid for the suspended
            insurance, pro rata, forthe period of suspension.

       Valuation

      If covered equipment requires replacement due lo an accident, we cover your additional cost to replace
      with equipment that is better for the environment, safer or more efficient than the equipment being replaced.

       a.   However, we do not cover more than 150% of what the cost would have been to repair or replace
            covered equipment mih like kind and quality.

       b.   This does not apply to any property subject to valuation based on actual cash value, nor does this
            provision increase any other applicable LIMIT OF LIABILITY.

      c.    The PERIOD OF LIABILITY will not be increased by any of the above.

       Definitions

      a.    Accident: Physical loss or damage to covered equipment that necessitates its repair or replacement
            due to:

            (1) Failure of pressure or vacuum equipment;

            (2) Mechanical breakdown including rupture or bursting caused by centrifugal force;

            (3) Artificially generated electrical current, including electrical arcing that damages electrical devices,
                appliances or wires; or

            (4) Explosion of:

                (a) Steam boiler

                (b) Electric steam generator

                (c) Steam piping

                (d) Steam turbine

                (e) Moving or rotating machinery when such explosion is caused by centrifugal force,

            unless such loss or damage is otherwise excluded within this Policy.

            Accident does not include:

            (5) Fire, including water or other means used to extinguish the fire;

            (6) Malfunction, misalignment, miscalibration, tripping off line, or any condition which can be
                corrected by resetting, tightening, adjusting or cleaning or by the performance of maintenance;




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             (7) Combustion explosion;

             (8) Discharge of molten material from equipment including the heat from such discharged materials;

             (9) Lightning;

           (10)   Depletion, deterioration, rust, corrosion, erosion, settling, or wear or tear or any other gradually
                  developing condition;

           (11)   Defects, erasures, error limitations or viruses in computer equipment and programs including the
                  inability to recognize and process any date or time or provide instructions to covered equipment;

           (12)   Leakage at any valve, fitting, shaft seal, gland packing, joint or connection;

           (13)   Damage to any structure or foundation supporting the covered equipment or any of its parts;

           (14)   Any loss or damage caused by or resulting from any type of electrical insulation breakdown test;

           (15)   Any loss or damage caused by or resulting from any type of hydrostatic, pneumatic or gas
                  pressure test;

           (16)   The functioning of any safety or protective device; or

           (17)   The cracking of any part on an internal combustion turbine exposed to the products of
                  combustion,

      b.     Covered equipment:

             (1) Equipment that generates, transmits, controls or utilizes energy; including electronic
                 communications and data processing equipment; and

             (2) Equipment which, during normal usage, operates under vacuum or pressure, other lhan weight of
                 contents.

             Covered equipment does not mean or include:

             (3) Electronic data;

             (4) Part of pressure or vacuum equipment that is not under internal pressure of its contents or internal
                 vacuum;

             (5) Insulating or refractory material;

             (6) Nonmetallic pressure or vacuum equipment, unless it is constructed and used in accordance with
                 the American Society of Mechanical Engineers (A.S.M.E.) code or other appropriate and approved
                 code;

             (7) Catalyst;

             (8) Buried vessels or piping; waste, drainage or sewer piping; piping, valves or fittings forming part of
                 a sprinkler or fire suppression system; water piping that is not part of a closed loop used to conduct
                 heat or cooling from a boiler or a refrigeration or air conditioning system;

             (9) Structure, foundation, cabinet or compartment supporting or containing the covered equipment or
                 part of the covered equipment including penstock, draft tube or well casing;

           (10)   Vehicle or any covered equipment that is mounted on or used solely with a vehicle;



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             (11)   Dragline, excavation or construction equipment including any covered equipment thai is mounted
                    on or used solely with any one or more dragline(s), excavation or construction equipment;

             (12)   Felt, wire, screen, die, extrusion plate, swing hammer, grinding disc, cutting blade, nonelectrical
                    cable, chain, belt, rope, clutch plate, brake pad, nonmetal part or tool subjeel to periodic
                    replacement;

             (13)   Cyclotron used for other than medical purposes, satellite or spacecraft including any covered
                    equipment mounted on or used solely with any satellite or spacecraft;

             (14)   Equipment manufactured by you for sale.

               Production machinery is any machine or apparatus that processes, forms, cuts, shapes, grinds, or
               conveys raw materials, materials in process or finished products including any covered equipment that
               is mounted on or used solely with any one or more production machines or apparatus.

D. FLOOD

   1.   We cover physical loss or damage to covered property, including TIME ELEMENT COVERAGES, TIME
        ELEMENT COVERAGES AND LIMITATIONS and PROPERTY DAMAGE COVERAGES                          AND
        LIMITATIONS as provided by this Policy, from a covered loss resulting from FLOOD.

   2. FLOOD is:

        a.    Surface waters; rising waters; storm surge, wave wash; waves; tsunami; tide or tidal water; the release
              of water, the rising, overflowing or breaking of boundaries of natural or man-made bodies of water; or
              the spray therefrom; al! whether driven by wind or not;

        b.    Sewer back-up resulting from any of the foregoing; or

        c.    Mudslide or mudfiow caused by or resulting from surface water, runoff or accumulation of water on or
              under the ground;

             regardless of any other cause or event, whether natural or man-made, contributing concurrently or in
             any other sequence of loss.

        Covered loss from FLOOD associated with a storm or weather disturbance whether or not identified by
        name by any meteorological authority is considered to be FLOOD within the terms of this Policy. However,
        physical loss or damage from fire, explosion or sprinkler leakage caused by FLOOD will not be considered
        to be loss by FLOOD within the terms and conditions of this Policy.

E. NAMED STORM

   1.   We cover physical loss or damage to covered property, including TIME ELEMENT COVERAGES, TIME
        ELEMENT COVERAGES AND LIMITATIONS and PROPERTY DAMAGE COVERAGES AND
        LIMITATIONS as provided by this Policy, from a covered loss resulting from a NAMED STORM. However,
        physical loss or damage caused by fire, explosion, sprinkler leakage or FLOOD will not be considered loss
        by NAMED STORM within the terms and conditions of this Policy.

   2 . Y o u may elect when the time specified in the OCCURRENCE TIME SPECIFICATIONS begins.

   NAMED STORM is any storm or weather disturbance that is named by the U S, National Oceanic and
   Atmospheric Administration (NOAA) or the U. S. National Weather Service or the National Hurricane Center or
   any authorized meteorological authority in the country where the storm or weather disturbance happened.




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                         SECTION V - GENERAL POLICY CONDITIONS

A. ASSIGNMENT

    Your assignment of this Policy will not be valid except with our written consent.

B. CANCELLATION

    1.   You may cancel this Policy by mailing or delivering to us advance written notice of cancellation.

    2.   We may cancel this Policy by mailing or delivering to you written notice of cancellation at least:

         a.   ten (10) days before the effective date of cancellation if we cancel for nonpayment of premium; or

         b.   thirty (30) days or the number of days specified in the CANCELLATION TIME SPECIFICATIONS,
              whichever is greater, before the effective date of cancellation if we cancel for any other reason.

    3.   We will mail or deliver our written notice of cancellation to your last mailing address known to us.

   4.    Our written notice of cancellation will state the effective date of cancellation and the Policy period will end
         on that date.

    5.   If this Policy is cancelled, we will send you any premium refund due. If we cancel, the refund will be pro
         rata. If you cancel, the refund may be less than pro rata. The cancellation will be effective even if we have
         not made or offered a refund.

    6.   If notice is mailed, proof of mailing will be sufficient proof of notice.

C. CONCEALMENT, MISREPRESENTATION OR FRAUD

   This entire Policy is void, if with the actual intent to deceive

    1.   You;

    2.   Your representatives; or

    3.   Any insured;

   commit fraud or conceal or misrepresent a fact or circumstance concerning:

         a.   This Policy;

         b.   The covered property;

         c.   Your interest in the covered property; or

         d.   A claim under this Policy.




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D. CONFORMITY TO STATUTES

    Any provisions required by law to be included in policies issued by us shall be deemed to have been included
    in this Policy.

    If the provisions of this Policy conflict with the laws of any jurisdictions in which this Policy applies, and if certain
    provisions are required by law to be stated in this Policy, this Policy shall be read so as to eliminate such conflict
    or deemed to include such provisions for covered locations within such jurisdictions.

E. INSPECTION

    1.   During the period of this Policy, we will be permitted, but not obligated, to inspect the covered property.
         Our right to inspect, the performance of or failure to inspect, and any report arising out of an inspection will
         not constitute an undertaking or imply that the property is safe, healthful, or in compliance with laws,
         regulations, codes or standards.

    2.   This condition does not apply to any inspections, surveys, reports or recommendations we may make
         relative to certification, under state or municipal statutes, ordinances or regulations, of boilers, pressure
         vessels or elevators.

         We will have no liability to you or others because of any inspection or failure to inspect, or on account of
         anyone's use or reliance upon any report or other information generated during the course of, or as a result
         of any inspection.

F. LENDERS LOSS PAYEE AND MORTGAGEE INTERESTS AND OBLIGATIONS

    1.   When specified in the Policy or in Certificates of Insurance on file with us, we cover loss to specified
         property insured under this Policy to each specified Lender Loss Payee (hereinafter referred to as Lender)
         as its interest may appear, and to each specified Mortgagee as its interest may appear.

    2.   The interest of the Lender or Mortgagee (as the case may be) in property insured under this Policy will not
         be invalidated by:

         a.   Any act or neglect of the debtor, mortgagor, or owner (as the case may be) of the property.

         b.   Foreclosure, notice of sale, or similar proceedings with respect to the property, but only to the extent of
              a deficiency as provided by state law.

         c.   Change in the title or ownership of the property.

         d.   Change to a more hazardous occupancy.

         The Lender or Mortgagee will notify us of any known change in ownership, occupancy, or hazard and,
         within ten (10) days of our written request, may pay the increased premium associated with such known
         change. If the Lender or Mortgagee fails to pay the increased premium, all coverage under this Policy will
         cease.

    3.   If this Policy is cancelled at your request or by the request of your agent, the coverage for the interest of
         the Lender or Mortgagee will terminate ten (10) days after we send to the Lender or Mortgagee written
         notice of cancellation, unless:

         a.   Sooner terminated by authorization, consent, approval, acceptance, or ratification of your action by the
              Lender or Mortgagee, or its agent.

         b.   This Policy is replaced by you, with a Policy providing coverage for the interest of the Lender or
              Mortgagee, in which event coverage under this Policy with respect to such interest will terminate as of
              the effective date of the replacement Policy, notwithstanding any other provision of this Policy.



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    4.   We may cancel this Policy and/or the interest of the Lender or Mortgagee under this Policy, by giving the
         Lender or Mortgagee written notice thirty (30) days or the number of days specified in the CANCELLATION
         TIME SPECIFICATIONS, whichever is greater, prior to the effective date of cancellation, if cancellation is
         for any reason other than non-payment. If the debtor, mortgagor, or owner has failed to pay any premium
         due under this Policy, we may cancel this Policy for such non-payment, but will give the Lender or
         Mortgagee written notice ten (10) days prior to the effective date of cancellation. If the Lender or Mortgagee
         fails to pay the premium due by the specified cancellation date, all coverage under this Policy will cease.

    5.   If we pay the Lender or Mortgagee for any loss, and deny payment to the debtor, mortgagor or owner, we
         will, to the extent of the payment made to the Lender or Mortgagee be subrogated to the rights of the Lender
         or Mortgagee under all securities held as collateral to the debt or mortgage. No subrogation will impair the
         right of the Lender or Mortgagee to sue or recover the full amount of its claim. At our option, we may pay
         to the Lender or Mortgagee the whole principal due on the debt or mortgage plus any accrued interest. In
         this event, all rights and secunties will be assigned and transferred from the Lender or Mortgagee to us,
         and the remaining debt or mortgage will be paid to us.

    6.   If you fail to render proof of loss, the Lender or Mortgagee, upon notice of y o u r failure to do so, will render
         proof of loss within sixty (60) days of notice and will be subject to the provisions of this Policy relating to
         APPRAISAL, COMPANY OPTION, and SUIT AGAINST THE COMPANY.

    7.   In the event of a claim, upon request by us, the Lender or Mortgagee will cooperate in any claim
         investigation.

    8.   In no event will the amount payable to a Lender or Mortgagee exceed the amount which would othen/vise
         have been payable to you.

G. LIBERALIZATION

    If during the period that insurance is in force under this Policy, any filed rules or regulations affecting the same
    are revised by statute in any State or jurisdiction within the United States of America so as to broaden the
    insurance without additional premium charge, such extended or broadened insurance will inure to your benefit
    within such jurisdiction, effective the date of the change specified in such statute.

H. NO REDUCTION BY LOSS

   Except for those coverages written with an annual aggregate LIMIT OF LIABILITY, we cover a covered loss
   without reducing any other applicabie LIMIT OF LIABILITY. The reinstatement of any exhausted annual
   aggregate is not permitted unless authorized by us in writing.

I. NONRENEWAL

    1.   If we decide not to renew this Policy, we will mail or deliver a written notice of nonrenewal to you at least
         sixty (60) days before the expiration date of this Policy. Notice will be sent to your last mailing address
         known to us. We will state the reason for nonrenewal.

    2.   Proof of mailing will be sufficient evidence of notice.

J. OTHER INSURANCE

    1.   We will not be liable if, at the time of loss or damage, there is any other insurance that would apply in the
         absence of this Policy; except that this Policy will apply only as excess or DIFFERENCE IN CONDITIONS
         / DIFFERENCE IN LIMITS and in no event as contributing insurance, and then only after all other insurance
         has been exhausted, notwithstanding paragraph 5. below.

   2.    We will not be liable if, at the time of loss or damage, there is any insurance with the National Flood
         Insurance Program (NFIP), except that this Policy shall apply only as excess and in no event as contributing
         insurance, and then only after all NFIP insurance has been exhausted.




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    3.   We will not be liable if, at the time of loss or damage, there is any insurance for the construction of new
         buildings and additions under a specific policy for the construction of such new buildings and additions,
         except that this Policy shall apply only as excess and in no event as contributing insurance, and then only
         after all specific insurance has been exhausted,

    4.   We will not be liable if, at the time of loss or damage, there is any insurance for stock under a specific policy
         for such stock, except that this Policy shall apply only as excess and in no event as contributing insurance,
         and then only after all specific insurance has been exhausted.

    5.   If this Policy is deemed by law to contribute to a loss with other insurance, we will pay only our proportionate
         share of the loss, up to the applicable LIMIT OF LIABILITY. Our share will be the proportion that the
         applicable LIMIT OF LIABILITY of this Policy bears to the total applicable LIMITS OF LIABILITY available
         from all insurance.

    6.   You are permitted to have other insurance over any LIMITS OF LIABILITY specified in this Policy.

    7.   The existence of such insurance will not reduce any LIMIT OF LIABILITY in this Policy.

    8.   To the extent this Policy replaces another Policy, coverage under this Policy shall not become effective until
         such other Policy has terminated.

    9.   You are permitted to have other insurance for all, or any part, of any deductible in this Policy. The existence
         of such other insurance will not prejudice recovery under this Policy, if the limits of liability of such other
         insurance are greater than this Policy's applicable deductible, this Policy's insurance will apply only as
         excess and only after such other insurance has been exhausted.

K. PAIR, SET OR PARTS

    In the event of a covered loss to an article that is part of a pair or set, our payment for that loss will be:

    1.   The cost to repair or replace any part to restore the pair or set to its value before the loss; or


    2.   The difference between the value of the pair or set before and after the loss.

    In no event will the loss of part of a pair or set be regarded as a total loss of the pair or set.

L. POLICY MODIFICATION

   This Policy contains all of the agreements between you and us concerning this insurance, You and we may
   request changes to this Policy. Only endorsements issued by us and made a part of this Policy can change
   this Policy.

   Notice to any agent or knowledge possessed by any agent or by any other person will not create a waiver or
   change any part of this Policy or prevent us from asserting any nghts under the Policy.

M. TITLES

   The titles of the paragraphs of this Poiicy and of any endorsements attached to it are only for reference. They
   do not affect the terms to which they relate.

N. TRANSFER OF RIGHTS AND DUTIES

    Your rights and duties under this Policy may not be transferred without us giving written consent.

O. VACANCY




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    1.   If any of your real property is vacant atthe inception ofthis Policy, or becomes vacant, and remains vacant
         for more than sixty (60) consecutive days, during the Policy period, you must:

         a.    Notify us in writing of the vacancy prior to loss or damage; and

         b.    Maintain in complete working order the protective safeguards present prior to the vacancy. Protective
               safeguards include:

               (1)   Automatic sprinkler systems;
               (2)   Fire alarm systems;
               (3)   Guard or watchman services;
               (4)   Burglary systems; and
               (5)   Monitoring systems.

    2.   If the above requirements are not met, then in addition to the other terms, conditions, limitations and
         exclusions in this Policy, we will:
         a.    Not pay for any loss or damage caused by or resulting from any of the following:
               (1)   Breakage of building glass;
               (2)   Mold, mildew or fungus;
               (3)   Sprinkler leakage, unless the system has been protected against freezing;
               (4)   Theft or attempted theft;
               (5)   Vandalism;
               (6)   Malicious mischief; or
               (7)   Water damage

         b.    Not pay under DEMOLITION AND INCREASED COST OF CONSTRUCTION;

         c.    Value the loss or damage for the vacant real property (including any loss or damage to personal
               property) at the time of loss at the lesser of:
               (1) The actual cash value;
               (2) The actual cost to repair; or
               (3) The selling pnce, less all saved expenses, if it was being offered or listed for sale at the time of
                   loss.

    3.   Real property is considered vacant when it does not contain sufficient property and personnel to conduct
         your customary business operations.


    4.   Real property is not considered vacant during its ongoing construction or renovation.



P. VALUATION

    1.   Adjustment of the physical loss or damage amount under this Policy will be computed as of the date of loss
         or damage at the place of the loss or damage. Unless stated otherwise in a PROPERTY DAMAGE
         COVERAGE AND LIMITATION, adjustment of physical loss or damage to covered property will be subject
         to the following:

         a.    On stock in process, the value of raw matenals and labor expended plus the proper proportion of
               overhead charges,

         b.    On finished goods manufactured by you, the regular cash selling price, less all discounts and charges
               to which the finished goods would have been subject had no physical loss or damage happened.

         c.    On raw materials, supplies or merchandise not manufactured by you:


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             (1) If repaired or replaced, your actual expenditure in repairing or replacing the damaged or destroyed
                 property; or

             (2) If not repaired or replaced, the actual cash value.

       d.    On exposed films, records, manuscripts and drawings that are not valuable papers and records, the
             value blank plus the cost of copying information from back-up or from originals of a previous generation.
             These costs will not include research, engineering or any costs of restoring or recreating lost
             information.

       e.    On property that is:

             (1) Damaged by fire that directly results from terrorism or nuclear reaction; and

             (2) Is located in a jurisdiction that has a statute that expressly prohibits the exclusion of fire losses
                 resulting from terrorism or nuclear reaction,

             the actual cash value of the fire damage. Any remaining fire damage not attributable to terrorism or
             nuclear reaction shall be adjusted according to the terms and conditions of the Valuation clause(s) in
             this section of the Policy.

       f.    On computer equipment of others which you are required to insure for direct physical loss or damage
             while being installed, maintained or repaired, the cost to replace with new if so specified in the contract
             between you and your customer.

       g.    On Data, Programs and Software, the actual cost incurred to repair, replace or restore data, programs
             or software including the costs to recreate and research.

       h.    On Fine Arts, the loss amount will not exceed the lesser of the following:

             (1) The cost to repair or restore such property to the physical condition that existed on the date of
                 loss;

             (2) The cost to replace; or

             (3) The stated value on file with us.

       i.    On all other property, the lesser of the following:

             (1) The cost to repair.

             (2) The cost to rebuild or replace on the same site with new materials of like size, kind and quality.

             (3) The cost in rebuilding, repairing or replacing on the same or another site, but not to exceed the size
                 and operating capacity that existed on the date of loss.

             (4) The selling price of real property or machinery and equipment, other than stock, offered for sale
                 on the date of loss.

             (5) The cost to replace unrepairable electncal or mechanical equipment, including computer
                 equipment, with equipment that is the most functionally equivalent to that damaged or destroyed,
                 even if such equipment has technological advantages and/or represents an improvement in
                 function and/or forms part of a program of system enhancement.

             (6) The increased cost of demolition, if any, directly resulting from insured loss, if such property is
                 scheduled for demolition.




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             (7) The unamortized value of improvements and betterments, if such property is not repaired or
                 replaced at your expense.

             (8) The actual cash value if such property is:

                 (a) Useless to you; or
                 (b) Not repaired, replaced or rebuilt on the same or another site within two (2) years from the date
                     of loss, unless such time is extended by us.

    2.   You may elect not to repair or replace the covered property lost, damaged or destroyed. Loss settlement
         may be elected on the lesser of repair or replacement cost basis if the proceeds of such loss settlement
         are expended on other capital expenditures related to your operations within two (2) years from the date
         of loss. As a condition of collecting under this provision, such expenditure must be unplanned as of the date
         of loss and be made at a covered location under this Policy. This provision does not extend to
         DEMOLITION AND INCREASED COST OF CONSTRUCTION or to property scheduled for demolition at
         the time of loss.

    3.   We will not pay more than your financial interest in the covered property.




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                                  SECTION VI - LOSS CONDITIONS

A. ABANDONMENT OF PROPERTY

    You may not abandon property to us.

B. APPRAISAL

    1.   If you and we fail to agree on the amount of a loss, either party may demand that the disputed amount be
         submitted for appraisal. A demand for appraisal will be made in writing within sixty (60) days after our
         receipt of proof of loss. Each party will then choose a competent and disinterested appraiser. Each party
         will notify the other of the identity of its appraiser within thirty (30) days of the written demand for appraisal.

    2.   The two (2) appraisers will choose a competent and disinterested umpire. If the appraisers are unable to
         agree on an umpire within fifteen (15) days, you or we may petition ajudge of a court of record in the state
         where the covered loss occurred, to select an umpire.

    3.   The appraisers will then determine the amount of the loss or damage. If the appraisers submit a written
         report of an agreement to you and us, the amount they agree on will be the amount of our payment for the
         loss or damage. If the appraisers fail to agree within a reasonable time, they will submit their differences to
         the umpire. Written agreement signed by any two (2) of these three (3) will determine the amount of loss or
         damage.

    4.   Each appraiser will be paid by the party that selects him or her. Other expenses of the appraisal and
         compensation of the umpire will be paid equally by you and us.

C. COLLECTION FROM OTHERS

    We will reduce any payment to you for a covered loss to the extent you have collected for that loss from
    others.

D. COMPANY OPTION

    1.   In the event of covered loss, we may, at our option, either:

         a.   Pay the value of covered property lost, damaged or destroyed as set forth in VALUATION above;

         b.   Pay the cost of repairing or replacing the covered property lost, damaged or destroyed;

         c.   Take all or any part of the covered property at any agreed valuation; or

         d.   Repair, rebuild or replace the covered property with other property of like kind and quality.

    2.   We will give notice of our intentions within thirty (30) days after receiving the sworn statement of loss
         or as required by law.

E. DUTIESAFTER A LOSS

    In case of loss you will:

    1.   Give us immediate wntten notice of the loss;

   2.    Give notice of such loss to the proper authorities if the loss may be due to a violation of the law;

   3.    As soon as possible, give us a description of the property involved and how, when and where the loss
         happened;
   4.    Take all reasonable steps to protect the covered property from further damage;


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    5.   Promptly separate the damaged property from the undamaged property, and keep it in the best possible
         order for examination;

    6.   Furnish a complete inventory of the lost, damaged and destroyed property, showing in detail the quantity,
         and amount of loss claimed under the valuation provision of the Policy;

    7.   Keep an accurate record of all repair costs;

    8.   Keep all bills, receipts and related documents that establish the amount of loss;

    9.   As often as may reasonably be required:

         a.   Permit us to inspect the damaged property and take samples for inspection, testing and analysis.

         b.   Produce for inspection and copying, all of your books of account, business records, bills and invoices.

         c.   Permit us to question, under oath, you and any of your agents, employees, or representatives involved
              in the purchase of this insurance or the preparation of your claim, including any public adjusters and
              any of their agents, employees or representatives, and verify your answers with a signed
              acknowledgment.

    10. Submit to us, within ninety (90) days from the date of loss, unless we extend the time in writing, a signed,
        sworn Proof of Loss that states to the best of your knowledge and belief:

         The time and cause of the loss;

         a.   Your interest and the interest of all others in the property involved;

         b.   Any other policies of insurance that may provide coverage for the loss;

         c.   Any changes in title or occupancy of the property during the Policy period; and

         d.   The amount of your claimed loss.

         You shall also submit with the Proof of Loss:

              (1) A complete inventory of the lost, damaged and destroyed property, showing in detail the quantity,
                  and amount of loss claimed as specified in the valuation provision of the Policy;

              (2) An accurate record(s) of all repair costs and all bills, receipts and related documents that establish
                  the amount of the loss;

              (3) Specifications for any damaged building; and

              (4) Detailed estimates and invoices for the repair of any damage.

    11. Cooperate with us in the investigation and adjustment of the loss.

F. LOSS ADJUSTMENT / PAYABLE

   Loss will be adjusted with the First Named Insured. We may, at our option, adjust the loss to property of others
   directly with the owner of the property. Such loss will be payable to the First Named Insured or as may be
   directed by the First Named Insured.




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    Additional insured interests will also be included in loss payment as their interests may appear when named as
    additional named insured, lender, mortgagee and/or loss payee either on a Certificate of Insurance or other
    evidence of insurance on fiie with us. When named on a Certificate of Insurance or other evidence of insurance,
    such additional interests are automatically added to this Policy as their interests may appear as of the effective
    date shown on the Certificate of Insurance or other evidence of insurance. The Certificate of Insurance or other
    evidence of insurance will not amend, extend or alter the terms, conditions, provisions and limits of this Policy.


G. PAYMENT OF LOSS

    We will pay the insured loss within thirty (30) days after we receive and accept the signed, sworn Proof of Loss,
    if:

    1.   You have complied with all the terms of this Policy;

    2.   We have reached agreement with you on the amount of the loss, or

    3.   Within thirty (30) days of when an appraisal award is made as provided for in LOSS CONDITIONS B.
         APPRAISAL.

H. SUBROGATION

    1.   If we make payment for a loss, you will assign to us all your rights of recovery against any party for that
         loss. We will not acquire any rights of recovery you have waived prior to the loss. You agree to cooperate
         and not to waive, prejudice, settle or compromise any claim against any party after the loss.

    2.   You will be paid any recovery, in the proportion that your deductible and any provable uninsured loss bears
         to the total loss less your proportion of fees and expenses.

I. SUIT AGAINST THE COMPANY

    No suit or other legal proceeding shall be brought against us unless there has been full compliance with all the
    Policy terms and conditions. Any suit against us must be brought within two (2) years next after the inception
    of the loss.




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                                      SECTION Vll - DEFINITIONS

1.   Actual cash value: The amount it would cost to repair or replace covered property, on the date of loss, with
     material of like kind and quality, with proper deduction for physical depreciation and obsolescence, but in no
     event more than the fair market value.

2.   Annual aggregate: The maximum amount of loss or damage payable in any one (1) Policy year regardless of
     the number of occurrences within the same Policy year,

3.   Contaminant: Any foreign substance, impurity, pollutant, hazardous material, poison, toxin, pathogen or
     pathogenic organism, bacteria, virus, disease causing or illness causing agent, fungus, mold or mildew.

4.   Contamination: Any condition of property that results from a contaminant

5.   Covered loss: A loss to covered property caused by direct physical loss or damage insured by this Policy.

6.   Covered property: Property insured by this Policy.

7.   Electronic Data: Information (including computer programs) stored as or on, created or used on, or transmitted
     to or from computer software, including systems and applications software, drives, electronic data processing
     equipment or any storage medium.

8.   Electronic data processing equipment: Any computer, computer system or component, hardware, network,
     microprocessor, microchip, integrated circuit or similar devices or components in computer or non-computer
     equipment, operating systems, data, programs or other software stored on electronic, electro-mechanical,
     electro-magnetic data processing or production equipment, whether your property or not

9.   Fine Arts: Property of rarity, historical value, antiquity or artistic merit, including paintings; etchings; pictures
     (including their negatives); tapestries; statuary; marbles; bronzes; antique jewelry; antique furniture; antique
     silver; rare books; porcelains; rare or art glassware; art glass windows; valuable rugs; bric-a-brac and porcelains

10. Land improvements: Landscape gardening, car parks, parking lots, pavement, roadways, sidewalks,
    walkways, railways or transformer enclosures; but does not include fill beneath such property, including
    buildings, structures or additions.

11. Location(s):

     a.   As specified in Appendix A - Schedule of Covered Location(s);

     b.   Listed on a SCHEDULE on file with us; or

     c.   If not so specified in Appendix A - Schedule of Covered Location(s) or listed on a SCHEDULE on file with
          us, a building, yard, dock, wharf, pier or bulkhead (or any group of the foregoing) bounded on all sides by
          public streets, clear land space or open waterways, each not less than fifty (50) feet wide. Any bridge or
          tunnel crossing such street, space or waterway will render such separation inoperative for the purpose of
          this definition,

12. Miscellaneous Unnamed Location: A location owned, leased or rented by you, but not listed in a Schedule
    of locations on file with us or attached to this Policy,

     Miscellaneous Unnamed Location does not include:

     a.   Newly Acquired Locations; or

     b.   A location for which coverage is found elsewhere in this Policy including ERRORS AND OMISSIONS,

13. Occurrence: All loss or damage attributable directly or indirectly to one (1) cause or series of similar


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    causes. All such loss or damage will be added together and the total loss or damage will be treated
    as one (1) occurrence.

    Unless otherwise amended by an endorsement attached to this Policy:

    a.   All loss or damage resulting from a continuous FLOOD event, irrespective of the amount of time or area
         over which such loss or damage occurs, will be considered a single occurrence.

    b. All loss or damage from EARTH MOVEMENT or NAMED STORM within the time specified in the
       O C C U R R E N C E TIME SPECIFICATIONS will be considered a single occurrence.

14. Ordinary payroll: Payroll expenses for all of your employees except officers, executives, department
    managers, employees under contract, and other important professional employees. Payroll expenses include
    the payroll, employee benefits (if directly related to payroll), FICA payments, Union dues and Workers'
    Compensation premiums you pay,

15. Personal Property: Your tangible things, otherthan real property owned by you and used in your
    business, including:

    a.   Furniture, fixtures, machinery, electronic data processing equipment and stock;

    b.   Materials, supplies, machinery, equipment and fixtures, including those that are persona/prope/tyo/'of/jers,
         which are intended by you for use in construction of new additions and buildings at an existing covered
         location, that you begin to construct during the Policy period and intend to own or occupy once constructed,
         while located on the construction site awaiting use in construction.

    c.   Property, other than real property, you lease for use in your business that you have a responsibility to
         insure;

    d.   Your interest in improvements and betterments you have made in buildings you do not own;

    e.   Your valuable papers and records.


16. Real Property: Building(s) and any other structure, including:

    a.   New buildings and additions under construction, in which you have an insurable interest;

    b.   Completed additions, extensions or permanent fixtures;

    c.   Machinery and equipment used to service the buildings;

    d.   Yard Fixtures.



17. Terrorism: Activities against persons, organizations or property of any nature:

    a.   That involve the following or preparation for the following:

         (1) Use or threat of force or violence; or

         (2) Commission or threat of a dangerous act; or

         (3) Commission or threat of an act that interferes with or disrupts an electronic, communication,
         information, or mechanical system; and

    b.   When one or both of the following applies:



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        (1) The effect is to intimidate or coerce a government or the civilian population or any segment thereof, or
            to disrupt any segment of the economy; or

        (2) It appears that the intent is to intimidate or coerce a government, or to further political, ideological,
            religious, social or economic objectives or to express (or express opposition to) a philosophy or
            ideology.

18. Valuable papers and records: Written or printed documents or records including books, maps, negatives,
    drawings, abstracts, deeds, mortgages and manuscripts.

19. We, us and our(s): The company issuing this Policy, as shown on the Declarations.

20. You and your(s): The First Named Insured shown on the Declarations.




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                       APPENDIX A - SCHEDULE OF COVERED LOCATIONS


Per schedule on file with us




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                 APPENDIX B - NEW MADRID EARTH MOVEMENT ZONES


    STATE       ZONE                  COUNTIES / PARISHES / INDEPENDENT CITIES

 ARKANSAS        1     Clay, Craighead, Crittenden, Cross, Green, Independence, Jackson, Lawrence,
                       Lee, Mississippi, Monroe, Phillips, Poinsett, Randolph, St. Francis, White,
                       Woodruff

 ARKANSAS        2     Arkansas, Fulton, Izard, Lonoke, Prairie, Sharp,

 ILLINOIS        1     Alexander, Franklin, Gallatin, Hamilton, Hardin, Jackson, Jefferson, Johnson,
                       Massac, Perry, Pope, Pulaski, Randolph, Saline, Union, Washington, Williamson

 ILLINOIS        2     Bond, Clay, Clinton, Craw/ford, Edwards, Effingham, Fayette, Jasper, Lawrence,
                       Madison, Marion, Monroe, Richland, Saint Clair, Wabash, Wayne, White

 INDIANA         2     Gibson, Knox, Pike, Posey, Spencer, Vanderburgh, Warrick

 KENTUCKY        1     Ballard, Calloway, Cariisle, Crittenden, Fulton, Graves, Hickman, Livingston,
                       Lyon, Marshall, McCracken,

 KENTUCKY        2     Caldwell, Christian, Daviess, Henderson, Hopkins, McLean, Muhlenberg, Todd,
                       Trigg, Union, Webster

 MISSISSIPPI     1     DeSoto, Marshall, Tate, Tunica

 MISSISSIPPI     2     Alcorn, Benton, Coahoma, Lafayette, Panola, Quitman, Tippah
 MISSOURI        1     Bollinger, Butler, Cape Girardeau, Carter, Dunklin, Madison, Mississippi, New
                       Madrid, Pemiscott, Perry, Ripley, Scott, Stoddard, Wayne

 MISSOURI        2     Independent City of St. Louis, Iron, Jefferson, Oregon, Reynolds, Shannon, St.
                       Francois, St. Louis, Ste. Genevieve, Washington

 TENNESSEE       1     Benton, Carroll, Chester, Crockett, Dyer, Fayette, Gibson, Hardeman, Haywood,
                       Henderson, Henry, Lake, Lauderdale, Madison, Obion, Shelby, Tipton, Weakley

 TENNESSEE       2     Decatur, Hardin, Houston, Humphreys, McNairy, Montgomery, Perry, Stewart,




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               APPENDIX C - PACIFIC NORTHWEST EARTH MOVEMENT ZOHE


   REGION / STATE                                COUNTIES / COORDINATES

 CANADA: BRITISH    South of 50'' N latitude and west of 120° W longitude
 COLUMBIA and
 VANCOUVER
 ISLAND

 OREGON             Benton, Clackamas, Clatsop, Columbia, Coos, Curry, Douglas, Hood River, Jackson,
                    Josephine, Klamath, Lane, Lincoln, Linn, Marion, Multnomah, Polk, Tillamook,
                    Washington, Yamhill

 WASHINGTON         Chelan, Clallam, Clark, Cowlitz, Grays Harbor, Island, Jefferson, King, Kitsap, Kittitas,
                    Lewis, Mason, Pacific, Pierce, San Juan, Skagit, Skamania, Snohomish, Thurston,
                    Wahkiakum, Whatcom




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   APPENDIX D      NAMED STORM TIERS FOR USA INCLUDING ITS COMMONWEALTHS
                                AND TERRITORIES

 SOUTHERN TIER ONE: NORTH CAROLINA TO TEXAS

           STATE                       COUNTIES / PARISHES / INDEPENDENT CITIES

 Alabama             Baldwin, Mobile
 Florida             Entire Stale

 Georgia             Brantly, Bryan, Camden, Chatham, Chariton, Effingham, Glynn, Liberty, Long,
                     Mcintosh, Pierce, Wayne

 Louisiana           Acadia, Ascension, Assumption, Calcasieu, Cameron, East Baton Rouge, East
                     Feliciana, Iberia, Iberville. Jefferson. Jefferson Davis, Lafayette, Lafourche,
                     Livingston, Orieans, Plaquemines, Pointe Coupee, St. Bernard, St. Charies, St.
                     James, St. John the Baptist, St. Martin, St. Mary, St. Tammany, Tangipahoa,
                     Terrebonne, Vermilion, Washington, West Baton Rouge

 Mississippi         George, Hancock, Harrison, Jackson, Peari River, Stone
 North Carolina      Beaufort, Bertie, Bladen, Brunswick, Camden, Carteret, Chowan, Columbus,
                     Craven, Currituck, Dare, Duplin, Gates, Hertford, Hyde, Jones, Lenoir, Martin, New
                     Hanover, Onslow, Pamlico, Pasquotank, Pender, Perquimans, Pitt, Tyrrell,
                     Washington, Wayne
 South Carolina      Beaufort, Berkeley, Charieston, Colleton, Dorchester, Georgetown, Horry, Jasper,
                     Williamsburg
 Texas               Aransas, Bee, Brazoria, Brooks, Calhoun, Cameron, Chambers, Fort Bend,
                     Galveston, Goliad, Hardin, Harris, Hidalgo, Jackson, Jasper, Jefferson, Jim Wells,
                     Kenedy, Kleberg, Liberty, Matagorda, Nueces, Orange, Refugio, San Patricio,
                     Victoria, Wharton, Willacy




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                                       APPENDIX D (continued)

                          NAMED STORM J\ERS FOR USA INCLUDING
                          ITS COMMONWEALTHS AND TERRITORIES

 NORTHERN TIER ONE: VIRGINIA TO MAINE

            STATE                    COUNTIES / PARISHES / INDEPENDENT CITIES

 Connecticut          Fairfield, Middlesex, New Haven, New London

 Delaware             Sussex

 Maine                Cumberiand. Hancock, Knox, Lincoln, Penobscot, Sagadahoc, Waldo,
                      Washington, York
 Maryland             Calvert, Charles, Dorchester, St. Mary's, Somerset, Wicomico, Worcester
 Massachusetts        Barnstable, Bristol, Dukes, Essex, Middlesex, Nantucket, Norfolk, Plymouth,
                      Suffolk
 New Hampshire        Rockingham

 New Jersey           Atlantic, Bergen, Cape May, Cumberland, Essex, Hudson, Middlesex, Monmouth,
                      Ocean, Union

 New York             Bronx, Kings, Nassau, New York, Queens, Richmond, Suffolk

 Rhode Island         Bristol, Newport, Washington


 Virginia            Accomack, Gloucester, Isle of Wight, James City, Lancaster, Mathews, Middlesex,
                     Northampton, Northumberiand, Surry, York
                     Independent Cities: Chesapeake, Hampton, Newport News, Norfolk, Poquoson,
                     Portsmouth, Suffolk, Virginia Beach, Williamsburg

SOUTHERN TIER TWO: NORTH CAROLINA TO TEXAS

            STATE                    COUNTIES / PARISHES / INDEPENDENT CITIES

 Alabama             Clarke, Coffee, Conecuh, Covington, Dale, Escambia, Geneva, Houston, Monroe,
                     Washington
 Louisiana           Allen, Avoyelles, Beauregard, Evangeline, St. Helena, St, Landry, West Feliciana

 Mississippi         Forrest, Greene, Jones, Lamar, Marion, Perry, Pike, Walthall, Wayne

 North Carolina      Cumberiand, Edgecombe, Greene, Johnston, Robeson, Sampson, Wilson

 South Carolina      Bamberg, Calhoun, Clarendon, Dillon, Florence, Hampton, Marion, Orangeburg

 Texas               Austin, Brazos, Colorado, De Witt, Duval. Fayette, Gonzales, Grimes, Jim Hogg,
                     Karnes, Lavaca, Live Oak, McMullen, Montgomery, Newton, Polk, San Jacinto,
                     Starr, Tyler, Walker, Waller, Washington




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                                          APPENDIX D (continued)

                             NAMED STORM TIERS FOR USA INCLUDING
                             ITS COMMONWEALTHS AND TERRITORIES

                 Other States, Commonwealths and Territories of The United States of America
                                              TIER
 AMERICAN SAMOA                                 2     Entire Territory
 GUAM                                           1     Entire Territory
 HAWAII                                         1     Entire State
 NORTHERN MARIANA ISLANDS                       1     Entire Commonwealth
 PUERTO RICO                                    1     Entire Commonwealth
 U S. VIRGIN ISLANDS                            1     Entire Territory
 All other US Territories and Possessions       1     Entire Territory




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                          APPENDIX E - FLOOD HAZARD LOCATIONS



High Hazard Location(s)
NOP

Moderate Hazard Location(sl
NOP




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                                  FORMS AND ENDORSEMENTS


                   Form(s) and Endorsement(s) made a part of this Policy at time of issue:

          Fonn or Endorsement Number                              Form or Endorsement Name


               CNP 90 06 01 20                       Disclosure Pursuant to Terrorism Risk Insurance Act

               CNP 90 10 01 19                         Important Notice Regarding The Expiration of the
                                                        Terrorism Risk Insurance Act and the Reduction in
                                                                  Coverage for Terrorism Losses

               CNI 90 11 07 18                          Reporting a Commercial Claim 24 Hours a Day

                SNI 04 01 01 20                          Liberty Mutual Group California Privacy Notice

                PY04 04 01 17                               Exclusion of Certified Acts of Terrorism




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                           STATE AMENDATORY ENDORSEMENTS

                Endorsement Number                                        Endorsement Name


                  PY 01 37 01 17                                          Washington Changes

                  PY 02 49 01 17                       Washington Changes - Cancellation and Nonrenewal




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Policy Number      YAC-L9L-450425-020

Issued by         Employers Insurance Company of Wausau

                 THIS ENDORSEMENT CHANGES THE POLICY. P L E A S E READ IT C A R E F U L L Y .

                                 EXCLUSION OF CERTIFIED ACTS OF TERRORISM

This endorsement modifies insurance provided under the following:

    PREMIER PROPERTY PROTECTOR™


A. The following definition is added with respect to the provisions of this endorsement:

    "Certified act of terrorism" means an act that is certified by the Secretary of the Treasury, in accordance wilh
    the provisions of the federal Terrorism Risk Insurance Act, to be an act of terrorism pursuant to such Act. The
    criteria contained in the Terrorism Risk Insurance Act for a "certified act of terrorism" include the following:

    1,   The act resulted in insured losses in excess of $5 million in the aggregate, attributable to all types of
         insurance subject to the Terrorism Risk Insurance Act; and

    2.   The act is a violent act or an act that is dangerous to human life, property or infrastructure and is
         committed by an individual or individuals as part of an effort to coerce the civilian population of the United
         States or to influence the policy or affect the conduct ofthe United States Government by coercion,

B. The following exclusion is added:

    CERTIFIED ACT OF TERRORISM EXCLUSION

    We will not pay for loss or damage directly or indirectly caused by or resulting from a "certified act of
    terrorism". Such loss or damage is excluded regardless of any other cause or event, whether or not insured
    under this Policy, contributing concurrently or in any other sequence.

C. Exception Covering Certain Fire Losses

    The following exception to the exclusion in Paragraph B. applies only in the following states: California,
    Georgia, Hawaii, Illinois, Iowa, Maine, Missouri, New Jersey, New York, North Carolina, Oregon, Rhode
    Island, U.S. Virgin Islands, Washington, West Virginia, and Wisconsin.

    If a "certified act of terrorism" results in fire, we will pay for the loss or damage caused by that fire. Such
    coverage for fire applies only to direct loss or damage by fire to covered property. Therefore, for example,
    the coverage does not apply to insurance provided under TIME ELEMENT,

    If aggregate insured losses attributable to terrorist acts certified under the Terrorism Risk Insurance Act
    exceed $100 billion in a calendar year and we have met our insurer deductible under the Terrorism Risk
    Insurance Act, we shall not be liable for the payment of any portion of the amount of such losses that exceeds
    $100 billion, and in such case insured losses up to that amount are subject to pro rata allocation in
    accordance with procedures established by the Secretary of the Treasury,

D. Application Of Exclusions

   The terms and limitations of SECTION H.C. EXCLUSIONS, 2.a, do not serve to create coverage for any loss
   which would otherwise be excluded under this endorsement or the Policy, such as losses excluded under
   SECTION ll.C. EXCLUSIONS, 2. b., c , d., or e.




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Policy Number YAC-L9L-450425-020

Issued by         Employers Insurance Company of Wausau

                 THIS ENDORSEMENT CHANGES THE POLICY. P L E A S E READ IT C A R E F U L L Y .

                                                WASHINGTON CHANGES

This endorsement applies only to covered property located in Washington and modifies insurance provided
under the following:

     PREMIER PROPERTY PROTECTOR™
     EXCLUSION OF CERTIFIED ACTS OF TERRORISM


A.   Paragraph H. JURISDICTION of SECTION I - DECLARATIONS is replaced by the following:

     H. JURISDICTION

          Any disputes arising hereunder will be exclusively subject to a State or Federal jurisdiction within the United
          States of America.

B. The first paragraph of item 2. of SECTION II - PROPERTY DAMAGE, C. EXCLUSIONS is replaced with the
   following:

     We do not cover any of the excluded events listed below. Loss or damage will be considered to have been
     caused by an excluded event if the occurrence of that event directly and solely results in physical loss or
     damage, or initiates a sequence of events which results in physical loss or damage, regardless of the nature of
     any intermediate or final event in that sequence.

C. Paragraph i. of SECTION II - PROPERTY DAMAGE, C.2. EXCLUSIONS is replaced by the following:

     i.   Any criminal, fraudulent or dishonest act, including theft, committed alone or in collusion with others:

          (1) By you or any proprietor, partner, director, trustee, officer or employee of an Insured; or

          (2) By any proprietor, partner, director, trustee, or officer of any business or entity (other than a common
              carrier) engaged by you to do anything in connection with property insured under this Policy.

          However, we do cover direct physical loss or damage intentionally caused by your employee or any
          individual specified in (2) above provided that said individuals acted without your knowledge.

          This exclusion will not apply to deny an insured's otherwise covered property loss if the property loss is
          caused by an act of domestic abuse by another insured under this Policy, the insured claiming property
          loss files a police report and cooperates with any law enforcement investigation relating to the act of
          domestic abuse, and the insured claiming property loss did not cooperate in or contnbute to the creation of
          the property loss. Payment by the insurer to an insured may be limited to the person's insurable interest in
          the property less payments made to a mortgagee or other party with a legal secured interest in the property.
          An insurer making payment to an insured under RCW 48.18.120 (1) has all rights of subrogation to recover
          against the perpetrator of the act that caused the loss.




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D.   Paragraph 3. of SECTION IV - DESCRIBED LOSSES, A. EARTH MOVEMENT is replaced by the following:

     3.   EARTH     MOVEMENT\s:

          Earthquake, landslide, subsidence or sinking, rising or shifting of the earth, avalanche, whether natural or
          man-made, or volcanic eruption that directly and solely results in physical loss or damage, or initiates a
          sequence of events which results in physical loss or damage, regardless of the nature of any intermediate
          or final event in that sequence.

          However, physical loss or damage from fire, explosion, sprinkler leakage or FLOOD caused by EARTH
          MOVEMENT        not be considered to be loss by EARTH MOVEMENT w\{h\r\ the terms and conditions of
          this Policy,

E.   Paragraph 2. of SECTION IV - DESCRIBED LOSSES, D. FLOOD is replaced by the following:

     2.   FLOOD is:

          a.   Surface waters; rising waters; storm surge, wave wash; waves; tsunami; tide or tidal water; the release
               of water, the rising, overflowing or breaking of boundaries of natural or man-made bodies of water; or
               the spray therefrom; all whether driven by wind or not;

          b.   Sewer back-up resulting from any of the foregoing; or

          c.   Mudslide or mudflow caused by or resulting from surface water, runoff or accumulation of water on or
               under the ground;
               that directly and solely results in physical loss or damage, or initiates a sequence of events which
               results in physical loss or damage, regardless of the nature of any intermediate or final event in that
               sequence.

          Covered loss from FLOOD associated with a storm or weather disturbance whether or not identified by
          name by any meteorological authority is considered to be FLOOD within the terms of this Policy. However,
          physical loss or damage from fire, explosion or sprinkler leakage caused by FLOOD will not be considered
          to be loss by FLOOD within the terms and conditions of this Policy,

F.   Paragraph C. CONCEALMENT, MISREPRESENTATION OR FRAUD of SECTION V - GENERAL POLICY
     CONDITIONS is replaced by the following:

     C. CONCEALMENT, MISREPRESENTATION OR FRAUD

          This entire Policy is void if you intentionally conceal or misrepresent any material fact or circumstance
          relating to it.

          However, this will not apply to deny an insured's otherwise covered property loss if the property loss is
          caused by an act of domestic abuse by another insured under this Policy, the insured claiming property
          loss files a police report and cooperates with any taw enforcement investigation relating to the act of
          domestic abuse, and the insured claiming property loss did not cooperate in or contribute to the creation of
          the property loss. Payment by the insurer to an insured may be limited to the person's insurable interest in
          the property less payments made to a mortgagee or other party with a legal secured interest in the property.
          An insurer making payment to an insured under RCW 48.18.120 (1) has all rights of subrogation to recover
          against the perpetrator of the act that caused the loss.




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G. Paragraph E. INSPECTION of SECTION V - GENERAL POLICY CONDITIONS is replaced by the following:

     E.   INSPECTION

          1.   During the period ofthis Policy, we will be permitted, but not obligated, to inspect the covered property.
               Our right to inspect, the performance of or failure to inspect, and any report ansing out of an inspection
               will not constitute an undertaking or imply that the property is safe, healthful, or in compliance with laws,
               regulations, codes or standards. We will have no liability to you or others because of any inspection
               or failure to inspect, or on account of anyone's use or reliance upon any report or other information
               generated during the course of, or as a result of any inspection.

          2.   This condition does not apply to any inspections, surveys, reports or recommendations we may make
               relative to certification, under state or municipal statutes, ordinances or regulations, of boilers, pressure
               vessels or elevators.

H. Paragraph F. LENDERS LOSS PAYEE AND MORTGAGEE INTERESTS AND OBLIGATIONS of SECTION V
   - GENERAL POLICY CONDITIONS is deleted and replaced by endorsement PY 03 21 Washington Lender's
   Loss Payable Endorsement as required by the Washington Insurance Commissioner.

I.   Paragraph 5. of SECTION V - GENERAL POLICY CONDITIONS, OTHER INSURANCE is replaced by the
     following:

     5.   You may have other insurance subject to the same plan, terms, conditions and provisions as the insurance
          under this Policy. If you do, we will pay our share of the covered loss or damage. Our share is the
          proportion that the applicable LIMIT OF LIABILITY under this Policy bears to the limits of liability of all
          insurance covering on the same basis.

J.   Paragraph 2. of SECTION V - GENERAL POLICY CONDITIONS, VALUATION is replaced by the following:

     2.   You may elect not to repair or replace the covered property lost, damaged or destroyed. Loss settlement
          may be elected on the lesser of repair or replacement cost basis if the proceeds of such loss settlement
          are expended on other capital expenditures related to your operations within two (2) years from the date
          of loss. As a condition of collecting under this provision, such expenditure must be unplanned as of the date
          of loss and be made at a covered location under this Policy. This provision does not extend to
          DEMOLITION AND INCREASED COST OF CONSTRUCTION or to property scheduled for demolition at
          the time of loss.

          Replacement cost means the cost to replace covered property:
          a.   With new materials of like kind and quality and used for the same purpose; and

          b.   At the location where the loss happened.

          But replacement cost excludes any increased cost of repair or reconstruction by reason of any law or
          ordinance regulating construction, repair or use.

K. Paragraph 2. of SECTION VI - LOSS CONDITIONS, H. SUBROGATION is replaced by the following:

     2.   We will be entitled to a recovery only after you have been fully compensated for damages.

L.   Paragraph 1. of SECTION Vll - DEFINITIONS is replaced by thefollowing:

     1.   Actual cash value: The amount it would cost to repair or replace covered property, on the date of loss,
          with material of like kind and quality, but in no event more than the fair market value




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M. Paragraph B. of endorsement PY 04 04 EXCLUSION OF CERTIFIED ACTS OF TERRORISM is replaced by
   the following:

    B. The following exclusion is added:

        CERTIFIED ACT OF TERRORISM EXCLUSION

        We will not pay for loss or damage caused by or resulting from a "certified act of terrorism". Loss or damage
        will be considered to have been caused by or resulting from a "certified act of terrorism" if the occurrence
        of that "certified act of terrorism" directly and solely results in physical loss or damage, or initiates a
        sequence of events which results in physical loss or damage, regardless of the nature of any intermediate
        or final event in that sequence.


All other terms and conditions remain unchanged.




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Policy Number        YAC-L9L-450425-020

Issued by            Employers Insurance Company of Wausau

THIS ENDORSEMENT CHANGES THE POLICY. P L E A S E READ IT C A R E F U L L Y .

                          WASHINGTON CHANGES - CANCELLATION AND NONRENEWAL

This endorsement modifies insurance provided under the following:

     PREMIER PROPERTY PROTECTOR™

A.   Paragraph B. CANCELLATION of SECTION V - GENERAL POLICY CONDITIONS is replaced by the

     following:

     B.   CANCELLATION

          1.    You may cancel this Policy by notifying us or y o u r insurance agent or broker in one of the following

               ways:

                a.   Written notice by mail, fax or e-mail;

                b.   Surrender of the Policy or binder; or

                c. Verbal notice.
               Upon receipt of such notice, we will cancel this Policy or any binder issued as evidence of coverage,
               effective on the later of the following:
                a. The date on which notice is received or the Policy or binder is surrendered; or

                b.   The date of cancellation requested by you,

          2.   We may cancel this Policy by mailing or delivering to you and your insurance agent or broker written
               notice of cancellation, including the actual reason for the cancellation, to the last mailing address
               known to us, at least:

               a.    Ten (10) days before the effective date of cancellation if we cancel for nonpayment of premium;
                     or

               b.    Forty-five (45) days or the number of days specified in the CANCELLATION TIME
                     SPECIFICATIONS, whichever is greater, before the effective date of cancellation if we cancel for
                     any other reason;
               except as provided in Paragraph 3. below.

          3.   We may cancel the Policy, by mailing or delivering to you and your insurance agent or broker written
               notice of cancellation at least five (5) days before the effective date of cancellation for any real
               property where two or more of the following conditions exist:

               a.    Without reasonable explanation, the real property is unoccupied for more than sixty (60)
                     consecutive days, or at least 65% of the rental units are unoccupied for more than one hundred
                     twenty (120) consecutive days, unless the real property is maintained for seasonal occupancy or
                     is under construction or repair;

               b.    Without reasonable explanation, progress toward completion of permanent repairs to the real
                     property has not occurred within sixty (60) days after receipt of funds following satisfactory
                     adjustment or adjudication of loss resulting from a fire;



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              c.   Because of its physical condition, the real property is in danger of collapse;

              d.   Because of its physical condition, a vacation or demolition order has been issued for the real
                   property, or it has been declared unsafe in accordance with applicable law;

              e.   Fixed and salvageable items have been removed from the real property, indicating an intent to
                   vacate the real property;

              f.   Without reasonable explanation, heat, water, sewer and electricity are not furnished for the real
                   property for sixty (60) consecutive days; or

              g.   The real property is not maintained in substantial compliance with fire, safety and building
                   codes,

         4.   We will also mail or deliver to any mortgagee, pledgee or other person shown in this Policy to have an
              interest in any loss which may be covered under this Policy, at their last mailing address known to us,
              written notice of cancellation, prior to the effective date of cancellation. If cancellation is for reasons
              other than those contained in Paragraph A.3. above, this notice will be the same as that mailed or
              delivered to you. If cancellation is for a reason contained in Paragraph A.3. above, we will mail or
              deliver this notice at least twenty (20) days prior to the effective date of cancellation,

         5.   Notice of cancellation will state the effective date of cancellation. The Policy period will end on that
              date.

         6.   If this Policy is cancelled, we will send you any premium refund due. If we cancel, the refund will be
              pro rata. If you cancel, the refund will be at least 90% of the pro rata refund. The cancellation will be
              effective even if we have not made or offered a refund,

         7.   If notice is mailed, proof of mailing will be sufficient proof of notice.

B. The NONRENEWAL provision of SECTION V - GENERAL POLICY CONDITIONS Is replaced by the
   following:

    NONRENEWAL

    We may decide not to renew this Policy by mailing or delivering written notice of nonrenewal, stating the
    reasons for nonrenewal, to you and your insurance agent or broker at their last mailing addresses known to
    us. If notice is mailed, proof of mailing will be sufficient evidence of notice. We will also mail to any
    mortgagee, pledgee or other person shown in this Policy to have an interest in any loss which may be
    covered under this Policy, at their last mailing address known to us, written notice of nonrenewal. We will mail
    or deliver these notices at least sixty (60) days before the:

    1.   Expiration of the Policy; or
    2.   Anniversary date of this Policy if this Policy has been written for a term of more than one (1) year.

    If notice of nonrenewal is not received by you as outlined above, you and your insurance agent or broker will
    receive written notice of our intent to renew this Policy This notice will be sent at least twenty (20) days prior
    to the Policy expiration or anniversary date. Included in this notice will be changes, if any. in rates, terms, or
    conditions made to the expiring Policy, We will mail or deliver the notice to you and your insurance agent or
    broker, at their last mailing address known to us.

    This notice will not be sent if we have received written notice, prior to the expiration date of this Policy, of
    your intent to obtain replacement coverage elsewhere or that you have already done so.




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Endorsement number 1 for policy number YAC-L9L-450425-020

Named Insured Board of Regents of the University of Washington Husky Stadium

This endorsement is effective 03/01/2020 and will tenninate with the poHcy. It is issued by the company designated
in the Declarations. All other provisions of the policy remain unchanged.

             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT C A R E F U L L Y .


                                             Change Endorsement


DESCRIPTION OF CHANGE                                                                                  PREMIUM


REMOVAL OF VACANCY CONDITION, Form PY 04 10 01 17 is added per the attached.


No change in premium.




PREMIUM (EXCLUDING TERRORISM RISK INSURANCE ACT (TRIA) PREMIUM):
TERRORISM RISK INSURANCE ACT (TRIA) PREMIUM:
OTHER CHARGES:


TOTAL AMOUNT PAYABLE FOR ENDORSEMENT:

                                                      1C9999
Issued: 6/3/2020                                       10-11                                            Page I of 1
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Policy Number YAC-L9L-450425-020

Issued by         Employers Insurance Company of Wausau

                 THIS ENDORSEMENT CHANGES THE POLICY. P L E A S E READ IT C A R E F U L L Y .

                                     REMOVAL OF VACANCY CONDITION

This endorsement modifies insurance provided under the following:

    PREMIER PROPERTY PROTECTOR™


The VACANCY condition of SECTION V - GENEF^L POLICY CONDITIONS does not apply to the location(s)
shown in the Schedule of this endorsement.

                                                   Schedule

                                                    Location(s)
     As per SOV on file with Company


All other terms and conditions remain unchanged.




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Endorsement number 1 for policy number YAC-L9L-450425-020

Named Insured Board of Regents of the University of Washington Husky Stadium

This endorsement is effective 03/01/2020 and will tenninate with the poUcy. It is issued by the company designated
in the Declarations. All other provisions of the policy remain unchanged.

            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ I T C A R E F U L L Y .


                                              Change Endorsement


DESCRIPTION OF CHANGE                                                                                  PREMIUM


REMOVAL OF VACANCY CONDITION, Form PY 04 10 01 17 is added per the attached.


No change in premium.




 PREMIUM (EXCLUDING TERRORISM RISK INSURANCE ACT {TRIA) PREMIUM):
 TERRORISM RISK INSURANCE ACT (TRIA) PREMIUM:
 OTHER CHARGES:


 TOTAL AMOUNT PAYABLE FOR ENDORSEMENT:

                                                        IC9999
 Issued: 6/3/2020                                        10-11                                            Pagel o f l
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Policy Number YAC-L9L-450425-020

Issued by         Employers Insurance Company of Wausau

              THIS ENDORSEMENT CHANGES THE POLICY. P L E A S E READ IT C A R E F U L L Y .

                                   REMOVAL OF VACANCY CONDITION

This endorsement modifies insurance provided under the following:

    PREMIER PROPERTY PROTECTOR™


The VACANCY condition of SECTION V - GENERAL POLICY CONDITIONS does not apply to the location(s)
shown in the Schedule of this endorsement.

                                                   Schedule

                                                    Location(s)
     As per SOV on file with Company


Alt other terms and conditions remain unchanged.




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Endorsement number 2 for policy number YAC-L9L-450425-020

Named Insured The Board of Regents of the University of Washington and any subsidiary, associated or allied
company, corporation, firm, organization, and the Board of Regents of the University of Washington's
interest in any partnership or joint venture in which the Board of Regents of the University of Washington
has management control or ownership as now constituted or hereafter is acquired, as the respective interest
of each may appear.

This endorsement is effective 03/01/2020 and will tenninate with the policy. It is issued by the company designated
in the Declarations. All other provisions of the policy remain unchanged.

            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                                              Change Endorsement


DESCRIPTION OF CHANGE                                                                                   PREMIUM


POLICY COVER PAGE, Fonn PY 00 00 01 17 is amended as follows;

The Named Insured on the Policy Cover Page is changed to: The Board of Regents ofthe
University of Washington and any subsidiary, associated or allied company, corporation, firm,
organization, and the Board of Regents ofthe University of Washington's interest in any
partnership orjoint venture in which the Board of Regents ofthe University of Washington has
management control or ownership as now constituted or hereafter is acquired, as the respective
interest of each may appear.

Formerly: Board of Regents ofthe University of Washington Husky Stadium


SECTION I - DECLARATIONS, Form PY 00 01 02 17 is amended as follows:

The First Named Insured on the Declarations is changed to: The Board of Regents of the
University of Washington and any subsidiary, associated or allied company, corporation, firm,
organization, and the Board of Regents of the University of Washington's interest in any
partnership orjoint venture in which the Board of Regents ofthe University of Washington has
management control or ownership as now constituted or hereafter is acquired, as the respective
interest of each may appear.

Formerly: Board of Regents ofthe University of Washington Husky Stadium


No change in premium.



PREMIUM (EXCLUDING TERRORISM RISK INSURANCE ACT (TRIA) PREMIUM):
TERRORISM RISK INSURANCE ACT (TRL\) PREMIUM:
OTHER CHARGES:


TOTAL AMOUNT PAYABLE FOR ENDORSEMENT:

                                                       IC9999
Issued: 10/20/2020                                      10-11                                            Page I of 1
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Endorsement number 2 for policy number YAC-L9L-450425-020

Named Insured The Board of Regents of the University of Washington and any subsidiary, associated or allied
company, corporation, firm, organization, and the Board of Regents of the University of Washington's
interest in any partnership orjoint venture in which the Board of Regents of the University of Washington
has management control or ownership as now constituted or hereafter is acquired, as the respective interest
of each may appear.

This endorsement is effective 03/01 /2020 and will tenninate with the policy. It is issued by the company designated
in the Declarations. All other provisions of the policy remain unchanged.

            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                                              Change Endorsement


DESCRIPTION OF CHANGE                                                                                    PREMIUM


POLICY COVER PAGE, Fomi PY 00 00 01 17 is amended as follows:

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University of Washington and any subsidiary, associated or allied company, corporation, firm,
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partnership orjoint venture in which the Board of Regents ofthe University of Washington has
management control or ownership as now constituted or hereafter is acquired, as the respective
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Formerly: Board of Regents ofthe University of Washington Husky Stadium


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University of Washington and any subsidiary, associated or allied company, corporation, firm,
organization, and the Board of Regents ofthe University of Washington's interest in any
partnership orjoint venture in which the Board of Regents ofthe University of Washington has
management control or ownership as now constituted or hereafter is acquired, as the respective
interest of each may appear.

Formerly: Board of Regents of the University of Washington Husky Stadium


No change in premium.




PREMIUM (EXCLUDING TERRORISM RISK INSURANCE ACT {TRIA) PREMIUM):
TERRORISM RISK INSURANCE ACT {TRIA) PREMIUM:
OTHER CHARGES:


TOTAL AMOUNT PAYABLE FOR ENDORSEMENT:

                                                       IC9999
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                     Exhibit 5
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                     PARKER, SMITH & FEEK
                        Vacancy Clause



    This policy contains a vacancy clause, coverage will be
    reduced or eliminated in the event the building is vacant in
    excess of 60 days.

    Please call us if you anticipate this situation.

    Thank you




Toll Free: 800-457-0220

Bellevue: 425-709-3600
Anchorage: 907-562-2225
Portland: 503-416-6870
Fax: XXX-XX-XXXX
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  THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF YOUR POLICY IN RESPONSE TO THE
DISCLOSURE REQUIREMENTS OF THE TERRORISM RISK INSURANCE ACT. THIS ENDORSEMENT DOES
NOT GRANT ANY COVERAGE OR CHANGE THE TERMS AND CONDITIONS OF ANY COVERAGE UNDER
                                    THE POLICY.


                                 DISCLOSURE PURSUANT TO TERRORISM RISK
                                             INSURANCE ACT


A. Disclosure Of Premium

    In accordance with the federal Terrorism Risk Insurance Act, we are required to provide you with a notice
    disclosing the portion of your premium, if any, atthbutable to coverage for terronst acts certified under the
    Terronsm Risk Insurance Act. The portion of your premium attributable to such coverage is shown in D.
    PREMIUM in the Declarations.

B. Disclosure Of Federal Participation In Payment Of Terrohsm Losses

    The United States Government, Department of the Treasury, will pay a share of terrorism losses insured under
    the federal program. Beginning in calendar year 2020, the federal share equals 80% of that portion of the
    amount of such insured losses that exceeds the applicable insurer retention. However, if aggregate insured
    losses attributable to terronst acts certified under the Terrohsm Risk Insurance Act exceed $100 billion in a
    calendar year, the Treasury shall not make any payment for any portion of the amount of such losses that
    exceeds $100 billion.

C. Cap On Insurer Participation In Payment Of Terrorism Losses

    If aggregate insured losses attributable to terrorist acts certified under the Terrorism Risk Insurance Act exceed
    $100 billion in a calendar year and we have met our insurer deductible underthe Terrorism Risk Insurance Act,
    we shall not be liable for the payment of any portion of the amount of such losses that exceeds $100 billion,
    and in such case insured losses up to that amount are subject to pro rata allocation in accordance with
    procedures established by the Secretary of the Treasury.




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 IMPORTANT NOTICE REGARDING THE EXPIRATION OF THE TERRORISM RISK INSURANCE ACT AND
                  THE REDUCTION IN C O V E R A G E FOR TERRORISM L O S S E S


                                    P L E A S E READ THIS NOTICE C A R E F U L L Y


This is to notify you of a change in coverage for terrorism losses under your Premier Property Protector insurance
policy when the Terrorism Risk Insurance Act ("TRIA") expires, which is scheduled to occur on December 31, 2020.

TRIA, as amended, is a temporary program that spreads losses from government "certified" acts of terrorism
between insurers and the federal government. In summary, TRIA requires insurers to make coverage for "certified
acts of terrorism" available, and to pay losses from "certified acts of terrorism" up to a deductible amount. If an
individual insurer's losses exceed this amount, the government will reimburse the insurer a certain percentage (81 %
in 2019 and 80% in 2020) of losses paid in excess of the deductible.

Policyholders have the option to accept or reject this coverage.

TRIA will expire on December 31, 2020, unless Congress and the President act to extend it. Otherwise, after 2020,
the federal government will no longer "certify" acts of terrorism or reimburse losses caused by "certified acts of
terrorism."

If you purchase coverage for "certified acts of terrorism," and TRIA expires on or after December 31, 2020, your
insurance coverage will be reduced. After the date TRIA expires, where permitted by state law*, your policy will
exclude coverage for losses from acts of terrorism.

If you elect not to purchase coverage for "certified acts of terrorism," and TRIA expires on or after December 31,
2020, losses caused by terrorist acts will continue to be excluded from your policy, where and as permitted by state
law*.

The terrorism exclusion in your policy is not a complete exclusion. While the exclusion applies to terrorism events
directly or indirectly involving nuclear or radioactive agents or materials, or pathogenic or poisonous biological or
chemical agents or materials, it does not apply to so-called "conventional" acts of terrorism until the total event wide
insured property damage (including business income) is in excess of $25,000,000. Please refer to Section 11 -
PROPERTY DAMAGE, C. EXCLUSIONS, 2.a.to review the exclusion and subsection (6) to understand the
coverage available.

* Exclusion 2.a. does not apply to locations in New York.




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                                                                                                    CNI 90 11 07 18



                            REPORTING A COMMERCIAL CLAIM 24 HOURS A DAY


Liberty Mutual Insurance claims professionals across the United States are ready to resolve your claim
quickly and fairly, so you and your team can focus on your business. Our claims teams are specialized,
experienced and dedicated to a high standard of service.

We're Just a CaH Away — One Phone Number to Report All Commercial Insurance Claims

Reporting a new claim has never been easier. A Liberty Mutual customer service representative is available to you
24/7 at 800-362-0000 for reporting new property, auto, liability and workers' compensation claims. With contact
centers strategically located throughout the country for continuity and accessibility, we're there when we're needed!

Additional Resource for Workers' Compensation Customers

In many states, employers are required by law to use state-specific workers compensation claims forms and posting
notices. This type of information can be found in the Policyholders Toolkit section of our website along with other
helpful resources such as:

    •   Direct links to state workers compensation websites where you can find state-specific claim forms
    •   Assistance finding local medical providers
    •   First Fill pharmacy forms — part of our managed care pharmacy program committed to helping injured
        workers recover and return to work

Our Policyholder Toolkit can be accessed at www.libertymutualgroup.com/toolkit.

For all claims inquiries please call us at 800-362-0000.




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                          LIBERTY MUTUAL GROUP CALIFORNIA PRIVACY NOTICE
                             Commercial Lines (excluding Workers' Compensation)
                                         (Effective January 1, 2020)


Liberty Mutual Group and its affiliates, subsidiaries, and partners (collectively "Liberty Mutual" or "we", "us" and
"our") provide insurance to companies and other insurers. This Privacy Notice explains how we gather, use, and
share your data. This Privacy Notice applies to you if you are a Liberty Mutual commercial line insured or are
a commercial line claimant residing in California. It does not apply to covered employees or claimants under
Workers' Compensation policies. If this notice does not apply to you, go to libertymutual.com/privacy to review the
applicable Liberty Mutual privacy notice.

What Data Does Liberty Mutual Gather?

We may collect the following categories of data:

    •   Identifiers, including a real name, alias, postal address, unique personal identifier, online identifier, Internet
        Protocol address, email address, account name, Social Security Number, driver's license number, or other
        similar identifiers;
    •   Personal information described in California Civil Code § 1798.B0(e), such as your name, signature,
        Social Security Number, physical characteristics or description, address, telephone number, driver's license
        or state identification card number, insurance policy number, education, employment, employment history,
        bank account number, financial information, medical information, or health insurance information;
    •   Protected classification characteristics, including age, race, color, national origin, citizenship, religion or
        creed, marital status, medical condition, physical or mental disability, sex (including gender, gender identity,
        gender expression, pregnancy or childbirth and related medical conditions), sexual orientation, or veteran
        or military status;
    •   Commercial information, including records of personal property, products or services purchased,
        obtained, or considered, or other purchasing or consuming histories and tendencies;
    •   Internet or other similar network activity, including browsing history, search history, information on a
        consumer's interaction with a website, application, or advertisement;
    •   Professional or employment related information, including current or past job history or peri'ormance
        evaluations;
    •   Inferences drawn from other personal information, such as a profile reflecting a person's preferences,
        characteristics, psychological trends, predispositions, behavior, attitudes, intelligence, abilities, and
        aptitudes;
    •   Risk data, including data about your driving and/or accident history; this may include data from consumer
        reporting agencies, such as your motor vehicle records and loss history information, health data, or criminal
        convictions; and
    •   Claims data, including data about your previous and current claims, which may include data regarding your
        health, criminal convictions, third party reports, or other personal data.

For information about the types of personal data we have collected about California consumers in the past twelve
(12) months, please go to libertymutual.com/privacy and click on the link for the California Supplemental Privacy
Policy.

How We Get the Personal Data:


 We gather your personal data directly from           We also gather your personal data from other people. For
 you. For example, you provide us with data           example:
 when you:
 • ask about, buy insurance or file a claim           • your insurance agent or broker
 • pay your policy                                    • your employer, association or business (if you are
                                                        insured through them)
 • visit our websites, call us, or visit our office   • our affiliates or other insurance companies about your
                                                        transactions with them

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                                                    •   consumer reporting agencies, Motor Vehicle
                                                        Departments, and inspection services, to gather your
                                                        credit history, driving record, claims history, or value and
                                                        condition of your property
                                                    •   other public directories and sources
                                                    •   third parties, including other insurers, brokers and
                                                        insurance support organizations who you have
                                                        communicated with about your policy or claim, anti-fraud
                                                        databases, sanctions lists, court judgments and other
                                                        databases, government agencies, open electoral register
                                                        or in the event of a claim, third parties including other
                                                        parties to the claim witnesses, expert loss adjustors and
                                                        claim handlers

                                                    •   other third parties who take out a policy with us and are
                                                        required to provide your data such as when you are
                                                        named as a beneficiary or where a family member has
                                                        taken out a policy which requires your personal data

For information about how we have collected personal data in the past twelve (12) months, please go to
libertymutual.com/privacy and click on the link for the California Supplemental Privacy Policy.

How Does Libertv Mutual Use Mv Data?

Liberty Mutual uses your data to provide you with our products and services, and as otherwise provided in this
Privacy Notice. Your data may be used to:

 Business Purpose                                          Data Categories
 Market, sell and provide insurance. This includes         • Identifiers
 for example:                                              • Personal Information
      •  calculating your premium;                         • Protected Classification Characteristics
      •  determining your eligibility for a quote;         • Commercial Information
      •  confirming your identity and service your         • Internet or other similar network activity
         policy;                                           • Professional or employment related information
                                                           • Inferences drawn from other personal information
                                                           • Risk data
                                                           • Claims data
 Manage your claim. This includes, for example:            • Identifiers
    •  managing your claim, if any;                        • Personal Information
    •  conducting claims investigations;                   • Protected Classification Characteristics
    •  conducting medical examinations;                    • Commercial Information
    •  conducting inspections, appraisals;                 • Internet or other similar network activity
    •  providing roadside assistance;                      • Professional or employment related information
    •  providing rental car replacement, or repairs;       • Inferences drawn from other personal information
                                                           • Risk data
                                                           • Claims data
 Day to Day Business and Insurance Operations.             • Identifiers
 This includes, for example:                               • Personal Information
     •    creating, maintaining, customizing and           • Protected Classification Characteristics
          securing accounts;                               • Commercial Information
     •    supporting day-to-day business and               • Internet or other similar network activity
          insurance related functions;                     • Professional or employment related information
     •    doing internal research for technology           • Inferences drawn from other personal information
          development;                                     • Risk data
     •    marketing and creating products and              • Claims data
          services;
     •    conducting audits related to a current contact
          with a consumer and other transactions;

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         as described at or before the point of
         gathering personal data or with your
         authorization;
 Security and Fraud Detection. This includes for               Identifiers
 example:                                                      Personal Information
      •  detecting security issues;                            Protected Classification Characteristics
      •  protecting against fraud or illegal activity, and     Commercial Information
         to comply with regulatory and law                     Internet or other similar network activity
         enforcement authorities;                              Professional or employment related information
      •  managing risk and securing our systems,               Inferences drawn from other personal information
         assets, infrastructure and premises; roadside         Risk data
         assistance, rental car replacement, or repairs        Claims data
      •  help to ensure the safety and security of
         Liberty staff, assets and resources, which
         may include physical and virtual access
         controls and access rights management;
      •  supervisory controls and other monitoring and
         reviews, as permitted by law; and emergency
         and business continuity management;
 Regulatory and Legal Requirements. This includes              Identifiers
 for example:                                                  Personal Information
      •  controls and access rights management;                Protected Classification Characteristics
      •  to evaluate or conduct a merger, divestiture,         Commercial Information
         restructuring, reorganization, dissolution, or        Internet or other similar network activity
         other sale or transfer of some or all of              Professional or employment related information
         Liberty's assets, whether as a going concern          Inferences drawn from other personal information
         or as part of bankruptcy, liquidation, or similar     Risk data
         proceeding, in which personal data held by            Claims data
         Liberty is among the assets transferred;
      •  exercising and defending our legal rights and
         positions;
      •  to meet Liberty contract obligations;
      •  to respond to law enforcement requests and
         as required by applicable law, court order, or
         governmental regulations;
      •  as otherwise permitted by law.

 Improve Your Customer Experience and Our                      Identifiers
 Products. This includes for example:                          Personal Information
    •   improve your customer experience, our                  Commercial Information
        products and service;                                  Internet or other similar network activity
    •   to provide, support, personalize and develop           Professional or employment related information
        our website, products and services;                    Inferences drawn from other personal information
    •   create and offer new products and services;            Risk data
                                                               Claims data
 Analytics to identify, understand and manage our              Identifiers
 risks and products. This includes for example:                Personal Information
     •   conducting analytics to better identify,              Protected Classification Characteristics
         understand and manage risk and our                    Commercial Information
         products;                                             Internet or other similar network activity
                                                               Professional or employment related information
                                                               Inferences drawn from other personal information
                                                               Risk data
                                                               Claims data
 Customer service and technical support. This                  Identifiers
 includes for example:                                         Personal Information
      •  answer questions and provide notifications;           Commercial Information
      •  provide customer and technical support;               Internet or other similar network activity
                                                               Professional or employment related information

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                                                           • Inferences drawn from other personal information
                                                           • Risk data
                                                           • Claims data

How Does Liberty Mutual Share Mv Data?

Liberty Mutual does not sell your personal data as defined by the California Consumer Privacy Act.

Liberty Mutual shares personal data of California consumers with the following categories of third parties:

    •   Liberty Mutual affiliates;
    •   Service Providers;
    •   Public entities and institutions (e.g. regulatory, quasi-regulatory, tax or other authorities, law enforcement
        agencies, courts, arbitrational bodies, and fraud prevention agencies);
    •   Professional advisors including law firms, accountants, auditors, and tax advisors;
    •   Insurers, re-insurers, policy holders, and claimants; and
    •   As permitted by law.

Liberty Mutual shares the following categories of personal data regarding California consumers to service providers
for business purposes:

        Identifiers                                                          Personal Data;
        Protected Classification Characteristics;                            Commercial Information;
        Internet or other similar network activity;                          Claims Data;
        Inferences drawn from other personal information;                    Risk Data;
        Professional, employment, and education information;

For information about how we have shared personal infonmation in the past twelve (12) months, please go to
libertymutual.com/privacy and click on the link for the California Supplemental Privacy Policy.

What Privacy Rights Do I Have?

The California Consumer Privacy Act provides California residents with specific rights regarding personal
information. These rights are subject to certain exceptions. Our response may be limited as permitted under law.

Access or Deletion

You may have the right to request that Liberty Mutual disclose certain information to you about our collection and
use of your personal data in the twelve (12) months preceding such request, including a copy of the personal data
we have collected. You also may have the right to request that Liberty Mutual delete personal data that Liberty
Mutual collected from you, subject to certain exceptions.

Specifically, you have the right to request that we disclose the following to you, in each case for the twelve (12)
month period preceding your request:

        the categories of personal data we have collected about you;
        the categories of sources from which the personal data was/is collected;
        our business or commercial purpose for collecting personal data;
        the categories of third parties with whom we share personal data;
        the specific pieces of data we have collected about you;
        the categories of personal data about you, if any, that we have disclosed for monetary or other valuable
        consideration, including the categories of third parties to which we have disclosed the data, by category or
        categories of personal data for each third party to which we disclosed the personal data; and
        the categories of personal data about you that we disclosed for a business purpose.




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You can make a request by either:

    Calling:   800-344-0197

    Online:       libertymutualgroup.com/privacy-policy/data-request

    Mail:      Attn: Privacy Office
               Liberty Mutual Insurance Company
               175 Berkeley St., 6th Floor
               Boston, MA 02116

You may also make a verifiable consumer request on behalf of your minor child.

You or your authorized agent may only make a verifiable consumer request for access or data deletion twice within
a twelve (12) month period. The verifiable consumer request must provide sufficient information that allows Liberty
Mutual to reasonably verify that you are the person about whom Liberty Mutual collected personal data or an
authorized representative of such person; and describe your request with sufficient detail that allows Liberty Mutual
to properly understand, evaluate, and respond to it For more information about how Liberty Mutual will verify your
identity and how an authorized agent may make a request on your behalf, go to libertymutual.com/privacy and click
on the California Supplemental Privacy Policy.

Response Timing

Liberty Mutual will respond to a verifiable consumer request within forty-five (45) days of its receipt. If more time is
needed. Liberty Mutual will inform you of the reason and extension period in writing.

Any disclosures that will be provided will only cover the twelve (12) month period preceding our receipt of the
verifiable consumer request. If Liberty Mutual is unable to fulfill your request, you will be provided with the reason
that the request cannot be completed. For more information about how we will respond to requests, go to
libertymutual.com/privacy and click on the California Supplemental Privacy Policy.

Rights to opt in and out of data selling

California consumers have the right to direct businesses not to sell your personal data (opt-out rights), and personal
data of minors under 16 years of age will not be sold, as is their right, without theirs or their parents' opt-in consent.
Liberty Mutual does not sell the personal data of consumers. For more information, go to libertymutual.com/privacy
and click on the California Supplemental Privacy Policy.

No account needed

You do not need to create an account with Liberty Mutual to exercise your rights. Liberty Mutual will only use
personal data provided in a request to review and comply with the request.

No discrimination

You have the right not to be discriminated against for exercising any of your CCPA rights. Unless permitted by the
CCPA, exercising your rights will not cause Liberty Mutual to:

    •   Deny you goods or services;
    •   Charge you different prices or rates for goods or services, including through granting discounts or other
        benefits, or imposing penalties;
    •   Provide you a different level or quality of goods or services; or
    •   Suggest that you may receive a different price or rate for goods or services, or a different level or quality of
        goods or services.




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Will Liberty Mutual Update This Privacv Notice?

We reserve the right to makes changes to this notice at any time and for any reason. The updated version of this
policy will be effective once it is accessible. You are responsible for reviewing this policy to stay informed of any
changes or updates.

Who Do I Contact Regarding Privacv?

If you have any questions or comments about this Notice or the Supplemental CCPA Notice, your rights, or are
requesting the Notice in an alternative format, please do not hesitate to contact Liberty Mutual at:

Phone:                   800-344-0197

Email:                   Drivacv(a)libertvm utual.com

Postal Address:         Attn: Privacy Office
                        Liberty Mutual Insurance Company
                        175 Berkeley SL, 6th Floor
                        Boston, MA 02116




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                                                                                               Liberty
                                                                                               Mutual
                                                                                                    INSURANCE

                                 PREMIER PROPERTY PROTECTOR

                                             POLICY COVER PAGE
  POLICY NUMBER:                                    DATEOFISSUE:
  YAC-L9L-450425-030                                2/26/2020
  COMPANY PROVIDING INSURANCE:
  Employers Insurance Company of Wausau
                              ( hereafter referred to as we, us or our)

In consideration of this Policy's Provisions, Conditions, Stipulations, LIMITS OF LIABILITY and of premium charged,
we cover property, as described in this Policy, against all risks of direct physical loss or damage, except as
hereinafter excluded or limited, while located as described in this Policy.

We insure:
 Board of Regents of the University of Washington Athletics
                                ( hereafter referred to as you or your(s) )

The term of this Policy is from 3/1/2020 to 3/1/2021 at 12:01 a.m., local time. In the event of a claim, the Policy
period is measured by local time at the location where the direct physical loss or damage occurs.

PRODUCER NAME AND OFFICE

PARKER SMITH & FEEK INC
2233 112TH AVE NE,
BELLEVUE, WA 98004

Your policy is issued by a stock insurance company subsidiary of the Liberty Mutual Holding Company Inc., a
Massachusetts mutual holding company. The named insured first named in the Declarations is a member of Liberty
Mutual Holding Company Inc.

As a member of Liberty Mutual Holding Company Inc., the named insured first named is entitled, among other
things, to vote either in person or by proxy at the annual meeting or special meetings of said company. The Annual
Meeting of Liberty Mutual Holding Company Inc. is at its offices located at 175 Berkeley Street, Boston,
Massachusetts, on the second Wednesday in April each year at ten o'clock in the morning. Members of Liberty
Mutual Holding Company Inc. may request a copy of the company's annual financial statements, which are posted
on Liberty Mutual's website at vww,libertymutual.com or by writing to Liberty Mutual Holding Company Inc.,
175 Berkeley Street, Boston, Massachusetts, 02116, Attention: Corporate Secretary.

You may be eligible to participate in the distribution of surplus funds of the company through any dividends that
may be declared for this policy. A declaration or payment of dividends is not guaranteed. The amount of any
dividends that may be declared shall be to the extent, and upon the conditions fixed and determined by the Board
of Directors and in compliance with any laws that apply.

IN WITNESS WHEREOF, the company has caused this Policy to be executed and attested, and, if required by
state law, this Policy shall not be valid unless countersigned by a duly authorized representative of the company.


                                                                                                o

        President                                Secretary
                                                                                             CO CN
                                                                                                ro

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                                     SECTION I - DECLARATIONS

A. FIRST NAMED INSURED AND MAIUNG ADDRESS

     Board of Regents of the University of Washington Athletics and any subsidiary, and the interest of Board of
     Regents of the University of Washington Athletics in any partnership or joint venture in which Board of Regents
     of the University of Washington Athletics has management control, ownership, or is obligated to insure, as now
     constituted or hereafter is acquired, as the respective interest of each may appear; all hereafter referred to as
     you or yours, including legal representatives.

     When any Insured described above is a party to a written contract or agreement on file that requires a legal
     entity to be identified as an additional insured under this Policy, this Policy includes the legal entity as an
     additional insured, as its interest may appear, for physical damage to covered property which is the subject of
     the written contract or agreement on file, before any loss occurs; and does not provide any TIME ELEMENT
     Coverage to the legal entity, except as provided under LEASEHOLD INTEREST of this Policy or as specifically
     endorsed to the Policy.

     Compliance and Risk Services
     Box 354964; 4300 Roosevelt Way NE
     Seattle, WA 98105

B. POLICY PERIOD

     The term of this Policy is from March 1, 2020 to March 1, 2021 at 12:01 a.m., local time. In the event of a claim,
     the Policy period is measured by local time at the location where the direct physical loss or damage occurs.

C. INSURING AGREEMENT

     In consideration of this Policy's Provisions, Conditions, Stipulations, LIMITS OF LIABILITY and of premium
     charged, we cover property, as described in this Policy, against all risks of direct physical loss or damage,
     except as hereinafter excluded or limited, while located as described in this Policy.

D.   PREMIUM

     This Policy is issued in consideration of the following initial premium inclusive of any premium shown on
     endorsements which are part of the Policy at the time of issue.

                                                                                $103,032
       Policy Premium (Excluding premium for "certified act(s) of
       terrorism" under the Terrorism Risk Insurance Act (TRIA), as
       amended):


       Policy Premium for "certified act(s) of terrorism" under the             Rejected
       Terrorism Risk Insurance Act (TRIA), as amended:


          •   Policy Premium for Fire Following Acts of Terrorism (in
                                                                                $4,077
              States where required)

       State or Municipal Taxes, Surcharges and Other Miscellaneous
                                                                                $0
       Charges: (See State or Municipal Taxes, Surcharges and Other
       Miscellaneous Charges summary shown below)


       Total Policy Premium/Other Charges for Above Policy Period:              $107,109




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      Policy Premium will be billed annual.

      The Deposit Premium/Other Charges is:                                $107,109


E. PREMIUM PAYABLE

   The First Named Insured pays the premium under this Policy, and any return of the paid premium accruing
   under this Policy will be paid to the account ofthe First Named Insured.

    Premiums will be paid in the currency designated in paragraph I. CURRENCY.




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F. COVERED LOCATION(S)

   This Policy applies at a location(s):

   1.   Usted on a SCHEDULE on file with us;

   2. Listed on the SCHEDULE attached to this Policy;

   3. Covered as a Miscellaneous Unnamed Location; or

   4. Covered under the terms and conditions of the NEWLY ACQUIRED LOCATIONS Coverage or ERRORS
      AND OMISSIONS Coverage.

G. TERRITORY


   Coverage under this Policy applies to covered property within the continental United States of America,
   Hawaii and Puerto Rico.




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H. JURISDICTION

     The validity and interpretation of this Policy shall be governed by and construed in accordance with the laws of
     the State of New York.

     Any disputes arising hereunder will be exclusively subject to a State or Federal jurisdiction within the United
     States of America.

I.   CURRENCY

     All amounts, including deductibles and LIMITS OF LIABILITY, indicated in this Policy are in U.S. Dollars unless
     otherwise indicated by the three-letter currency designator as defined in Table A.l Currency and Funds code
     list. International Standards Organization (ISO) 4217, edition effective at inception of this Policy.

J.   DEFINED WORDS

     Words in bold face type have special meanings in this Policy and are defined in the DEFINITIONS section of
     this Policy. These definitions apply to this entire Policy and to any endorsements to it. Definitions that apply to
     individual sections or paragraphs are italicized and defined in the applicable sections or paragraphs.

K.   LIMITS OF LIABILITY

     When a POUCY LIMIT OF LIABILITY is specified in the UMITS OF UABIUTY Table in the Declarations,
     our maximum LIMIT OF LIABILITY in an occurrence, including any insured TIME ELEMENT loss, will not exceed
     the stated POLICY LIMIT OF LIABILITY.

     1.   When a PROPERTY DAMAGE and TIME ELEMENT UMIT OF LIABILITY is specified in the LIMITS OF
          LIABILITY Table in the Declarations, it will apply to all coverages provided throughout this Policy, unless a
          LIMIT OF LIABILITY or "NCP" (No Coverage Provided) is indicated.

          a.   When a UMIT OF LIABIUTY is specified in the UMITS OF UABILITY Table in the Declarations, such
               limit will be the maximum amount payable for such loss or damage and cannot be combined with any
               other LIMIT OF LIABILITY.

          b.   If "NCP" is specified in the LIMITS OF LIABILITY, there is no coverage provided in this Policy.

     2.   LIMITS OF LIABILITY in an occurrence apply to the total loss or damage at all locations and for all
          coverages involved, including any insured TIME ELEMENT loss, subject to the following provisions:

          a.   When a LIMIT OF LIABILITY that applies in the aggregate during any Policy year is shown, our
               maximum amount payable will not exceed such LIMIT OF LIABILITY during any Policy year.

          b.   When a LIMIT OF LIABILITY applies to a location(s), specified property, DESCRIBED LOSSES or a
               specific coverage, the smallest applicable LIMIT OF LIABILITY will be the maximum amount payable.

          c.   Should an occurrence result in liability payable under more than one Policy issued to you by us, or by
               our subsidiaries, partners, or associated insurance companies, the maximum amount payable in the
               aggregate under all such policies will be the applicable LIMIT(S) OF LIABILITY indicated in this Policy.

          d.   When a LIMIT OF LIABILITY applies to TIME ELEMENT only, our maximum amount payable will not
               exceed such LIMIT OF LIABILITY per occurrence.

     3.   LIMITS OF LIABILITY specified below or elsewhere in this Policy do not increase and are part of and not
          in addition to the POUCY UMIT OF LIABILITY or the PROPERTY DAMAGE and TIME ELEMENT UMIT
          OF LIABIUTY.

     4.   LIMITS OF LIABILITY apply per occurrence unless othenwise specified, including time and distance
          limits.




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                             UMITS OF LIABILITY TABLE - PART ONE

                       COVERAGE                                     UMITS OF UABILITY AND TIME AND
                                                                           DISTANCE UMITS

 PROPERTY DAMAGE                                                                              $250,000,000

TIME ELEMENT                                                                                    $4,345,657


ACCOUNTS RECEIVABLE                                                                            $25,000,000


ATTRACTION PROPERTY                                                1 statute miles from a covered location
                                                               30 consecutive days, not to exceed $25,000

 BRANDS AND LABELS                                                                              $1,000,000


CIVIL OR MILITARY AUTHORITY                                          3 statute miles from a covered location
                                                                         30 consecutive days, not to exceed
                                                                                                $10,000,000
COMPUTER SYSTEMS NON PHYSICAL DAMAGE and DATA,                                                     $50,000
PROGRAMS OR SOFTWARE, combined

CONTINGENT TIME ELEMENT

    •   Direct Dependent Contingent Time Element Location(s):                                  $10,000,000
         Not Scheduled or on file with us

    •   Indirect Dependent Contingent Time Element                                                     NCP
        Location(s):
         Not Scheduled or on file with us

 CONTROL OF DAMAGED GOODS                                                                         $100,000


 COURSE OF CONSTRUCTION                                                                        $10,000,000


 CRISIS MANAGEMENT                                                       30 consecutive days, not to exceed
                                                                                                   $250,000


 DEBRIS REMOVAL                                                                                $25,000,000


 DECONTAMINATION COSTS                                                                          $1,000,000


 DEFERRED PAYMENTS                                                                                $500,000




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 DELAY IN STARTUP                                                                                          $500,000


 DEMOLITION AND INCREASED COST OF CONSTRUCTION                                                          $25,000,000
 DAMAGED, per Section 11 D . l l . b . 1 ,


 UNDAMAGED, per Section 11 D.11.b.2.
                                                                                                            Included
 ERRORS AND OMISSIONS                                                                                   $10,000,000


 EXPEDITING EXPENSE                                                                                     $25,000,000


 EXTENDED PERIOD OF LIABILITY                                                                  365 consecutive days


 EXTRA EXPENSE                                                                                          $10,000,000


 FINE ARTS                                                                                               $1,000,000


 FIRE DEPARTMENT SERVICE CHARGES                                                                            $25,000


 IMPOUNDED WATER                                                          30 consecutive days, not to exceed $25,000


 INGRESS/EGRESS                                                            3 statute miles from a covered location 30
                                                                                      consecutive days, not to exceed
                                                                                                         $10,000,000


 LAND AND WATER CLEANUP, REMOVAL AND DISPOSAL in                                                            $50,000
 the annual aggregate

 LEASEHOLD INTEREST                                                                                         $50,000


 MISCELLANEOUS PERSONAL PROPERTY                                                                         $2,500,000


 Miscellaneous Unnamed Locations                                                                        $10,000,000


 Mold, Mildew or Fungus directly resulting from a Covered Loss                                             $100,000


 NEWLY ACQUIRED LOCATIONS                                                         60 consecutive days, not to exceed
                                                                                                        $25,000,000


 OFF PREMISES INTERRUPTION OF SERVICES - PROPERTY                                                       $10,000,000
 DAMAGE and OFF PREMISES INTERRUPTION OF SERVICES
 - T I M E ELEMENT




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 Ordinary Payroll                                                                                      NCP


 PRESERVATION OF PROPERTY                                                                       $5,000,000


 PROFESSIONAL FEES                                                                              $1,000,000


 RADIOACTIVE CONTAMINATION                                                                         $25,000


 RENTAL INSURANCE                                                                                 $500,000


 RESEARCH AND DEVELOPMENT                                                                         $250,000


 SOFT COSTS                                                                                       $500,000


 TAX UABIUTY                                                                                       $25,000


 TRANSIT                                                                                        $5,000,000


 VALUABLE PAPERS AND RECORDS                                                                   $25,000,000



                                   LIMITS OF LIABILITY TABLE - PART TWO

                           COVERAGE                                    UMITS OF LIABILITY AND TIME AND
                                                                              DISTANCE LIMITS


 EARTH MOVEMENT S the annual aggregate                                                              NCP


 EARTH MOVEMENT SPR\mLER LEAKAGE                                                                Included


 EQUIPMENT BREAKDOWN

 PROPERTY DAMAGE and TIME ELEMENT except:                                                       Included


    The following limits are part of and not in addition to the
    EQUIPMENT BREAKDOWN limits specified above;

    •   Ammonia Contamination                                                                 $1,000,000

    •   CONTINGENT TIME ELEMENT                                                               $1,000,000

    •   Spoilage Damage                                                                       $1,000,000



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 FLOOD in the annual aggregate

 except the following limits apply per occurrence and in the annual
 aggregate, and are part of and not in addition to the FLOOD
 annual aggregate limit

       •   Covered property at locations situated in:

              Flood Hazard - Low                                                                   $100,000,000

              Flood Hazard - High                                                                    $1,000,000


 NAMED STORM                                                                                                NCP


                                       ENDORSEMENT UMITS OF LIABIUTY

  Endorsement Number                    Endorsement Name                        UMITS OF LIABIUTY


      CNP 90 06 01 20        Disclosure Pursuant to Terrorism Risk                    Rejected
                                         Insurance Act

      CNP 90 10 01 19            Important Notice Regarding The
                                 Expiration of the Terrorism Risk
                               Insurance Act and the Reduction in
                                  Coverage for Terrorism Losses

       PY 04 04 01 17               Exclusion of Certified Acts of
                                             Terrorism



 L.    CANCELLATION TIME SPECIFICATIONS

 Cancellation for Nonpayment of Premium                                                            Ten (10) days


 Cancellation for All Reasons Other Than                                                                30 days
 Nonpayment of Premium


M. DEDUCTIBLES

      Subject to the Deductible General Provisions stated below, we will not pay unless a covered loss, including
      any insured TIME ELEMENT loss, exceeds the deductible(s) specified below. We will then pay the amount of
      covered loss in excess of the deductible, up to the applicable LIMIT OF LIABILITY.

      Deductible General Provisions

      We will be liable only if you sustain a covered loss, including any insured TIME ELEMENT loss, in a single
      occurrence greater than the applicable deductible specified. When this Policy insures more than one (1)
      location, the deductible(s) will apply against the total loss covered by this Policy in an occurrence unless
      othenwise stated.

      1. Unless otherwise stated, if two or more deductibles apply to an occurrence, the total deductible will not
         exceed the largest applicable deductible, except as follows:

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      a. When a separate PROPERTY DAMAGE and TIME ELEMENT deductible apply, each will be applied
         separately.

       b. If there are multiple locations involved in an occurrence where two or more deductibles apply toakx:ation
          in an occurrence, the largest deductible applying to each location will be applied separately to each such
          location, regardless of the number of locations involved in the occurrence.


       c.   Unless specified otherwise, if deductibles are specified for a location, the largest deductible
            applicable will be applied to that location regardless of the number of locations involved in the
            occurrence.

       d. Equipment Breakdown: With regard to Equipment Breakdown coverage, if one or more deductible
          amounts are shown below, each will be applied separately.

       e. The stated FARTH/WO\/E/W£NTdeductible will be applied to EARTH MOVEMENT loss. The stated
          FLOOD deductible will be applied to FLOOD loss. The stated NAMED STORM deductible will be
          applied to NAMED STORM loss. Provisions 1.a. and l.b. above will also be applied to each.

   2. When a percent deductible is specified, whether separate or combined, the deductible amount will be
      determined as follows:

       a. PROPERTY DAMAGE: The percentage of the total reported values on file with us for the covered
          property at the corresponding location(s) (including sub-locations) where the direct physical loss
          or damage occurred; plus

       b. TIME ELEMENT: The percentage of the full TIME ELEMENT values that would have been earned
          in the 12-month period following the occurrence, had no loss occurred, by use of the facilities at
          the location where the direct physical loss or damage occurred, plus that proportion of the full TIME
          ELEMENT values at all other locations where TIME ELEMENT loss ensues that was directly
          affected by use of such facilities and that would have been earned in the 12-month period following
          the occurrence,
       c.   Equipment Breakdown: The percentage of the gross amount of loss, damage or expense (prior any
            deductible) insured under the applicable coverage. If the dollar amount of such percentage is less
            than the indicated minimum deductible, the minimum deductible will be the applicable deductible.

   3. When a minimum deductible is shown, the minimum deductible is the sum of:

       a. The specific location deductible for each covered location where the amount of physical loss or
          damage exceeds the specific location deductible; and

       b. The amount of physical loss or damage for each covered location where the amount of physical loss
          or damage is less than the specific location deductible.

   4. When an average daily value deductible is provided, this deductible will be determined as follows:

       a. The total amount of TIME ELEMENT loss applicable for the entire location where the direct physical
          loss or damage happens will be included.

       b. Divide the result in Paragraph a. by the number of days the business would have been open during the
          PERIOD OF LIABIUTY. The result is the average daily value.




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        c.   Multiply the average daily value in Paragraph b. by the number of days specified in the DEDUCTIBLE
             TABLE below.

        If more than one (1) location is included in the valuation of the loss, the average daily value will be the
        combined value of all affected locations.

    5. When a per unit deductible is specified, the following shall be considered a separate unit of insurance:

        a.   Each separate building, the contents of each separate building and covered property in each yard at
             that covered location.

        b. TIME ELEMENT loss as applicable, including all other locations where TIME ELEMENT loss ensues
           as provided by this Policy.

   6. When a time deductible is shown, we will not be liable for any loss under that coverage that occurs during
      that specified time period immediately following the direct physical loss or damage. If a time deductible is
      shown in days, each day shall mean twenty four (24) consecutive hours.

   7. When a deductible is shown in the Declarations for a NAMED STORM, the following applies:

        a. All direct physical loss or damage to covered property including TIME ELEMENT loss caused by or
           resulting from a NAMED STORM will be subject to the deductible obtained by calculating all of the
           following:

             (1) The sum of all applicable percentage deductibles calculated as described in Deductible General
                 Provisions Item 2. above, subject to any applicable minimums or maximums; and

             (2) Any other applicable deductible amounts.



                                        DEDUCTIBLE TABLE - PART ONE

                            Coverage                                        Deductible Percentage / Amounts
 PROPERTY DAMAGE                                                                                         $250,000
 TIME ELEMENT                                                                                             $250,000

 OFF PREMISES INTERRUPTION OF SERVICES -                                                                  $250,000
 PROPERTY DAMAGE AND TIME ELEMENT


 TRANSIT                                                                                                   $25,000
 Fine Arts                                                                                                 $25,000


                                           DEDUCTIBLE TABLE - PART TWO

                            Coverage                                         Deductible Percentage / Amounts


 EARTH MOVEMENT SPRINKLER LEAKAGE                                                                         $250,000


 EQUIPMENT BREAKDOWN

 PROPERTY DAMAGE and TIME ELEMENT                                                                         $250,000

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     •   spoilage Damage                                                                    $250,000

     •   Ammonia Contamination                                                              $250,000


 FLOOD

     •   Covered property at locations situated in:

            Flood Hazard - Low                                                              $250,000

            Flood Hazard - High                                              $500,000 Real Property
                                                                          $500,000 Personal Property
                                                                                      $250,000 Other
                                                                                 applying per location




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N. QUALIFYING PERIOD(S)

   A qualifying period applies for the coverages shown in the Table below. Qualifying period is the period of time
   that must be exceeded for coverage to apply. Once the qualifying period has been exceeded, coverage applies
   from the initial event of loss.

                                         QUALIFYING PERIOD TABLE

                               Coverage                                           QUALIFYING PERIOD


 COMPUTER SYSTEMS NON PHYSICAL DAMAGE and DATA,                                          24 hours
 PROGRAMS OR SOFTWARE, combined

 CRISIS MANAGEMENT                                                                       24 hours

 OFF PREMISES INTERRUPTION OF SERVICES - PROPERTY                                        24 hours
 DAMAGE AND TIME ELEMENT




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                                   SECTION II - PROPERTY DAMAGE

A.   COVEREDPROPERTY

     1.   We cover your insurable interest in the following types of property that are located at or within one-thousand
          (1,000) feet o f a covered location, unless otherwise excluded:

          a.   Real Property, including          new    buildings,   structures    and   additions   in   the   COURSE    OF
               CONSTRUCTION.

          b.   Personal Property, including personal property of others.

               Personal property of others are tangible things that you do not own, other than real property, that:

               (1) are sold by you and that you have agreed, prior to loss, to insure for the account of the purchaser
                   during delivery;

               (2) you have agreed in writing prior to any loss or damage to provide coverage;

               (3) are in your care, custody or control;

               (4) you have an insurable interest in, or an obligation to provide coverage;

               (5) you are legally liable for;

               (6) are improvements and betterments consisting of fixtures, alterations, installation or additions
                   comprising part of a building not owned by you and acquired or made at your expense which
                   you cannot legally move, but only to the extent of your insurable interest therein; or

               (7) are personal property (other than vehicles) of your employees and officers.

     2.   We also cover the interest of contractors and subcontractors in covered property during construction at or
          within one-thousand (1,000) feet of a covered location to the extent of your legal liability for direct physical
          loss or damage to such property. Such interest of contractors and subcontractors is limited to the property
          for which they have been hired to perform work and such interest will not extend to any TIME ELEMENT
          coverage provided under this Policy.

B. PROPERTY NOT COVERED

     We do not cover the following types of property:

     1.   Aircraft, except when unfueled and manufactured by you;

     2.   Animals, standing timber including undisturbed natural wooded areas, or growing crops;

     3.   Bridges or tunnels, however pedestrian walkways connecting buildings are covered;

     4.   Caves, caverns, mines of any type, or any property contained within them;

     5.   Contraband or property in the course of illegal transportation or trade;

     6.   Currency, money, negotiable and non-negotiable instruments, notes or securities;

     7.   Dams, dikes, levees, docks, wharfs, piers or bulkheads;




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     8.   Electronic data, computer programs or software, except when they are stock in process, finished stock
          manufactured by you, raw materials, supplies, other merchandise not manufactured by you or as provided
          in this Policy;

     9.   Land and any substance in or on land except this exclusion does not apply to land improvements;

     10. Land improvements at a golf course;

     11. Overhead transmission and distribution systems located more than one-thousand (1,000) feet away from a
         covered location;

     12. Personal property of others that is in the care, custody or control of you or your affiliates for which you are
         acting as a warehouseman, bailee for hire, or carrier for hire.

     13. Precious metals or precious stones, except when used in industrial or service operations;

     14. Property in transit, except as otherwise provided by this Policy;

     15. Property more specifically insured, except for any excess over any LIMITS OF LIABILITY of such more
         specific insurance;

     16. Property sold by you under conditional sale, trust agreement, installment plan or other deferred payment
         plan after delivery to your customers, except as provided by the DEFERRED PAYMENTS coverage of this
         Policy;

     17. Spacecraft, satellites, associated launch vehicles and any property contained therein;

     18. Vehicles otherwise insured for physical loss or damage;

     19. Water except this exclusion does not apply to water that is contained within any enclosed tank, piping
         system or any other processing equipment; or

     20. Watercraft, except watercraft you manufacture and are part of your inventory while being stored un-fueled
         and on dry land at a covered location.

C.   EXCLUSIONS

     The following exclusions apply unless otherwise stated in this Policy:

     1.   We do not cover:

          a.     Indirect or remote loss or damage;

          b.     Interruption of business, except to the extent provided by this Policy;

          c.    Loss of market or loss of use;

          d.    Loss or damage or deterioration arising from any delay;

          e.    Mysterious disappearance, loss or shortage disclosed on taking inventory, or any unexplained loss;

          f.    Loss or damage from enforcement of any law or ordinance:

                (1) Regulating the construction, repair, replacement, use or removal, including debris removal, of any
                    property; or
                (2) Requiring the demolition of any property, including the cost in removing its debris;




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            except as provided by the DECONTAMINATION COSTS and DEMOLITION AND INCREASED COST
            OF CONSTRUCTION coverages of this Policy;

       g.   Loss resulting from the voluntary parting with title or possession of property if induced by any fraudulent
            act or by false pretense; or

       h.   Loss or damage caused by or resulting from freezing, disease or drought to landscape gardening,
            including plants, trees and shrubs.

       We do not cover physical loss or damage directly or indirectly caused by or resulting from any of the
       following regardless of any other cause or event, whether or not insured under this Policy, contributing to
       the loss concurrently or in any other sequence:

       a.   Terrorism, including action in hindering or defending against an actual or expected incident of
            terrorism, but this exclusion applies only when one of the following are attributed to an incident of
            terrorism:

            (1) The terrorism is carried out by means of the dispersal or application of radioactive material, or
                through the use of a nuclear weapon or device that involves or produces a nuclear reaction, nuclear
                radiation or radioactive contamination; or

            (2) Radioactive material is released, and it appears that one purpose of terrorism was to release such
                material; or

            (3) The terrorism is carried out by means of the dispersal or application of pathogenic or poisonous
                biological or chemical materials; or

            (4) Pathogenic or poisonous biological or chemical materials are released, and it appears that one
                purpose of the terrorism was to release such materials; or

            (5) Loss or damage to property located outside of the United States, unless there is a law in effect in
                the jurisdiction where the loss or damage occurs that expressly prohibits this exclusion; or

            (6) The total of all damage to property, whether covered by this Policy or otherwise, exceeds
                $25,000,000. In determining whether the $25,000,000 threshold is exceeded, we will include all
                insured damage sustained by property of all persons and entities affected by the terrorism and
                business interruption (TIME ELEMENT) losses sustained by owners or occupants of the damaged
                property. For the purpose of this provision, insured damage means damage that is covered by any
                insurance plus damage that would be covered by any insurance but for the application of any
                terrorism exclusions. Multiple incidents of terrorism which occur within a 72-hour period and
                appear to be carried out in concert or to have a related purpose or common leadership will be
                deemed to be one (1) incident, for the purpose of determining whether the threshold is exceeded.

                 With respect to this item 2.a.(6), the immediately preceding paragraph describes the threshold used
                 to measure the magnitude of an incident of terrorism and the circumstances in which the threshold
                 will apply, for the purpose of determining whether this exclusion will apply to that incident. When
                 the exclusion applies to an incident of terrorism, there is no coverage in this Policy.

            However, this exclusion does not apply:

            (1) If terrorism results in fire, in which case we cover the direct physical loss or damage caused by
                the fire but only if there is a statute in effect in the jurisdiction where the loss or damage occurs that
                expressly prohibits the exclusion of fire losses resulting from terrorism. This exception is subject
                to all applicable Policy provisions including the LIMIT OF LIABILITY on the affected property. Such
                coverage for ensuing loss applies only to direct loss or damage by fire to covered property. This
                coverage does not apply to insurance provided under any TIME ELEMENT coverages, or to fire
                legal liability coverage; or



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             (2) While the United States Terrorism Risk Insurance Act (TRIA), as amended, is in effect:

                      (a) To loss or damage caused by a "Certified Act of Terrorism" provided that you elected
                          coverage for such, and only to the extent provided by the terms and conditions of the
                          applicable CERTIFIED ACTS OF TERRORISM AND DISCLOSURE PURSUANT TO
                          TERRORISM RISK INSURANCE ACT endorsement; or

                      (b) To loss or damage caused by terrorism that would have been certified as an "act of
                          terrorism", but was not certified solely because the total of all property and casualty
                          insurance losses resulting from the act failed to exceed the $5,000,000 "certified act of
                          terrorism" threshold specified under TRIA.

       b.    Nuclear reaction or nuclear radiation or radioactive contamination. However, this exclusion does not
             apply if:

             (1) The RADIOACTIVE CONTAMINATION PROPERTY DAMAGE COVERAGE AND UMITATION
                 applies but only to the extent provided; or

             (2) Fire directly results from the nuclear reaction, nuclear radiation, or radioactive contamination, in
                 which case we cover the physical loss or damage caused by the fire but only if there is a statute in
                 effect in the jurisdiction where the loss or damage happens that expressly prohibits the exclusion
                 of fire losses resulting from nuclear reaction, radiation or contamination.

       c.    Hostile or warlike action in time of peace or war, including action in hindering, combating or defending
             against an actual, impending or expected attack by any:

             (1) Government or sovereign power (de jure or de facto);

             (2) Military, naval or air force; or

             (3) Agent or authority of any party specified in (1) or (2) above.

       d.    Discharge, explosion or use of any nuclear device, weapon or material employing or involving nuclear
             fission, fusion or radioactive force, whether in time of peace or war and regardless of who commits the
             act.

       e.    The unlawful possession, use, release, discharge, dispersal or disposal of any chemical, biological,
             viral, radioactive or similar agents or matter, whether in time of peace or war and regardless of who
             commits the act

       f.    Insurrection, rebellion, revolution, civil war, usurped power, or action taken by governmental authority
             in hindering, combating or defending against such an event.

       g.    Seizure or destruction under quarantine or custom regulation, or confiscation by order of any
             governmental or public authority.

       h.    Risks of contraband, or illegal transportation or trade.


       i.    Any criminal, fraudulent or dishonest act, including theft, committed alone or in collusion with others:

             (1) By you orany proprietor, partner, director, trustee, officer or employee of an Insured; or

             (2) By any proprietor, partner, director, trustee, or officer of any business or entity (other than a
                 common carrier) engaged by you to do anything in connection with property insured under this
                 Policy.




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             However, we do cover direct physical loss or damage intentionally caused by your employee or any
             individual specified in (2) above provided that said individuals acted without your knowledge.

       j.    Lack of the following services:

             (1) Incoming electricity, fuel, water, gas, steam or refrigerant;

             (2) Outgoing sewerage; or

             (3) Incoming or outgoing voice, data or video,

             all when caused by an event away from the covered location except as provided in the ON/OFF
             PREMISES INTERRUPTION OF SERVICES coverages of this Policy. But, if the lack of such a service
             causes physical loss or damage of the type insured by this Policy at a covered location, then only that
             resulting damage is covered.

   3. We do not cover the following, but, if direct physical loss or damage not excluded by this Policy results,
      then we cover that resulting damage only:

       a. Faulty workmanship, material, construction or design.

       b. Loss or damage to stock or material attributable to manufacturing or processing operations while such
          stock or material is being processed, manufactured, tested, or otherwise worked on.

       c.    Deterioration, depletion, rust, corrosion or erosion, wear and tear, inherent vice or latent defect.

       d. Settling, cracking, shrinking, bulging, or expansion of:

             (1) Foundations (including any pedestal, pad, platform or other property supporting machinery)

             (2) Floors

             (3) Pavements

             (4) Walls, including retaining walls

             (5) Ceilings

             (6) Roofs

       e. Extremes or changes in temperature (except to machinery or equipment) or changes in relative
          humidity, all whether atmospheric or not.

       f.    Cumulative effects of smog, smoke, vapor, liquid and dust.

       g. Insect, animal or vermin damage.

      h. Loss or damage to the interior portion of buildings under construction caused by rain, sleet or snow,
         whether or not driven by wind, when the installation of the roof, walls or windows of such buildings has
         not been completed.
   4. We do not cover the following unless directly resulting from a covered loss:

       a. Contamination, and any cost due to contamination including the inability to use or occupy property
          or any cost of making property safe or suitable for use or occupancy, except as provided elsewhere in
          this Policy.

       b. Shrinkage.



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         c.   Changes in color, flavor, texture orfinish.

         d.   Remediation, change, correction, repair or assessment of any date ortime recognition in any electronic
              data processing equipment or media.

         e.   Failure of electronic data processing equipment or media to correctly recognize, interpret, calculate,
              compare, differentiate, sequence, access or process data involving one or more dates or times.

D. PROPERTY DAMAGE COVERAGES AND LIMITATIONS

   We provide the following PROPERTY DAMAGE COVERAGES AND LIMITATIONS for a covered loss as
   specified in the LIMITS OF LIABILITY Table in the Declarations, subject to the terms, conditions and exclusions
   of this Policy.

    1.   ACCOUNTS RECEIVABLE

         a.   We cover the following resulting from a covered loss to accounts receivable records located while
              anywhere within the Policy territory, including while in transit:

              (1) Any shortage in the collection of accounts receivable.

              (2) The interest charges on any loan to offset such impaired collection pending repayment of such
                  uncollectible sum. Unearned interest and service charges on deferred payment accounts and
                  normal credit losses on bad debts will be deducted in determining the amount recoverable.

              (3) The reasonable and necessary cost incurred for material and time required to re-establish or
                  reconstruct accounts receivable records excluding any costs covered by any other insurance.

              (4) Any other necessary and reasonable costs incurred to reduce the loss, to the extent the losses are
                  reduced.

         b.   Accounts receivable records include records stored as electronic data. In the event of loss, you will:

              (1) Use all reasonable efforts, including legal action, if necessary, to effect collection of outstanding
                  accounts receivable.

              (2) Reduce the loss by use of any property or service owned or controlled by you or obtainable from
                  other sources.

              (3) Reconstruct, if possible, accounts receivable records so that no shortage is sustained.

         c.   The settlement of loss will be made within ninety (90) days from the date of the covered loss. All
              amounts recovered by you on outstanding accounts receivable on the date of loss will belong and be
              paid to us up to the amount of loss paid by us. All recoveries exceeding the amount paid will belong to
              you.

         d.   We do not cover shortage resulting from:

              (1) Bookkeeping, accounting or billing errors or omissions; or
              (2) Alteration, falsification, manipulation; or

              (3) Concealment, destruction or disposal, of accounts receivable records committed to conceal the
                  wrongful giving, taking, obtaining or withholding of money, securities or other property; but only to
                  the extent of such wrongful giving, taking, obtaining or withholding.

   2.    BRANDS AND LABELS




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        In the event of a covered loss to your branded or labeled merchandise, and we elect to take all or any
        part of that property, you may at our expense:

        a.   Stamp "salvage" on the property or its containers; or

        b.   Remove or obliterate the brands or labels,

        if doing so will not damage the property.

        You must re-label such property or its containers to be in compliance with any applicable law.

   3. CONTROL OF DAMAGED GOODS
        We grant control to you of physically damaged covered property consisting of finished goods manufactured
        by or for you as follows:

        a.   You will have full rights to the possession and control of damaged property in the event of physical
             damage to your covered property provided proper testing is done to show which property is
             physically damaged.

        b.   Using reasonable judgment, y o u will decide if the physically damaged covered property         can be
             reprocessed or sold.

        c.   Property you determine to be unfit for reprocessing or selling will not be sold or disposed of except by
             you, or with your consent.

             Any salvage proceeds received will reduce the recoverable loss.

   4.   COURSE OF CONSTRUCTION

        a.   We cover direct physical loss or damage at a covered location to buildings or structures that you begin
             to construct during the Policy period.


        b.   We also cover materials, supplies, machinery, equipment and fixtures:

             (1) At a covered location and intended for installation in the new construction;

             (2) After such property has been delivered to you or your contractor, and while such property is
                 located offsite at a storage location; or

             (3) After such property has been delivered to you or your contractor, and while such property is in
                 transit from a storage location to another storage location or to a covered location.

        c.   This coverage only applies to the construction of covered property you intend to own or occupy
             once constructed.

        d.   This coverage does not apply to any property owned or rented by any contractor or subcontractor.

   5. DATA, PROGRAMS OR SOFTWARE
        a.   We cover direct physical loss or damage to your electronic data, computer programs or software,
             including direct physical loss or damage caused by the malicious introduction of a machine code or
             instruction, while anywhere within this Policy's territory, including:

             (1) The cost of the following reasonable and necessary actions taken by you provided such actions
                 are taken due to actual insured physical loss or damage to electronic data, computer programs or
                 software:


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                 (a) Actions to temporarily protect and preserve insured electronic data, computer programs or
                     software.

                 (b) Actions taken for the temporary repair of insured physical loss or damage to electronic data,
                     computer programs or software.

                 (c) Actions taken to expedite the permanent repair or replacement of such damaged property.

             (2) Your reasonable and necessary cost to temporarily protect or preserve covered electronic data,
                 computer programs or software against immediately impending direct physical loss or damage to
                 electronic data, computer programs or software. In the event that there is no direct physical loss
                 or damage, the costs covered under this item will be subject to the deductible that would have
                 applied had there been such direct physical loss or damage.

        b.   With respect to destruction, distortion or corruption caused by the malicious introduction of machine
             code or instruction, this PROPERTY DAMAGE COVERAGE AND LIMITATION will apply only when
             the qualifying period specified in the Qualifying Period Table in the Declarations is exceeded.

        c.   Any amounts recoverable under this PROPERTY DAMAGE COVERAGE AND LIMITATION are
             excluded from coverage elsewhere in this Policy.

        d.   This PROPERTY DAMAGE COVERAGE AND LIMITATION excludes loss or damage to electronic
             data, computer programs or software when they are stock in process, finished stock manufactured by
             you, raw materials, supplies or other merchandise not manufactured by you.

        e.   With respect to this PROPERTY DAMAGE COVERAGE AND LIMITATION, the following additional
             exclusions apply:

             (1) Errors or omissions in processing or copying; and

             (2) Loss or damage to electronic data, computer programs or software from errors or omissions in
                 programming or machine instructions.


   6.   DEBRIS REMOVAL

        a.   We cover your reasonable and necessary costs to remove debris from a covered location that remains
             as a direct result of a covered loss.

        b.   This PROPERTY DAMAGE COVERAGE AND LIMITATION covers the costs of removal of
             contaminated covered property or the contaminant in or on covered property only if the
             contamination, due to the actual presence of contaminant(s), results from a covered loss.

        c.   This PROPERTY DAMAGE COVERAGE AND LIMITATION does not cover the costs of removal of:

             (1) Contaminated uninsured property; or

             (2) The contaminant in or on uninsured property,

             whether or not the contamination results from a covered loss.

   7.   DECONTAMINATION COSTS

        a.   We cover your decontamination costs directly resulting from a covered loss at a covered location
             subject to the following conditions:


             (1) These decontamination costs must be a direct result of enforcement of the law or ordinance that


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                 is in force at the time of the loss regulating decontamination; and

           (2) The amount we cover includes the increased cost to remove your contaminated covered
               property to comply with the law or ordinance.

       b. We do not cover costs required for removing contaminated uninsured property or the contaminant
          therein or thereon, whether or not the contamination resulted from a covered loss.

   8. DEFENSE FOR PERSONAL PROPERTY OF OTHERS

       a. We cover the cost to defend that part of any suit against you alleging direct physical loss or damage of
          the type insured by this Policy to personal property of others of the type insured by this Policy, in your
          custody, and while at a covered location. We may without prejudice undertake any investigation,
          negotiation or settlement of any such claim or suit as we deem appropriate.

       b. We do not cover the cost to defend any suit against you when you are acting as a warehouseman,
          bailee for hire, or carrier for hire.

   9. DEFERRED PAYMENTS

       a. We cover direct physical loss or damage to personal property of the type insured by this Policy sold
          by you under a conditional sale or trust agreement or any installment or deferred payment plan and
          after such property has been delivered to the buyer. Coverage is limited to the unpaid balance for such
          property. In the event of loss to property sold under deferred payment plans, you will use all reasonable
          efforts, including legal action, if necessary, to effect collection of outstanding amounts due or to regain
          possession of the property.

       b. We do not cover loss:

           (1) Pertaining to products recalled including your costs to recall, test or to advertise such
               recall.

           (2) From theft or conversion by the buyer of the property after the buyer has taken
               possession of such property.

           (3) To the extent the buyer continues payments.

           (4) Not within this Policy's territory.

   10. DEMOUTION AND INCREASED COST OF CONSTRUCTION

       a. We cover your reasonable and necessary costs that are described in Item b. below, actually incurred
          to satisfy the minimum requirements of the enforcement of any law or ordinance regulating the
          demolition, construction, repair, replacement or use of covered property consisting of buildings,
          structures, machinery and equipment at a covered location, provided:

           (1) Such law or ordinance is in force on the date of the covered loss;

           (2) Its enforcement is a direct result of a covered loss; and

           (3) The buildings, structures, machinery and equipment were in compliance with such law or
               ordinance, regardless of any lack of enforcement prior to the covered loss.

       b. This PROPERTY DAMAGE COVERAGE AND LIMITATION, as respects the property insured in Item
          a. above, covers:

           (1) The cost incurred to demolish, repair or rebuild the physically damaged portion of such property
               with materials and in a manner to satisfy such law or ordinance; and


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            (2) The cost incurred:

                 (a) To demolish the physically undamaged portion of such property insured; and

                 (b) To rebuild it with materials and in a manner to satisfy such law or ordinance,

                 when the demolition of the physically undamaged portion of such property is required to satisfy
                 such law or ordinance, as a result of a covered loss.

       c.   This PROPERTY DAMAGE COVERAGE AND LIMITATION excludes any costs incurred as a result of
            the enforcement of any law or ordinance regulating pollution.

       d.   The amount we cover for this PROPERTY DAMAGE COVERAGE AND LIMITATION at each covered
            location in any one (1) occurrence will not exceed the actual cost incurred in demolishing the
            physically damaged and undamaged portions ofthe property covered in item a. above plus:

            (1) If rebuilt on the same site, the actual cost incurred in rebuilding there; or

            (2) If rebuilt on another site, the lesser of:

                 (a) The actual cost incurred in rebuilding on the other site, excluding the cost of land; or

                 (b) The cost that would have been incurred to rebuild on the same site.

   11. ERRORS AND OMISSIONS

       a.   If direct physical loss or damage is not covered under this Policy solely because of an error or
            unintentional omission made by you:

            (1) In the description of where covered property is physically located; or

            (2) To include any location:

                 (a) Owned, rented or leased by you on the effective date of this Policy; or

                 (b) Purchased, rented or leased by you during the term ofthe Policy; or

            (3) That results in termination of the coverage provided by this Policy, except for cancellation due to
                nonpayment of premium,

            we cover the amount we would have paid, including any TIME ELEMENT loss, had the error or
            omission not been made.

       b.   This coverage does not apply to the failure to report values, or the reporting of inaccurate values of
            covered property.


       c.   This PROPERTY DAMAGE COVERAGE AND LIMITATION does not apply if coverage is provided
            elsewhere in this Policy.

       d.   You must report such errors or unintentional omissions to us in writing as soon as they are discovered.

   12. EXPEDITING EXPENSE

       a.   We cover your reasonable and necessary costs:

            (1) For the temporary repair of covered property from a covered loss; and


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            (2) To expedite the permanent repair or replacement of such damaged property.

       b.   This PROPERTY DAMAGE COVERAGE AND LIMITATION does not cover costs recoverable
            elsewhere in this Policy, including the cost of permanent repair or replacement of damaged property.

   13. FINE ARTS

       a.   We cover direct physical loss or damage to your fine arts while anywhere within this Policy's territory,
            including while in transit.

       b.   The following additional exclusions apply;

            We do not cover:

            (1) Loss or damage sustained from any repair, restoration, or retouching process;

            (2) Breakage of art glass windows, statuary, marble, glassware, bric-a-brac, porcelains, and similar
                fragile articles, unless caused by fire, lightning, aircraft, theft and or attempted theft, windstorm,
                EARTH MOVEMENT, FLOOD, explosion, vandalism, collision, derailment or overturn of
                conveyance.

   14. FIRE DEPARTMENT SERVICE CHARGES

       We cover the reasonable and necessary:

       a.   Fire department firefighting charges imposed as a result of responding to a fire in, on or exposing the
            covered property.

       b.   Costs incurred by you to restore and recharge fire protection systems following a covered loss.


   15. LAND AND WATER CLEANUP, REMOVAL AND DISPOSAL

       a.   For uninsured property at a covered location consisting of land, water, or any other substance in or on
            land or water at a covered location, we cover your reasonable and necessary cost for the cleanup,
            removal and disposal of the actual presence of contaminant(s) from that property if the release,
            discharge or dispersal of such contaminant(s) is a result of a covered loss.

       b.   This PROPERTY DAMAGE COVERAGE AND UMITATION does not apply:

            (1) At any location insured for personal property only;

            (2) At any location, or to any property, covered under the NEWLY ACQUIRED LOCATIONS or
                ERRORS AND OMISSIONS coverages provided by this Policy or at a Miscellaneous Unnamed
                Location; or

            (3) If you fail to give us written notice within one hundred eighty (180) days after the loss.

   16. MISCELLANEOUS PERSONAL PROPERTY

       a.   We cover direct physical loss or damage, that occurs away from a covered location but within the
            Policy's territory, to personal property of the type covered under this Policy, which is:

            (1) Owned by you; or

            (2) Owned by others and in your care, custody and control, but only to the extent you are obligated to
                insure it for direct physical loss or damage under the type of coverage provided under this Policy.

       b.   This PROPERTY DAMAGE COVERAGE AND UMITATION excludes coverage that is provided


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             elsewhere in this Policy.

   17. NEWLY ACQUIRED LOCATIONS

       a.    We cover physical loss or damage to property of the type insured from a loss of the type insured at any
             location you purchase, lease or rent after the inception date of this Policy.
       b.    This PROPERTY DAMAGE COVERAGE AND UMITATION applies:

             (1) From the date of purchase, lease or rental,

             (2) Until the first of the following occurs:

                 (a) The location is bound by us;

                 (b) Agreement is reached that the location will not be insured under this Policy; or

                 (c) The time limit specified in the LIMITS OF LIABILITY Table in the Declarations has been reached.
                     The time limit begins on the date of purchase, lease or rental.

   18. OFF PREMISES INTERRUPTION OF SERVICES - PROPERTY DAMAGE

       a.    We cover physical loss or damage to covered property at a covered location when such physical loss
             or damage results from:

             (1) The interruption of incoming services consisting of electricity, gas, fuel, steam, water, refrigeration,
                 voice, data, video; or

             (2) The interruption of outgoing sewerage service,

             by reason of a loss of the type insured by this Policy at the facilities of the supplier of such service
             located within this Policy's territory, that immediately prevents in whole or in part the delivery of such
             usable service.

       b.    This PROPERTY DAMAGE COVERAGE AND LIMITATION will apply only when the interruption
             exceeds the qualifying period specified in the Qualifying Per/od Table in the Declarations.

       c.    For purposes of this PROPERTY DAMAGE COVERAGE AND LIMITATION, the period of service
             interruption is the period starting with the time when an interruption of specified services occurs; and
             ending when the service could be wholly restored.

       d.    Additional General Provisions:

             (1) You will immediately notify the suppliers of services of any interruption of any such services.

             (2) We will not be liable ifthe interruption of such services is caused directly or indirectly by your failure
                 to comply with the terms and conditions of any contracts you have for the supply of such specified
                 services.


       e.    We do not cover loss or damage caused by or resulting from the use of services provided by or through
             a satellite.

       f.    Exclusion C.3.e. does not apply to this PROPERTY DAMAGE COVERAGE AND LIMITATION.



   19. PROFESSIONAL FEES




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       a.   We cover your reasonable costs for your employees or auditors, architects, accountants and
            engineers whom you hire to prepare and verify the details of a claim from a covered loss.

       b.   Professional fees covered under this PROPERTY DAMAGE COVERAGE AND UMITATION, however,
            do not include:

            (1) Any fees or expenses of attorneys;

            (2) Any fees or expenses of public adjusters, loss appraisers or any of their subsidiaries or associated
                entities;

            (3) Fees based on a contingency; or

            (4) Fees of loss consultants who provide consultation on coverage or negotiate claims.

       c.   This PROPERTY DAMAGE COVERAGE AND UMITATION is subject to the deductible that applies to
            the loss.

   20. PROTECTION AND PRESERVATION OF PROPERTY
       a.   We cover your reasonable and necessary costs to temporarily protect or preserve covered property
            provided such actions are necessary due to actual, or to prevent immediately impending threat of,
            physical loss or damage of the type covered by this Policy to such covered property.

       b.   This PROPERTY DAMAGE COVERAGE AND LIMITATION is subject to the deductible provisions that
            would have applied had the physical loss or damage happened.

   21. RADIOACTIVE CONTAMINATION

       a.   We cover radioactive contamination to property of the type insured by this Policy from a covered
            loss.

            Radioactive contamination is:

            (1) Sudden and accidental radioactive contamination; or

            (2) Resultant radiation damage to covered property,

            provided that such radioactive contamination arises out of radioactive material at a covered location
            and is used as part of your business activities.

       b.   We do not cover radioactive contamination if:

            (1) The covered location contains:

                 (a) A nuclear reactor capable of sustaining nuclear fission in a self-supporting chain reaction; or

                 (b) Any new or used nuclear fuel intended for or used in such a nuclear reactor.

            (2) The contamination arises from radioactive material located away from a covered location.

   22. TAX LIABILITY

       We cover your increase in tax liability from a covered loss at a covered location if the tax treatment of:

       a.   The profit portion of a loss payment involving finished stock manufactured by you; and/or

       b.   The profit portion of a TIME ELEMENT loss payment;


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       is greater than the tax treatment of profits that would have been incurred had no loss happened.

   23. TEMPORARY REMOVAL OF PROPERTY
       a.   When covered property is removed from a covered location for the purpose of being repaired or
            serviced or in order to avoid threatened physical loss or damage of the type insured by this Policy, we
            cover such property:

            (1) While at the premises to which such covered property has been moved; and

            (2) For direct physical loss or damage of the type insured by this Policy at the covered location from
                which such covered property was removed.

       b.   This PROPERTY DAMAGE COVERAGE AND LIMITATION does not apply:

            (1) To covered property removed for normal storage, processing or preparation for sale or delivery;
                 or

            (2) If coverage is provided elsewhere in this Policy or by any other insurance policy.

   24. TRANSIT

       a.   We cover personal property not excluded elsewhere in this Policy while it is in transit within the
            Policy's territory:

            (1) Owned by you.

            (2) Shipped to customers under Free on Board (F.O.B) shipments, Free-Along-Side (F.A.S) shipments
                and Returned shipments. Your contingent interest is admitted.

            (3) Of others in your actual or constructive custody to the extent of your interest or legal liability.

            (4) Of others sold by y o u and y o u agreed prior to the loss to insure the personal property during
                course of delivery including:

                 (a) When shipped by your contract service provider or by your contract manufacturer to you or to
                     your customer; or

                 (b) When shipped by your customer to you orto your contract service provider or to your contract
                     manufacturer.

       b.   This PROPERTY DAMAGE COVERAGE AND LIMITATION starts from the time the property leaves
            the original point of shipment for transit, and continues while in the due course of transit until delivered,
            subject to the following conditions:


            (1) Coverage on export shipments not insured under ocean cargo policies ends when the property is
                loaded on board overseas vessels or aircraft Coverage on import shipments not insured under
                ocean cargo policies begins after discharge from overseas vessels or aircraft.

            (2) If this Policy expires during the due course of transit, coverage is extended until the shipment is
                delivered to its final destination.

       c.   We also cover:

            (1) General average and salvage charges on shipments covered while waterborne; and

            (2) Direct physical loss or damage caused by or resulting from:


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                 (a) Unintentional acceptance of fraudulent bills of lading, shipping or messenger receipts.

                 (b) Improper parties having gained possession of property through fraud or deceit.

       d.    Additional General Provisions:

             (1) This PROPERTY DAMAGE COVERAGE AND UMITATION will not inure directly or indirectly to
                 the benefit of any carrier or bailee.

             (2) You have permission, without prejudicing this insurance, to accept:

                 (a) Ordinary bills of lading used by carriers;

                 (b) Released bills of lading;

                 (c) Undervalued bills of lading; and

                 (d) Shipping or messenger receipts.

             (3) You may waive subrogation against railroads under side track agreements.

             (4) Except as otherwise stated, you will not enter into any special agreement with carriers releasing
                 them from their common law or statutory liability.

       e.    As respects this PROPERTY DAMAGE COVERAGE AND LIMITATION:

             (1) The following additional exclusions apply:

                 This Policy excludes:

                 (a) Samples in the custody of salespeople or selling agents.

                 (b) Property insured under import or export ocean marine insurance.

                 (c) Waterborne shipments, unless:

                     (i)   By inland water; or

                     (ii) By roll-on/roll-off ferries; or

                     (iii) By coastal shipments.

                 (d) Airborne shipments unless by regulariy scheduled passenger airiines or air freight carriers.


                 (e) Property of others, including your legal liability for it, hauled on vehicles owned, leased or
                     operated by you when acting as a common or contract carrier.

                 (f) Any transporting vehicle

                 (g) Property shipped between continents except by land or air within the Policy territory.

       f.    We will value property covered under this PROPERTY DAMAGE COVERAGE AND LIMITATION as
             follows:




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           (1) Property shipped to or for your account will be valued at actual invoice to you. Included in the
               value are accrued costs and charges legally due. Charges may include your commission as selling
               agent

           (2) Property sold by you and shipped to or for the purchaser's account will be valued at your selling
               invoice amount. Prepaid or advanced freight costs are included.

           (3) Property not under invoice will be valued:

                 (a) For your property, according to the valuation provisions of this Policy applying at the place
                     from which the property is being transported; or

                 (b) For other property, at the actual cash value at the destination point on the date of loss, less
                     any charges saved which would have become due and payable upon arrival at destination.

   25. VALUABLE PAPERS AND RECORDS

       a. We cover physical loss or damage to your valuable papers and records from a covered loss at a
          covered location. We cover the value blank, plus the cost of copying from backup or from originals of
          a previous generation, and your reasonable and necessary costs to research, replace or restore the
          information lost or damaged thereon, except for electronic data and software. For electronic data
          and software, we cover the value of the blank media, and the cost of reproducing the electronic data
          and software from duplicates or originals of the previous generation of the data.

       b. This coverage does not apply to loss or damage to property that cannot be repaired or restored with
          like kind or quality.




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                                      SECTION III - TIME ELEMENT

TIME ELEMENT loss as provided in the TIME ELEMENT COVERAGES and TIME ELEMENT COVERAGES AND
UMITATIONS:

A. Is subject to and part of the applicable LIMIT OF LIABILITY that applies to your direct physical loss or damage
   but in no event for more than any LIMIT OF LIABILITY that is stated as applying to the specific TIME ELEMENT
   COVERAGE and/or TIME ELEMENT COVERAGES AND UMITATIONS; and

B. Will not increase the POLICY LIMIT OF LIABILITY and is subject to the Policy provisions, including applicable
   exclusions and deductibles,

all as shown in this section and elsewhere in this Policy.

A. LOSS INSURED

    1.   We cover your actual loss sustained, as provided in the TIME ELEMENT COVERAGES and TIME
         ELEMENT COVERAGES AND LIMITATIONS, directly resulting from a loss of the type insured by this
         Policy:

         a.   To property described elsewhere in this Policy and not otherwise excluded by this Policy,

         b.   Used by you, or by others with whom you have a contract,

         c.   At a covered location or while in transit as provided by this Policy,

         d.   During the applicable PERIOD OF LIABILITY described in this section.

    2.   We cover TIME ELEMENT loss only to the extent it cannot be reduced through:

         a.   The use of any property or service owned or controlled by you;

         b.   The use of any property or service obtainable from other sources;

         c.   Working extra time or overtime; or

         d.   The use of inventory.

         all whether at a covered location or at any other location. When measuring the actual loss sustained, the
         combined operating results of all of your associated, affiliated or subsidiary companies will be considered
         in determining the TIME ELEMENT loss.

    3.   We cover your reasonable and necessary expenses to reduce the loss otherwise payable under this
         section of this Policy. The amount of those recoverable expenses will not exceed the amount by which the
         insured loss has been reduced.

    4.   In determining the insured TIME ELEMENT loss, we will consider the experience of the business before
         and after and the probable experience during the PERIOD OF LIABILITY. We will consider any increase or
         decrease in demand for your goods or services during the PERIOD OF LIABILITY, even if such increase
         or decrease is from the same event that caused the covered loss.

B. TIME ELEMENT COVERAGES

    1.   GROSS EARNINGS

         a.   GROSS EARNINGS loss is the actual loss sustained by you due to the necessary interruption of
              your business during the PERIOD OF LIABILITY of the following:


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            Gross Earnings less all charges and expenses that do not necessarily continue during the interruption
            of production or suspension of business operations or services, plus all other earnings derived from the
            operation ofthe business.

            Ordinary payroll, including taxes and charges dependent on the payment of wages, for a period of
            time not to exceed the number of consecutive days as specified in the LIMITS OF LIABILITY in the
            Declarations table immediately following the interruption of production or suspension of business
            operations or services, and only to the extent such payroll continues following the loss and would have
            been earned had no such interruption happened.

            However, if you reduce the daily loss payable under ordinary payroll, either by:

                      (1) providing gainful employment for, or

                      (2) paying less than the normal salary rate to,

            all or part of its employees, then the number of consecutive days of ordinary payroll may be extended.
            However, this provision will not increase our total liability beyond the amount we would have been
            liable for ordinary payroll costs without this provision.

            Ordinary payroll does not cover any portion of salaries or wages included in Gross Earnings.

       b. GROSS EARNINGS will be calculated as follows:

            (1) For manufacturing operations: the net sales value of production less the cost of all raw stock,
                materials and supplies used in such production; or

            (2) For mercantile or non-manufacturing operations: the total net sales less the cost of merchandise
                sold, materials and supplies consumed in the operations or services rendered by you.

            Any amount payable at selling price will be considered to have been sold to your regular customers
            and will be credited against net sales.


       c.   In determining the amount we cover as the actual loss sustained, we will consider the continuation of
            only those charges and expenses that would have been earned had there been no interruption of
            production or suspension of business operations or services.

       d. If you would have operated at a deficit had no interruption of production or suspension of business
          operations or services occurred, the following applies:

            (1) For Gross Earnings, the extent to which charges and expenses would have been earned will be
                determined by subtracting the operating deficits from the charges and expenses that necessarily
                continue.

            (2) For ordinary payroll, the extent payroll would have been earned will be determined by
                subtracting the excess, if any, of the operating deficit over the fixed charges that need to continue
                from such payroll.

       e. We cover TIME ELEMENT loss only to the extent that you are:

            (1) Wholly or partially prevented from producing goods or continuing business operations or services;

            (2) Unable to make up lost production within a reasonable period of time, not limited to the period
                during which production is interrupted;

            (3) Unable to continue your operations or sen/ices during the PERIOD OF LIABILITY; and

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             (4) Able to demonstrate a loss of sales for the operations, services or production prevented.

   2.   EXTRA EXPENSE

        a.   We cover your reasonable and necessary extra costs of the following incurred during the PERIOD
             OF LIABIUTY applicable:

             (1) To temporarily continue as neariy normal as practicable the conduct of your business; and

             (2) The temporary use of property or facilities of yours or others.

        b.   We will reduce any recoverable loss under this coverage for any value remaining of any property
             used to temporarily continue your business.

        c.   EXTRA EXPENSE does not include:

             (1) Any loss of income.

             (2) Costs that would have been incurred in conducting the business during the same period had no
                 physical loss or damage happened.

             (3) Costs of permanent repair or replacement of property that has been damaged or destroyed.

             (4) Any expense recoverable elsewhere in this Policy.

   3.   LEASEHOLD INTEREST

        a.   We cover the following:

             (1) If the lease agreement requires continuation of rent as a result of a covered loss, and if the
                 covered property is wholly or partially untenantable or unusable, the actual rent payable while the
                 covered property is untenantable or until the lease is terminated, but not exceeding the unexpired
                 term of the lease.

             (2) If the covered property is partially untenantable, we cover the proportion of the lease payment for
                 that portion of the untenantable covered property.

        b.   If the lease is cancelled by the lessor pursuant to the lease agreement or by the operation of law, we
             cover the additional cost to rent similar space for the unexpired term of the lease for the damaged
             property. That loss will be computed at present value, compounded annually at the prime rate plus 2%,
             as published in the Wall Street Journal on the date the lease terminated. The additional cost will
             consider the excess rent paid for the same or similar replacement property over actual rent of the
             original lease, plus cash bonuses or advance rent paid (including maintenance or operating charges)
             for each month during the unexpired term of the lease.

        0.   As respects LEASEHOLD INTEREST, the following applies:

             (1) We do not cover loss directly resulting from physical loss or damage to personal property.

             (2) TIME ELEMENT EXCLUSIONS D.I., D.2. and D.3. do not apply and the following applies
                 instead:

                 We do not cover any increase in loss resulting from the suspension, lapse or cancellation of any
                 license, or from you exercising an option to cancel the lease; or from any act or omission by you
                 that constitutes a default under the lease.

   4.   RENTAL INSURANCE


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        a.   We cover your actual loss sustained of rental income during the PERIOD OF LIABILITY for:

             (1) The fair rental value of any portion of rental property occupied by you;

             (2) The income reasonably expected from rentals of unoccupied or unrented portions of such
                 property; and

             (3) The rental income from the rented portions of such property according to written leases, contracts
                 or agreements in force at the time of loss,

             all not to include non-continuing charges and expenses.

        b.   RENTAL INSURANCE Exclusions: As respects RENTAL INSURANCE, TIME ELEMENT
             EXCLUSIONS D.1. does not apply and the following applies instead:

             We do not cover any loss of rental income during any period in which the covered location would not
             have been tenantable for any reason other than a covered loss.

C. PERIOD OF LIABIUTY

   1.   The PERIOD OF LIABIUTY applying to CONTINGENT TIME ELEMENT. GROSS EARNINGS, EXTRA
        EXPENSE and RENTAL INSURANCE is as follows:

        a.   For building and equipment, the period:

             (1) Starting from the time of physical loss or damage of the type insured; and

             (2) Ending when with due diligence and dispatch the building and equipment could be:

                 (a) Repaired or replaced; and

                 (b) Made ready for operations,

                 under the same or equivalent physical and operating conditions that existed prior to the damage.

             (3) Not to be limited by the expiration of this Policy.

        b.   For building(s) and equipment covered under COURSE OF CONSTRUCTION:

             (1) The equivalent of the above period of time will be applied to the level of business that would have
                 been reasonably achieved after construction and startup would have been completed had no
                 physical damage happened; and

             (2) Due consideration will be given to the actual experience of the business after completion of the
                 construction and startup.

   2.   The PERIOD OF LIABILITY for GROSS EARNINGS and EXTRA EXPENSE also includes the following:

        a.   For stock-in-process and mercantile stock, including finished goods not manufactured by you, the time
             required with the exercise of due diligence and dispatch:

             (1) To restore stock in process to the same state of manufacture in which it stood at the inception of
                 the interruption of production or suspension of business operations or services; and

             (2) To replace physically damaged mercantile stock.

        b.   For raw materials and supplies, the period of time:


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             (1) Of actual interruption of production or suspension of operations or services resulting from the
                 inability to get suitable raw materials and supplies to replace similar ones damaged; but

             (2) Limited to that period for which the damaged raw materials and supplies would have supplied
                 operating needs.

        c.   Impounded Water:

             (1) Used for any manufacturing purpose, including as a raw material or for power;

             (2) Stored behind dams or in reservoirs; and

             (3) On any covered location,

             that is released as the result of physical damage of the type insured to such dam, reservoir or
             connected equipment, our liability for the actual interruption of production or suspension of operations
             or services due to inadequate water supply will not extend beyond the number of consecutive days,
             not to exceed the LIMIT OF LIABILITY specified in the Declarations after the damaged dam, reservoir
             or connected equipment has been repaired or replaced.

        d.   For physically damaged exposed films, records, manuscripts and drawings, the time required to copy
             from backups or from originals of a previous generation. This time does not include research,
             engineering or any other time necessary to restore or recreate lost information.

        e.   For physically damaged or destroyed property covered under DATA, PROGRAMS OR SOFTWARE,
             the time to recreate or restore including the time for researching or engineering lost information.

   3.   The PERIOD OF LIABIUTY applying to GROSS PROFIT is as follows:

        a.   The period starting from the time of physical loss or damage of the type insured and ending not later
             than the period of time specified in the LIMITS OF LIABIUTY Table in the Declarations during which
             period the results of the business shall be directly affected by such damage, not to be limited by the
             expiration of this Policy.

        b.   For property under construction, the period starting on the date that production, business operation or
             service would have commenced if physical damage of the type insured had not happened and ending
             not later than the period of time specified in the LIMITS OF LIABILITY Table in the Declarations, during
             which period the results of the business shall be directly affected by such damage, not to be limited by
             the expiration of this Policy.

        The Rate of Gross Profit and Standard Sales will be based on the experience of the business after
        construction is completed and the probable experience during the PERIOD OF LIABILITY.


   4.   The PERIOD OF LIABILITY does not include any additional time due to your inability to resume
        operations for any reason, including:

        a.   Making changes to equipment

        b.   Making changes to the buildings or structures except as provided in the DEMOLITION AND
             INCREASED COST OF CONSTRUCTION clause in the PROPERTY DAMAGE section; and

        c.   Re-staffing or retraining employees.

        If two or more PERIODS OF LIABILITY apply, such periods will not be cumulative.

   TIME ELEMENT EXCLUSIONS



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     In addition to the exclusions elsewhere in this Policy, the following exclusions apply to TIME ELEMENT loss;

    1.   Any loss during any idle period, including but not limited to when production, operation, service or delivery
         or receipt of goods would cease, or would not have taken place or would have been prevented due to:

         a.   Physical loss or damage not insured by this Policy on or off of the covered location.

         b.   Planned or rescheduled shutdown.

         c.   Strikes or other work stoppage.

         d.   Any reason other than physical loss or damage insured under this Policy.

   2.    Any increase in loss due to:

         a.   Suspension, cancellation or lapse of any lease, contract, license or orders.

         b.   Damages for breach of contract or for late or noncompletion of orders.

         c.   Fines or penalties.

         d.   Any other consequential or remote loss.

   3.    Any loss resulting from physical loss or damage to finished goods manufactured by you, or the time
         required for their reproduction.

E. TIME ELEMENT COVERAGES AND LIMITATIONS

   TIME ELEMENT COVERAGES are extended to include the following, subject to all Policy terms, conditions
   and exclusions, and the time, distance and/or dollar amounts specified in the LIMITS OF LIABILITY Table in
   the Declarations:

   1.    ATTRACTION       PROPERTY

         a.   We cover your actual loss sustained and EXTRA EXPENSE resulting from loss or damage of the type
              insured by this Policy to property of the type insured at an attraction property within the number of
              statute miles specified in the LIMITS OF LIABILITY Table in the Declarations and during the period of
              time that

              (1) Starts at the time such physical loss or damage happens;

              (2) Ends when the attraction property is:

                  (a) Repaired or replaced; and

                  (b) Made ready for operations.

         b.   As used in this TIME ELEMENT COVERAGE AND LIMITATION, the term attraction property is a
              property that:

              (1) Is operated by others; and

              (2) You depend on to attract customers to your covered location.

   2.    CIVIL OR MILITARY AUTHORITY

         a.   We cover your actual loss sustained and EXTRA EXPENSE during the period of interruption if an order
              of civil or military authority prohibits access to a covered location provided such order is caused by



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             physical loss or damage of the type insured by this Policy at a covered location or within the number
             of statute miles specified in the LIMITS OF LIABILITY Table in the Declarations.

        b.   This TIME ELEMENT COVERAGE AND UMITATION does not apply to LEASEHOLD INTEREST

        c.   The period of interruption for this TIME ELEMENT COVERAGE AND LIMITATION will be the period of
             time:

             (1) Starting at the time of such direct physical loss or damage; and

             (2) Continuing until the order is lifted, or the time limit specified in the LIMITS OF LIABILITY Table in
                 the Declarations expires, whichever happens first.

             This period of time is part of and not in addition to any PERIOD OF LIABILITY applying to any coverage
             provided in the TIME ELEMENT section.

   3.   COMPUTER SYSTEMS NON PHYSICAL DAMAGE

        a.   We cover your actual loss sustained and EXTRA E X P E N S E dunng the PERIOD OF LIABIUTY directly
             resulting from the failure of your electronic data processing equipment or media to operate, provided
             that such failure is the direct result of a malicious act directed at you.

        b.   This TIME ELEMENT COVERAGE AND UMITATION will apply only when [be period of interruption is
             in excess of the qualifying period specified in the Qualifying Period Table in the Declarations.

        c.   As used above, the period of interruption:

             (1) Is the period starting when your electronic data processing equipment or media fails to operate
                 and ending when with due diligence and dispatch, your electronic data processing equipment
                 or media could be restored to the same or equivalent operating condition that existed prior to the
                 failure.

             (2) Does not include the additional time to make changes to your electronic data processing
                 equipment or media.

   4.   CONTINGENT TIME ELEMENT

        a.   We cover your actual loss sustained and EXTRA EXPENSE during the PERIOD OF LIABILITY directly
             resulting from physical loss or damage of the type insured by this Policy at Direct Dependent Time Element
             Location(s) and Indirect Dependent Time Element Location(s) located within the territory of this Policy.

        b.   You agree to take every reasonable and necessary action to mitigate the loss payable hereunder.




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        c.   As used in this Policy, Direct Dependent Time Element Location(s) are:

             (1) Any location(s) of a direct: customer, supplier, contract manufacturer or contract service provider to
                 you; or

             (2) Any location(s) of any company under a royalty, licensing fee or commission agreement with you.

             Direct Dependent Time Element Location(s) does not include location(s) that are covered location(s)
             under this Policy or the location(s) of any company directly or indirectly supplying to, or receiving from
             you, electricity, fuel, gas, water, steam, refrigeration, sewage, voice, data or video.

        d.   As used in this Policy, Indirect Dependent Time Element Location(s) are:

             (1) Any location(s) of any company that is a direct: customer, supplier, contract manufacturer or contract
                 sen/ice provider to your Direct Dependent Time Element Location(s)

             Indirect Dependent Time Element Location(s) does not include location(s) that are covered location(s)
             under this Policy or the location(s) of any company directly or indirectly supplying to, or receiving from,
             the Direct Dependent Time Element Location(s) or the Indirect Dependent Time Element
             Location(s), electricity, fuel, gas, water, steam, refrigeration, sewage, voice, data or video.

        e.   As respects CONTINGENT TIME ELEMENT:

             (1) Exclusion D.3 in the TIME ELEMENT EXCLUSIONS does not apply.

   5.   CRISIS MANAGEMENT

        a.   We cover your actual loss sustained and EXTRA EXPENSE during the PERIOD OF LIABILITY if an
             order of civil or military authority prohibits access to a covered location, but only if such order is a direct
             result of a violent crime, suicide, attempted suicide or armed robbery at such covered location.

        b.   As respects this TIME ELEMENT COVERAGE AND LIMITATION, coverage applies:

             (1) Only when the PERIOD OF LIABILITY is in excess of the qualifying period specified in the
                 Qualifying Period Table in the Declarations; and

             (2) For up to the number of consecutive days specified in the LIMITS OF LIABILITY Table in the
                 Declarations, not to exceed the specified LIMIT OF LIABILITY.

             The PERIOD OF LIABILITY is the period of time when the time the civil or military authority prohibits
             access and continuing until the order is lifted, or the time limit specified in the LIMITS OF LIABILITY
             Table in the Declarations expires, whichever happens first.

   6.   DELAY IN STARTUP

        We cover your actual loss sustained and EXTRA EXPENSE during the PERIOD OF LIABILITY due to the
        reasonable and necessary delay in startup of business operations resulting directly from physical loss or
        damage to covered property as provided under COURSE OF CONSTRUCTION.

   7.   EXTENDED PERIOD OF LIABIUTY

        a.   We cover the GROSS EARNINGS loss sustained due lo the reduction in sales resulting from:

             (1) The interruption of business;

             (2) Commencing with the date on which our liability for loss resulting from interruption of business
                 would terminate if this TIME ELEMENT COVERAGE AND UMITATION had not been included in
                 this Policy; and


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             (3) Continuing for such additional length of time as would be required with the exercise of due diligence
                 and dispatch to restore your business to the condition that would have existed had no loss
                 occurred, but no longer than the number of consecutive days specified in the LIMITS OF LIABILITY
                 Table in the Declarations.

        b.   Coverage under this TIME ELEMENT COVERAGE AND LIMITATION for the reduction in sales due to
             contract cancellation will include only those sales that would have been earned under the contract
             during the EXTENDED PERIOD OF LIABILITY described in Item 7.a. above.

        c.   As respects this TIME ELEMENT COVERAGE AND UMITATION, Item D.2. in the TIME ELEMENT
             EXCLUSIONS in this section does not apply and the following applies instead:

                 This Policy does not insure against any increase in loss due to damages for breach of contract or
                 for late or non-completion of orders, or fines or penalties.

   8.   INGRESS/EGRESS

        a.   We cover your actual loss sustained and EXTRA EXPENSE due to the necessary interruption of your
             business if ingress to or egress from a covered location is prevented, whether or not your premises
             or property is damaged, provided that such prevention is a direct result of physical loss or damage of
             the type insured to property of the type insured.

        b.   The period of interruption for this TIME ELEMENT COVERAGE AND UMITATION will be the period of
             time starting at the time of such direct physical loss or damage, and continuing until ingress or egress
             is no longer prevented, or for the time limit specified in the LIMITS OF LIABILITY Table in the
             Declarations, whichever is less.

   9.   OFF PREMISES INTERRUPTION OF SERVICES - TIME ELEMENT

        a.   We cover your actual loss sustained and EXTRA EXPENSE during the period of service interruption
             at a covered location when the loss is caused by:

             (1) The interruption of incoming services consisting of electricity, gas, fuel, steam, water, refrigeration,
                 voice, data, video; or

             (2) The interruption of outgoing sewerage service,

             from physical loss or damage of the type insured, at the facilities of the supplier of such service located
             within this Policy's territory that immediately prevents in whole or in part the delivery of such usable
             services.

        b.   This TIME ELEMENT COVERAGE AND LIMITATION will apply only when the period of sen/ice
             interruption as described below is in excess of the qualifying period specified in the Qualifying Period
             Table in the Declarations.

        c.   The period of service interruption is:

             (1) The period starting with the time when an interruption of specified services occurs; and ending
                 when with due diligence and dispatch the service could be wholly restored and the location
                 receiving the service could have resumed normal operations following the restoration of service
                 under the same or equivalent physical and operating conditions that existed prior to the interruption
                 of such services;

             (2) Is limited to only those hours during which you could have used service(s) if it had been available;

             (3) Does not extend to include the interruption of operations caused by any reason other than
                 interruption of the specified service(s).
        d.   Additional General Provisions:


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           (1) You will immediately notify the suppliers of services ofany interruption of any such services.

           (2) We will not be liable if the interruption of such services is caused directly or indirectly by your failure
               to comply with the terms and conditions of any contracts you have for the supply of such specified
               services.

      e.   We do not cover loss or damage caused by or resulting from the use of services provided by or through
           a satellite.

   10. ON PREMISES INTERRUPTION OF SERVICES - TIME ELEMENT

      a.   We cover your actual loss sustained and EXTRA E X P E N S E during the PERIOD OF LIABILITY directly
           resulting from direct physical loss or damage of the type insured to the following property located at or
           within one-thousand (1,000) feet of a covered location:

           (1) Electrical equipment and equipment used for the transmission of voice, data or video.

           (2) Electrical, fuel, gas, water, steam, refrigeration, sewerage, voice, data or video transmission
               systems.

   11. PROTECTION AND PRESERVATION OF PROPERTY TIME ELEMENT

      a.   We cover your actual loss sustained for a period of time not to exceed forty eight (48) hours prior to
           and forty eight (48) hours after you first took reasonable action for the temporary protection and
           preservation of property insured by this Policy provided such action is necessary to prevent immediately
           impending physical loss or damage of the type insured to such covered property.

      b.   This TIME ELEMENT COVERAGE AND LIMITATION is subject to the deductible provisions that would
           have applied had the direct physical loss or damage occurred.

   12. RELATED LOCATIONS

      If you report values at related locations used by you (e.g. branch stores, retail outlets and other facilities),
      but such related locations are not listed on the latest Schedule of Covered Locations submitted to,
      accepted by and on file with us, and if a TIME ELEMENT loss results at such related locations due to
      covered loss, we cover such resulting TIME ELEMENT loss in accordance with the terms and conditions
      of this Policy.

   13. RESEARCH AND DEVELOPMENT

      a.   We cover your actual loss sustained of fixed charges and ordinary payroll directly attributable to the
           interruption of research and development project(s) that would not have produced income during the
           PERIOD OF LIABIUTY resulting from a covered loss.

      b.   We cover these fixed charges only to the extent they continue after the covered loss and only during
           the PERIOD OF LIABILITY.

      c.   To the extent you are able to resume operations, we cover only that portion of the fixed charges related
           to that part of the research and development operation that has not yet been restored.

   14. SOFT COSTS

      a.   We cover your actual loss sustained of Soft Costs during the period of delay directly resulting from a
           delay of completion of covered property under construction as provided under COURSE OF
           CONSTRUCTION as provided in the PROPERTY DAMAGE COVERAGES AND UMITATIONS.




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        b. Soft Costs are costs over and above those that are normal at a covered location undergoing renovation
           or in the course of construction, limited to the following:

            (1) Construction loan fees - your additional cost to rearrange loans necessary for the completion of
                construction, repairs or reconstruction including: the cost to arrange refinancing, accounting work
                necessary to restructure financing, legal work necessary to prepare new documents, charges by
                the lenders for the extension or renewal of loans necessary.

            (2) Commitment fees, leasing and marketing expenses - the cost of returning any commitment fees
                received from prospective tenant(s) or purchaser(s), the cost of re-leasing and marketing due to
                loss of tenant(s) or purchaser(s).

           (3) Additional fees for architects, engineers, consultants, attorneys and accountants needed for the
               completion of construction repairs or reconstruction.

            (4) Property taxes, building permits, additional interest on loans, realty taxes and insurance premiums.

       c. Period of delay is the period of time between:

            (1) The date on which the construction, alteration, extension or renovation would have been complete
                in the absence of a covered loss to property under construction as provided under COURSE OF
                CONSTRUCTION as provided in the PROPERTY DAMAGE COVERAGES AND LIMITATIONS;
                and

           (2) The date on which construction, alteration, extension or renovation is actually complete.




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                             SECTION IV - DESCRIBED LOSSES
We only cover the following DESCRIBED LOSSES as specified in the UMITS OF LIABIUTY Table in the
Declarations, subject to the terms, conditions and exclusions of this Policy.

A. EARTH MOVEMENT

   1. We cover physical loss or damage to covered property, including TIME ELEMENT COVERAGES, TIME
      ELEMENT COVERAGES AND LIMITATIONS and PROPERTY DAMAGE COVERAGES AND
      LIMITATIONS as provided by this Policy, from a covered loss resulting from EARTH MOVEMENT.

   2 . Y o u may elect when the time specified in the OCCURRENCE TIME SPECIFICATIONS begins.

   3. EARTH MOVEMENT is:

       Earthquake, landslide, subsidence or sinking, rising or shifting of the earth, avalanche, whether natural or
       man-made, or volcanic eruption; regardless of any other cause or event contributing concurrently or in any
       other sequence of loss.

       However, physical loss or damage from fire, explosion, sprinkler leakage or FLOOD caused by EARTH
       MOVEMENTw\l\ not be considered to be loss by EARTH MOVEMENTwiibin the terms and conditions of
       this Policy.

B. E/\RTH/WOl/E/\/fE/VT SPRINKLER LEAKAGE

   1. We cover physical loss or damage to covered property, including TIME ELEMENT COVERAGES, TIME
      ELEMENT COVERAGES AND LIMITATIONS and PROPERTY DAMAGE COVERAGES AND
      LIMITATIONS as provided by this Policy, resulting from sprinkler leakage caused by EARTH
      MOVEMENT.

C. EQUIPMENT BREAKDOWN

   1. We cover physical loss or damage to covered property, including TIME ELEMENT COVERAGES, TIME
      ELEMENT COVERAGES AND UMITATIONS and PROPERTY DAMAGE COVERAGES AND
      LIMITATIONS, as provided by this Policy if such loss or damage is caused by an accident to covered
      equipment.

       The coverage provided in this DESCRIBED LOSS is limited to loss or damage caused by an accident to
       covered equipment. We will not pay for physical loss or damage from any other cause under this
       DESCRIBED LOSS.

       The following coverages apply solely to Equipment Breakdown:

       a. Spoilage Damage

           We cover physical loss or damage caused by change in temperature or humidity or by the interruption
           of power, heat, air-conditioning, or refrigeration as the result of an accidentia covered equipment.

       b. Ammonia Contamination

           We cover physical loss or damage to covered property contaminated by ammonia, including any
           salvage expense as a direct result of an accident to covered equipment. No coverage for Ammonia
           Contamination is available under DECONTAMINATION COSTS with respects to an accident to
           covered equipment




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   2.   Conditions

        a.   Suspension

             If coverage for Equipment Breakdown is provided by this Policy, and we discover a dangerous condition
             relating to an object, we may immediately suspend the insurance provided by this coverage for that
             covered equipment by miiten notice mailed or delivered to you either at your address or at the location
             of any object. Suspended insurance may be reinstated by us, but only by an endorsement issued as
             part of this Policy. You will be credited for the unearned portion of the premium paid for the suspended
             insurance, pro rata, for the period of suspension.

   3.   Valuation

        If covered equipment requires replacement due to an accident, we cover your additional cost to replace
        with equipment that is better for the environment, safer or more efficient than the equipment being replaced.

        a.   However, we do not cover more than 150% of what the cost would have been to repair or replace
             covered equipment wiib like kind and quality.

        b.   This does not apply to any property subject to valuation based on actual cash value, nor does this
             provision increase any other applicable LIMIT OF LIABILITY.

        c.   The PERIOD OF LIABILITY will not be increased by any of the above.

   4.   Definitions

        a.   Accident: Physical loss or damage to covered equipment that necessitates its repair or replacement
             due to:

             (1) Failure of pressure or vacuum equipment;

             (2) Mechanical breakdown including rupture or bursting caused by centrifugal force;

             (3) Artificially generated electrical current, including electrical arcing that damages electrical devices,
                 appliances or wires; or

             (4) Explosion of:

                 (a) Steam boiler

                 (b) Electric steam generator

                 (c) Steam piping

                 (d) Steam turbine

                 (e) Moving or rotating machinery when such explosion is caused by centrifugal force,

             unless such loss or damage is otherwise excluded within this Policy.

             Accident does not include:

             (5) Fire, including water or other means used to extinguish the fire;

             (6) Malfunction, misalignment, miscalibration, tripping off line, or any condition which can be
                 corrected by resetting, tightening, adjusting or cleaning or by the performance of maintenance;




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              (7) Combustion explosion;

              (8) Discharge of molten material from equipment including the heat from such discharged materials;

              (9) Ughtning;

            (10)   Depletion, deterioration, rust, corrosion, erosion, settling, or wear or tear or any other gradually
                   developing condition;

            (11)   Defects, erasures, error limitations or viruses in computer equipment and programs including the
                   inability to recognize and process any date or time or provide instructions to covered equipment;

            (12)   Leakage at any valve, fitting, shaft seal, gland packing, joint or connection;

            (13)   Damage to any structure or foundation supporting the covered equipment or any of its parts;

            (14)   Any loss or damage caused by or resulting from any type of electrical insulation breakdown test;

            (15)   Any loss or damage caused by or resulting from any type of hydrostatic, pneumatic or gas
                   pressure test;

            (16)   The functioning of any safety or protective device; or

            (17)   The cracking of any part on an internal combustion turbine exposed to the products of
                   combustion.

       b.     Covered equipment:

              (1) Equipment that generates, transmits, controls or utilizes energy; including electronic
                  communications and data processing equipment; and

              (2) Equipment which, during normal usage, operates under vacuum or pressure, other than weight of
                  contents.

              Covered equipment does not mean or include:

              (3) Electronic data;

              (4) Part of pressure or vacuum equipment that is not under internal pressure of Its contents or internal
                  vacuum;

              (5) Insulating or refractory material;

              (6) Nonmetallic pressure or vacuum equipment, unless it is constructed and used in accordance with
                  the American Society of Mechanical Engineers (A.S.M.E.) code or other appropriate and approved
                  code;

              (7) Catalyst;

              (8) Buried vessels or piping; waste, drainage or sewer piping; piping, valves or fittings forming part of
                  a sprinkler or fire suppression system; water piping that is not part of a closed loop used to conduct
                  heat or cooling from a boiler or a refrigeration or air conditioning system;

              (9) Structure, foundation, cabinet or compartment supporting or containing the covered equipment or
                  part of the covered equipment including penstock, draft tube or well casing;

            (10)   Vehicle or any covered equipment that is mounted on or used solely with a vehicle;




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             (11) Dragline, excavation or construction equipment including any covered equipment that is mounted
                  on or used solely with any one or more dragline(s), excavation or construction equipment;

             (12) Felt, wire, screen, die, extrusion plate, swing hammer, grinding disc, cutting blade, nonelectrical
                  cable, chain, belt rope, clutch plate, brake pad, nonmetal part or tool subject to periodic
                  replacement;

             (13) Cyclotron used for other than medical purposes, satellite or spacecraft including any covered
                  equipment mounted on or used solely with any satellite or spacecraft;

             (14) Equipment manufactured by you for sale.

        c.     Production machinery is any machine or apparatus that processes, forms, cuts, shapes, grinds, or
               conveys raw materials, materials in process or finished products including any covered equipment that
               is mounted on or used solely with any one or more production machines or apparatus.

D. FLOOD

   1. We cover physical loss or damage to covered property, including TIME ELEMENT COVERAGES, TIME
      ELEMENT COVERAGES AND UMITATIONS and PROPERTY DAMAGE COVERAGES AND
      LIMITATIONS as provided by this Policy, from a covered loss resulting from FLOOD.

   2.   FLOOD is:

        a. Surface waters; rising waters; storm surge, wave wash; waves; tsunami; tide or tidal water; the release
           of water, the rising, overflowing or breaking of boundaries of natural or man-made bodies of water; or
           the spray therefrom; all whether driven by wind or not;

        b. Sewer back-up resulting from any of the foregoing; or

        c.     Mudslide or mudflow caused by or resulting from surface water, runoff or accumulation of water on or
               under the ground;

              regardless of any other cause or event, whether natural or man-made, contributing concurrently or in
              any other sequence of loss.

        Covered loss from FLOOD associated with a storm or weather disturbance whether or not identified by
        name by any meteorological authority is considered to be FLOOD within the terms of this Policy. However,
        physical loss or damage from fire, explosion or sprinkler leakage caused by FLOOD will not be considered
        to be loss by FLOOD within the terms and conditions of this Policy.

E. NAMED STORM

   1. We cover physical loss or damage to covered property, including TIME ELEMENT COVERAGES, TIME
      ELEMENT COVERAGES AND LIMITATIONS and PROPERTY DAMAGE COVERAGES AND
      LIMITATIONS as provided by this Policy, from a covered loss resulting from a NAMED STORM. However,
      physical loss or damage caused by fire, explosion, sprinkler leakage or FLOOD will not be considered loss
      by NAMED STOR/W within the terms and conditions of this Policy.

   2. Y o u may elect when the time specified in the OCCURRENCE TIME SPECIFICATIONS begins.

   NAMED STORM is any storm or weather disturbance that is named by the U, S. National Oceanic and
   Atmospheric Administration (NOAA) or the U. S. National Weather Service or the National Hurricane Center or
   any authorized meteorological authority in the country where the storm or weather disturbance happened.




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                        SECTION V - GENERAL POLICY CONDITIONS

A. ASSIGNMENT

   Your assignment of this Policy will not be valid except with our written consent.

B. CANCELLATION

   1.   You may cancel this Policy by mailing or delivering to us advance written notice of cancellation.

   2.   We may cancel this Policy by mailing or delivering to you written notice of cancellation at least:

        a.   ten (10) days before the effective date of cancellation if we cancel for nonpayment of premium; or

        b.   thirty (30) days or the number of days specified in the CANCELLATION TIME SPECIFICATIONS,
             whichever is greater, before the effective date of cancellation if we cancel for any other reason.

   3.   We will mail or deliver our written notice of cancellation to your last mailing address known to us.

   4.   Our written notice of cancellation will state the effective date of cancellation and the Policy period will end
        on that date.

   5.   If this Policy is cancelled, we will send you any premium refund due. If we cancel, the refund will be pro
        rata. If you cancel, the refund may be less than pro rata. The cancellation will be effective even if we have
        not made or offered a refund.

   6.   If notice is mailed, proof of mailing will be sufficient proof of notice.

C. CONCEALMENT, MISREPRESENTATION OR FRAUD

   This entire Policy is void, if with the actual intent to deceive

   1.   You;

   2.   Your representatives; or

   3.   Any insured;

   commit fraud or conceal or misrepresent a fact or circumstance concerning:

        a.   This Policy;

        b.   The covered property;

        c.   Your interest in the covered property; or

        d.   A claim under this Policy.




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D. CONFORMITY TO STATUTES

   Any provisions required by law to be included in policies issued by us shall be deemed to have been included
   in this Policy.

   If the provisionsof this Policy conflict with the laws of any jurisdictions in which this Policy applies, and if certain
   provisions are required by law to be stated in this Policy, this Policy shall be read so as to eliminate such conflict
   or deemed to include such provisions for covered locations within such jurisdictions.

E. INSPECTION

   1.   During the period of this Policy, we will be permitted, but not obligated, to inspect the covered property.
        Our right to inspect, the performance of or failure to inspect, and any report arising out of an inspection will
        not constitute an undertaking or imply that the property is safe, healthful, or in compliance with laws,
        regulations, codes or standards.

   2.   This condition does not apply to any inspections, surveys, reports or recommendations we may make
        relative to certification, under state or municipal statutes, ordinances or regulations, of boilers, pressure
        vessels or elevators.

        We will have no liability to you or others because of any inspection or failure to inspect, or on account of
        anyone's use or reliance upon any report or other information generated during the course of, or as a result
        of any inspection.

F. LENDERS LOSS PAYEE AND MORTGAGEE INTERESTS AND OBLIGATIONS

   1.   When specified in the Policy or in Certificates of Insurance on file with us, we cover loss to specified
        property insured under this Policy to each specified Lender Loss Payee (hereinafter referred to as Lender)
        as its interest may appear, and to each specified Mortgagee as its interest may appear.

   2.   The interest of the Lender or Mortgagee (as the case may be) in property insured under this Policy will not
        be invalidated by:

        a.   Any act or neglect of the debtor, mortgagor, or owner (as the case may be) of the property.

        b.   Foreclosure, notice of sale, or similar proceedings with respect to the property, but only to the extent of
             a deficiency as provided by state law.

        c.   Change in the title or ownership of the property.

        d.   Change to a more hazardous occupancy.

        The Lender or Mortgagee will notify us of any known change in ownership, occupancy, or hazard and,
        within ten (10) days of our written request, may pay the increased premium associated with such known
        change. If the Lender or Mortgagee fails to pay the increased premium, all coverage under this Policy will
        cease.

   3.   If this Policy is cancelled at your request or by the request of your agent, the coverage for the interest of
        the Lender or Mortgagee will tenninate ten (10) days after we send to the Lender or Mortgagee written
        notice of cancellation, unless:

        a.   Sooner terminated by authorization, consent, approval, acceptance, or ratification of your action by the
             Lender or Mortgagee, or its agent.

        b.   This Policy is replaced by you, with a Policy providing coverage for the interest of the Lender or
             Mortgagee, in which event coverage under this Policy with respect to such interest will terminate as of
             the effective date of the replacement Policy, notwithstanding any other provision of this Policy.



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   4.    We may cancel this Policy and/or the interest of the Lender or Mortgagee under this Policy, by giving the
         Lender or Mortgagee written notice thirty (30) days or the number of days specified in the CANCELLATION
         TIME SPECIFICATIONS, whichever is greater, prior to the effective date of cancellation, if cancellation is
         for any reason other than non-payment. If the debtor, mortgagor, or owner has failed to pay any premium
         due under this Policy, we may cancel this Policy for such non-payment, but will give the Lender or
         Mortgagee written notice ten (10) days prior to the effective date of cancellation. If the Lender or Mortgagee
         fails to pay the premium due by the specified cancellation date, all coverage under this Policy will cease.

   5.    If we pay the Lender or Mortgagee for any loss, and deny payment to the debtor, mortgagor or owner, we
         will, to the extent of the payment made to the Lender or Mortgagee be subrogated to the rights of the Lender
         or Mortgagee under all securities held as collateral to the debt or mortgage. No subrogation will impair the
         right of the Lender or Mortgagee to sue or recover the full amount of its claim. At our option, we may pay
         to the Lender or Mortgagee the whole principal due on the debt or mortgage plus any accrued interest. In
         this event, all rights and securities will be assigned and transferred from the Lender or Mortgagee to us,
         and the remaining debt or mortgage will be paid to us.

   6.    If you fail to render proof of loss, the Lender or Mortgagee, upon notice of your failure to do so, will render
         proof of loss within sixty (60) days of notice and will be subject to the provisions of this Policy relating to
         APPRAISAL, COMPANY OPTION, and SUIT AGAINST THE COMPANY.

   7.    In the event of a claim, upon request by us, the Lender or Mortgagee will cooperate in any claim
         investigation.

   8.    In no event will the amount payable to a Lender or Mortgagee exceed the amount which would otherwise
         have been payable to you.

G. LIBERALIZATION

   If during the period that insurance is in force under this Policy, any filed rules or regulations affecting the same
   are revised by statute in any State or jurisdiction within the United States of America so as to broaden the
   insurance without additional premium charge, such extended or broadened insurance will inure to your benefit
   within such jurisdiction, effective the date of the change specified in such statute.

H. NO REDUCTION BY LOSS

   Except for those coverages written with an annual aggregate LIMIT OF LIABILITY, we cover a covered loss
   without reducing any other applicable LIMIT OF LIABILITY. The reinstatement of any exhausted annual
   aggregate is not permitted unless authorized by us in writing.

I. NONRENEWAL

    1.   If we decide not to renew this Policy, we will mail or deliver a written notice of nonrenewal to you at least
         sixty (60) days before the expiration date of this Policy. Notice will be sent to your last mailing address
         known to us. We will state the reason for nonrenewal.

   2.    Proof of mailing will be sufficient evidence of notice.

J. OTHER INSURANCE

    1.   We will not be liable if, at the time of loss or damage, there is any other insurance that would apply in the
         absence of this Policy; except that this Policy will apply only as excess or DIFFERENCE IN CONDITIONS
         / DIFFERENCE IN LIMITS and in no event as contributing insurance, and then only after all other insurance
         has been exhausted, notwithstanding paragraph 5. below.

   2.    We will not be liable if, at the time of loss or damage, there is any insurance with the National Flood
         Insurance Program (NFIP), except that this Policy shall apply only as excess and in no event as contributing
         insurance, and then only after all NFIP insurance has been exhausted.




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   3.    We will not be liable if, at the time of loss or damage, there is any insurance for the construction of new
         buildings and additions under a specific policy for the construction of such new buildings and additions,
         except that this Policy shall apply only as excess and in no event as contributing insurance, and then only
         after all specific insurance has been exhausted.

   4.    We will not be liable if, at the time of loss or damage, there is any insurance for stock under a specific policy
         for such stock, except that this Policy shall apply only as excess and in no event as contributing insurance,
         and then only after all specific insurance has been exhausted.

   5.    If this Policy is deemed by law to contribute to a loss with other insurance, we will pay only our proportionate
         share of the loss, up to the applicable LIMIT OF LIABILITY. Our share will be the proportion that the
         applicable LIMIT OF LIABIUTY of this Policy bears to the total applicable UMITS OF LIABIUTY available
         from all insurance.

   6.    You are permitted to have other insurance over any LIMITS OF LIABILITY specified in this Policy.

   7.    The existence of such insurance will not reduce any LIMIT OF LIABILITY in this Policy.

   8.    To the extent this Policy replaces another Policy, coverage under this Policy shall not become effective until
         such other Policy has terminated.

   9.    You are permitted to have other insurance for all, or any part, of any deductible in this Policy. The existence
         of such other insurance will not prejudice recovery under this Policy. If the limits of liability of such other
         insurance are greater than this Policy's applicable deductible, this Policy's insurance will apply only as
         excess and only after such other insurance has been exhausted.

K. PAIR, SET OR PARTS

    In the event of a covered loss to an article that is part of a pair or set, our payment for that loss will be:

    1.   The cost to repair or replace any part to restore the pair or set to its value before the loss; or


   2.    The difference between the value of the pair or set before and after the loss.

    In no event will the loss of part of a pair or set be regarded as a total loss of the pair or set.

L. POUCY MODIFICATION

   This Policy contains all of the agreements between you and us concerning this insurance. You and we may
   request changes to this Policy. Only endorsements issued by us and made a part of this Policy can change
   this Policy.

   Notice to any agent or knowledge possessed by any agent or by any other person will not create a waiver or
   change any part of this Policy or prevent us from asserting any rights under the Policy.

M. TITLES

   The titles of the paragraphs of this Policy and of any endorsements attached to it are only for reference. They
   do not affect the terms to which they relate.

N. TRANSFER OF RIGHTS AND DUTIES

     Your rights and duties under this Policy may not be transferred without us giving written consent.

O. VACANCY




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   1.   If any of your real property is vacant at the inception of this Policy, or becomes vacant, and remains vacant
        for more than sixty (60) consecutive days, during the Policy period, you must:

        a.   Notify us in writing of the vacancy prior to loss or damage; and

        b.   Maintain in complete working order the protective safeguards present prior to the vacancy. Protective
             safeguards include:

             (1)   Automatic sprinkler systems;
             (2)   Fire alarm systems;
             (3)   Guard or watchman services;
             (4)   Burglary systems; and
             (5)   Monitoring systems.

   2.   If the above requirements are not met, then in addition to the other terms, conditions, limitations and
        exclusions in this Policy, we will:
        a.   Not pay for any loss or damage caused by or resulting from any of the following:
             (1)   Breakage of building glass;
             (2)   Mold, mildew or fungus;
             (3)   Sprinkler leakage, unless the system has been protected against freezing;
             (4)   Theft or attempted theft
             (5)   Vandalism;
             (6) Malicious mischief; or
             (7) Water damage.

        b.   Not pay under DEMOLITION AND INCREASED COST OF CONSTRUCTION;

        c.   Value the loss or damage for the vacant real property (including any loss or damage to personal
             property) at the time of loss at the lesser of:
             (1) The actual cash value;
             (2) The actual cost to repair; or
             (3) The selling price, less all saved expenses, if it was being offered or listed for sale at the time of
                 loss.

   3.   Real property is considered vacant when it does not contain sufficient property and personnel to conduct
        your customary business operations.


   4.   Real property is nol considered vacanl during its ongoing construction or renovation.



P. VALUATION

   1.   Adjustment of the physical loss or damage amount under this Policy will be computed as of the date of loss
        or damage at the place of the loss or damage. Unless stated otherwise in a PROPERTY DAMAGE
        COVERAGE AND LIMITATION, adjustment of physical loss or damage to covered property will be subject
        lo the following:

        a.   On stock in process, the value of raw materials and labor expended plus the proper proportion of
             overhead charges.

        b.   On finished goods manufactured by you, the regular cash selling price, less all discounts and charges
             to which the finished goods would have been subject had no physical loss or damage happened.

        c.   On raw materials, supplies or merchandise not manufactured by you:


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             (1) If repaired or replaced, your actual expenditure in repairing or replacing the damaged or destroyed
                 property; or

             (2) If not repaired or replaced, the actual cash value.

       d. On exposed films, records, manuscripts and drawings that are not valuable papers and records, the
          value blank plus the cost of copying information from back-up or from originals of a previous generation.
          These costs will not include research, engineering or any costs of restoring or recreating lost
          information.

       e. On property that is:

             (1) Damaged by fire that directly results from terrorism or nuclear reaction; and

             (2) Is located in a jurisdiction that has a statute that expressly prohibits the exclusion of fire losses
                 resulting from terrorism or nuclear reaction.

             the actual cash value of the fire damage. Any remaining fire damage not attributable to terrorism or
             nuclear reaction shall be adjusted according to the terms and conditions of the Valuation clause(s) in
             this section of the Policy.

       f.    On computer equipment of others which you are required to insure for direct physical loss or damage
             while being installed, maintained or repaired, the cost to replace with new if so specified in the contract
             between you and your customer.

       g. On Data, Programs and Software, the actual cost incurred to repair, replace or restore data, programs
          or software including the costs to recreate and research.

       h. On Fine Arts, the loss amount will not exceed the lesser of the following:

             (1) The cost to repair or restore such property to the physical condition that existed on the date of
                 loss;

             (2) The cost to replace; or

             (3) The stated value on file with us.

       i.    On all other property, the lesser of the following:

             (1) The cost to repair.

             (2) The cost to rebuild or replace on the same site with new materials of like size, kind and quality.

             (3) The cost in rebuilding, repairing or replacing on the same or another site, but not to exceed the size
                 and operating capacity that existed on the date of loss.

             (4) The selling price of real property or machinery and equipment, other than stock, offered for sale
                 on the date of loss.

             (5) The cost to replace unrepairable electrical or mechanical equipment, including computer
                 equipment, with equipment that is the most functionally equivalent to that damaged or destroyed,
                 even if such equipment has technological advantages and/or represents an improvement in
                 function and/or forms part of a program of system enhancement.

             (6) The increased cost of demolition, if any, directly resulting from insured loss, if such property is
                 scheduled for demolition.




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            (7) The unamortized value of improvements and betterments, if such property is not repaired or
                replaced at your expense.

            (8) The actual cash value if such property is:

                 (a) Useless to you; or
                 (b) Not repaired, replaced or rebuilt on the same or another site within two (2) years from the date
                     of loss, unless such time is extended by us.

   2.   You may elect not to repair or replace the covered property lost, damaged or destroyed. Loss settlement
        may be elected on the lesser of repair or replacement cost basis if the proceeds of such loss settlement
        are expended on other capital expenditures related to your operations within two (2) years from the date
        of loss. As a condition of collecting under this provision, such expenditure must be unplanned as of the date
        of loss and be made at a covered location under this Policy. This provision does not extend to
        DEMOLITION AND INCREASED COST OF CONSTRUCTION or to property scheduled for demolition at
        the time of loss.

   3.   We will not pay more than your financial interest in the covered property.




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                                SECTION VI - LOSS CONDITIONS

A. ABANDONMENT OF PROPERTY

   You may not abandon property to us.

B. APPRAISAL

   1. If you and we fail to agree on the amount of a loss, either party may demand that the disputed amount be
      submitted for appraisal. A demand for appraisal will be made in writing within sixty (60) days after our
      receipt of proof of loss. Each party will then choose a competent and disinterested appraiser. Each party
      will notify the other of the identity of its appraiser within thirty (30) days of the written demand for appraisal.

   2. The two (2) appraisers will choose a competent and disinterested umpire. If the appraisers are unable to
      agree on an umpire within fifteen (15) days, you or we may petition a judge of a court of record in the state
      where the covered loss occurred, to select an umpire.

   3. The appraisers will then determine the amount of the loss or damage. If the appraisers submit a written
      report of an agreement to you and us, the amount they agree on will be the amount of our payment for the
      loss or damage. If the appraisers fail to agree within a reasonable time, they will submit their differences to
      the umpire. Written agreement signed by any two (2) of these three (3) will determine the amount of loss or
      damage.

   4. Each appraiser will be paid by the party that selects him or her. Other expenses of the appraisal and
      compensation of the umpire will be paid equally by you and us.

C. COLLECTION FROM OTHERS

   We will reduce any payment to you for a covered loss to the extent you have collected for that loss from
   others.

D. COMPANY OPTION

   1.   In the event of covered loss, we may, at our option, either:

        a. Pay the value of covered property lost, damaged or destroyed as set forth in VALUATION above;

        b. Pay the cost of repairing or replacing the covered property lost, damaged or destroyed;

        c. Take all or any part of the covered property at any agreed valuation; or

        d. Repair, rebuild or replace the covered property with olher property of like kind and quality.

   2. We will give notice of our intentions within thirty (30) days after receiving the sworn statement of loss
      or as required by law.

E. DUTIES AFTER A LOSS

    In case of loss you will:

    1. Give us immediate written notice of the loss;

   2. Give notice of such loss to the proper authorities if the loss may be due to a violation of the law;

   3. As soon as possible, give us a description of the property involved and how, when and where the loss
      happened;
   4. Take all reasonable steps to protect the covered property from further damage;


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   5. Promptly separate the damaged property from the undamaged property, and keep it in the best possible
      order for examination;

   6. Furnish a complete inventory of the lost, damaged and destroyed property, showing in detail the quantity,
      and amount of loss claimed under the valuation provision of the Policy;

   7. Keep an accurate record of all repair costs;

   8. Keep all bills, receipts and related documents that establish the amount of loss;

   9. As often as may reasonably be required:

       a. Permit us to inspect the damaged property and take samples for inspection, testing and analysis.

       b. Produce for inspection and copying, all of your books of account, business records, bills and invoices.

       c.   Permit us to question, under oath, you and any of your agents, employees, or representatives involved
            in the purchase of this insurance or the preparation of your claim, including any public adjusters and
            any of their agents, employees or representatives, and verify your answers with a signed
            acknowledgment.

   10. Submit to us, within ninety (90) days from the date of loss, unless we extend the time in writing, a signed,
       sworn Proof of Loss that states to the best of your knowledge and belief:

       The time and cause of the loss;

       a. Your interest and the interest of all others in the property involved;

       b. Any other policies of insurance that may provide coverage for the loss;

       c. Any changes in title or occupancy of the property during the Policy period; and

       d. The amount of your claimed loss.

       You shall also submit with the Proof of Loss:

            (1) A complete inventory of the lost, damaged and destroyed property, showing in detail the quantity,
                and amount of loss claimed as specified in the valuation provision of the Policy;

            (2) An accurate record(s) of all repair costs and all bills, receipts and related documents that establish
                the amount of the loss;

            (3) Specifications for any damaged building; and

            (4) Detailed estimates and invoices for the repair of any damage.

   11. Cooperate with us in the investigation and adjustment of the loss.

F. LOSS ADJUSTMENT / PAYABLE

   Loss will be adjusted with the First Named Insured. We may, at our option, adjust the loss to property of others
   directly with the owner of the property. Such loss will be payable to the First Named Insured or as may be
   directed by the First Named Insured.




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   Additional insured interests will also be included in loss payment as their interests may appear when named as
   additional named insured, lender, mortgagee and/or loss payee either on a Certificate of Insurance or other
   evidence of insurance on file with us. When named on a Certificate of Insurance or other evidence of insurance,
   such additional interests are automatically added to this Policy as their interests may appear as of the effective
   date shown on the Certificate of Insurance or other evidence of insurance. The Certificate of Insurance or other
   evidence of insurance will not amend, extend or alter the terms, conditions, provisions and limits of this Policy.


G. PAYMENT OF LOSS

   We will pay the insured loss within thirty (30) days after we receive and accept the signed, sworn Proof of Loss,
   if:

   1.   You have complied with all the terms of this Policy;

   2.   We have reached agreement with you on the amount of the loss, or

   3.   Within thirty (30) days of when an appraisal award is made as provided for in LOSS CONDITIONS B.
        APPRAISAL.

H. SUBROGATION

   1.   If we make payment for a loss, you will assign to us all your rights of recovery against any party for that
        loss. We will not acquire any rights of recovery you have waived prior to the loss. You agree to cooperate
        and not to waive, prejudice, settle or compromise any claim against any party after the loss.

   2.   You will be paid any recovery, in the proportion that your deductible and any provable uninsured loss bears
        to the total loss less your proportion of fees and expenses.

I. SUIT AGAINST THE COMPANY

   No suit or other legal proceeding shall be brought against us unless there has been full compliance with all the
   Policy terms and conditions. Any suit against us must be brought within two (2) years next after the inception
   of the loss.




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                                     SECTION Vll - DEFINITIONS
1. Actual cash value: The amount it would cost to repair or replace covered property, on the date of loss, with
   material of like kind and quality, with proper deduction for physical depreciation and obsolescence, but in no
   event more than the fair market value.

2. Annual aggregate: The maximum amount of loss or damage payable in any one (1) Policy year regardlessof
   the number of occurrences within the same Policy year.

3. Contaminant Any foreign substance, impurity, pollutant, hazardous material, poison, toxin, pathogen or
   pathogenic organism, bacteria, virus, disease causing or illness causing agent, fungus, mold or mildew.

4. Contamination: Any condition of property that results from a contaminant

5. Covered loss: A loss to covered property caused by direct physical loss or damage insured by this Policy.

6. Covered property: Property insured by this Policy.

7. Electronic Data: Information (including computer programs) stored as or on, created or used on, or transmitted
   to or from computer software, including systems and applications software, drives, electronic data processing
   equipment or any storage medium.

8. Electronic data processing equipment: Any computer, computer system or component, hardware, network,
   microprocessor, microchip, integrated circuit or similar devices or components in computer or non-computer
   equipment, operating systems, data, programs or other software stored on electronic, electro-mechanical,
   electro-magnetic data processing or production equipment, whether your property or not.

9. Fine Arts: Property of rarity, historical value, antiquity or artistic merit, including paintings; etchings; pictures
   (including their negatives); tapestries; statuary; marbles; bronzes; antique jewelry; antique furniture; antique
   silver; rare books; porcelains; rare or art glassware; art glass windows; valuable rugs; bric-a-brac and porcelains

10. Land improvements: Landscape gardening, car parks, parking lots, pavement, roadways, sidewalks,
    walkways, railways or transformer enclosures; but does not include fill beneath such property, including
    buildings, structures or additions.

11. Location(s):

    a. As specified in Appendix A - Schedule of Covered Location(s);

    b. Usted on a SCHEDULE on file with us; or

    c.   If not so specified in Appendix A - Schedule of Covered Location{s) or listed on a SCHEDULE on file wilh
         us, a building, yard, dock, wharf, pier or bulkhead (or any group of the foregoing) bounded on all sides by
         public streets, clear land space or open waterways, each not less than fifty (50) feet wide. Any bridge or
         tunnel crossing such street, space or waterway will render such separation inoperative for the purpose of
         this definition.

12. Miscellaneous Unnamed Location: A location owned, leased or rented by you, but not listed in a Schedule
    of locations on file with us or attached to this Policy.

    Miscellaneous Unnamed Location does not include:

    a. Newly Acquired Locations; or

    b. A location for which coverage is found elsewhere in this Policy including ERRORS AND OMISSIONS.

13. Occurrence: All loss or damage attributable directly or indirectly to one (1) cause or series of similar


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   causes. All such loss or damage will be added together and the total loss or damage will be treated
   as one (1) occurrence.

    Unless otherwise amended by an endorsement attached to this Policy:

   a.    All loss or damage resulting from a continuous FLOOD event, irrespective of the amount of time or area
         over which such loss or damage occurs, will be considered a single occurrence.

   b.    All loss or damage from EARTH MOVEMENT or NAMED STORM within the time specified in the
         O C C U R R E N C E TIME SPECIFICATIONS will be considered a single occurrence.

14. Ordinary payroll: Payroll expenses for all of your employees except officers, executives, department
    managers, employees under contract, and other important professional employees. Payroll expenses include
    the payroll, employee benefits (if directly related to payroll), FICA payments. Union dues and Workers'
    Compensation premiums you pay.

15. Personal Property: Your tangible things, otherthan real property owned by you and used in your
    business, including:

   a.    Furniture, fixtures, machinery, electronic data processing equipment and stock;

   b.    Materials, supplies, machinery, equipment and fixtures, including those that are persona/property of of/iers,
         which are intended by you for use in construction of new additions and buildings at an existing covered
         location, that you begin to construct during the Policy period and intend to own or occupy once constructed,
         while located on the construction site awaiting use in construction.

   c.    Property, other than real property, you lease for use in your business that you have a responsibility to
         insure;

   d.    Your interest in improvements and betterments you have made in buildings you do not own;

   e.    Your valuable papers and records.


16. Real Property: Building(s) and any other structure, including:

   a.    New buildings and additions under construction, in which you have an insurable interest;

    b.   Completed additions, extensions or permanent fixtures;

   c.    Machinery and equipment used to service the buildings;

   d.    Yard Fixtures.



17. Terrorism: Activities against persons, organizations or property of any nature:

   a.    That involve the following or preparation for the following:

         (1) Use or threat of force or violence; or

         (2) Commission or threat of a dangerous act; or

         (3) Commission or threat of an act that interferes with or disrupts an electronic, communication,
         information, or mechanical system; and

    b.   When one or both of the following applies:



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       (1) The effect is to intimidate or coerce a government or the civilian population or any segment thereof, or
           to disrupt any segment of the economy; or

       (2) It appears thai the intent is to intimidate or coerce a government, or to further political, ideological,
           religious, social or economic objectives or to express (or express opposition to) a philosophy or
           ideology.

18. Valuable papers and records: Written or printed documents or records including books, maps, negatives,
    drawings, abstracts, deeds, mortgages and manuscripts.

19. We, us and our(s): The company issuing this Policy, as shown on the Declarations.

20. You and your(s): The First Named Insured shown on the Declarations.




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                      APPENDIX A - SCHEDULE OF COVERED LOCATIONS


Per schedule on file with us




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                  APPENDIX B - NEW MADRID EARTH MOVEMENT ZONES


    STATE        ZONE                  COUNTIES / PARISHES / INDEPENDENT CITIES

 ARKANSAS         1     Clay, Craighead, Crittenden, Cross, Green, Independence, Jackson, Lawrence,
                        Lee, Mississippi, Monroe, Phillips, Poinsett, Randolph, St. Francis, White,
                        Woodruff

 ARKANSAS         2     Arkansas, Fulton, Izard. Lonoke, Prairie, Sharp.

 ILUNOIS          1     Alexander, Franklin, Gallatin, Hamilton, Hardin, Jackson, Jefferson, Johnson,
                        Massac, Perry, Pope, Pulaski, Randolph, Saline, Union, Washington, Williamson

 ILLINOIS         2     Bond, Clay, Clinton, Crawford, Edwards, Effingham, Fayette, Jasper, Lawrence,
                        Madison, Marion, Monroe, Richland, Saint Clair, Wabash, Wayne, White

 INDIANA          2     Gibson, Knox, Pike, Posey, Spencer, Vanderburgh, Warrick

 KENTUCKY         1     Ballard, Calloway. Cariisle, Crittenden, Fulton, Graves, Hickman, Livingston,
                        Lyon, Marshall, McCracken,

 KENTUCKY         2     Caldwell, Christian, Daviess, Henderson, Hopkins, McLean, Muhlenberg, Todd,
                        Trigg, Union, Webster

 MISSISSIPPI      1     DeSoto, Marshall, Tate, Tunica

 MISSISSIPPI      2     Alcorn, Benton, Coahoma. Lafayette, Panola, Quitman, Tippah
 MISSOURI         1     Bollinger. Butler, Cape Girardeau, Carter, Dunklin, Madison, Mississippi, New
                        Madrid. Pemiscott, Perry, Ripley, Scott, Stoddard, Wayne

 MISSOURI         2     Independent City of St Louis, Iron, Jefferson, Oregon, Reynolds, Shannon, St.
                        Francois, St. Louis, Ste. Genevieve, Washington

 TENNESSEE        1     Benton. Carroll, Chester, Crockett, Dyer, Fayette, Gibson, Hardeman, Haywood,
                        Henderson, Henry, Lake, Lauderdale, Madison, Obion, Shelby, Tipton, Weakley

 TENNESSEE        2     Decatur, Hardin, Houston, Humphreys, McNairy, Montgomery, Perry, Stewart,




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                 APPENDIX C - PACIFIC NORTHWEST EARTH MOVEMENTZONE

  REGION / STATE                                  COUNTIES / COORDINATES

 CANADA: BRITISH South of 50" N latitude and west of 120° W longitude
 COLUMBIA and
 VANCOUVER
 ISLAND
 OREGON              Benton, Clackamas, Clatsop, Columbia, Coos, Curry, Douglas, Hood River, Jackson,
                     Josephine, Klamath, Lane, Lincoln, Linn. Marion, Multnomah, Polk, Tillamook,
                     Washington, Yamhill

 WASHINGTON          Chelan, Clallam, Clark, Cowlitz, Grays Harbor, Island. Jefferson. King, Kitsap. Kittitas,
                     Lewis, Mason, Pacific, Pierce, San Juan, Skagit, Skamania, Snohomish, Thurston,
                     Wahkiakum, Whatcom




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  APPENDIX D       NAMED STORM TIERS FOR USA INCLUDING ITS COMMONWEALTHS
                                AND TERRITORIES

SOUTHERN TIER ONE: NORTH CAROLINA TO TEXAS

         STATE                      COUNTIES / PARISHES / INDEPENDENT CITIES

 Alabama             Baldwin, Mobile
 Florida             Entire State
 Georgia             Brantly, Bryan. Camden, Chatham, Chariton. Effingham, Glynn. Liberty, Long,
                     Mcintosh, Pierce, Wayne
 Louisiana           Acadia, Ascension, Assumption, Calcasieu, Cameron, East Baton Rouge, East
                     Feliciana, Iberia, Iberville, Jefferson, Jefferson Davis, Lafayette, Lafourche,
                     Livingston, Orieans, Plaquemines, Pointe Coupee, St. Bernard, St. Charies, St.
                     James, St John the Baptist, St Martin, St. Mary, St. Tammany, Tangipahoa,
                     Terrebonne, Vermilion, Washington, West Baton Rouge

 Mississippi         George, Hancock, Harrison, Jackson, Peari River, Stone
 North Carolina      Beaufort, Bertie, Bladen, Brunswick, Camden, Carteret, Chowan, Columbus,
                     Craven, Currituck, Dare, Duplin, Gates, Hertford, Hyde, Jones, Lenoir, Martin. New
                     Hanover, Onslow, Pamlico, Pasquotank, Pender, Perquimans, Pitt, Tyrrell,
                     Washington, Wayne
 South Carolina      Beaufort, Berkeley, Charieston, Colleton, Dorchester, Georgetown, Horry, Jasper,
                     Williamsburg
 Texas               Aransas, Bee, Brazoria, Brooks, Calhoun, Cameron, Chambers, Fort Bend,
                     Galveston, Goliad, Hardin, Harris, Hidalgo, Jackson, Jasper, Jefferson, Jim Wells,
                     Kenedy, Kleberg, Liberty, Matagorda, Nueces, Orange, Refugio, San Patricio,
                     Victoria. Wharton, Willacy




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                                       APPENDIX D (continued)

                          NAMED STORM TIERS FOR USA INCLUDING
                          ITS COMMONWEALTHS AND TERRITORIES

NORTHERN TIER ONE: VIRGINIA TO MAINE

            STATE                    COUNTIES / PARISHES / INDEPENDENT CITIES

 Connecticut          Fairfield, Middlesex, New Haven. New London

 Delaware             Sussex

 Maine                Cumberiand, Hancock, Knox, Lincoln, Penobscot, Sagadahoc, Waldo,
                      Washington, York
 Maryland             Calvert, Charies, Dorchester, St. Mary's, Somerset, Wicomico, Worcester
 Massachusetts        Barnstable, Bristol, Dukes, Essex, Middlesex, Nantucket, Norfolk, Plymouth,
                      Suffolk
 New Hampshire        Rockingham

 New Jersey           Atlantic, Bergen, Cape May, Cumberiand, Essex, Hudson, Middlesex, Monmouth,
                      Ocean, Union

 New York             Bronx, Kings, Nassau, New York. Queens, Richmond. Suffolk

 Rhode Island         Bristol, Newport, Washington


 Virginia             Accomack, Gloucester, Isle of Wight, James City, Lancaster, Mathews, Middlesex,
                      Northampton, Northumberiand, Surry. York
                      Independent Cities: Chesapeake, Hampton, Newport News, Norfolk, Poquoson,
                      Portsmouth, Suffolk, Virginia Beach, Williamsburg

SOUTHERN TIER TWO: NORTH CAROLINA TO TEXAS

            STATE                    COUNTIES / PARISHES / INDEPENDENT CITIES

 Alabama              Clarke, Coffee, Conecuh, Covington, Dale, Escambia, Geneva, Houston, Monroe,
                      Washington
 Louisiana            Allen, Avoyelles, Beauregard, Evangeline, St. Helena, St Landry, West Feliciana

 Mississippi          Forrest, Greene, Jones, Lamar, Marion, Perry, Pike, Walthall, Wayne

 North Carolina       Cumberiand, Edgecombe, Greene, Johnston, Robeson, Sampson, Wilson

 South Carolina       Bamberg, Calhoun, Clarendon, Dillon, Florence, Hampton, Marion, Orangeburg

 Texas                Austin, Brazos, Colorado, DeWitt, Duval, Fayette, Gonzales, Grimes. Jim Hogg,
                      Karnes, Lavaca, Live Oak, McMullen, Montgomery, Newton, Polk, San Jacinto,
                      Starr, Tyler, Walker, Waller, Washington




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                                       APPENDIX D (continued)

                          NAMED STORM TIERS FOR USA INCLUDING
                          ITS COMMONWEALTHS AND TERRITORIES

               Other States, Commonwealths and Territories of The United States of America
                                          TIER
 AMERICAN SAMOA                             2    Entire Territory
 GUAM                                       1    Entire Territory
 HAWAII                                     1    Entire State
 NORTHERN MARIANA ISLANDS                   1    Entire Commonwealth
 PUERTO RICO                                1    Entire Commonwealth
 U.S. VIRGIN ISLANDS                        1    Entire Territory
 All other US Territories and Possessions   1    Entire Territory




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                          APPENDIX E - FLOOD HAZARD LOCATIONS




High Hazard Locationfs)
NCP

Moderate Hazard Locationfs)
NCP




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                                   FORMS AND ENDORSEMENTS


                    FonTi(s) and Endorsement(s) made a part of this Policy at time of issue:

           Fomn or Endorsement Number                              Fonn or Endorsement Name

                 CNP 90 06 01 20                       Disclosure Pursuant to Terrorism Risk Insurance Act

                 CNP 90 10 01 19                         Important Notice Regarding The Expiration of the
                                                          Terrorism Risk Insurance Act and the Reduction in
                                                                   Coverage for Terrorism Losses

                 CNI 90 11 07 18                          Reporting a Commercial Claim 24 Hours a Day

                 SNI 04 01 01 20                          Liberty Mutual Group California Privacy Notice

                 PY 04 04 01 17                               Exclusion of Certified Acts of Terrorism




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                           STATE AMENDATORY ENDORSEMENTS


                Endorsement Number                                   Endorsement Name

                  PY01 37 01 17                                      Washington Changes

                  PY 02 49 01 17                   Washington Changes - Cancellation and Nonrenewal




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Policy Number     YAC-L9L-450425-030

Issued by         Employers Insurance Company of Wausau

                 THIS ENDORSEMENT CHANGES THE POLICY. P L E A S E READ IT C A R E F U L L Y .

                                EXCLUSION OF CERTIFIED ACTS OF TERRORISM

This endorsement modifies insurance provided under the following:

    PREMIER PROPERTY PROTECTOR™


A. The following definition is added with respect to the provisions of this endorsement:

    "Certified act of terrorism" means an act that is certified by the Secretary of the Treasury, in accordance with
    the provisions of the federal Terrorism Risk Insurance Act, to be an act of terrorism pursuant to such Act. The
    criteria contained in the Terrorism Risk Insurance Act for a "certified act of terrorism" include the following:

    1.   The act resulted in insured losses in excess of $5 million in the aggregate, attributable to all types of
         insurance subject to the Terrorism Risk Insurance Act; and

    2.   The act is a violent act or an act that is dangerous to human life, property or infrastructure and is
         committed by an individual or individuals as part of an effort to coerce the civilian population of the United
         States or to influence the policy or affect the conduct of the United States Government by coercion.

B. The following exclusion is added:

    CERTIFIED ACT OF TERRORISM EXCLUSION

    We will not pay for loss or damage directly or indirectly caused by or resulting from a "certified act of
    terrorism". Such loss or damage is excluded regardless of any other cause or event, whether or not insured
    under this Policy, contributing concurrently or in any other sequence.

C. Exception Covering Certain Fire Losses

    The following exception to the exclusion in Paragraph B. applies only in the following states: California,
    Georgia, Hawaii, Illinois, Iowa, Maine, Missouri, New Jersey, New York. North Carolina. Oregon. Rhode
    Island, U.S. Virgin Islands, Washington, West Virginia, and Wisconsin.

    If a "certified act of terrorism" results in fire, we will pay for the loss or damage caused by that fire. Such
    coverage for fire applies only to direct loss or damage by fire to covered property. Therefore, for example,
    the coverage does not apply to insurance provided under TIME ELEMENT.

    If aggregate insured losses attributable to terrorist acts certified under the Terrorism Risk Insurance Act
    exceed $100 billion in a calendar year and we have met our insurer deductible under the Terrorism Risk
    Insurance Act, we shall not be liable for the payment of any portion of the amount of such losses that exceeds
    $100 billion, and in such case insured losses up to that amount are subject to pro rata allocation in
    accordance with procedures established by the Secretary of the Treasury,

D. Application Of Exclusions

    The terms and limitations of SECTION II.C. EXCLUSIONS, 2.a. do not serve to create coverage for any loss
    which would otherwise be excluded under this endorsement or the Policy, such as losses excluded under
    SECTION II.C. EXCLUSIONS, 2. b., c , d., or e.




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Policy Number     YAC-L9L-450425-030

Issued by         Employers Insurance Company of Wausau

                 THIS ENDORSEMENT CHANGES THE POLICY. P L E A S E READ IT C A R E F U L L Y .

                                               WASHINGTON CHANGES

This endorsement applies only to covered property located in Washington and modifies insurance provided
under the following:

   PREMIER PROPERTY PROTECTOR™
   EXCLUSION OF CERTIFIED ACTS OF TERRORISM


A. Paragraph H. JURISDICTION of SECTION I - DECLARATIONS is replaced by the following:

   H.   JURISDICTION

        Any disputes arising hereunder will be exclusively subject to a State or Federal jurisdiction within the United
        States of America.

B. The first paragraph of item 2. of SECTION 11 - PROPERTY DAMAGE, C. EXCLUSIONS is replaced with the
   following:

   We do not cover any of the excluded events listed below. Loss or damage will be considered to have been
   caused by an excluded event if the occurrence of that event directly and solely results in physical loss or
   damage, or initiates a sequence of events which results in physical loss or damage, regardless of the nature of
   any intermediate or final event in that sequence.

C. Paragraph i. of SECTION 11 - PROPERTY DAMAGE, C.2. EXCLUSIONS is replaced by the following:

   i.   Any criminal, fraudulent or dishonest act, including theft, committed alone or in collusion with others:

        (1) By you or any proprietor, partner, director, trustee, officer or employee of an Insured; or

        (2) By any proprietor, partner, director, trustee, or officer of any business or entity (other than a common
            carrier) engaged by you to do anything in connection with property insured under this Policy,

        However, we do cover direct physical loss or damage intentionally caused by your employee or any
        individual specified in (2) above provided that said individuals acted without your knowledge.

        This exclusion will not apply to deny an insured's otherwise covered property loss if the property loss is
        caused by an act of domestic abuse by another insured under this Policy, the insured claiming property
        loss files a police report and cooperates with any law enforcement investigation relating to the act of
        domestic abuse, and the insured claiming property loss did not cooperate in or contribute to the creation of
        the property loss. Payment by the insurer to an insured may be limited to the person's insurable interest in
        the property less payments made to a mortgagee or other party with a legal secured interest in the property.
        An insurer making payment to an insured under RCW 48.18.120 (1) has all rights of subrogation to recover
        against the perpetrator of the act that caused the loss.




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D. Paragraph 3. of SECTION IV - DESCRIBED LOSSES, A. EARTH MOVEMENT is replaced by the following:

     3.   EARTH MOVEMENT is:

          Earthquake, landslide, subsidence or sinking, rising or shifting of the earth, avalanche, whether natural or
          man-made, or volcanic eruption that directly and solely results in physical loss or damage, or initiates a
          sequence of events which results in physical loss or damage, regardless of the nature of any intermediate
          or final event in that sequence.

          However, physical loss or damage from fire, explosion, sprinkler leakage or FLOOD caused by EARTH
          MOVEMENTw\l\ not be considered to be loss by EARTH MOVEMENTw\\h\r\ the terms and conditions of
          this Policy.

E. Paragraph 2. of SECTION IV - DESCRIBED LOSSES, D. FLOOD is replaced by the following:

     2.   FLOOD is:

          a.   Surface waters; rising waters; storm surge, wave wash; waves; tsunami; tide or tidal water; the release
               of water, the rising, overflowing or breaking of boundaries of natural or man-made bodies of water; or
               the spray therefrom; all whether driven by wind or not;

          b.   Sewer back-up resulting from any of the foregoing; or

          c.   Mudslide or mudflow caused by or resulting from surface water, runoff or accumulation of water on or
               under the ground;
               that directly and solely results in physical loss or damage, or initiates a sequence of events which
               results in physical loss or damage, regardless of the nature of any intermediate or final event in that
               sequence.

          Covered loss from FLOOD associated with a storm or weather disturbance whether or not identified by
          name by any meteorological authority is considered to be FLOOD within the terms of this Policy. However,
          physical loss or damage from fire, explosion or sprinkler leakage caused by FLOOD will not be considered
          to be loss by FLOOD within the terms and conditions of this Policy.

F.   Paragraph C. CONCEALMENT, MISREPRESENTATION OR FRAUD of SECTION V - GENERAL POUCY
     CONDITIONS is replaced by the following:

     C. CONCEALMENT, MISREPRESENTATION OR FRAUD

          This entire Policy is void if you intentionally conceal or misrepresent any material fact or circumstance
          relating to it

          However, this will not apply to deny an insured's otherwise covered property loss if the property loss is
          caused by an act of domestic abuse by another insured under this Policy, the insured claiming property
          loss files a police report and cooperates with any law enforcement investigation relating to the act of
          domestic abuse, and the insured claiming property loss did not cooperate in or contribute to the creation of
          the property loss. Payment by the insurer to an insured may be limited to the person's insurable interest in
          the property less payments made to a mortgagee or other party with a legal secured interest in the property.
          An insurer making payment to an insured under RCW 48.18.120 (1) has all rights of subrogation to recover
          against the perpetrator of the act that caused the loss.




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G. Paragraph E. INSPECTION of SECTION V - GENERAL POUCY CONDITIONS is replaced by the following:

     E.   INSPECTION

          1.   During the period of this Policy, we will be permitted, but not obligated, to inspect the covered property.
               Our right to inspect, the performance of or failure to inspect, and any report arising out of an inspection
               will not constitute an undertaking or imply that the property is safe, healthful, or in compliance with laws,
               regulations, codes or standards. We will have no liability to you or others because of any inspection
               or failure to inspect, or on account of anyone's use or reliance upon any report or other information
               generated during the course of, or as a result of any inspection.

          2.   This condition does not apply lo any inspections, surveys, reports or recommendations we may make
               relative to certification, under state or municipal statutes, ordinances or regulations, of boilers, pressure
               vessels or elevators.

H. Paragraph F. LENDERS LOSS PAYEE AND MORTGAGEE INTERESTS AND OBUGATIONS of SECTION V
   - GENERAL POLICY CONDITIONS is deleted and replaced by endorsement PY 03 21 Washington Lender's
   Loss Payable Endorsement as required by the Washington Insurance Commissioner.

I.   Paragraph 5. of SECTION V - GENERAL POUCY CONDITIONS, OTHER INSURANCE is replaced by the
     following:

     5.   You may have other insurance subject to the same plan, terms, conditions and provisions as the insurance
          under this Policy. If you do, we will pay our share of the covered loss or damage. Our share is the
          proportion that the applicable LIMIT OF LIABILITY under this Policy bears to the limits of liability of all
          insurance covering on the same basis.

J.   Paragraph 2. of SECTION V - GENERAL POLICY CONDITIONS, VALUATION is replaced by the following:

     2.   You may elect not to repair or replace the covered property lost, damaged or destroyed. Loss settlement
          may be elected on the lesser of repair or replacement cost basis if the proceeds of such loss settlement
          are expended on other capital expenditures related to your operations within two (2) years from the date
          of loss. As a condition of collecting under this provision, such expenditure must be unplanned as of the date
          of loss and be made at a covered location under this Policy. This provision does not extend to
          DEMOLITION AND INCREASED COST OF CONSTRUCTION or to property scheduled for demolition at
          the lime of loss.

          Replacement cost means the cost to replace covered property:
          a.   With new materials of like kind and quality and used for the same purpose; and

          b.   At the location where the loss happened.

          But replacement cost excludes any increased cost of repair or reconstruction by reason of any law or
          ordinance regulating construction, repair or use.

K.   Paragraph 2. of SECTION VI - LOSS CONDITIONS, H. SUBROGATION is replaced by the following:

     2.   We will be entitled to a recovery only after you have been fully compensated for damages.

L.   Paragraph 1. of SECTION Vll - DEFINITIONS is replaced by the following:

     1.   Actual cash value: The amount it would cost to repair or replace covered property, on the dale of loss,
          with material of like kind and quality, but in no event more than the fair market value.




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M. Paragraph B. of endorsement PY 04 04 EXCLUSION OF CERTIFIED ACTS OF TERRORISM is replaced by
   the following:

    B. The following exclusion is added:

       CERTIFIED ACT OF TERRORISM EXCLUSION

       We will not pay for loss or damage caused by or resulting from a "certified act of terrorism". Loss or damage
       will be considered to have been caused by or resulting from a "certified act of terrorism" if the occurrence
       of that "certified act of terrorism" directly and solely results in physical loss or damage, or initiates a
       sequence of events which results in physical loss or damage, regardless of the nature of any intermediate
       or final event in that sequence.


All other terms and conditions remain unchanged.




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Policy Number YAC-L9L-450425-030

Issued by           Employers Insurance Company of Wausau

THIS ENDORSEMENT CHANGES THE POLICY. P L E A S E READ IT C A R E F U L L Y .

                         WASHINGTON CHANGES - CANCELLATION AND NONRENEWAL

This endorsement modifies insurance provided under the following:

    PREMIER PROPERTY PROTECTOR™

A. Paragraph B. CANCELLATION of SECTION V - GENERAL POLICY CONDITIONS is replaced by the
   following:

    B.   CANCELLATION

         1.   You may cancel this Policy by notifying us or your insurance agent or broker in one of the following

              ways:

              a.    Written notice by mail, fax or e-mail;

               b.   Surrender of the Policy or binder; or

              c.    Verbal notice.
              Upon receipt of such notice, we will cancel this Policy or any binder issued as evidence of coverage,
              effective on the later of the following:

              a.    The date on which notice is received or the Policy or binder is surrendered; or

               b.   The date of cancellation requested by you.

         2.   We may cancel this Policy by mailing or delivering to you and your insurance agent or broker written
              notice of cancellation, including the actual reason for the cancellation, to the last mailing address
              known to us, at least:

              a.    Ten (10) days before the effective date of cancellation if we cancel for nonpayment of premium;
                    or

               b.   Forty-five (45) days or the number of days specified in the CANCELLATION TIME
                    SPECIFICATIONS, whichever is greater, before the effective date of cancellation if we cancel for
                    any other reason;
              except as provided in Paragraph 3. below.

         3.   We may cancel the Policy, by mailing or delivering to you and your insurance agent or broker written
              notice of cancellation at least five (5) days before the effective date of cancellation for any real
              property where two or more of the following conditions exist:

              a.    Without reasonable explanation, the real property is unoccupied for more than sixty (60)
                    consecutive days, or at least 65% of the rental units are unoccupied for more than one hundred
                    twenty (120) consecutive days, unless the real property is maintained for seasonal occupancy or
                    is under construction or repair;

               b.   Without reasonable explanation, progress toward completion of permanent repairs to the real
                    property has not occurred within sixty (60) days after receipt of funds following satisfactory
                    adjustment or adjudication of loss resulting from a fire;



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              c.   Because of its physical condition, the real property is in danger of collapse;

              d.   Because of its physical condition, a vacation or demolition order has been issued for the real
                   property, or it has been declared unsafe in accordance with applicable law;

              e.   Fixed and salvageable items have been removed from the real property, indicating an intent to
                   vacate the real property;

              f.   Without reasonable explanation, heat, water, sewer and electricity are not furnished for the real
                   property for sixty (60) consecutive days; or

              g.   The real property is not maintained in substantial compliance with fire, safety and building
                   codes.

         4.   We will also mail or deliver to any mortgagee, pledgee or other person shown in this Policy to have an
              interest in any loss which may be covered under this Policy, at their last mailing address known to us,
              written notice of cancellation, prior to the effective date of cancellation. If cancellation is for reasons
              other than those contained in Paragraph A.3. above, this notice will be the same as that mailed or
              delivered to you. If cancellation is for a reason contained in Paragraph A.3. above, we will mail or
              deliver this notice at least twenty (20) days prior to the effective date of cancellation.

         5.   Notice of cancellation will state the effective date of cancellation. The Policy period will end on that
              date.

         6.   If this Policy is cancelled, we will send you any premium refund due. If we cancel, the refund will be
              pro rata. If you cancel, the refund will be at least 90% of the pro rata refund. The cancellation will be
              effective even if we have not made or offered a refund.

         7.   If notice is mailed, proof of mailing will be sufficient proof of notice.

B. The NONRENEWAL provision of SECTION V - GENERAL POUCY CONDITIONS is replaced by the
   following:

    NONRENEWAL

   We may decide not to renew this Policy by mailing or delivering written notice of nonrenewal, stating the
   reasons for nonrenewal, to you and your insurance agent or broker at their last mailing addresses known to
   us. If notice is mailed, proof of mailing will be sufficient evidence of notice. We will also mail to any
   mortgagee, pledgee or other person shown in this Policy to have an interest in any loss which may be
   covered under this Policy, at their last mailing address known to us, written notice of nonrenewal. We will mail
   or deliver these notices at least sixty (60) days before the:

    1.   Expiration ofthe Policy; or
   2.    Anniversary date of this Policy if this Policy has been written for a term of more than one (1) year.

   If notice of nonrenewal is not received by you as outlined above, you and your insurance agent or broker will
   receive written notice of our intent to renew this Policy. This notice will be sent at least twenty (20) days prior
   to the Policy expiration or anniversary date. Included in this notice will be changes, if any, in rates, terms, or
   conditions made to the expiring Policy, We will mail or deliver the notice to you and your insurance agent or
   broker, at their last mailing address known to us.

   This notice will not be sent if we have received written notice, prior to the expiration date of this Policy, of
   your intent to obtain replacement coverage elsewhere or that you have already done so.




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Endorsement number 1 for policy number YAC-L9L-450425-030

Named Insured The Board o f Regents o f the University o f Washington

This endorsement is effective 03/01/2020 and will terminate with the policy. It is issued by the company designated
in the Declarations. All other provisions ofthe policy remain unchanged.

             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                              Change Endorsement


DESCRIPTION OF CHANGE                                                                                   PREMIUM


POLICY COVER PAGE, Form FY 00 00 01 17 is amended as follows:

The named insured on the Policy Cover Page is changed to:
The Board o f Regents o f the University o f Washington

Formerly: Board o f Regents o f the University o f Washington Athletics


SECTION I - DECLARATIONS, Form PY 00 01 02 17 is amended as follows:

The First Named Insured on the Declarations is changed to:
The Board o f Regents of the University o f Washington


Formerly: Board o f Regents o f the University o f Washington Athletics


No change in premium.




PREMIUM (EXCLUDING TERRORISM RISK INSURANCE ACT (TRIA) PREMIUM):
TERRORISM RISK INSURANCE ACT (TRIA) PREMIUM:
OTHER CHARGES:


TOTAL AMOUNT PAYABLE FOR ENDORSEMENT:

                                                      IC9999
Issued: 4/23/2020                                      10-11                                             Page 1 of 1
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Endorsement number 2 for policy number YAC-L9L-450425-030

Named Insured The Board of Regents o f the University o f Washington

This endorsement is effective 03/01/2020 and will tenninate wilh the policy. It is issued by the company designated
in the Declarations. All other provisions of the policy remain unchanged.

             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT C A R E F U L L Y .


                                              Change Endorsement

DESCRIPTION OF CHANGE                                                                                   PREMIUM


REMOVAL OF VACANCY CONDITION. Form PY 04 10 01 17 is added per the attached.


No change in premium.




PREMIUM (EXCLUDING TERRORISM RISK INSURANCE ACT (TRIA) PREMIUM):
TERRORISM RISK INSURANCE ACT (TRIA) PREMIUM:
OTHER CHARGES:


TOTAL AMOUNT PAYABLE FOR ENDORSEMENT:

                                                      IC9999
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Endorsement number 2 for policy number YAC-L9L-450425-030
Issued by     Employers Insurance Company of Wausau

                 THIS ENDORSEMENT CHANGES THE POLICY. P L E A S E READ IT C A R E F U L L Y .

                                     REMOVAL OF VACANCY CONDITION


This endorsement modifies insurance provided under the following:

    PREMIER PROPERTY PROTECTOR™


The VACANCY condition of SECTION V - GENERAL POLICY CONDITIONS does not apply to the locatlon(s)
shown in the Schedule of this endorsement.

                                                   Schedule

                                                    Location(s)

                                          As per SOV on file with Company


All other terms and conditions remain unchanged.




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Endorsement number 2 for policy number YAC-L9L-450425-030

Named Insured The Board of Regents o f t h e University o f Washington

This endorsement is effective 03/01/2020 and will tenninate with the policy. It is issued by the company designated
in the Declarations. All other provisions of the policy remain unchanged.

             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                              Change Endorsement

DESCRIPTION OF CHANGE                                                                                   PREMIUM


REMOVAL OF VACANCY CONDITION, Form PY 04 10 01 17 is added per the attached.


No change in premium.




PREMIUM (EXCLUDING TERRORISM RISK INSURANCE ACT (TRIA) PREMIUM):
TERRORISM RISK INSURANCE ACT (TRIA) PREMIUM:
OTHER CHARGES:


TOTAL AMOUNT PAYABLE FOR ENDORSEMENT:

                                                      IC9999
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Endorsement number 2 for policy number YAC-L9L-450425-030
Issued by     Employers Insurance Company of Wausau

                 THIS ENDORSEMENT CHANGES THE POLICY. P L E A S E READ IT C A R E F U L L Y .

                                     REMOVAL OF VACANCY CONDITION


This endorsement modifies insurance provided under the following:

    PREMIER PROPERTY PROTECTOR™


The VACANCY condition of SECTION V - GENERAL POLICY CONDITIONS does not apply to the location(s)
shown in the Schedule ofthis endorsement.

                                                    Schedule

                                                     Location(s)

                                         As per SOV on file with Company


All other terms and conditions remain unchanged.




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                     Exhibit 6
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                           PROCLAMATION BY THE GOVERNOR

                                               20-05



WHEREAS, On January 21, 2020, the Washington State Department of Health confirmed the first
case of the novel coronavirus (COVID-19) in the United States in Snohomish County, Washington,
and local health departments and the Washington State Department of Health have since that time
worked to identify, contact, and test others in Washington State potentially exposed to COVID-19
in coordination with the United States Centers for Disease Control and Prevention (CDC); and

WHEREAS, COVID-19, a respiratory disease that can result in serious illness or death, is caused
by the SARS-CoV-2 virus, which is a new strain of coronavirus that had not been previously
identified in humans and can easily spread from person to person; and

WHEREAS, The CDC identifies the potential public health threat posed by COVID-19 both
globally and in the United States as “high”, and has advised that person-to-person spread of
COVID-19 will continue to occur globally, including within the United States; and

WHEREAS, On January 31, 2020, the United States Department of Health and Human Services
Secretary Alex Azar declared a public health emergency for COVID-19, beginning on January 27,
2020; and

WHEREAS, The CDC currently indicates there are 85,688 confirmed cases of COVID-19
worldwide with 66 of those cases in the United States, and the Washington State Department of
Health has now confirmed localized person-to-person spread of COVID-19 in Washington State,
significantly increasing the risk of exposure and infection to Washington State’s general public and
creating an extreme public health risk that may spread quickly; and

WHEREAS, The Washington State Department of Health has instituted a Public Health Incident
Management Team to manage the public health aspects of the incident; and

WHEREAS, The Washington State Military Department, State Emergency Operations Center, is
coordinating resources across state government to support the Department of Health and local
officials in alleviating the impacts to people, property, and infrastructure, and is assessing the
magnitude and long-term effects of the incident with the Washington State Department of Health;
and
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WHEREAS, The worldwide outbreak of COVID-19 and the effects of its extreme risk of person-
to-person transmission throughout the United States and Washington State significantly impacts the
life and health of our people, as well as the economy of Washington State, and is a public disaster
that affects life, health, property or the public peace.

NOW, THEREFORE, I, Jay Inslee, Governor of the state of Washington, as a result of the above-
noted situation, and under Chapters 38.08, 38.52 and 43.06 RCW, do hereby proclaim that a State
of Emergency exists in all counties in the state of Washington, and direct the plans and procedures
of the Washington State Comprehensive Emergency Management Plan be implemented. State
agencies and departments are directed to utilize state resources and to do everything reasonably
possible to assist affected political subdivisions in an effort to respond to and recover from the
outbreak.

As a result of this event, I also hereby order into active state service the organized militia of
Washington State to include the National Guard and the State Guard, or such part thereof as may be
necessary in the opinion of The Adjutant General to address the circumstances described above, to
perform such duties as directed by competent authority of the Washington State Military
Department in addressing the outbreak. Additionally, I direct the Washington State Department of
Health, the Washington State Military Department Emergency Management Division, and other
agencies to identify and provide appropriate personnel for conducting necessary and ongoing
incident related assessments.

Signed and sealed with the official seal of the state of Washington this 29th day of February, A.D.,
Two Thousand and Twenty at Olympia, Washington.



                                             By:




                                                            /s/
                                             Jay Inslee, Governor




BY THE GOVERNOR:


       /s/
Secretary of State
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                     Exhibit 7
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                          PROCLAMATION BY THE GOVERNOR
                        AMENDING PROCLAMATIONS 20-05 AND 20-06

                                                   20-07

WHEREAS, on February 29, 2020, I issued Proclamation 20-05, proclaiming a State of Emergency for all
counties throughout the state of Washington as a result of the coronavirus disease 2019 (COVID-19)
outbreak in the United States and confirmed person-to-person spread of COVID-19 in Washington State;
and

WHEREAS, on March 10, 2020, as a result of significant risks from COVID-19 to persons living in
congregate care settings, I issued Proclamation 20-06 amending Proclamation 20-05 by prohibiting certain
activities and waiving and suspending specified laws and regulations; and

WHEREAS, COVID-19, a respiratory disease that spreads easily from person to person and may result in
serious illness or death, has been confirmed in 9 counties of Washington State resulting in 24 deaths, with
significant community spread in King, Pierce, and Snohomish counties; and

WHEREAS, to reduce spread of COVID-19, the United States Centers for Disease Control and Prevention
and the Washington State Department of Health (DOH) recommend implementation of community
mitigation strategies to increase containment of the virus, including cancellation of large gatherings and
social distancing in smaller gatherings; and

WHEREAS, implementation of limitations on large gatherings and use of social distancing prevent initial
exposure and secondary transmission to our most vulnerable populations, and are especially important for
people who are over 60 years old and those with chronic health conditions due to the higher risk of severe
illness and death from COVID-19; and

WHEREAS, the worldwide outbreak of COVID-19 and the resulting epidemic in Washington State
continue to threaten the life and health of our people as well as the economy of Washington State, and
remains a public disaster affecting life, health, property and the public peace; and

WHEREAS, the DOH continues to maintain a Public Health Incident Management Team in coordination
with the State Emergency Operations Center and other supporting state agencies to manage the public
health aspects of the incident; and

WHEREAS, the Washington State Military Department Emergency Management Division, through the
State Emergency Operations Center, continues coordinating resources across state government to support
the DOH and local health officials in alleviating the impacts to people, property, and infrastructure, and
continues coordinating with the DOH in assessing the impacts and long-term effects of the incident on
Washington State and its people.

NOW, THEREFORE, I, Jay Inslee, Governor of the state of Washington, as a result of the above-noted
situation, and under Chapters 38.08, 38.52 and 43.06 RCW, do hereby proclaim that Proclamations 20-05
and 20-06 remain in effect and are amended to impose restrictions on large gatherings in King, Pierce, and
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Snohomish counties as provided herein, and that a State of Emergency continues to exist in all counties of
Washington State. I again direct that the plans and procedures of the Washington State Comprehensive
Emergency Management Plan be implemented throughout state government. State agencies and
departments are directed to continue utilizing state resources and doing everything reasonably possible to
support implementation of the Washington State Comprehensive Emergency Management Plan and to
assist affected political subdivisions in an effort to respond to and recover from the COVID-19 epidemic.

As a result of this event, I continue to order into active state service the organized militia of Washington
State to include the National Guard and the State Guard, or such part thereof as may be necessary in the
opinion of The Adjutant General to address the circumstances described above, to perform such duties as
directed by competent authority of the Washington State Military Department in addressing the outbreak.
Additionally, I continue to direct the DOH, the Washington State Military Department Emergency
Management Division, and other agencies to identify and provide appropriate personnel for conducting
necessary and ongoing incident related assessments.

FURTHERMORE, based on the above situation and under the provisions of RCW 43.06.220(1)(b) and
RCW 43.06.220(1)(h), to help preserve and maintain life, health, property or the public peace, I hereby
prohibit the following activities in King, Pierce and Snohomish counties related to social, spiritual, and
recreational gatherings, which restrictions shall remain in effect until midnight on March 31, 2020, unless
extended beyond that date:

        Gatherings of 250 people or more for social, spiritual and recreational activities including, but not
        limited to, community, civic, public, leisure, faith-based, or sporting events; parades; concerts;
        festivals; conventions; fundraisers; and similar activities.

Violators of this of this order may be subject to criminal penalties pursuant to RCW 43.06.220(5).

Signed and sealed with the official seal of the state of Washington on this 11th day of March, A.D., Two
Thousand and Twenty at Olympia, Washington.


                                                        By:


                                                                /s/
                                                        Jay Inslee, Governor




BY THE GOVERNOR:


       /s/
Secretary of State
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                     Exhibit 8
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                             PROCLAMATION BY THE GOVERNOR
                              AMENDING PROCLAMATION 20-05

                                            20-13
              Statewide Limits: Food and Beverage Services, Areas of Congregation

WHEREAS, on February 29, 2020, I issued Proclamation 20-05, proclaiming a State of Emergency for all
counties throughout the state of Washington as a result of the coronavirus disease 2019 (COVID-19)
outbreak in the United States and confirmed person-to-person spread of COVID-19 in Washington State;
and

WHEREAS, as a result of the continued worldwide spread of COVID-19, its significant progression in
Washington State, and the high risk it poses to our most vulnerable populations, I have subsequently issued
amendatory Proclamations 20-06, 20-07, 20-08, 20-09, 20-10, 20-11, and 20-12, exercising my emergency
powers under RCW 43.06.220 by prohibiting certain activities and waiving and suspending specified laws
and regulations; and

WHEREAS, the spread of COVID-19 has been classified by the World Health Organization as a pandemic
that spreads easily from person to person and may result in serious illness or death; and

WHEREAS, the COVID-19 disease has and continues to spread quickly across the state of Washington,
beyond the original community outbreaks in King, Pierce and Snohomish counties, drastically increasing
the threat of significant associated health risks statewide; and

WHEREAS, on March 9, confirmed cases of COVID-19 infection in Washington totaled 162 in nine
counties, including 21 deaths; and on March 13, confirmed cases increased to a total of 568 in 15 counties,
including 37 deaths; and on March 15, confirmed cases further increased to 769 in 17 counties, including
42 deaths, with these 17 counties representing 85% of the State’s total population;

WHEREAS, as of March 15, 2020, Washington State represents 2% of the nation’s population and has
21% of confirmed COVID-19 cases, and 64% of COVID-19-related deaths, in the United States;

WHEREAS, on March 15, 2020, the United States Center for Disease Control and Prevention revised its
guidance to reduce the size of gatherings from 250 persons to 50 persons;

WHEREAS, to curtail the spread of the COVID-19 pandemic in Washington State and protect our most
vulnerable populations, it is necessary to immediately prohibit any number of people from congregating in
public venues for purposes of public entertainment, recreation, food or beverage service, theater, bowling,
and other similar activities, in order to limit opportunities for disease exposure and transmission in the
State; and

WHEREAS, the worldwide COVID-19 pandemic and its progression in Washington State continues to
threaten the life and health of our people as well as the economy of Washington State, and remains a public
disaster affecting life, health, property or the public peace; and
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WHEREAS, the Department of Health (DOH) continues to maintain a Public Health Incident Management
Team in coordination with the State Emergency Operations Center and other supporting state agencies to
manage the public health aspects of the incident; and

WHEREAS, the Washington State Military Department Emergency Management Division, through the
State Emergency Operations Center, continues coordinating resources across state government to support
the DOH and local health officials in alleviating the impacts to people, property, and infrastructure, and
continues coordinating with the DOH in assessing the impacts and long-term effects of the incident on
Washington State and its people.

NOW, THEREFORE, I, Jay Inslee, Governor of the state of Washington, as a result of the above-noted
situation, and under Chapters 38.08, 38.52 and 43.06 RCW, do hereby proclaim that a state of emergency
continues to exist in all counties of Washington State, that Proclamation 20-05 is amended to prohibit any
number of people from gathering in any public venue in which people congregate for purposes of public
entertainment, recreation, food and beverage service, theater, bowling, fitness and other similar activities,
to include all public venues in which the serving, provision, or consumption of prepared food or beverages
occurs at a table, bar, or for consumption within.

I again direct that the plans and procedures of the Washington State Comprehensive Emergency
Management Plan be implemented throughout state government. State agencies and departments are
directed to continue utilizing state resources and doing everything reasonably possible to support
implementation of the Washington State Comprehensive Emergency Management Plan and to assist
affected political subdivisions in an effort to respond to and recover from the COVID-19 pandemic.

I continue to order into active state service the organized militia of Washington State to include the
National Guard and the State Guard, or such part thereof as may be necessary in the opinion of The
Adjutant General to address the circumstances described above, to perform such duties as directed by
competent authority of the Washington State Military Department in addressing the outbreak. Additionally,
I continue to direct the DOH, the Washington State Military Department Emergency Management
Division, and other agencies to identify and provide appropriate personnel for conducting necessary and
ongoing incident related assessments.

FURTHERMORE, based on the above situation and under the provisions of RCW 43.06.220(1)(h), to
help preserve and maintain life, health, property or the public peace, I hereby prohibit the onsite
consumption of food and/or beverages in a public venue, including but not limited to, the following venues,
and which prohibition shall remain in effect until midnight on March 31, 2020, unless extended beyond that
date:

    1.    Restaurants;
    2.    Food courts;
    3.    Bars;
    4.    Taverns;
    5.    Coffee shops;
    6.    Catered events;
    7.    Clubs;
    8.    Bowling alleys;
    9.    All other similar venues in which people congregate for the consumption of food or beverages.

For purposes of this Proclamation, “public venue” has its ordinary meaning and also includes, but is not
limited to, social clubs, private clubs, tennis clubs, golf clubs, faith-based organizations/facilities, and other
similar venues.
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This Proclamation does not prohibit the sale of prepared food or beverages that are otherwise legally
delivered or taken out of the venue for consumption or the purchasing of groceries that are not consumed
within the premises, more commonly known as drive-through, take-out, and delivery services.

This Proclamation does not apply to a broad range of businesses and services, including but not limited to
grocery stores, pharmacies, convenience stores, gas stations, pet stores, and libraries; however, any sit-
down food or beverage services within these facilities are prohibited.

FURTHERMORE, based on the above situation and under the provisions of RCW 43.06.220(1)(h), to
help preserve and maintain life, health, property or the public peace, I hereby prohibit the operation of
public venues in which people congregate for entertainment, social or recreational purposes, including but
not limited to theaters, bowling alleys, gyms, fitness centers, non-tribal card rooms, barbershops and
hair/nail salons, tattoo parlors, pool halls, and other similar venues, which prohibition shall remain in effect
until midnight on March 31, 2020, unless extended beyond that date.

FURTHERMORE, based on the above situation and under the provisions of RCW 43.06.220(1)(h), to
help preserve and maintain life, health, property or the public peace, for all other retail businesses except
pharmacies and grocery stores, I hereby prohibit the operation of all retail stores unless they designate
an employee or officer who must establish and implement social distancing and sanitation measures
established by the United States Centers for Disease Control and Prevention or the Washington State
Department of Health guidelines, which prohibition shall remain in effect until midnight on March 31,
2020, unless extended beyond that date.

Violators of this of this order may be subject to criminal penalties pursuant to RCW 43.06.220(5).

Signed and sealed with the official seal of the state of Washington on this 16th day of March, A.D., Two
Thousand and Twenty at Olympia, Washington.

                                                         By:


                                                                 /s/
                                                         Jay Inslee, Governor




BY THE GOVERNOR:


       /s/
Secretary of State
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                         PROCLAMATION BY THE GOVERNOR
                     AMENDING PROCLAMATIONS 20-05, 20-07, and 20-11

                                                20-14
                             Reduction of Statewide Limits on Gatherings

WHEREAS, on February 29, 2020, I issued Proclamation 20-05, proclaiming a State of Emergency for
all counties throughout the state of Washington as a result of the coronavirus disease 2019 (COVID-19)
outbreak in the United States and confirmed person-to-person spread of COVID-19 in Washington State;
and

WHEREAS, as a result of the continued worldwide spread of COVID-19, its significant progression in
Washington State, and the high risk it poses to our most vulnerable populations, I have subsequently issued
amendatory Proclamations 20-06, 20-07, 20-08, 20-09, 20-10, 20-11, 20-12, and 20-13, exercising my
emergency powers under RCW 43.06.220 by prohibiting certain activities and waiving and suspending
specified laws and regulations; and

WHEREAS, the spread of COVID-19 has been classified by the World Health Organization as a pandemic
that spreads easily from person to person and may result in serious illness or death; and

WHEREAS, the COVID-19 disease has and continues to spread quickly across the state of Washington,
beyond the original community outbreaks in King, Pierce, and Snohomish counties, significantly increasing
the threat of significant associated health risks statewide; and

WHEREAS, to curtail the spread of the COVID-19 pandemic in Washington State and protect our most
vulnerable populations, it is necessary to immediately expand the restrictions on large gatherings of 250 or
more as amended under Proclamation 20-11 to gatherings of 50 people or more; and

WHEREAS, the worldwide COVID-19 pandemic and its progression in Washington State continue to
threaten the life and health of our people as well as the economy of Washington State and remain a public
disaster affecting life, health, property or the public peace; and

WHEREAS, the Washington State Department of Health (DOH) continues to maintain a Public Health
Incident Management Team in coordination with the State Emergency Operations Center and other
supporting state agencies to manage the public health aspects of the incident; and

WHEREAS, the Washington State Military Department Emergency Management Division, through the
State Emergency Operations Center, continues coordinating resources across state government to support
the DOH and local health officials in alleviating the impacts to people, property, and infrastructure, and
continues coordinating with the DOH in assessing the impacts and long-term effects of the incident on
Washington State and its people.

NOW, THEREFORE, I, Jay Inslee, Governor of the state of Washington, as a result of the above-noted
situation, and under Chapters 38.08, 38.52 and 43.06 RCW, do hereby proclaim that a state of emergency
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continues to exist in all counties of Washington State, that Proclamations 20-05 and all amendments thereto
remain in effect, and Proclamations 20-07 and 20-11, pertaining to gatherings of 250 people or more, is
amended to reduce the size of gatherings to 50 people or less. Furthermore, activities of less than 50 people
are also prohibited, unless organizers of those activities comply with social distancing and sanitation
measures established by the United States Centers for Disease Control and Prevention or the Washington
State Department of Health guidelines. The provisions of this order shall remain in effect until midnight on
March 31, 2020, unless extended beyond that date.

I again direct that the plans and procedures of the Washington State Comprehensive Emergency
Management Plan be implemented throughout state government. State agencies and departments are
directed to continue utilizing state resources and doing everything reasonably possible to support
implementation of the Washington State Comprehensive Emergency Management Plan and to assist
affected political subdivisions in an effort to respond to and recover from the COVID-19 pandemic.

I continue to order into active state service the organized militia of Washington State to include the
National Guard and the State Guard, or such part thereof as may be necessary in the opinion of The
Adjutant General to address the circumstances described above, to perform such duties as directed by
competent authority of the Washington State Military Department in addressing the outbreak. Additionally,
I continue to direct the DOH, the Washington State Military Department Emergency Management
Division, and other agencies to identify and provide appropriate personnel for conducting necessary and
ongoing incident related assessments.

Violators of this of this order may be subject to criminal penalties pursuant to RCW 43.06.220(5).

Signed and sealed with the official seal of the state of Washington on this 16th day of March, A.D., Two
Thousand and Twenty at Olympia, Washington.

                                                       By:


                                                               /s/
                                                       Jay Inslee, Governor




BY THE GOVERNOR:


       /s/
Secretary of State
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                         PROCLAMATION BY THE GOVERNOR
                          AMENDING PROCLAMATION 20-05

                                            20-24
                       Restrictions on Non Urgent Medical Procedures

WHEREAS, on February 29, 2020, I issued Proclamation 20-05, proclaiming a State of
Emergency for all counties throughout Washington as a result of the coronavirus disease
2019 (COVID-19) outbreak in the United States and confirmed person-to-person spread of
COVID-19 in Washington State; and

WHEREAS, as a result of the continued worldwide spread of COVID-19, its significant
progression in Washington State, and the high risk it poses to our most vulnerable
populations, I have subsequently issued amendatory Proclamations 20-06, 20-07, 20-08,
20-09, 20-10, 20-11, 20-12, 20-13, 20-14, 20-15, 20-16, 20-17, 20-18, 20-19, 20-20, 20-21,
20-22, and 20-23, exercising my emergency powers under RCW 43.06.220 by prohibiting
certain activities and waiving and suspending specified laws and regulations; and

WHEREAS, the COVID-19 disease, caused by a virus that spreads easily from person to
person which may result in serious illness or death and has been classified by the World
Health Organization as a worldwide pandemic, has broadly spread throughout Washington
State, and significantly increasing the threat of serious associated health risks statewide; and

WHEREAS, the health care personal protective equipment supply chain in Washington State
has been severely disrupted by the significant increased use of such equipment worldwide,
such that there are now critical shortages of this equipment for health care workers. To curtail
the spread of the COVID-19 pandemic in Washington State and to protect our health care
workers as they provide health care services, it is necessary to immediately prohibit all
hospitals, ambulatory surgery centers, and dental, orthodontic and endodontic offices in
Washington State from providing health care services, procedures and surgeries that require
personal protective equipment, which if delayed, are not anticipated to cause harm to the
patient within the next three months, except as provided herein; and

WHEREAS, the worldwide COVID-19 pandemic and its progression throughout
Washington State continues to threaten the life and health of our people as well as the
economy of Washington State, and remains a public disaster affecting life, health, property
or the public peace; and

WHEREAS, the Washington State Department of Health (DOH) continues to maintain a
Public Health Incident Management Team in coordination with the State Emergency
Operations Center and other supporting state agencies to manage the public health aspects of
this ongoing incident; and
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WHEREAS, the Washington State Military Department Emergency Management Division,
through the State Emergency Operations Center, continues coordinating resources across
state government to support the DOH and local health officials in alleviating the impacts to
people, property, and infrastructure, and continues coordinating with the DOH in assessing
the impacts and long-term effects of the incident on Washington State and its people.

NOW, THEREFORE, I, Jay Inslee, Governor of Washington, as a result of the above-
noted situation, and under Chapters 38.08, 38.52 and 43.06 RCW, do hereby proclaim that a
State of Emergency continues to exist in all Washington State counties, that Proclamation
20-05 and all amendments thereto remain in effect, and that Proclamation 20-05 is amended
to immediately prohibit certain medical and dental procedures, with exceptions, and as
provided herein.

I again direct that the plans and procedures of the Washington State Comprehensive
Emergency Management Plan be implemented throughout state government. State agencies
and departments are directed to continue utilizing state resources and doing everything
reasonably possible to support implementation of the Washington State Comprehensive
Emergency Management Plan and to assist affected political subdivisions in an effort to
respond to and recover from the COVID-19 pandemic.

I continue to order into active state service the organized militia of Washington State to
include the National Guard and the State Guard, or such part thereof as may be necessary in
the opinion of The Adjutant General to address the circumstances described above, to
perform such duties as directed by competent authority of the Washington State Military
Department in addressing the outbreak. Also, I continue to direct the DOH, the Washington
State Military Department Emergency Management Division, and other agencies to identify
and provide appropriate personnel for conducting necessary and ongoing incident related
assessments.

FURTHERMORE: based on the above situation and under the provisions of RCW
43.06.220(1)(h), to help preserve and maintain life, health, property or the public peace, I
hereby prohibit all hospitals, ambulatory surgical facilities, dental, orthodontic and
endodontic offices in Washington State from providing health care services, procedures, and
surgeries that, if delayed, are not anticipated to cause harm to the patient within the next
three months, with exceptions and as provided below. This does not include outpatient visits
delivered in hospital based clinics.

Examples of procedures to delay include, but are not limited to: most joint replacements,
most cataract and lens surgeries, non-urgent cardiac procedures, cosmetic procedures, some
endoscopy, and some interventional radiology services.

EXCEPTION: The above prohibition does not apply to the full suite of family planning
services and procedures or to treatment for patients with emergency/urgent needs (examples
of the latter include, but are not limited to, people with heart attacks, strokes, or motor
vehicle accidents). Hospitals and ambulatory surgical facilities may perform any surgery that
if delayed or canceled would result in the patient’s condition worsening (for example,
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removal of a serious cancerous tumor or dental care related to the relief of pain and
management of infection.)

Ambulatory surgical facilities are encouraged to work with their local hospitals to assist with
surge capacity needs.

This Proclamation shall remain in effect until May 18, 2020.

Violators of this order may be subject to criminal penalties pursuant to RCW 43.06.220(5).

Signed and sealed with the official seal of the state of Washington on this 19th day of March,
A.D., Two Thousand and Twenty at Olympia, Washington.

                                                       By:


                                                               /s/
                                                       Jay Inslee, Governor




BY THE GOVERNOR:


        /s/
Secretary of State
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                         PROCLAMATION BY THE GOVERNOR
                          AMENDING PROCLAMATION 20-05

                                              20-25

                              STAY HOME – STAY HEALTHY


WHEREAS, on February 29, 2020, I issued Proclamation 20-05, proclaiming a State of
Emergency for all counties throughout the state of Washington as a result of the coronavirus
disease 2019 (COVID-19) outbreak in the United States and confirmed person-to-person spread of
COVID-19 in Washington State; and

WHEREAS, as a result of the continued worldwide spread of COVID-19, its significant
progression in Washington State, and the high risk it poses to our most vulnerable populations, I
have subsequently issued amendatory Proclamations 20-06, 20-07, 20-08, 20-09, 20-10, 20-11,
20-12, 20-13, 20-14, 20-15, 20-16, 20-17, 20-18, 20-19, 20-20, 20-21, 20-22, 20-23, and 20-24,
exercising my emergency powers under RCW 43.06.220 by prohibiting certain activities and
waiving and suspending specified laws and regulations; and

WHEREAS, the COVID-19 disease, caused by a virus that spreads easily from person to person
which may result in serious illness or death and has been classified by the World Health
Organization as a worldwide pandemic, has broadly spread throughout Washington State,
significantly increasing the threat of serious associated health risks statewide; and

WHEREAS, there are currently at least 2,221 cases of COVID-19 in Washington State and,
tragically, 110 deaths of Washingtonians associated with COVID-19; and

WHEREAS, models predict that many hospitals in Washington State will reach capacity or
become overwhelmed with COVID-19 patients within the next several weeks unless we
substantially slow down the spread of COVID-19 throughout the state; and

WHEREAS, hospitalizations for COVID-19 like illnesses are significantly elevated in all adults,
and a sharply increasing trend in COVID-19 like illness hospitalizations has been observed for the
past three (3) weeks; and

WHEREAS, the worldwide COVID-19 pandemic and its progression in Washington State
continues to threaten the life and health of our people as well as the economy of Washington
State, and remains a public disaster affecting life, health, property or the public peace; and
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WHEREAS, the Washington State Department of Health continues to maintain a Public Health
Incident Management Team in coordination with the State Emergency Operations Center and
other supporting state agencies to manage the public health aspects of the incident; and

WHEREAS, the Washington State Military Department Emergency Management Division,
through the State Emergency Operations Center, continues coordinating resources across state
government to support the Department of Health and local health officials in alleviating the
impacts to people, property, and infrastructure, and continues coordinating with the Department of
Health in assessing the impacts and long-term effects of the incident on Washington State and its
people.

NOW, THEREFORE, I, Jay Inslee, Governor of the state of Washington, as a result of the
above-noted situation, and under Chapters 38.08, 38.52 and 43.06 RCW, do hereby proclaim: that
a State of Emergency continues to exist in all counties of Washington State; that Proclamation
20-05 and all amendments thereto remain in effect as otherwise amended; and that Proclamations
20-05, 20-07, 20-11, 20-13, and 20-14 are amended and superseded by this Proclamation to
impose a Stay Home – Stay Healthy Order throughout Washington State by prohibiting all people
in Washington State from leaving their homes or participating in social, spiritual and recreational
gatherings of any kind regardless of the number of participants, and all non-essential businesses in
Washington State from conducting business, within the limitations provided herein.

I again direct that the plans and procedures of the Washington State Comprehensive Emergency
Management Plan be implemented throughout state government. State agencies and departments
are directed to continue utilizing state resources and doing everything reasonably possible to
support implementation of the Washington State Comprehensive Emergency Management Plan
and to assist affected political subdivisions in an effort to respond to and recover from the
COVID-19 pandemic.

I continue to order into active state service the organized militia of Washington State to include
the National Guard and the State Guard, or such part thereof as may be necessary in the opinion of
The Adjutant General to address the circumstances described above, to perform such duties as
directed by competent authority of the Washington State Military Department in addressing the
outbreak. Additionally, I continue to direct the Department of Health, the Washington State
Military Department Emergency Management Division, and other agencies to identify and
provide appropriate personnel for conducting necessary and ongoing incident related assessments.

FURTHERMORE, based on the above situation and under the provisions of RCW
43.06.220(1)(h), to help preserve and maintain life, health, property or the public peace, and to
implement the Stay Home—Stay Healthy Order described above, I hereby impose the following
necessary restrictions on participation by all people in Washington State by prohibiting each of
the following activities by all people and businesses throughout
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Washington State, which prohibitions shall remain in effect until midnight on April 6, 2020,
unless extended beyond that date:

   1. All people in Washington State shall immediately cease leaving their home or place
      of residence except: (1) to conduct or participate in essential activities, and/or (2) for
      employment in essential business services. This prohibition shall remain in effect until
      midnight on April 6, 2020, unless extended beyond that date.

       To implement this mandate, I hereby order that all people in Washington State are
       immediately prohibited from leaving their home or place of residence except to conduct or
       participate in (1) essential activities, and/or (2) employment in providing essential
       business services:

           a. Essential activities permitted under this Proclamation are limited to the
              following:
              1) Obtaining necessary supplies and services for family or household members
                  and pets, such as groceries, food and supplies for household consumption and
                  use, supplies and equipment needed to work from home, and products
                  necessary to maintain safety, sanitation and essential maintenance of the home
                  or residence.
              2) Engaging in activities essential for the health and safety of family,
                  household members and pets, including things such as seeking medical or
                  behavioral health or emergency services and obtaining medical supplies or
                  medication.
              3) Caring for a family member, friend, or pet in another household or residence,
                  and to transport a family member, friend or their pet for essential health and
                  safety activities, and to obtain necessary supplies and services.
              4) Engaging in outdoor exercise activities, such as walking, hiking, running or
                  biking, but only if appropriate social distancing practices are used.

           b. Employment in essential business services means an essential employee
              performing work for an essential business as identified in the “Essential Critical
              Infrastructure Workers” list, or carrying out minimum basic operations (as defined
              in Section 3(d) of this Order) for a non-essential business.

           c. This prohibition shall not apply to individuals whose homes or residences are
              unsafe or become unsafe, such as victims of domestic violence. These individuals
              are permitted and urged to leave their homes or residences and stay at a safe
              alternate location.

           d. This prohibition also shall not apply to individuals experiencing homelessness,
              but they are urged to obtain shelter, and governmental and other entities are
              strongly encouraged to make such shelter available as soon as possible and to the
              maximum extent practicable.
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       e. For purposes of this Proclamation, homes or residences include hotels, motels,
          shared rental units, shelters, and similar facilities.

2. All people in Washington State shall immediately cease participating in all public
   and private gatherings and multi-person activities for social, spiritual and
   recreational purposes, regardless of the number of people involved, except as
   specifically identified herein. Such activity includes, but is not limited to, community,
   civic, public, leisure, faith-based, or sporting events; parades; concerts; festivals;
   conventions; fundraisers; and similar activities. This prohibition also applies to planned
   wedding and funeral events. This prohibition shall remain in effect until midnight on
   April 6, 2020, unless extended beyond that date.

   To implement this mandate, I hereby order that all people in Washington State are
   immediately prohibited from participating in public and private gatherings of any number
   of people for social, spiritual and recreational purposes. This prohibition shall not apply
   to activities and gatherings solely including those people who are part of a single
   household or residential living unit.

3. Effective midnight on March 25, 2020, all non-essential businesses in Washington
   State shall cease operations except for performing basic minimum operations. All
   essential businesses are encouraged to remain open and maintain operations, but
   must establish and implement social distancing and sanitation measures established
   by the United States Department of Labor or the Washington State Department of
   Health Guidelines. This prohibition shall remain in effect until midnight on April 8,
   2020, unless extended beyond that date.

   To implement this mandate, I hereby order that, effective midnight on March 25, 2020,
   all non-essential businesses in Washington State are prohibited from conducting all
   activities and operations except minimum basic operations.

       a. Non-essential businesses are strongly encouraged to immediately cease
          operations other than performance of basic minimum operations, but must do so
          no later than midnight on March 25, 2020.
       b. Essential businesses are prohibited from operating under this Proclamation unless
          they establish and implement social distancing and sanitation measures established
          by the United States Department of Labor’s Guidance on Preparing Workplaces
          for COVID-19 at https://www.osha.gov/Publications/OSHA3990.pdf and the
          Washington State Department of Health Workplace and Employer Resources &
          Recommendations at https://www.doh.wa.gov/Coronavirus/workplace.
       c. This prohibition does not apply to businesses consisting exclusively of
          employees or contractors performing business activities at their home or
          residence, and who do not engage in in-person contact with clients.
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           d. For purposes of this Proclamation, minimum basic operations are the minimum
              activities necessary to maintain the value of the business’ inventory, preserve the
              condition of the business’ physical plant and equipment, ensure security, process
              payroll and employee benefits, facilitate employees of the business being able to
              continue to work remotely from their residences, and related functions.

This Proclamation shall not be construed to prohibit working from home, operating a single owner
business with no in-person, on-site public interaction, or restaurants and food services providing
delivery or take-away services, so long as proper social distancing and sanitation measures are
established and implemented.

No business pass or credentialing program applies to any activities or operations under this
Proclamation.

Violators of this of this order may be subject to criminal penalties pursuant to RCW 43.06.220(5).

Signed and sealed with the official seal of the state of Washington on this 23rd day of March,
A.D., Two Thousand and Twenty at Olympia, Washington.

                                                       By:


                                                               /s/
                                                       Jay Inslee, Governor




BY THE GOVERNOR:


       /s/
Secretary of State
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                       PROCLAMATION BY THE GOVERNOR
             AMENDING AND EXTENDING PROCLAMATIONS 20-05 AND 20-24

                                              20-24.1
                          Reducing Restrictions on, and Safe Expansion of,
                            Non-Urgent Medical and Dental Procedures

WHEREAS, on February 29, 2020, I issued Proclamation 20-05, proclaiming a State of Emergency
for all counties throughout Washington as a result of the coronavirus disease 2019 (COVID-19)
outbreak in the United States and confirmed person-to-person spread of COVID-19 in Washington
State; and

WHEREAS, as a result of the continued worldwide spread of COVID-19, its significant progression
in Washington State, and the high risk it poses to our most vulnerable populations, I have
subsequently issued amendatory Proclamations 20-06 through 20-53 and 20-55, exercising my
emergency powers under RCW 43.06.220 by prohibiting certain activities and waiving and
suspending specified laws and regulations; and

WHEREAS, the COVID-19 disease, caused by a virus that spreads easily from person to person
which may result in serious illness or death and has been classified by the World Health
Organization as a worldwide pandemic, has broadly spread throughout Washington State, and
significantly increasing the threat of serious associated health risks statewide; and

WHEREAS, the health care personal protective equipment supply chain in Washington State has been
severely disrupted by the significant increased use of such equipment worldwide, such that there are
now critical shortages of this equipment for health care workers. To curtail the spread of the COVID-
19 pandemic in Washington State and to protect our health care workers as they provide health care
services, it is necessary to prohibit all medical, dental and dental specialty facilities, practices, and
practitioners in Washington State from providing non-urgent health care and dental services,
procedures and surgeries unless specific procedures and criteria are met; and

WHEREAS, the extensive public-private collaboration between our state and local governments, and
the state’s hospitals, health systems, and other providers of clinical services in addressing the health
care issues created for people and communities by the COVID-19 pandemic is commendable; and

WHEREAS, Washington State’s collaborative approach has been effective in addressing the
significant public health issues associated with the disease, while greatly expanding the clinical and
operational capacity of the health system to effectively care for COVID-19 patients and safely provide
preventive, diagnostic, outpatient, ambulatory, acute, and post-acute care for all people in need of care
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via both in-person and virtual means. The professionalism, expertise, and compassion of Washington’s
clinicians, nurses, and other health care professionals during the COVID-19 pandemic has been
exemplary; and

WHEREAS in the early days of the pandemic, I, in collaboration with the Washington State
Department of Health and health care system partners, established a data-driven approach to
addressing the health and safely of Washington’s citizens and communities. The actions taken pursuant
to this approach reduced the impact of the disease in the State. As the State moves into its Safe Start of
the economy, it is important that the healthcare system move rapidly towards a more normal operating
position and expand access to care for patients in a manner that is safe and equitable; and

WHEREAS, I support extending Proclamation 20-29, which requires telemedicine payment parity
through year-end 2020, when the new parity law in SB 5385 will formally take effect. However, the
extension must be approved by the Legislature.

WHEREAS, recognizing that health status is impacted both by social determinants of health and
untreated health conditions, it is vital that public and private sector participants in the health care
system work to enhance public health capabilities and capacity, such as testing, contact tracing and
follow-up, and that access to appropriate care be expanded as safely as possible; and

WHEREAS, the exercise of clinical judgement by healthcare and dental professionals related to the
care of patients is essential, and it is essential for all of our health and dental partners to follow the
same procedures as outlined in this proclamation and work together to protect the health of all of our
residents; and

WHEREAS, the worldwide COVID-19 pandemic and its progression throughout Washington State
continues to threaten the life and health of our people as well as the economy of Washington State,
and remains a public disaster affecting life, health, property or the public peace; and

WHEREAS, the Washington State Department of Health continues to maintain a Public Health
Incident Management Team in coordination with the State Emergency Operations Center and other
supporting state agencies to manage the public health aspects of this ongoing incident; and

WHEREAS, the Washington State Military Department Emergency Management Division, through
the State Emergency Operations Center, continues coordinating resources across state government to
support the Department of Health and local health officials in alleviating the impacts to people,
property, and infrastructure, and continues coordinating with the Department of Health in assessing
the impacts and long-term effects of the incident on Washington State and its people.

NOW, THEREFORE, I, Jay Inslee, Governor of Washington, as a result of the above-noted
situation, and under Chapters 38.08, 38.52 and 43.06 RCW, do hereby proclaim that a State of
Emergency continues to exist in all Washington State counties, that Proclamation 20-05 and all
amendments thereto remain in effect, and that Proclamations 20-05 and 20-24 are amended to
immediately prohibit certain medical and dental procedures, with exceptions, and as provided herein.




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I again direct that the plans and procedures of the Washington State Comprehensive Emergency
Management Plan be implemented throughout state government. State agencies and departments are
directed to continue utilizing state resources and doing everything reasonably possible to support
implementation of the Washington State Comprehensive Emergency Management Plan and to assist
affected political subdivisions in an effort to respond to and recover from the COVID-19 pandemic.

I continue to order into active state service the organized militia of Washington State to include the
National Guard and the State Guard, or such part thereof as may be necessary in the opinion of The
Adjutant General to address the circumstances described above, to perform such duties as directed
by competent authority of the Washington State Military Department in addressing the outbreak.
Also, I continue to direct the Department of Health, the Washington State Military Department
Emergency Management Division, and other agencies to identify and provide appropriate personnel
for conducting necessary and ongoing incident related assessments.

FURTHERMORE: based on the above situation and under the provisions of RCW 43.06.220(1)(h),
to help preserve and maintain life, health, property or the public peace, I hereby prohibit all medical,
dental and dental specialty facilities, practices, and practitioners in Washington State from providing
non-urgent health care and dental services, procedures, and surgeries unless they act in good faith
and with reasonable clinical judgment to meet and follow the procedures and criteria provided
below:

COVID Assessment:
Local health jurisdictions (LHJs) in collaboration with their health partners, should assess the
COVID-19 status in the communities they serve. This assessment should be updated on a regular
basis. Important COVID-19 disease information relevant to this assessment is available at
https://www.doh.wa.gov/Emergencies/NovelCoronavirusOutbreak2020COVID19/DataDashboard,
and LHJs should have relevant information as well.

Expansion/Contraction of Care Plan
Each health care, dental or dental specialty facility, practice, or practitioner must develop an
expansion/contraction of care plan that is both congruent with community COVID-19 assessment
described above, consistent with the clinical and operational capabilities and capacities of the
organization, and responsive to the criteria provided below.

Expansion/contraction of care plans should be operationalized based on the standards of care that are
in effect in the health care facility, practice or practitioner’s relevant geography as determined by
that region’s emergency health care coalition, as follows:

   •   Conventional Care Phase – All appropriate clinical care can be provided.
   •   Contingency Care Phase – All appropriate clinical care can be provided so long as there is
       sufficient access to PPE and, for hospitals, surge capacity is at least 20%.
   •   Crisis Care Phase – All emergent and urgent care shall be provided; elective care, that the
       postponement of which for more than 90 days would, in the judgement of the clinician, cause
       harm; the full suite of family planning services and procedures, newborn care, infant and
       pediatric vaccinations, and other preventive care, such as annual flu vaccinations, can
       continue.



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Criteria for Resuming Non-Urgent Procedures
Until there is an effective vaccine, effective treatment, or herd immunity and until supply chains for
PPE return to a more normal status, hospitals and LHJs will work together to maintain some level of
surge capacity in our health care system and prudently use PPE so that we can keep health care
workers safe and provide the needed health care to our communities. To this end, the following must
be met by health care, dental and dental specialty facilities, practices, and practitioners:

   •   Exercise clinical judgment to determine the need to deliver a health care service, in the
       context of the broader health care and dental needs of patients and communities and in the
       context of the pandemic, and within the parameters of operation provided by the health care,
       dental or dental specialty facility, practice or practitioner setting in which they are providing
       services.
   •   Continuously monitor capacity in the system to ensure there are resources, including
       ventilators, beds, PPE, blood and blood products, pharmaceuticals, and trained staff available
       to combat any potential surges of COVID-19, participation, as required by Department of
       Health guidelines, with the WA HEALTH data reporting system to allow for a state-wide
       common operating perspective on resource availability.
   •   Follow Department of Health’s current PPE conservation guidance, which will be regularly
       reviewed and updated by the Department of Health, as published on the Department of
       Health website at https://www.doh.wa.gov/Emergencies/Coronavirus. If the health care
       facility, practice or practitioner’s PPE status deteriorates, adjustments to expansion of care
       will be required.
   •   Review infection prevention policies and procedures and update, as necessary, to reflect
       current best practice guidelines for universal precautions.
   •   Develop a formal employee feedback process to obtain direct input regarding care delivery
       processes, PPE, and technology availability related to expansion of care.
   •   Appropriately use telemedicine. Appropriate use of telemedicine will facilitate access to care
       while helping minimize the spread of the virus to other patients and/or health care workers.
   •   Use on-site fever screening and self-reporting of COVID-19 symptom screening for all
       patients, visitors and staff prior to (the preferred approach), or immediately upon, entering a
       facility or practice.
   •   For clinical procedures and surgeries, develop and implement setting-appropriate, pre-
       procedure COVID-19 testing protocols that are based on availability, Department of Health
       guidance, if any, and/or relevant and reputable professional clinical sources and research.
   •   Implement policies for non-punitive sick leave that adhere to U.S. Centers for Disease
       Control and Prevention (CDC) return-to-work guidance.
   •   Post signage that strongly encourages staff, visitors and patients to practice frequent hand
       hygiene with soap and water or hand sanitizer, avoid touching their face, and practice cough
       etiquette.
   •   Maintain strict social distancing in patient scheduling, check-in processes, positioning and
       movement within a facility. Set up waiting rooms and patient care areas to facilitate patients,
       visitors and staff to maintain ≥6 feet of distance between them whenever possible, consider
       rooming patients directly from cars or parking lots, space out appointments, and consider
       scheduling or spatially separating well visits from sick visits.




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   •   Limit visitors to those essential for the patient’s well-being and care. Visitors should be
       screened for symptoms prior to entering a health care facility and ideally telephonically prior
       to arriving. Visitors who are able should wear a mask or other appropriate face covering at all
       times while in the health care facility as part of universal source control.
   •   Ambulatory patients, who are able and when consistent with the care being received, should
       wear a mask or other appropriate face covering at all times while in the health care facility as
       part of universal source control.
   •   Frequently clean and disinfect high-touch surfaces regularly using an EPA-registered
       disinfectant.
   •   Identify and implement strategies for addressing employees who have had unprotected
       exposures to COVID-19 positive patients, are symptomatic, or ill, which should include
       requiring COVID-19 positive employees to stay at home while infectious, and potentially
       restricting employees who were directly exposed to the COVID-19 positive employee.
       Timely notification of employees with potential COVID-19 exposure and appropriate testing
       of employees who are symptomatic should be a component of these strategies. Follow CDC
       cleaning guidelines to deep clean after reports of an employee with suspected or confirmed
       COVID-19 illness. This may involve the closure of the business until the location can be
       properly disinfected.
   •   Educate patients about COVID-19 in a language they best understand. The education should
       include the signs, symptoms, and risk factors associated with COVID-19 and how to prevent
       its spread.
   •   Follow requirements in Governor Inslee’s Proclamation 20-46 - High-Risk Employees –
       Workers’ Rights.

ADDITIONALLY, for purposes of this Proclamation, evaluation of “harm” is the same as
described in the May 7, 2020, Updated Interpretive Statement related to Proclamation 20-24, and is
repeated here: The decision to perform any surgery or procedure in hospitals, ambulatory surgical
facilities, dental, orthodontic, and endodontic offices, including examples of those that could be
delayed should be weighed against the following criteria when considering potential harm to a
patient’s health and well-being:

   •   Expected advancement of disease process
   •   Possibility that delay results in more complex future surgery or treatment
   •   Increased loss of function
   •   Continuing or worsening of significant or severe pain
   •   Deterioration of the patient’s condition or overall health
   •   Delay would be expected to result in a less-positive ultimate medical or surgical outcome
   •   Leaving a condition untreated could render the patient more vulnerable to COVID-19
       contraction, or resultant disease morbidity and/or mortality
   •   Non-surgical alternatives are not available or appropriate per current standards of care
   •   Patient’s co-morbidities or risk factors for morbidity or mortality, if inflicted with COVID-19
       after procedure is performed

Furthermore, diagnostic imaging, diagnostic procedures or testing should continue in all settings
based on clinical judgement that uses the same definition of harm and criteria as listed above.




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ADDITIONALLY, when making health system care capacity decisions, health care, dental and
dental specialty facilities, practices, and practitioners must, in addition to the above, consider 1) the
level and trending of COVID-19 infections in the relevant geography, 2) the availability of
appropriate PPE, 3) collaborative activities with relevant emergency preparedness organizations
and/or LHJ, 4) surge capacity of the hospital/care setting, and 5) the availability of appropriate post-
discharge options addressing transitions of care.

ADDITIONALLY, given the geographic diversity of Washington, the variability in COVID-19
disease burden within the state, and health care system capabilities and capacity, no uniform
approach to expanding access to care is possible nor would any such approach be effective or wise.
It is essential that health care system participants act with good judgment within the context of their
patients’ needs, their environment, and their capabilities and capacity.

This Proclamation is retroactive to 11:59 PM on May 17, 2020, and shall remain in effect until the
state of emergency, issued on February 29, 2020, pursuant to Proclamation 20-05, is rescinded, or until
this order is amended or rescinded, whichever occurs first.

Violators of this order may be subject to penalties pursuant to RCW 43.06.220(5).

Signed and sealed with the official seal of the state of Washington on this 18th day of May, A.D., Two
Thousand and Twenty at Olympia, Washington.

                                                         By:


                                                                 /s/
                                                         Jay Inslee, Governor




BY THE GOVERNOR:


       /s/
Secretary of State




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               PROCLAMATION BY THE GOVERNOR
    AMENDING PROCLAMATIONS 20-05, 20-25, 20-25.1, 20-25.2 and 20-25.3

                                          20-25.4

         TRANSITION FROM “STAY HOME – STAY HEALTHY” TO
      “SAFE START – STAY HEALTHY” COUNTY-BY-COUNTY PHASED
                            REOPENING


WHEREAS, on February 29, 2020, I issued Proclamation 20-05, proclaiming a State
of Emergency for all counties throughout the state of Washington as a result of the
coronavirus disease 2019 (COVID-19) outbreak in the United States and confirmed
person-to-person spread of COVID-19 in Washington State; and

WHEREAS, as a result of the continued worldwide spread of COVID-19, its significant
progression in Washington State, and the high risk it poses to our most vulnerable
populations, I have subsequently issued amendatory Proclamations 20-06 through 20-53
and 20-55 through 20-57, exercising my emergency powers under RCW 43.06.220 by
prohibiting certain activities and waiving and suspending specified laws and regulations,
including issuance of Proclamations 20-25, 20-25.1, 20-25.2 and 20-25.3 (Stay Home –
Stay Healthy), prohibiting all people in Washington State from leaving their homes except
to participate in essential services or essential work and preventing all non-essential
businesses in Washington State from conducting business, within the limitations therein;
and

WHEREAS, the COVID-19 disease, caused by a virus that spreads easily from person to
person which may result in serious illness or death and has been classified by the World
Health Organization as a worldwide pandemic, has broadly spread throughout Washington
State and remains a significant health risk to all of our people, especially members of our
most vulnerable populations; and

WHEREAS, when I last amended the Stay Home – Stay Healthy order (Proclamation 20-
25.3) on May 4, 2020, there were approximately 15,462 cases of COVID-19 in
Washington State with 841 deaths; and, now, as of May 31 2020, the Department of Health
indicated that there have been 21,349 cases and 1,118 deaths, demonstrating the ongoing,
present threat of this lethal disease; and
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WHEREAS, the health professionals and epidemiological modeling experts predict that
although we have passed the peak of the first wave of COVID-19 in the State and we have
made adequate progress as a state to modify some of the initial community mitigation
efforts, the nature of COVID-19 viral transmission, including both asymptomatic and
symptomatic spread as well as the relatively high infectious nature, suggests it is
appropriate to slowly re-open Washington State only through a careful, phased, and
science-based approach. Modelers continue to agree that fully relaxing social distancing
measures will result in a sharp increase in the number of cases; and

WHEREAS, although the judicial system, an essential service, has undergone significant
disruption and modification to operate safely during this crisis, and by order of the
Supreme Court has delayed most jury trials in criminal and civil matters, in-person
proceedings are necessary in many circumstances, and the judicial system is currently
working with health officials to innovate and plan for the safe resumption of jury trials and
other court services including at offsite facilities; and the efforts undertaken to innovate
and plan are equally essential to the resumption of our judicial system, and should be
conducted remotely if possible but otherwise may be conducted in person if appropriate
physical distancing and protective measures are in place; and

WHEREAS, this unprecedented health crisis has caused extraordinary anxiety and a
significant disruption of routine and important activities for every Washingtonian; and
I recognize the extraordinary resiliency, strength, adaptability, and courage of every
Washingtonian during this difficult time; and

WHEREAS, many people in Washington State attend religious services on a regular basis,
making such services a vital part of the spiritual and mental health of our community, and
previous guidance issued related to remote services, drive-in services, counseling, outdoor
services, and Phase 2 indoor services, all subject to restrictions outlined in those guidance
documents, remain in place and may be further expanded or modified as the science and
data support; and

WHEREAS, the science also suggests that by ensuring safe social distancing and hygiene
practices, many business activities can be conducted with limited exposure to customers,
which is important to revitalizing Washington State’s economy, restoring jobs, and
providing necessary goods and services; and

WHEREAS, in Proclamation 20-25.3 I established an initial four-phased approach to
reopening Washington State; and, while all counties started in Phase I on May 4, 2020, a
total of 28 counties are now either in or eligible to apply for Phase 2; and

WHEREAS, the Washington State Department of Health’s data and modeling
demonstrate that many counties have significantly reduced or eliminated the number of
new COVID-19 cases sufficiently to enable those counties to control and respond to
virus outbreaks within the capacity of existing local and regional health care systems
without significant increased risk of being overwhelmed, and this data supports
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providing all counties with an opportunity to lift some restrictions, subject to certain
conditions and requirements; and

WHEREAS, the worldwide COVID-19 pandemic and its progression in Washington
State continue to threaten the life and health of our people as well as the economy of
Washington State, and remain a public disaster affecting life, health, property or the
public peace; and

WHEREAS, the Washington State Department of Health continues to maintain a Public
Health Incident Management Team in coordination with the State Emergency
Operations Center and other supporting state agencies to manage the public health
aspects of the incident; and

WHEREAS, the Washington State Military Department Emergency Management
Division, through the State Emergency Operations Center, continues coordinating
resources across state government to support the Department of Health and local health
officials in alleviating the impacts to people, property, and infrastructure, and continues
coordinating with the Department of Health in assessing the impacts and long-term effects
of the incident on Washington State and its people; and

NOW, THEREFORE, I, Jay Inslee, Governor of the state of Washington, as a result of
the above-noted situation, and under Chapters 38.08, 38.52 and 43.06 RCW, do hereby
proclaim and order that a State of Emergency continues to exist in all counties of
Washington State, that Proclamation 20-05 and all amendments thereto remain in effect as
otherwise amended, and that, to help preserve and maintain life, health, property or the
public peace pursuant to RCW 43.06.220(1)(h), Proclamations 20-25, 20-25.1, 20-25.2,
and 20-25.3 (Stay Home – Stay Healthy) are amended to extend all of the prohibitions and
each expiration date therein to 11:59 p.m. on July 1, 2020, and are renamed (Safe Start –
Stay Healthy), and that except as otherwise provided in this order or the Safe Start
Washington Phased Reopening County-by-County Plan found here, all other provisions of
Proclamations 20-25, 20-25.1, 20-25.2, and 20-25.3 shall remain in full force and effect.

FURTHERMORE, in collaboration with the Washington State Department of Health, and
based on analysis of the data and epidemiological modeling, I hereby order that, beginning
on June 1, 2020, the Safe Start Washington Phased Reopening Plan will be applied on a
county-by-county basis, and will allow any county that has been in Phase 1 or 2 for three
weeks to apply to the Secretary of Health to move in whole or in part to the next phase;
and further, the application process will include target metrics (intended to be applied as
“targets” and not hard-line measures) set by the Secretary of Health, and the application
must be submitted by the County Executive, or, in the absence of a County Executive, with
the approval of the County Council or Commission, in accordance with the instructions
provided by the Secretary of Health; and

FURTHERMORE, in evaluating any application to move forward, the Secretary of
Health may approve a county moving in whole to the next phase, or may only approve
certain activities moving to the next phase; and
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FURTHERMORE, until there is an effective vaccine, effective treatment or herd
immunity, it is crucial to maintain some level of community interventions to suppress the
spread of COVID-19 throughout all phases of recovery; and, therefore, throughout all
phases, individuals should continue to engage in personal protective behaviors including:
practice physical distancing, staying at least six feet away from other people; wear cloth
face coverings in public places when not eating or drinking; stay home if sick; avoid others
who are sick; wash hands frequently; cover coughs and sneezes; avoid touching eyes, nose
and mouth with unwashed hands; and disinfect surfaces and objects regularly; and

FURTHERMORE, I hereby order, in addition to other requirements detailed in the Safe
Start Washington Phased Reopening Plan, that, beginning on June 8, 2020, when on the
job, all employees must wear a facial covering except when working alone or when the job
has no in-person interaction as detailed in the Safe Start Washington Phased Reopening
Plan; and, further, that employers must provide cloth facial coverings to employees, unless
their exposure dictates a higher level of protection; and

FURTHERMORE, I continue to permit the low-risk activities previously permitted as
reflected or clarified in formal guidance documents here, and which may be updated or
modified as the science and data supports; and

FURTHERMORE, in collaboration with the Washington State Department of Health, in
furtherance of the physical, mental, and economic well-being of all Washingtonians, I will
continue to analyze the data and epidemiological modeling and adjust the Safe Start
Washington Phased Reopening Plan accordingly.

I again direct that the plans and procedures of the Washington State Comprehensive
Emergency Management Plan be implemented throughout state government. State
agencies and departments are directed to continue utilizing state resources and doing
everything reasonably possible to support implementation of the Washington State
Comprehensive Emergency Management Plan and to assist affected political subdivisions
in an effort to respond to and recover from the COVID-19 pandemic.

I continue to order into active state service the organized militia of Washington State to
include the National Guard and the State Guard, or such part thereof as may be necessary in
the opinion of The Adjutant General to address the circumstances described above, to
perform such duties as directed by competent authority of the Washington State Military
Department in addressing the outbreak. Additionally, I continue to direct the Department
of Health, the Washington State Military Department Emergency Management Division,
and other agencies to identify and provide appropriate personnel for conducting
necessary and ongoing incident related assessments.

All persons are again reminded that no credentialing program or requirement applies to any
activities or operations under this Proclamation.
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Violators of this order may be subject to criminal penalties pursuant to RCW 43.06.220(5).
Further, if people fail to comply with the required social distancing and other protective
measures while engaging in this phased reopening, I may be forced to reinstate the
prohibitions established in earlier proclamations.

This order goes into effect on June 1, 2020, and expires at 11:59 pm on July 1, 2020.

Signed and sealed with the official seal of the state of Washington on this 31st day of May,
A.D., Two Thousand and Twenty at Olympia, Washington.

                                                     By:


                                                             /s/
                                                     Jay Inslee, Governor




BY THE GOVERNOR:


       /s/
Secretary of State
